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     Edward O. Sassower, P.C. (admitted pro hac vice)                                   Michael A. Condyles (VA 27807)
     Steven N. Serajeddini, P.C. (admitted pro hac vice)                                      Peter J. Barrett (VA 46179)
     Aparna Yenamandra (admitted pro hac vice)                                            Jeremy S. Williams (VA 77469)
     KIRKLAND & ELLIS LLP                                                                Brian H. Richardson (VA 92477)
     KIRKLAND & ELLIS INTERNATIONAL LLP                                                            KUTAK ROCK LLP
     601 Lexington Avenue                                                                901 East Byrd Street, Suite 1000
     New York, New York 10022                                                            Richmond, Virginia 23219-4071
     Telephone:         (212) 446-4800                                                 Telephone:          (804) 644-1700
     Facsimile:         (212) 446-4900                                                 Facsimile:          (804) 783-6192

     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                            )
     In re:                                                                 )     Chapter 11
                                                                            )
     INTELSAT S.A., et al.,1                                                )     Case No. 20-32299 (KLP)
                                                                            )
                                  Debtors.                                  )     (Jointly Administered)
                                                                            )

                             SUMMARY COVER SHEET TO THE
                          FIFTH INTERIM FEE APPLICATION OF
                     KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                   INTERNATIONAL LLP, ATTORNEYS FOR THE DEBTORS
                AND DEBTORS IN POSSESSION, FOR THE INTERIM FEE PERIOD
                FROM JUNE 1, 2021 THROUGH AND INCLUDING AUGUST 31, 2021

     Basic Information
     Name of Applicant:                                            Kirkland & Ellis LLP and Kirkland &
                                                                   Ellis International LLP
     Name of Client:                                               Intelsat S.A., et al.
                                                                   Debtors and Debtors in Possession
     Petition Date:                                                May 13, 2020
     Retention Date:                                               May 13, 2020
     Date of Order Approving Employment:                           July 1, 2020, effective as of May 13, 2020
     This Interim Application
     Time Period Covered:                                          June 1, 2021 through August 31, 2021


 1
        Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
        complete list of the Debtor entities and the last four digits of their federal tax identification numbers is not
        provided herein. A complete list may be obtained on the website of the Debtors’ claims and noticing agent at
        https://cases.stretto.com/intelsat. The location of the Debtors’ service address is: 7900 Tysons One Place,
        McLean, VA 22102.



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  Total Hours Billed:                           13,746.20
  Total Fees Requested:                         $12,898,705.00
  Total Expenses Requested:                     $639,958.52
  Total Fees and Expenses Requested:            $13,538,663.52
  Fees Requested Over Budget:                   $198,705.00
  Blended Rate for All Timekeepers:             $938.35
  Blended Rate for Attorneys:                   $970.29
  Rate Increases Not Previously                 None
  Approved or Disclosed:
  Total Professionals:                          118
  Total Professionals Not in Staffing Plan:     23
  Total Professionals Billing Less Than         64
  15 Hours:
  Historical
  Fees Approved to Date by Interim Order:       $44,926,906.87
  Expenses Approved to Date by Interim Order:   $555,482.86
  Total Fees and Expenses Approved to Date:     $45,482,389.73
  Approved Amounts Paid to Date:                $45,482,389.73
  Outstanding Amounts Sought:                   $2,579,741.00
  Fees Paid Pursuant to Monthly Statements,     $10,318,964.00
  Not Yet Allowed:
  Expenses Paid Pursuant to                     $639,958.52
  Monthly Statements, Not Yet
  Allowed:
  Total Fees and Expenses Paid Pursuant to      $10,958,922.52
  Monthly Statements, Not Yet Allowed:
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      PRIOR MONTHLY FEE STATEMENTS SUBJECT TO COMPENSATION PERIOD:

                                                         Requested                             Approved
Date Filed;       Period Covered               Fees              Expenses            Fees Paid         Expenses Paid
Docket No.
  August 9,        June 1, 2020 –         $3,314,496.50         $511,991.53        $2,651,597.20        $511,991.53
2021 [Docket       June 30, 2020
  No. 2581]
September 10,       July 1, 2021 -        $3,939,964.50         $56,868.12         $3,151,971.60         $56,868.12
2021 [Docket        July 31, 2021
  No. 2842]
September 29,     August 1, 2021 -        $5,644,244.00         $71,098.87         $4,515,395.20         $71,098.87
2021 [Docket      August 31, 2021
  No. 3006]
                               Total     $12,898,705.00         $639,958.52        $10,318,964.00       $639,958.52


                   SUMMARY OF PROFESSIONALS RENDERING SERVICES

Professional      Position             Dept.               First Bar    Hourly        Total         Total           Rate
                                                           Admission    Billing       Billed     Compensation     Increases
                                                             Date        Rate         Hours
Maggie Alden      Associate        Restructuring              2020       840.70       482.00        $405,217.00        N/A
Peter Bang        Associate   Corporate - Debt Finance        2016      1,060.78       12.20        $12,941.50         N/A
Michael K.        Associate     Corporate - General           2019       765.00        0.50           $382.50          N/A
Bassi
Laura Bielinski   Associate   Corporate - Debt Finance        2016      1,155.00       45.10        $52,090.50         N/A
Nicholas A.       Associate        Restructuring              2019       846.16       757.80        $641,218.00        N/A
Binder
Cade C. Boland    Associate     Litigation - General          2021       679.10        69.20        $46,994.00         N/A
Katya Boyko       Associate         Corporate -               2017      1,091.15       1.30          $1,418.50         N/A
                                M&A/Private Equity
Simon Briefel     Associate        Restructuring              2018      980.02        258.80        $253,630.00        N/A
Seth A.           Associate        Restructuring              2021      625.00         62.20        $38,875.00         N/A
Brimley
Mariel            Associate     Litigation - Appellate        2018      995.00         17.20        $17,114.00         N/A
Brookins
Francois          Associate         Corporate -                         755.00         8.00          $6,040.00         N/A
Capoul                          M&A/Private Equity
Cassandra         Associate     Litigation - General          2016      1,041.71      193.90        $201,988.50        N/A
Myers Catalano
Bradley Cho       Associate   Corporate - Debt Finance        2018       875.00        0.60          $525.00           N/A
Ian Clarke        Associate        Restructuring                        1,155.00       0.30          $346.50           N/A
Elizabeth         Associate     Litigation - General          2014      1,034.16       20.20        $20,890.00         N/A
DeGori
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Professional      Position             Dept.             First Bar   Hourly     Total       Total         Rate
                                                         Admission   Billing    Billed   Compensation   Increases
                                                           Date       Rate      Hours
Mahalia S.B       Associate   Corporate - Debt Finance     2016      1,155.00    1.50      $1,732.50      N/A
Doughty
Annie Laurette    Associate        Restructuring           2018      995.00     105.40    $104,873.00     N/A
Dreisbach
Cassandra E.      Associate     Litigation - General       2017      995.00     13.00      $12,935.00     N/A
Fenton
Dave Gremling     Associate        Restructuring           2019       842.87    674.70    $568,681.50     N/A
Nick Hafen        Associate        Restructuring           2019       831.02     94.30    $78,365.50      N/A
Luci Hague        Associate     International Trade        2015      1,150.20    2.50      $2,875.50      N/A
Heidi             Associate        Restructuring           2017       995.00     0.50       $497.50       N/A
Hockberger
Abby Rose         Associate     Litigation - General       2018      924.99     172.70    $159,745.50     N/A
Hollenstein
Derek I. Hunter   Associate        Restructuring           2017      1,110.70   817.70    $908,219.50     N/A
Aleschia D.       Associate     Litigation - General       2021       738.49     73.70    $54,426.50      N/A
Hyde
Jason T. Jarvis   Associate        Restructuring           2021       715.52    319.70    $228,750.50     N/A
Miles H.          Associate          Taxation              2015      1,225.00    12.10    $14,822.50      N/A
Johnson
Deidre            Associate   Executive Compensation       2016      1,125.00    3.10      $3,487.50      N/A
Kalenderian
Jennifer          Associate     Corporate - Capital        2017      1,125.00   51.90      $58,387.50     N/A
Karinen                             Markets
Cara Katrinak     Associate       Restructuring            2021      875.00     23.30      $20,387.50     N/A
Gary J.           Associate       Restructuring            2018      995.00     32.10      $31,939.50     N/A
Kavarsky
Tyler R.          Associate        Restructuring           2021      722.64     478.60    $345,857.00     N/A
Knutson
Krista            Associate          Litigation -                    995.00      0.80       $796.00       N/A
Koskivirta                     Antitrust/Competition
Mike Kraft        Associate     Litigation - General       2018       932.56     31.50    $29,375.50      N/A
Erika Krum        Associate     International Trade        2021       765.00     2.90      $2,218.50      N/A
Michael Lemm      Associate        Restructuring           2019       841.71    444.40    $374,055.00     N/A
Emily Merki       Associate     Litigation - General       2016      1,078.57   190.70    $205,683.00     N/A
Long
Drew Maliniak     Associate     Corporate - Capital        2019      1,029.00   71.70      $73,779.00     N/A
                                      Markets
Colin J.          Associate     Litigation - General       2020      841.16     30.70      $25,823.50     N/A
Martindale
Saunders          Associate     Litigation - General       2020      843.45     227.80    $192,139.00     N/A
McElroy
Emily A.          Associate        Restructuring           2018      995.00     16.10      $16,019.50     N/A
Meraia
Joe Morley        Associate          Taxation              2019      874.80     239.60    $209,601.00     N/A
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Professional      Position             Dept.             First Bar   Hourly     Total       Total         Rate
                                                         Admission   Billing    Billed   Compensation   Increases
                                                           Date       Rate      Hours
Brian             Associate         Restructuring          2021      733.47     624.80    $458,274.00     N/A
Nakhaimousa
Aisha M. Noor     Associate   Corporate - Debt Finance     2017      1,070.00   1.00      $1,070.00       N/A
Matt O’Hare       Associate     International Trade        2014      1,116.29   12.00     $13,395.50      N/A
Palmer            Associate     Litigation - General       2019       925.00    22.00     $20,350.00      N/A
Quamme
Sandeep           Associate          Litigation -                    875.00     19.40      $16,975.00     N/A
Ravikumar                      Antitrust/Competition
Evan Ribot        Associate     Litigation - General       2021      719.58     55.70      $40,080.50     N/A
Whitney Rosser    Associate     Corporate - Capital                  700.37     102.90     $72,068.50     N/A
                                      Markets
Alexandra         Associate     Litigation - General       2021      745.00     28.20      $21,009.00     N/A
Schrader
Samuel J.         Associate         Restructuring          2019      850.68     499.40    $424,831.00     N/A
Seneczko
Kelly Seranko     Associate     Litigation - General       2019      760.00      0.80       $608.00       N/A
Charles B.        Associate        Restructuring           2019      839.44      9.90      $8,310.50      N/A
Sterrett
Benjamin P.       Associate         Restructuring                    724.56     717.00    $519,511.00     N/A
Stone
Samantha N.       Associate     Corporate - General        2019      875.00      0.20       $175.00       N/A
Stowers
William           Associate         Restructuring          2021      725.96     444.00    $322,328.00     N/A
Thompson
Scott J. Vail     Associate         Restructuring          2016      1,070.81    27.00     $28,912.00     N/A
Eric J. Wendorf   Associate         Restructuring          2021       732.49    392.70    $287,647.50     N/A
Chambliss         Associate         Restructuring          2019       848.59    239.10    $202,898.50     N/A
Williams
Laura Elizabeth   Associate     Litigation - Appellate     2018      1,066.02   106.20    $113,211.00     N/A
Wolk
Donna Zamir       Associate        Restructuring                      729.46    359.30    $262,096.50     N/A
Lamina Bowen         Of         Litigation - General       2016      1,080.00    0.60       $648.00       N/A
                  Counsel
Ellen M.             Of              Litigation -          1985      1,295.00    0.20       $259.00       N/A
Jakovic           Counsel      Antitrust/Competition
Bill Arnault       Partner      Litigation - General       2009      1,245.00   583.90    $726,955.50     N/A
Alexia Renee       Partner      Litigation - General       2014      1,095.00    1.00      $1,095.00      N/A
Brancato
Michael S.         Partner      Litigation - General       2008      1,255.00    8.00      $10,040.00     N/A
Casey
Kate               Partner    Executive Compensation       2010      1,295.00   16.50      $21,367.50     N/A
Coverdale, P.C.
Chad Davis         Partner    Corporate - Debt Finance     2013      1,205.71   54.60      $65,832.00     N/A
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Professional      Position            Dept.             First Bar   Hourly     Total       Total         Rate
                                                        Admission   Billing    Billed   Compensation   Increases
                                                          Date       Rate      Hours
Thad W. Davis,    Partner            Taxation             2005      1,475.00    4.80      $7,080.00      N/A
P.C.
David L. Eaton    Partner         Restructuring           1978      1,695.00   18.10      $30,679.50     N/A
Michael Engel     Partner           Litigation -                    1,155.00   86.40      $99,792.00     N/A
                              Antitrust/Competition
James P.          Partner      Litigation - General       1990      1,535.00   12.10      $18,573.50     N/A
Gillespie, P.C.
Michael A.        Partner      Litigation - General       2009      1,325.00   92.80     $122,960.00     N/A
Glick
Susan D.          Partner          Restructuring          1988      1,220.00    0.50       $610.00       N/A
Golden
H. Boyd           Partner     Government Contracts        2006      1,295.00    0.30       $388.50       N/A
Greene IV
Anthony R.        Partner          Restructuring          2010      1,220.00   306.10    $373,442.00     N/A
Grossi
Lance Kurtis      Partner      Corporate - Capital        2015      1,155.00    1.00      $1,155.00      N/A
Hancock                              Markets
Erik Hepler       Partner    Corporate - Debt Finance     1990      1,495.00    0.30       $448.50       N/A
Carla A.R.        Partner           Litigation -          2005      1,215.00    1.30      $1,579.50      N/A
Hine                          Antitrust/Competition
Kevin M. Jonke    Partner      Litigation - General       2015      1,080.00   86.40      $93,312.00     N/A
Natalie Hoyer     Partner            Taxation             1997      1,420.00   2.60       $3,692.00      N/A
Keller
Andrew            Partner          Corporate -            2014      1,195.00   17.50      $20,912.50     N/A
Kimball                        M&A/Private Equity
Joshua Korff,     Partner      Corporate - Capital        1994      1,645.00   19.00      $31,255.00     N/A
P.C.                                 Markets
Mario             Partner      International Trade        1997      1,695.00    2.20      $3,729.00      N/A
Mancuso, P.C.
Casey             Partner      Litigation - General                 1,095.00   137.50    $150,562.50     N/A
McGushin
Shawn             Partner         Corporate -             2007      1,355.00   28.00      $37,940.00     N/A
OHargan, P.C.                  M&A/Private Equity
John C.           Partner        IP Litigation            2001      1,495.00   126.50    $189,117.50     N/A
O’Quinn, P.C.
David L.          Partner          Corporate -            2013      1,185.00   59.20      $70,152.00     N/A
Perechocky                     M&A/Private Equity
William T.        Partner      Litigation - General       2004      1,275.00    1.00      $1,275.00      N/A
Pruitt
Harker Rhodes     Partner      Litigation - Appellate     2014      1,145.00    6.20      $7,099.00      N/A
Anna              Partner       Corporate - Capital                 1,125.00    1.50      $1,687.50      N/A
Schwander                             Markets
Steven N.         Partner          Restructuring          2010      1,495.00   464.10    $693,829.50     N/A
Serajeddini,
P.C.
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Professional      Position            Dept.             First Bar   Hourly      Total         Total           Rate
                                                        Admission   Billing     Billed     Compensation     Increases
                                                          Date       Rate       Hours
Anthony           Partner           Taxation              2011      1,325.00    227.20      $301,040.00       N/A
Vincenzo
Sexton
Anne McClain      Partner      Litigation - General       1992      1,615.00    164.90      $266,313.50       N/A
Sidrys, P.C.
Michael B.        Partner      Litigation - General       1999      1,445.00    363.30      $524,968.50       N/A
Slade
Marcus            Partner      Litigation - General                 1,545.00     1.80        $2,781.00        N/A
Thompson
Andy Veit, P.C.   Partner    Corporate - Debt Finance     2010      1,376.36    11.00        $15,140.00       N/A
Laurent Victor-   Partner          Corporate -                      1,335.00    12.00        $16,020.00       N/A
Michel                        M&A/Private Equity
Aparna            Partner         Restructuring           2013      1,195.00    184.00      $219,880.00       N/A
Yenamandra
Sara B.           Partner           Taxation              2003      1,675.00     0.80        $1,340.00        N/A
Zablotney, P.C.
Jeffrey J.        Partner      Litigation - General       2001      1,495.00    142.30      $212,738.50       N/A
Zeiger, P.C.
                                                                     Total:    12,991.40   $12,605,395.00


            Blended Rate Excluding Paraprofessionals                $970.29
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     Steven N. Serajeddini, P.C. (admitted pro hac vice)                                      Peter J. Barrett (VA 46179)
     Aparna Yenamandra (admitted pro hac vice)                                            Jeremy S. Williams (VA 77469)
     KIRKLAND & ELLIS LLP                                                                Brian H. Richardson (VA 92477)
     KIRKLAND & ELLIS INTERNATIONAL LLP                                                            KUTAK ROCK LLP
     601 Lexington Avenue                                                                901 East Byrd Street, Suite 1000
     New York, New York 10022                                                            Richmond, Virginia 23219-4071
     Telephone:         (212) 446-4800                                                 Telephone:          (804) 644-1700
     Facsimile:         (212) 446-4900                                                 Facsimile:          (804) 783-6192

     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                            )
     In re:                                                                 )     Chapter 11
                                                                            )
     INTELSAT S.A., et al.,1                                                )     Case No. 20-32299 (KLP)
                                                                            )
                                  Debtors.                                  )     (Jointly Administered)
                                                                            )

                          FIFTH INTERIM FEE APPLICATION OF
                     KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                   INTERNATIONAL LLP, ATTORNEYS FOR THE DEBTORS
                AND DEBTORS IN POSSESSION, FOR THE INTERIM FEE PERIOD
                FROM JUNE 1, 2021 THROUGH AND INCLUDING AUGUST 31, 2021

              Kirkland & Ellis LLP and Kirkland & Ellis International LLP (together, “K&E”), attorneys

 for the above-captioned debtors and debtors in possession (collectively, the “Debtors”), hereby

 submits its fifth interim fee application (the “Fee Application”) for allowance of compensation for

 professional services provided in the amount of $12,898,705.00 and reimbursement of actual and

 necessary expenses in the amount of $639,958.52 that K&E incurred for the period from

 June 1, 2021 through August 31, 2021 (the “Fee Period”). In support of this Fee Application, K&E

 submits the declaration of Steven N. Serajeddini, president of Steven N. Serajeddini, P.C., a


 1
        Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
        complete list of the Debtor entities and the last four digits of their federal tax identification numbers is not
        provided herein. A complete list may be obtained on the website of the Debtors’ claims and noticing agent at
        https://cases.stretto.com/intelsat. The location of the Debtors’ service address is: 7900 Tysons One Place,
        McLean, VA 22102.
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 partner of K&E (the “Serajeddini Declaration”), which is attached hereto as Exhibit A and

 incorporated by reference. In further support of this Fee Application, K&E respectfully states as

 follows.

                                     Jurisdiction and Venue

        1.      The United States Bankruptcy Court for the Eastern District of Virginia

 (the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

 Standing Order of Reference from the United States District Court for the Eastern District of

 Virginia, dated August 15, 1984. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The bases for the relief requested herein are sections 330 and 331 of title 11 of the

 United States Code (the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), rule 2016-1 of the Local Rules of the United States

 Bankruptcy Court for the Eastern District of Virginia (the “Local Bankruptcy Rules”), and the

 Order (I) Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

 Retained Professionals and (II) Granting Related Relief [Docket No. 425] (the “Interim

 Compensation Order”).

                                           Background

        4.      On May 13, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

 businesses and managing their properties as debtors-in-possession pursuant to sections 1107(a)

 and 1108 of the Bankruptcy Code. On May 15, 2020, the Court entered an order [Docket No. 89]

 authorizing the joint administration and procedural consolidation of the Debtors’ chapter 11 cases

 pursuant to Bankruptcy Rule 1015(b). No request has been made for the appointment of a trustee

 or examiner in these chapter 11 cases. On May 27, 2020, the United States Trustee for the Eastern


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 District of Virginia (the “U.S. Trustee”) appointed an official committee of unsecured creditors

 pursuant to section 1102 of the Bankruptcy Code (the “Committee”) [Docket No. 193].

         5.        A description of the Debtors’ businesses, the reasons for commencing the

 chapter 11 cases, and the relief sought from the Court to allow for a smooth transition into

 chapter 11 are set forth in the Declaration of David Tolley, Executive Vice President, Chief

 Financial Officer, and Co-Chief Restructuring Officer of Intelsat S.A. in Support of Chapter 11

 Petitions and First Day Motions, filed on May 14, 2020 [Docket No. 6] and incorporated herein

 by reference.

         6.        On June 30, 2020, the Court entered the Interim Compensation Order, which sets

 forth the procedures for interim compensation and reimbursement of expenses for all professionals

 in these cases.

                                           Preliminary Statement

         7.        During the Fee Period, K&E represented the Debtors professionally and diligently,

 advising them through a complex mediation with all the significant stakeholders in these cases,

 which culminated in a plan support agreement that has been executed by more than 80% of the

 Debtors’ debtholders.

         8.        Prior to the Fee Period, on April 21, 2021, the Court entered the Order Compelling

 Mediation of Plan and Confirmation-Related Disputes and Appointing Judicial Mediator [Docket

 No. 2049] (the “Mediation Order”), granting the Debtors’ request for court-ordered mediation, and

 appointing the Honorable Frank J. Santoro, Chief Judge for the United States Bankruptcy Court

 of the Eastern District of Virginia as the judicial mediator (the “Mediator”). All material

 stakeholders were directed to participate in the mediation.2


 2
     The material stakeholders include the ad hoc group of certain prepetition secured parties represented by Akin
     Gump Strauss Hauer & Feld LLP and Centerview Partners LLC (the “Jackson Ad Hoc Group”), the ad hoc group


                                                        3
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        9.       The mediation began with the Mediator rapidly getting up to speed on the various

 complex issues in these chapter 11 cases and the positions of the mediation parties, both through

 the Mediator’s own independent analyses and conversations with and presentations from certain

 of the mediation parties, including the Debtors, as led by K&E. Numerous mediation sessions

 were held throughout the summer of 2021, including on June 30 and July 1, 2021, when certain

 principals of the mediation parties and their advisors met in-person—for the first time in these

 chapter 11 cases—in Richmond, Virginia for mediation sessions with the Mediator and each other.

 Further in person mediation sessions were held in Richmond on July 15, 2021. At each of the

 sessions, the Debtors were led by K&E.

        10.      After months of negotiations, mediation worked. On the heels of over a year of

 multiple, parallel, investigations and discovery efforts, all but one of the Debtors’ key creditor

 constituencies were able to reach agreement on the key terms of a plan and plan support agreement.

 K&E led the Debtors in the weeks of grueling negotiations that followed, helping negotiate, draft,

 and document the extremely complex plan support agreement and ancillary term sheets, plan of

 reorganization, disclosure statement, and other related definitive documents. On August 25, 2021,

 the Debtors entered into a new plan support agreement (the “Plan Support Agreement”) with their

 supporting creditors, and shortly thereafter filed the Second Amended Joint Chapter 11 Plan of

 Reorganization of Intelsat S.A. and Its Debtor Affiliates [Docket No. 2773] (the “Second Amended




    of certain other prepetition secured parties represented by Wilmer Cutler Pickering Hale and Dorr LLP (the “First
    Lien Noteholders Group”), the crossover ad hoc group of term loan lenders and noteholders represented by Jones
    Day and Houlihan Lokey Capital, Inc. (the “Jackson Crossover Ad Hoc Group”), the ad hoc group of noteholders
    and equity holders represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP and Ducera Partners LLC
    (the “HoldCo Creditor Ad Hoc Group”), the ad hoc group of holders of primarily convertible senior notes and
    equity represented by Stroock & Stroock & Lavan LLP (the “Convertible Notes Group” and, together with the
    foregoing, collectively the “Ad Hoc Groups”), U.S. Bank National Association, in its capacity as Indenture
    Trustee for the Jackson Senior Notes (“U.S. Bank”), the ad hoc group of equity holders of Intelsat S.A. (the “Ad
    Hoc Equity Group”), and SES Americom Inc. (“SES”).



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 Plan” or the “Plan”), and the Second Amended Disclosure Statement for the Second Amended Joint

 Chapter 11 Plan of Reorganization of Intelsat S.A. and Its Debtor Affiliates [Docket No. 2774]

 (the “Second Amended Disclosure Statement”). The Second Amended Plan is supported by the

 vast majority of the Debtors’ key stakeholders and is now headed towards confirmation on

 December 2, 2021.

         11.      Importantly, however, the Plan, the settlement it incorporates, and the Plan Support

 Agreement, are all predicated on the mutual understanding that each of the Debtors and the plan

 supporters—collectively representing 80% of the capital structure—likely has a different view on

 the relative strengths of each of the issues resolved pursuant to the Plan. Reaching this delicate

 balance was immensely complex and required the skill and advice provided by K&E.

         12.      In parallel to mediation and negotiations, K&E has tackled extensive and

 complicated litigation. Prior to the hearing on September 1, 2021 on the Second Amended

 Disclosure Statement (the “Disclosure Statement Hearing”), the Debtors had made available for

 deposition more than a dozen witnesses, including Intelsat’s CEO, CFO, General Counsel, and

 many others. On behalf of the Debtors, K&E had also received and responded to more than 200

 separate requests for production and had produced over 100,000 documents consisting of more

 than 850,000 pages. The Debtors had received more than 130 interrogatories (including subparts)

 and more than 60 requests for admission. And since the Disclosure Statement Hearing, at least 25

 additional depositions have been scheduled, including at least a dozen witnesses affiliated with the

 Debtors. Dozens of expert reports have been exchanged. K&E has spearheaded this massive

 litigation effort.

         13.      Finally, in anticipation of successfully prosecuting the Plan to confirmation, the

 Debtors, as led by K&E, have been pursuing the numerous work streams necessary to eventually




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 emerge from chapter 11. Lawyers from K&E’s corporate, debt finance and capital markets, tax,

 and regulatory groups are all doing the difficult work of ensuring the Debtors are able to efficiently

 implement the value-maximizing restructuring transactions contemplated by the Plan, including

 raising the financing required to fund distributions provided for under the Plan and obtaining the

 many regulatory consents necessary to emerge.

        14.     In short, as has been the case throughout these chapter 11 cases, K&E has provided

 extremely valuable services to the Debtors in furtherance of this historically complex restructuring,

 and the compensation sought in this Application is appropriate and should be allowed.

                                  The Debtors’ Retention of K&E

        15.     On July 1, 2020, the Court entered the Order Authorizing the Retention and

 Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the

 Debtors and Debtors in Possession Effective as of May 13, 2020 [Docket No. 452]

 (the “Retention Order”), attached hereto as Exhibit B and incorporated by reference.             The

 Retention Order authorizes the Debtors to compensate and reimburse K&E in accordance with the

 Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and the Interim

 Compensation Order. The Retention Order also authorizes the Debtors to compensate K&E at

 K&E’s hourly rates charged for services of this type and to reimburse K&E for K&E’s actual and

 necessary out-of-pocket expenses incurred, subject to application to this Court. The particular

 terms of K&E’s engagement are detailed in the engagement letter by and between K&E and the

 Debtors, effective as of May 13, 2020, and attached hereto as Exhibit C (the “Engagement

 Letter”).

        16.     The Retention Order authorizes K&E to provide the following services consistent

 with and in furtherance of the services enumerated above:




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                a.     advising the Debtors with respect to their powers and duties as
                       debtors-in-possession in the continued management and operation of their
                       businesses and properties;

                b.     preparing pleadings, including motions, applications, answers, orders,
                       reports, and papers necessary or otherwise beneficial to the administration
                       of the Debtors’ estates and consistent with the services identified in the
                       Retention Order;

                c.     appearing before the Court and any appellate courts to represent the interests
                       of the Debtors’ estates before those courts in connection with the services
                       in the Retention Order; and

                d.     performing all other legal services reasonably necessary or otherwise
                       beneficial for the Debtors in connection with these chapter 11 cases.

                                    Disinterestedness of K&E

        17.     To the best of the Debtors’ knowledge and as disclosed in the Declaration of

 Steven N. Serajeddini in Support of the Debtors’ Application for the Entry of an Order Authorizing

 the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP

 as Attorneys for the Debtors and Debtors in Possession Effective as of May 13, 2020

 [Docket No. 295, Exhibit B], the First Supplemental Declaration of Steven N. Serajeddini in

 Support of the Debtors’ Application for the Retention and Employment of Kirkland & Ellis LLP

 and Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

 Effective as of May 13, 2020 [Docket No. 745], the Second Supplemental Declaration of Steven N.

 Serajeddini in Support of the Debtors’ Application for the Retention and Employment of

 Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and

 Debtors in Possession Effective as of May 13, 2020 [Docket No. 1159], the Third Supplemental

 Declaration of Steven N. Serajeddini in Support of the Debtors’ Application for the Retention and

 Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the

 Debtors and Debtors in Possession Effective as of May 13, 2020 [Docket No. 1309], the Fourth

 Supplemental Declaration of Steven N. Serajeddini in Support of the Debtors’ Application for the


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 Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as

 Attorneys for the Debtors and Debtors in Possession Effective as of May 13, 2020

 [Docket No. 2251], and the Fifth Supplemental Declaration of Steven N. Serajeddini in Support of

 the Debtors’ Application for the Retention and Employment of Kirkland & Ellis LLP and

 Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

 Effective as of May 13, 2020 [Docket No. 2844] (together, the “K&E Declarations”), (a) K&E is

 a “disinterested person” within the meaning of section 101(14) of the Bankruptcy Code, as required

 by section 327(a) of the Bankruptcy Code, and does not hold or represent an interest adverse to

 the Debtors’ estates and (b) K&E has no connection to the Debtors, their creditors, or other parties

 in interest, except as may be disclosed in the K&E Declarations.

        18.     K&E may have in the past represented, may currently represent, and likely in the

 future will represent parties in interest in connection with matters unrelated to the Debtors in these

 chapter 11 cases. In the K&E Declarations, K&E disclosed its connections to parties in interest

 that it has been able to ascertain using its reasonable efforts. K&E will update the K&E

 Declarations, as appropriate, if K&E becomes aware of relevant and material new information.

        19.     K&E performed the services for which it is seeking compensation on behalf of the

 Debtors and their estates, and not on behalf of any committee, creditor, or other entity.

        20.     Except to the extent of the advance payments paid to K&E that K&E previously

 disclosed to this Court in the K&E Declarations, K&E has received no payment and no promises

 for payment from any source other than the Debtors for services provided or to be provided in any

 capacity whatsoever in connection with these chapter 11 cases.

        21.     Pursuant to Bankruptcy Rule 2016(b), K&E has not shared, nor has K&E agreed to

 share (a) any compensation it has received or may receive with another party or person other than




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 with the partners, counsel, and associates of K&E or (b) any compensation another person or party

 has received or may receive.

                     Summary of Compliance with Interim Compensation Order

          22.      This    Fee     Application      has       been     prepared   in   accordance   with   the

 Interim Compensation Order.

          23.      K&E seeks interim compensation for professional services rendered to the Debtors

 during the Fee Period in the amount of $12,898,705.00 and reimbursement of actual and necessary

 expenses incurred in connection with providing such services in the amount of $639,958.52.

 During the Fee Period, K&E attorneys and paraprofessionals expended a total of 13,746.20 hours

 for which compensation is requested.

          24.      In accordance with the Interim Compensation Order, as of the date hereof, K&E

 has received payments totaling $10,958,922.52 ($10,318,964.00 of which was for services

 provided and $639,958.52 of which was for reimbursement of expenses) for the Fee Period.

 Accordingly, by this Fee Application, and to the extent such amounts have not been paid by the

 time of the hearing on this Fee Application, K&E seeks payment of the remaining $2,579,741.00,

 which amount represents the entire amount of unpaid fees and expenses incurred between

 June 1, 2021 and August 31, 2021.3

                             Fees and Expenses Incurred During Fee Period

 A.       Customary Billing Disclosures.

          25.      K&E’s hourly rates are set at a level designed to compensate K&E fairly for the

 work of its attorneys and paraprofessionals and to cover fixed and routine expenses. The hourly

 rates and corresponding rate structure utilized by K&E in these chapter 11 cases are equivalent to


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      This amount also reflects the 20% holdback for the Fee Period.



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 the hourly rates and corresponding rate structure used by K&E for other restructuring matters, as

 well as similar complex corporate, securities, and litigation matters whether in court or otherwise,

 regardless of whether a fee application is required. The rates and rate structure reflect that such

 restructuring and other complex matters typically are national in scope and typically involve great

 complexity, high stakes, and severe time pressures. For the convenience of the Court and all

 parties in interest, attached hereto as Exhibit D is K&E’s budget and staffing plan for this Fee

 Period and attached hereto as Exhibit E is a summary of blended hourly rates for timekeepers who

 billed to non-bankruptcy matters and blended hourly rates for timekeepers who billed to the

 Debtors during the Fee Period.

 B.     Fees Incurred During Fee Period.

        26.     In the ordinary course of K&E’s practice, K&E maintains computerized records of

 the time expended to render the professional services required by the Debtors and their estates.

 For the convenience of the Court and all parties in interest, attached hereto as Exhibit F is a

 summary of fees incurred and hours expended during the Fee Period, setting forth the following

 information:

        •       the name of each attorney and paraprofessional for whose work on these chapter 11
                cases compensation is sought;

        •       each attorney’s year of bar admission and area of practice concentration;

        •       the aggregate time expended and fees billed by each attorney and each
                paraprofessional during the Fee Period;

        •       the hourly billing rate for each attorney and each paraprofessional at K&E’s current
                billing rates;

        •       the hourly billing rate for each attorney and each paraprofessional as disclosed in
                the first interim application;

        •       the number of rate increases since the inception of the case; and




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        •       a calculation of total compensation requested using the rates disclosed in the
                Debtors’ Application for Entry of an Order Authorizing the Retention and
                Employment of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
                Attorneys for the Debtors and Debtors in Possession Effective as of May 13, 2020
                [Docket No. 295] (the “Retention Application”).

 C.     Expenses Incurred During Fee Period.

        27.     In the ordinary course of K&E’s practice, K&E maintains a record of expenses

 incurred in the rendition of the professional services required by the Debtors and their estates and

 for which reimbursement is sought.        K&E currently charges $0.16 per page for standard

 duplication in its offices in the United States. K&E does not charge its clients for incoming

 facsimile transmissions.

        28.     For the convenience of the Court and all parties in interest, attached hereto as

 Exhibit G is a summary for the Fee Period, setting forth the total amount of reimbursement sought

 with respect to each category of expenses for which K&E is seeking reimbursement.

                 Summary of Legal Services Rendered During the Fee Period

        29.     As discussed above, during the Fee Period, K&E provided extensive and important

 professional services to the Debtors in connection with these chapter 11 cases. These services

 were often performed under severe time constraints and were necessary to address a multitude of

 critical issues both unique to these chapter 11 cases and typically faced by large corporate debtors

 in similar cases of this magnitude and complexity.

        30.     To provide a meaningful summary of K&E’s services provided on behalf of the

 Debtors and their estates, K&E has established, in accordance with its internal billing procedures,

 certain subject matters categories (each, a “Matter Category”) in connection with these chapter 11




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 cases. The following is a summary of the fees and hours billed for each Matter Category in the

 Fee Period:4

     Matter           Matter Category                      Hours                           Total Compensation
     Number            Description                 Budgeted          Billed            Budgeted                 Billed
                  Corporate & Governance
       3                  Matters                  524 - 602         564.80       $561,000 - $645,200        $476,210.50
                 Disclosure Statement / Plan /
       4                Confirmation              4,584 - 5,271     6,380.90     $4,400,000 - $5,060,000    $5,928,527.50
                     Financing and Cash
       5                 Collateral                  67 - 77         595.80         $55,000 - $63,300        $545,872.50
       6            Automatic Stay Issues            72 - 82         20.20          $55,000 - $63,300        $13,660.50
       7              Section 363 Issues           133 - 152         15.10        $110,000 - $126,500        $14,664.00
                   Executory Contracts &
       8             Unexpired Leases              360 - 414         138.60       $319,000 - $366,900        $107,026.50
       9             Business Operations           136 - 156         382.70       $110,000 - $126,500        $310,921.00
       10           Claims Administration         2,177 - 2,503     1,649.80     $2,068,900 - $2,379,200    $1,332,994.50
                  U.S. Trustee and Statutory
       11                 Reporting                    0             64.00                 $0                $51,019.50
       12                  Hearings                194 - 223         49.30        $220,000 - $253,000        $47,680.00
       13           Non-Working Travel             264 - 303         65.00        $132,000 - $151,800        $76,473.00
       14              Employee Issues               34 - 39         26.90          $33,000 - $38,000        $33,086.50
       15                 Insurance                  11 - 12          8.20          $11,000 - $12,700         $7,151.50
       17                 Tax Issues               372 - 427         419.00       $374,000 - $430,100        $451,751.50
                 Environmental / Regulatory
       18                 Issues                     83 - 95         250.50        $88,000 - $101,200        $264,950.00
       20            Case Administration           253 - 290         384.20       $187,000 - $215,100        $283,091.50
       21              Retention K&E               403 - 463         319.30       $286,000 - $328,900        $252,637.00
       22            Retention Non-K&E               55 - 63         84.20          $44,000 - $50,600        $75,103.00
       40             Litigation Advice           1,840 - 2,116     2,190.80     $1,903,500 - $2,189,000    $2,446,829.50
       41          Project Galactica (363)             0              1.30                 $0                 $1,391.00
                   Gogo Inc. Post-petition
       42                 Advice                     33 - 37         80.80          $33,000 - $38,000        $124,133.00
       43              Insured Matters               22 - 25         54.80          $22,000 - $25,300        $53,531.00
      Total                                      11,595 - 13,334    13,746.20   $11,000,000 - $12,700,000   $12,898,705.00

           31.      The following is a summary, by Matter Category, of the most significant

 professional services provided by K&E during the Fee Period. This summary is organized in

 accordance with K&E’s internal system of matter numbers. The detailed descriptions demonstrate

 that K&E was heavily involved in performing services for the Debtors on a daily basis, often


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     In certain instances K&E may have billed the same amount of fees, but different amount of hours to different
     Matter Categories. This difference is the result of different staffing of each such matter category.



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 including night and weekend work, to meet the needs of the Debtors’ estates in these chapter 11

 cases. A schedule setting forth a description of the Matter Categories utilized in this case, the

 number of hours expended by K&E partners, associates and paraprofessionals by matter, and the

 aggregate fees associated with each matter is attached hereto as Exhibit H.

        32.     In addition, K&E’s computerized records of time expended providing professional

 services to the Debtors and their estates are attached hereto as Exhibit I, and K&E’s records of

 expenses incurred during the Fee Period in the rendition of professional services to the Debtors

 and their estates are attached as Exhibit J.

                (a)     Corporate and Governance Matters [Matter No. 3]

                        Total Fees:  $476,210.50
                        Total Hours: 564.80

        33.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

 advising the Debtors and the Debtors’ Board of Directors (the “Board”) regarding certain corporate

 governance matters including corporate structuring matters. Specifically, K&E attorneys and

 paraprofessionals spent time:

                        (i)      preparing proxy statement materials;

                        (ii)     researching, reviewing, and evaluating Luxembourg law issues
                                 related to the restructuring;

                        (iii)    researching, reviewing, and preparing         materials   regarding
                                 disinterested directors and their advisors;

                        (iv)     researching and preparing materials regarding nondisclosure
                                 agreements;

                        (v)      preparing materials for board meetings and the annual shareholders’
                                 meeting;

                        (vi)     complying with corporate governance requirements, including
                                 drafting minutes, board resolutions, and written consents; and

                        (vii)    complying with securities regulations, including the preparation and
                                 provision of transaction cleansing materials, evaluation of certain


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                               registration issues, and research and preparation of materials
                               pertaining to securities-related disclosures and regulatory
                               requirements.

               (b)     Disclosure Statement, Plan, and Confirmation [Matter No. 4]

                       Total Fees:  $5,928,527.50
                       Total Hours: 6,380.90

        34.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services related to the Second Amended Disclosure Statement, the Second Amended

 Plan, the Plan Support Agreement, and emergence considerations in connection with these

 chapter 11 cases. Specifically, K&E attorneys and paraprofessionals spent time:

                       (i)     analyzing value allocation issues and coordinating with advisors
                               regarding the same;

                       (ii)    drafting, reviewing, and revising analyses regarding Luxembourg
                               legal considerations related to the chapter 11 plan;

                       (iii)   evaluating certain emergence risks and issues and coordinating with
                               advisors regarding the same;

                       (iv)    attending numerous virtual and in-person mediation sessions;

                       (v)     drafting, negotiating, reviewing, and revising the Plan Support
                               Agreement, the Second Amended Disclosure Statement, related
                               exhibits, and a related order;

                       (vi)    drafting, negotiating, reviewing, and revising various terms sheets,
                               including the Plan term sheet, the contingent value rights term sheet,
                               the warrants term sheet, the governance term sheet, and the
                               emergence term sheet;

                       (vii)   drafting, negotiating, reviewing, and revising the Debtors’ Second
                               Amended Plan;

                       (viii) drafting, reviewing, revising memoranda regarding confirmation
                              considerations

                       (ix)    evaluating various creditor proposals;

                       (x)     developing presentations and other materials regarding mediation
                               and Plan structuring considerations;



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                        (xi)    drafting, reviewing, revising, and filing the Debtors’ Third Motion
                                to Extend Their Exclusive Period to File and Solicit Acceptances of
                                a Chapter 11 Plan [Docket No. 2606];

                        (xii)   researching, reviewing, and evaluating objections, statements, and
                                reservation of rights to the Second Amended Disclosure Statement
                                [Docket Nos. 2572, 2623, 2627, 2742, 2743, 2744, 2745, 2746];

                        (xiii) researching, reviewing, and evaluating precedent regarding Plan
                               strategies and components, including issues related to Plan
                               confirmation;

                        (xiv)   reviewing and revising the Debtors’ memorandum of law in support
                                of confirmation;

                        (xv)    drafting, reviewing, revising, and filing the Debtors’ Omnibus Reply
                                to Objections to the (A) Disclosure Statement Motion and
                                (B) Guarantee Scheduling Motion [Docket No. 2777];

                        (xvi)   researching, reviewing, and, evaluating potential tax issues relevant
                                to the Plan;

                        (xvii) engaging with stakeholders to build broader consensus for the
                               Second Amended Plan;

                        (xviii) developing the Second Amended Disclosure Statement; and

                        (xix)   responding to various inquiries from stakeholders regarding each of
                                the foregoing.

                (c)     Financing and Cash Collateral [Matter No. 5]

                        Total Fees:  $545,872.50
                        Total Hours: 595.80

        35.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services relating to the Debtors’ debtor-in-possession financing facility (the “DIP

 Facility”) and the use of cash collateral as defined in section 363(a) of the Bankruptcy Code (“Cash

 Collateral”). Specifically, K&E attorneys and paraprofessionals spent time:

                        (i)     reviewing and evaluating DIP related issues and inquiries;

                        (ii)    reviewing and evaluating the DIP credit agreement;




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                       (iii)   engaging in discussions and negotiations related to the replacement
                               DIP facility;

                       (iv)    reviewing, preparing, and analyzing pleadings regarding the
                               replacement DIP facility, including the Debtors’ Motion for Entry
                               of an Order (A) Authorizing the Dip Debtors to Obtain Replacement
                               Postpetition Financing, (B) Granting Liens and Superpriority
                               Administrative Expense Claims, (C) Extending the Use of Cash
                               Collateral, (D) Granting Adequate Protection to the Prepetition
                               Secured Parties, (E) Modifying the Automatic Stay, and (F)
                               Granting Related Relief [Docket No. 2761];

                       (v)     drafting an amendment and waiver to the DIP credit agreement; and

                       (vi)    discussing and analyzing cash collateral considerations.

               (d)     Automatic Stay Issues [Matter No. 6]

                       Total Fees:  $13,660.50
                       Total Hours: 20.20

        36.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services relating to the imposition of the automatic stay. Specifically, K&E attorneys

 and paraprofessionals spent time:

                       (i)     researching statutory law regarding the automatic stay;

                       (ii)    researching and revaluating the automatic stay as it relates to foreign
                               law;

                       (iii)   reviewing and evaluating various other automatic stay issues;

                       (iv)    reviewing and revising various memoranda regarding automatic
                               stay issues; and

                       (v)     reviewing and revising letters regarding the automatic stay.




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               (e)     Section 363 Issues [Matter No. 7]

                       Total Fees:  $14,664.00
                       Total Hours: 15.10

        37.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services relating to the Debtors’ property interests. Specifically, K&E attorneys and

 paraprofessionals spent time:

                       (i)       advising and corresponding with the Debtors and other stakeholders
                                 regarding potential section 363 transactions;

                       (ii)      reviewing and analyzing contracts and communications regarding
                                 customer and vendor issues;

                       (iii)     reviewing and evaluating various requests for information; and

                       (iv)      evaluating certain international, regulatory, and antitrust
                                 considerations regarding a potential section 363 transaction.

               (f)     Executory Contracts and Unexpired Leases [Matter No. 8]

                       Total Fees:  $107,026.50
                       Total Hours: 138.60

        38.    This Matter Category includes time spent by K&E attorneys examining issues

 related to the Debtors’ executory contracts and unexpired leases. K&E attorneys spent time

 researching, analyzing, renegotiating, or rejecting the Debtors’ obligations under their various

 executory contracts. Specifically, K&E attorneys spent time:

                       (i)       reviewing and revising agreements regarding certain executory
                                 contracts;

                       (ii)      researching and analyzing bankruptcy law application of certain
                                 contractual issues;

                       (iii)     preparing the Notice of Rejection of Certain Executory Contracts
                                 and/or Unexpired Leases [Docket No. 2160] and reviewing related
                                 pleadings;

                       (iv)      analyzing issues related to assumption and rejection of certain
                                 unexpired leases and other lease issues; and



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                       (v)       analyzing issues related to disputed executory contracts and other
                                 contract issues.

               (g)     Business Operations [Matter No. 9]

                       Total Fees:  $310,921.00
                       Total Hours: 382.70

        39.    K&E attorneys and paraprofessionals spent time implementing and executing the

 Debtors’ strategy for continuing business operations with minimal disruptions as the chapter 11

 cases continue. Specifically, K&E attorneys and paraprofessionals spent time:

                       (i)       conferring with the Debtors and their various advisors regarding
                                 ordinary course business operations;

                       (ii)      analyzing issues regarding vendor, accounting, operational
                                 inquiries, and creditor matters;

                       (iii)     analyzing issues related to the Debtors’ claims in other bankruptcy
                                 cases;

                       (iv)      analyzing issues regarding certain chapter 11 proceedings in which
                                 the Debtors’ are creditors;

                       (v)       preparing pleadings related to certain chapter 11 proceedings in
                                 which the Debtors’ are creditors; and

                       (vi)      corresponding with the internal working group, the Debtors’
                                 financial advisors regarding monthly operating reports and other
                                 operational analyses.

               (h)     Claims Administration [Matter No. 10]

                       Total Fees:  $1,332,994.50
                       Total Hours: 1,649.80

        40.    This Matter Category includes time K&E attorneys and paraprofessionals spent on

 matters related to claims administration and settlement.        Specifically, K&E attorneys and

 paraprofessionals spent time:

                       (i)       preparing for and participating in depositions regarding SES claims;

                       (ii)      preparing, reviewing, and analyzing pleadings, transcripts, exhibits
                                 pertaining to SES claims;


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                       (iii)   preparing, reviewing, and analyzing pleadings and exhibits
                               regarding various claims issues, including certain claim settlements
                               and estimation of certain claims;

                       (iv)    preparing for various trials and depositions regarding claims;

                       (v)     reviewing and analyzing evidence regarding proceedings pertaining
                               to disputed claims;

                       (vi)    reviewing and analyzing responses to proofs of claim objections;

                       (vii)   reviewing and analyzing claims objections and corresponding with
                               an internal working group regarding related strategy; and

                       (viii) drafting and revising an omnibus claims objection.

                (i)    U.S. Trustee and Statutory Reporting [Matter No. 11]

                       Total Fees:  $51,019.50
                       Total Hours: 64.00

        41.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

 spent on matters related to U.S. Trustee and other regulatory issues. Specifically, K&E attorneys

 and paraprofessionals spent time:

                       (i)     researching and reviewing monthly operating reports and related
                               U.S. Trustee guidelines; and

                       (ii)    analyzing and drafting a response to the U.S. Trustee’s letter related
                               to a request to form an equity committee.

                (j)    Hearings [Matter No. 12]

                       Total Fees:  $47,680.00
                       Total Hours: 49.30

        42.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services related to preparing for and attending several hearings during the Fee Period on

 (each, a “Hearing” and, collectively, the “Hearings”), including preparing agendas, orders,

 presentations, and other documents related to the Hearings, settling orders before and after

 Hearings, and corresponding with various parties in preparation for, and after the Hearings. These



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 services also included conferences to discuss multiple matters scheduled for a specific Hearing

 and coordinating Hearing logistics. During the Fee Period, K&E attorneys and paraprofessionals

 spent considerable time preparing for and participating in Hearings including:

                       (i)     a pretrial status conference on June 2, 2021, in connection with the
                               Debtors’ Objection to Proofs of Claim Filed by SES Americom, Inc.,
                               and in the Alternative, Motion Seeking Equitable Subordination of
                               Claims [Docket No. 946]; and

                       (ii)    a hearing on August 19, 2021, for approval of the Debtors’ Motion
                               for Summary Judgment on Proofs of Claim 84-118 Asserted by SES
                               Americom, Inc. [Docket No. 2346] and the Debtors’ Objection to
                               SES Americom, Inc.’s Motion for Summary Judgment
                               [Docket No. 2461].

                (k)    Non-working Travel [Matter No. 13]

                       Total Fees:  $76,473.00
                       Total Hours: 65.00
        43.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

 traveling to and from various in-person meetings and mediation sessions.

                (l)    Employee Issues [Matter No. 14]

                       Total Fees:  $33,086.50
                       Total Hours: 26.90

        44.     The Debtors and K&E believe that a successful reorganization depends on retaining

 the workforce, thereby ensuring continuity of the Debtors’ business. As a result, this Matter

 Category includes time spent by K&E attorneys and paraprofessionals addressing the following

 employee issues:

                       (i)     analyzing the U.S. Trustee’s objection regarding the management
                               incentive plan;

                       (ii)    corresponding with the Debtors and the Debtors’ professionals
                               regarding certain employee compensation issues and
                               considerations; and




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                       (iii)   communicating with various advisors regarding management
                               incentive plan issues and other employee issues related to the
                               Second Amended Plan.

               (m)     Insurance [Matter No. 15]

                       Total Fees:  $7,151.50
                       Total Hours: 8.20
        45.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services related to ensuring that Debtors’ insurance policies were maintained during

 these chapter 11 cases. Specifically, K&E attorneys and paraprofessionals spent time analyzing

 and reviewing the Debtors’ insurance policies and analyzing issues regarding the same.

               (n)     Tax Issues [Matter No. 17]

                       Total Fees:  $451,751.50
                       Total Hours: 419.00
        46.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 conducting legal research, preparing correspondence and pleadings, and generally advising the

 Debtors on tax issues relating to or arising during the chapter 11 cases. During the Fee Period,

 K&E attorneys spent time:

                       (i)     drafting, reviewing, and revising mediation materials regarding tax
                               issues;

                       (ii)    evaluating deal proposals from a tax perspective;

                       (iii)   evaluating structuring issues from a tax perspective;

                       (iv)    coordinating with advisors to various stakeholders regarding
                               ongoing tax analyses; and

                       (v)     preparing, reviewing, and revising the Second Amended Plan,
                               Second Amended Disclosure Statement, and Plan documents for tax
                               issues.




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                (o)     Environmental/Regulatory Issues [Matter No. 18]

                        Total Fees:  $264,950.00
                        Total Hours: 250.50

        47.     This Matter Category includes time spent by K&E attorneys and paraprofessionals

 assessing issues related to regulatory matters, including with respect to various state-related,

 securities-related, and FCC-related regulatory issues. During the Fee Period, K&E attorneys

 spent time:

                        (i)     analyzing various regulatory issues considerations including
                                considerations regarding foreign direct investment, FCC, and
                                antitrust considerations;

                        (ii)    coordinating with certain creditor advisors regarding various
                                regulatory issues; and

                        (iii)   researching regulatory requirements in various foreign jurisdictions.

                (p)     Case Administration [Matter No. 20]

                        Total Fees:  $283,091.50
                        Total Hours: 384.20

        48.     This Matter Category includes time spent on a variety of tasks that were necessary

 to ensure the efficient and smooth administration of legal services related to the Debtors’

 chapter 11 cases. Specifically, K&E attorneys and paraprofessionals spent time:

                        (i)     coordinating, managing, and administering these chapter 11 cases
                                on a daily basis, including monitoring critical dates and maintaining
                                a case calendar, task lists, and work-in-progress reports; and

                        (ii)    managing case management tasks among K&E personnel and other
                                retained professionals.

        49.     Time billed to this Matter Category also includes work and meetings related to

 multiple matters such that the time cannot be easily allocated to one of the other matters.




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               (q)     K&E Retention [Matter No. 21]

                       Total Fees:  $252,637.00
                       Total Hours: 319.30

        50.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services related to the retention of K&E as the Debtors’ counsel. Specifically, K&E

 attorneys and paraprofessionals spent time:

                       (i)     drafting a budget and staffing plan;

                       (ii)    preparing and distributing K&E’s monthly fee statements in
                               accordance with the Interim Compensation Order;

                       (iii)   preparing the fourth interim fee application pursuant to the Order
                               (I) Establishing Procedures for Interim Compensation and
                               Reimbursement of Expenses for Retained Professionals and
                               (II) Granting Related Relief [Docket No. 425];

                       (iv)    reviewing fee examiner’s interim report, drafting a response, and
                               engaging with the fee examiner in good-faith to reach a consensual
                               resolution; and

                       (v)     reviewing all time entries to ensure compliance with the Interim
                               Compensation Order and applicable provisions of the Bankruptcy
                               Code, and to make necessary redactions to preserve the
                               confidentiality of the work performed for the Debtors.

               (r)     Non-K&E Retention [Matter No. 22]

                       Total Fees:  $75,103.00
                       Total Hours: 84.20

        51.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 providing services related to ensuring the retention of the Debtors’ other professionals in these

 chapter 11 cases. Specifically, K&E attorneys and paraprofessionals spent time:

                       (i)     drafting the Tenth Amendment to the List of Ordinary Course
                               Professionals [Docket No. 2432] and filing related declarations of
                               disinterestedness;

                       (ii)    drafting the Eleventh Amendment to the List of Ordinary Course
                               Professionals [Docket No. 2504] and filing related declarations of
                               disinterestedness;


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                       (iii)   drafting the Twelfth Amendment to the List of Ordinary Course
                               Professionals [Docket No. 2652] and filing related declarations of
                               disinterestedness;

                       (iv)    analyzing other advisors’ engagement letters and retention
                               applications;

                       (v)     assisting the Debtors’ other advisors regarding their respective fee
                               statements and applications; and

                       (vi)    corresponding with the Debtors’ other advisors with respect to
                               ordinary course professional compensation and complying with the
                               related disclosure requirements of applicable provisions of the
                               Bankruptcy Code.

               (s)     Litigation Advice [Matter No. 40]

                       Total Fees:  $2,446,829.50
                       Total Hours: 2,190.80

        52.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 relating to litigation, adversary proceedings, or other adversarial matters. Specifically, K&E

 attorneys and paraprofessionals spent time:

                       (i)     analyzing issues with respect to potential settlements and other
                               litigation issues;

                       (ii)    drafting, reviewing, and revising the Debtors’ Objection to SES
                               Americom, Inc.’s Motion for Summary Judgment [Docket
                               No. 2461];

                       (iii)   drafting, reviewing, and revising the Debtors’ Motion for Entry of
                               an Order (I) Adjourning the Guarantee-Related Motions and
                               Cross-Motions for Summary Judgment and Motion of the Jackson
                               Crossover Ad Hoc Group for Temporary Allowance and (II)
                               Granting Related Relief [Docket No. 2695];

                       (iv)    drafting, reviewing, and revising the Debtors’ Motion for Summary
                               Judgment on Proofs of Claim 84-118 Asserted by SES Americom,
                               Inc. [Docket No. 2346] and the Debtors’ Reply in Support of Their
                               Motion for Summary Judgment on SES’S Proofs of Claim Nos. 84-
                               118 [Docket No. 2555];

                       (v)     drafting various pleadings regarding scheduling motions, motions to
                               adjourn filed by various parties;



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                        (vi)    researching and drafting various memoranda regarding litigation
                                issues, including with respect to intercompany analysis;

                        (vii)   responding to informal information requests and discovery requests
                                in connection with various matters; and

                        (viii) corresponding and conferencing internally and with the K&E
                               restructuring team to coordinate case strategy, administration.

                (t)     Project Galactica (363) [Matter No. 41]

                        Total Fees:  $1,391.00
                        Total Hours: 1.30

         53.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 corresponding with various parties regarding a certain confidential transaction.

                (u)     Gogo Inc. Post-petition Advice [Matter No. 42]

                        Total Fees:  $124,133.00
                        Total Hours: 80.80

         54.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 relating to the Debtors’ investment in Gogo Inc.’s commercial aviation division. Specifically,

 K&E attorneys and paraprofessionals spent time analyzing and advising on certain post-closing

 issues and disputes.

                (v)     Insured Matters [Matter No. 43]

                        Total Fees:  $53,531.00
                        Total Hours: 54.80
         55.    This Matter Category includes time spent by K&E attorneys and paraprofessionals

 relating to certain litigation issues covered by the Debtors’ directors’ and officers’ insurance

 policies.

                        Actual and Necessary Expenses Incurred by K&E

         56.    As set forth in Exhibit I attached hereto, and as summarized in Exhibit G attached

 hereto, K&E has incurred a total of $639,958.52 in expenses on behalf of the Debtors during the



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 Fee Period. These charges are intended to reimburse K&E’s direct operating costs, which are not

 incorporated into the K&E hourly billing rates. K&E charges external copying and computer

 research at the provider’s cost without markup. Only clients who actually use services of the types

 set forth in Exhibit I of this Fee Application are separately charged for such services. The effect

 of including such expenses as part of the hourly billing rates would impose that cost upon clients

 who do not require extensive photocopying and other facilities and services.

                     Reasonable and Necessary Services Provided by K&E

 A.     Reasonable and Necessary Fees Incurred in Providing Services to the Debtors.

        57.     The foregoing professional services provided by K&E on behalf of the Debtors

 during the Fee Period were reasonable, necessary, and appropriate to the administration of these

 chapter 11 cases and related matters.

        58.     Many of the services performed by partners and associates of K&E were provided

 by K&E’s Restructuring Group. K&E has a prominent practice in this area and enjoys a national

 and international reputation for its expertise in financial reorganizations and restructurings of

 troubled companies, with over 150 attorneys focusing on this area of the law. The attorneys at

 K&E have represented either the debtor or the creditors’ committee or have acted as special

 counsel in many large chapter 11 cases.

        59.     In addition, due to the facts and circumstances of these chapter 11 cases, attorneys

 from K&E’s litigation, corporate and tax groups were heavily involved with K&E’s representation

 of the Debtors. These practice groups also enjoy a national and international reputation for their

 expertise. Overall, K&E brings to these chapter 11 cases a particularly high level of skill and

 knowledge, which inured to the benefit of the Debtors and all stakeholders.




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 B.     Reasonable and Necessary Expenses Incurred in Providing Services to the Debtors.

        60.     The time constraints imposed by the circumstances of these chapter 11 cases

 required K&E attorneys and other employees to devote substantial time during the evenings and

 on weekends to perform services on behalf of the Debtors. These services were essential to meet

 deadlines, respond to daily inquiries from various creditors and other parties in interest on a timely

 basis, and satisfy the demands of the Debtors’ businesses and ensure the orderly administration of

 their estates. Consistent with firm policy, and as further disclosed in the Retention Application,

 K&E attorneys and other K&E employees who worked late in the evenings or on weekends were

 reimbursed for their reasonable meal and transportation costs. K&E’s regular practice is not to

 include components for those charges in overhead when establishing billing rates, but rather to

 charge its clients for these and all other out-of-pocket disbursements incurred during the regular

 course of the rendition of legal services.

        61.     In addition, due to the location of the Debtors’ businesses, co-counsel, creditors,

 and other parties in interest in relation to K&E’s offices, frequent multi-party telephone

 conferences involving numerous parties were required. On many occasions, the exigencies and

 circumstances of these chapter 11 cases required overnight delivery of documents and other

 materials. The disbursements for such services are not included in K&E’s overhead for the purpose

 of setting billing rates and K&E has made every effort to minimize its disbursements in these

 chapter 11 cases. The actual expenses incurred in providing professional services were necessary,

 reasonable, and justified under the circumstances to serve the needs of the Debtors in these

 chapter 11 cases.

        62.     Among other things, K&E makes sure that all overtime meals, travel meals, hotel

 rates, and airfares are reasonable and appropriate expenses for which to seek reimbursement.

 Specifically, K&E regularly reviews its bills to ensure that the Debtors are only billed for services


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 that were actual and necessary and, where appropriate, prorates expenses. In that regard, K&E

 will waive certain fees and reduce its expenses if necessary. In the Fee Period, K&E voluntarily

 reduced its fees by $453,591.50 and expenses by $941.52. Consequently, K&E does not seek

 payment of such fees or reimbursement of such expenses in the Fee Application.

          K&E’s Requested Compensation and Reimbursement Should be Allowed

        63.     Section 331 of the Bankruptcy Code provides for interim compensation of

 professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code to

 govern the Court’s award of such compensation. Section 330 of the Bankruptcy Code provides

 that a court may award a professional employed under section 327 of the Bankruptcy Code

 “reasonable compensation for actual necessary services rendered . . . and reimbursement for actual,

 necessary expenses.” 11 U.S.C. § 330(a)(1). Section 330 also sets forth the criteria for the award

 of such compensation and reimbursement:

                In determining the amount of reasonable compensation to be awarded, the
                court should consider the nature, extent, and the value of such services,
                taking into account all relevant factors, including—

                          (a)   the time spent on such services;
                          (b)   the rates charged for such services;
                          (c)   whether the services were necessary to the
                                administration of, or beneficial at the time at which
                                the service was rendered toward the completion of,
                                a case under this title;
                          (d)   whether the services were performed within a
                                reasonable amount of time commensurate with the
                                complexity, importance, and nature of the problem,
                                issue, or task addressed; and
                          (e)   whether the compensation is reasonable based on
                                the customary compensation charged by
                                comparably skilled practitioners in cases other than
                                cases under this title.
 11 U.S.C. § 330(a)(3).




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         64.     K&E respectfully submits that the services for which it seeks compensation in this

 Fee Application were, at the time rendered, necessary for and beneficial to the Debtors and their

 estates and were rendered to protect and preserve the Debtors’ estates. K&E further believes that

 it performed the services for the Debtors economically, effectively, and efficiently, and the results

 obtained benefited not only the Debtors, but also the Debtors’ estates and the Debtors’ constituents.

 K&E further submits that the compensation requested herein is reasonable in light of the nature,

 extent, and value of such services to the Debtors, their estates, and all parties in interest.

         65.     During the Fee Period, K&E’s hourly billing rates for attorneys ranged from $625

 to $1,895. The hourly rates and corresponding rate structure utilized by K&E in these chapter 11

 cases are equivalent to the hourly rates and corresponding rate structure used by K&E for

 restructuring, workout, bankruptcy, insolvency, and comparable matters, and similar complex

 corporate, securities, and litigation matters, whether in court or otherwise, regardless of whether a

 fee application is required. K&E strives to be efficient in the staffing of matters. These rates and

 the rate structure reflect that such matters are typically national in scope and involve great

 complexity, high stakes, and severe time pressures—all of which are present in these

 chapter 11 cases.

         66.     Moreover, K&E’s hourly rates are set at a level designed to compensate K&E fairly

 for the work of its attorneys and paraprofessionals and to cover certain fixed and routine overhead

 expenses. Hourly rates vary with the experience and seniority of the individuals assigned. These

 hourly rates are subject to periodic adjustments to reflect economic and other conditions and are

 consistent with the rates charged elsewhere.

         67.     In sum, K&E respectfully submits that the professional services provided by K&E

 on behalf of the Debtors and their estates during these chapter 11 cases were necessary and




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 appropriate given the complexity of these chapter 11 cases, the time expended by K&E, the nature

 and extent of K&E’s services provided, the value of K&E’s services, and the cost of comparable

 services outside of bankruptcy, all of which are relevant factors set forth in section 330 of the

 Bankruptcy Code. Accordingly, K&E respectfully submits that approval of the compensation

 sought herein is warranted and should be approved.

        68.      No previous application for the relief sought herein has been made to this or any

 other Court.

                                 Reservation of Rights and Notice

        69.      It is possible that some professional time expended or expenses incurred during the

 Fee Period are not reflected in the Fee Application. K&E reserves the right to include such

 amounts in future fee applications. In addition, the Debtors have provided notice of this Fee

 Application to: (a) the U.S. Trustee; (b) those persons who have formally appeared and requested

 service in these cases pursuant to Bankruptcy Rule 2002; (c) counsel to the Committee; (d) those

 parties entitled to notice of the Fee Applications pursuant to the Interim Compensation Order

 (collectively, the “Notice Parties”). Pursuant to the Interim Compensation Order, any party, other

 than the Notice Parties, that wishes to object to the Fee Application, must file its objection with

 the Court, with a copy to Chambers and serve it on the affected professional and the Notice Parties

 so that it is actually received on or before November 22, 2021, at 4:00 p.m. prevailing

 Eastern Time.

                                           No Prior Request

        70.      No prior application for the relief requested herein has been made to this or any

 other court.

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        WHEREFORE, K&E respectfully requests that the Court enter an order (a) awarding K&E

 interim compensation for professional and paraprofessional services provided during the Fee

 Period in the amount of $12,898,705.00, and reimbursement of actual, reasonable, and necessary

 expenses incurred in the Fee Period in the amount of $639,958.52; (b) authorizing and directing

 the Debtors to remit payment to K&E for such fees and expenses; and (c) granting such other relief

 as is appropriate under the circumstances.




  Richmond, Virginia
  Date: November 1, 2021                      /s/ Steven N. Serajeddini
                                              Edward O. Sassower P.C. (admitted pro hac vice)
                                              Steven N. Serajeddini, P.C. (admitted pro hac vice)
                                              Aparna Yenamandra (admitted pro hac vice)
                                              KIRKLAND & ELLIS LLP
                                              KIRKLAND & ELLIS INTERNATIONAL LLP
                                              601 Lexington Avenue
                                              New York, New York 10022
                                              Telephone:      (212) 446-4800
                                              Facsimile:      (212) 446-4900

                                              Counsel to the Debtors
                                              and Debtors in Possession
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                                    Exhibit A

                         Steven N. Serajeddini Declaration
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     Edward O. Sassower, P.C. (admitted pro hac vice)                                     Michael A. Condyles (VA 27807)
     Steven N. Serajeddini, P.C. (admitted pro hac vice)                                        Peter J. Barrett (VA 46179)
     Aparna Yenamandra (admitted pro hac vice)                                              Jeremy S. Williams (VA 77469)
     KIRKLAND & ELLIS LLP                                                                  Brian H. Richardson (VA 92477)
     KIRKLAND & ELLIS INTERNATIONAL LLP                                                              KUTAK ROCK LLP
     601 Lexington Avenue                                                                  901 East Byrd Street, Suite 1000
     New York, New York 10022                                                              Richmond, Virginia 23219-4071
     Telephone:         (212) 446-4800                                                   Telephone:          (804) 644-1700
     Facsimile:         (212) 446-4900                                                   Facsimile:          (804) 783-6192

     Co-Counsel to the Debtors and Debtors in Possession

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                              )
     In re:                                                                   )     Chapter 11
                                                                              )
     INTELSAT S.A., et al.,1                                                  )     Case No. 20-32299 (KLP)
                                                                              )
                                  Debtors.                                    )     (Jointly Administered)
                                                                              )

                                   DECLARATION OF STEVEN N.
                                SERAJEDDINI IN SUPPORT OF THE
                              FIFTH INTERIM FEE APPLICATION OF
                        KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                      INTERNATIONAL LLP, ATTORNEYS FOR THE DEBTORS
                      AND DEBTORS IN POSSESSION FOR THE PERIOD FROM
                     JUNE 1, 2021 THROUGH AND INCLUDING AUGUST 31, 2021

              I, Steven N. Serajeddini, being duly sworn, state the following under penalty of perjury:

              1.       I am the president of Steven N. Serajeddini P.C., a partner in the law firm of

 Kirkland & Ellis LLP, located at 601 Lexington Avenue, New York, New York 10022, and a

 partner of Kirkland & Ellis International, LLP (together with Kirkland & Ellis LLP, “K&E”).2

 I am one of the lead attorneys from K&E working on the above-captioned chapter 11 cases. I am


 1
        Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been granted, a
        complete list of the Debtor entities and the last four digits of their federal tax identification numbers is not
        provided herein. A complete list may be obtained on the website of the Debtors’ claims and noticing agent at
        https://cases.stretto.com/intelsat. The location of the Debtors’ service address is: 7900 Tysons One Place,
        McLean, VA 22102.
 2
        Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Fee Application.
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 a member in good standing of the Bar of the State of New York and the State of Illinois, and I have

 been admitted to practice in New York and Illinois. There are no disciplinary proceedings pending

 against me.

        2.      I have read the foregoing interim fee application of K&E, attorneys for the Debtors,

 for the Fee Period (the “Fee Application”). To the best of my knowledge, information, and belief,

 the statements contained in the Fee Application are true and correct. In addition, I believe that the

 Fee Application complies with Local Bankruptcy Rule 2016-1.

        3.      In connection therewith, I hereby certify that:

                a)      to the best of my knowledge, information, and belief, formed after
                        reasonable inquiry, the fees and disbursements sought in the Fee
                        Application are permissible under the relevant rules, court orders, and
                        Bankruptcy Code provisions, except as specifically set forth herein;

                b)      except to the extent disclosed in the Fee Application, the fees and
                        disbursements sought in the Fee Application are billed at rates customarily
                        employed by K&E and generally accepted by K&E’s clients. In addition,
                        none of the professionals seeking compensation varied their hourly rate
                        based on the geographic location of the Debtors’ case;

                c)      a portion of the time in Matter Category 21 was spent reviewing or revising
                        time records and preparing, reviewing, and revising invoices. K&E
                        concurrently revised its invoices for privileged and confidential
                        information, and accordingly did not spend any additional time reviewing
                        time records to redact such privileged or confidential information;

                d)      in providing a reimbursable expense, K&E does not make a profit on that
                        expense, whether the service is performed by K&E in-house or through a
                        third party;

                e)      in accordance with Rule 2016(a) of the Federal Rules of Bankruptcy
                        Procedure and 11 U.S.C. § 504, no agreement or understanding exists
                        between K&E and any other person for the sharing of compensation to be
                        received in connection with the above cases except as authorized pursuant
                        to the Bankruptcy Code, Bankruptcy Rules, and Local Bankruptcy Rules;

                f)      all services for which compensation is sought were professional services on
                        behalf of the Debtors and not on behalf of any other person;




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            g)      all monthly operating reports have been filed, and all quarterly fees have
                    been paid to the U.S. Trustee;

            h)      as of the end of the Fee Period and as detailed in the monthly operating
                    reports, the amount of the Debtors’ cash on hand or deposit was
                    $379,676,187, the amount of accrued unpaid administrative expenses was
                    $107,921,609, and the amount of unencumbered funds in the estate was
                    $352,368,583; and

            i)      the Debtors have been given the opportunity to review the application and
                    have approved the requested amount.



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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.


  Dated: November 1, 2021                         Respectfully submitted,

                                                  /s/ Steven N. Serajeddini
                                                 Steven N. Serajeddini
                                                 as President of Steven N. Serajeddini, P.C., as
                                                 Partner of Kirkland & Ellis LLP; and as Partner
                                                 of Kirkland & Ellis International LLP
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                                    Exhibit B

                                 Retention Order
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     Proposed Co-Counsel to the Debtors and Debtors in Possession

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 Applications for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by

 Attorneys in Larger Chapter 11 Cases Effective as of November 1, 2013 WKH ³5HYLVHG 867

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  Proposed Co-Counsel to the Debtors and Debtors in Possession

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         7HUPLQDWLRQ2XUUHWHQWLRQPD\EHWHUPLQDWHGE\HLWKHURIXVDWDQ\WLPHE\ZULWWHQ
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 (QJDJHPHQW E WKH)LUP¶VZLWKGUDZDODQG F WKHVXEVWDQWLDOFRPSOHWLRQRIWKH)LUP¶V
 VXEVWDQWLYHZRUN,ISHUPLVVLRQIRUZLWKGUDZDOLVUHTXLUHGE\DFRXUWZHVKDOODSSO\SURPSWO\
 IRUVXFKSHUPLVVLRQDQGWHUPLQDWLRQVKDOOFRLQFLGHZLWKWKHFRXUWRUGHUIRUZLWKGUDZDO

         ,IWKLV$JUHHPHQWRURXUVHUYLFHVDUHWHUPLQDWHGIRUDQ\UHDVRQVXFKWHUPLQDWLRQVKDOOEH
 HIIHFWLYHRQO\WRWHUPLQDWHRXUVHUYLFHVSURVSHFWLYHO\DQGDOOWKHRWKHUWHUPVRIWKLV$JUHHPHQW
 VKDOOVXUYLYHDQ\VXFKWHUPLQDWLRQ

         8SRQFHVVDWLRQRIRXUDFWLYHLQYROYHPHQWLQDSDUWLFXODUPDWWHU HYHQLIZHFRQWLQXH
 DFWLYHLQYROYHPHQWLQRWKHUPDWWHUVRQ\RXUEHKDOI ZHZLOOKDYHQRIXUWKHUGXW\WRLQIRUP\RX
 RIIXWXUHGHYHORSPHQWVRUFKDQJHVLQODZDVPD\EHUHOHYDQWWRVXFKPDWWHU)XUWKHUXQOHVV\RX
 DQGZHPXWXDOO\DJUHHLQZULWLQJWRWKHFRQWUDU\ZHZLOOKDYHQRREOLJDWLRQWRPRQLWRUUHQHZDO
 RUQRWLFHGDWHVRUVLPLODUGHDGOLQHVZKLFKPD\DULVHIURPWKHPDWWHUVIRUZKLFKZHKDGEHHQ
 UHWDLQHG

          &HOO3KRQHDQG(0DLO&RPPXQLFDWLRQ 7KH)LUPKHUHE\LQIRUPV&OLHQWDQG&OLHQW
 KHUHE\DFNQRZOHGJHVWKDWWKH)LUP¶VDWWRUQH\VVRPHWLPHVFRPPXQLFDWHZLWKWKHLUFOLHQWVDQG
 WKHLUFOLHQWV¶SURIHVVLRQDOVDQGDJHQWVE\FHOOWHOHSKRQHWKDWVXFKFRPPXQLFDWLRQVDUHFDSDEOHRI
 EHLQJLQWHUFHSWHGE\RWKHUVDQGWKHUHIRUHPD\EHGHHPHGQRORQJHUSURWHFWHGE\WKHDWWRUQH\
 FOLHQWSULYLOHJHDQGWKDW&OLHQWPXVWLQIRUPWKH)LUPLI&OLHQWGRHVQRWZLVKWKH)LUPWRGLVFXVV
 SULYLOHJHGPDWWHUVRQFHOOWHOHSKRQHVZLWK&OLHQWRU&OLHQW¶VSURIHVVLRQDOVRUDJHQWV
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 DWWRUQH\VVRPHWLPHVFRPPXQLFDWHZLWKWKHLUFOLHQWVDQGWKHLUFOLHQWV¶SURIHVVLRQDOVDQGDJHQWV
 E\XQHQFU\SWHGHPDLOWKDWVXFKFRPPXQLFDWLRQVDUHFDSDEOHRIEHLQJLQWHUFHSWHGE\ RWKHUVDQG
 WKHUHIRUHPD\EHGHHPHGQRORQJHUSURWHFWHGE\WKHDWWRUQH\FOLHQWSULYLOHJHDQGWKDW&OLHQW
 PXVWLQIRUPWKH)LUPLI&OLHQWZLVKHVWRLQVWLWXWHDV\VWHPWRHQFRGHDOOHPDLOEHWZHHQWKH)LUP
 DQG&OLHQWRU&OLHQW¶VSURIHVVLRQDOVRUDJHQWV

          )LOH 5HWHQWLRQ$OOUHFRUGVDQGILOHVZLOOEHUHWDLQHGDQGGLVSRVHGRILQFRPSOLDQFHZLWK
 RXUSROLF\LQHIIHFWIURPWLPHWRWLPH6XEMHFWWRIXWXUHFKDQJHVLWLVRXUFXUUHQWSROLF\JHQHUDOO\
 QRWWRUHWDLQUHFRUGVUHODWLQJWRDPDWWHUIRUPRUHWKDQILYH\HDUV8SRQ\RXUSULRUZULWWHQ
 UHTXHVWZHZLOOUHWXUQFOLHQWUHFRUGVWR\RXSULRUWRWKHLUGHVWUXFWLRQ:HUHFRPPHQGWKDW\RX
 PDLQWDLQ\RXURZQILOHVIRUUHIHUHQFHRUVXEPLWDZULWWHQUHTXHVWIRU\RXUFOLHQWILOHVSURPSWO\
 XSRQFRQFOXVLRQRIDPDWWHU1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\KHUHLQ&OLHQW
 DFNQRZOHGJHVDQGDJUHHVWKDWDQ\DSSOLFDEOHSULYLOHJHRI&OLHQW LQFOXGLQJDQ\DWWRUQH\FOLHQW
 DQGZRUNSURGXFWSULYLOHJHRUDQ\GXW\RIFRQILGHQWLDOLW\  FROOHFWLYHO\WKH³3ULYLOHJHV´ EHORQJV
 WR&OLHQWDORQHDQGQRWWRDQ\VXFFHVVRUHQWLW\ LQFOXGLQJZLWKRXWOLPLWDWLRQWKH&OLHQWDIWHUD
 FKDQJHLQFRQWURORURWKHUVLPLODUUHVWUXFWXULQJRUQRQUHVWUXFWXULQJWUDQVDFWLRQ LQFOXGLQJ
 ZLWKRXWOLPLWDWLRQDUHRUJDQL]HG&OLHQWDIWHUWKHHIIHFWLYHGDWHRIDSODQRIUHRUJDQL]DWLRQ 
 ZKHWKHUWKURXJKPHUJHUDVVHWRUHTXLW\VDOHEXVLQHVVFRPELQDWLRQRURWKHUZLVHLUUHVSHFWLYHRI
 ZKHWKHUVXFKWUDQVDFWLRQRFFXUVLQD5HVWUXFWXULQJ&DVHRURQDQRXWRIFRXUWEDVLV LQHDFKFDVH
 D ³7UDQVDFWLRQ´ &OLHQWKHUHE\ZDLYHVDQ\ULJKWWLWOHDQGLQWHUHVWRIVXFKVXFFHVVRUHQWLW\WR
 DOOLQIRUPDWLRQGDWDGRFXPHQWVRUFRPPXQLFDWLRQVLQDQ\IRUPDWFRYHUHGE\WKH3ULYLOHJHVWKDW
 LVLQWKHSRVVHVVLRQRIWKH)LUP ³)LUP0DWHULDOV´ WRWKHH[WHQWWKDWVXFKVXFFHVVRUHQWLW\KDG
 DQ\ ULJKWWLWOHDQGLQWHUHVWWRVXFK)LUP0DWHULDOV )RUWKHDYRLGDQFHRIGRXEW&OLHQWDJUHHV
 DQGDFNQRZOHGJHVWKDWDIWHUD7UDQVDFWLRQVXFKVXFFHVVRUHQWLW\VKDOOKDYHQRULJKWWRFODLPRU
 ZDLYHWKH3ULYLOHJHVRUUHTXHVWWKHUHWXUQRIDQ\VXFK)LUP0DWHULDOVLQVWHDGVXFK)LUP
 0DWHULDOVVKDOOUHPDLQLQWKH)LUP¶VVROHSRVVHVVLRQDQGFRQWUROIRULWVH[FOXVLYHXVHDQGWKH
 )LUPZLOO D QRWZDLYHDQ\3ULYLOHJHVRUGLVFORVHWKH)LUP0DWHULDOV E WDNHDOOUHDVRQDEOH
 VWHSVWRHQVXUHWKDWWKH3ULYLOHJHVVXUYLYHDQGUHPDLQLQIXOOIRUFHDQGHIIHFWDQG F DVVHUWWKH
 3ULYLOHJHVWRSUHYHQWGLVFORVXUHRIDQ\)LUP0DWHULDOV

          'DWD3URWHFWLRQ<RXIXUWKHUDJUHHWKDWLI\RXSURYLGHXVZLWKSHUVRQDOGDWD\RXKDYH
 FRPSOLHGZLWKDSSOLFDEOHGDWDSURWHFWLRQOHJLVODWLRQDQGWKDWZHPD\SURFHVVVXFKSHUVRQDOGDWD
 LQDFFRUGDQFHZLWKRXU'DWD7UDQVIHUDQG3ULYDF\3ROLF\DWZZZNLUNODQGFRP:HSURFHVV
 \RXUSHUVRQDOGDWDLQRUGHUWR L FDUU\RXWZRUNIRU\RX LL VKDUHWKHGDWDZLWKWKLUGSDUWLHVVXFK
 DVH[SHUWZLWQHVVHVDQGRWKHUSURIHVVLRQDODGYLVHUVLIRXUZRUNUHTXLUHV LLL FRPSO\ZLWK
 DSSOLFDEOHODZVDQGUHJXODWLRQVDQG LY SURYLGH\RXZLWKLQIRUPDWLRQUHODWLQJWRRXU)LUPDQG
 LWVVHUYLFHV
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          &RQIOLFWVRI,QWHUHVW. (//3LVDJHQHUDOVHUYLFHODZILUPWKDW\RXUHFRJQL]HKDV
 UHSUHVHQWHGQRZUHSUHVHQWVDQGZLOOFRQWLQXHWRUHSUHVHQWQXPHURXVFOLHQWV LQFOXGLQJZLWKRXW
 OLPLWDWLRQ\RXRU\RXUDIILOLDWHV¶GHEWRUVFUHGLWRUVDQGGLUHFWFRPSHWLWRUV QDWLRQDOO\DQG
 LQWHUQDWLRQDOO\RYHUDZLGHUDQJHRILQGXVWULHVDQGLQDZLGHYDULHW\RIPDWWHUV*LYHQWKLV
 ZLWKRXWDELQGLQJFRQIOLFWVZDLYHUFRQIOLFWVRILQWHUHVWPLJKWDULVHWKDWFRXOGGHSULYH\RXRU
 RWKHUFOLHQWVRIWKHULJKWWRVHOHFW. (//3DVWKHLUFRXQVHO$V\RXNQRZWKH)LUPUHSUHVHQWHG
 FHUWDLQKROGHUVDQGDGKRFJURXSVRIKROGHUV FROOHFWLYHO\WKH³,QWHUHVWHG3DUWLHV´ RIQRWHV WKH
 ³1RWHV´ LVVXHGE\WKH&OLHQWDQGLWVDIILOLDWHVLQFHUWDLQFRPSOHWHGDQGFRQWHPSODWHGH[FKDQJH
 DQGUHODWHGWUDQVDFWLRQVZLWKWKH&OLHQWDQGLWVDIILOLDWHV7KH)LUPQRWHVWKDWWKHVH
 UHSUHVHQWDWLRQVRIWKH,QWHUHVWHG3DUWLHVKDYHEHHQWHUPLQDWHG%HFDXVH&OLHQWLVHQJDJHGLQ
 DFWLYLWLHV DQGPD\LQWKHIXWXUHHQJDJHLQDGGLWLRQDODFWLYLWLHV LQZKLFK&OLHQW¶VLQWHUHVWVPD\
 GLYHUJHIURPWKRVHRIWKH,QWHUHVWHG3DUWLHVRUWKH)LUP¶VRWKHUFOLHQWVWKHSRVVLELOLW\H[LVWVWKDW
 HLWKHUWKH,QWHUHVWHG3DUWLHVRURQHRIWKH)LUP¶VFOLHQWVPD\WDNHSRVLWLRQVDGYHUVHWR&OLHQW

          ,QXQGHUWDNLQJRXUUHSUHVHQWDWLRQRI\RXZHZDQWWREHIDLUQRWRQO\WR\RXULQWHUHVWVEXW
 DOVRWRWKRVHRIRXURWKHUFOLHQWV%HFDXVH\RXDUHHQJDJHGLQDFWLYLWLHV DQGPD\LQWKHIXWXUH
 HQJDJHLQDGGLWLRQDODFWLYLWLHV LQZKLFK\RXULQWHUHVWVPD\GLYHUJHIURPWKRVHRIRXURWKHU
 FOLHQWVWKHSRVVLELOLW\H[LVWVWKDWRQHRIRXUFOLHQWVPD\WDNHSRVLWLRQVDGYHUVHWR\RXLQDPDWWHU
 LQZKLFKVXFKRWKHUFOLHQWPD\KDYHUHWDLQHGXVRURQHRI\RXUDGYHUVDULHVPD\UHWDLQXVLQD
 PDWWHUDGYHUVHWRDQRWKHUHQWLW\RUSHUVRQ

         $FFRUGLQJO\DVDQLQWHJUDOSDUWRIWKH(QJDJHPHQW\RXDJUHH WKDW. (//3PD\QRZ
 RULQWKHIXWXUHUHSUHVHQWVXFKRWKHUFOLHQWVLQDQ\H[LVWLQJRUIXWXUHPDWWHUVLQFOXGLQJPDWWHUV
 WKDWDUHGLUHFWO\DGYHUVHWR\RXSURYLGHGVXFKPDWWHUVDUHQRWVXEVWDQWLDOO\UHODWHGWRWKHOHJDO
 VHUYLFHVWKDW. (//3LVUHQGHULQJ RUZLOOUHQGHUWR\RXLQWKH(QJDJHPHQW DQ³$OORZHG
 $GYHUVH5HSUHVHQWDWLRQ´ %\ZD\RIH[DPSOHVXFK$OORZHG$GYHUVH5HSUHVHQWDWLRQVPLJKW
 WDNHWKHIRUPRIDPRQJRWKHUFRQWH[WVWUDQVDFWLRQDOZRUN LQFOXGLQJFRQVHQVXDODQGQRQ
 FRQVHQVXDOPHUJHUDFTXLVLWLRQDQGWDNHRYHUVLWXDWLRQVILQDQFLQJVDQGFRPPHUFLDO
 DJUHHPHQWV FRXQVHOLQJ LQFOXGLQJDGYLVLQJGLUHFWDGYHUVDULHVDQGFRPSHWLWRUV DQG
 UHVWUXFWXULQJ LQFOXGLQJEDQNUXSWF\LQVROYHQF\ILQDQFLDOGLVWUHVVUHFDSLWDOL]DWLRQHTXLW\DQG
 GHEWZRUNRXWVDQGRWKHUWUDQVDFWLRQVRUDGYHUVDULDODGMXGLFDWLYHSURFHHGLQJVUHODWHGWRDQ\RI
 WKHIRUHJRLQJDQGVLPLODUPDWWHUV EXWVKDOOH[SUHVVO\H[FOXGHOLWLJDWLRQ LQFOXGLQJDUELWUDWLRQ
 PHGLDWLRQDQGRWKHUIRUPVRIGLVSXWHUHVROXWLRQ 

          <RXDOVRDJUHHWKDW\RXZLOOQRWIRU\RXUVHOIRUDQ\RWKHUHQWLW\RUSHUVRQDVVHUWWKDW
 HLWKHU L . (//3¶VUHSUHVHQWDWLRQRI\RXRUDQ\RI\RXUDIILOLDWHVLQDQ\SDVWSUHVHQWRUIXWXUH
 PDWWHURU LL . (//3¶VDFWXDORUSRVVLEOHSRVVHVVLRQRIFRQILGHQWLDOLQIRUPDWLRQEHORQJLQJWR
 \RXRUDQ\RI\RXUDIILOLDWHVLVDEDVLVWRGLVTXDOLI\. (//3IURPUHSUHVHQWLQJDQRWKHUHQWLW\RU
 SHUVRQLQDQ\$OORZHG$GYHUVH5HSUHVHQWDWLRQ<RXIXUWKHUDJUHHWKDWDQ\$OORZHG$GYHUVH
 5HSUHVHQWDWLRQGRHVQRWEUHDFKDQ\GXW\WKDWWKLVILUPRZHVWR \RXRUDQ\RI\RXUDIILOLDWHV<RX
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                      452 Filed
                           Filed07/01/20
                                 11/01/21 Entered
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 HQWLW\RUSHUVRQUHODWHGWR\RXKDYHWKHVWDWXVRIDFOLHQWIRUFRQIOLFWRILQWHUHVWSXUSRVHV

         ,QDGGLWLRQLIDZDLYHURIDFRQIOLFWRILQWHUHVWQHFHVVDU\WRDOORZ. (//3WRUHSUHVHQW
 DQRWKHUFOLHQWLQDPDWWHUWKDWLVQRWVXEVWDQWLDOO\UHODWHGWR\RXUPDWWHUVLVQRWHIIHFWLYHIRUDQ\
 UHDVRQ\RXDJUHHWKDW. (//3PD\ZLWKGUDZIURPWKH(QJDJHPHQW6KRXOGWKDWRFFXU\RX
 ZLOOQRWIRU\RXUVHOIRUDQ\RWKHUHQWLW\RUSHUVRQVHHNWRSUHFOXGHVXFKWHUPLQDWLRQRIVHUYLFHV
 RUDVVHUWWKDWHLWKHU D . (//3¶VUHSUHVHQWDWLRQRI\RXRUDQ\RI\RXUDIILOLDWHVLQDQ\SDVW
 SUHVHQWRUIXWXUHPDWWHURU E . (//3¶VDFWXDORUSRVVLEOHSRVVHVVLRQRIFRQILGHQWLDO
 LQIRUPDWLRQEHORQJLQJWR\RXRUDQ\RI\RXUDIILOLDWHVLVDEDVLVWRGLVTXDOLI\. (//3IURP
 UHSUHVHQWLQJVXFKRWKHUFOLHQWRUDFWLQJRQVXFKDGYHUVHPDWWHU

           ,WLVLPSRUWDQWWKDW\RXUHYLHZWKLVOHWWHUFDUHIXOO\DQGFRQVLGHUDOORIWKHDGYDQWDJHVDQG
 GLVDGYDQWDJHVRIZDLYLQJFHUWDLQFRQIOLFWVRILQWHUHVWVWKDWZRXOGRWKHUZLVHEDU. (//3IURP
 UHSUHVHQWLQJSDUWLHVZLWKLQWHUHVWVDGYHUVHWR\RXGXULQJWKHWLPHLQZKLFK. (//3LV
 UHSUHVHQWLQJ\RX<RXDOVRXQGHUVWDQGWKDWEHFDXVHWKLVZDLYHULQFOXGHVIXWXUHLVVXHVDQGIXWXUH
 FOLHQWVWKDWDUHXQNQRZQDQGXQNQRZDEOHDWWKLVWLPHLWLVLPSRVVLEOHWRSURYLGH\RXZLWKDQ\
 PRUHGHWDLOVDERXWWKRVHSURVSHFWLYHFOLHQWVDQGPDWWHUV7KXVLQFKRRVLQJWRH[HFXWHWKLV
 ZDLYHU\RXKDYHUHFRJQL]HGWKHLQKHUHQWXQFHUWDLQW\DERXWWKHDUUD\RISRWHQWLDOPDWWHUVDQG
 FOLHQWV. (//3PLJKWWDNHRQLQPDWWHUVWKDWDUHDGYHUVHWR\RXEXWKDYHQRQHWKHOHVVGHFLGHG
 LWLVLQ\RXULQWHUHVWWRZDLYHFRQIOLFWVRILQWHUHVWUHJDUGLQJWKH$OORZHG$GYHUVH5HSUHVHQWDWLRQV
 DQGZDLYHULJKWVWRSURKLELW. (//3¶VSRWHQWLDOZLWKGUDZDOVKRXOGDFRQIOLFWZDLYHUSURYH
 LQHIIHFWXDO

          :HLQIRUP\RXWKDWFHUWDLQHQWLWLHVRZQHGE\FXUUHQWRUIRUPHU. (//3DWWRUQH\VDQG
 VHQLRUVWDII ³DWWRUQH\LQYHVWPHQWHQWLWLHV´ KDYHLQYHVWPHQWVLQIXQGVRUFRPSDQLHVWKDWPD\
 GLUHFWO\RULQGLUHFWO\EHDIILOLDWHGZLWK\RXKROGLQYHVWPHQWVLQ\RXUGHEWRUHTXLW\VHFXULWLHVEH
 DGYHUVHWR\RXRUFRQGXFWFRPPHUFLDOWUDQVDFWLRQVZLWK\RX HDFKD³3DVVLYH+ROGLQJ´ 7KH
 DWWRUQH\LQYHVWPHQW HQWLWLHVDUHSDVVLYHDQGKDYHQRPDQDJHPHQWRURWKHUFRQWUROULJKWVLQVXFK
 IXQGVRUFRPSDQLHV:HQRWHWKDWRWKHUSHUVRQVPD\LQWKHIXWXUHDVVHUWWKDWD3DVVLYH+ROGLQJ
 FUHDWHVLQFHUWDLQFLUFXPVWDQFHVDFRQIOLFWEHWZHHQ. (//3¶VH[HUFLVHRILWVLQGHSHQGHQW
 SURIHVVLRQDOMXGJPHQWLQUHQGHULQJDGYLFHWR\RXDQGWKHILQDQFLDOLQWHUHVWRIRXUDWWRUQH\V
 SDUWLFLSDWLQJLQWKHDWWRUQH\LQYHVWPHQWHQWLWLHVDQGVXFKRWKHUSHUVRQVPLJKWVHHNWROLPLW\RXU
 DELOLW\WRXVH. (//3WRDGYLVH\RXRQDSDUWLFXODUPDWWHU:KLOHZHFDQQRWFRQWUROZKDWD
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 GDPDJHV,WLVLPSRUWDQWWRDSSULVH\RXULQVXUDQFHFDUULHU V SURPSWO\,I\RXGRQRWUHTXHVWWKDW
 ZHQRWLI\\RXULQVXUDQFHFDUULHU V RQ\RXUEHKDOIUHJDUGLQJDQ\VXFKPDWWHUZHZLOODVVXPH
 WKDW\RXDUHWDNLQJUHVSRQVLELOLW\IRUDQ\VXFKQRWLILFDWLRQ

         5HVWUXFWXULQJ&DVHV,ILWEHFRPHVQHFHVVDU\IRU&OLHQWWRFRPPHQFHDUHVWUXFWXULQJ
 FDVHXQGHUFKDSWHURIWKH86%DQNUXSWF\&RGH D³5HVWUXFWXULQJ&DVH´ WKH)LUP¶VRQJRLQJ
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 WKH)LUP ZLOOEHJLQFRQIOLFWVFKHFNVRQSRWHQWLDOO\LQWHUHVWHGSDUWLHVDVSURYLGHGE\&OLHQW

         ,IQHFHVVDU\WKH)LUPZLOOSUHSDUHDSUHOLPLQDU\GUDIWRIDVFKHGXOHGHVFULELQJWKH)LUP¶V
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 &OLHQWDGUDIWRIWKH 'LVFORVXUH6FKHGXOHRQFHLWLVDYDLODEOH$OWKRXJKWKH)LUP EHOLHYHV WKDW
 WKHVHUHODWLRQVKLSVGRQRWFRQVWLWXWHDFWXDOFRQIOLFWVRILQWHUHVWWKHVHUHODWLRQVKLSVPXVWEH
 GHVFULEHGDQGGLVFORVHGLQ&OLHQW¶VDSSOLFDWLRQWRWKHFRXUWWRUHWDLQWKH)LUP,I LQWKH)LUP¶V
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 FRQIOLFWVFRXQVHOWKHQ&OLHQWZLOOEHUHTXLUHGWRXVHVHSDUDWHFRQIOLFWVFRXQVHOLQWKRVHPDWWHUV

         1R*XDUDQWHHRI6XFFHVV,WLVLPSRVVLEOHWRSURYLGHDQ\SURPLVHRUJXDUDQWHHDERXW
 WKHRXWFRPHRI\RXUPDWWHUV1RWKLQJLQWKLV$JUHHPHQWRUDQ\VWDWHPHQWVE\RXUVWDIIRU
 DWWRUQH\VFRQVWLWXWHDSURPLVHRUJXDUDQWHH$Q\FRPPHQWVDERXWWKHRXWFRPHRI\RXUPDWWHUDUH
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         3XUVXDQWWR3DUWRIWKH5XOHVRIWKH&KLHI$GPLQLVWUDWRU\RXPD\KDYHDULJKWWR
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         &RQVHQWWR8VHRI,QIRUPDWLRQ,QFRQQHFWLRQZLWKIXWXUHPDWHULDOVWKDWIRUPDUNHWLQJ
 SXUSRVHVGHVFULEHIDFHWVRIRXUODZSUDFWLFHDQGUHFLWHH[DPSOHVRIPDWWHUVZHKDQGOHRQEHKDOI
 RIFOLHQWV\RXDJUHHWKDWLIWKHIDFWRIUHSUHVHQWDWLRQKDVRWKHUZLVHEHHQPDGHSXEOLFDQG
 FRQILUPHGE\\RXWKRVHPDWHULDOVDYRLGGLVFORVLQJ\RXUFRQILGHQFHVDQGVHFUHWVDVGHILQHGE\
 DSSOLFDEOHHWKLFDOUXOHVWKH\PD\LGHQWLI\\RXDVDFOLHQWPD\FRQWDLQIDFWXDOV\QRSVHVRI\RXU
 PDWWHUVDQGPD\LQGLFDWHJHQHUDOO\WKHUHVXOWVDFKLHYHG

         5HLPEXUVHPHQWRI)HHVDQG([SHQVHV<RXDJUHHSURPSWO\WRUHLPEXUVHXVIRUDOOIHHV
 DQGH[SHQVHVLQFOXGLQJWKHDPRXQWRIRXUDWWRUQH\DQGSDUDOHJDOWLPHDWQRUPDOELOOLQJUDWHVDV
 LQFXUUHGE\XVLQFRQQHFWLRQZLWKSDUWLFLSDWLQJLQSUHSDULQJIRURUUHVSRQGLQJWRDQ\DFWLRQ
 FODLPVXLWRUSURFHHGLQJEURXJKWE\RUDJDLQVWDQ\WKLUGSDUW\WKDWUHODWHVWRWKHOHJDOVHUYLFHV
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 WRGRFXPHQWVXESRHQDVDQGSUHSDULQJIRUDQG WHVWLI\LQJDWGHSRVLWLRQVDQGWULDOVDQGZLWK
 UHVSHFWWRWKHILOLQJSUHSDUDWLRQSURVHFXWLRQRUGHIHQVHRIDQ\DSSOLFDWLRQVE\XV IRUDSSURYDORI
 IHHVDQGH[SHQVHVLQDMXGLFLDODUELWUDORUVLPLODUSURFHHGLQJ)XUWKHU\RXXQGHUVWDQG
 DFNQRZOHGJHDQGDJUHH WKDWLQFRQQHFWLRQZLWKD5HVWUXFWXULQJ&DVHLI\RXKDYH QRWREMHFWHGWR
 WKHSD\PHQWRIRXU LQYRLFHRUWRRXU IHHDQGH[SHQVHDSSOLFDWLRQKDYH LQIDFWSDLGVXFKLQYRLFH
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 DQ\VXFFHVVRUHQWLW\DVDUHVXOWRID7UDQVDFWLRQRURWKHUZLVH WRVXEVHTXHQWO\REMHFWWRWKH
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 3ROLF\5HJDUGLQJ/DZ\HUV¶5HVSRQVHVWR$XGLWRUV¶5HTXHVWVIRU,QIRUPDWLRQDQGWKH
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 OLPLWHGOLDELOLW\SDUWQHUVKLSDQGSDUWQHUVDUHQRWSHUVRQDOO\OLDEOHGLUHFWO\RULQGLUHFWO\E\ZD\
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 ZLWKWKHODZVRIWKH6WDWHRI,OOLQRLVZLWKRXWJLYLQJHIIHFWWRWKHFRQIOLFWVRIODZSULQFLSOHV
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          0LVFHOODQHRXV7KLV$JUHHPHQWVHWVIRUWKRXUHQWLUHDJUHHPHQWIRUUHQGHULQJ
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 QRWRUDOO\RUE\FRXUVHRIFRQGXFW(DFKSDUW\VLJQLQJEHORZLVMRLQWO\DQGVHYHUDOO\UHVSRQVLEOH
 IRUDOOREOLJDWLRQVGXHXVDQGUHSUHVHQWVWKDWHDFKKDVIXOODXWKRULW\WRH[HFXWHWKLV$JUHHPHQWVR
 WKDW LWLVELQGLQJ7KLV$JUHHPHQWPD\EHVLJQHGLQRQHRUPRUHFRXQWHUSDUWVDQGELQGVHDFK
 SDUW\FRXQWHUVLJQLQJEHORZZKHWKHURUQRWDQ\RWKHUSURSRVHGVLJQDWRU\HYHUH[HFXWHVLW,IDQ\
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 LQYDOLGLW\RUXQHQIRUFHDELOLW\VKDOOQRWDIIHFWRWKHUSURYLVLRQVRUDSSOLFDWLRQVRIWKLV$JUHHPHQW
 ZKLFKFDQEHJLYHQHIIHFWZLWKRXWVXFKSURYLVLRQVRUDSSOLFDWLRQDQGWRWKLVHQGWKHSURYLVLRQV
 RIWKLV$JUHHPHQWDUHGHFODUHGWREHVHYHUDEOH$Q\DJUHHPHQWRUZDLYHUFRQWDLQHGKHUHLQE\
 &OLHQWH[WHQGVWRDQ\DVVLJQHHRUVXFFHVVRULQLQWHUHVWWR&OLHQWLQFOXGLQJZLWKRXWOLPLWDWLRQWKH
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 7KHUHIRUHWKH3DUWLHVDFNQRZOHGJHDQGDJUHHWKDWDQ\RWKHUZLVHDSSOLFDEOHUXOHRIFRQWUDFW
 FRQVWUXFWLRQRULQWHUSUHWDWLRQZKLFKSURYLGHVWKDWDPELJXLWLHVVKDOOEHFRQVWUXHGDJDLQVWWKH
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 IXUWKHUDFNQRZOHGJHVWKDW&OLHQWKDVHQWHUHGLQWRWKLV$JUHHPHQWDQGDJUHHGWRDOORILWVWHUPV
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         3OHDVHFRQILUP\RXUDJUHHPHQWZLWKWKHDUUDQJHPHQWVGHVFULEHGLQWKLVOHWWHUE\VLJQLQJ
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 YDULRXVVHUYLFHVSHUIRUPHGE\. (//3DQGRUE\RWKHUWKLUGSDUWLHVRQEHKDOIRIWKHFOLHQW
 ZKLFKDUHRIWHQDQFLOODU\WRRXUOHJDOVHUYLFHV6HUYLFHVSURYLGHGE\LQKRXVH. (//3
 SHUVRQQHODUHIRUWKHFRQYHQLHQFHRIRXUFOLHQWV*LYHQWKDWWKHVHVHUYLFHVDUHRIWHQDQFLOODU\WR
 RXUOHJDOVHUYLFHVLQFHUWDLQLQVWDQFHVLWPD\EHDSSURSULDWHDQGRUPRUHFRVWHIILFLHQWIRUWKHVH
 VHUYLFHVWREHRXWVRXUFHGWRDWKLUGSDUW\YHQGRU,IVHUYLFHVDUHSURYLGHGEH\RQGWKRVHRXWOLQHG
 EHORZSULFLQJZLOOEHEDVHGRQ. (//3¶VDSSUR[LPDWHFRVWDQGRUFRPSDUDEOHPDUNHWSULFLQJ

    x   'XSOLFDWLQJ5HSURJUDSKLFVDQG3ULQWLQJ7KHIROORZLQJOLVWGHWDLOV. (//3¶V
        FKDUJHVIRUGXSOLFDWLQJUHSURJUDSKLFVDQGSULQWLQJVHUYLFHV

        x   %ODFNDQG:KLWH&RS\RU3ULQW DOOVL]HVRISDSHU 
            x SHULPSUHVVLRQIRUDOO86RIILFHV
            x ¼SHULPSUHVVLRQLQ0XQLFK
            x   SHULPSUHVVLRQLQ/RQGRQ
            x +.SHULPSUHVVLRQLQ+RQJ.RQJ
            x 50%SHULPSUHVVLRQLQ%HLMLQJDQG6KDQJKDL
        x   &RORU&RS\RU3ULQW DOOVL]HVRISDSHU 
            x SHULPSUHVVLRQ
        x   2WKHU6HUYLFHV
            x &''9''XSOLFDWLQJRU0DVWHULQJ SHU&''9'
            x %LQGLQJ SHUELQGLQJ
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            x 2&5)LOH&RQYHUVLRQ SHUSDJH
            x /DUJH)RUPDW3ULQWLQJ SHUVTIW

    x   7UDYHO([SHQVHV:HFKDUJHFOLHQWVRXURXWRISRFNHWFRVWVIRUWUDYHOH[SHQVHV
        LQFOXGLQJDVVRFLDWHGWUDYHODJHQF\IHHV:HFKDUJHFRDFKIDUHV EXVLQHVVFODVVIRU
        LQWHUQDWLRQDOIOLJKWV XQOHVVWKHFOLHQWKDVDSSURYHGEXVLQHVVFODVVILUVWFODVVRUDQ
        XSJUDGH. (//3SHUVRQQHO DUHLQVWUXFWHGWRLQFXURQO\UHDVRQDEOHDLUIDUHKRWHODQG
        PHDOH[SHQVHV. (//3QHJRWLDWHVXVHVDQGSDVVHVDORQJYROXPHGLVFRXQWKRWHODQG
        DLUUDWHVZKHQHYHUSUDFWLFDEOH+RZHYHUFHUWDLQUHWURVSHFWLYHUHEDWHVPD\QRWEHSDVVHG
        DORQJ

    x   &DWHULQJ&KDUJHV&OLHQWVZLOOEHFKDUJHGIRUDQ\LQKRXVHFDWHULQJVHUYLFHSURYLGHGLQ
        FRQQHFWLRQZLWKFOLHQWPDWWHUVZKHUH\RXDUHSUHVHQW

    x   &RPPXQLFDWLRQ([SHQVHV:HGRQRWFKDUJHFOLHQWVIRUWHOHSKRQHFDOOVRUID[HVPDGH
        IURP. (//3¶VRIILFHVZLWKWKHH[FHSWLRQRIWKLUGSDUW\FRQIHUHQFHFDOOVDQG
        YLGHRFRQIHUHQFHV

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        &KDUJHVLQFXUUHGIRUFRQIHUHQFHFDOOVYLGHRFRQIHUHQFHVFHOOXODUWHOHSKRQHVDQG
        FDOOVPDGHIURPRWKHUWKLUGSDUW\ORFDWLRQVZLOOEHFKDUJHGWRWKHFOLHQWDWWKH
        DFWXDOFRVWLQFXUUHG)XUWKHURWKHUWHOHFRPPXQLFDWLRQH[SHQVHVLQFXUUHGDWWKLUG
        SDUW\ORFDWLRQV HJSKRQHOLQHVDWWULDOVLWHV,QWHUQHWDFFHVVHWF ZLOOEHFKDUJHG
        WRWKHFOLHQWDWWKHDFWXDOFRVWLQFXUUHG

    x   2YHUQLJKW'HOLYHU\3RVWDJH:HFKDUJHFOLHQWVIRUWKHDFWXDOFRVWRIRYHUQLJKWDQG
        VSHFLDOGHOLYHU\ HJ([SUHVV0DLO)HG([DQG'+/ DQG86SRVWDJHIRUPDWHULDOV
        PDLOHGRQWKHFOLHQW¶VEHKDOI. (//3QHJRWLDWHVXVHVDQGSDVVHVDORQJYROXPH
        GLVFRXQWUDWHVZKHQHYHUSUDFWLFDEOH

    x   0HVVHQJHUV:HFKDUJHFOLHQWVIRUWKHDFWXDOFRVWRIDWKLUGSDUW\YHQGRUPHVVHQJHU

    x   /LEUDU\5HVHDUFK6HUYLFHV/LEUDU\5HVHDUFKVWDIISURYLGHVUHVHDUFKDQGGRFXPHQW
        UHWULHYDOVHUYLFHVDWWKHUHTXHVWRIDWWRUQH\VDQGFOLHQWVDUHFKDUJHGSHUKRXUIRUWKHVH
        VHUYLFHV$Q\H[SHQVHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHTXHVWVXFKDVRXWVLGHUHWULHYDO
        VHUYLFHRURQOLQHUHVHDUFKFKDUJHVDUHSDVVHGRQWRWKHFOLHQWDWFRVWLQFOXGLQJDQ\
        DSSOLFDEOHGLVFRXQWV

    x   2QOLQH5HVHDUFK&KDUJHV. (//3FKDUJHVIRUFRVWVLQFXUUHGLQXVLQJWKLUG SDUW\
        RQOLQHUHVHDUFKVHUYLFHVLQ FRQQHFWLRQZLWKDFOLHQWPDWWHU. (//3QHJRWLDWHVDQGXVHV
        GLVFRXQWVRUVSHFLDOUDWHVIRURQOLQHUHVHDUFKVHUYLFHVZKHQHYHUSRVVLEOHDQGSUDFWLFDEOH
        DQGSDVVHVWKURXJKWKHIXOOEHQHILWRIDQ\VDYLQJVWRWKHFOLHQWEDVHGRQDFWXDOXVDJH

    x   ,QWHU/LEUDU\/RDQ6HUYLFHV2XUVWDQGDUGFOLHQWFKDUJHIRULQWHUOLEUDU\ORDQVHUYLFHV
        ZKHQD. (//3OLEUDU\HPSOR\HHERUURZVDERRNIURPDQRXWVLGHVRXUFHLVSHU
        WLWOH7KHUHLVQRFOLHQWFKDUJHIRUERUURZLQJERRNVIURP. (//3OLEUDULHVLQRWKHU
        FLWLHVRUIURPRXWVLGHFROOHFWLRQVZKHQWKHWLWOHLVSDUWRIWKH. (//3FROOHFWLRQEXW
        XQDYDLODEOH

    x   2II6LWH/HJDO)LOHV6WRUDJH&OLHQWVDUHQRWFKDUJHGIRURIIVLWHVWRUDJHRIILOHVXQOHVV
        WKHVWRUDJHFKDUJHLVDSSURYHGLQDGYDQFH

    x   (OHFWURQLF'DWD6WRUDJH. (//3ZLOOQRWFKDUJHFOLHQWVIRUFRVWVWRVWRUHHOHFWURQLF
        GDWDDQGILOHVRQ. (//3¶VV\VWHPVLIWKHGDWDVWRUHGGRHVQRWH[FHHGJLJDE\WHV
         *% ,IWKHGDWDVWRUHGIRUDVSHFLILFFOLHQWH[FHHGV*%. (//3ZLOOFKDUJH
        FOLHQWVSHUPRQWKSHU*%IRUDOOQHWZRUNGDWDVWRUHGXQWLOWKHGDWDLVHLWKHUUHWXUQHG
        WRWKHFOLHQWRUSURSHUO\GLVSRVHGRI)RUHGLVFRYHU\GDWDRQWKH5HODWLYLW\SODWIRUP
        . (//3ZLOODOVRFKDUJHFOLHQWVSHUPRQWKSHU*%XQWLOWKHGDWDLVHLWKHU
        UHWXUQHGWRWKHFOLHQWRUSURSHUO\GLVSRVHGRI

    x   &DOHQGDU&RXUW6HUYLFHV2XUVWDQGDUGFKDUJHLVIRUDFRXUWILOLQJDQGRWKHUFRXUW
        VHUYLFHVRUWUDQVDFWLRQV

    x   6XSSOLHV7KHUHLVQRFOLHQWFKDUJHIRUVWDQGDUGRIILFHVXSSOLHV&OLHQWVDUHFKDUJHGIRU
        VSHFLDOLWHPV HJDPLQXWHERRNH[KLELWWDEVLQGH[HVGLYLGHUVELQGLQJHWF DQGWKHQDW
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        FRQWUDFWDWWRUQH\RUFRQWUDFWQRQDWWRUQH\RQDFOLHQWHQJDJHPHQWFOLHQWVZLOOEHFKDUJHG
        DVWDQGDUGKRXUO\UDWHIRUWKHVHELOOHUVXQOHVVRWKHUVSHFLILFELOOLQJDUUDQJHPHQWVDUH
        DJUHHGEHWZHHQ. (//3DQGFOLHQW

    x   ([SHUW:LWQHVVHV([SHUWVRI2WKHU7\SHVDQG2WKHU7KLUG3DUW\&RQVXOWDQWV,I
        WKHUHLVDQHHGWRXWLOL]HDQH[SHUWZLWQHVVH[SHUWRI RWKHUW\SHRURWKHUWKLUGSDUW\
        FRQVXOWDQWVXFKDVDFFRXQWDQWVLQYHVWPHQWEDQNHUVDFDGHPLFLDQVRWKHUDWWRUQH\VHWF
        RQDFOLHQWHQJDJHPHQWFOLHQWVZLOOEHUHTXHVWHGWRUHWDLQRUSD\WKHVHLQGLYLGXDOV
        GLUHFWO\XQOHVVVSHFLILFELOOLQJDUUDQJHPHQWVDUH DJUHHGEHWZHHQ. (//3DQGFOLHQW

    x   7KLUG3DUW\([SHQGLWXUHV7KLUGSDUW\H[SHQGLWXUHV HJFRUSRUDWHGRFXPHQWDQGOLHQ
        VHDUFKHVOHDVHRIRIILFHVSDFHDW7ULDOORFDWLRQ,7HTXLSPHQWUHQWDO6(&DQGUHJXODWRU\
        ILOLQJVHWF LQFXUUHGRQEHKDOIRIDFOLHQWZKLFKWRWKHH[WHQWUHDVRQDEO\SUDFWLFDEOH
        KDYHEHHQDSSURYHGLQZULWLQJE\\RXLQDGYDQFHZLOOEHSDVVHGWKURXJKWRWKHFOLHQWDW
        DFWXDOFRVW,IWKHLQYRLFHH[FHHGVLWLV. (//3¶VSROLF\WKDWZKHUHYHU
        SRVVLEOHVXFKFKDUJHVZLOOEHGLUHFWO\ELOOHGWRWKHFOLHQW,QWKRVHFLUFXPVWDQFHVZKHUH
        WKLVLVQRWSRVVLEOH. (//3ZLOOVHHNUHLPEXUVHPHQWIURPRXUFOLHQWSULRUWRSD\LQJ
        WKHYHQGRU

 8QOHVVRWKHUZLVHQRWHGFKDUJHVELOOHGLQIRUHLJQFXUUHQFLHVDUHGHWHUPLQHGDQQXDOO\EDVHGRQ
 FXUUHQW86FKDUJHVDWDQDSSURSULDWHH[FKDQJHUDWH




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                                    Exhibit C

                               Engagement Letter
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      VXEVLGLDULHVOLVWHGLQDQDGGHQGXPRUVXSSOHPHQWWRWKLVOHWWHU ³\RX´ KDYHDVNHGXVWRUHSUHVHQW
      \RXLQFRQQHFWLRQZLWKDSRWHQWLDOUHVWUXFWXULQJ3OHDVHQRWHWKH)LUP¶VUHSUHVHQWDWLRQLVRQO\RI
      \RXWKH)LUPGRHVQRWDQGZLOOQRWUHSUHVHQWDQ\GLUHFWRULQGLUHFWVKDUHKROGHUGLUHFWRURIILFHU
      SDUWQHUHPSOR\HHDIILOLDWHRUMRLQWYHQWXUHURI\RXRURIDQ\RWKHUHQWLW\

              *HQHUDO7HUPV7KLVUHWHQWLRQOHWWHU WKH³$JUHHPHQW´ VHWVIRUWKWKHWHUPVRI\RXU
      UHWHQWLRQRI.LUNODQG (OOLV//3 DQGLWVDIILOLDWHGHQWLW\.LUNODQG (OOLV,QWHUQDWLRQDO//3
       FROOHFWLYHO\³. (//3´ WRSURYLGHOHJDOVHUYLFHVDQGFRQVWLWXWHVDQDJUHHPHQWEHWZHHQXV

              7KH$JUHHPHQW QRWZLWKVWDQGLQJDQ\JXLGHOLQHVIRURXWVLGHFRXQVHOWKDW\RXPD\SURYLGH
      WRXV VHWVIRUWKRXUHQWLUHDJUHHPHQWIRUUHQGHULQJSURIHVVLRQDOVHUYLFHVIRUWKHFXUUHQWPDWWHUDV
      ZHOODVIRUDOORWKHUH[LVWLQJRUIXWXUHPDWWHUV FROOHFWLYHO\WKH³(QJDJHPHQW´ H[FHSWZKHUHZH
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              )HHV7KH)LUPZLOOELOO&OLHQWIRUIHHVLQFXUUHGDWLWVUHJXODUKRXUO\UDWHVDQGLQ
      TXDUWHUO\LQFUHPHQWVRIDQKRXU RULQVPDOOHUWLPHLQFUHPHQWVDVRWKHUZLVHUHTXLUHGE\DFRXUW 
      7KH)LUPUHVHUYHVWKHULJKWWRDGMXVW WKH)LUP¶VELOOLQJUDWHVIURPWLPHWRWLPHLQWKHRUGLQDU\
      FRXUVHRIWKH)LUP¶VUHSUHVHQWDWLRQRI&OLHQW

             $OWKRXJKWKH)LUPZLOODWWHPSWWRHVWLPDWHIHHVWRDVVLVW\RXLQ\RXUSODQQLQJLI
      UHTXHVWHGVXFKHVWLPDWHVDUHVXEMHFWWRFKDQJHDQGDUHQRWELQGLQJ XQOHVVRWKHUZLVHH[SUHVVO\
      DQGXQHTXLYRFDOO\VWDWHGLQDZULWLQJVLJQHGE\. (//3

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      GLVEXUVHPHQWVDGYDQFHGE\XVRQ\RXUEHKDOI6XFKH[SHQVHVLQFOXGHSKRWRFRS\LQJSULQWLQJ


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 SRVWDJHH[SUHVVPDLODQGPHVVHQJHUFKDUJHVGHSRVLWLRQFRVWVFRPSXWHUL]HGOHJDOUHVHDUFK
 FKDUJHVDQGRWKHUFRPSXWHUVHUYLFHVDQGPLVFHOODQHRXVRWKHUFKDUJHV2XUFOLHQWVSD\GLUHFWO\
  DQGDUHVROHO\UHVSRQVLEOHIRU FHUWDLQODUJHUFRVWVVXFKDVFRQVXOWDQWRUH[SHUWZLWQHVVIHHVDQG
 H[SHQVHVDQGRXWVLGHVXSSOLHUVRUFRQWUDFWRUV¶FKDUJHVZKLFKWRWKHH[WHQWUHDVRQDEO\
 SUDFWLFDEOHKDYHEHHQDSSURYHG LQZULWLQJE\\RXLQDGYDQFH$WWDFKHGKHUHWRDV6FKHGXOH,LV
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 PRQWKO\EXWWKH)LUPUHVHUYHVWKHULJKWWRDOWHUWKHWLPLQJRIGHOLYHULQJLWVVWDWHPHQWVGHSHQGLQJ
 RQFLUFXPVWDQFHV &OLHQWPD\KDYHWKHVWDWHPHQW LQDQ\UHDVRQDEOHIRUPDWLWFKRRVHVEXWWKH
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 LQ5XOH F RIWKH,OOLQRLV5XOHVRI3URIHVVLRQDO&RQGXFWDowling v. Chicago Options
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 UHWDLQHUVXSRQUHTXHVWE\WKH)LUPVRWKDWWKHDPRXQWRIDQ\DGYDQFHSD\PHQWUHWDLQHUVUHPDLQV
 DWRUDERYHWKH)LUP¶VHVWLPDWHGIHHVDQGH[SHQVHV 7KH)LUPPD\DSSO\WKHDGYDQFHSD\PHQW
 UHWDLQHUVWRDQ\RXWVWDQGLQJIHHVDVVHUYLFHVDUHUHQGHUHGDQGWRH[SHQVHVDVWKH\DUHLQFXUUHG
 &OLHQWXQGHUVWDQGVDQGDFNQRZOHGJHVWKDWDQ\DGYDQFHSD\PHQWUHWDLQHUVDUHHDUQHGE\WKH)LUP
 XSRQUHFHLSWDQ\DGYDQFHSD\PHQWUHWDLQHUVEHFRPHWKHSURSHUW\RIWKH)LUPXSRQUHFHLSW
 &OLHQWQRORQJHUKDVDSURSHUW\LQWHUHVWLQDQ\DGYDQFHSD\PHQWUHWDLQHUVXSRQWKH)LUP¶V
 UHFHLSWDQ\DGYDQFHSD\PHQWUHWDLQHUVZLOOEHSODFHGLQWKH)LUP¶VJHQHUDODFFRXQWDQGZLOOQRW
 EHKHOGLQDFOLHQWWUXVWDFFRXQWDQG&OLHQWZLOOQRWHDUQDQ\LQWHUHVWRQDQ\DGYDQFHSD\PHQW
 UHWDLQHUVSURYLGHGKRZHYHUWKDWVROHO\WRWKHH[WHQWUHTXLUHGXQGHUDSSOLFDEOHODZDWWKH
 FRQFOXVLRQRIWKH(QJDJHPHQWLIWKHDPRXQWRIDQ\DGYDQFHSD\PHQWUHWDLQHUVKHOGE\WKH)LUP
 LVLQH[FHVVRIWKHDPRXQWRIWKH)LUP¶VRXWVWDQGLQJDQGHVWLPDWHGIHHVH[SHQVHVDQGFRVWVWKH
 )LUPZLOOSD\WR&OLHQWWKHDPRXQWE\ZKLFKDQ\DGYDQFHSD\PHQWUHWDLQHUVH[FHHGVXFKIHHV
 H[SHQVHVDQGFRVWV &OLHQWIXUWKHUXQGHUVWDQGVDQGDFNQRZOHGJHVWKDW WKHXVHRIDGYDQFH
 SD\PHQWUHWDLQHUVLVDQLQWHJUDOFRQGLWLRQRIWKH(QJDJHPHQWDQGLVQHFHVVDU\WRHQVXUHWKDW
 &OLHQWFRQWLQXHVWRKDYHDFFHVVWRWKH)LUP¶VVHUYLFHVWKH)LUPLVFRPSHQVDWHGIRULWV
 UHSUHVHQWDWLRQRI&OLHQWWKH)LUPLVQRWDSUHSHWLWLRQFUHGLWRULQWKHHYHQWRID5HVWUXFWXULQJ
 &DVHDQGWKDWLQOLJKWRIWKHIRUHJRLQJWKHSURYLVLRQRIWKHDGYDQFHSD\PHQWUHWDLQHUVLVLQ
 &OLHQW¶VEHVWLQWHUHVWV7KHIDFWWKDW&OLHQWKDVSURYLGHGWKH)LUPZLWKDQDGYDQFHSD\PHQW
 UHWDLQHUGRHVQRWDIIHFW&OLHQW¶VULJKWWRWHUPLQDWHWKHFOLHQWODZ\HUUHODWLRQVKLS
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 FKDUJHVIRUVHUYLFHVWKDWDUHDFWXDOO\UHQGHUHGDQGH[SHQVHVWKDWDUHLQFXUUHG $Q\XQHDUQHG
 IXQGVDUHWKHQUHWXUQHGWRWKHFOLHQW ,QRWKHUFLUFXPVWDQFHVQRWSUHVHQWKHUHWKH)LUPZRXOG
 FRQVLGHUDVHFXULW\UHWDLQHUDQG&OLHQW¶VIXQGVZRXOGEHKHOGLQWKH)LUP¶VVHJUHJDWHGFOLHQWWUXVW
 DFFRXQWXQWLODSSOLHGWRSD\IHHVDQGH[SHQVHV )XQGVLQDVHFXULW\UHWDLQHUKRZHYHUFDQEH
 VXEMHFWWRFODLPVRI&OLHQW¶VFUHGLWRUVDQGLIWDNHQE\FUHGLWRUVPD\OHDYH&OLHQWXQDEOHWRSD\
 IRURQJRLQJOHJDOVHUYLFHVZKLFKPD\UHVXOWLQWKH)LUPEHLQJXQDEOHWRFRQWLQXHWKH
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 LQVROYHQF\SURFHHGLQJ7KHFKRLFHRIWKHW\SHRIUHWDLQHUWREHXVHGLV&OLHQW¶VFKRLFHDORQHEXW
 IRUWKH(QJDJHPHQWDQGIRUWKHUHDVRQVVHWIRUWKDERYHWKH)LUPLVXQZLOOLQJWR UHSUHVHQW&OLHQW
 LQWKH(QJDJHPHQWZLWKRXWXVLQJWKHDGYDQFHSD\PHQWUHWDLQHU

         7HUPLQDWLRQ2XUUHWHQWLRQPD\EHWHUPLQDWHGE\HLWKHURIXVDWDQ\WLPHE\ZULWWHQ
 QRWLFHE\RUWR\RX7KH(QJDJHPHQWZLOOHQGDWWKHHDUOLHVWRI D &OLHQW¶VWHUPLQDWLRQRI WKH
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         ,IWKLV$JUHHPHQWRURXUVHUYLFHVDUHWHUPLQDWHGIRUDQ\UHDVRQVXFKWHUPLQDWLRQVKDOOEH
 HIIHFWLYHRQO\WRWHUPLQDWHRXUVHUYLFHVSURVSHFWLYHO\DQGDOOWKHRWKHUWHUPVRIWKLV$JUHHPHQW
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         8SRQFHVVDWLRQRIRXUDFWLYHLQYROYHPHQWLQDSDUWLFXODUPDWWHU HYHQLIZHFRQWLQXH
 DFWLYHLQYROYHPHQWLQRWKHUPDWWHUVRQ\RXUEHKDOI ZHZLOOKDYHQRIXUWKHUGXW\WRLQIRUP\RX
 RIIXWXUHGHYHORSPHQWVRUFKDQJHVLQODZDVPD\EHUHOHYDQWWRVXFKPDWWHU)XUWKHUXQOHVV\RX
 DQGZHPXWXDOO\DJUHHLQZULWLQJWRWKHFRQWUDU\ZHZLOOKDYHQRREOLJDWLRQWRPRQLWRUUHQHZDO
 RUQRWLFHGDWHVRUVLPLODUGHDGOLQHVZKLFKPD\DULVHIURPWKHPDWWHUVIRUZKLFKZHKDGEHHQ
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          &HOO3KRQHDQG(0DLO&RPPXQLFDWLRQ 7KH)LUPKHUHE\LQIRUPV&OLHQWDQG&OLHQW
 KHUHE\DFNQRZOHGJHVWKDWWKH)LUP¶VDWWRUQH\VVRPHWLPHVFRPPXQLFDWHZLWKWKHLUFOLHQWVDQG
 WKHLUFOLHQWV¶SURIHVVLRQDOVDQGDJHQWVE\FHOOWHOHSKRQHWKDWVXFKFRPPXQLFDWLRQVDUHFDSDEOHRI
 EHLQJLQWHUFHSWHGE\RWKHUVDQGWKHUHIRUHPD\EHGHHPHGQRORQJHUSURWHFWHGE\WKHDWWRUQH\
 FOLHQWSULYLOHJHDQGWKDW&OLHQWPXVWLQIRUPWKH)LUPLI&OLHQWGRHVQRWZLVKWKH)LUPWRGLVFXVV
 SULYLOHJHGPDWWHUVRQFHOOWHOHSKRQHVZLWK&OLHQWRU&OLHQW¶VSURIHVVLRQDOVRUDJHQWV
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 DWWRUQH\VVRPHWLPHVFRPPXQLFDWHZLWKWKHLUFOLHQWVDQGWKHLUFOLHQWV¶SURIHVVLRQDOVDQGDJHQWV
 E\XQHQFU\SWHGHPDLOWKDWVXFKFRPPXQLFDWLRQVDUHFDSDEOHRIEHLQJLQWHUFHSWHGE\ RWKHUVDQG
 WKHUHIRUHPD\EHGHHPHGQRORQJHUSURWHFWHGE\WKHDWWRUQH\FOLHQWSULYLOHJHDQGWKDW&OLHQW
 PXVWLQIRUPWKH)LUPLI&OLHQWZLVKHVWRLQVWLWXWHDV\VWHPWRHQFRGHDOOHPDLOEHWZHHQWKH)LUP
 DQG&OLHQWRU&OLHQW¶VSURIHVVLRQDOVRUDJHQWV

          )LOH 5HWHQWLRQ$OOUHFRUGVDQGILOHVZLOOEHUHWDLQHGDQGGLVSRVHGRILQFRPSOLDQFHZLWK
 RXUSROLF\LQHIIHFWIURPWLPHWRWLPH6XEMHFWWRIXWXUHFKDQJHVLWLVRXUFXUUHQWSROLF\JHQHUDOO\
 QRWWRUHWDLQUHFRUGVUHODWLQJWRDPDWWHUIRUPRUHWKDQILYH\HDUV8SRQ\RXUSULRUZULWWHQ
 UHTXHVWZHZLOOUHWXUQFOLHQWUHFRUGVWR\RXSULRUWRWKHLUGHVWUXFWLRQ:HUHFRPPHQGWKDW\RX
 PDLQWDLQ\RXURZQILOHVIRUUHIHUHQFHRUVXEPLWDZULWWHQUHTXHVWIRU\RXUFOLHQWILOHVSURPSWO\
 XSRQFRQFOXVLRQRIDPDWWHU1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\KHUHLQ&OLHQW
 DFNQRZOHGJHVDQGDJUHHVWKDWDQ\DSSOLFDEOHSULYLOHJHRI&OLHQW LQFOXGLQJDQ\DWWRUQH\FOLHQW
 DQGZRUNSURGXFWSULYLOHJHRUDQ\GXW\RIFRQILGHQWLDOLW\  FROOHFWLYHO\WKH³3ULYLOHJHV´ EHORQJV
 WR&OLHQWDORQHDQGQRWWRDQ\VXFFHVVRUHQWLW\ LQFOXGLQJZLWKRXWOLPLWDWLRQWKH&OLHQWDIWHUD
 FKDQJHLQFRQWURORURWKHUVLPLODUUHVWUXFWXULQJRUQRQUHVWUXFWXULQJWUDQVDFWLRQ LQFOXGLQJ
 ZLWKRXWOLPLWDWLRQDUHRUJDQL]HG&OLHQWDIWHUWKHHIIHFWLYHGDWHRIDSODQRIUHRUJDQL]DWLRQ 
 ZKHWKHUWKURXJKPHUJHUDVVHWRUHTXLW\VDOHEXVLQHVVFRPELQDWLRQRURWKHUZLVHLUUHVSHFWLYHRI
 ZKHWKHUVXFKWUDQVDFWLRQRFFXUVLQD5HVWUXFWXULQJ&DVHRURQDQRXWRIFRXUWEDVLV LQHDFKFDVH
 D ³7UDQVDFWLRQ´ &OLHQWKHUHE\ZDLYHVDQ\ULJKWWLWOHDQGLQWHUHVWRIVXFKVXFFHVVRUHQWLW\WR
 DOOLQIRUPDWLRQGDWDGRFXPHQWVRUFRPPXQLFDWLRQVLQDQ\IRUPDWFRYHUHGE\WKH3ULYLOHJHVWKDW
 LVLQWKHSRVVHVVLRQRIWKH)LUP ³)LUP0DWHULDOV´ WRWKHH[WHQWWKDWVXFKVXFFHVVRUHQWLW\KDG
 DQ\ ULJKWWLWOHDQGLQWHUHVWWRVXFK)LUP0DWHULDOV )RUWKHDYRLGDQFHRIGRXEW&OLHQWDJUHHV
 DQGDFNQRZOHGJHVWKDWDIWHUD7UDQVDFWLRQVXFKVXFFHVVRUHQWLW\VKDOOKDYHQRULJKWWRFODLPRU
 ZDLYHWKH3ULYLOHJHVRUUHTXHVWWKHUHWXUQRIDQ\VXFK)LUP0DWHULDOVLQVWHDGVXFK)LUP
 0DWHULDOVVKDOOUHPDLQLQWKH)LUP¶VVROHSRVVHVVLRQDQGFRQWUROIRULWVH[FOXVLYHXVHDQGWKH
 )LUPZLOO D QRWZDLYHDQ\3ULYLOHJHVRUGLVFORVHWKH)LUP0DWHULDOV E WDNHDOOUHDVRQDEOH
 VWHSVWRHQVXUHWKDWWKH3ULYLOHJHVVXUYLYHDQGUHPDLQLQIXOOIRUFHDQGHIIHFWDQG F DVVHUWWKH
 3ULYLOHJHVWRSUHYHQWGLVFORVXUHRIDQ\)LUP0DWHULDOV

          'DWD3URWHFWLRQ<RXIXUWKHUDJUHHWKDWLI\RXSURYLGHXVZLWKSHUVRQDOGDWD\RXKDYH
 FRPSOLHGZLWKDSSOLFDEOHGDWDSURWHFWLRQOHJLVODWLRQDQGWKDWZHPD\SURFHVVVXFKSHUVRQDOGDWD
 LQDFFRUGDQFHZLWKRXU'DWD7UDQVIHUDQG3ULYDF\3ROLF\DWZZZNLUNODQGFRP:HSURFHVV
 \RXUSHUVRQDOGDWDLQRUGHUWR L FDUU\RXWZRUNIRU\RX LL VKDUHWKHGDWDZLWKWKLUGSDUWLHVVXFK
 DVH[SHUWZLWQHVVHVDQGRWKHUSURIHVVLRQDODGYLVHUVLIRXUZRUNUHTXLUHV LLL FRPSO\ZLWK
 DSSOLFDEOHODZVDQGUHJXODWLRQVDQG LY SURYLGH\RXZLWKLQIRUPDWLRQUHODWLQJWRRXU)LUPDQG
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 UHSUHVHQWHGQRZUHSUHVHQWVDQGZLOOFRQWLQXHWRUHSUHVHQWQXPHURXVFOLHQWV LQFOXGLQJZLWKRXW
 OLPLWDWLRQ\RXRU\RXUDIILOLDWHV¶GHEWRUVFUHGLWRUVDQGGLUHFWFRPSHWLWRUV QDWLRQDOO\DQG
 LQWHUQDWLRQDOO\RYHUDZLGHUDQJHRILQGXVWULHVDQGLQDZLGHYDULHW\RIPDWWHUV*LYHQWKLV
 ZLWKRXWDELQGLQJFRQIOLFWVZDLYHUFRQIOLFWVRILQWHUHVWPLJKWDULVHWKDWFRXOGGHSULYH\RXRU
 RWKHUFOLHQWVRIWKHULJKWWRVHOHFW. (//3DVWKHLUFRXQVHO$V\RXNQRZWKH)LUPUHSUHVHQWHG
 FHUWDLQKROGHUVDQGDGKRFJURXSVRIKROGHUV FROOHFWLYHO\WKH³,QWHUHVWHG3DUWLHV´ RIQRWHV WKH
 ³1RWHV´ LVVXHGE\WKH&OLHQWDQGLWVDIILOLDWHVLQFHUWDLQFRPSOHWHGDQGFRQWHPSODWHGH[FKDQJH
 DQGUHODWHGWUDQVDFWLRQVZLWKWKH&OLHQWDQGLWVDIILOLDWHV7KH)LUPQRWHVWKDWWKHVH
 UHSUHVHQWDWLRQVRIWKH,QWHUHVWHG3DUWLHVKDYHEHHQWHUPLQDWHG%HFDXVH&OLHQWLVHQJDJHGLQ
 DFWLYLWLHV DQGPD\LQWKHIXWXUHHQJDJHLQDGGLWLRQDODFWLYLWLHV LQZKLFK&OLHQW¶VLQWHUHVWVPD\
 GLYHUJHIURPWKRVHRIWKH,QWHUHVWHG3DUWLHVRUWKH)LUP¶VRWKHUFOLHQWVWKHSRVVLELOLW\H[LVWVWKDW
 HLWKHUWKH,QWHUHVWHG3DUWLHVRURQHRIWKH)LUP¶VFOLHQWVPD\WDNHSRVLWLRQVDGYHUVHWR&OLHQW

          ,QXQGHUWDNLQJRXUUHSUHVHQWDWLRQRI\RXZHZDQWWREHIDLUQRWRQO\WR\RXULQWHUHVWVEXW
 DOVRWRWKRVHRIRXURWKHUFOLHQWV%HFDXVH\RXDUHHQJDJHGLQDFWLYLWLHV DQGPD\LQWKHIXWXUH
 HQJDJHLQDGGLWLRQDODFWLYLWLHV LQZKLFK\RXULQWHUHVWVPD\GLYHUJHIURPWKRVHRIRXURWKHU
 FOLHQWVWKHSRVVLELOLW\H[LVWVWKDWRQHRIRXUFOLHQWVPD\WDNHSRVLWLRQVDGYHUVHWR\RXLQDPDWWHU
 LQZKLFKVXFKRWKHUFOLHQWPD\KDYHUHWDLQHGXVRURQHRI\RXUDGYHUVDULHVPD\UHWDLQXVLQD
 PDWWHUDGYHUVHWRDQRWKHUHQWLW\RUSHUVRQ

         $FFRUGLQJO\DVDQLQWHJUDOSDUWRIWKH(QJDJHPHQW\RXDJUHH WKDW. (//3PD\QRZ
 RULQWKHIXWXUHUHSUHVHQWVXFKRWKHUFOLHQWVLQDQ\H[LVWLQJRUIXWXUHPDWWHUVLQFOXGLQJPDWWHUV
 WKDWDUHGLUHFWO\DGYHUVHWR\RXSURYLGHGVXFKPDWWHUVDUHQRWVXEVWDQWLDOO\UHODWHGWRWKHOHJDO
 VHUYLFHVWKDW. (//3LVUHQGHULQJ RUZLOOUHQGHUWR\RXLQWKH(QJDJHPHQW DQ³$OORZHG
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 WDNHWKHIRUPRIDPRQJRWKHUFRQWH[WVWUDQVDFWLRQDOZRUN LQFOXGLQJFRQVHQVXDODQGQRQ
 FRQVHQVXDOPHUJHUDFTXLVLWLRQDQGWDNHRYHUVLWXDWLRQVILQDQFLQJVDQGFRPPHUFLDO
 DJUHHPHQWV FRXQVHOLQJ LQFOXGLQJDGYLVLQJGLUHFWDGYHUVDULHVDQGFRPSHWLWRUV DQG
 UHVWUXFWXULQJ LQFOXGLQJEDQNUXSWF\LQVROYHQF\ILQDQFLDOGLVWUHVVUHFDSLWDOL]DWLRQHTXLW\DQG
 GHEWZRUNRXWVDQGRWKHUWUDQVDFWLRQVRUDGYHUVDULDODGMXGLFDWLYHSURFHHGLQJVUHODWHGWRDQ\RI
 WKHIRUHJRLQJDQGVLPLODUPDWWHUV EXWVKDOOH[SUHVVO\H[FOXGHOLWLJDWLRQ LQFOXGLQJDUELWUDWLRQ
 PHGLDWLRQDQGRWKHUIRUPVRIGLVSXWHUHVROXWLRQ 

          <RXDOVRDJUHHWKDW\RXZLOOQRWIRU\RXUVHOIRUDQ\RWKHUHQWLW\RUSHUVRQDVVHUWWKDW
 HLWKHU L . (//3¶VUHSUHVHQWDWLRQRI\RXRUDQ\RI\RXUDIILOLDWHVLQDQ\SDVWSUHVHQWRUIXWXUH
 PDWWHURU LL . (//3¶VDFWXDORUSRVVLEOHSRVVHVVLRQRIFRQILGHQWLDOLQIRUPDWLRQEHORQJLQJWR
 \RXRUDQ\RI\RXUDIILOLDWHVLVDEDVLVWRGLVTXDOLI\. (//3IURPUHSUHVHQWLQJDQRWKHUHQWLW\RU
 SHUVRQLQDQ\$OORZHG$GYHUVH5HSUHVHQWDWLRQ<RXIXUWKHUDJUHHWKDWDQ\$OORZHG$GYHUVH
 5HSUHVHQWDWLRQGRHVQRWEUHDFKDQ\GXW\WKDWWKLVILUPRZHVWR \RXRUDQ\RI\RXUDIILOLDWHV<RX
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 HQWLW\RUSHUVRQUHODWHGWR\RXKDYHWKHVWDWXVRIDFOLHQWIRUFRQIOLFWRILQWHUHVWSXUSRVHV

         ,QDGGLWLRQLIDZDLYHURIDFRQIOLFWRILQWHUHVWQHFHVVDU\WRDOORZ. (//3WRUHSUHVHQW
 DQRWKHUFOLHQWLQDPDWWHUWKDWLVQRWVXEVWDQWLDOO\UHODWHGWR\RXUPDWWHUVLVQRWHIIHFWLYHIRUDQ\
 UHDVRQ\RXDJUHHWKDW. (//3PD\ZLWKGUDZIURPWKH(QJDJHPHQW6KRXOGWKDWRFFXU\RX
 ZLOOQRWIRU\RXUVHOIRUDQ\RWKHUHQWLW\RUSHUVRQVHHNWRSUHFOXGHVXFKWHUPLQDWLRQRIVHUYLFHV
 RUDVVHUWWKDWHLWKHU D . (//3¶VUHSUHVHQWDWLRQRI\RXRUDQ\RI\RXUDIILOLDWHVLQDQ\SDVW
 SUHVHQWRUIXWXUHPDWWHURU E . (//3¶VDFWXDORUSRVVLEOHSRVVHVVLRQRIFRQILGHQWLDO
 LQIRUPDWLRQEHORQJLQJWR\RXRUDQ\RI\RXUDIILOLDWHVLVDEDVLVWRGLVTXDOLI\. (//3IURP
 UHSUHVHQWLQJVXFKRWKHUFOLHQWRUDFWLQJRQVXFKDGYHUVHPDWWHU

           ,WLVLPSRUWDQWWKDW\RXUHYLHZWKLVOHWWHUFDUHIXOO\DQGFRQVLGHUDOORIWKHDGYDQWDJHVDQG
 GLVDGYDQWDJHVRIZDLYLQJFHUWDLQFRQIOLFWVRILQWHUHVWVWKDWZRXOGRWKHUZLVHEDU. (//3IURP
 UHSUHVHQWLQJSDUWLHVZLWKLQWHUHVWVDGYHUVHWR\RXGXULQJWKHWLPHLQZKLFK. (//3LV
 UHSUHVHQWLQJ\RX<RXDOVRXQGHUVWDQGWKDWEHFDXVHWKLVZDLYHULQFOXGHVIXWXUHLVVXHVDQGIXWXUH
 FOLHQWVWKDWDUHXQNQRZQDQGXQNQRZDEOHDWWKLVWLPHLWLVLPSRVVLEOHWRSURYLGH\RXZLWKDQ\
 PRUHGHWDLOVDERXWWKRVHSURVSHFWLYHFOLHQWVDQGPDWWHUV7KXVLQFKRRVLQJWRH[HFXWHWKLV
 ZDLYHU\RXKDYHUHFRJQL]HGWKHLQKHUHQWXQFHUWDLQW\DERXWWKHDUUD\RISRWHQWLDOPDWWHUVDQG
 FOLHQWV. (//3PLJKWWDNHRQLQPDWWHUVWKDWDUHDGYHUVHWR\RXEXWKDYHQRQHWKHOHVVGHFLGHG
 LWLVLQ\RXULQWHUHVWWRZDLYHFRQIOLFWVRILQWHUHVWUHJDUGLQJWKH$OORZHG$GYHUVH5HSUHVHQWDWLRQV
 DQGZDLYHULJKWVWRSURKLELW. (//3¶VSRWHQWLDOZLWKGUDZDOVKRXOGDFRQIOLFWZDLYHUSURYH
 LQHIIHFWXDO

          :HLQIRUP\RXWKDWFHUWDLQHQWLWLHVRZQHGE\FXUUHQWRUIRUPHU. (//3DWWRUQH\VDQG
 VHQLRUVWDII ³DWWRUQH\LQYHVWPHQWHQWLWLHV´ KDYHLQYHVWPHQWVLQIXQGVRUFRPSDQLHVWKDWPD\
 GLUHFWO\RULQGLUHFWO\EHDIILOLDWHGZLWK\RXKROGLQYHVWPHQWVLQ\RXUGHEWRUHTXLW\VHFXULWLHVEH
 DGYHUVHWR\RXRUFRQGXFWFRPPHUFLDOWUDQVDFWLRQVZLWK\RX HDFKD³3DVVLYH+ROGLQJ´ 7KH
 DWWRUQH\LQYHVWPHQW HQWLWLHVDUHSDVVLYHDQGKDYHQRPDQDJHPHQWRURWKHUFRQWUROULJKWVLQVXFK
 IXQGVRUFRPSDQLHV:HQRWHWKDWRWKHUSHUVRQVPD\LQWKHIXWXUHDVVHUWWKDWD3DVVLYH+ROGLQJ
 FUHDWHVLQFHUWDLQFLUFXPVWDQFHVDFRQIOLFWEHWZHHQ. (//3¶VH[HUFLVHRILWVLQGHSHQGHQW
 SURIHVVLRQDOMXGJPHQWLQUHQGHULQJDGYLFHWR\RXDQGWKHILQDQFLDOLQWHUHVWRIRXUDWWRUQH\V
 SDUWLFLSDWLQJLQWKHDWWRUQH\LQYHVWPHQWHQWLWLHVDQGVXFKRWKHUSHUVRQVPLJKWVHHNWROLPLW\RXU
 DELOLW\WRXVH. (//3WRDGYLVH\RXRQDSDUWLFXODUPDWWHU:KLOHZHFDQQRWFRQWUROZKDWD
 SHUVRQPLJKWDVVHUWRUVHHNZHEHOLHYHWKDW. (//3¶VMXGJPHQWZLOOQRWEHFRPSURPLVHGE\
 YLUWXHRIDQ\3DVVLYH+ROGLQJ3OHDVHOHWXVNQRZLI\RXKDYHDQ\TXHVWLRQVRUFRQFHUQV
 UHJDUGLQJRXU3DVVLYH+ROGLQJV%\H[HFXWLQJWKLVOHWWHU\RXDFNQRZOHGJHRXUGLVFORVXUHRIWKH
 IRUHJRLQJ
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 WROLWLJDWHPDWWHUV,QDGGLWLRQVXFKLQVXUDQFHSROLFLHVPD\SD\IRUWKHRWKHUSDUW\¶V RUSDUWLHV¶ 
 GDPDJHV,WLVLPSRUWDQWWRDSSULVH\RXULQVXUDQFHFDUULHU V SURPSWO\,I\RXGRQRWUHTXHVWWKDW
 ZHQRWLI\\RXULQVXUDQFHFDUULHU V RQ\RXUEHKDOIUHJDUGLQJDQ\VXFKPDWWHUZHZLOODVVXPH
 WKDW\RXDUHWDNLQJUHVSRQVLELOLW\IRUDQ\VXFKQRWLILFDWLRQ

         5HVWUXFWXULQJ&DVHV,ILWEHFRPHVQHFHVVDU\IRU&OLHQWWRFRPPHQFHDUHVWUXFWXULQJ
 FDVHXQGHUFKDSWHURIWKH86%DQNUXSWF\&RGH D³5HVWUXFWXULQJ&DVH´ WKH)LUP¶VRQJRLQJ
 HPSOR\PHQWE\&OLHQW ZLOOEHVXEMHFWWRWKHDSSURYDORIWKHFRXUWZLWKMXULVGLFWLRQRYHUWKH
 SHWLWLRQ,IQHFHVVDU\WKH)LUP ZLOOWDNHVWHSVQHFHVVDU\WRSUHSDUHWKHGLVFORVXUHPDWHULDOV
 UHTXLUHGLQFRQQHFWLRQZLWKWKH)LUP¶VUHWHQWLRQDVOHDGUHVWUXFWXULQJFRXQVHO,QWKHQHDUWHUP
 WKH)LUP ZLOOEHJLQFRQIOLFWVFKHFNVRQSRWHQWLDOO\LQWHUHVWHGSDUWLHVDVSURYLGHGE\&OLHQW

         ,IQHFHVVDU\WKH)LUPZLOOSUHSDUHDSUHOLPLQDU\GUDIWRIDVFKHGXOHGHVFULELQJWKH)LUP¶V
 UHODWLRQVKLSVZLWKFHUWDLQLQWHUHVWHGSDUWLHV WKH³'LVFORVXUH6FKHGXOH´ 7KH)LUPZLOOJLYH
 &OLHQWDGUDIWRIWKH 'LVFORVXUH6FKHGXOHRQFHLWLVDYDLODEOH$OWKRXJKWKH)LUP EHOLHYHV WKDW
 WKHVHUHODWLRQVKLSVGRQRWFRQVWLWXWHDFWXDOFRQIOLFWVRILQWHUHVWWKHVHUHODWLRQVKLSVPXVWEH
 GHVFULEHGDQGGLVFORVHGLQ&OLHQW¶VDSSOLFDWLRQWRWKHFRXUWWRUHWDLQWKH)LUP,I LQWKH)LUP¶V
 GHWHUPLQDWLRQDFRQIOLFWRILQWHUHVWDULVHVLQ&OLHQW¶V5HVWUXFWXULQJ&DVHUHTXLULQJVHSDUDWH
 FRQIOLFWVFRXQVHOWKHQ&OLHQWZLOOEHUHTXLUHGWRXVHVHSDUDWHFRQIOLFWVFRXQVHOLQWKRVHPDWWHUV

         1R*XDUDQWHHRI6XFFHVV,WLVLPSRVVLEOHWRSURYLGHDQ\SURPLVHRUJXDUDQWHHDERXW
 WKHRXWFRPHRI\RXUPDWWHUV1RWKLQJLQWKLV$JUHHPHQWRUDQ\VWDWHPHQWVE\RXUVWDIIRU
 DWWRUQH\VFRQVWLWXWHDSURPLVHRUJXDUDQWHH$Q\FRPPHQWVDERXWWKHRXWFRPHRI\RXUPDWWHUDUH
 VLPSO\H[SUHVVLRQVRIMXGJPHQWDQG DUHQRWELQGLQJRQXV

         3XUVXDQWWR3DUWRIWKH5XOHVRIWKH&KLHI$GPLQLVWUDWRU\RXPD\KDYHDULJKWWR
 DUELWUDWHDQ\IHHGLVSXWH

         &RQVHQWWR8VHRI,QIRUPDWLRQ,QFRQQHFWLRQZLWKIXWXUHPDWHULDOVWKDWIRUPDUNHWLQJ
 SXUSRVHVGHVFULEHIDFHWVRIRXUODZSUDFWLFHDQGUHFLWHH[DPSOHVRIPDWWHUVZHKDQGOHRQEHKDOI
 RIFOLHQWV\RXDJUHHWKDWLIWKHIDFWRIUHSUHVHQWDWLRQKDVRWKHUZLVHEHHQPDGHSXEOLFDQG
 FRQILUPHGE\\RXWKRVHPDWHULDOVDYRLGGLVFORVLQJ\RXUFRQILGHQFHVDQGVHFUHWVDVGHILQHGE\
 DSSOLFDEOHHWKLFDOUXOHVWKH\PD\LGHQWLI\\RXDVDFOLHQWPD\FRQWDLQIDFWXDOV\QRSVHVRI\RXU
 PDWWHUVDQGPD\LQGLFDWHJHQHUDOO\WKHUHVXOWVDFKLHYHG

         5HLPEXUVHPHQWRI)HHVDQG([SHQVHV<RXDJUHHSURPSWO\WRUHLPEXUVHXVIRUDOOIHHV
 DQGH[SHQVHVLQFOXGLQJWKHDPRXQWRIRXUDWWRUQH\DQGSDUDOHJDOWLPHDWQRUPDOELOOLQJUDWHVDV
 LQFXUUHGE\XVLQFRQQHFWLRQZLWKSDUWLFLSDWLQJLQSUHSDULQJIRURUUHVSRQGLQJWRDQ\DFWLRQ
 FODLPVXLWRUSURFHHGLQJEURXJKWE\RUDJDLQVWDQ\WKLUGSDUW\WKDWUHODWHVWRWKHOHJDOVHUYLFHV
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 H[DPSOHRQO\WKLVSDUDJUDSKH[WHQGVWRDOOVXFKIHHVDQGH[SHQVHVLQFXUUHGE\XVLQUHVSRQGLQJ
 WRGRFXPHQWVXESRHQDVDQGSUHSDULQJIRUDQG WHVWLI\LQJDWGHSRVLWLRQVDQGWULDOVDQGZLWK
 UHVSHFWWRWKHILOLQJSUHSDUDWLRQSURVHFXWLRQRUGHIHQVHRIDQ\DSSOLFDWLRQVE\XV IRUDSSURYDORI
 IHHVDQGH[SHQVHVLQDMXGLFLDODUELWUDORUVLPLODUSURFHHGLQJ)XUWKHU\RXXQGHUVWDQG
 DFNQRZOHGJHDQGDJUHH WKDWLQFRQQHFWLRQZLWKD5HVWUXFWXULQJ&DVHLI\RXKDYH QRWREMHFWHGWR
 WKHSD\PHQWRIRXU LQYRLFHRUWRRXU IHHDQGH[SHQVHDSSOLFDWLRQKDYH LQIDFWSDLGVXFKLQYRLFH
 RUKDYH DSSURYHGVXFKIHHDQGH[SHQVHDSSOLFDWLRQWKHQ\RXZDLYH \RXU ULJKW DQGWKHULJKWRI
 DQ\VXFFHVVRUHQWLW\DVDUHVXOWRID7UDQVDFWLRQRURWKHUZLVH WRVXEVHTXHQWO\REMHFWWRWKH
 SD\PHQWRIIHHVDQGH[SHQVHVFRYHUHGE\VXFKLQYRLFHRUIHHDSSOLFDWLRQ

        $XGLWRU5HTXHVWV. (¶VUHVSRQVHVWRDXGLWRUV¶UHTXHVWVIRULQIRUPDWLRQIURPOHJDO
 FRXQVHODUHSUHSDUHGDFFRUGLQJWRWKH$PHULFDQ%DU$VVRFLDWLRQ¶V'HFHPEHU6WDWHPHQWRI
 3ROLF\5HJDUGLQJ/DZ\HUV¶5HVSRQVHVWR$XGLWRUV¶5HTXHVWVIRU,QIRUPDWLRQDQGWKH
 DFFRPSDQ\LQJFRPPHQWDU\DQG)LQDQFLDO$FFRXQWLQJ6WDQGDUG%RDUG )$6% $FFRXQWLQJ
 6WDQGDUGV&RGLILFDWLRQ6XEWRSLF&RQWLQJHQFLHV/RVV&RQWLQJHQFLHV

          //3.LUNODQG (OOLV//3LVDOLPLWHGOLDELOLW\SDUWQHUVKLSRUJDQL]HGXQGHUWKHODZVRI
 ,OOLQRLVDQG.LUNODQG (OOLV,QWHUQDWLRQDO//3LVDOLPLWHGOLDELOLW\SDUWQHUVKLSRUJDQL]HGXQGHU
 WKHODZVRI'HODZDUH3XUVXDQWWRWKRVHVWDWXWRU\SURYLVLRQVDQREOLJDWLRQLQFXUUHGE\DOLPLWHG
 OLDELOLW\SDUWQHUVKLSZKHWKHUDULVLQJLQWRUWFRQWUDFWRURWKHUZLVHLVVROHO\WKHREOLJDWLRQRIWKH
 OLPLWHGOLDELOLW\SDUWQHUVKLSDQGSDUWQHUVDUHQRWSHUVRQDOO\OLDEOHGLUHFWO\RULQGLUHFWO\E\ZD\
 RILQGHPQLILFDWLRQFRQWULEXWLRQDVVHVVPHQWRURWKHUZLVHIRUVXFKREOLJDWLRQVROHO\E\UHDVRQRI
 EHLQJRUVRDFWLQJDVDSDUWQHU

         *RYHUQLQJ/DZ 7KLV$JUHHPHQWVKDOOEHJRYHUQHGE\DQGFRQVWUXHGLQDFFRUGDQFH
 ZLWKWKHODZVRIWKH6WDWHRI,OOLQRLVZLWKRXWJLYLQJHIIHFWWRWKHFRQIOLFWVRIODZSULQFLSOHV
 WKHUHRI

          0LVFHOODQHRXV7KLV$JUHHPHQWVHWVIRUWKRXUHQWLUHDJUHHPHQWIRUUHQGHULQJ
 SURIHVVLRQDOVHUYLFHV,WFDQEHDPHQGHGRUPRGLILHGRQO\LQDZULWLQJVLJQHGE\ERWKSDUWLHVDQG
 QRWRUDOO\RUE\FRXUVHRIFRQGXFW(DFKSDUW\VLJQLQJEHORZLVMRLQWO\DQGVHYHUDOO\UHVSRQVLEOH
 IRUDOOREOLJDWLRQVGXHXVDQGUHSUHVHQWVWKDWHDFKKDVIXOODXWKRULW\WRH[HFXWHWKLV$JUHHPHQWVR
 WKDW LWLVELQGLQJ7KLV$JUHHPHQWPD\EHVLJQHGLQRQHRUPRUHFRXQWHUSDUWVDQGELQGVHDFK
 SDUW\FRXQWHUVLJQLQJEHORZZKHWKHURUQRWDQ\RWKHUSURSRVHGVLJQDWRU\HYHUH[HFXWHVLW,IDQ\
 SURYLVLRQRIWKLV$JUHHPHQWRUWKHDSSOLFDWLRQWKHUHRILVKHOGLQYDOLGRUXQHQIRUFHDEOHWKH
 LQYDOLGLW\RUXQHQIRUFHDELOLW\VKDOOQRWDIIHFWRWKHUSURYLVLRQVRUDSSOLFDWLRQVRIWKLV$JUHHPHQW
 ZKLFKFDQEHJLYHQHIIHFWZLWKRXWVXFKSURYLVLRQVRUDSSOLFDWLRQDQGWRWKLVHQGWKHSURYLVLRQV
 RIWKLV$JUHHPHQWDUHGHFODUHGWREHVHYHUDEOH$Q\DJUHHPHQWRUZDLYHUFRQWDLQHGKHUHLQE\
 &OLHQWH[WHQGVWRDQ\DVVLJQHHRUVXFFHVVRULQLQWHUHVWWR&OLHQWLQFOXGLQJZLWKRXWOLPLWDWLRQWKH
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         7KLV$JUHHPHQWLVWKHSURGXFWRIDUP¶VOHQJWKQHJRWLDWLRQVEHWZHHQVRSKLVWLFDWHGSDUWLHV
 DQG&OLHQWDFNQRZOHGJHVWKDWLWLVH[SHULHQFHGZLWKUHVSHFWWRWKHUHWHQWLRQRIOHJDOFRXQVHO
 7KHUHIRUHWKH3DUWLHVDFNQRZOHGJHDQGDJUHHWKDWDQ\RWKHUZLVHDSSOLFDEOHUXOHRIFRQWUDFW
 FRQVWUXFWLRQRULQWHUSUHWDWLRQZKLFKSURYLGHVWKDWDPELJXLWLHVVKDOOEHFRQVWUXHGDJDLQVWWKH
 GUDIWHU DQGDOOVLPLODUUXOHVRIFRQWUDFWFRQVWUXFWLRQRULQWHUSUHWDWLRQ VKDOOQRWDSSO\WRWKLV
 $JUHHPHQW7KH3DUWLHVIXUWKHUDFNQRZOHGJHWKDWWKH)LUPLVQRWDGYLVLQJ&OLHQWZLWKUHVSHFWWR
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 KDVFRQVXOWHG RUKDGWKHRSSRUWXQLW\WRFRQVXOW ZLWKOHJDOFRXQVHORILWVRZQFKRRVLQJ&OLHQW
 IXUWKHUDFNQRZOHGJHVWKDW&OLHQWKDVHQWHUHGLQWRWKLV$JUHHPHQWDQGDJUHHGWRDOORILWVWHUPV
 DQGFRQGLWLRQVYROXQWDULO\DQGIXOO\LQIRUPHGEDVHGRQDGHTXDWHLQIRUPDWLRQDQG&OLHQW¶VRZQ
 LQGHSHQGHQWMXGJPHQW7KH3DUWLHVIXUWKHUDFNQRZOHGJHWKDWWKH\LQWHQGIRUWKLV$JUHHPHQWWR
 EHHIIHFWLYHDQGIXOO\HQIRUFHDEOHXSRQLWVH[HFXWLRQDQGWREHUHOLHGXSRQE\WKH3DUWLHV

         3OHDVHFRQILUP\RXUDJUHHPHQWZLWKWKHDUUDQJHPHQWVGHVFULEHGLQWKLVOHWWHUE\VLJQLQJ
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 XQGHUVWDQGWKDWLIZHGRQRWUHFHLYHDVLJQHGFRS\RIWKLVOHWWHUZLWKLQWZHQW\RQHGD\VZHZLOO
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 ,QWHOVDW,UHODQG2SHUDWLRQV8QOLPLWHG&RPSDQ\
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 ,QWHOVDW6DWHOOLWH&RPPXQLFDWLRQV/LPLWHG
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 ,QWHOVDW6XEVLGLDU\ *LEUDOWDU /LPLWHG
 ,QWHOVDW8.)LQDQFLDO6HUYLFHV/WG
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 YDULRXVVHUYLFHVSHUIRUPHGE\. (//3DQGRUE\RWKHUWKLUGSDUWLHVRQEHKDOIRIWKHFOLHQW
 ZKLFKDUHRIWHQDQFLOODU\WRRXUOHJDOVHUYLFHV6HUYLFHVSURYLGHGE\LQKRXVH. (//3
 SHUVRQQHODUHIRUWKHFRQYHQLHQFHRIRXUFOLHQWV*LYHQWKDWWKHVHVHUYLFHVDUHRIWHQDQFLOODU\WR
 RXUOHJDOVHUYLFHVLQFHUWDLQLQVWDQFHVLWPD\EHDSSURSULDWHDQGRUPRUHFRVWHIILFLHQWIRUWKHVH
 VHUYLFHVWREHRXWVRXUFHGWRDWKLUGSDUW\YHQGRU,IVHUYLFHVDUHSURYLGHGEH\RQGWKRVHRXWOLQHG
 EHORZSULFLQJZLOOEHEDVHGRQ. (//3¶VDSSUR[LPDWHFRVWDQGRUFRPSDUDEOHPDUNHWSULFLQJ

    x   'XSOLFDWLQJ5HSURJUDSKLFVDQG3ULQWLQJ7KHIROORZLQJOLVWGHWDLOV. (//3¶V
        FKDUJHVIRUGXSOLFDWLQJUHSURJUDSKLFVDQGSULQWLQJVHUYLFHV

        x   %ODFNDQG:KLWH&RS\RU3ULQW DOOVL]HVRISDSHU 
            x SHULPSUHVVLRQIRUDOO86RIILFHV
            x ¼SHULPSUHVVLRQLQ0XQLFK
            x   SHULPSUHVVLRQLQ/RQGRQ
            x +.SHULPSUHVVLRQLQ+RQJ.RQJ
            x 50%SHULPSUHVVLRQLQ%HLMLQJDQG6KDQJKDL
        x   &RORU&RS\RU3ULQW DOOVL]HVRISDSHU 
            x SHULPSUHVVLRQ
        x   2WKHU6HUYLFHV
            x &''9''XSOLFDWLQJRU0DVWHULQJ SHU&''9'
            x %LQGLQJ SHUELQGLQJ
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            x 7DEV SHULWHP
            x 2&5)LOH&RQYHUVLRQ SHUSDJH
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    x   7UDYHO([SHQVHV:HFKDUJHFOLHQWVRXURXWRISRFNHWFRVWVIRUWUDYHOH[SHQVHV
        LQFOXGLQJDVVRFLDWHGWUDYHODJHQF\IHHV:HFKDUJHFRDFKIDUHV EXVLQHVVFODVVIRU
        LQWHUQDWLRQDOIOLJKWV XQOHVVWKHFOLHQWKDVDSSURYHGEXVLQHVVFODVVILUVWFODVVRUDQ
        XSJUDGH. (//3SHUVRQQHO DUHLQVWUXFWHGWRLQFXURQO\UHDVRQDEOHDLUIDUHKRWHODQG
        PHDOH[SHQVHV. (//3QHJRWLDWHVXVHVDQGSDVVHVDORQJYROXPHGLVFRXQWKRWHODQG
        DLUUDWHVZKHQHYHUSUDFWLFDEOH+RZHYHUFHUWDLQUHWURVSHFWLYHUHEDWHVPD\QRWEHSDVVHG
        DORQJ

    x   &DWHULQJ&KDUJHV&OLHQWVZLOOEHFKDUJHGIRUDQ\LQKRXVHFDWHULQJVHUYLFHSURYLGHGLQ
        FRQQHFWLRQZLWKFOLHQWPDWWHUVZKHUH\RXDUHSUHVHQW

    x   &RPPXQLFDWLRQ([SHQVHV:HGRQRWFKDUJHFOLHQWVIRUWHOHSKRQHFDOOVRUID[HVPDGH
        IURP. (//3¶VRIILFHVZLWKWKHH[FHSWLRQRIWKLUGSDUW\FRQIHUHQFHFDOOVDQG
        YLGHRFRQIHUHQFHV

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        &KDUJHVLQFXUUHGIRUFRQIHUHQFHFDOOVYLGHRFRQIHUHQFHVFHOOXODUWHOHSKRQHVDQG
        FDOOVPDGHIURPRWKHUWKLUGSDUW\ORFDWLRQVZLOOEHFKDUJHGWRWKHFOLHQWDWWKH
        DFWXDOFRVWLQFXUUHG)XUWKHURWKHUWHOHFRPPXQLFDWLRQH[SHQVHVLQFXUUHGDWWKLUG
        SDUW\ORFDWLRQV HJSKRQHOLQHVDWWULDOVLWHV,QWHUQHWDFFHVVHWF ZLOOEHFKDUJHG
        WRWKHFOLHQWDWWKHDFWXDOFRVWLQFXUUHG

    x   2YHUQLJKW'HOLYHU\3RVWDJH:HFKDUJHFOLHQWVIRUWKHDFWXDOFRVWRIRYHUQLJKWDQG
        VSHFLDOGHOLYHU\ HJ([SUHVV0DLO)HG([DQG'+/ DQG86SRVWDJHIRUPDWHULDOV
        PDLOHGRQWKHFOLHQW¶VEHKDOI. (//3QHJRWLDWHVXVHVDQGSDVVHVDORQJYROXPH
        GLVFRXQWUDWHVZKHQHYHUSUDFWLFDEOH

    x   0HVVHQJHUV:HFKDUJHFOLHQWVIRUWKHDFWXDOFRVWRIDWKLUGSDUW\YHQGRUPHVVHQJHU

    x   /LEUDU\5HVHDUFK6HUYLFHV/LEUDU\5HVHDUFKVWDIISURYLGHVUHVHDUFKDQGGRFXPHQW
        UHWULHYDOVHUYLFHVDWWKHUHTXHVWRIDWWRUQH\VDQGFOLHQWVDUHFKDUJHGSHUKRXUIRUWKHVH
        VHUYLFHV$Q\H[SHQVHVLQFXUUHGLQFRQQHFWLRQZLWKWKHUHTXHVWVXFKDVRXWVLGHUHWULHYDO
        VHUYLFHRURQOLQHUHVHDUFKFKDUJHVDUHSDVVHGRQWRWKHFOLHQWDWFRVWLQFOXGLQJDQ\
        DSSOLFDEOHGLVFRXQWV

    x   2QOLQH5HVHDUFK&KDUJHV. (//3FKDUJHVIRUFRVWVLQFXUUHGLQXVLQJWKLUG SDUW\
        RQOLQHUHVHDUFKVHUYLFHVLQ FRQQHFWLRQZLWKDFOLHQWPDWWHU. (//3QHJRWLDWHVDQGXVHV
        GLVFRXQWVRUVSHFLDOUDWHVIRURQOLQHUHVHDUFKVHUYLFHVZKHQHYHUSRVVLEOHDQGSUDFWLFDEOH
        DQGSDVVHVWKURXJKWKHIXOOEHQHILWRIDQ\VDYLQJVWRWKHFOLHQWEDVHGRQDFWXDOXVDJH

    x   ,QWHU/LEUDU\/RDQ6HUYLFHV2XUVWDQGDUGFOLHQWFKDUJHIRULQWHUOLEUDU\ORDQVHUYLFHV
        ZKHQD. (//3OLEUDU\HPSOR\HHERUURZVDERRNIURPDQRXWVLGHVRXUFHLVSHU
        WLWOH7KHUHLVQRFOLHQWFKDUJHIRUERUURZLQJERRNVIURP. (//3OLEUDULHVLQRWKHU
        FLWLHVRUIURPRXWVLGHFROOHFWLRQVZKHQWKHWLWOHLVSDUWRIWKH. (//3FROOHFWLRQEXW
        XQDYDLODEOH

    x   2II6LWH/HJDO)LOHV6WRUDJH&OLHQWVDUHQRWFKDUJHGIRURIIVLWHVWRUDJHRIILOHVXQOHVV
        WKHVWRUDJHFKDUJHLVDSSURYHGLQDGYDQFH

    x   (OHFWURQLF'DWD6WRUDJH. (//3ZLOOQRWFKDUJHFOLHQWVIRUFRVWVWRVWRUHHOHFWURQLF
        GDWDDQGILOHVRQ. (//3¶VV\VWHPVLIWKHGDWDVWRUHGGRHVQRWH[FHHGJLJDE\WHV
         *% ,IWKHGDWDVWRUHGIRUDVSHFLILFFOLHQWH[FHHGV*%. (//3ZLOOFKDUJH
        FOLHQWVSHUPRQWKSHU*%IRUDOOQHWZRUNGDWDVWRUHGXQWLOWKHGDWDLVHLWKHUUHWXUQHG
        WRWKHFOLHQWRUSURSHUO\GLVSRVHGRI)RUHGLVFRYHU\GDWDRQWKH5HODWLYLW\SODWIRUP
        . (//3ZLOODOVRFKDUJHFOLHQWVSHUPRQWKSHU*%XQWLOWKHGDWDLVHLWKHU
        UHWXUQHGWRWKHFOLHQWRUSURSHUO\GLVSRVHGRI

    x   &DOHQGDU&RXUW6HUYLFHV2XUVWDQGDUGFKDUJHLVIRUDFRXUWILOLQJDQGRWKHUFRXUW
        VHUYLFHVRUWUDQVDFWLRQV

    x   6XSSOLHV7KHUHLVQRFOLHQWFKDUJHIRUVWDQGDUGRIILFHVXSSOLHV&OLHQWVDUHFKDUJHGIRU
        VSHFLDOLWHPV HJDPLQXWHERRNH[KLELWWDEVLQGH[HVGLYLGHUVELQGLQJHWF DQGWKHQDW
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    x   &RQWUDFW$WWRUQH\VDQG&RQWUDFW1RQ$WWRUQH\%LOOHUV,IWKHUHLVDQHHGWRXWLOL]HD
        FRQWUDFWDWWRUQH\RUFRQWUDFWQRQDWWRUQH\RQDFOLHQWHQJDJHPHQWFOLHQWVZLOOEHFKDUJHG
        DVWDQGDUGKRXUO\UDWHIRUWKHVHELOOHUVXQOHVVRWKHUVSHFLILFELOOLQJDUUDQJHPHQWVDUH
        DJUHHGEHWZHHQ. (//3DQGFOLHQW

    x   ([SHUW:LWQHVVHV([SHUWVRI2WKHU7\SHVDQG2WKHU7KLUG3DUW\&RQVXOWDQWV,I
        WKHUHLVDQHHGWRXWLOL]HDQH[SHUWZLWQHVVH[SHUWRI RWKHUW\SHRURWKHUWKLUGSDUW\
        FRQVXOWDQWVXFKDVDFFRXQWDQWVLQYHVWPHQWEDQNHUVDFDGHPLFLDQVRWKHUDWWRUQH\VHWF
        RQDFOLHQWHQJDJHPHQWFOLHQWVZLOOEHUHTXHVWHGWRUHWDLQRUSD\WKHVHLQGLYLGXDOV
        GLUHFWO\XQOHVVVSHFLILFELOOLQJDUUDQJHPHQWVDUH DJUHHGEHWZHHQ. (//3DQGFOLHQW

    x   7KLUG3DUW\([SHQGLWXUHV7KLUGSDUW\H[SHQGLWXUHV HJFRUSRUDWHGRFXPHQWDQGOLHQ
        VHDUFKHVOHDVHRIRIILFHVSDFHDW7ULDOORFDWLRQ,7HTXLSPHQWUHQWDO6(&DQGUHJXODWRU\
        ILOLQJVHWF LQFXUUHGRQEHKDOIRIDFOLHQWZKLFKWRWKHH[WHQWUHDVRQDEO\SUDFWLFDEOH
        KDYHEHHQDSSURYHGLQZULWLQJE\\RXLQDGYDQFHZLOOEHSDVVHGWKURXJKWRWKHFOLHQWDW
        DFWXDOFRVW,IWKHLQYRLFHH[FHHGVLWLV. (//3¶VSROLF\WKDWZKHUHYHU
        SRVVLEOHVXFKFKDUJHVZLOOEHGLUHFWO\ELOOHGWRWKHFOLHQW,QWKRVHFLUFXPVWDQFHVZKHUH
        WKLVLVQRWSRVVLEOH. (//3ZLOOVHHNUHLPEXUVHPHQWIURPRXUFOLHQWSULRUWRSD\LQJ
        WKHYHQGRU

 8QOHVVRWKHUZLVHQRWHGFKDUJHVELOOHGLQIRUHLJQFXUUHQFLHVDUHGHWHUPLQHGDQQXDOO\EDVHGRQ
 FXUUHQW86FKDUJHVDWDQDSSURSULDWHH[FKDQJHUDWH




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                                    Exhibit D

                             Budget and Staffing Plan
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                                       Budget and Staffing Plan

      (For Matter Categories for the Period Beginning on June 1, 2021 and Ending on
                                     August 31, 2021)

 Budget

   Matter                                                                    Total Compensation
                  Matter Category Description             Hours Budgeted
   Number                                                                         Budgeted
      3             Corporate & Governance Matters           524 - 602      $561,000 - $645,200
      4     Disclosure Statement / Plan / Confirmation     4,584 - 5,271   $4,400,000 - $5,060,000
      5               Financing and Cash Collateral           67 - 77         $55,000 - $63,300
      6                   Automatic Stay Issues               72 - 82         $55,000 - $63,300
      7                      Section 363 Issues              133 - 152      $110,000 - $126,500
      8       Executory Contracts & Unexpired Leases         360 - 414      $319,000 - $366,900
      9                    Business Operations               136 - 156      $110,000 - $126,500
     10                   Claims Administration            2,177 - 2,503   $2,068,900 - $2,379,200
     11           U.S. Trustee and Statutory Reporting           0                   $0
     12                           Hearings                   194 - 223      $220,000 - $253,000
     13                    Non-Working Travel                264 - 303      $132,000 - $151,800
     14                       Employee Issues                 34 - 39         $33,000 - $38,000
     15                          Insurance                    11 - 12         $11,000 - $12,700
     16                           Utilities                      0                   $0
     17                          Tax Issues                  372 - 427      $374,000 - $430,100
     18            Environmental / Regulatory Issues          83 - 95        $88,000 - $101,200
     19                     International Issues                 0                   $0
     20                    Case Administration               253 - 290      $187,000 - $215,100
     21                       Retention K&E                  403 - 463      $286,000 - $328,900
     22                    Retention Non-K&E                  55 - 63         $44,000 - $50,600
     24          Intelsat (Luxembourg) S.A. Litigation           0                   $0
     25        Intelsat (Luxembourg) S.A. Governance             0                   $0
     26         Intelsat (Luxembourg) S.A. Tax Issues            0                   $0
     27     Intelsat (Luxembourg) S.A. Plan/DS/Conf.             0                   $0
     28           Intelsat Envision Holdings Litigation          0                   $0
     29         Intelsat Envision Holdings Governance            0                   $0
     30          Intelsat Envision Holdings Tax Issues           0                   $0
     31      Intelsat Envision Holdings Plan/DS/Conf.            0                   $0
     32        Intelsat Connect Finance S.A. Litigation          0                   $0
     33      Intelsat Connect Finance S.A. Governance            0                   $0
     34       Intelsat Connect Finance S.A. Tax Issues           0                   $0
                      Intelsat Connect Finance S.A.
     35                        Plan/DS/Conf.                    0                    $0
     36       Intelsat Jackson Holdings S.A. Litigation         0                    $0
     37     Intelsat Jackson Holdings S.A. Governance           0                    $0
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        38        Intelsat Jackson Holdings S.A. Tax Issues             0                         $0
                        Intelsat Jackson Holdings S.A.
        39                       Plan/DS/Conf.                           0                     $0
        40                     Litigation Advice                   1,840 - 2,116     $1,903,500 - $2,189,000
        41                  Project Galactica (363)                      0                     $0
        42              Gogo Inc. Post-petition Advice                33 - 37           $33,000 - $38,000
        43                      Insured Matters                       22 - 25           $22,000 - $25,300
        Total                                                     11,595 - 13,334   $11,000,000 - $12,700,000

 Staffing Plan

                                                       Number of Timekeepers Expected to
                                                                                                          Average
             Category of Timekeeper                     Perform Work Across All Matters
                                                                                                        Hourly Rate1
                                                            During the Budget Period
      Partner                                                               29                                $1,834
      Associate                                                             30                                $828
      Legal Assistant                                                       10                                $376
      Project Assistant                                                     3                                 $383
      Total                                                                 72                                $948


  1
      The Average Hourly Rate is a weighted average based on the individual hourly rate of, and projected number of hours
      worked by, each timekeeper over the course of the chapter 11 cases.




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                                    Exhibit E

                            Voluntary Rate Disclosures
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 •     The blended hourly rate for all K&E domestic timekeepers (including both professionals and
       paraprofessionals) who billed to non-bankruptcy matters (collectively, the “Non-Bankruptcy
       Matters”)1 during the 12-month period ending on August 31, 2021 (the “Comparable Period”)
       was, in the aggregate, approximately $991.12 per hour (the “Non-Bankruptcy Blended Hourly
       Rate”).2

 •     The blended hourly rate for all K&E timekeepers (including both professionals and
       paraprofessionals) who billed to the Debtors during the Fee Period was approximately $938.35
       per hour (the “Debtor Blended Hourly Rate”).3

 •     A detailed comparison of these rates is as follows:

                                      Debtor Blended Hourly Rate              Non-Bankruptcy Blended
     Position at K&E
                                      for This Fee Application                Hourly Rate
     Partners                                                    $1,338.83                                   $1,320.23
     Of Counsel                                                  $1,133.75                                   $1,101.17
     Associates                                                   $847.47                                     $851.72
     Visiting Attorney                                                   -                                    $609.90
     Law Clerk                                                           -                                    $373.27
     Paralegal                                                    $419.64                                     $392.68
     Junior Paralegal                                             $261.90                                     $251.16
     Support Staff                                                $337.66                                     $371.54
     Total                                                         $938.35                                     $991.12




 1
       It is the nature of K&E’s practice that certain non-bankruptcy engagements require the advice and counsel of
       professionals and paraprofessionals who work primarily within K&E’s Restructuring Group. Accordingly, “Non-
       Bankruptcy Matters” consist of matters for which K&E domestic timekeepers represented a client in a matter
       other than an in-court bankruptcy proceeding. Moreover, the Non-Bankruptcy Matters include time billed by
       K&E domestic timekeepers who work primarily within K&E’s Restructuring Group.

 2
       K&E calculated the blended rate for Non-Bankruptcy Matters by dividing the total dollar amount billed by K&E
       domestic timekeepers to the Non-Bankruptcy Matters during the Comparable Period by the total number of hours
       billed by K&E domestic timekeepers to the Non-Bankruptcy Matters during the Comparable Period.

 3
       K&E calculated the blended rate for timekeepers who billed to the Debtors by dividing the total dollar amount
       billed by such timekeepers during the Fee Period by the total number of hours billed by such timekeepers during
       the Fee Period.
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                                      Exhibit F

        Summary of Total Fees Incurred and Hours Billed During the Fee Period
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                                                                                                                     Hourly Rate Billed            Fees Billed

                                                                                                                                                        In this
                                                                        Fees            Hours                                                        Application
                                                                        Billed          Billed         Number                      In the First    at First Interim
    Attorney                                                Date of      In this         In this       of Rate       In this         Interim         Application
     Name              Position      Department            Admission   Application     Application    Increases    Application     Application      Billing Rate
Kate Coverdale,       Partner     Executive                   2010         21,367.50          16.50          N/A      1,295.00          1,295.00            21,367.50
P.C.                              Compensation
Thad W. Davis,        Partner     Taxation                    2005          7,080.00           4.80          N/A      1,475.00         1,475.00            7,080.00
P.C.
James P. Gillespie,   Partner     Litigation - General        1990         18,573.50         12.10           N/A      1,535.00         1,465.00           17,726.50
P.C.
Michael A. Glick      Partner     Litigation - General        2009       122,960.00          92.80           N/A      1,325.00         1,265.00          117,392.00
Joshua Korff, P.C.    Partner     Corporate - Capital         1994         31,255.00         19.00           N/A      1,645.00         1,595.00           30,305.00
                                  Markets
Mario Mancuso,        Partner     International Trade         1997          3,729.00           2.20          N/A      1,695.00         1,635.00            3,597.00
P.C.
Shawn OHargan,        Partner     Corporate -                 2007         37,940.00         28.00           N/A      1,355.00         1,295.00           36,260.00
P.C.                              M&A/Private Equity
John C. O’Quinn,      Partner     IP Litigation               2001       189,117.50         126.50           N/A      1,495.00         1,405.00          177,732.50
P.C.
Steven N.             Partner     Restructuring               2010       693,829.50         464.10           N/A      1,495.00         1,345.00          624,214.50
Serajeddini, P.C.
Anne McClain          Partner     Litigation - General        1992       266,313.50         164.90           N/A      1,615.00         1,545.00          254,770.50
Sidrys, P.C.
Michael B. Slade      Partner     Litigation - General        1999       524,968.50         363.30           N/A      1,445.00         1,395.00          506,803.50
Marcus Thompson       Partner     Litigation - General                      2,781.00           1.80          N/A      1,545.00         1,545.00            2,781.00
Andy Veit, P.C.       Partner     Corporate - Debt            2010         14,437.50         10.50           N/A      1,375.00         1,375.00           14,437.50
                                  Finance
                                                                             702.50            0.50          N/A      1,405.00         1,375.00              687.50
Laurent Victor-       Partner     Corporate -                              16,020.00         12.00           N/A      1,335.00         1,245.00           14,940.00
Michel                            M&A/Private Equity
Sara B. Zablotney,    Partner     Taxation                    2003          1,340.00           0.80          N/A      1,675.00         1,575.00            1,260.00
P.C.
Jeffrey J. Zeiger,    Partner     Litigation - General        2001       212,738.50         142.30           N/A      1,495.00         1,495.00          212,738.50
P.C.
Bill Arnault          Partner     Litigation - General        2009       726,955.50         583.90           N/A      1,245.00         1,245.00          726,955.50
Alexia Renee          Partner     Litigation - General        2014          1,095.00           1.00          N/A      1,095.00         1,095.00            1,095.00
Brancato
Michael S. Casey      Partner     Litigation - General        2008         10,040.00           8.00          N/A      1,255.00         1,165.00            9,320.00
Chad Davis            Partner     Corporate - Debt            2013         20,026.50         16.90           N/A      1,185.00         1,185.00           20,026.50
                                  Finance
                                                                           45,805.50         37.70           N/A      1,215.00         1,185.00           44,674.50
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                                                                                                                    Hourly Rate Billed            Fees Billed

                                                                                                                                                       In this
                                                                       Fees            Hours                                                        Application
                                                                       Billed          Billed         Number                      In the First    at First Interim
    Attorney                                               Date of      In this         In this       of Rate       In this         Interim         Application
     Name            Position       Department            Admission   Application     Application    Increases    Application     Application      Billing Rate
David L. Eaton      Partner      Restructuring               1978         30,679.50          18.10          N/A      1,695.00          1,695.00            30,679.50
Michael Engel       Partner      Litigation -                             99,792.00         86.40           N/A      1,155.00         1,155.00           99,792.00
                                 Antitrust/Competition
Susan D. Golden     Partner      Restructuring               1988           610.00            0.50          N/A      1,220.00         1,175.00              587.50
H. Boyd Greene IV   Partner      Government Contracts        2006           388.50            0.30          N/A      1,295.00         1,275.00              382.50
Anthony R. Grossi   Partner      Restructuring               2010       373,442.00         306.10           N/A      1,220.00         1,175.00          359,667.50
Lance Kurtis        Partner      Corporate - Capital         2015          1,155.00           1.00          N/A      1,155.00         1,155.00            1,155.00
Hancock                          Markets
Erik Hepler         Partner      Corporate - Debt            1990           448.50            0.30          N/A      1,495.00         1,435.00              430.50
                                 Finance
Carla A.R. Hine     Partner      Litigation -                2005          1,579.50           1.30          N/A      1,215.00         1,215.00            1,579.50
                                 Antitrust/Competition
Kevin M. Jonke      Partner      Litigation - General        2015         93,312.00         86.40           N/A      1,080.00         1,080.00           93,312.00
Natalie Hoyer       Partner      Taxation                    1997          3,692.00           2.60          N/A      1,420.00         1,360.00            3,536.00
Keller
Andrew Kimball      Partner      Corporate -                 2014         20,912.50         17.50           N/A      1,195.00         1,165.00           20,387.50
                                 M&A/Private Equity
Casey McGushin      Partner      Litigation - General        2014       150,562.50         137.50           N/A      1,095.00         1,045.00          143,687.50
David L.            Partner      Corporate -                 2013         70,152.00         59.20           N/A      1,185.00         1,185.00           70,152.00
Perechocky                       M&A/Private Equity
William T. Pruitt   Partner      Litigation - General        2004          1,275.00           1.00          N/A      1,275.00         1,220.00            1,220.00
Harker Rhodes       Partner      Litigation - Appellate      2014          7,099.00           6.20          N/A      1,145.00         1,095.00            6,789.00
Anna Schwander      Partner      Corporate - Capital                       1,687.50           1.50          N/A      1,125.00         1,025.00            1,537.50
                                 Markets
Anthony Vincenzo    Partner      Taxation                    2011       301,040.00         227.20           N/A      1,325.00         1,265.00          287,408.00
Sexton
Aparna              Partner      Restructuring               2013       219,880.00         184.00           N/A      1,195.00         1,195.00          219,880.00
Yenamandra
Lamina Bowen        Of Counsel   Litigation - General        2016           648.00            0.60          N/A      1,080.00         1,080.00              648.00
Ellen M. Jakovic    Of Counsel   Litigation -                1985           259.00            0.20          N/A      1,295.00         1,245.00              249.00
                                 Antitrust/Competition
Maggie Alden        Associate    Restructuring               2020       114,979.50         150.30           N/A       765.00            765.00          114,979.50
                                                                        290,237.50         331.70           N/A       875.00            765.00          253,750.50
Peter Bang          Associate                                2016          1,492.50           1.50          N/A        995.00           845.00            1,267.50




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                                                                                                                    Hourly Rate Billed           Fees Billed

                                                                                                                                                      In this
                                                                       Fees            Hours                                                       Application
                                                                       Billed          Billed         Number                      In the First   at First Interim
   Attorney                                                Date of      In this         In this       of Rate       In this         Interim        Application
    Name              Position      Department            Admission   Application     Application    Increases    Application     Application     Billing Rate
                                 Corporate - Debt                         11,449.00          10.70          N/A      1,070.00           845.00             9,041.50
                                 Finance
Michael K. Bassi     Associate   Corporate - General        2019            382.50            0.50          N/A       765.00           765.00              382.50
Laura Bielinski      Associate   Corporate - Debt           2016          52,090.50         45.10           N/A      1,155.00         1,155.00          52,090.50
                                 Finance
Nicholas A. Binder   Associate   Restructuring              2019        152,005.50         198.70           N/A       765.00           610.00          121,207.00
                                                                        489,212.50         559.10           N/A       875.00           610.00          341,051.00
Cade C. Boland       Associate   Litigation - General       2021          23,750.00         38.00           N/A       625.00           625.00           23,750.00
                                                                          23,244.00         31.20           N/A       745.00           625.00           19,500.00
Katya Boyko          Associate   Corporate -                2017            856.00            0.80          N/A      1,070.00          965.00              772.00
                                 M&A/Private Equity
                                                                            562.50            0.50          N/A      1,125.00          965.00              482.50
Simon Briefel        Associate   Restructuring              2018          28,262.50         32.30           N/A       875.00           875.00           28,262.50
                                                                        225,367.50         226.50           N/A       995.00           875.00          198,187.50
Seth A. Brimley      Associate   Restructuring              2021          38,875.00         62.20           N/A        625.00          625.00           38,875.00
Mariel Brookins      Associate   Litigation - Appellate     2018          17,114.00         17.20           N/A       995.00           925.00           15,910.00
Francois Capoul      Associate   Corporate -                                340.00            0.50          N/A       680.00           680.00              340.00
                                 M&A/Private Equity
                                                                           5,700.00           7.50          N/A       760.00           680.00            5,100.00
Cassandra Myers      Associate   Litigation - General       2016          64,177.50         64.50           N/A       995.00           970.00           62,565.00
Catalano
                                                                        137,811.00         129.40           N/A      1,065.00          970.00          125,518.00
Bradley Cho          Associate   Corporate - Debt           2018            525.00            0.60          N/A       875.00           740.00              444.00
                                 Finance
Ian Clarke           Associate   Restructuring                              346.50            0.30          N/A      1,155.00         1,155.00             346.50
Elizabeth DeGori     Associate   Litigation - General       2014           8,855.50           8.90          N/A       995.00           995.00            8,855.50
                                                                          12,034.50         11.30           N/A      1,065.00          995.00           11,243.50
Mahalia S.B          Associate   Corporate - Debt           2016           1,732.50           1.50          N/A      1,155.00         1,155.00           1,732.50
Doughty                          Finance
Annie Laurette       Associate   Restructuring              2018        104,873.00         105.40           N/A       995.00           995.00          104,873.00
Dreisbach
Cassandra E.         Associate   Litigation - General       2017          12,935.00         13.00           N/A       995.00           995.00           12,935.00
Fenton



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                                                                                                                       Hourly Rate Billed           Fees Billed

                                                                                                                                                         In this
                                                                       Fees            Hours                                                          Application
                                                                       Billed          Billed         Number                         In the First   at First Interim
    Attorney                                               Date of      In this         In this       of Rate          In this         Interim        Application
     Name             Position      Department            Admission   Application     Application    Increases       Application     Application     Billing Rate
Dave Gremling        Associate   Restructuring               2019        150,781.50         197.10          N/A           765.00           610.00          120,231.00
                                                                        417,900.00         477.60           N/A          875.00           610.00          291,336.00
Nick Hafen           Associate   Restructuring               2019         28,840.50         37.70           N/A          765.00           610.00           22,997.00
                                                                          49,525.00         56.60           N/A          875.00           610.00           34,526.00
Luci Hague           Associate   International Trade         2015           450.00            0.40          N/A         1,125.00         1,085.00             434.00
                                                                           2,425.50           2.10          N/A         1,155.00         1,085.00           2,278.50
Heidi Hockberger     Associate   Restructuring               2017           497.50            0.50          N/A           995.00          845.00              422.50
Abby Rose            Associate   Litigation - General        2018         37,368.00         43.20           N/A          865.00           865.00           37,368.00
Hollenstein
                                                                        122,377.50         129.50           N/A          945.00           865.00          112,017.50
Derek I. Hunter      Associate   Restructuring               2017       227,482.00         212.60           N/A         1,070.00          965.00          205,159.00
                                                                        680,737.50         605.10           N/A         1,125.00          965.00          583,921.50
Aleschia D. Hyde     Associate   Litigation - General        2021          2,500.00           4.00          N/A          625.00           625.00            2,500.00
                                                                          51,926.50         69.70           N/A          745.00           625.00           43,562.50
Jason T. Jarvis      Associate   Restructuring               2021         70,625.00        113.00           N/A           625.00          625.00           70,625.00
                                                                        158,125.50         206.70           N/A          765.00           625.00          129,187.50
Miles H. Johnson     Associate   Taxation                    2015         14,822.50         12.10           N/A         1,225.00         1,165.00          14,096.50
Deidre Kalenderian   Associate   Executive                   2016          3,487.50           3.10          N/A         1,125.00          845.00            2,619.50
                                 Compensation
Jennifer Karinen     Associate   Corporate - Capital         2017         58,387.50         51.90           N/A         1,125.00         1,125.00          58,387.50
                                 Markets
Cara Katrinak        Associate   Restructuring               2021         20,387.50         23.30           N/A          875.00           875.00           20,387.50
Gary J. Kavarsky     Associate   Restructuring               2018         31,939.50         32.10           N/A           995.00          995.00           31,939.50
Tyler R. Knutson     Associate   Restructuring               2021         90,500.00        144.80           N/A           625.00          625.00           90,500.00
                                                                        255,357.00         333.80           N/A          765.00           625.00          208,625.00
Krista Koskivirta    Associate   Litigation -                               796.00            0.80          N/A          995.00           995.00              796.00
                                 Antitrust/Competition
Mike Kraft           Associate   Litigation - General        2018          4,238.50           4.90               1       865.00           865.00            4,238.50




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                                                                                                                     Hourly Rate Billed           Fees Billed

                                                                                                                                                       In this
                                                                        Fees            Hours                                                       Application
                                                                        Billed          Billed         Number                      In the First   at First Interim
    Attorney                                                Date of      In this         In this       of Rate       In this         Interim        Application
     Name              Position      Department            Admission   Application     Application    Increases    Application     Application     Billing Rate
                                                                           25,137.00          26.60          N/A        945.00           865.00            23,009.00
Erika Krum            Associate   International Trade         2021          2,218.50           2.90          N/A        765.00          765.00            2,218.50
Michael Lemm          Associate   Restructuring               2019       102,892.50         134.50           N/A       765.00           610.00           82,045.00
                                                                         271,162.50         309.90           N/A       875.00           610.00          189,039.00
Emily Merki Long      Associate   Litigation - General        2016         19,383.00         18.20           N/A      1,065.00          970.00           17,654.00
                                                                         186,300.00         172.50           N/A      1,080.00          970.00          167,325.00
Drew Maliniak         Associate   Corporate - Capital         2019         39,004.00         39.20           N/A       995.00           845.00           33,124.00
                                  Markets
                                                                           34,775.00         32.50           N/A      1,070.00          845.00           27,462.50
Colin J. Martindale   Associate   Litigation - General        2020          4,544.50           6.10          N/A       745.00           745.00            4,544.50
                                                                           21,279.00         24.60           N/A       865.00           745.00           18,327.00
Saunders McElroy      Associate   Litigation - General        2020         30,470.50         40.90           N/A       745.00           725.00           29,652.50
                                                                         161,668.50         186.90           N/A       865.00           725.00          135,502.50
Emily A. Meraia       Associate   Restructuring               2018          7,962.50           9.10          N/A       875.00           875.00            7,962.50
                                                                           26,865.00         27.00           N/A       995.00           875.00           23,625.00
Joe Morley            Associate   Taxation                    2019         84,726.00        104.60           N/A        810.00          645.00           67,467.00
                                                                         124,875.00         135.00           N/A       925.00           645.00           87,075.00
Brian Nakhaimousa     Associate   Restructuring               2021         87,937.50        140.70           N/A       625.00           625.00           87,937.50
                                                                         370,336.50         484.10           N/A       765.00           625.00          302,562.50
Aisha M. Noor         Associate   Corporate - Debt            2017          1,070.00           1.00          N/A      1,070.00         1,070.00           1,070.00
                                  Finance
Matt O’Hare           Associate   International Trade         2014          2,033.00           1.90          N/A      1,070.00         1,035.00           1,966.50
                                                                           11,362.50         10.10           N/A      1,125.00         1,035.00          10,453.50
Palmer Quamme         Associate   Litigation - General        2019          4,757.50           5.50          N/A       865.00           835.00            4,592.50
                                                                           15,592.50         16.50           N/A       945.00           835.00           13,777.50
Sandeep               Associate   Litigation -                             16,975.00         19.40           N/A       875.00           875.00           16,975.00
Ravikumar                         Antitrust/Competition
Evan Ribot            Associate   Litigation - General        2021          7,375.00         11.80           N/A       625.00           625.00            7,375.00




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                                                                                                                     Hourly Rate Billed           Fees Billed

                                                                                                                                                       In this
                                                                        Fees            Hours                                                       Application
                                                                        Billed          Billed         Number                      In the First   at First Interim
    Attorney                                                Date of      In this         In this       of Rate       In this         Interim        Application
     Name              Position      Department            Admission   Application     Application    Increases    Application     Application     Billing Rate
                                                                           32,705.50          43.90          N/A        745.00           625.00            27,437.50
Whitney Rosser        Associate   Corporate - Capital                      29,687.50         47.50           N/A       625.00           625.00           29,687.50
                                  Markets                                  42,381.00         55.40           N/A       765.00           625.00           34,625.00
Alexandra Schrader    Associate   Litigation - General        2021         21,009.00         28.20           N/A       745.00           745.00           21,009.00
Samuel J. Seneczko    Associate   Restructuring               2019         84,456.00        110.40           N/A       765.00           765.00           84,456.00
                                                                         340,375.00         389.00           N/A       875.00           765.00          297,585.00
Kelly Seranko         Associate   Litigation - General        2019           521.50            0.70          N/A       745.00           745.00              521.50
                                                                              86.50            0.10          N/A       865.00           745.00                74.50
Charles B. Sterrett   Associate   Restructuring               2019          2,448.00           3.20          N/A        765.00          765.00            2,448.00
                                                                            5,862.50           6.70          N/A       875.00           765.00            5,125.50
Benjamin P. Stone     Associate   Restructuring                          129,437.50         207.10           N/A       625.00           625.00          129,437.50
                                                                         390,073.50         509.90           N/A       765.00           625.00          318,687.50
Samantha N.           Associate   Corporate - General         2019           175.00            0.20          N/A       875.00           610.00              122.00
Stowers
William Thompson      Associate   Restructuring               2021         77,375.00        123.80           N/A       625.00           625.00           77,375.00
                                                                         244,953.00         320.20           N/A       765.00           625.00          200,125.00
Scott J. Vail         Associate   Restructuring               2016         28,462.00         26.60           N/A      1,070.00         1,070.00          28,462.00
                                                                             450.00            0.40          N/A      1,125.00         1,070.00             428.00
Eric J. Wendorf       Associate   Restructuring               2021         57,000.00         91.20           N/A       625.00           625.00           57,000.00
                                                                         230,647.50         301.50           N/A       765.00           625.00          188,437.50
Chambliss             Associate   Restructuring               2019         43,911.00         57.40           N/A        765.00          765.00           43,911.00
Williams
                                                                         158,987.50         181.70           N/A       875.00           765.00          139,000.50
Laura Elizabeth       Associate   Litigation - Appellate      2018         29,232.00         28.80           N/A      1,015.00         1,015.00          29,232.00
Wolk
                                                                           83,979.00         77.40           N/A      1,085.00         1,015.00          78,561.00
Donna Zamir           Associate   Restructuring                            57,000.00         91.20           N/A       625.00           625.00           57,000.00
                                                                         205,096.50         268.10           N/A       765.00           625.00          167,562.50




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                                                                                                                      Hourly Rate Billed            Fees Billed


                                                                                                                                                         In this
                                                                       Fees             Hours                                                         Application
                                                                       Billed           Billed          Number                      In the First    at First Interim
Paraprofessional                                           Date of      In this          In this        of Rate       In this         Interim         Application
     Name              Position      Department           Admission   Application      Application     Increases    Application     Application      Billing Rate
Joanna Aybar           Paralegal   Restructuring             N/A              105.00            0.30          N/A         350.00         1,295.00                388.50
Julian Gamboa          Paralegal   Litigation - General      N/A          40,678.00           94.60           N/A        430.00           415.00            39,259.00
Adrienne J. Levin      Paralegal   Litigation - General      N/A           3,358.00            7.30           N/A        460.00         1,535.00            11,205.50
Robert Orren           Paralegal   Restructuring             N/A          24,748.00           53.80           N/A        460.00           445.00            23,941.00
Nicholas Perrone       Paralegal   Litigation - General      N/A          65,520.00          187.20           N/A        350.00         1,645.00          307,944.00
Diego Rodriguez        Paralegal   Litigation -              N/A           1,500.00            4.00           N/A        375.00         1,695.00             6,780.00
                                   Antitrust/Competiti
                                   on
Laura Saal             Paralegal   Restructuring             N/A           3,864.00            8.40           N/A        460.00           445.00             3,738.00
Gary M. Vogt           Paralegal   Litigation - General      N/A         107,732.00          234.20           N/A        460.00         1,495.00          350,129.00
Maya Frazier           Junior      Litigation - General      N/A             918.00            3.60           N/A        255.00         1,495.00             5,382.00
                       Paralegal
Jacqueline Hahn        Junior      Restructuring             N/A           2,565.00            9.00           N/A        285.00         1,615.00            14,535.00
                       Paralegal
David Reisman          Junior      Corporate - General       N/A             997.50            3.50           N/A        285.00         1,445.00             5,057.50
                       Paralegal
Lydia Yale             Junior      Restructuring             N/A           5,016.00           17.60           N/A        285.00           275.00             4,840.00
                       Paralegal
Lauren Zipp            Junior      Litigation - General      N/A          24,760.50           97.10           N/A        255.00         1,375.00          133,512.50
                       Paralegal
Library Factual        Support     Administrative Mgt        N/A           3,822.00            9.80           N/A        390.00           375.00             3,675.00
Research               Staff       - Office
Lib Gov’t Agency       Support     Administrative Mgt        N/A             195.00            0.50           N/A        390.00         1,335.00               667.50
Research               Staff       - Office
Lib Legislative        Support     Administrative Mgt        N/A           1,872.00            4.80           N/A        390.00         1,675.00             8,040.00
Research               Staff       - Office
Library Statistical    Support     Administrative Mgt        N/A             117.00            0.30           N/A        390.00         1,495.00               448.50
                       Staff       - Office
Michael Y. Chan        Support     Conflicts Analysis        N/A           1,705.00            6.20           N/A        275.00           265.00             1,643.00
                       Staff
Eric Nyberg            Support     Conflicts Analysis        N/A           2,750.00           10.00           N/A        275.00           265.00             2,650.00
                       Staff
Toni M. Anderson       Support     Litigation - General      N/A             492.00            1.20           N/A        410.00         1,255.00             1,506.00
                       Staff
Song Lin               Support     Litigation - General      N/A             595.00            1.40           N/A        425.00         1,185.00             1,659.00
                       Staff



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                                    Exhibit G

            Summary of Actual and Necessary Expenses for the Fee Period
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                 Summary of Actual and Necessary Expenses for the Fee Period

  Expense                             Vendor (if any)   Unit Cost (if applicable)   Amount
  Third Party Telephone Charges                                                          $1,441.13
  Standard Copies or Prints                                                              $6,150.24
  Binding                                                                                   $51.80
  Tabs/Indexes/Dividers                                                                    $121.68
  Color Copies or Prints                                                                 $2,350.15
  4" Binders                                                                                $13.00
  Outside Messenger Services                                                               $443.62
  Local Transportation                                                                     $649.29
  Travel Expense                                                                        $27,002.29
  Airfare                                                                               $11,916.99
  Transportation to/from airport                                                         $3,414.56
  Travel Meals                                                                           $3,092.01
  Other Travel Expenses                                                                    $361.60
  Court Reporter Fee/Deposition                                                          $8,035.75
  Filing Fees                                                                            $4,785.70
  Expert Fees                                                                          $489,282.97
  Professional Fees                                                                     -$6,574.98
  Outside Video Services                                                                 $8,812.50
  Working Meals/K&E Only                                                                    $39.11
  Outside Retrieval Service                                                             $24,319.57
  Computer Database Research                                                             $5,380.47
  Westlaw Research                                                                      $32,396.23
  LexisNexis Research                                                                   $11,845.84
  Overtime Transportation                                                                  $588.60
  Overtime Meals - Attorney                                                                $627.68
  Secretarial Overtime                                                                     $575.19
  Document Services Overtime                                                             $1,277.96
  Miscellaneous Office Expenses                                                             $36.00
  Overnight Delivery - Hard                                                                $368.67
  Computer Database Research - Soft                                                      $1,152.90
  Total                                                                                $639,958.52
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                                    Exhibit H

             Summary of Fees and Expenses by Matter for the Fee Period
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    Matter        Matter Category                      Hours                          Total Compensation
    Number         Description                 Budgeted         Billed            Budgeted                 Billed
              Corporate & Governance
      3               Matters                  524 - 602        564.80       $561,000 - $645,200        $476,210.50
             Disclosure Statement / Plan /
      4             Confirmation              4,584 - 5,271    6,380.90     $4,400,000 - $5,060,000    $5,928,527.50
                 Financing and Cash
      5              Collateral                  67 - 77        595.80         $55,000 - $63,300        $545,872.50
      6         Automatic Stay Issues            72 - 82        20.20          $55,000 - $63,300        $13,660.50
      7           Section 363 Issues           133 - 152        15.10        $110,000 - $126,500        $14,664.00
               Executory Contracts &
      8          Unexpired Leases              360 - 414        138.60       $319,000 - $366,900        $107,026.50
      9          Business Operations           136 - 156        382.70       $110,000 - $126,500        $310,921.00
      10        Claims Administration         2,177 - 2,503    1,649.80     $2,068,900 - $2,379,200    $1,332,994.50
              U.S. Trustee and Statutory
      11              Reporting                    0            64.00                 $0                $51,019.50
      12               Hearings                194 - 223        49.30        $220,000 - $253,000        $47,680.00
      13        Non-Working Travel             264 - 303        65.00        $132,000 - $151,800        $76,473.00
      14           Employee Issues               34 - 39        26.90          $33,000 - $38,000        $33,086.50
      15              Insurance                  11 - 12         8.20          $11,000 - $12,700         $7,151.50
      17              Tax Issues               372 - 427        419.00       $374,000 - $430,100        $451,751.50
             Environmental / Regulatory
      18              Issues                     83 - 95        250.50        $88,000 - $101,200        $264,950.00
      20         Case Administration           253 - 290        384.20       $187,000 - $215,100        $283,091.50
      21           Retention K&E               403 - 463        319.30       $286,000 - $328,900        $252,637.00
      22         Retention Non-K&E               55 - 63        84.20          $44,000 - $50,600        $75,103.00
      40          Litigation Advice           1,840 - 2,116    2,190.80     $1,903,500 - $2,189,000    $2,446,829.50
      41       Project Galactica (363)             0             1.30                 $0                 $1,391.00
               Gogo Inc. Post-petition
      42              Advice                     33 - 37        80.80          $33,000 - $38,000        $124,133.00
      43           Insured Matters               22 - 25        54.80          $22,000 - $25,300        $53,531.00
     Total                                   11,595 - 13,334   13,746.20   $11,000,000 - $12,700,000   $12,898,705.00
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                                      Exhibit I

                      Detailed Description of Services Provided
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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048243
                                                                               Client Matter: 48457-3

In the Matter of Corporate and Governance Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 137,890.50
Total legal services rendered                                                                                $ 137,890.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-3
Corporate and Governance Matters




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         28.80     765.00         22,032.00
Michael K. Bassi                                      0.50     765.00            382.50
Nicholas A. Binder                                    8.90     765.00          6,808.50
Katya Boyko                                           0.40   1,070.00            428.00
Simon Briefel                                         0.90     875.00            787.50
Anthony R. Grossi                                    13.70   1,220.00         16,714.00
Lance Kurtis Hancock                                  1.00   1,155.00          1,155.00
Derek I. Hunter                                       5.90   1,070.00          6,313.00
Andrew Kimball                                        0.40   1,195.00            478.00
Tyler R. Knutson                                      1.60     625.00          1,000.00
Joshua Korff, P.C.                                    6.90   1,645.00         11,350.50
Michael Lemm                                         31.90     765.00         24,403.50
Lib Gov't Agency Research                             0.50     390.00            195.00
Library Statistical                                   0.30     390.00            117.00
Drew Maliniak                                        16.20     995.00         16,119.00
Brian Nakhaimousa                                     3.60     625.00          2,250.00
Robert Orren                                          0.30     460.00            138.00
David L. Perechocky                                   0.60   1,185.00            711.00
David Reisman                                         0.50     285.00            142.50
Whitney Rosser                                       11.30     625.00          7,062.50
Benjamin P. Stone                                    25.90     625.00         16,187.50
William Thompson                                      4.30     625.00          2,687.50
Scott J. Vail                                         0.40   1,070.00            428.00

TOTALS                                              164.80                 $ 137,890.50




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Corporate and Governance Matters


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Maggie Alden                     0.80 Draft outline re board deck (.6); correspond
                                               with B. Nakhaimousa, W. Thompson re same
                                               (.2).
06/01/21 Derek I. Hunter                  0.70 Telephone conferences with K&E team,
                                               Company advisors re corporate governance,
                                               securities matters (.3); correspond with K&E
                                               team, Company, EHP team re annual meeting,
                                               issues related to proxy and governance issues
                                               (.4).
06/01/21 Michael Lemm                     4.10 Review and revise board reports (3.6);
                                               correspond with A. Grossi, K&E team re
                                               same (.2); telephone conference with S.
                                               Briefel, B. Nakhaimousa, W. Thompson, B.
                                               Ryan re motion re corporate matter (.2);
                                               review materials re same (.1).
06/01/21 Drew Maliniak                    0.50 Review, revise materials re board meeting.
06/01/21 Whitney Rosser                   0.20 Correspond with B. Nakhaimousa re board
                                               meeting results (.1); review same (.1).
06/02/21 Maggie Alden                     1.10 Revise board deck outline (.6); correspond
                                               with K&E team re same (.5).
06/02/21 Anthony R. Grossi                1.00 Correspond with Company and K&E team re
                                               legal issues (.4); review and revise board
                                               background materials (.6).
06/02/21 Michael Lemm                     1.60 Review and revise motion re corporate matter.
06/03/21 Maggie Alden                     1.40 Correspond with M. Lemm, K&E team re
                                               board deck, outline (.6); telephone conference
                                               with M. Lemm, K&E team re same (.6);
                                               correspond with M. Lemm re same (.2).
06/03/21 Tyler R. Knutson                 1.10 Review and analyze Company revenue issues
                                               (.6); review and analyze materials re same
                                               (.5).
06/03/21 Scott J. Vail                    0.40 Telephone conference with A. Grossi, D.
                                               Hunter re Company board presentation (.2);
                                               prepare for same (.2).
06/04/21 Maggie Alden                     1.20 Draft board deck (1.1); correspond with M.
                                               Lemm re same (.1).
06/04/21 Drew Maliniak                    0.10 Correspond with J. Korff re board meeting
                                               status.
06/04/21 Brian Nakhaimousa                0.10 Correspond with D. Hunter, K&E team re
                                               extraordinary general meeting voting proxy.

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Date     Name                            Hours Description
06/05/21 Maggie Alden                     5.80 Draft, revise board deck (2.8); telephone
                                               conferences with B. Nakhaimousa re same
                                               (.3); telephone conference with B. Stone re
                                               same (.2); further revise same (1.5);
                                               correspond with K&E team re coordination re
                                               same (1.0).
06/05/21 Anthony R. Grossi                0.30 Review and revise board minutes.
06/05/21 Benjamin P. Stone                0.40 Correspond with D. Hunter re proposed
                                               cleanse materials (.1); correspond with
                                               creditors re same (.3).
06/06/21 Maggie Alden                     2.50 Revise board deck (1.5); correspond with
                                               K&E team re revisions re same (.7);
                                               correspond with K&E team, PJT re same (.3).
06/07/21 Maggie Alden                     0.60 Further revise board deck (.5); correspond
                                               with K&E team re same (.1).
06/07/21 Anthony R. Grossi                0.40 Correspond with K&E team re cleansing
                                               issues.
06/07/21 Anthony R. Grossi                0.60 Review background re Luxembourg corporate
                                               issues.
06/07/21 Derek I. Hunter                  0.20 Correspond with K&E team, Company
                                               advisors re corporate governance, securities
                                               matters.
06/07/21 Michael Lemm                     3.10 Review and revise board reports (.9);
                                               correspond with A. Grossi re same (.2);
                                               correspond with Company re same (.2);
                                               review materials re motion re corporate
                                               matter (1.2); telephone conference with S.
                                               Briefel re same (.2); correspond with S.
                                               Briefel, J. Morley re same (.2); correspond
                                               with directors' advisors re board meeting (.2).
06/07/21 Brian Nakhaimousa                0.10 Correspond with D. Hunter, K&E team re
                                               extraordinary general meeting proxy vote.
06/08/21 Maggie Alden                     2.80 Correspond with M. Lemm, K&E team re
                                               board deck (.4); review, revise same (.8);
                                               correspond with K&E team re rendering re
                                               same (.5); correspond with PJT re same (.3);
                                               correspond with K&E team re coordination re
                                               same (.8).
06/08/21 Anthony R. Grossi                1.90 Review and revise board materials (1.1);
                                               correspond with K&E team re board materials
                                               next steps (.8).




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Date     Name                            Hours Description
06/08/21 Derek I. Hunter                  0.60 Telephone conferences with K&E team,
                                               Company advisors re corporate governance,
                                               securities matters (.4); correspond with M.
                                               Lemm, K&E team re analysis re same (.2).
06/08/21 Tyler R. Knutson                 0.30 Review and analyze draft board minutes.
06/08/21 Michael Lemm                     8.30 Review and revise board reports (.4);
                                               correspond with Company, EHP re same (.2);
                                               further draft motion re corporate matter (3.6);
                                               review materials re same (3.4); telephone
                                               conference with S. Briefel, J. Morley re same
                                               (.2); correspond with D. Hunter, S. Briefel re
                                               same (.3); correspond with A. Sexton, K&E
                                               team re same (.2).
06/08/21 Drew Maliniak                    1.20 Correspond with K&E team re corporate
                                               issues and special meeting.
06/08/21 Brian Nakhaimousa                0.20 Correspond D. Hunter, D. Maliniak re proxy
                                               votes re extraordinary general meeting.
06/08/21 William Thompson                 4.30 Further revise board presentation (3.9);
                                               correspond with A. Grossi, D. Hunter re same
                                               (.4).
06/09/21 Maggie Alden                     1.70 Further revise board deck (.9); correspond
                                               with S. Briefel, K&E team re coordination of
                                               revisions re same (.8).
06/09/21 Simon Briefel                    0.50 Correspond with M. Alden, K&E team re
                                               board minutes, resolutions.
06/09/21 Anthony R. Grossi                1.60 Correspond with K&E team re cleansing
                                               issues (.4); review and revise board materials
                                               (1.2).
06/09/21 Michael Lemm                     8.40 Draft motion re corporate matter (3.7); review
                                               materials re same (3.3); telephone conference
                                               with A. Sexton, K&E team, Company,
                                               Deloitte re corporate matter (1.0); telephone
                                               conference with S. Briefel re same (.1);
                                               review board minutes (.3).
06/09/21 Drew Maliniak                    0.30 Review materials re special meeting.
06/09/21 Brian Nakhaimousa                0.70 Correspond with D. Hunter, S. Briefel, M.
                                               Lemm, EHP re corporate financial issue (.6);
                                               telephone conference with M. Lemm re same
                                               (.1).
06/09/21 David Reisman                    0.50 Assist with data room questions.
06/09/21 Whitney Rosser                   1.20 Review, revise 8-K (.9); correspond with D.
                                               Maliniak re same (.3).


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Date     Name                            Hours Description
06/09/21 Benjamin P. Stone                1.90 Correspond with D. Hunter, N. Binder re
                                               cleanse materials (.3); analyze proposals re
                                               same (.9); organize proposals in document
                                               management system (.7).
06/10/21 Maggie Alden                     1.90 Draft, further revise board deck slides (1.3);
                                               correspond with D. Hunter, K&E team re
                                               same (.6).
06/10/21 Simon Briefel                    0.20 Review issue re board meeting.
06/10/21 Anthony R. Grossi                0.60 Review and revise board materials.
06/10/21 Derek I. Hunter                  0.60 Telephone conferences with K&E team,
                                               Company advisors re corporate governance,
                                               securities matters (.4); correspond with M.
                                               Alden, K&E team re same (.2).
06/10/21 Michael Lemm                     3.00 Correspond with EHP re board meeting (.1);
                                               review and revise motion re corporate matter
                                               (1.9); research re same (1.0).
06/10/21 Whitney Rosser                   1.00 Research 8-Ks re quorum requirements (.8);
                                               correspond with D. Maliniak re same (.2).
06/10/21 Benjamin P. Stone                5.30 Compile cleanse materials (1.4); draft filing
                                               versions re same (3.7); conference with N.
                                               Binder re cleanse materials (.2).
06/11/21 Maggie Alden                     2.60 Further revise board deck (.5); correspond
                                               with K&E team re same (.5); research re same
                                               (1.1); revise same (.5).
06/11/21 Derek I. Hunter                  0.40 Correspond with K&E team, Company
                                               advisors re corporate governance, securities
                                               matters.
06/11/21 Joshua Korff, P.C.               0.70 Telephone conferences with working group re
                                               listing issues.
06/11/21 Michael Lemm                     3.40 Review and revise motion re corporate matter.
06/11/21 Drew Maliniak                    1.10 Correspond with A. Sexton re securities
                                               listing (.9); correspond with J. Korff re listing
                                               options (.2).
06/12/21 Maggie Alden                     0.80 Further revise board deck (.4); correspond
                                               with W. Thompson re same (.4).
06/12/21 Anthony R. Grossi                1.10 Review and revise board materials.




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Intelsat S.A.                                               Matter Number:         48457-3
Corporate and Governance Matters

Date     Name                            Hours Description
06/14/21 Maggie Alden                     2.70 Correspond with W. Thompson re board deck
                                               (.2); telephone conference with director
                                               advisors re case update (.4); further revise
                                               board deck (1.0); telephone conference with
                                               W. Thompson re same (.1); correspond with
                                               D. Hunter, K&E team re same (.9); further
                                               revise board deck (.1).
06/14/21 Anthony R. Grossi                0.80 Review and revise board materials.
06/14/21 Derek I. Hunter                  0.50 Correspond with M. Alden, K&E team,
                                               Company advisors re corporate governance,
                                               securities matters.
06/14/21 Drew Maliniak                    2.70 Correspond with exchanges re possible
                                               securities listing (1.5); correspond with W.
                                               Rosser, K&E team re same (.5); draft
                                               summary re same (.7).
06/14/21 Whitney Rosser                   0.50 Review, revise 8-K (.2); correspond with D.
                                               Maliniak re same (.3).
06/15/21 Nicholas A. Binder               0.40 Draft correspondences re cleanse (.2); analyze
                                               considerations re same (.2).
06/15/21 Anthony R. Grossi                0.40 Review background re securities issues.
06/15/21 Lance Kurtis Hancock             1.00 Correspond with K&E team re securities
                                               matters.
06/15/21 Derek I. Hunter                  0.30 Correspond with K&E team, Company
                                               advisors re corporate governance, securities
                                               matters.
06/15/21 Tyler R. Knutson                 0.20 Correspond with B. Nakhaimousa, D.
                                               Gremling re same.
06/15/21 Benjamin P. Stone                6.40 Correspond with S. Seneczko, K&E team re
                                               corporate governance research (.7); research
                                               same (3.8); analyze cleanse proposals (.7);
                                               revise same (1.2).
06/16/21 Maggie Alden                     0.30 Telephone conferences with PJT re board
                                               materials (.1); correspond with A. Grossi, D.
                                               Hunter re same (.2).
06/16/21 Nicholas A. Binder               1.80 Research, analyze considerations re corporate
                                               governance (1.5); telephone conference with
                                               S. Seneczko, K&E team re same (.3).
06/16/21 Anthony R. Grossi                1.20 Review background re board materials.
06/16/21 Derek I. Hunter                  0.30 Correspond with M. Alden, K&E team,
                                               Company advisors re corporate governance,
                                               securities matters.



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Corporate and Governance Matters

Date     Name                            Hours Description
06/16/21 Joshua Korff, P.C.               1.00 Telephone conferences with K&E team re
                                               securities law issues.
06/16/21 Lib Gov't Agency Research        0.50 Research re securities regulation issues.
06/16/21 Drew Maliniak                    2.70 Draft summary re certain indenture
                                               provisions.
06/16/21 Benjamin P. Stone                7.10 Research re corporate governance issue (3.9);
                                               correspond with J. Jarvis, K&E team re same
                                               (.7); draft summary analysis re same (1.9);
                                               correspond with S. Seneczko re same (.3);
                                               correspond with D. Hunter re same (.2);
                                               correspond with A. Grossi re same (.1).
06/17/21 Derek I. Hunter                  1.00 Telephone conferences with K&E team,
                                               Company advisors re corporate governance,
                                               securities matters (.2); correspond with K&E
                                               team re analysis, bankruptcy considerations
                                               related to same (.4); review, analyze analysis
                                               re same (.4).
06/17/21 Brian Nakhaimousa                0.70 Draft board minutes re 6.17 board telephone
                                               conference.
06/17/21 Brian Nakhaimousa                0.50 Attend special committee call and take
                                               minutes re same.
06/17/21 Whitney Rosser                   1.90 Research Luxembourg law, SEC law re
                                               corporate governance considerations (1.3);
                                               correspond with B. Stone re same (.2);
                                               correspond with D. Maliniak re same (.4).
06/18/21 Anthony R. Grossi                0.80 Review background re Luxembourg corporate
                                               issues.
06/18/21 Derek I. Hunter                  0.40 Correspond with K&E team, Company
                                               advisors re corporate governance, securities
                                               matters.
06/18/21 Joshua Korff, P.C.               1.00 Telephone conferences with K&E team re
                                               listing and securities law issues.
06/18/21 Drew Maliniak                    1.00 Research re securities registration issues.
06/18/21 Benjamin P. Stone                1.20 Conference with EHP, N. Binder re corporate
                                               governance issues (.5); draft summary re
                                               same (.7).
06/19/21 Michael K. Bassi                 0.50 Review, analyze precedent re certain listing
                                               requirements.
06/19/21 Nicholas A. Binder               0.10 Correspond with D. Hunter re plan NDA.
06/19/21 Derek I. Hunter                  0.90 Correspond with K&E team re corporate
                                               implementation steps and related issues (.3);
                                               review, analyze presentation re same (.6).


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Date     Name                            Hours Description
06/19/21 Brian Nakhaimousa                0.30 Telephone conferences with B. Stone re DIP
                                               upsize NDAs.
06/19/21 Benjamin P. Stone                0.90 Revise board consent rights summary (.6);
                                               correspond with S. Senezcko re same (.2);
                                               correspond with D. Hunter re same (.1).
06/20/21 Drew Maliniak                    1.70 Revise motion re corporate matter (1.4);
                                               correspond with W. Rosser, K&E team re
                                               same (.3).
06/20/21 Whitney Rosser                   2.90 Review guarantee materials (.7); research re
                                               same (.7); revise materials re same (1.2);
                                               correspond with D. Maliniak re same (.3).
06/21/21 Maggie Alden                     0.20 Telephone conference with director advisors
                                               re case updates.
06/21/21 Nicholas A. Binder               1.80 Analyze corporate governance considerations.
06/21/21 Anthony R. Grossi                0.90 Correspond with K&E team re securities
                                               listing considerations.
06/21/21 Brian Nakhaimousa                0.50 Correspond with M. Alden, K&E team re
                                               director advisor meetings.
06/22/21 Maggie Alden                     0.10 Correspond with D. Hunter, K&E team re
                                               board deck.
06/22/21 Nicholas A. Binder               1.10 Analyze corporate governance, cleanse
                                               considerations.
06/22/21 Katya Boyko                      0.40 Draft minutes of the special committee
                                               meeting.
06/22/21 Simon Briefel                    0.20 Review board minutes.
06/22/21 Joshua Korff, P.C.               1.00 Telephone conferences with K&E team re
                                               listing and trading issues.
06/22/21 Brian Nakhaimousa                0.40 Draft board minutes re 6.17 conference.
06/22/21 Benjamin P. Stone                2.70 Review, revise cleanse materials (.9);
                                               organize files re same (.4); correspond with
                                               D. Hunter, N. Binder re same (.2); correspond
                                               with J. Morley re tax cleanse materials (.3);
                                               review, revise same (.7); correspond with
                                               creditor group re same (.2).
06/24/21 Maggie Alden                     0.20 Telephone conference with director advisors
                                               re mediation update.
06/24/21 Nicholas A. Binder               1.80 Analyze considerations re corporate
                                               governance.
06/24/21 Robert Orren                     0.30 Research materials re corporate governance
                                               considerations (.2); correspond with N.
                                               Binder re same (.1).


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Date     Name                            Hours Description
06/25/21 Maggie Alden                     1.80 Draft, review board deck outline (1.5);
                                               correspond with B. Nakhaimousa, K&E team
                                               re same (.2); telephone conference with
                                               director advisors re case update (.1).
06/25/21 Nicholas A. Binder               1.90 Analyze considerations re corporate
                                               governance (1.8); telephone conference with
                                               T. Langstaff, K&E team re same (.1).
06/25/21 Anthony R. Grossi                0.80 Review background re Luxembourg corporate
                                               issues.
06/25/21 Joshua Korff, P.C.               1.00 Telephone conferences with K&E team re
                                               emergence and securities law issues.
06/25/21 Brian Nakhaimousa                0.10 Correspond with M. Alden, W. Thompson re
                                               board deck.
06/25/21 Whitney Rosser                   3.60 Research, analyze SEC NALs (2.3);
                                               correspond with D. Maliniak re same (.6);
                                               correspond with Company, K&E team re
                                               conference (.7).
06/28/21 Maggie Alden                     0.20 Telephone conference with director advisors,
                                               K&E team re case update.
06/28/21 Anthony R. Grossi                0.50 Correspond with K&E team re governance
                                               issues.
06/28/21 Andrew Kimball                   0.40 Telephone conference with D. Perechoky re
                                               case update (.2); summarize prior research re
                                               Lux meeting requirements (.2).
06/28/21 Library Statistical              0.30 Research re Company securities issue.
06/28/21 Drew Maliniak                    2.50 Draft and revise no-action relief request (1.5);
                                               analyze precedent re same (1.0).
06/28/21 Drew Maliniak                    1.10 Draft, revise no action relief request to SEC.
06/28/21 David L. Perechocky              0.60 Correspond with K&E team re corporate law
                                               issues.
06/29/21 Maggie Alden                     0.10 Telephone conference with director advisors
                                               re case update.
06/29/21 Anthony R. Grossi                0.80 Correspond with K&E team re governance
                                               issues.
06/29/21 Joshua Korff, P.C.               1.00 Review, analyze securities law issues (.8);
                                               correspond with K&E team re same (.2).
06/29/21 Drew Maliniak                    0.80 Draft summary re no-action relief request.
06/30/21 Joshua Korff, P.C.               1.20 Telephone conferences with K&E team re
                                               securities law and structuring issues.
06/30/21 Drew Maliniak                    0.50 Correspond with J. Korff re potential no-
                                               action relief request.


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Total                                   164.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048244
                                                                               Client Matter: 48457-4

In the Matter of Disclosure Statement, Plan and Confirmation




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                    $ 1,395,875.50
Total legal services rendered                                                                              $ 1,395,875.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Disclosure Statement, Plan and Confirmation




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         90.80     765.00         69,462.00
Bill Arnault                                          8.00   1,245.00          9,960.00
Nicholas A. Binder                                  151.40     765.00        115,821.00
Katya Boyko                                           0.40   1,070.00            428.00
Simon Briefel                                         8.80     875.00          7,700.00
David L. Eaton                                       13.80   1,695.00         23,391.00
Dave Gremling                                        99.40     765.00         76,041.00
Anthony R. Grossi                                    95.00   1,220.00        115,900.00
Derek I. Hunter                                     129.70   1,070.00        138,779.00
Jason T. Jarvis                                     100.00     625.00         62,500.00
Gary J. Kavarsky                                      1.70     995.00          1,691.50
Tyler R. Knutson                                    105.20     625.00         65,750.00
Michael Lemm                                         95.90     765.00         73,363.50
Drew Maliniak                                        23.00     995.00         22,885.00
Joe Morley                                            7.90     810.00          6,399.00
Brian Nakhaimousa                                    68.40     625.00         42,750.00
Shawn OHargan, P.C.                                   1.90   1,355.00          2,574.50
Robert Orren                                          2.90     460.00          1,334.00
David L. Perechocky                                   7.20   1,185.00          8,532.00
Harker Rhodes                                         0.30   1,145.00            343.50
Whitney Rosser                                       36.20     625.00         22,625.00
Laura Saal                                            0.60     460.00            276.00
Samuel J. Seneczko                                   74.80     765.00         57,222.00
Steven N. Serajeddini, P.C.                         143.00   1,495.00        213,785.00
Anthony Vincenzo Sexton                              31.70   1,325.00         42,002.50
Michael B. Slade                                      6.00   1,445.00          8,670.00
Benjamin P. Stone                                   114.40     625.00         71,500.00
William Thompson                                     93.40     625.00         58,375.00
Scott J. Vail                                        23.60   1,070.00         25,252.00
Gary M. Vogt                                          3.40     460.00          1,564.00
Eric J. Wendorf                                       3.60     625.00          2,250.00
Chambliss Williams                                    7.40     765.00          5,661.00


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Name                                                Hours        Rate          Amount
Donna Zamir                                          60.00     625.00         37,500.00
Jeffrey J. Zeiger, P.C.                               2.40   1,495.00          3,588.00

TOTALS                                            1,612.20                $ 1,395,875.50




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                                       Description of Legal Services

Date     Name                                 Hours Description
06/01/21 Maggie Alden                          5.00 Telephone conference with J. Jarvis re plan
                                                    related research (.1); telephone conference
                                                    with D. Gremling re same (.3); correspond
                                                    with K&E team re plan related research (.5);
                                                    office conference with K&E team re same
                                                    (.4); draft plan related pleadings (3.7).
06/01/21 Simon Briefel                         2.10 Correspond with K&E team re transaction
                                                    pleading (.4); telephone conference with K&E
                                                    tean re same (.3); analyze issues re same
                                                    (1.2); telephone conference with D. Hunter re
                                                    same (.2).
06/01/21 Dave Gremling                         1.80 Analyze issues re mediation (.6); analyze
                                                    proposals re same (.7); correspond with D.
                                                    Hunter, K&E team re same (.5).
06/01/21 Anthony R. Grossi                     2.30 Correspond with Company and K&E team re
                                                    legal issues (.5); correspond with PJT
                                                    working group re mediation materials (1.1);
                                                    review background re equity committee issues
                                                    (.7).
06/01/21 Derek I. Hunter                       4.20 Review, analyze, and revise plan, mediation,
                                                    and other related analyses (1.6); correspond
                                                    with D. Gremling, K&E team re same, related
                                                    analysis and strategy (.7); conferences with
                                                    Company advisors, Company, re case,
                                                    mediation strategy (1.0); correspond with
                                                    K&E team re emergence workstreams (.5);
                                                    review, analyze, analyses re same (.4).
06/01/21 Jason T. Jarvis                       0.10 Telephone conference with M. Alden re
                                                    confirmation considerations.
06/01/21 Brian Nakhaimousa                     0.30 Review, analyze pleading re emergence
                                                    operations.
06/01/21 Samuel J. Seneczko                    0.20 Correspond with J. Jarvis re confirmation
                                                    issues.
06/01/21 Steven N. Serajeddini, P.C.           2.90 Correspond and telephone conference with
                                                    K&E team, advisors, Company re plan issues
                                                    (1.9); review and analyze same (1.0).
06/01/21 Eric J. Wendorf                       0.50 Review materials re case updates (.2);
                                                    organize correspondence re same (.1);
                                                    correspond with K&E team re confirmation
                                                    research issue (.2).


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Date     Name                            Hours Description
06/01/21 Chambliss Williams               0.70 Conference with N. Binder re ongoing plan
                                               research (.2); correspond with W. Thompson,
                                               B. Nakhaimousa re same (.5).
06/01/21 Donna Zamir                      0.20 Correspond with N. Binder re confirmation
                                               issues.
06/02/21 Maggie Alden                     1.80 Draft plan related agreement (1.0);
                                               correspond with J. Jarvis, A. Hellman re
                                               research re same (.3); telephone conference
                                               with E. Wendorf re mediation, plan issues
                                               (.5).
06/02/21 Nicholas A. Binder               0.20 Review mediation materials.
06/02/21 David L. Eaton                   1.20 Conference with A. Grossi, PJT re mediation
                                               strategy (.3); telephone conference with
                                               mediator, S. Serajeddini, creditor
                                               representatives re settlement (.9).
06/02/21 Dave Gremling                    0.80 Analyze mediation issues (.3); revise issues
                                               list re deal issues (.5).
06/02/21 Dave Gremling                    2.30 Conference with D. Hunter, K&E, A&M
                                               teams re plan issue (1.1); conference with
                                               creditors re plan issues (.5); revise disclosure
                                               statement (.7).
06/02/21 Anthony R. Grossi                3.30 Correspond with Company and K&E team re
                                               legal issues (.4); correspond with PJT and
                                               K&E team re mediation materials (1.3);
                                               review and revise mediation materials (1.6).
06/02/21 Derek I. Hunter                  5.00 Conference with K&E team, PJT re mediation
                                               strategy (.5); participate in mediation session
                                               with K&E team, mediator, PJT (1.0); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (.8); correspond with D.
                                               Gremling, K&E team re same, related
                                               analysis and strategy (.6); conference with
                                               Company advisors re case, mediation strategy
                                               (.5); correspond with K&E team re ongoing
                                               confirmation workstreams and analyses (.5);
                                               review, analyze memoranda re same (1.1).
06/02/21 Jason T. Jarvis                  2.20 Review, revise memorandum re confirmation
                                               considerations (2.1); telephone conference
                                               with M. Alden re same (.1).
06/02/21 Joe Morley                       0.60 Telephone conference with K&E team and
                                               external advisors re value allocation.




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Date     Name                            Hours Description
06/02/21 Brian Nakhaimousa                2.20 Telephone conference with A. Grossi, K&E
                                               team, Foley, KM re mediation (.5); draft
                                               board presentation outline re mediation
                                               update (1.0); draft timeline re same (.5);
                                               correspond with M. Alden, W. Thompson re
                                               same (.2).
06/02/21 Steven N. Serajeddini, P.C.      4.10 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.1); review and analyze same (1.0).
06/02/21 William Thompson                 1.60 Revise mediation board presentation.
06/02/21 Gary M. Vogt                     0.50 Compile requested information re production
                                               requests.
06/02/21 Eric J. Wendorf                  0.70 Telephone conference with K&E team re
                                               confirmation issue (.5); telephone conference
                                               with M. Alden re same (.2).
06/03/21 Maggie Alden                     1.50 Office conference with K&E team re plan
                                               related research (.5); draft plan related
                                               agreement (1.0).
06/03/21 Simon Briefel                    0.20 Telephone conference with D. Hunter, K&E
                                               team re mediation issues.
06/03/21 Dave Gremling                    6.20 Conferences with D. Hunter, K&E Team,
                                               A&M team re plan issue (1.1); review
                                               background material re same (.6); revise
                                               memorandum re same (.7); revise disclosure
                                               statement (1.6); analyze background materials
                                               re same (1.0); analyze restructuring proposals
                                               (1.2).
06/03/21 Anthony R. Grossi                3.80 Correspond with K&E team re standing
                                               motion scheduling (.6); correspond with
                                               Company and K&E team re chapter 11 plan
                                               issues (.7); review mediation materials (1.3);
                                               correspond with PJT re mediation background
                                               issues (1.2).
06/03/21 Derek I. Hunter                  5.90 Telephone conference with K&E team re
                                               mediation board presentation (.6); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (2.4); correspond with D.
                                               Gremling, K&E team re same, related
                                               analysis and strategy (.9); conferences with
                                               Company, Company advisors re case,
                                               mediation strategy (.5); telephone conference
                                               with K&E team, A&M re DS related analyses
                                               (1.0); telephone conference with Company,
                                               Company advisors re mediation status (.5).

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Date     Name                            Hours Description
06/03/21 Jason T. Jarvis                  1.60 Review, revise memorandum re confirmation
                                               considerations (.9); telephone conference with
                                               A. Hellman re same (.7).
06/03/21 Tyler R. Knutson                 3.80 Review and revise memorandum re certain
                                               confirmation considerations (2.7); research
                                               and analyze relevant documentation,
                                               pleadings, precedent re same (1.1).
06/03/21 Brian Nakhaimousa                0.20 Correspond with W. Thompson re mediation
                                               board presentation.
06/03/21 Shawn OHargan, P.C.              1.00 Telephone conferences with K&E team re
                                               deal issues.
06/03/21 Steven N. Serajeddini, P.C.      3.80 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.2); review and analyze same (.6).
06/03/21 William Thompson                 0.50 Further revise mediation board presentation.
06/04/21 Maggie Alden                     0.30 Telephone conference with Company
                                               advisors re strategy.
06/04/21 Nicholas A. Binder               0.60 Telephone conference with M. Alden, K&E
                                               team, Company advisors re plan, case process
                                               (.3); attend portion of mediation telephone
                                               conference (.3).
06/04/21 David L. Eaton                   1.10 Telephone conference with mediator, S.
                                               Serajeddini, creditor representatives re
                                               settlement and plan issues.
06/04/21 Dave Gremling                    1.40 Conference with D. Hunter, K&E team re
                                               mediation.
06/04/21 Dave Gremling                    1.40 Analyze mediation proposals (.5); draft
                                               summary re same (.9).
06/04/21 Anthony R. Grossi                4.70 Correspond with Company and K&E team re
                                               legal issues (.6); correspond with PJT and
                                               K&E team re mediation materials (.7); review
                                               background re chapter 11 plan issues (1.7);
                                               attend mediation session (1.1); correspond
                                               with K&E team and PJT re mediation next
                                               steps (.6).
06/04/21 Derek I. Hunter                  3.50 Mediation session with creditors, Company
                                               advisors, mediator (1.5); conference with
                                               Company advisors re same (.5); review,
                                               analyze, and revise analyses re same (.7);
                                               correspond with D. Gremling, K&E team re
                                               same, related strategy (.8).




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Date     Name                            Hours Description
06/04/21 Tyler R. Knutson                 3.10 Review and revise memorandum re certain
                                               confirmation considerations (2.2); research
                                               and analyze related documentation, pleadings,
                                               precedent re same (.9).
06/04/21 Michael Lemm                     5.10 Draft presentation re mediation (2.7); review
                                               materials re same (2.4).
06/04/21 Drew Maliniak                    0.20 Correspond with D. Hunter re emergence
                                               issues.
06/04/21 Joe Morley                       0.90 Telephone conference with creditor advisors
                                               re emergence structure (.6); correspond with
                                               K&E team re emergence structure issues (.3).
06/04/21 Brian Nakhaimousa                1.00 Attend mediation session (.5); draft notes re
                                               same (.3); correspond with W. Thompson re
                                               same (.2).
06/04/21 Steven N. Serajeddini, P.C.      4.50 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.9); review and analyze same (.6).
06/04/21 Anthony Vincenzo Sexton          3.60 Attend mediation telephone conferences (1.5);
                                               telephone conference with PW, JD, and
                                               Deloitte re structuring issues (.6); review and
                                               revise materials re same (.3); telephone
                                               conference with PW, JD, Stroock re
                                               mediation issues (.9); correspond with S.
                                               Serajeddini and A. Grossi re same (.3).
06/04/21 Benjamin P. Stone                1.40 Revise proposed case timeline (1.1);
                                               correspond with D. Gremling re same (.3).
06/04/21 William Thompson                 2.20 Draft notes re mediation session (.8); draft
                                               summary re same (1.4).
06/04/21 Gary M. Vogt                     0.20 Compile information re plan production
                                               service information.
06/05/21 Maggie Alden                     0.90 Telephone conference with N. Binder, K&E
                                               team re strategy.
06/05/21 Nicholas A. Binder               1.00 Telephone conference with M. Alden, K&E
                                               team re plan, case process (.9); prepare for
                                               same (.1).
06/05/21 Dave Gremling                    1.20 Conference with N. Binder, K&E team re deal
                                               status (.9); prepare for same (.3).
06/05/21 Anthony R. Grossi                0.70 Correspond with K&E team re strategy issues.




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06/05/21 Derek I. Hunter                  2.30 Review, analyze, and revise plan, mediation,
                                               and other related analyses (.9); telephone
                                               conference with Company advisors re same
                                               (.4); correspond with K&E team, Company
                                               advisors re same, related analysis and strategy
                                               (.3); correspond with K&E team re emergence
                                               workstreams (.2); review, analyze, analyses re
                                               same (.5).
06/05/21 Brian Nakhaimousa                3.50 Revise presentation re mediation update (3.3);
                                               correspond with W. Thompson, K&E team re
                                               same (.2).
06/05/21 Steven N. Serajeddini, P.C.      1.40 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.0); review and analyze same (.4).
06/05/21 Benjamin P. Stone                1.30 Conference with B. Nakhaimousa re PSA
                                               issues (.1); conference with M. Alden re same
                                               (.1); analyze same (.8); correspond with M.
                                               Alden, K&E team re same (.3).
06/05/21 William Thompson                 0.80 Revise mediation board presentation.
06/06/21 Maggie Alden                     0.50 Correspond with mediation parties re
                                               mediation materials.
06/06/21 Dave Gremling                    0.50 Correspond with M. Alden re mediation
                                               documents (.2); analyze mediation proposals
                                               (.3).
06/06/21 Anthony R. Grossi                0.30 Correspond with K&E team re mediation
                                               materials.
06/06/21 Derek I. Hunter                  3.10 Review, analyze, and revise plan, mediation,
                                               and other related analyses (1.1); telephone
                                               conference with Company advisors re same
                                               (.4); correspond with K&E team, Company
                                               advisors re same, related analysis and strategy
                                               (.5); correspond with K&E team, EHP re
                                               emergence workstreams (.4); review, analyze,
                                               analyses re same (.7).
06/06/21 Brian Nakhaimousa                3.00 Review, revise board presentation re
                                               mediation update (2.7); correspond with D.
                                               Hunter, M. Alden, W. Thompson re same (.3).
06/06/21 William Thompson                 0.40 Revise mediation board presentation.
06/07/21 Maggie Alden                     1.10 Correspond with mediation parties, working
                                               group, D. Hunter, K&E team re mediation
                                               materials (.9); telephone conference with
                                               director advisors, N. Binder, K&E team re
                                               case update (.2).


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Date     Name                            Hours Description
06/07/21 Nicholas A. Binder               1.60 Telephone conference with M. Alden, K&E
                                               team, Company advisors re plan process (.5);
                                               telephone conference with K&E team re
                                               mediation considerations (.2); attend
                                               telephonic mediation conference (.9).
06/07/21 David L. Eaton                   1.50 Conference with S. Serajeddini re plan and
                                               mediation issues (.2); telephone conference
                                               with F. Santaro, S. Serajeddini, S. Zelin, A.
                                               Grossi re mediation process, MIP and
                                               settlement issues (1.1); telephone conference
                                               with A. Grossi, S. Zelin, S. Serajeddini re
                                               management incentive plan, mediation (.2).
06/07/21 Dave Gremling                    3.60 Analyze mediation issues (1.1); analyze
                                               background materials re same (1.0); revise
                                               memorandum re plan issues (1.5).
06/07/21 Anthony R. Grossi                3.80 Correspond with K&E team and Company re
                                               legal issues (.6); correspond with K&E team
                                               and PJT re chapter 11 plan issues (.7); review
                                               background re mediation materials (1.3);
                                               correspond with K&E team re mediation
                                               issues (1.2).
06/07/21 Derek I. Hunter                  4.10 Mediation session with creditors, Company
                                               advisors, mediator (1.0); conference with
                                               Company advisors re same (.5); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (1.4); correspond with M.
                                               Alden, K&E team re same, related analysis
                                               and strategy, emergence workstreams (.4);
                                               review, analyze, analyses re same (.8).
06/07/21 Tyler R. Knutson                 1.10 Review and analyze mediation board deck,
                                               correspondence with Lux Counsel re
                                               shareholders meeting (.4); review and analyze
                                               PSA related issues re certain confirmation-
                                               related precedent (.7).
06/07/21 Brian Nakhaimousa                0.70 Further revise mediation board presentation
                                               (.4); conference with M. Alden re same (.1);
                                               correspond with M. Alden, W. Thompson re
                                               same (.2).
06/07/21 David L. Perechocky              0.50 Conference with A. Grossi re FCC
                                               questionnaire.
06/07/21 Steven N. Serajeddini, P.C.      5.60 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.9); review and analyze same (1.7).
06/07/21 Anthony Vincenzo Sexton          1.00 Mediation telephone conference.

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Date     Name                            Hours Description
06/07/21 William Thompson                 0.10 Revise mediation board presentation.
06/07/21 Eric J. Wendorf                  1.20 Review outline re confirmation research (.2);
                                               correspond with K&E team re same (.2);
                                               revise confirmation brief (.3); correspond
                                               with N. Binder, D. Zamir re same (.2); review
                                               mediation board deck (.3).
06/07/21 Chambliss Williams               2.00 Correspond with K&E team re confirmation
                                               research (1.1); review decks re deal proposals
                                               (.9).
06/07/21 Donna Zamir                      6.10 Review, revise the confirmation brief (2.6);
                                               review precedent re same (3.3); correspond
                                               with N. Binder re same (.2).
06/08/21 Maggie Alden                     2.00 Revise memorandum re confirmation
                                               requirements (.3); research re same (1.7).
06/08/21 Nicholas A. Binder               2.00 Telephone conference with D. Gremling, B.
                                               Nakhaimousa, K&E team re plan process,
                                               case considerations (.6); analyze emergence
                                               considerations (.6); telephone conference with
                                               S. Briefel, K&E team, EHP re same (.1);
                                               telephone conference with M. Lemm, D.
                                               Zamir, K&E team re same, confirmation
                                               considerations (.4); analyze same (.3).
06/08/21 Simon Briefel                    0.60 Telephone conference with EHP, N. Binder,
                                               K&E team re deal status, related issues.
06/08/21 Dave Gremling                    2.60 Revise disclosure statement and proposed
                                               order re same (1.3); analyze mediation issues
                                               (.8); summarize same (.5).
06/08/21 Anthony R. Grossi                2.60 Correspond with K&E team, PJT and
                                               Company re mediation status and next steps
                                               (.6); review background re mediation issues
                                               (1.4); correspond with Paul Weiss re
                                               mediation (.3); correspond with Stroock re
                                               mediation (.3).
06/08/21 Derek I. Hunter                  5.50 Mediation session with creditors, Company
                                               advisors, mediator (1.0); conference with
                                               Company advisors re same (.4); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (1.3); correspond with M.
                                               Lemm, K&E team re same, related analysis
                                               and strategy, emergence workstreams (1.1);
                                               review, analyze, analyses re same (1.7).




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Date     Name                            Hours Description
06/08/21 Jason T. Jarvis                  4.70 Draft memorandum re confirmation
                                               considerations, settlements (1.4); research re
                                               same (3.1); telephone conference with D.
                                               Hunter, K&E team, EHP re emergence
                                               considerations (.2).
06/08/21 Tyler R. Knutson                 6.90 Review and revise memorandum re certain
                                               confirmation issues (2.2); research related
                                               pleadings, documentation, and precedent re
                                               same (3.4); review and analyze memorandum
                                               re plan-related issues (.8); review materials
                                               and correspondence re certain confirmation
                                               considerations (.5).
06/08/21 Tyler R. Knutson                 0.30 Review and analyze summary re certain
                                               confirmation-related tax issues.
06/08/21 Michael Lemm                     0.30 Telephone conference with D. Hunter, K&E
                                               team, EHP re emergence considerations (.1);
                                               compile documents re MIP (.2).
06/08/21 Brian Nakhaimousa                1.20 Revise board presentation re mediation update
                                               (1.0); correspond with M. Alden, W.
                                               Thompson re same (.2).
06/08/21 David L. Perechocky              0.30 Correspond with Company re FCC analysis
                                               (.2); conference with A. Grossi re same (.1).
06/08/21 Whitney Rosser                   0.80 Telephone conference with EHP, M. Lemm,
                                               K&E team re emergence (.2); research
                                               indentures re guarantee issues (.6).
06/08/21 Steven N. Serajeddini, P.C.      6.10 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.8); review and analyze same (2.3).
06/08/21 Anthony Vincenzo Sexton          1.10 Attend mediation.
06/08/21 Chambliss Williams               0.30 Correspond with K&E team re potential
                                               confirmation issues research.
06/08/21 Donna Zamir                      3.10 Review, revise the confirmation brief (2.8);
                                               telephone conference with N. Binder re same
                                               (.3).
06/09/21 Maggie Alden                     0.20 Telephone conference with Company
                                               advisors re case strategy.
06/09/21 Maggie Alden                     1.00 Correspond with K&E team re research
                                               workstreams (.6); correspond with A. Grossi
                                               re discovery matters (.4).
06/09/21 Bill Arnault                     0.60 Review disclosure statement and PSA.




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Date     Name                            Hours Description
06/09/21 Nicholas A. Binder               4.10 Correspond with party in interest re
                                               confirmation order, plan considerations (.3);
                                               telephone conference with M. Alden, K&E
                                               team, Company advisors re plan process (.3);
                                               attend telephonic mediation conferences (1.2);
                                               telephone conference with B. Stone re
                                               considerations re same (.3); analyze
                                               considerations re cleanse, NDAs re same (.9);
                                               telephone conference with D. Gremling, K&E
                                               team re mediation considerations (.3); analyze
                                               plan proposals (.4); correspond with parties in
                                               interest re plan proposals (.4).
06/09/21 Simon Briefel                    1.90 Telephone conference with N. Binder, K&E
                                               team re pleadings (.3); analyze issues re same
                                               (.5); review, comment on same (1.1).
06/09/21 David L. Eaton                   1.40 Telephone conference with A. Grossi, S.
                                               Zelin, D. Hunter, K&E team re mediation
                                               status (.4); review MIP (.3); telephone
                                               conference with F. Santoro, B. Bennett, S.
                                               Serajeddini re same (.7).
06/09/21 Dave Gremling                    1.30 Review, analyze restructuring proposals from
                                               creditor groups (.8); correspond with N.
                                               Binder, K&E team re same (.5).
06/09/21 Dave Gremling                    2.70 Conference with N. Binder, K&E, PJT, A&M
                                               teams re negotiation status (.2); analyze
                                               proposals re same (.7); analyze disclosure
                                               statement issues (.6); revise disclosure
                                               statement (1.2).
06/09/21 Anthony R. Grossi                4.20 Correspond with K&E team and Company re
                                               legal issues (.5); review and revise mediation
                                               materials (.7); correspond with director
                                               advisors re mediation status (.8); review
                                               background re mediation materials (1.6);
                                               correspond with PJT re mediation materials
                                               (.6).
06/09/21 Derek I. Hunter                  6.10 Mediation session with creditors, Company
                                               advisors, mediator (1.2); conference with
                                               Company advisors re same (.2); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (2.6); correspond with N.
                                               Binder, K&E team re same, related analysis
                                               and strategy, emergence workstreams (.7);
                                               review, analyze, analyses re same (1.4).



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Date     Name                            Hours Description
06/09/21 Tyler R. Knutson                 6.30 Review and revise plan related pleadings
                                               (2.7); further review and revise same re final
                                               review for formatting, submission for review
                                               (1.4); review, analyze and revise precedent,
                                               pleadings, credit documentation re same (1.6);
                                               review and analyze certain creditor proposals,
                                               correspondence re certain confirmation
                                               considerations (.6).
06/09/21 Drew Maliniak                    0.20 Correspond with A. Sexton re emergence
                                               issues.
06/09/21 Brian Nakhaimousa                1.60 Attend mediation sessions (1.0); draft
                                               summaries of same (.5); correspond with W.
                                               Thompson re same (.1).
06/09/21 David L. Perechocky              0.40 Conference with creditor representative re
                                               FCC issues.
06/09/21 Steven N. Serajeddini, P.C.      6.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.7); review and analyze same (2.6).
06/09/21 Anthony Vincenzo Sexton          0.60 Attend mediation.
06/09/21 Benjamin P. Stone                3.70 Telephone conference with mediator re MIP
                                               (.4); draft summary re same (.8); correspond
                                               with D. Gremling re same (.2); correspond
                                               with W. Thompson, B. Nakhaimousa re same
                                               (.1); telephone conference with mediator re
                                               mediation status update (.6); draft summary re
                                               same (.8); correspond with B. Nakhaimousa,
                                               W. Thompson re same (.2); revise final
                                               summary re same (.3); correspond with D.
                                               Gremling re proposed case timeline (.3).
06/09/21 William Thompson                 5.80 Further revise mediation board presentation re
                                               comments from A. Grossi, S. Serajeddini, and
                                               D. Hunter (2.5); telephone conference with
                                               mediation parties re status and update (1.2);
                                               draft notes re same (2.1).
06/09/21 Gary M. Vogt                     2.00 Review document production (.7); correspond
                                               with C. Catalano re same (.3); compile,
                                               organize SES claim objection deposition
                                               materials (.8); serve same to requesting plan
                                               parties (.2).
06/10/21 Maggie Alden                     2.20 Telephone conferences with interested parties
                                               re plan settlements (1.6); conference with D.
                                               Hunter re same (.2); correspond with D.
                                               Hunter, K&E team re same (.4).


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Date     Name                            Hours Description
06/10/21 Nicholas A. Binder               9.20 Telephone conference with D. Hunter re plan
                                               considerations (.1); attend telephonic
                                               mediation conference (.9); telephone
                                               conference with A. Grossi, creditor advisors
                                               re same (.4); analyze confirmation
                                               considerations (3.8); review research re same
                                               (1.0); telephone conference with S. Seneczko,
                                               K&E team re same (.8); draft, revise
                                               memoranda re same (2.2).
06/10/21 Simon Briefel                    2.00 Revise plan related pleading.
06/10/21 David L. Eaton                   0.90 Telephone conference with F. Santoro, S.
                                               Serajeddini, S. Zelin, M. Slade re mediation
                                               issues and next steps.
06/10/21 Dave Gremling                    0.80 Further revise disclosure statement.
06/10/21 Anthony R. Grossi                4.50 Review background re mediation materials
                                               (1.3); review background re chapter 11 plan
                                               issues (1.2); correspond with K&E team re
                                               chapter 11 plan legal research (.7); correspond
                                               with Milbank re mediation status (.6);
                                               correspond with director advisors re
                                               mediation status (.7).
06/10/21 Derek I. Hunter                  6.40 Attend mediation session with creditors,
                                               Company advisors, mediator (1.0);
                                               conference with Company advisors re same
                                               (.4); review, analyze, and revise plan,
                                               mediation, and other related analyses (2.6);
                                               correspond with N. Binder, K&E team re
                                               same, related analysis and strategy,
                                               emergence workstreams (.5); review, analyze,
                                               analyses re same (1.9).
06/10/21 Jason T. Jarvis                  1.70 Telephone conference with M. Alden re plan
                                               related pleadings (.2); review, revise
                                               memorandum re confirmation considerations,
                                               settlements (1.5).




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06/10/21 Tyler R. Knutson                 9.90 Correspond with D. Gremling, K&E team re
                                               confirmation considerations (.7); conference
                                               with D. Gremling re same (.2); correspond
                                               with K&E team re issue summaries, potential
                                               research, general matter information (.4);
                                               conference with same re same (.3);
                                               conference with D. Hunter, A. Grossi, M.
                                               Slade, K&E team re confirmation issue
                                               strategy (.3); review and revise memorandum
                                               re same (3.6); research re plan structuring
                                               issues (3.9); correspond with D. Zamir, B.
                                               Stone re same (.5).
06/10/21 Michael Lemm                     0.90 Review and revise MIP materials (.8);
                                               correspond with A. Grossi, D. Hunter re same
                                               (.1).
06/10/21 Brian Nakhaimousa                0.30 Revise board presentation re mediation
                                               update.
06/10/21 Shawn OHargan, P.C.              0.30 Telephone conference with K&E team re exit
                                               status.
06/10/21 David L. Perechocky              0.20 Conference with creditor representative re
                                               FCC issue.
06/10/21 Samuel J. Seneczko               4.20 Telephone conference with N. Binder re
                                               confirmation issues (.4); review, revise
                                               memorandum re same (2.1); correspond with
                                               N. Binder, K&E team re same (.4); analyze
                                               confirmation issues, precedent (1.3).
06/10/21 Steven N. Serajeddini, P.C.      6.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.6); review and analyze same (2.7).
06/10/21 Anthony Vincenzo Sexton          0.80 Telephone conference with mediation parties.
06/10/21 Benjamin P. Stone                7.50 Conference with mediator, K&E team re
                                               mediation update (.9); draft summary re same
                                               (1.4); correspond with W. Thompson re same
                                               (.3); analyze confirmation research issue (.7);
                                               correspond with T. Knutson, D. Zamir re
                                               same (.3); research case law re same (3.9).
06/10/21 William Thompson                 3.80 Further revise board presentation re
                                               comments from D. Hunter and M. Alden (.7);
                                               telephone conference with Judge Santoro and
                                               K&E team (.9); draft notes re same (2.2).




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06/10/21 Eric J. Wendorf                  1.20 Review creditor mediation proposals (.4);
                                               telephone conference with M. Alden re
                                               mediation issues (.3); correspond with K&E
                                               team re same (.3); correspond with N. Binder,
                                               B. Stone re confirmation research (.2).
06/10/21 Chambliss Williams               2.80 Review memorandum re voting issue (.7);
                                               research re same (1.1); revise memorandum re
                                               same (.9); correspond with N. Binder, S.
                                               Seneczko re same (.1).
06/10/21 Donna Zamir                      5.80 Research re plan structuring issues (3.8);
                                               analyze same (1.2); correspond with N.
                                               Binder, K&E team re same (.5); telephone
                                               conference with B. Stone, T. Knutson re same
                                               (.3).
06/11/21 Maggie Alden                     0.50 Telephone conference with Company
                                               advisors re case strategy, next steps.
06/11/21 Maggie Alden                     1.20 Telephone conference with D. Hunter, N.
                                               Binder re plan research (.3); telephone
                                               conference with N. Binder re same (.2);
                                               telephone conference with K&E team re same
                                               (.4); correspond with S. Seneczko, N. Binder
                                               re same (.3).
06/11/21 Nicholas A. Binder               7.40 Review research re plan confirmation issues
                                               (1.5); telephone conference with S. Seneczko,
                                               M. Alden, K&E team re same (1.2); research
                                               re same (2.4); analyze same (1.2); revise
                                               summary re mediation progress (.3);
                                               telephone conference with M. Alden, K&E
                                               team, Company advisors re plan process (.5);
                                               attend telephonic mediation session (.3).
06/11/21 David L. Eaton                   0.60 Participate in mediation session (.4);
                                               telephone conference with A. Grossi, D.
                                               Hunter re mediation status (.2).
06/11/21 Dave Gremling                    1.60 Analyze issues re plan proposals (.9); further
                                               revise disclosure statement (.7).
06/11/21 Anthony R. Grossi                4.80 Correspond with K&E team and Company re
                                               legal issues (.6); prepare for mediation session
                                               (.4); review background re mediation
                                               materials (1.3); correspond with director
                                               advisors re mediation status (1.1); review
                                               legal research re chapter 11 plan issues (1.4).




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06/11/21 Derek I. Hunter                  5.50 Attend mediation session with creditors,
                                               Company advisors, mediator (.3); conference
                                               with Company advisors re same (.5); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (2.3); correspond with N.
                                               Binder, K&E team re same, related analysis
                                               and strategy, emergence workstreams (.3);
                                               review, analyze, analyses re same (2.1).
06/11/21 Jason T. Jarvis                  6.00 Review, revise memorandum re mediation
                                               sessions (3.8); review, analyze issues re same
                                               (.4); correspond with K&E team re settlement
                                               term sheets (.1); review, analyze same (.3);
                                               review, revise memorandum re same (1.2);
                                               telephone conference with K&E team re same
                                               (.2).
06/11/21 Tyler R. Knutson                 3.20 Correspond with B. Stone, K&E team re plan
                                               structuring issues (.3); research and analysis
                                               re same (2.6); conference with K&E team re
                                               certain confirmation issues (.3).
06/11/21 Whitney Rosser                   1.20 Telephone conference with D. Maliniak, J.
                                               Korff re emergence status (.3); correspond
                                               with D. Maliniak, exchanges re emergence
                                               (.9).
06/11/21 Samuel J. Seneczko               7.20 Telephone conference with N. Binder re
                                               confirmation issues (.3); correspond with N.
                                               Binder, K&E team re same (.4); review,
                                               revise memorandum re confirmation issues
                                               (3.8); analyze precedent, issues re same (2.7).
06/11/21 Steven N. Serajeddini, P.C.      5.90 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (4.0); review and analyze same (1.9).
06/11/21 Anthony Vincenzo Sexton          0.30 Attend mediation telephone conference.
06/11/21 Benjamin P. Stone                9.10 Draft summary re findings re confirmation
                                               issue (1.9); correspond with N. Binder, S.
                                               Seneczko re same (.3); further research same
                                               (3.9); correspond with T. Knutson, D. Zamir
                                               re same (.3); draft revised summary re same
                                               (1.2); correspond with S. Seneczko re same
                                               (.3); conference with mediator, K&E,
                                               creditors re mediation status update (.2); draft
                                               summary re same (.7); correspond with W.
                                               Thompson re same (.3).




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Date     Name                            Hours Description
06/11/21 William Thompson                 4.80 Revise board presentation re case updates
                                               (3.4); participate in telephone conference with
                                               mediation parties (.4); correspond with D.
                                               Hunter re same, call notes (1.0).
06/11/21 Gary M. Vogt                     0.70 Coordinate service of additional document
                                               production.
06/11/21 Donna Zamir                      4.50 Research re plan structuring issues (3.8);
                                               correspond with B. Stone, K&E team re same
                                               (.7).
06/12/21 Maggie Alden                     3.40 Revise settlement motion (2.0); correspond
                                               with D. Hunter re same (.4); analyze issues re
                                               same (.5); correspond with S. Seneczko, N.
                                               Binder re same (.5).
06/12/21 Nicholas A. Binder               4.30 Telephone conference with D. Hunter, K&E
                                               team re plan process (.4); correspond with
                                               same, Company advisors re same (.3);
                                               analyze confirmation issues (1.9); research re
                                               same (1.7).
06/12/21 Dave Gremling                    0.30 Analyze issues re disclosure statement.
06/12/21 Anthony R. Grossi                0.60 Correspond with K&E team re case strategy.
06/12/21 Derek I. Hunter                  1.60 Telephone conference with N. Binder, K&E
                                               team re case strategy, creditor engagement,
                                               related workstreams (.4); correspond with
                                               same re same (.3); correspond with same re
                                               definitive documents, revisions to same (.9).
06/12/21 Tyler R. Knutson                 0.40 Review and analyze deal-related pleadings.
06/12/21 Steven N. Serajeddini, P.C.      1.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.0); review and analyze same (.3).
06/12/21 William Thompson                 2.00 Further revise board presentation re case
                                               updates.
06/13/21 Maggie Alden                     2.30 Correspond with S. Seneczko, N. Binder re
                                               plan related research (.2); compile research re
                                               plan related pleadings (.3); correspond with
                                               D. Hunter re same (.1); correspond with K&E
                                               team re plan related pleadings (.5); telephone
                                               conference with N. Binder, S. Seneczko, D.
                                               Hunter re plan related research (.7); revise
                                               plan related pleadings (.5).




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Date     Name                            Hours Description
06/13/21 Nicholas A. Binder               3.80 Telephone conference with K&E team, PJT re
                                               plan considerations (.3); telephone conference
                                               with S. Seneczko, M. Alden, K&E team re
                                               analysis re same (.8); review research and
                                               analyses re same (2.7).
06/13/21 Derek I. Hunter                  3.80 Review, analyze, and revise plan, mediation,
                                               and other related analyses (1.1); correspond
                                               with K&E team re same, related analysis and
                                               strategy (.2); conferences with Company
                                               advisors, Company re case, mediation
                                               strategy (.4); correspond with K&E team re
                                               emergence workstreams (.5); review, analyze,
                                               analyses re same (1.6).
06/13/21 Steven N. Serajeddini, P.C.      1.90 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.2); review and analyze same (.7).
06/13/21 Benjamin P. Stone                1.90 Analyze comments re amended disclosure
                                               statement (.8); revise same (1.1).
06/14/21 Maggie Alden                     1.10 Correspond with B. Nakhaimousa re
                                               confirmation research matter (.3); telephone
                                               conference with K&E team re plan, strategy
                                               matters (.5); telephone conferenced with PJT,
                                               K&E team re case update, strategy (.3).
06/14/21 Maggie Alden                     1.90 Prepare for and participate in telephone
                                               conference with S. Seneczko, K&E team re
                                               plan research (.6); correspond with S.
                                               Seneczko, K&E team re same (.2);
                                               correspond with B. Nakhaimousa, K&E team
                                               re definitive documents (.3); telephone
                                               conference with B. Nakhaimousa re same
                                               (.1); correspond with J. Chong re same (.1);
                                               correspond with S. Vail, S. Seneczko re same
                                               (.2); correspond with W. Thompson re same
                                               (.4).




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Date     Name                            Hours Description
06/14/21 Nicholas A. Binder               9.00 Telephone conference with D. Maliniak, K&E
                                               team, stock exchanges re emergence
                                               considerations (1.2); review presentation re
                                               same (.2); telephone conference with D.
                                               Hunter, K&E team, Company advisors re plan
                                               process (.3); telephone conference with D.
                                               Hunter re plan revisions (.1); review, revise
                                               same (1.0); telephone conference with A.
                                               Grossi, K&E team, Company advisors re
                                               mediation progress (.7); telephonically attend
                                               mediation discussions (1.5); analyze
                                               confirmation considerations (2.8); telephone
                                               conference with S. Seneczko, M. Lemm,
                                               K&E team re same (1.2).
06/14/21 David L. Eaton                   1.60 Telephone conference with A. Grossi, S.
                                               Zelin re mediation issues and status (.4);
                                               telephone conference with S. Serajeddini re
                                               plan strategy (.2); telephone conference with
                                               mediator, S. Serajeddini re MIP and plan
                                               issues (1.0).
06/14/21 Dave Gremling                    4.60 Conference with K&E, A&M, PJT teams re
                                               deal status (.4); revise disclosure statement
                                               (2.8); correspond with B. Nakhaimousa, K&E
                                               team re same (1.4).
06/14/21 Anthony R. Grossi                5.40 Correspond with Company working group re
                                               legal issues (.6); review background re
                                               mediation materials (1.3); correspond with
                                               director advisors re chapter 11 plan status
                                               (.8); correspond with mediator working group
                                               re status (.7); review and revise mediation
                                               materials (1.1); review and revise mediation
                                               materials (.9).
06/14/21 Derek I. Hunter                  6.50 Participate in mediation session with
                                               creditors, Debtors’ advisors, mediator (1.0);
                                               conference with Debtor advisors re same
                                               (1.0); review, analyze, and revise plan,
                                               mediation, and other related analyses (2.1);
                                               correspond with K&E team re same, related
                                               analysis and strategy, emergence workstreams
                                               (.9); review, analyze, analyses re same (1.5).




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Date     Name                            Hours Description
06/14/21 Jason T. Jarvis                  6.80 Review, analyze motion re plan issues (.2);
                                               review, revise memorandum re confirmation
                                               considerations (2.4); correspond with E.
                                               Wendorf re confirmation considerations re
                                               claims (.1); draft memorandum re same (1.8);
                                               research re same (2.0); telephone conference
                                               with K&E team re emergence considerations
                                               (.1); correspond with K&E team re mediation
                                               sessions (.1); review, analyze memorandum re
                                               same (.1).
06/14/21 Tyler R. Knutson                 9.60 Review and analyze feedback re motion re
                                               confirmation considerations (.5); review and
                                               analyze revisions re same (.6); telephone
                                               conference with E. Wendorf re same (.4);
                                               review and analyze precedent motion re
                                               claims (1.2); research re same (1.8);
                                               summarize cases re claims (2.6); research and
                                               analyze precedent re same (1.2); research,
                                               review, and analyze prior creditor
                                               constituency correspondence, proposals, and
                                               pleadings re certain confirmation
                                               considerations (1.3).
06/14/21 Michael Lemm                     0.80 Research re plan considerations (.3);
                                               telephone conference with N. Binder re same
                                               (.4); telephone conference with S. Briefel,
                                               K&E team re emergence workstreams (.1).
06/14/21 Joe Morley                       0.20 Correspond re public listing with D. Maliniak.
06/14/21 Brian Nakhaimousa                1.30 Review background re plan confirmation
                                               requirement issue (.8); research re same (.5).
06/14/21 Brian Nakhaimousa                4.80 Attend telephone conference with Company
                                               advisors re mediation (1.0); draft notes re
                                               same (.7); attend telephone conference with
                                               mediator (1.0); draft notes re same (.5); attend
                                               second mediator telephone conference (1.0);
                                               draft notes re same (.3); correspond with B.
                                               Stone, W. Thompson re telephone conference
                                               notes (.1); revise board presentation re
                                               restructuring update (.2).
06/14/21 Shawn OHargan, P.C.              0.30 Telephone conference with K&E team re
                                               emergence.
06/14/21 Robert Orren                     0.60 Distribute to D. Gremling precedent re motion
                                               to disallow claims for voting purposes.




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Date     Name                            Hours Description
06/14/21 Whitney Rosser                   1.20 Correspond with N. Binder, D. Maliniak re
                                               emergence considerations (.2); review
                                               emergence materials (.2); telephone
                                               conferences with exchanges re emergence
                                               (.8).
06/14/21 Samuel J. Seneczko               0.40 Telephone conference with D. Hunter re
                                               confirmation issues.
06/14/21 Steven N. Serajeddini, P.C.      7.20 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (5.4); review and analyze same (1.8).
06/14/21 Benjamin P. Stone                8.40 Further, review, revise amended disclosure
                                               statement (3.9); analyze plan issues re same
                                               (.6); draft same (.4); correspond with D.
                                               Gremling re same (.3); correspond with B.
                                               Nakhaimousa re same (.4); telephone
                                               conference with K&E team, mediator re
                                               proposals (1.1); telephone conference with
                                               K&E team, mediator, creditors re same (.6);
                                               draft summaries re same (.8); correspond with
                                               W. Thompson, B. Nakhaimousa re same (.3).
06/14/21 William Thompson                 8.50 Review and revise board presentation re
                                               comments from A. Grossi (3.9); correspond
                                               with M. Alden re same (.6); research re plan
                                               issues (1.7); telephone conference with
                                               mediation parties re MIP (1.6); telephone
                                               conference with K&E team and directors re
                                               case updates (.7).
06/14/21 Donna Zamir                      1.60 Research re confirmation related issues (1.3);
                                               correspond with N. Binder re same (.3).
06/15/21 Maggie Alden                     0.30 Review B. Nakhaimousa research re plan
                                               issue (.2); correspond with S. Seneczko re
                                               same (.1).
06/15/21 Maggie Alden                     0.60 Telephone conference with C. Narh re plan
                                               research research (.2); correspond with same
                                               re research (.1); follow-up telephone
                                               conference with C. Narh re plan research (.3).




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Date     Name                            Hours Description
06/15/21 Maggie Alden                     5.90 Draft settlement motion (3.9); revise same
                                               (.5); telephone conference with S. Seneczko
                                               re plan research (.1); correspond with S.
                                               Seneczko, K&E team re definitive documents
                                               (.4); telephone conferences with B.
                                               Nakhaimousa re logistics re research memo
                                               (.2); correspond with same re planning re
                                               logistics issue (.2); revise planning worksheet
                                               re same (.4); correspond with B.
                                               Nakhaimousa, K&E team re same (.2).
06/15/21 Nicholas A. Binder               8.40 Correspond with D. Hunter re emergence,
                                               confirmation considerations (.2); review,
                                               analyze emergence work plan (.6); correspond
                                               with D. Maliniak, K&E team re same (.1);
                                               telephone conference with D. Maliniak, K&E
                                               team re emergence structuring (.5); prepare
                                               for same (.3); analyze considerations re
                                               emergence transactions (1.9); review
                                               documents and materials re same (1.8);
                                               telephone conference with S. Seneczko, M.
                                               Lemm, K&E team re confirmation
                                               considerations (1.2); analyze research and
                                               analyses re same (1.6); telephone conference
                                               with A. Grossi, K&E team, Company
                                               advisors re process (.2).
06/15/21 Simon Briefel                    0.20 Telephone conference with K&E team,
                                               directors re deal status.
06/15/21 David L. Eaton                   0.30 Telephone conference with N. Binder, A.
                                               Grossi, B. Lennon re plan issues.
06/15/21 Dave Gremling                    3.60 Revise disclosure statement (3.0); correspond
                                               with D. Hunter, K&E team re same (.6).
06/15/21 Anthony R. Grossi                3.90 Correspond with Company re deal status (.8);
                                               review legal research re chapter 11 plan issues
                                               (1.4); correspond with director advisors re
                                               chapter 11 plan status (.6); correspond with
                                               PJT re mediation materials (1.1).
06/15/21 Derek I. Hunter                  2.90 Review, analyze, and revise plan, mediation,
                                               and other related analyses (1.2); telephone
                                               conference with Debtor advisors re same (.5);
                                               correspond with K&E team, Debtor advisors
                                               re same, related analysis and strategy (.3);
                                               correspond with K&E team, EHP re
                                               emergence workstreams (.3); review, analyze,
                                               analyses re same (.6).


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Date     Name                            Hours Description
06/15/21 Jason T. Jarvis                  7.00 Draft memorandum re confirmation
                                               considerations re claims (1.7); research re
                                               same (2.0); research re confirmation
                                               requirements (3.3).
06/15/21 Tyler R. Knutson                 2.10 Review feedback and revisions re motion re
                                               confirmation considerations (.3); research re
                                               same (1.8).
06/15/21 Michael Lemm                     5.00 Research re plan considerations (2.8); review
                                               materials re same (1.1); telephone conference
                                               with N. Binder re same (.4); telephone
                                               conference with N. Binder, S. Seneczko re
                                               research re plan considerations (.4); telephone
                                               conference with N. Binder, K&E team re
                                               emergence considerations (.3).
06/15/21 Drew Maliniak                    3.00 Correspond with A. Sexton and N. Binder re
                                               emergence considerations (1.1); draft, review
                                               memorandum re possible exchange listing
                                               (1.9).
06/15/21 Brian Nakhaimousa                3.10 Attend telephone conference with advisors
                                               (.2); correspond with K&E team re same (.2);
                                               telephone conference with D. Gremling, N.
                                               Binder, B. Stone re disclosure statement (.5);
                                               correspond with D. Gremling, B. Stone re
                                               same (.2); telephone conference with B. Stone
                                               re same (.2); research re plan confirmation
                                               requirements (1.7); correspond with M. Alden
                                               re plan confirmation issue (.1).
06/15/21 Brian Nakhaimousa                2.00 Correspond with M. Alden, K&E team re
                                               pleadings, research re plan (.3); draft
                                               memorandum re same (1.7).
06/15/21 Whitney Rosser                   6.70 Research notes indentures and offering
                                               memoranda (.5); review same (.6); research
                                               debt securities regulations (1.8); research,
                                               review Intelsat SEC filings (2.8); correspond
                                               with D. Maliniak re same (.4); correspond
                                               with library re same (.2); telephone
                                               conference with D. Maliniak, K&E team re
                                               emergence considerations (.4).
06/15/21 Samuel J. Seneczko               7.70 Telephone conference with M. Lemm, N.
                                               Binder re confirmation issues research (.4);
                                               telephone conference with E. Wendorf, W.
                                               Thompson re confirmation issues (.6);
                                               research precedent, issues re same (3.8);
                                               analyze same (2.6); correspond with K&E
                                               team re same (.3).

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06/15/21 Steven N. Serajeddini, P.C.      6.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (5.1); review and analyze same (1.2).
06/15/21 Anthony Vincenzo Sexton          2.90 Prepare for tax mediation conference (1.5);
                                               telephone conference with mediator (1.4).
06/15/21 Benjamin P. Stone                5.30 Correspond with D. Gremling re amended
                                               disclosure statement (.3); review local rules re
                                               same (.9); correspond with N. Binder re plan
                                               considerations re same (.3); telephone
                                               conference with D. Gremling, N. Binder, B.
                                               Nakhaimousa re same (.4); telephone
                                               conference with K&E team, directors’
                                               advisors re plan issues (.2); draft summary re
                                               same (.8); correspond with W. Thompson, B.
                                               Nakhaimousa re same (.3); review mediation
                                               order (.7); correspond with D. Gremling re
                                               same (.3); draft disclosure statement
                                               adjournment notice (.5); correspond with D.
                                               Gremling re same (.3); correspond with D.
                                               Hunter re disclosure statement reply (.3).
06/15/21 William Thompson                 4.50 Research re plan issues (1.8); revise
                                               memorandum re same (2.2); participate in
                                               telephone conference re mediation updates
                                               (.2); draft summary re same (.3).
06/15/21 Donna Zamir                      4.90 Research re confirmation related issues (3.6);
                                               draft summary re same (1.3).
06/16/21 Maggie Alden                     0.40 Telephone conference with PJT, K&E team re
                                               strategy, transaction.
06/16/21 Maggie Alden                     7.70 Draft plan related pleadings (.9); correspond
                                               with K&E team re same (.1); correspond with
                                               H. David, K&E team re same (.3); telephone
                                               conference with same re logistics (.5); revise
                                               planning worksheet re same (.3); revise plan
                                               related pleadings (.6); review, comment on
                                               memorandum re same (.4); further revise plan
                                               related pleadings (2.5); correspond with S.
                                               Vail, K&E team re same (.2); telephone
                                               conference with N. Binder re same (.5);
                                               further revise same (.5); correspond with S.
                                               Seneczko, N. Binder re research re same (.4);
                                               further review memorandum re plan related
                                               pleadings (.5).




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06/16/21 Nicholas A. Binder               7.70 Telephone conference with K&E team,
                                               Company advisors re plan process (.4);
                                               telephone conference with W. Thompson re
                                               same (.1); research re confirmation issues
                                               (2.0); telephone conference with M. Alden re
                                               same (.5); analyze same (2.4); draft, revise
                                               memoranda re same (1.8); telephone
                                               conference with S. Seneczko, K&E team re
                                               same (.5).
06/16/21 Simon Briefel                    0.50 Telephone conference with K&E team re
                                               pleading.
06/16/21 David L. Eaton                   0.50 Telephone conference with A. Grossi, S.
                                               Serajeddini, S. Zelin et al re mediation update
                                               and strategy.
06/16/21 Dave Gremling                    4.20 Revise disclosure statement (3.2); review
                                               background materials re same (.7);
                                               correspond with D. Hunter, K&E team re
                                               same (.3).
06/16/21 Anthony R. Grossi                1.10 Correspond with Company and K&E team re
                                               legal issues (.5); correspond with director
                                               advisors re chapter 11 plan status (.6).
06/16/21 Derek I. Hunter                  3.70 Telephone conference with K&E re mediation
                                               updates (1.0); review, analyze, and revise
                                               plan, mediation, and other related analyses
                                               (1.0); correspond with K&E team, Debtor
                                               advisors re same, related analysis and strategy
                                               (1.0); correspond with K&E team, EHP re
                                               emergence workstreams (.2); review, analyze,
                                               analyses re same (.5).
06/16/21 Jason T. Jarvis                  8.20 Draft memorandum re confirmation
                                               considerations (2.6); research re same (.5);
                                               draft memorandum re confirmation
                                               requirements (2.6); research re same (.8);
                                               review, analyze memorandum re same (.1);
                                               review, revise memorandum re same (1.3);
                                               telephone conference with B. Stone re same
                                               (.1); telephone conference with S. Seneszko
                                               re same (.1); telephone conference with D.
                                               Hunter, K&E team re emergence
                                               considerations (.1).




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06/16/21 Tyler R. Knutson                  7.30 Correspond and conference with D. Gremling
                                                re precedent re motion re confirmation
                                                considerations (.7); draft schedule of certain
                                                claims (3.2); research, review, and analyze
                                                claims register re same (1.6); review and
                                                revise memorandum re certain confirmation
                                                considerations (.5); research and analyze re
                                                same (.8); review correspondence re certain
                                                confirmation considerations (.5).
06/16/21 Michael Lemm                      4.20 Research re plan considerations (2.9); draft
                                                summary re same (.9); telephone conference
                                                with N. Binder re same (.3); correspond with
                                                A. Grossi, K&E team re same (.1).
06/16/21 Brian Nakhaimousa                 4.30 Telephone conference with advisors re
                                                mediation (.2); review, revise amended
                                                disclosure statement (1.8); telephone
                                                conference with D. Gremling, B. Stone re
                                                same (.4); research plan confirmation issues
                                                (1.9).
06/16/21 Shawn OHargan, P.C.               0.30 Review Black Sky ROFO, EY letter.
06/16/21 David L. Perechocky               1.10 Correspond with Company re ROFO (.4);
                                                review summary re same (.5); correspond
                                                with K&E team re Team Telecom (.2).
06/16/21 Whitney Rosser                    5.80 Review offering memoranda and indentures
                                                (.5); research debt securities (2.1); telephone
                                                conference with D. Maliniak, K&E team re
                                                emergence considerations (.4); review, revise
                                                memorandum re guarantee issues (2.1);
                                                correspond with D. Maliniak, D. Gremling re
                                                same (.7).
06/16/21 Samuel J. Seneczko               10.40 Research precedent, confirmation issues (2.7);
                                                research emergence issues (1.8); correspond
                                                with D. Hunter re same (.2); correspond with
                                                N. Binder re same (.3); correspond with B.
                                                Stone, J. Jarvis re same (.3); telephone
                                                conference with D. Hunter re same (.3);
                                                telephone conference with N. Binder re same
                                                (.4); telephone conference with local counsel
                                                re same (.5); review, revise confirmation
                                                issues memorandum (2.7); review corporate
                                                law re confirmation (.6); analyze research re
                                                same (.6).
06/16/21 Steven N. Serajeddini, P.C.       6.50 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (4.0); review and analyze same (2.5).

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06/16/21 Anthony Vincenzo Sexton          1.20 Attend mediation conference (1.0);
                                               correspond with D. Gremling re disclosure
                                               statement (.2).
06/16/21 Benjamin P. Stone                5.40 Correspond with D. Gremling re amended
                                               disclosure statement (.2); review, revise same
                                               (3.9); correspond with B. Nakhaimousa re
                                               same (.3); telephone conference with B.
                                               Nakhaimousa re same (.9); telephone
                                               conference with directors’ advisors re plan
                                               issues (.1).
06/16/21 William Thompson                 2.90 Further research re plan issues (1.7); research
                                               re confirmation precedent (.7); telephone
                                               conference with company advisors re
                                               mediation updates (.2); draft notes re same
                                               (.3).
06/16/21 Scott J. Vail                    1.40 Telephone conference with A&M and PJT re
                                               mediation process and plan strategy (.3);
                                               attend conference with director advisors re
                                               mediation process (.2); review, analyze draft
                                               of motion re plan issues (.9).
06/16/21 Donna Zamir                      4.70 Research re confirmation related issues (2.6);
                                               further draft summary re same (1.9);
                                               correspond with D. Hunter, K&E team re plan
                                               structuring issues (.2).
06/17/21 Maggie Alden                     3.80 Draft, revise plan related pleadings (1.3);
                                               correspond with J. Morley, K&E team re
                                               same (.4); revise planning worksheet re
                                               logistics re same (.4); correspond with B.
                                               Nakhaimousa re same (.1); telephone
                                               conference and correspond with S. Seneczko,
                                               K&E team re memorandum re same (1.1);
                                               telephone conference with D. Hunter, K&E
                                               team re research re same (.4); correspond with
                                               same re plan related pleadings (.1).




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Date     Name                            Hours Description
06/17/21 Nicholas A. Binder               8.60 Telephone conference with D. Hunter, K&E
                                               team re plan research (.8); research plan
                                               confirmation issues (1.5); analyze same (2.2);
                                               correspond with K&E team re same (.3);
                                               telephone conference with S. Seneczko, M.
                                               Lemm, K&E team re same (.8); telephone
                                               conference with A. Grossi, K&E team,
                                               Company advisors re mediation update (.2);
                                               telephone conference with PJT, D. Maliniak
                                               re emergence considerations (.4); analyze
                                               same (2.1); telephone conference with S.
                                               Briefel re same (.3).
06/17/21 Katya Boyko                      0.40 Telephone conference with A. Grossi, D.
                                               Hunter and K&E team, Company advisors re
                                               mediation.
06/17/21 Dave Gremling                    3.10 Review, revise disclosure statement (2.7);
                                               correspond with B. Stone, K&E team re same
                                               (.4).
06/17/21 Dave Gremling                    2.20 Review, revise motion re plan considerations.
06/17/21 Anthony R. Grossi                5.40 Correspond with directors re chapter 11 plan
                                               status (1.1); correspond with K&E team re
                                               mediation research (1.4); review background
                                               re corporate structuring issues (1.2); review
                                               background research re chapter 11 plan issues
                                               (1.7).
06/17/21 Derek I. Hunter                  3.00 Telephone conference with K&E re mediation
                                               updates (.9); review, analyze, and revise plan,
                                               mediation, and other related analyses (1.1);
                                               correspond with K&E team, Debtor advisors
                                               re same, related analysis and strategy (.3);
                                               correspond with K&E team, EHP re
                                               emergence workstreams (.3); review, analyze,
                                               analyses re same (.4).
06/17/21 Jason T. Jarvis                  4.70 Research re confirmation considerations (4.0);
                                               telephone conference with K&E team re same
                                               (.1); draft memorandum re confirmation
                                               considerations (.6).




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Date     Name                            Hours Description
06/17/21 Tyler R. Knutson                  7.90 Review summary re plan structuring
                                                implications (.4); conference with B. Stone re
                                                plan structuring issues (.4); research and
                                                analyze re same (1.6); review and analyze
                                                feedback and revisions re motion re
                                                confirmation considerations (.4); further
                                                review and analyze updated draft re same (.8);
                                                review and revise citations re same (1.9);
                                                review memorandum from Lux counsel re
                                                confirmation implications (.3); review and
                                                analyze Debtor and claimant pleadings re
                                                certain claims and confirmation issues (1.7);
                                                review accompanying exhibits, declarations,
                                                other relevant accompanying documentation
                                                re same (.4).
06/17/21 Michael Lemm                     10.90 Telephone conference with D. Hunter, K&E
                                                team re plan considerations (.3); telephone
                                                conference with M. Alden, K&E team re
                                                research re same (.6); telephone conference
                                                with N. Binder, S. Seneczko re same (.2);
                                                telephone conferences with N. Binder re same
                                                (.6); correspond with D. Hunter, K&E team re
                                                telephone conference re emergence
                                                considerations (.2); draft summary re plan
                                                considerations (3.5); review and revise re
                                                same (1.6); review materials re same (3.9).
06/17/21 Drew Maliniak                     1.10 Correspond with N. Binder re exchange
                                                listing requirements (.5); correspond with PJT
                                                re trading volume requirements (.3);
                                                correspond with exchanges and K&E team re
                                                potential re-listing emergence structures (.3).
06/17/21 Brian Nakhaimousa                 0.10 Correspond with M. Alden re plan related
                                                pleadings.
06/17/21 Robert Orren                      0.40 Correspond with W. Thompson re
                                                confirmation hearing precedent.
06/17/21 Robert Orren                      0.80 Compile precedent re plan related pleadings.
06/17/21 David L. Perechocky               0.90 Review ROFO presentation (.3); telephone
                                                conference with Company re ROFO slides
                                                (.3); correspond with K&E team re FCC
                                                application (.3).




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Date     Name                            Hours Description
06/17/21 Samuel J. Seneczko               10.20 Research confirmation issues (3.7);
                                                correspond with K&E team re same (.3);
                                                research emergence issues (2.3); telephone
                                                conference with K&E team re same (.6);
                                                telephone conference with D. Hunter, K&E
                                                team re same (.3); telephone conference with
                                                M. Lemm, N. Binder re confirmation issues
                                                (.3); telephone conference with J. Jarvis re
                                                same (.4); analyze emergence materials,
                                                precedent (2.3).
06/17/21 Steven N. Serajeddini, P.C.       7.10 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (4.4); review and analyze same (1.5); board
                                                meeting re same (1.2).
06/17/21 Benjamin P. Stone                 9.40 Analyze comments re confirmation issue
                                                analysis (.9); research case law re same (3.7);
                                                further revise same (3.9); conference with T.
                                                Knutson re same (.4); correspond with S.
                                                Seneczko re same (.3); telephone conference
                                                with directors’ advisors re plan issues (.2).
06/17/21 William Thompson                  8.70 Further research re contested confirmation
                                                precedent (3.6); correspond with D. Hunter re
                                                same (.7); further research re plan issues
                                                (1.5); revise memorandum re same (2.9).
06/17/21 Chambliss Williams                1.60 Review research re plan issues (1.1);
                                                correspond with K&E team re same (.5).
06/17/21 Donna Zamir                       8.70 Research re plan structuring issues (3.7); draft
                                                summary re same (3.4); revise same (1.1);
                                                correspond with N. Binder, K&E team re
                                                same (.5).
06/18/21 Maggie Alden                      0.50 Telephone conference with PJT, K&E team re
                                                strategy, next steps.
06/18/21 Maggie Alden                      2.10 Correspond with M. Lemm re plan related
                                                pleadings (.1); correspond with B.
                                                Nakhaimousa, K&E team re logistics re same
                                                (.3); correspond with M. Lemm, K&E team re
                                                plan related pleadings (.7); analyze issues re
                                                same (1.0).




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Date     Name                            Hours Description
06/18/21 Nicholas A. Binder               9.80 Analyze emergence considerations (2.4);
                                               correspond with A. Grossi, K&E team re
                                               same (.2); telephone conference with EHP re
                                               same (.5); prepare for same (.3); telephone
                                               conference with K&E team, Company
                                               advisors re plan process (.6); telephone
                                               conference with D. Maliniak, K&E team re
                                               governance, emergence (.4); telephone
                                               conference with D. Maliniak, Stretto re
                                               emergence issues (.4); telephone conference
                                               with D. Maliniak, PJT team re same (.4);
                                               draft, revise timeline re same (2.5); analyze
                                               confirmation issues (1.8); correspond with M.
                                               Alden, S. Seneczko, K&E team re same (.3).
06/18/21 Simon Briefel                    0.40 Telephone conference with mediator re
                                               mediation issues.
06/18/21 David L. Eaton                   1.10 Telephone conference with S. Serajeddini, S.
                                               Zelin, K&E team re mediation and MIP (.6);
                                               telephone conference with F. Santero, S.
                                               Serajeddini, S. Zelin re mediation status (.5).
06/18/21 Dave Gremling                    1.10 Revise disclosure statement.
06/18/21 Anthony R. Grossi                3.20 Correspond with K&E team re corporate
                                               structuring issues (.8); review background re
                                               emergence issues (1.1); review background re
                                               chapter 11 plan issues (1.3).
06/18/21 Derek I. Hunter                  3.30 Mediation session with creditors, Debtors
                                               advisors mediator (.5); conference with
                                               Debtor advisors re same (.5); review, analyze,
                                               and revise plan, mediation, and other related
                                               analyses (1.0); correspond with K&E team re
                                               same, related analysis and strategy,
                                               emergence workstreams (.4); review, analyze,
                                               analyses re same (.9).
06/18/21 Jason T. Jarvis                  5.10 Correspond with D. Hunter, T. Knutson re
                                               confirmation considerations (.8); research re
                                               same (.5); research re confirmation
                                               considerations (1.6); review, revise
                                               memorandum re same (1.8); correspond with
                                               A. Hellman re same (.1); telephone
                                               conference with M. Young re same (.2);
                                               telephone conference with S. Briefel, K&E
                                               team re confirmation requirements (.1).
06/18/21 Jason T. Jarvis                  0.40 Telephone conference with D. Hunter re work
                                               in process re plan issue.


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06/18/21 Gary J. Kavarsky                 0.40 Telephonically attend mediation call.
06/18/21 Tyler R. Knutson                 6.60 Review, analyze, and revise citations for
                                               motion re confirmation considerations (3.8);
                                               research precedent re same (2.3); review
                                               research re same (.3); review correspondence
                                               re confirmation re voting scenarios (.1);
                                               correspond with J. Jarvis re same (.1).
06/18/21 Michael Lemm                     8.60 Draft summary re plan considerations (3.3);
                                               review materials re same (2.7); review and
                                               revise re same (1.9); telephone conferences
                                               with N. Binder re same (.2); attend mediation
                                               session (.2); telephone conference with D.
                                               Hunter, K&E team re emergence
                                               considerations (.3).
06/18/21 Drew Maliniak                    1.10 Correspond with J. Korff and A. Grossi re
                                               emergence listing structures.
06/18/21 Drew Maliniak                    3.40 Revise slides re emergence timeline (1.3);
                                               correspond with N. Binder re same (.6);
                                               research requirements re same (1.0);
                                               correspond with exchanges re same (.5).
06/18/21 Joe Morley                       1.00 Telephone conference with K&E team re
                                               emergence structure (.5); correspond with N.
                                               Binder, D. Maliniak, and A. Sexton re same
                                               (.5).
06/18/21 Brian Nakhaimousa                2.00 Attend mediation call (.5); correspond with D.
                                               Hunter, W. Thompson, N. Binder re call notes
                                               re same (.3); revise amended disclosure
                                               statement (1.1); correspond with D. Hunter,
                                               B. Stone re same (.1).
06/18/21 Brian Nakhaimousa                0.10 Correspond with D. Hunter, M. Alden, K&E
                                               team re potential plan related negotiations.
06/18/21 David L. Perechocky              0.50 Correspond with K&E team re emergence
                                               (.3); correspond with K&E team re FCC (.2).
06/18/21 Whitney Rosser                   6.20 Conference with N. Binder, K&E team re
                                               emergence (.1); conference with N. Binder,
                                               K&E team re emergence (.4); conference with
                                               Stretto re emergence (.4); research emergence
                                               considerations (3.4); correspond with D.
                                               Maliniak, J. Korff re same (.4); further
                                               research same (.9); revise presentation re
                                               same (.4); correspond with D. Maliniak, N.
                                               Binder, A. Grossi re same (.2).




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Date     Name                            Hours Description
06/18/21 Samuel J. Seneczko               11.10 Telephone conference with N. Binder re
                                                confirmation issues (.3); telephone conference
                                                with B. Stone, N. Binder, K&E team re same
                                                (.1); revise memorandum re confirmation
                                                issues (3.6); revise emergence issues re same
                                                (3.4); further revise memorandum re
                                                confirmation issues (2.3); analyze precedent
                                                re emergence issues (1.4).
06/18/21 Steven N. Serajeddini, P.C.       6.10 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (4.9); review and analyze same (1.2).
06/18/21 Anthony Vincenzo Sexton           1.20 Attend mediation conference (.5); telephone
                                                conference with A. Grossi and other K&E
                                                team members re emergence listing issues
                                                (.5); correspond with corporate team re same
                                                (.2).
06/18/21 Benjamin P. Stone                10.40 Revise confirmation issue analysis (2.8); draft
                                                case summary re same (3.9); correspond with
                                                S. Seneczko re same (.3); further revise same
                                                (1.1); correspond with A. Grossi re same (.3);
                                                correspond with D. Hunter re same (.8);
                                                correspond with local counsel re adjournment
                                                notice (.2); correspond with PR firm re same
                                                (.2); correspond with Company re same (.3);
                                                correspond with D. Hunter re meeting with
                                                K&E litigation, PJT, A&M re value allocation
                                                (.3); correspond with M. Slade, A. Grossi, A.
                                                Sexton re same (.2).
06/18/21 William Thompson                  8.40 Further revise memorandum re confirmation
                                                issues re comments from S. Seneczko, N.
                                                Binder, and M. Alden (4.0); further research
                                                re same (4.0); telephone conference with
                                                mediator re negotiation updates (.4).
06/18/21 Donna Zamir                       7.00 Research re confirmation related issues (3.1);
                                                analyze same (.6); further draft summary re
                                                same (3.3).
06/19/21 Maggie Alden                      0.60 Telephone conference with K&E team re
                                                strategy, next steps re plan issues.
06/19/21 Maggie Alden                      4.80 Revise plan related pleading (1.8); telephone
                                                conference with K&E team re same (.6); draft
                                                memorandum re same (1.3); correspond with
                                                M. Lemm, N. Binder re same (.8); further
                                                revise same (.3).



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06/19/21 Nicholas A. Binder                6.10 Telephone conference with D. Hunter, M.
                                                Lemm, M. Alden re settlement considerations
                                                (.6); analyze same (3.0); draft analysis re
                                                same (1.8); telephone conference with M.
                                                Lemm, K&E team re same (.7).
06/19/21 Nicholas A. Binder                1.30 Review memorandum re plan considerations
                                                (.4); review, revise emergence timeline (.3);
                                                telephone conference with K&E team re plan
                                                process (.6).
06/19/21 Anthony R. Grossi                 1.30 Correspond with K&E team re emergence
                                                considerations (.6); correspond with K&E
                                                team re case strategy (.7).
06/19/21 Derek I. Hunter                   3.60 Telephone conference with K&E team re case
                                                strategy (.5); review, analyze, and revise plan,
                                                mediation, and other related analyses (1.1);
                                                correspond with K&E team, Debtor advisors
                                                re same, related analysis and strategy (.5);
                                                review, analyze memorandum re confirmation
                                                issues and comment on same (1.5).
06/19/21 Derek I. Hunter                   1.70 Review, analyze, and revise plan related
                                                pleading.
06/19/21 Michael Lemm                     10.90 Draft summary re plan considerations (3.7);
                                                review materials re same (3.4); review and
                                                revise re same (2.3); telephone conference
                                                with D. Hunter, N. Binder, M. Alden re same
                                                (.6); telephone conferences with N. Binder re
                                                same (.8); telephone conference with J.
                                                Morley re same (.1).
06/19/21 Drew Maliniak                     1.30 Revise emergence timeline (.9); correspond
                                                with N. Binder and A. Sexton re same (.4).
06/19/21 Brian Nakhaimousa                 1.10 Research plan confirmation requirements.
06/19/21 Whitney Rosser                    0.60 Correspond with D. Maliniak, N. Binder re
                                                emergence (.2); review materials re same (.4).
06/19/21 Samuel J. Seneczko                4.60 Revise memorandum re confirmation issues
                                                (3.7); correspond with E. Wendorf, W.
                                                Thompson re same (.1); correspond with B.
                                                Stone re emergence issues (.2); telephone
                                                conference with N. Binder re same (.3);
                                                analyze precedent re confirmation issues (.3).
06/19/21 Anthony Vincenzo Sexton           0.60 Review and analyze emergence structuring
                                                issues.




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Date     Name                            Hours Description
06/19/21 Donna Zamir                      2.30 Research re confirmation related issues (.7);
                                               further draft summary re same (1.4);
                                               correspond with N. Binder re same (.2).
06/20/21 Nicholas A. Binder               0.20 Revise emergence timeline.
06/20/21 Derek I. Hunter                  1.30 Correspond with K&E team re case strategy,
                                               creditor engagement, related workstreams
                                               (.4); review, analyze revised plan documents
                                               and related research (.9).
06/20/21 Drew Maliniak                    0.80 Revise presentation re emergence timeline.
06/20/21 William Thompson                 2.60 Revise memorandum re confirmation issues.
06/21/21 Maggie Alden                     0.70 Telephone conference with PJT, K&E team re
                                               strategy (.2); correspond with D. Hunter,
                                               counsel re PSA inquiry (.5).
06/21/21 Maggie Alden                     0.50 Telephone conference with M.C. Yong re
                                               plan research, case background.
06/21/21 Maggie Alden                     6.90 Draft materials re plan related pleading (3.2);
                                               analyze issues re same (2.4); correspond with
                                               J. Morley re same (.4); correspond with B.
                                               Nakhaimousa, K&E team re plan related
                                               pleading (.6); correspond with S. Vail, D.
                                               Hunter re same (.2); correspond with S.
                                               Seneczko, K&E team re same (.1).
06/21/21 Bill Arnault                     1.30 Participate in telephone conference with M.
                                               Slade, A. Grossi, and A&M re plan related
                                               matters.
06/21/21 Nicholas A. Binder               6.80 Draft amended plan (2.1); analyze
                                               considerations re same (.3); revise emergence
                                               timeline (1.2); analyze considerations re same
                                               (.4); telephone conference with D. Maliniak,
                                               K&E team re emergence considerations (.6);
                                               telephone conference with Company advisors
                                               re deal update (.3); telephone conference with
                                               A. Grossi, D. Hunter re plan considerations,
                                               emergence timeline (.4); analyze
                                               considerations re same (1.5).
06/21/21 Simon Briefel                    0.70 Telephone conference with Company
                                               advisors re confirmation issues (.3); telephone
                                               conference with Company directors re same
                                               (.4).




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06/21/21 David L. Eaton                   1.10 Telephone conference with A. Grossi, S.
                                               Serajeddini, K&E team, S. Zelin re mediation
                                               and governance status and issues (.3); review
                                               plan issues presentation (.2); telephone
                                               conference with mediator, S. Serajeddini, S.
                                               Zelin re mediation and Plan (.6).
06/21/21 Dave Gremling                    4.10 Conference with disinterested director
                                               advisors re mediation status (.3); conference
                                               with K&E, A&M, PJT teams re deal status
                                               (.2); conferences with B. Nakhaimousa, K&E
                                               team re disclosure statement (.5); conference
                                               with A&M, PJT, K&E teams re plan issues
                                               (1.3); revise disclosure statement (1.8).
06/21/21 Anthony R. Grossi                4.90 Correspond with K&E team and Company re
                                               legal issues (.5); correspond with K&E team
                                               re emergence timing considerations (.8);
                                               review mediation materials re corporate exit
                                               structure (1.3); review and revise mediation
                                               materials (1.1); review exit structuring
                                               considerations (1.2).
06/21/21 Derek I. Hunter                  6.90 Telephone conference with Company,
                                               Company advisors re mediation status (.5);
                                               telephone conference with Debtor advisors re
                                               case strategy (.5); telephone conference with
                                               A&M, K&E teams re plan-related analyses
                                               (1.0); review, analyze, and research and
                                               memorandum re plan issues (2.7); correspond
                                               with K&E team re same (.6); review, analyze,
                                               and revise definitive document drafts, related
                                               materials (1.4); correspond with K&E team re
                                               same (.2).
06/21/21 Jason T. Jarvis                  3.00 Correspond with M. Young re confirmation
                                               requirements (.1); draft memorandum re same
                                               (1.1); research re same (.6); draft
                                               memorandum re confirmation considerations
                                               re claims (.9); research re same (.3).
06/21/21 Gary J. Kavarsky                 1.00 Review mediation materials (.6); telephone
                                               conference with K&E team, mediator re
                                               mediation (.4).
06/21/21 Gary J. Kavarsky                 0.30 Telephone conference with disinterested
                                               directors re status.




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06/21/21 Tyler R. Knutson                 5.40 Research and analyze precedent, related
                                               documentation and pleadings re same (2.1);
                                               correspond with D. Gremling re same (.3);
                                               review and analyze presentations and
                                               correspondence re certain emergence
                                               considerations, company disclosures (.4);
                                               summarize creditor pleadings re certain
                                               confirmation considerations (1.1); research
                                               and analyze relevant pleadings, memoranda,
                                               materials, and precedent re same (.6); review
                                               and analyze draft motion re plan issues (.5);
                                               research accompanying creditor
                                               documentation, pleadings, and precedent re
                                               same (.4).
06/21/21 Michael Lemm                     5.00 Review and revise summary re plan
                                               considerations (3.8); review materials re same
                                               (.5); telephone conference with N. Binder re
                                               same (.1); telephone conference with J.
                                               Morley re same (.6).
06/21/21 Drew Maliniak                    3.40 Review and revise slides re emergence
                                               timeline (2.7); correspond with A. Grossi and
                                               N. Binder re same (.7).
06/21/21 Joe Morley                       0.80 Telephone conference with K&E team and
                                               external advisors re value allocation.
06/21/21 Brian Nakhaimousa                4.20 Review, chart plan precedent language (2.8);
                                               telephone conference with D. Hunter, D.
                                               Gremling, B. Stone re disclosure statement
                                               (.5); review comments to same (.3); telephone
                                               conferences with B. Stone re same and
                                               objections tracker chart (.4); review
                                               objections tracker chart (.2).
06/21/21 David L. Perechocky              0.30 Correspond with K&E tea re emergence
                                               issues.
06/21/21 Whitney Rosser                   0.60 Correspond with D. Maliniak, N. Binder re
                                               emergence (.3); review materials re same (.3).
06/21/21 Samuel J. Seneczko               2.90 Correspond with J. Jarvis re plan issues
                                               research (.2); analyze research re same (1.4);
                                               research re confirmation issues (1.3).
06/21/21 Steven N. Serajeddini, P.C.      6.60 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (4.4); review and analyze same (2.2).




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06/21/21 Anthony Vincenzo Sexton           2.70 Attend mediation conference (.7); telephone
                                                conference re plan value allocation with
                                                A&M, PJT, M. Slade, K&E team (1.4);
                                                review and revise plan materials (.6).
06/21/21 Benjamin P. Stone                11.20 Review, revise disclosure statement
                                                objections issues list (3.1); review, revise
                                                disclosure statement (3.9); correspond with B.
                                                Nakhaimousa re same (.4); correspond with
                                                D. Gremling re same (.3); correspond with D.
                                                Hunter re same (.2); telephone conference
                                                with D. Hunter, D. Gremling, B.
                                                Nakhaimousa re same (.5); conference with
                                                PJT, A&M, K&E team re value allocation
                                                (1.3); conference with mediator, K&E team re
                                                status update (.2); conference with K&E
                                                team, directors’ advisors re same (.4); draft
                                                summary re same (.7); correspond with B.
                                                Nakhaimousa, W. Thompson re same (.2).
06/21/21 William Thompson                  6.20 Research re plan issues (3.2); revise
                                                memorandum re same (2.4); telephone
                                                conference re directors and advisors (.3); draft
                                                notes re same (.3).
06/21/21 Scott J. Vail                     3.40 Zoom conference with K&E, A&M, and PJT
                                                re work streams and critical deadlines (.2);
                                                Zoom conference with A. Grossi, K&E team,
                                                and PJT re mediation issues (.4); review,
                                                analyze statutory, case law re settlement of
                                                administrative claims (1.3); review, analyze
                                                precedent administrative claim stipulations re
                                                same (1.1); correspond with D. Hunter, M.
                                                Alden re same (.4).
06/21/21 Donna Zamir                       1.30 Review, analyze confirmation related issues
                                                (1.2); further revise tracker re objection
                                                deadlines (.1).




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Date     Name                            Hours Description
06/22/21 Maggie Alden                      5.70 Revise plan related pleading (1.0); telephone
                                                conference with S. Vail re same (.4);
                                                correspond with W. Thompson, K&E team re
                                                research re same (.3); research re same (1.5);
                                                correspond with D. Zamir, K&E team re
                                                research re same (.1); telephone conference
                                                with D. Hunter, K&E team re plan
                                                implementation issues (.8); correspond with
                                                M. C. Young, R. Orren re research re same
                                                (.2); correspond with M. Lemm re
                                                implementation issues (.2); telephone
                                                conference with D. Zamir, J. Jarvis re
                                                research re same (.1); correspond with S.
                                                Vail, D. Hunter re materials re plan related
                                                pleading (.4); telephone conference with N.
                                                Binder re implementation issues (.3); compile
                                                materials re same (.4).
06/22/21 Nicholas A. Binder                6.00 Draft, revise amended plan (1.7); telephone
                                                conference with K&E team, Company
                                                advisors re plan strategy (.7); correspond with
                                                K&E team re same (.3); telephone conference
                                                with D. Hunter re same (.4); telephone
                                                conference with EHP re emergence
                                                structuring (.7); analyze considerations re
                                                same (.8); telephone conference with D.
                                                Maliniak re same (.4); correspond with K&E
                                                team re same (.3); telephone conference with
                                                Company advisors re deal update (.1); review
                                                regulatory considerations re emergence (.1);
                                                telephone conference with S. Briefel re same
                                                (.1); telephone conference with M. Alden re
                                                plan considerations (.4).
06/22/21 David L. Eaton                    0.20 Telephone conference with N. Binder, A.
                                                Grossi, B. Lennon et al re case update.
06/22/21 Dave Gremling                    11.10 Revise disclosure statement (3.9); analyze
                                                background materials re same (3.9);
                                                conference with B. Stone, B. Nakhaimousa re
                                                same (.4); correspond with B. Stone, B.
                                                Nakhaimousa re same (.7); research re same
                                                (2.2).




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06/22/21 Anthony R. Grossi                3.50 Correspond with K&E team and Company re
                                               chapter 11 plan status (.8); review background
                                               re chapter 11 plan research issues (1.4);
                                               correspond with PJT re mediation materials
                                               (.9); correspond with director advisors re
                                               chapter 11 plan status (.4).
06/22/21 Derek I. Hunter                  7.00 Review, analyze, and revise plan, mediation,
                                               and other related analyses (2.4); telephone
                                               conferences with Debtor advisors re DS
                                               analyses and responses (.5); telephone
                                               conference with K&E team re plan analysis
                                               (1.0); correspond with K&E team, Debtor
                                               advisors re disclosure statement exhibits,
                                               related work product (.7); review, analyze,
                                               and revise same (.9); conferences with Debtor
                                               advisors, Company re case, mediation
                                               strategy (1.5).
06/22/21 Jason T. Jarvis                  3.10 Telephone conference with M. Alden, D.
                                               Zamir re confirmation considerations re
                                               claims (.3); correspond with S. Seneczsko re
                                               confirmation requirements (.1); research re
                                               same (1.7); review, revise memorandum re
                                               same (.6); telephone conference with K&E
                                               team re same (.4).
06/22/21 Tyler R. Knutson                 4.00 Research and analyze precedent re plan
                                               structuring (.7); correspond with D. Gremling
                                               re prior memoranda re confirmation
                                               considerations (.3); review and analyze
                                               memorandum re same (1.1); draft
                                               correspondence with T. Sinai re summary of
                                               certain creditor pleadings (.5); conference
                                               with same re same (.4); review prior
                                               communications, proposals, pleadings, and
                                               other materials from certain creditor
                                               constituencies (.3); draft summary re same
                                               (.7).
06/22/21 Michael Lemm                     4.40 Video conference with N. Binder, EHP re
                                               plan considerations (.5); review and revise
                                               summary re plan considerations (2.1);
                                               correspond with A. Grossi, K&E team re
                                               same (.2); video conference with same re
                                               same (.8); compile notes re same (.8).




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06/22/21 Drew Maliniak                    1.50 Research, analyze issues re emergence
                                               timeline, SEC interpretations re emergence
                                               filings (.7); conference with N. Binder and A.
                                               Grossi re emergence considerations (.8).
06/22/21 Joe Morley                       3.60 Telephone conference with K&E team re plan
                                               issues (.8); revise issues summary re same
                                               (2.8).
06/22/21 Brian Nakhaimousa                5.60 Telephonically attend advisor call and take
                                               notes re same (.5); review disclosure
                                               statement precedent (1.0); review, revise
                                               disclosure statement (3.3); multiple telephone
                                               conferences with D. Gremling, B. Stone re
                                               disclosure statement (.8).
06/22/21 Robert Orren                     1.10 Research re plan implementation issues (.8);
                                               correspond with M. Alden and M. Young re
                                               same (.3).
06/22/21 David L. Perechocky              1.30 Analyze emergence structure (.3); telephone
                                               conferences re same (.7); telephone
                                               conference with A. Shourie re regulatory
                                               matters (.3).
06/22/21 Whitney Rosser                   2.70 Conference with D. Maliniak, EHP, K&E
                                               team re emergence (.3); conference with K&E
                                               team re same (.3); review materials re same
                                               (.4); review indenture materials (.3);
                                               correspond with D. Maliniak re same (.1);
                                               research re emergence considerations (1.3).
06/22/21 Samuel J. Seneczko               4.80 Correspond with B. Stone, K&E team re
                                               confirmation issues (.2); review, revise
                                               memorandum re same (2.4); correspond with
                                               W. Thompson, E. Wendorf re plan issues
                                               memorandum (.1); revise memorandum re
                                               same (2.1).
06/22/21 Steven N. Serajeddini, P.C.      7.50 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (5.9); review and analyze same (1.6).
06/22/21 Anthony Vincenzo Sexton          1.60 Telephone conference with M. Slade, A.
                                               Grossi, and others re plan issues (.8); review
                                               plan analysis materials (.8).




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Date     Name                            Hours Description
06/22/21 Benjamin P. Stone                7.80 Review, revise risk factors re disclosure
                                               statement (1.3); review, revise section re same
                                               (2.3); research precedent re same (1.4);
                                               analyze precedent re same (.8); correspond
                                               with D. Gremling re same (.3); correspond
                                               with B. Nakhaimousa re same (.5); compile
                                               order, exhibits re same (1.2).
06/22/21 William Thompson                 1.20 Telephone conference with directors re case
                                               updates (.1); draft summary re same (.7);
                                               research re plan issues (.4).
06/22/21 Scott J. Vail                    8.70 Review, revise motion re plan issues (3.2);
                                               telephone conference and correspond with M.
                                               Alden re same (.3); review, analyze
                                               documentation re facts re same (4.3); review,
                                               analyze precedent orders re same (.7);
                                               correspond with M. Alden, D. Hunter re same
                                               (.2).
06/22/21 Donna Zamir                      6.80 Review materials re certain plan issues (3.3);
                                               analyze same (2.8); correspond with M.
                                               Alden, K&E team re same (.5); video
                                               conference with same re same (.2).
06/22/21 Jeffrey J. Zeiger, P.C.          0.70 Research re plan issues (.2); participate in part
                                               of telephone conference with K&E team re
                                               same (.5).
06/23/21 Maggie Alden                     1.00 Correspond with R. Orren re research re plan
                                               issues (.1); revise memorandum re same (.6);
                                               telephone conference with M. Lemm, N.
                                               Binder re same (.2); correspond with D.
                                               Zamir, J. Jarvis re research re same (.1).
06/23/21 Nicholas A. Binder               2.40 Analyze considerations re amended plan
                                               (1.4); correspond with K&E team re same
                                               (.3); telephone conference with Company
                                               advisors, K&E team re plan process (.5);
                                               telephone conference with Company advisors
                                               re deal status (.2).
06/23/21 Nicholas A. Binder               2.80 Telephone conference with M. Lemm re
                                               settlement considerations (1.2); telephone
                                               conference with M. Alden, M. Lemm re same
                                               (.2); review, revise documents re same (1.4).
06/23/21 Simon Briefel                    0.20 Telephone conference with directors re deal
                                               status.




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06/23/21 David L. Eaton                   1.00 Telephone conference with A. Grossi, S.
                                               Zelin, D. Hunter re board presentation and
                                               status (.5); telephone conference with
                                               mediator, S. Serajeddini re mediation (.5).
06/23/21 Dave Gremling                    1.90 Telephone conference with A&M team re
                                               liquidation analysis (.4); conference with N.
                                               Binder, K&E, PJT, A&M team re deal status
                                               (1.5).
06/23/21 Anthony R. Grossi                4.70 Correspond with K&E team and Company re
                                               legal issues (.6); review background re
                                               mediation materials (1.3); review background
                                               re disclosure statement issues (1.6);
                                               correspond with K&E team re chapter 11 plan
                                               research issues (1.2).
06/23/21 Derek I. Hunter                  2.80 Telephone conference with K&E team, debtor
                                               advisors re deal status and related strategy
                                               (.5); correspond with K&E team re same and
                                               related work product and analyses (.8);
                                               review, analyze, and revise confirmation and
                                               mediation related memorandum and definitive
                                               documents (1.5).
06/23/21 Tyler R. Knutson                 1.60 Review and analyze draft motion re plan
                                               issues (.7); analyze issues re same (.9).
06/23/21 Michael Lemm                     6.80 Draft summary re plan considerations (3.5);
                                               review and revise same (2.5); correspond with
                                               J. Morley re same (.1); telephone conferences
                                               with N. Binder re same (.7).
06/23/21 Joe Morley                       0.80 Review and analyze Deloitte analysis re
                                               emergence structure (.5); revise issues
                                               summary re same (.3).
06/23/21 Brian Nakhaimousa                1.30 Attend telephone conference with K&E team,
                                               PJT, Deloitte re disclosure statement issues
                                               (.8); revise disclosure statement reply (.3);
                                               conference with B. Stone re same (.2).
06/23/21 David L. Perechocky              0.10 Review, correspond re plan issues.
06/23/21 Steven N. Serajeddini, P.C.      7.20 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (4.0); review and analyze same (3.2).
06/23/21 Anthony Vincenzo Sexton          0.70 Attend mediation conference.




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06/23/21 Benjamin P. Stone                1.70 Correspond with D. Gremling re disclosure
                                               statement precedent (.3); correspond with J.
                                               Chang re reviewing, revising disclosure
                                               statement (.3); correspond with document
                                               services re same (.3); review, revise
                                               disclosure statement reply (.6); correspond
                                               with D. Gremling re same (.2).
06/24/21 Maggie Alden                     5.30 Correspond with D. Hunter re logistics re plan
                                               negotiations (.1); telephone conference with
                                               B. Nakhaimousa, K&E team re same (.1);
                                               revise plan related pleading (.5); review,
                                               comment on implementation worksheet (1.4);
                                               correspond with M. Lemm, K&E team re
                                               same (1.1); analyze issues re same (.6);
                                               further revise plan related pleading (1.3);
                                               further revise implementation worksheet (.2).
06/24/21 Nicholas A. Binder               3.90 Telephone conference with Company
                                               advisors re deal status (.2); draft summary re
                                               same (1.4); analyze plan support
                                               considerations (1.3); research, analyze issues
                                               re confirmation (1.0).
06/24/21 Dave Gremling                    8.90 Revise disclosure statement (3.7); analyze
                                               background materials re same (2.9);
                                               correspond with D. Hunter, K&E team re
                                               same (1.4); further revise same (.9).
06/24/21 Anthony R. Grossi                2.90 Correspond with K&E team and Company re
                                               mediation discussions (.9); correspond with
                                               K&E team and PJT re mediation status (.8);
                                               correspond with K&E team re chapter 11 plan
                                               research (1.2).
06/24/21 Derek I. Hunter                  2.00 Telephone conference with K&E re mediation
                                               updates; review, analyze, and revise plan,
                                               mediation, and other related analyses (.9);
                                               correspond with K&E team, Debtor advisors
                                               re same, related analysis and strategy (.3);
                                               correspond with K&E team, EHP re
                                               emergence workstreams (.3); review, analyze,
                                               analyses re same (.5).
06/24/21 Jason T. Jarvis                  1.00 Research re confirmation considerations re
                                               claims (.9); correspond with M. Young re
                                               confirmation requirements (.1).




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06/24/21 Tyler R. Knutson                 1.70 Review K&E team revisions re motion re
                                               confirmation considerations (.1); review K&E
                                               restructuring revisions re same (.2); review
                                               and analyze precedent re same (1.2);
                                               correspond with K&E team re summary of
                                               creditor pleading (.2).
06/24/21 Michael Lemm                     4.70 Review and revise summary re plan
                                               considerations (3.6); review materials re same
                                               (.5); telephone conferences with N. Binder re
                                               same (.4); correspond with A. Sidrys re same
                                               (.1); correspond with D. Hunter re same (.1).
06/24/21 Brian Nakhaimousa                2.50 Draft in-person mediation session planner
                                               (2.2); correspond with K&E team, PJT re
                                               same (.3).
06/24/21 Brian Nakhaimousa                1.50 Telephone conference with D. Gremling, B.
                                               Stone re disclosure statement reply (.7);
                                               telephone conference with B. Stone re same
                                               (.2); revise same (.6).
06/24/21 Samuel J. Seneczko               0.30 Correspond with B. Stone, B. Nakhaimousa,
                                               D. Gremling re disclosure statement issues.
06/24/21 Steven N. Serajeddini, P.C.      4.60 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.7); review and analyze same (.9).
06/24/21 Anthony Vincenzo Sexton          1.00 Telephone conference with A. Grossi re
                                               mediation (.2); review mediation materials
                                               (.8).
06/24/21 Benjamin P. Stone                8.40 Conference with B. Nakhaimousa, D.
                                               Gremling re disclosure statement reply (1.1);
                                               review, revise same (3.9); analyze objections
                                               re same (1.2); further, review revise same
                                               (.8); correspond with B. Nakhaimousa re
                                               same (.3); revise disclosure statement
                                               objection tracker (.9); correspond with D.
                                               Hunter re same (.2).
06/24/21 William Thompson                 2.00 Research re plan confirmation issues.
06/24/21 Scott J. Vail                    0.80 Review, analyze correspondence re claims
                                               (.2); revise talking points re same (.1);
                                               correspond with N. Binder re same (.1);
                                               review, analyze RSA provisions (.3);
                                               correspond with N. Binder re same (.1).
06/24/21 Jeffrey J. Zeiger, P.C.          0.60 Review revised plan issue overview chart,
                                               talking points re same.



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06/25/21 Maggie Alden                     2.00 Revise plan related materials (1.8); telephone
                                               conference with S. Vail re same (.1);
                                               correspond with S. Vail, K&E team re same
                                               (.1).
06/25/21 Bill Arnault                     1.00 Participate in telephone conference with
                                               A&M and K&E team re plan.
06/25/21 Nicholas A. Binder               4.10 Draft analysis re plan support agreement (.8);
                                               analyze considerations re same (.7);
                                               correspond with K&E team re same (.2);
                                               telephone conference with K&E team,
                                               Company advisors re plan process (.3); revise
                                               presentation re emergence considerations (.3);
                                               correspond with K&E team re same (.1);
                                               telephone conference with K&E team,
                                               Company re same (.7); telephone conference
                                               with D. Maliniak re same (.2); revise
                                               amended plan (.8).
06/25/21 David L. Eaton                   0.30 Telephone conference with A. Grossi, D.
                                               Hunter, S. Zelin, K&E team re mediation and
                                               plan issues.
06/25/21 Dave Gremling                    3.00 Conference with K&E, PJT, A&M teams re
                                               deal status (.3); conference with B.
                                               Nakhaimousa re disclosure statement (.4);
                                               conference with K&E team, A&M team re
                                               deal issues (.4); conference with same re plan
                                               value allocation issues (.9); review
                                               background materials re same (1.0).
06/25/21 Anthony R. Grossi                3.40 Correspond with K&E team re chapter 11
                                               plan research (1.4); correspond with K&E
                                               team re exit structuring issues (.9); correspond
                                               with K&E team and Company re exit
                                               structuring issues (1.1).
06/25/21 Derek I. Hunter                  4.70 Telephone conferences and correspond with
                                               Debtor advisors re mediation updates (1.6);
                                               review, analyze, and revise plan, mediation,
                                               and other related analyses (1.3); correspond
                                               with K&E team re same, related analysis and
                                               strategy, emergence workstreams (.7); review,
                                               analyze, analyses re same (1.1).
06/25/21 Jason T. Jarvis                  2.40 Research re confirmation considerations (.7);
                                               research re same (1.2); review, revise
                                               memorandum re same (.3); correspond with
                                               K&E team re confirmation issues (.1);
                                               research re same (.1).


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Date     Name                            Hours Description
06/25/21 Michael Lemm                     7.40 Draft re plan considerations summary (3.7);
                                               review materials re same (3.4); telephone
                                               conference with N. Binder re same (.2);
                                               telephone conference with D. Hunter re same
                                               (.1).
06/25/21 Drew Maliniak                    1.90 Review materials re listing requirements
                                               (1.0); conference with K&E team re
                                               emergence planning issues (.5); prepare for
                                               same (.2); correspond with W. Rosser, K&E
                                               team re same (.2).
06/25/21 Brian Nakhaimousa                5.40 Correspond with D. Hunter, D. Gremling re in
                                               person mediation preparation (.2); multiple
                                               telephone conferences with B. Stone re reply
                                               in support of disclosure statement (1.0);
                                               conference with D. Gremling re same (.3);
                                               revise disclosure statement reply (3.1);
                                               review, summarize precedent form ballots
                                               (.8).
06/25/21 David L. Perechocky              1.60 Telephone conference with A. Shourie re
                                               regulatory issues (.5); telephone conference
                                               with D. Tolley and M. Bryan re emergence
                                               structure (1.1).
06/25/21 Samuel J. Seneczko               1.20 Research, analyze plan, confirmation issues.
06/25/21 Steven N. Serajeddini, P.C.      6.00 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (5.1); review and analyze same (.9).
06/25/21 Benjamin P. Stone                9.20 Revise PSA signature page tracker (.3);
                                               analyze PSA (.5); correspond with N. Binder,
                                               D. Gremling re same (.4); conference with A.
                                               Grossi, K&E team, directors’ advisors re
                                               mediation status update (.2); draft summary re
                                               same (.4); correspond with W. Thompson, B.
                                               Nakhaimousa re same (.2); conference with
                                               D. Gremling re disclosure statement reply
                                               (.1); conference with B. Nakhaimousa re
                                               same (.4); further review, revise same (2.9);
                                               draft case table re same (3.5); correspond with
                                               B. Nakhaimousa re same (.3).
06/25/21 William Thompson                 7.20 Research re plan confirmation issues (2.7);
                                               revise memorandum re same (4.0);
                                               correspond with M. Alden re board
                                               presentation outline (.5).




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06/25/21 Scott J. Vail                    2.60 Review, analyze, and revise motion re plan
                                               issues (1.2); telephone conference, correspond
                                               with M. Alden re same (.3); review, analyze
                                               precedent re same (.9); telephone conference
                                               with D. Hunter re strategy re same (.2).
06/26/21 Maggie Alden                     1.10 Telephone conference with K&E team re next
                                               steps, strategy (.9); correspond with D.
                                               Gremling re DS (.2).
06/26/21 Nicholas A. Binder               3.20 Review work product re releases (.2);
                                               telephone conference with K&E team re plan
                                               process, strategic considerations (1.1);
                                               telephone conference with D. Hunter re
                                               considerations re same (.3); review
                                               memorandum re same (.4); analyze
                                               confirmation considerations (.8); conference
                                               with J. Jarvis re same (.3); correspond with D.
                                               Gremling, K&E team re same (.1).
06/26/21 Dave Gremling                    5.70 Revise disclosure statement (3.3); conference
                                               with K&E team re plan and deal issues (1.1);
                                               review background re same (.8); review
                                               summary re plan value (.5).
06/26/21 Anthony R. Grossi                0.40 Correspond with K&E team re chapter 11
                                               plan issues.
06/26/21 Derek I. Hunter                  3.30 Telephone conference with K&E team re case
                                               strategy (1.0); review, analyze, and revise
                                               analyses and related definitive documents
                                               (1.2); revise work product and proposal
                                               analyses re mediation (.7); correspond with
                                               K&E team, debtor advisors re same (.4).
06/26/21 Jason T. Jarvis                  5.00 Draft memorandum re confirmation
                                               compliance considerations (2.0); research re
                                               same (2.1); telephone conference with N.
                                               Binder re same (.2); research re confirmation
                                               considerations re claims (.7).
06/26/21 Michael Lemm                     1.50 Review and revise plan considerations
                                               summary (.5); telephone conference with A.
                                               Grossi, K&E team re mediation (1.0).
06/26/21 Brian Nakhaimousa                2.40 Revise amended disclosure statement (1.2);
                                               telephone conference with D. Gremling re
                                               same (.1); research plan precedent (1.1).
06/26/21 Whitney Rosser                   0.20 Correspond with D. Maliniak re emergence.
06/26/21 Steven N. Serajeddini, P.C.      1.60 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1); review and analyze same (.6).

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Intelsat S.A.                                               Matter Number:         48457-4
Disclosure Statement, Plan and Confirmation

Date     Name                            Hours Description
06/26/21 Anthony Vincenzo Sexton          1.40 Telephone conference with M. Slade, A.
                                               Grossi, and S. Serajeddini re case status and
                                               analysis (1.1); review and analyze plan
                                               materials (.3).
06/26/21 Benjamin P. Stone                1.40 Review, revise confirmation issue
                                               memorandum (1.0); correspond with W.
                                               Thompson re same (.2); correspond with S.
                                               Seneczko, N. Binder re same (.2).
06/27/21 Bill Arnault                     1.10 Review and revise draft amended disclosure
                                               statement.
06/27/21 Nicholas A. Binder               4.80 Revise plan (.4); correspond with D. Maliniak
                                               re same (.1); further revise plan (1.2);
                                               correspond with D. Hunter re same (.1);
                                               telephone conference with J. Jarvis re
                                               confirmation issues (.4); research, analyze
                                               same (2.0); revise summary re same (.6).
06/27/21 Dave Gremling                    0.80 Revise reply in support of disclosure
                                               statement.
06/27/21 Derek I. Hunter                  0.50 Correspond with K&E team re ongoing plan
                                               analyses, related research.
06/27/21 Jason T. Jarvis                  5.00 Draft summary memorandum re confirmation
                                               compliance considerations (.6); research re
                                               same (1.8); review, revise memorandum re
                                               same (.4); review, revise memorandum re
                                               same (2.1); review, revise summary
                                               memorandum re same (.1);.
06/27/21 Tyler R. Knutson                 0.30 Review and analyze overview of certain plan
                                               issues.
06/27/21 Drew Maliniak                    1.10 Revise plan for delivery of distributions
                                               mechanics at N. Binder request, comparing to
                                               precedent.
06/27/21 Brian Nakhaimousa                0.60 Research plan precedent.
06/27/21 Harker Rhodes                    0.30 Review and revise disclosure statement.
06/28/21 Maggie Alden                     0.40 Telephone conference with PJT, A&M, K&E
                                               team re case status, strategy.
06/28/21 Maggie Alden                     3.30 Correspond with S. Vail re plan related
                                               research (.1); research re same (2.3);
                                               telephone conference with B. Nakhaimousa,
                                               K&E team re plan related pleading (.2);
                                               telephone conference with D. Gremling re
                                               materials re same (.2); telephone conference
                                               with N. Binder re same (.2); correspond with
                                               N. Binder, K&E team re same (.3).

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Date     Name                            Hours Description
06/28/21 Nicholas A. Binder               10.70 Telephone conference with K&E team,
                                                Company advisors re plan process (.4);
                                                review amended plan comments (.4); analyze
                                                same (.4); analyze confirmation issues (3.8);
                                                research re same (2.3); correspond with D.
                                                Hunter, K&E team re same (.8); telephone
                                                conference with M. Lemm, K&E team re
                                                confirmation issues (.6); revise memorandum
                                                re same (1.8); telephone conference with
                                                K&E team, Company advisors re case update
                                                (.2).
06/28/21 David L. Eaton                    0.90 Telephone conference with A. Grossi, S.
                                                Serajeddini, S. Zelin re case update (.5);
                                                telephone conference with A. Grossi, D.
                                                Hunter re mediation and confirmation process
                                                (.4).
06/28/21 Dave Gremling                     6.00 Review, revise disclosure statement (2.7);
                                                correspond with D. Hunter, K&E team re
                                                same (1.1); revise reply in support of same
                                                (1.4); review precedent re same (.8).
06/28/21 Anthony R. Grossi                 3.40 Correspond with K&E team and Company re
                                                legal issues (.6); correspond with K&E team
                                                re disclosure statement issues (1.1); review
                                                background re mediation issues (1.3);
                                                correspond with director advisors re chapter
                                                11 plan status (.4).
06/28/21 Derek I. Hunter                   4.60 Telephone conferences and correspondence
                                                with K&E team, Debtor advisors re mediation
                                                updates (1.5); review, analyze, and revise
                                                plan, mediation, and other related analyses
                                                (1.3); correspond with K&E team re same,
                                                related analysis and strategy, emergence
                                                workstreams (.5); review, analyze, analyses re
                                                same (.8); telephone conference with K&E
                                                team re revisions to definitive docs, related
                                                next steps (.5).




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Date     Name                            Hours Description
06/28/21 Jason T. Jarvis                  10.20 Correspond with N. Binder, K&E team re
                                                confirmation compliance considerations (.1);
                                                correspond with N. Binder, K&E team re
                                                same (.2); research re same (1.9); review,
                                                revise memorandum re same (3.6); telephone
                                                conference with C. McGrail re same (.2);
                                                telephone conference with N. Binder re same
                                                (.1); telephone conference with N. Binder,
                                                K&E team re same (.3); correspond with D.
                                                Gremling re confirmation considerations (.1);
                                                correspond with D. Gremling, K&E team re
                                                same (.2); correspond with D. Gremling, S.
                                                Briefel, B. Stone re same (.3); correspond
                                                with M. O'Hare re same (.8); review, analyze
                                                memorandum re same (.5); review, revise
                                                memorandum re same (.7); research re
                                                confirmation considerations re settlements
                                                (1.2).
06/28/21 Tyler R. Knutson                  8.70 Review and revise summary re motion re
                                                confirmation considerations (2.8); review
                                                comments re same (.4); correspond with C.
                                                Williams re same (.4); research and analyze
                                                precedent, prior drafts, pleadings, other
                                                documentation re same (1.9); review and
                                                analyze revised memorandum re confirmation
                                                issue (.4); review prior proposals, pleadings,
                                                correspondence, materials from creditor
                                                constituencies re certain confirmation
                                                considerations (.7); review and revise
                                                summary re creditor pleadings (.5);
                                                incorporate same into memorandum re certain
                                                confirmation considerations (1.6).
06/28/21 Michael Lemm                      1.90 Analyze materials re MIP (.1); review and
                                                revise talking points re plan considerations
                                                (1.4); telephone conferences with N. Binder
                                                re same (.4).
06/28/21 Drew Maliniak                     2.30 Further research re securities act emergence
                                                issues (2.0); correspond with W. Rosser re
                                                same (.3).




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Date     Name                            Hours Description
06/28/21 Brian Nakhaimousa                2.50 Review plan precedent (.3); review plan
                                               precedent (1.0); attend and take notes on call
                                               with director advisors (.2); review
                                               correspondence from JD (.3); telephone
                                               conference with B. Stone, W. Thompson re
                                               disclosure statement reply precedent chart
                                               (.3); review precedent ballots (.4).
06/28/21 Whitney Rosser                   3.30 Conference with D. Maliniak re emergence
                                               considerations (.2); research re same (3.1).
06/28/21 Laura Saal                       0.60 Research precedent re plan issues.
06/28/21 Samuel J. Seneczko               5.50 Revise memorandum re confirmation issues
                                               (3.1); correspond with B. Stone, W.
                                               Thompson re same (.1); correspond with N.
                                               Binder re confirmation issues research (.1);
                                               review issues re same (1.9); telephone
                                               conference with N. Binder re same (.3).
06/28/21 Steven N. Serajeddini, P.C.      7.20 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (5.5); review and analyze same (1.7).
06/28/21 Benjamin P. Stone                2.40 Analyze confirmation issue memorandum re
                                               voting (.4); correspond with W. Thompson re
                                               same (.2); telephone conference with B.
                                               Nakhaimousa re U.S. Trustee language re
                                               disclosure statement (.2); research same (1.3);
                                               telephone conference with B. Nakhaimousa,
                                               W. Thompson re disclosure statement reply
                                               (.3).
06/28/21 William Thompson                 3.30 Revise memorandum re plan confirmation
                                               issues re comments from D. Hunter (2.1);
                                               telephone conference re mediation updates
                                               (.2); research re case law re disclosure
                                               statement requirements (1.0).
06/28/21 Scott J. Vail                    4.60 Review, analyze memorandum re plan issues
                                               (2.3); review, analyze precedent strategy
                                               frameworks (1.3); draft analysis re same (.8);
                                               correspond with M. Alden re same (.2).
06/28/21 Jeffrey J. Zeiger, P.C.          1.10 Analyze documents re historic transactions re
                                               plan issues.
06/29/21 Maggie Alden                     1.50 Telephone conference with B. Nakhaimousa
                                               re mediation prep (.1); compile materials re
                                               same (.3); correspond with B. Nakhaimousa
                                               re same (.3); review, comment on draft
                                               summary re same (.6); correspond with B.
                                               Nakhaimousa re same (.2).

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Date     Name                            Hours Description
06/29/21 Maggie Alden                      2.80 Review memorandum re plan related
                                                pleadings (2.0); correspond wtih J. Jarvis, R.
                                                M. Roy re same (.5); correspond with B.
                                                Nakhaimousa, K&E team re same (.3).
06/29/21 Bill Arnault                      1.80 Review memorandum re Luxembourg law,
                                                emergence considerations.
06/29/21 Nicholas A. Binder               11.40 Telephone conference with K&E team,
                                                creditor advisors re deal considerations (.7);
                                                revise plan (1.8); telephone conference with
                                                D. Hunter re same (.2); correspond with D.
                                                Hunter, A. Grossi re considerations re same
                                                (.2); analyze confirmation considerations
                                                (2.9); telephone conference with W.
                                                Thompson, J. Jarvis, K&E team re
                                                confirmation research (1.3); telephone
                                                conference with M. Lemm, D. Hunter re
                                                considerations re same (.5); review materials
                                                re same (1.7); draft analysis re same (2.1).
06/29/21 Dave Gremling                     6.00 Analyze issues re mediation proposals (.8);
                                                revise disclosure statement (2.7); revise reply
                                                in support of same (1.8); correspond with B.
                                                Stone, B. Nakhaimousa re same (.7).
06/29/21 Anthony R. Grossi                 1.70 Correspond with K&E team and Company re
                                                chapter 11 plan issues (.6); correspond with
                                                K&E team re mediation materials (1.1).
06/29/21 Derek I. Hunter                   4.90 Telephone conferences and correspond with
                                                Debtor advisors re mediation updates (.9);
                                                review, analyze, and revise plan, mediation,
                                                and other related analyses (2.0); correspond
                                                with K&E team re same, related analysis and
                                                strategy, emergence workstreams (.7); review,
                                                analyze, analyses re same (1.3).




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Date     Name                            Hours Description
06/29/21 Jason T. Jarvis                  12.10 Correspond with N. Binder, D. Gremling re
                                                confirmation considerations (.2); correspond
                                                with N. Binder, D. Gremling re same (.3);
                                                review, revise memorandum re same (.8);
                                                correspond with D. Zamir re confirmation
                                                considerations (.1); draft memorandum re
                                                same (2.1); review, revise same (2.7);
                                                correspond with N. Binder, K&E team re
                                                emergence considerations (.2); draft summary
                                                memorandum re same (.2); research re same
                                                (1.0); review, analyze memorandum re same
                                                (.4); review, revise memorandum re same
                                                (4.0); telephone conference with N. Binder re
                                                same (.1).
06/29/21 Tyler R. Knutson                  9.90 Review and revise memorandum re certain
                                                confirmation considerations (2.2); research
                                                and analyze pleadings, precedent, other
                                                documentation re same (.9); compile
                                                materials re confirmation considerations for
                                                mediation directory (1.4); correspond with B.
                                                Nakhaimousa, K&E team re same (.3); review
                                                and revise presentation re certain
                                                confirmation-related proofs of claim (.5);
                                                review pleadings re objections to certain
                                                proofs of claim (1.6); review and revise
                                                summary of arguments re motion re certain
                                                confirmation considerations per C. Williams,
                                                K&E Restructuring Team feedback (1.2);
                                                review and analyze precedent, pleadings,
                                                additional materials re same (.6); further
                                                review and revise same per D. Gremling
                                                feedback (.4); review draft motion re potential
                                                revisions (.8).
06/29/21 Michael Lemm                      8.30 Compile materials re creditor negotiations
                                                (.2); draft memorandum outline re plan
                                                considerations (2.0); review materials re same
                                                (1.1); research re same (1.2); telephone
                                                conference with D. Hunter, N. Binder re same
                                                (.1); telephone conferences with N. Binder re
                                                same (1.3); review and revise talking points re
                                                plan considerations (2.2); telephone
                                                conference with D. Hunter re same (.1);
                                                correspond with J. Morley re same (.1).
06/29/21 Drew Maliniak                     1.00 Review, revise plan re securities matter re
                                                emergence mechanics.


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Date     Name                            Hours Description
06/29/21 Brian Nakhaimousa                5.30 Draft, review, revise, table re key mediation
                                               documents (3.6); correspond with K&E team
                                               re same (.5); compile same (1.2).
06/29/21 Whitney Rosser                   6.00 Research issues re emergence considerations
                                               (4.0); correspond with D. Maliniak re same
                                               (.7); draft memorandum re same (.5); further
                                               research same (.8).
06/29/21 Samuel J. Seneczko               4.00 Analyze research re confirmation issues (2.3);
                                               research plan issues re same (1.1); correspond
                                               with N. Binder, W. Thompson re same (.3);
                                               telephone conference with M. Lemm, N.
                                               Binder re same (.3).
06/29/21 Steven N. Serajeddini, P.C.      7.80 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (5.1); review and analyze same (2.7).
06/29/21 Benjamin P. Stone                0.70 Conference with A. Grossi, K&E team,
                                               directors advisors re mediation status update
                                               (.2); correspond with N. Binder re PSA
                                               holdings (.2); analyze same (.3).
06/29/21 William Thompson                 8.10 Draft case summaries re disclosure statement
                                               approval requirements (2.1); telephone
                                               conference re mediation updates (.2); research
                                               re emergence issues (4.0); correspond with N.
                                               Binder re same (1.8).
06/30/21 Maggie Alden                     6.00 Draft plan related order (2.9); correspond with
                                               B. Stone, K&E team re background materials
                                               re same (.1); review research re same (1.0);
                                               correspond with E. Wendorf, K&E team re
                                               same (.2); revise plan related order(1.8).
06/30/21 Bill Arnault                     2.20 Research re Luxembourg law re emergence
                                               considerations (.3); correspond with D.
                                               Hunter, N. Binder, A. Grossi M. Slade, and
                                               M. Lemm re same (1.9).




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Date     Name                            Hours Description
06/30/21 Nicholas A. Binder               10.00 Analyze plan considerations (1.4); revise plan
                                                (.5); analyze confirmation issues (3.3);
                                                research re same (1.4); telephone conference
                                                with W. Thompson, M. Lemm, K&E team re
                                                same (.7); correspond with K&E team, PJT re
                                                creditor debt holdings (.3); telephone
                                                conference with J. Morley re plan structure
                                                (.3); telephone conference with M. Lemm,
                                                EHP, K&E team re confirmation and
                                                international law considerations (1.0); revise
                                                summary re same (.4); research, analyze re
                                                same (.7).
06/30/21 David L. Eaton                    0.10 Advisor telephone conference with A. Grossi,
                                                D. Hunter et al re plan issues.
06/30/21 Dave Gremling                     4.60 Revise disclosure statement (1.4); correspond
                                                with K&E team, other debtor advisors re
                                                same (1.2); analyze liquidation analysis issues
                                                (1.1); correspond with A&M, K&E teams re
                                                same (.7); revise reply in support of
                                                disclosure statement (.2).
06/30/21 Anthony R. Grossi                14.20 Review background re mediation materials
                                                (2.2); attend mediation session (12.0).
06/30/21 Derek I. Hunter                  10.00 Participate in all-day plan mediation with
                                                stakeholders (8.0); review, analyze, and revise
                                                materials and proposals re same (1.5);
                                                conference with K&E team, management re
                                                same (.5).
06/30/21 Jason T. Jarvis                   9.70 Correspond with N. Binder, D. Gremling re
                                                confirmation considerations (.2); research re
                                                same (1.9); review, analyze memorandum re
                                                same (1.9); telephone conference with N.
                                                Binder re same (.1); correspond with K&E
                                                team re confirmation considerations (.1);
                                                research re same (3.0); research re emergence
                                                considerations (1.8); review, revise
                                                memorandum re same (.7).
06/30/21 Tyler R. Knutson                  5.10 Revise summary of motion re confirmation
                                                considerations (2.7); research and analyze
                                                precedent, pleadings, additional
                                                documentation re same (1.6); review and
                                                analyze correspondence re same (.6); review
                                                memorandum re confirmation issue (.2).




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Date     Name                            Hours Description
06/30/21 Michael Lemm                      9.20 Review and revise talking points re plan
                                                considerations (.8); draft summaries re
                                                Luxembourg considerations re plan (3.7);
                                                review materials re same (2.1); telephone
                                                conferences with N. Binder re same (1.0);
                                                telephone conference with N. Binder, EHP re
                                                same (.8); correspond with D. Hunter, K&E
                                                team, EHP re same (.1); telephone conference
                                                with N. Binder, W. Thompson re
                                                memorandum re plan considerations (.4);
                                                correspond with W. Thompson re same (.3).
06/30/21 Drew Maliniak                     0.70 Review, revise plan re securities issues.
06/30/21 Brian Nakhaimousa                 4.30 Revise disclosure statement exhibit precedent
                                                chart (2.9); review further precedent re same
                                                (1.4).
06/30/21 Whitney Rosser                    0.90 Research issues re emergence considerations.
06/30/21 Samuel J. Seneczko                0.10 Correspond with B. Nakhaimousa, D.
                                                Gremling, B. Stone re ballots, notices.
06/30/21 Steven N. Serajeddini, P.C.      11.20 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (2.6); review and analyze same (1.1);
                                                participate in mediation re same (7.5).
06/30/21 Anthony Vincenzo Sexton          11.00 Attend mediation.
06/30/21 Michael B. Slade                  6.00 Participate in mediation (2.1); further
                                                participate in same (3.9).
06/30/21 Benjamin P. Stone                 7.80 Conference with B. Nakhaimousa re
                                                disclosure statement reply (.3); conference
                                                with B. Nakhaimousa re opt out provisions re
                                                same (.4); review, revise same (3.9); analyze
                                                objections re same (2.3); research data room
                                                re same (.9).
06/30/21 William Thompson                  6.80 Further research re plan considerations (2.1);
                                                draft memorandum re same (3.9); correspond
                                                with N. Binder, M. Lemm, and EHP team re
                                                same (.8).
06/30/21 William Thompson                  1.00 Telephonically attend hearing re bankruptcy
                                                re exclusivity, plan consideration precedent.
06/30/21 Scott J. Vail                     2.10 Review, analyze revised memorandum re plan
                                                issues (1.1); draft analysis re same (.8);
                                                correspond with D. Hunter, M. Alden, E.
                                                Wendorf re same (.2).




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Date     Name                            Hours Description
06/30/21 Donna Zamir                      3.00 Review materials re plan issues (2.2); draft
                                               summary re same (.6); correspond with J.
                                               Jarvis re same (.2).

Total                                  1,612.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048245
                                                                               Client Matter: 48457-5

In the Matter of Financing and Cash Collateral




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 71,267.50
Total legal services rendered                                                                                  $ 71,267.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Financing and Cash Collateral




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          0.50     765.00            382.50
Peter Bang                                            1.50     995.00          1,492.50
Nicholas A. Binder                                   24.50     765.00         18,742.50
Bradley Cho                                           0.60     875.00            525.00
Chad Davis                                            6.40   1,185.00          7,584.00
Dave Gremling                                         1.80     765.00          1,377.00
Anthony R. Grossi                                     7.60   1,220.00          9,272.00
Erik Hepler                                           0.20   1,495.00            299.00
Derek I. Hunter                                       7.30   1,070.00          7,811.00
Library Factual Research                              1.30     390.00            507.00
Brian Nakhaimousa                                    23.50     625.00         14,687.50
Robert Orren                                          2.00     460.00            920.00
David Reisman                                         3.00     285.00            855.00
Benjamin P. Stone                                    10.90     625.00          6,812.50

TOTALS                                               91.10                   $ 71,267.50




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Financing and Cash Collateral


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Nicholas A. Binder               0.10 Correspond with B. Stone re NDA.
06/01/21 Benjamin P. Stone                0.70 Correspond with N. Binder re ad hoc group
                                               NDA (.2); compile execution version re same
                                               (.3); correspond with creditors re same (.2).
06/03/21 Maggie Alden                     0.50 Correspond with K&E restructuring team,
                                               Akin re DIP amendment.
06/03/21 Nicholas A. Binder               0.20 Revise DIP amendment.
06/03/21 Bradley Cho                      0.30 Review existing UCC filings for Intelsat and
                                               collateral list circulated by WT team re
                                               current filings.
06/03/21 Anthony R. Grossi                0.50 Correspond with Akin re DIP issues.
06/03/21 Anthony R. Grossi                0.70 Correspond with K&E team re DIP issues.
06/03/21 Derek I. Hunter                  0.20 Correspond with K&E team, creditors’
                                               advisors re DIP considerations and timing.
06/04/21 Derek I. Hunter                  0.20 Correspond with K&E team, PJT re DIP-
                                               related analysis.
06/04/21 Benjamin P. Stone                0.70 Compile execution version NDA (.3);
                                               correspond with N. Binder re same (.2);
                                               correspond with creditor re same (.2).
06/07/21 Nicholas A. Binder               1.80 Analyze considerations re DIP financing
                                               (1.5); correspond with K&E team re same
                                               (.3).
06/07/21 Chad Davis                       0.20 Review amendment to DIP.
06/07/21 Derek I. Hunter                  0.20 Telephone conference with N. Binder re DIP
                                               financing considerations.
06/08/21 Nicholas A. Binder               1.30 Analyze DIP financing considerations (.8);
                                               telephone conference with D. Hunter re same
                                               (.2); correspond with A. Grossi re same (.3).
06/08/21 Dave Gremling                    0.50 Analyze cash management issue.
06/08/21 Anthony R. Grossi                0.70 Review background re DIP issues.
06/08/21 Derek I. Hunter                  0.40 Correspond with K&E team, PJT re DIP-
                                               related analysis.
06/09/21 Nicholas A. Binder               2.90 Review DIP Order (.3); analyze
                                               considerations re DIP amendment (1.6);
                                               telephone conference with C. Davis re same
                                               (.6); telephone conference with B. Stone re
                                               case considerations, DIP financing precedent
                                               (.4).


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Intelsat S.A.                                               Matter Number:         48457-5
Financing and Cash Collateral

Date     Name                            Hours Description
06/09/21 Chad Davis                       1.60 Review DIP credit agreement re amendment.
06/09/21 Dave Gremling                    1.10 Correspond with K&E team re noticing
                                               requirements re cash management system.
06/09/21 Anthony R. Grossi                0.60 Review background re DIP issues.
06/09/21 Derek I. Hunter                  0.30 Review, analyze DIP amendment analysis.
06/09/21 Benjamin P. Stone                1.70 Conference with N. Binder re DIP (.4);
                                               correspond with same re DIP precedent,
                                               motion (.3); compile creditors' last executed
                                               NDAs (.7); correspond with N. Binder re
                                               same (.3).
06/10/21 Nicholas A. Binder               1.10 Revise DIP amendment (1.0); correspond
                                               with C. Davis, A. Grossi re same (.1).
06/10/21 Bradley Cho                      0.30 Review draft UCC-3 continuation
                                               documentation (.1); analyze same (.2).
06/10/21 Chad Davis                       0.40 Revise amendment to DIP credit agreement.
06/10/21 Anthony R. Grossi                0.40 Correspond with K&E team re DIP issues.
06/10/21 Derek I. Hunter                  0.20 Correspond with K&E team, PJT re DIP-
                                               related analysis.
06/10/21 Benjamin P. Stone                0.20 Correspond with M. Morine re cash
                                               management orders.
06/11/21   Anthony R. Grossi              0.30 Review background re DIP issues.
06/15/21   Peter Bang                     0.20 Review UCC continuation statements.
06/15/21   Anthony R. Grossi              0.70 Review background re DIP issues.
06/15/21   David Reisman                  1.00 Review and comment on UCC-3 continuation
                                               drafts at the request of P. Bang.
06/15/21 Benjamin P. Stone                0.50 Compile execution version re NDA (.3);
                                               correspond with N. Binder re same (.1);
                                               correspond with creditor re same (.1).
06/16/21 Nicholas A. Binder               1.30 Analyze considerations re DIP financing
                                               (1.2); correspond with K&E team re same
                                               (.1).
06/16/21 Dave Gremling                    0.20 Correspond with K&E team re cash
                                               management issue.
06/16/21 Anthony R. Grossi                0.70 Review background re DIP issues.
06/16/21 Derek I. Hunter                  0.80 Correspond with K&E team re DIP analysis,
                                               funding considerations.
06/16/21 Brian Nakhaimousa                0.80 Review DIP materials (.7); correspond with
                                               N. Binder re same (.1).
06/16/21 Robert Orren                     0.40 Distribute to N. Binder and B. Nakhaimousa
                                               precedent re DIP amendment motion (.2);
                                               correspond with same re same (.2).

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Financing and Cash Collateral

Date     Name                            Hours Description
06/17/21 Nicholas A. Binder               3.20 Analyze considerations re DIP financing
                                               (2.5); telephone conference with K&E team,
                                               Company advisors re same (.4); telephone
                                               conference with D. Hunter re same (.3).
06/17/21 Chad Davis                       1.70 Telephone conference with advisors re DIP
                                               (.5); review DIP credit agreement re
                                               amendment and transaction question (.6);
                                               review credit agreement re lease question
                                               from Company (.6).
06/17/21 Anthony R. Grossi                0.70 Correspond with K&E team re DIP issues.
06/17/21 Erik Hepler                      0.20 Analyze issues re financing considerations.
06/17/21 Derek I. Hunter                  1.50 Telephone conference with Company, K&E,
                                               and PJT teams re DIP related analysis (.6);
                                               review, analyze issues re same (.9).
06/17/21 Brian Nakhaimousa                6.20 Draft declarations re pleadings re DIP
                                               financing (2.4); draft pleadings re DIP
                                               financing (3.8).
06/17/21 Robert Orren                     1.60 Draft DIP amendment motion (1.2); research
                                               precedent re DIP amendment declaration (.2);
                                               correspond with B. Nakhaimousa re same
                                               (.2).
06/18/21 Nicholas A. Binder               0.30 Analyze considerations re DIP financing.
06/18/21 Chad Davis                       0.70 Telephone conference with debtor advisors re
                                               DIP issues (.5); review credit agreement re
                                               amendment question (.2).
06/18/21 Brian Nakhaimousa                5.20 Revise pleadings re DIP financing (3.9);
                                               review same (.2); further revise same (1.1).
06/18/21 Benjamin P. Stone                0.40 Conference with B. Nakhaimousa re DIP
                                               financing.
06/19/21 Nicholas A. Binder               0.80 Analyze considerations re DIP financing.
06/19/21 Brian Nakhaimousa                1.10 Revise DIP upsize declarations.
06/19/21 Benjamin P. Stone                6.40 Research precedent DIP NDAs (2.6);
                                               correspond with B. Nakhaimousa re same
                                               (.4); draft same (1.8); correspond with N.
                                               Binder re same (.2); review, revise same (1.4).
06/20/21 Nicholas A. Binder               4.20 Draft, revise DIP amendment motion (3.0);
                                               analyze considerations re same (1.2).
06/20/21 Brian Nakhaimousa                2.10 Revise pleadings re DIP financing (2.0);
                                               correspond with N. Binder re same (.1).
06/21/21 Peter Bang                       0.30 Review drafts of UCC-3 continuation
                                               statements.


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Financing and Cash Collateral

Date     Name                            Hours Description
06/21/21 Nicholas A. Binder               3.10 Draft, revise DIP financing amendment
                                               pleadings (2.2); telephone conference with D.
                                               Hunter, K&E team re DIP financing
                                               considerations (.3); telephone conference with
                                               K&E team, PJT re same (.6).
06/21/21 Derek I. Hunter                  1.20 Telephone conference and correspond with
                                               K&E finance team, A&M re DIP related
                                               inquiries (.9); review, analyze and revise
                                               analysis re same (.3).
06/21/21 Brian Nakhaimousa                3.90 Revise pleadings re DIP financing (1.0);
                                               research case law re same (2.9).
06/22/21   Peter Bang                     0.40 Review UCC-3 continuation statements.
06/22/21   Nicholas A. Binder             0.40 Analyze considerations re DIP financing.
06/22/21   Chad Davis                     0.50 Review DIP amendment.
06/22/21   Anthony R. Grossi              0.60 Review background re DIP issues.
06/22/21   Library Factual Research       1.30 Research filings on amending DIP credit
                                               agreement.
06/22/21 Brian Nakhaimousa                2.20 Review case law re pleadings re DIP
                                               financing (.5); revise re same (.2); revise
                                               declaration re same (1.5).
06/22/21 David Reisman                    1.00 Review and comment on UCC-3
                                               continuation.
06/23/21 Nicholas A. Binder               1.10 Telephone conference with K&E team,
                                               Company re DIP financing considerations
                                               (.1); prepare for same (.3); correspond with D.
                                               Hunter, A. Grossi re same (.2); analyze same
                                               (.3) correspond with PJT team re same (.2).
06/23/21 Chad Davis                       0.40 Telephone conference with K&E working
                                               group re DIP.
06/23/21 Derek I. Hunter                  0.60 Correspond with K&E team re DIP analysis,
                                               funding considerations.
06/23/21 Brian Nakhaimousa                0.60 Revise pleadings re DIP financing.
06/24/21 Derek I. Hunter                  0.50 Correspond with K&E team, PJT re DIP-
                                               related analysis.
06/25/21 Peter Bang                       0.30 Revise, file UCC-3 continuation statements.
06/25/21 Nicholas A. Binder               0.90 Analyze considerations re DIP financing (.4);
                                               revise DIP financing amendment (.2);
                                               correspond with D. Hunter re same (.3).
06/25/21 Derek I. Hunter                  0.20 Correspond with K&E team re DIP analysis,
                                               funding considerations.



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Financing and Cash Collateral

Date     Name                            Hours Description
06/25/21 Brian Nakhaimousa                0.10 Correspond with D. Hunter re loan agreement
                                               documents and save up re same.
06/25/21 David Reisman                    0.50 Review UCC-3 continuations (.4); file same
                                               (.1).
06/26/21 Nicholas A. Binder               0.20 Correspond with A. Grossi, D. Hunter re DIP
                                               amendment.
06/28/21 Nicholas A. Binder               0.50 Review DIP amendment (.3); correspond with
                                               K&E team, creditor advisors re same (.2).
06/28/21   Chad Davis                     0.10 Review DIP amendment.
06/28/21   Anthony R. Grossi              0.80 Correspond with K&E team re DIP issues.
06/29/21   Peter Bang                     0.10 Review UCC-3 continuation statements.
06/29/21   Nicholas A. Binder             1.10 Telephone conference with PJT, K&E team re
                                               DIP financing considerations (.5); analyze
                                               same (.4); correspond with Company, K&E
                                               team re same (.2).
06/29/21 Chad Davis                       0.80 Telephone conference with K&E team, debtor
                                               advisors re DIP (.6); review DIP amendment
                                               (.2).
06/29/21 Anthony R. Grossi                0.90 Review background re DIP issues.
06/29/21 Derek I. Hunter                  1.00 Telephone conference and correspond with
                                               K&E finance team, A&M re DIP related
                                               inquiries (.6); review, analyze and revise
                                               analysis re same (.4).
06/30/21 Peter Bang                       0.20 Review UCC-3 continuation statements (.1);
                                               draft correspondence re same (.1).
06/30/21 Brian Nakhaimousa                1.30 Revise declaration re pleadings re DIP
                                               financing.
06/30/21 David Reisman                    0.50 Review, revise UCC-3 continuations.
06/30/21 Benjamin P. Stone                0.30 Correspond with M. Morine re May cash
                                               management reports.

Total                                    91.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048246
                                                                               Client Matter: 48457-6

In the Matter of Automatic Stay Issues




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 12,278.50
Total legal services rendered                                                                                  $ 12,278.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-6
Automatic Stay Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        6.90      765.00          5,278.50
Tyler R. Knutson                                     0.10      625.00             62.50
Brian Nakhaimousa                                    6.50      625.00          4,062.50
Benjamin P. Stone                                    4.60      625.00          2,875.00

TOTALS                                               18.10                   $ 12,278.50




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Intelsat S.A.                                               Matter Number:         48457-6
Automatic Stay Issues


                                  Description of Legal Services

Date     Name                            Hours Description
06/02/21 Dave Gremling                    3.10 Research re automatic stay issues (1.5);
                                               correspond with B. Stone, K&E team re same
                                               (.4); conference with B. Nakhaimousa, K&E
                                               team re same (.4); review motion re same (.8).
06/02/21 Brian Nakhaimousa                5.40 Correspond with D. Gremling, K&E team re
                                               research re automatic stay violation issue (.5);
                                               telephone conferences with D. Gremling, B.
                                               Stone, W. Thompson re same (.8); research
                                               same (3.0); summarize same (1.1).
06/03/21 Dave Gremling                    1.60 Revise summary re automatic stay issue (.9);
                                               conference with K&E team re same (.3);
                                               correspond with K&E team re same (.4).
06/03/21 Brian Nakhaimousa                0.80 Telephone conference with W. Thompson, B.
                                               Stone re automatic stay issue (.3); review
                                               summary re same (.3); correspond with B.
                                               Stone, W. Thompson re same (.2).
06/03/21 Benjamin P. Stone                4.60 Draft bankruptcy status update re stayed
                                               litigation (2.9); correspond with D. Gremling
                                               re same (.3); review, revise same (.9);
                                               correspond with D. Hunter re same (.3);
                                               correspond with local counsel re same (.2).
06/04/21 Dave Gremling                    1.10 Conference with K&E team re automatic stay
                                               issues (.3); analyze same (.8).
06/04/21 Brian Nakhaimousa                0.30 Telephone conference with D. Hunter, K&E
                                               team re automatic stay issue.
06/09/21 Dave Gremling                    1.10 Review, analyze motion to enforce automatic
                                               stay (.7); conference with K&E team re same
                                               (.4).
06/09/21 Tyler R. Knutson                 0.10 Review pleadings re stay related issues.

Total                                     18.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048247
                                                                               Client Matter: 48457-8

In the Matter of Executory Contracts and Unexpired Leases




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 61,934.50
Total legal services rendered                                                                                  $ 61,934.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-8
Executory Contracts and Unexpired Leases




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Bill Arnault                                          2.20   1,245.00          2,739.00
Dave Gremling                                         3.60     765.00          2,754.00
Anthony R. Grossi                                     1.70   1,220.00          2,074.00
Gary J. Kavarsky                                     22.20     995.00         22,089.00
Casey McGushin                                        1.00   1,095.00          1,095.00
Brian Nakhaimousa                                     6.50     625.00          4,062.50
Michael B. Slade                                      0.30   1,445.00            433.50
Benjamin P. Stone                                    18.60     625.00         11,625.00
William Thompson                                     19.20     625.00         12,000.00
Donna Zamir                                           4.90     625.00          3,062.50

TOTALS                                               80.20                   $ 61,934.50




                                              2
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Intelsat S.A.                                               Matter Number:         48457-8
Executory Contracts and Unexpired Leases


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Dave Gremling                    0.20 Analyze issues re Company executory
                                               contracts.
06/01/21 Anthony R. Grossi                1.30 Review background re customer contracts.
06/01/21 Gary J. Kavarsky                 1.20 Review, revise draft research re executory
                                               contracts (.7); correspond with A&M,
                                               Company re same (.3); correspond with K&E
                                               team re same (.2).
06/01/21 Brian Nakhaimousa                2.40 Review, revise reply in support of contract
                                               rejection.
06/02/21 Dave Gremling                    0.30 Analyze issues re Company executory
                                               contracts.
06/02/21 Gary J. Kavarsky                 1.30 Draft letter to contract party (.4); review
                                               precedent re same (.2); review contracts re
                                               same (.5); correspond with A. Grossi re same
                                               (.2).
06/02/21 Gary J. Kavarsky                 1.00 Review contracts re review of termination
                                               clauses.
06/02/21 Brian Nakhaimousa                1.80 Review, revise objection reply re contract
                                               party (1.7); correspond with G. Kavarsky, W.
                                               Thompson re same (.1).
06/02/21 Benjamin P. Stone                8.10 Analyze vendor contract issue (.8); telephone
                                               conference with B. Nakhaimousa re same
                                               (.1); research case law re subject matter
                                               jurisdiction re same (2.9); research case law
                                               re forum selection clause re same (2.2); draft
                                               summary re same (1.6); correspond with W.
                                               Thompson, B. Nakhaimousa re same (.2);
                                               telephone conference with D. Gremling, B.
                                               Nakhaimousa re same (.3).
06/02/21 William Thompson                 0.30 Correspond with B. Nakhaimousa re
                                               bankruptcy updates re contract party (.1);
                                               telephone conference with B. Nakhaimousa re
                                               contract party rejection (.2).
06/02/21 William Thompson                 1.20 Conference with B. Nakhaimousa, B. Stone re
                                               research re jurisdiction re executory contract
                                               (.4); correspond with B. Nakhaimousa, B.
                                               Stone re same (.6); telephone conference with
                                               B. Nakhaimousa re contract party rejection
                                               (.2).



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Executory Contracts and Unexpired Leases

Date     Name                            Hours Description
06/03/21 Benjamin P. Stone                3.90 Conference with D. Gremling, B.
                                               Nakhaimousa, W. Thompson re analysis re
                                               contract rejection issue (.5); conference with
                                               W. Thompson re same (.2); research case law
                                               re same (2.9); correspond with W. Thompson,
                                               B. Nakhaimousa re same (.3).
06/03/21 William Thompson                 6.50 Research re executory contract (4.0); draft
                                               summary re same (1.9); correspond with D.
                                               Gremling and D. Hunter re same (.6).
06/04/21 Gary J. Kavarsky                 0.30 Telephone conference with B. Arnault re
                                               executory contracts.
06/04/21 Benjamin P. Stone                0.60 Analyze summary re vendor contract issue
                                               (.4); conference with D. Hunter, K&E team re
                                               same (.2).
06/07/21 Gary J. Kavarsky                 1.00 Review research re executory contracts.
06/07/21 Brian Nakhaimousa                0.80 Review precedent re reply in support of
                                               rejection (.6); correspond with W. Thompson
                                               re same (.1); conference with W. Thompson
                                               re same (.1).
06/07/21 William Thompson                 3.00 Research re contract rejection standards (1.6);
                                               research re state law contract damages (1.4).
06/08/21 Gary J. Kavarsky                 2.10 Telephone conference with A. Grossi, B.
                                               Arnault re executory contracts (.3);
                                               correspond with W. Thompson re same (.2);
                                               review, revise research re same (.5);
                                               correspond with A&M re ongoing analysis
                                               (.3); correspond with B. Nakhaimousa re
                                               same (.1); correspond with D. Zamir re
                                               contract analysis (.3); review contract re same
                                               (.4).
06/08/21 Brian Nakhaimousa                0.30 Telephone conference with W. Thompson re
                                               objection reply.
06/08/21 Benjamin P. Stone                1.60 Conference with D. Gremling, A&M,
                                               Company re vendor issues (.2); review
                                               agreement re same (.4); correspond with D.
                                               Gremling re same (.3); correspond with
                                               Company re same (.3); review purchase order
                                               re same (.2); correspond with Company re
                                               unpaid invoices (.2).
06/08/21 William Thompson                 2.60 Research re state law contract damages (2.4);
                                               correspond with B. Nakhaimousa re contract
                                               rejection reply (.2).



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Executory Contracts and Unexpired Leases

Date     Name                            Hours Description
06/09/21 Dave Gremling                    1.30 Analyze issues re Company executory
                                               contracts (.7); research re same (.6).
06/09/21 Gary J. Kavarsky                 2.10 Review contract re executory analysis (1.8);
                                               correspond with D. Gremling re same (.3).
06/09/21 Brian Nakhaimousa                1.20 Revise reply re contract rejection (1.1);
                                               correspond with W. Thompson re same (.1).
06/09/21 Donna Zamir                      4.00 Review Company executory contracts (1.9);
                                               analyze issues re same (1.4); correspond with
                                               D. Gremling, G. Kavarsky re same (.7).
06/10/21 Dave Gremling                    0.20 Analyze issues re executory contracts.
06/10/21 Gary J. Kavarsky                 1.70 Correspond with D. Zamir re executory
                                               contracts (.2); correspond with K&E team re
                                               contract negotiations (.3); review, revise
                                               research re same (1.2).
06/10/21 William Thompson                 4.60 Revise contract rejection standards (1.4);
                                               revise reply re contract objection (3.2).
06/10/21 Donna Zamir                      0.90 Analyze issues re Company executory
                                               contract (.6); correspond with G. Kavarsky,
                                               D. Gremling re same (.3).
06/11/21 Dave Gremling                    1.60 Analyze issues re Company executory
                                               contracts (.7); correspond with K&E team,
                                               A&M re same (.4); conference with
                                               counterparty counsel re same (.5).
06/11/21 Gary J. Kavarsky                 1.20 Correspond with Company, A. Grossi re
                                               contract analysis (.5); review, revise research
                                               re same (.7).
06/13/21 Bill Arnault                     1.10 Prepare for telephone conference with
                                               Company re contract rejection.
06/13/21 Gary J. Kavarsky                 1.60 Draft summary re contract issues (1.2);
                                               correspond with K&E team re same (.2);
                                               correspond with K&E team re conference re
                                               same (.2).
06/13/21 Michael B. Slade                 0.30 Review, revise order (.2); correspond with
                                               K&E team re same (.1).
06/14/21 Bill Arnault                     0.50 Participate in telephone conference with A.
                                               Grossi, C. McGushin, and G. Kavarsky re
                                               contract rejection strategy.
06/14/21 Bill Arnault                     0.60 Participate in telephone conference with
                                               Company, G. Kavarsky, and C. McGushin re
                                               contract rejection strategy.




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Executory Contracts and Unexpired Leases

Date     Name                            Hours Description
06/14/21 Gary J. Kavarsky                 1.80 Telephone conferences with K&E team,
                                               Company re rejection status (.8); review,
                                               revise issues re same (1.0).
06/14/21 Casey McGushin                   1.00 Participate in telephone conference with B.
                                               Arnault, A. Grossi, and G. Kavarsky re
                                               executory contract rejection objection (.5);
                                               participate in telephone conference with B.
                                               Arnault, K&E team, and Company re
                                               executory contract rejection objection (.5).
06/15/21 Gary J. Kavarsky                 1.10 Review issues re contract rejection.
06/16/21 Gary J. Kavarsky                 3.00 Review issues re contract rejection (.5);
                                               telephone conference with opposing counsel
                                               re objection to rejection (.5); review issues re
                                               same (1.0); review, revise research re same
                                               (.7); correspond with Company re same (.3).
06/16/21 William Thompson                 0.40 Telephone with A. Grossi, G. Kavarsky and
                                               opposing counsel re contract rejection (.3);
                                               research bankruptcy updates re contract party
                                               (.1).
06/17/21 Benjamin P. Stone                2.60 Telephone conference with D. Gremling,
                                               A&M, Company re vendor issues (.2);
                                               correspond with D. Gremling re C-band
                                               notification (.4); correspond with D. Hunter re
                                               same (.4); correspond with A. Grossi re same
                                               (.3); correspond with vendor re service issue
                                               (1.3).
06/18/21 Anthony R. Grossi                0.40 Correspond with K&E team re lease issues.
06/18/21 Gary J. Kavarsky                 2.80 Review, revise research re rejection issues
                                               (2.5); correspond with W. Thompson re same
                                               (.3).
06/21/21 Benjamin P. Stone                1.80 Correspond with Company re chapter 11
                                               update letter re vendor (.2); correspond with
                                               Company re C-band notification (.3);
                                               correspond with D. Gremling re same (.3);
                                               correspond with D. Hunter re same (.1);
                                               correspond with creditor group re same (.2);
                                               correspond with A&M re same (.1); draft
                                               response re same (.6).
06/22/21 William Thompson                 0.60 Telephone conference re bankruptcy hearing
                                               re creditor (.5); draft summary re same (.1).

Total                                     80.20



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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048248
                                                                               Client Matter: 48457-9

In the Matter of Business Operations




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 28,728.50
Total legal services rendered                                                                                  $ 28,728.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-9
Business Operations




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    1.80     765.00          1,377.00
Dave Gremling                                         3.40     765.00          2,601.00
Anthony R. Grossi                                     5.10   1,220.00          6,222.00
Derek I. Hunter                                      12.00   1,070.00         12,840.00
Gary J. Kavarsky                                      0.30     995.00            298.50
Michael Lemm                                          0.50     765.00            382.50
Brian Nakhaimousa                                     3.70     625.00          2,312.50
Charles B. Sterrett                                   0.50     765.00            382.50
Benjamin P. Stone                                     3.70     625.00          2,312.50

TOTALS                                               31.00                   $ 28,728.50




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Intelsat S.A.                                               Matter Number:         48457-9
Business Operations


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Dave Gremling                    0.20 Analyze issues re company vendors.
06/01/21 Derek I. Hunter                  0.20 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
06/01/21 Brian Nakhaimousa                0.20 Correspond with Kekst re press coverage (.1);
                                               monitor customer chapter 11 cases (.1).
06/02/21 Anthony R. Grossi                1.30 Correspond with K&E team re accounting
                                               issues (.6); correspond with K&E team re
                                               customer issues (.7).
06/02/21 Derek I. Hunter                  1.40 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries, creditor
                                               matters (.7); review, analyze analyses re same
                                               (.7).
06/02/21 Brian Nakhaimousa                0.10 Correspond with W. Thompson re chapter 11
                                               cases re customer.
06/03/21 Derek I. Hunter                  0.50 Correspond with Company, A&M, K&E team
                                               re operational inquiries, creditor matters.
06/03/21 Brian Nakhaimousa                0.10 Correspond with Kekst re press coverage.
06/04/21 Derek I. Hunter                  1.10 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries (.7);
                                               review, analyze bankruptcy orders, related
                                               analyses re same (.4).
06/04/21 Brian Nakhaimousa                0.10 Correspond with D. Gremling re customers
                                               bankruptcy proceedings.
06/07/21 Nicholas A. Binder               0.60 Analyze operational risk presentation (.4);
                                               correspond with K&E team re same (.2).
06/07/21 Anthony R. Grossi                0.40 Correspond with K&E team and Company re
                                               customer issues.
06/07/21 Derek I. Hunter                  1.20 Conference and correspond with Company,
                                               A&M and K&E team re certain operational
                                               inquiries (.7); review, analyze bankruptcy
                                               orders, related analyses re same (.5).
06/07/21 Brian Nakhaimousa                0.10 Analyze customer chapter 11 proceedings.
06/08/21 Nicholas A. Binder               0.40 Correspond with M. Slade re operational risk
                                               presentation (.2); revise same (.2).
06/08/21 Dave Gremling                    0.70 Analyze vendor issues (.5); conference with
                                               B. Stone, A&M, Company re same (.2).




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Intelsat S.A.                                               Matter Number:         48457-9
Business Operations

Date     Name                            Hours Description
06/08/21 Derek I. Hunter                  0.60 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
06/08/21 Brian Nakhaimousa                0.10 Correspond with D. Gremling, W. Thompson
                                               re customer bankruptcy proceedings update.
06/09/21 Derek I. Hunter                  1.00 Conference and correspond with Company,
                                               A&M and K&E team re operational inquiries
                                               (.4); review, analyze bankruptcy orders,
                                               related analyses re same (.6).
06/09/21 Brian Nakhaimousa                0.40 Correspond with D. Gremling, W. Thompson,
                                               outside counsel re customer's bankruptcy
                                               proceedings.
06/09/21 Benjamin P. Stone                0.20 Correspond with Company re C-band notice
                                               requirements.
06/10/21 Dave Gremling                    0.20 Analyze issues re company vendors.
06/10/21 Derek I. Hunter                  0.60 Correspond with Company, A&M, and K&E
                                               team re operational inquiries, creditor matters.
06/10/21 Benjamin P. Stone                0.20 Conference with D. Gremling, A&M,
                                               Company re vendor issues (.1); correspond
                                               with D. Gremling re same (.1).
06/14/21 Anthony R. Grossi                0.70 Correspond with K&E team re customer
                                               contract issues.
06/14/21 Derek I. Hunter                  1.40 Correspond with Company, A&M and K&E
                                               team re operational inquiries (.8); review,
                                               analyze bankruptcy orders, related analyses re
                                               same (.6).
06/14/21   Brian Nakhaimousa              0.20 Analyze customer's chapter 11 proceedings.
06/15/21   Nicholas A. Binder             0.30 Review operational consideration.
06/15/21   Brian Nakhaimousa              0.10 Analyze customer chapter 11 cases.
06/16/21   Nicholas A. Binder             0.50 Analyze operational issue (.4); correspond
                                               with G. Kavarsky, vendor re same (.1).
06/16/21 Anthony R. Grossi                0.90 Correspond with Company re customer
                                               contract issues.
06/16/21 Derek I. Hunter                  0.30 Correspond with Company re certain
                                               operational questions.
06/16/21 Gary J. Kavarsky                 0.30 Review reporting requirements re OCP.
06/16/21 Brian Nakhaimousa                0.10 Correspond with K&E team re customer's
                                               chapter 11 cases.




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Intelsat S.A.                                               Matter Number:         48457-9
Business Operations

Date     Name                            Hours Description
06/17/21 Dave Gremling                    0.90 Conference with B. Stone, A&M, Company
                                               re vendor issues (.2); analyze C-band order re
                                               notice requirements (.2); correspond with B.
                                               Stone, K&E team re same (.5).
06/17/21 Anthony R. Grossi                0.70 Review background re C-band issues.
06/17/21 Derek I. Hunter                  0.80 Correspond with A&M and K&E team re
                                               vendor considerations.
06/17/21 Brian Nakhaimousa                0.50 Correspond with stakeholderre press coverage
                                               (.1); correspond with K&E team re customer's
                                               chapter 11 cases (.4).
06/18/21 Brian Nakhaimousa                0.10 Correspond with K&E team re customer's
                                               chapter 11 cases.
06/18/21 Benjamin P. Stone                0.50 Correspond with Company re C-band notice
                                               (.3); correspond with D. Gremling re same
                                               (.2).
06/19/21 Brian Nakhaimousa                0.10 Analyze customer's chapter 11 cases.
06/19/21 Benjamin P. Stone                1.40 Draft chapter 11 update letter re vendor (1.2);
                                               correspond with M. Lemm re same (.2).
06/20/21 Derek I. Hunter                  0.20 Correspond with K&E team re status of
                                               certain operational reporting.
06/20/21 Michael Lemm                     0.50 Review and revise correspondence re case
                                               update.
06/20/21 Benjamin P. Stone                0.90 Review, revise chapter 11 update letter re
                                               vendor (.7); correspond with D. Hunter re
                                               same (.2).
06/21/21 Dave Gremling                    0.60 Analyze issues re company vendors.
06/21/21 Derek I. Hunter                  0.60 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
06/21/21 Brian Nakhaimousa                0.10 Correspond with Kekst re press coverage.
06/22/21 Dave Gremling                    0.20 Conference with B. Stone, K&E team,
                                               Company re vendor issues.
06/22/21 Derek I. Hunter                  1.70 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries (.8);
                                               review, analyze bankruptcy orders, related
                                               analyses re same (.9).
06/22/21 Brian Nakhaimousa                0.50 Telephonic hearing re customer's chapter 11
                                               hearing.
06/22/21 Benjamin P. Stone                0.20 Conference with D. Gremling, A&M,
                                               Company re vendor issues.



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Business Operations

Date     Name                            Hours Description
06/23/21 Charles B. Sterrett              0.50 Telephone conference with Company, A&M
                                               re intercompany transactions.
06/24/21 Derek I. Hunter                  0.20 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
06/24/21 Brian Nakhaimousa                0.20 Analyze customer's chapter 11 cases.
06/25/21 Brian Nakhaimousa                0.20 Analyze customer's chapter 11 cases.
06/28/21 Anthony R. Grossi                0.70 Correspond with K&E team re customer
                                               contract issues.
06/28/21 Derek I. Hunter                  0.20 Correspond with Company, A&M and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
06/29/21 Dave Gremling                    0.30 Analyze issues re ongoing customer
                                               bankruptcies.
06/29/21 Dave Gremling                    0.30 Analyze issue re Company vendor.
06/29/21 Anthony R. Grossi                0.40 Correspond with K&E team re customer
                                               issues.
06/29/21 Benjamin P. Stone                0.30 Conference with D. Gremling, Company,
                                               A&M re vendor issues.
06/30/21 Brian Nakhaimousa                0.50 Telephonic hearing re customer's chapter 11
                                               hearing.

Total                                     31.00




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048249
                                                                               Client Matter: 48457-10

In the Matter of Claims Administration




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 218,174.00
Total legal services rendered                                                                                $ 218,174.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Toni M. Anderson                                      0.70     410.00            287.00
Nicholas A. Binder                                    0.40     765.00            306.00
Emily Flynn                                           0.40     875.00            350.00
Julian Gamboa                                         4.00     430.00          1,720.00
Michael A. Glick                                      6.70   1,325.00          8,877.50
Dave Gremling                                        62.80     765.00         48,042.00
Anthony R. Grossi                                     7.10   1,220.00          8,662.00
Abby Rose Hollenstein                                 4.80     865.00          4,152.00
Derek I. Hunter                                      12.40   1,070.00         13,268.00
Gary J. Kavarsky                                      0.50     995.00            497.50
Tyler R. Knutson                                     11.50     625.00          7,187.50
Emily Merki Long                                      9.20   1,065.00          9,798.00
Saunders McElroy                                      5.30     745.00          3,948.50
Robert Orren                                          0.80     460.00            368.00
Nicholas Perrone                                      4.00     350.00          1,400.00
Palmer Quamme                                         1.10     865.00            951.50
Samuel J. Seneczko                                   15.80     765.00         12,087.00
Gary M. Vogt                                          7.90     460.00          3,634.00
Eric J. Wendorf                                      79.00     625.00         49,375.00
Chambliss Williams                                   41.70     765.00         31,900.50
Jeffrey J. Zeiger, P.C.                               7.60   1,495.00         11,362.00

TOTALS                                              283.70                 $ 218,174.00




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Claims Administration


                                  Description of Legal Services

Date     Name                            Hours Description
05/14/21 Abby Rose Hollenstein            2.50 Participated in first session in which SES took
                                               J. Hindin's deposition.
06/01/21 Julian Gamboa                    1.60 Revise deposition database (.3); revise motion
                                               for summary judgment (1.0); revise trial
                                               exhibit list (.3).
06/01/21 Abby Rose Hollenstein            1.30 Review deposition transcript.
06/01/21 Nicholas Perrone                 4.00 Review motion for summary judgment.
06/01/21 Gary M. Vogt                     1.50 Coordinate review re transcript database
                                               (1.0); review motion for summary judgment
                                               (.5).
06/01/21 Eric J. Wendorf                  0.30 Revise pleading re claims issue.
06/02/21 Julian Gamboa                    0.60 Correspond with N. Perrone re deposition
                                               exhibits (.2); correspond with T. Anderson re
                                               deposition exhibit workspace access (.1);
                                               compile requests for production (.3).
06/02/21 Michael A. Glick                 0.80 Conference with M. Slade, E. Long re case
                                               strategy and trial update.
06/02/21 Anthony R. Grossi                0.90 Correspond with K&E team re claims
                                               scheduling issues.
06/02/21 Derek I. Hunter                  0.20 Correspond with K&E team and A&M re
                                               status of claims analyses and objections,
                                               related diligence and strategy.
06/02/21 Samuel J. Seneczko               6.20 Correspond with D. Hunter re claims damages
                                               issue (.1); research same (3.8); analyze case
                                               law re same (2.3).
06/02/21 Eric J. Wendorf                  0.90 Revise pleading re claims issue.
06/03/21 Samuel J. Seneczko               3.30 Analyze issues re damages claims (1.8);
                                               correspond with D. Hunter re same (.2);
                                               research issues re same (1.3).
06/03/21 Gary M. Vogt                     0.70 Coordinate matters re preparation of trial
                                               exhibit list re claim objection matters.
06/03/21 Eric J. Wendorf                  4.20 Review pleadings re certain claims issues (.9);
                                               draft pleading re claims issue (1.9); revise
                                               same (1.4).
06/04/21 Dave Gremling                    1.60 Revise pleadings re claims issues.
06/04/21 Anthony R. Grossi                1.20 Correspond with K&E team re SES claim
                                               issues.
06/04/21 Palmer Quamme                    1.10 Review, revise Company errata.


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Claims Administration

Date     Name                            Hours Description
06/04/21 Samuel J. Seneczko               0.40 Correspond with D. Hunter re damages issues
                                               (.2); correspond with L. Wolk re same (.2).
06/04/21 Gary M. Vogt                     1.00 Review, coordinate matters re claim objection
                                               matters.
06/04/21 Eric J. Wendorf                  4.30 Draft pleading re claims issue (2.4); revise
                                               same (1.4); correspond with D. Gremling re
                                               same (.1); further revise same (.3); correspond
                                               with D. Gremling, C. Williams re same (.1).
06/06/21 Dave Gremling                    0.40 Revise pleadings re claim issues.
06/07/21 Toni M. Anderson                 0.70 Coordinate preparation of deposition exhibits.
06/07/21 Dave Gremling                    3.50 Revise pleadings re claim issues (2.4); revise
                                               background materials re same (.8);
                                               correspond with E. Wendorf, K&E team re
                                               same (.3).
06/07/21 Anthony R. Grossi                0.80 Correspond with K&E team re SES litigation
                                               issues.
06/07/21 Samuel J. Seneczko               4.40 Correspond with L. Wolk re claim allowance
                                               issues (.2); correspond with D. Hunter re
                                               same (.1); research issuers same (2.7);
                                               analyze precedent re same (1.1); correspond
                                               with W. Thompson re same (.3).
06/07/21 Gary M. Vogt                     1.70 Compile errata sheets (.2); review, compile,
                                               distribute same (1.5).
06/07/21 Eric J. Wendorf                  3.70 Revise claims pleading (3.4); correspond with
                                               C. Williams re same (.1); correspond with D.
                                               Gremling re same (.1); further research re
                                               same (.1).
06/07/21 Chambliss Williams               4.80 Review, revise document re claim dispute
                                               (3.6); correspond with D. Gremling, E.
                                               Wendorf re same (1.2).
06/08/21 Michael A. Glick                 0.70 Telephone conference with creditor counsel re
                                               claim.
06/08/21 Dave Gremling                    3.00 Revise motion re claim settlement (2.3);
                                               review background materials (.5); correspond
                                               with T. Knutson, K&E team re same (.2).
06/08/21 Samuel J. Seneczko               1.50 Correspond with W. Thompson re claims
                                               allowance issues (.1); analyze cases,
                                               precedent re same (1.3); correspond with L.
                                               Wolk, D. Hunter re same (.1).




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Claims Administration

Date     Name                            Hours Description
06/08/21 Eric J. Wendorf                  7.20 Revise pleading re claims issue (4.0); review
                                               key documents re same (1.7); analyze issues
                                               re same (.9); correspond with D. Gremling, C.
                                               Williams re same (.3); correspond with W.
                                               Rosser, D. Maliniak re same (.2); correspond
                                               with T. Knutson re claims issue (.1).
06/08/21 Chambliss Williams               5.50 Analyze arguments re potential claim dispute
                                               (3.8); correspond with D. Gremling, E.
                                               Wendorf re same (1.7).
06/09/21 Michael A. Glick                 1.40 Review, revise motion for summary
                                               judgment.
06/09/21 Dave Gremling                    2.70 Revise objection re claims (2.1); correspond
                                               with K&E team re same (.6).
06/09/21 Tyler R. Knutson                 0.20 Review and analyze materials re disputed
                                               claims.
06/09/21 Eric J. Wendorf                  2.10 Correspond with D. Gremling, C. Williams re
                                               claims pleading (.3); revise same (1.6);
                                               correspond with D. Maliniak re same (.2).
06/09/21 Chambliss Williams               3.50 Revise draft memorandum re possible claims
                                               issue.
06/10/21 Michael A. Glick                 2.30 Review, revise argument section re draft
                                               motion for summary judgment (1.6); research
                                               state law contract interpretation (.7).
06/10/21 Dave Gremling                    3.00 Revise objection re claim (2.3); research re
                                               same (.4); correspond with K&E team re
                                               same (.3).
06/10/21 Anthony R. Grossi                0.80 Correspond with K&E team re SES litigation
                                               issues.
06/10/21 Eric J. Wendorf                  1.20 Review, revise claims pleading (.8);
                                               correspond with D. Gremling, C. Williams, T.
                                               Knutson re same (.2); correspond with D.
                                               Hunter re same (.2).
06/10/21 Chambliss Williams               1.10 Correspond with D. Gremling, T. Knutson, E.
                                               Wendorf re potential claims dispute (.4);
                                               review materials re same (.7).
06/11/21 Julian Gamboa                    0.40 Correspond with G. Vogt, D. Sopczak re draft
                                               motion for summary judgment (.2); revise
                                               calendar to ensure compliance with court
                                               deadlines (.2).
06/11/21 Michael A. Glick                 0.50 Review revised summary judgment brief.




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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration

Date     Name                            Hours Description
06/11/21 Dave Gremling                    2.90 Revise claim objection (1.0); correspond with
                                               K&E team re same (.7); research re same (.4);
                                               conference with T. Knutson re same (.3);
                                               conference with D. Hunter, K&E team re
                                               same (.5).
06/11/21 Tyler R. Knutson                 6.40 Revise motion re to claim issues (3.8);
                                               research precedent re same (2.6).
06/11/21 Emily Merki Long                 2.00 Analyze deposition transcripts.
06/11/21 Gary M. Vogt                     0.50 Coordinate docketing re amended deadlines re
                                               claim objection matters.
06/11/21 Eric J. Wendorf                  2.40 Telephone conference with A. Grossi, K&E
                                               team re claims issue (.2); telephone
                                               conference with D. Hunter, D. Gremling re
                                               same (.2); revise pleading re same (.5);
                                               research re same (.7); conference with D.
                                               Gremling, K&E team re claims issue (.5);
                                               correspond with K&E team re same (.3).
06/11/21 Chambliss Williams               1.70 Conference with D. Gremling, E. Wendorf, T.
                                               Knutson re potential claims dispute (.3);
                                               review precedent re claim estimation (.3);
                                               review memorandum re potential claims
                                               dispute (1.1).
06/12/21 Dave Gremling                    6.80 Revise pleadings re claims (3.9); correspond
                                               with T. Knutson, K&E team re same (.3);
                                               research re same (1.8); review, analyze
                                               memorandum re same (.8).
06/13/21 Dave Gremling                    2.80 Revise pleadings re claims (2.2); research re
                                               same (.6).
06/13/21 Derek I. Hunter                  0.60 Review, analyze and revise pleading re claims
                                               issue.
06/13/21 Jeffrey J. Zeiger, P.C.          0.30 Revise amended pretrial order.
06/14/21 Julian Gamboa                    1.40 Correspond with A. Hollenstein re draft trial
                                               exhibit list (.6); revise deposition transcript
                                               video and annotations (.7); correspond with
                                               G. Vogt re export summary reports (.1).
06/14/21 Dave Gremling                    5.90 Review, analyze pleadings re claims (1.1);
                                               revise same (3.7); research re same (.7);
                                               correspond with E. Wendorf, K&E team re
                                               same (.4).
06/14/21 Derek I. Hunter                  0.40 Correspond with K&E team re status of
                                               claims analyses and objections.




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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration

Date     Name                            Hours Description
06/14/21 Eric J. Wendorf                   4.80 Telephone conference with S. Seneczko,
                                                K&E team re claims issue (.5); research case
                                                law re same (2.1); draft memorandum re same
                                                (.9); correspond with D. Gremling, K&E team
                                                re separate claims issue (.6); draft case
                                                summaries re same (.3); telephone conference
                                                with T. Knutson re same (.4).
06/14/21 Chambliss Williams                3.60 Research re claim estimation precedent.
06/15/21 Dave Gremling                     3.30 Revise pleadings re claims (1.1); research re
                                                same (2.2).
06/15/21 Abby Rose Hollenstein             1.00 Review exhibits.
06/15/21 Derek I. Hunter                   5.50 Correspond with K&E team re claims
                                                objection, related diligence (1.9); review,
                                                analyze and revise related analyses (3.6).
06/15/21 Eric J. Wendorf                  10.20 Draft memorandum re claims issue (3.9);
                                                revise same (3.6); correspond with W.
                                                Thompson re same (.2); correspond with R.
                                                Roman re same (.1); telephone conference
                                                with S. Seneczko, K&E team re same (.5);
                                                correspond with W. Rosser re separate claims
                                                issue (.1); revise precedent chart re claims
                                                issue (1.6); correspond with D. Gremling, R.
                                                Orren re declaration re same (.2).
06/15/21 Chambliss Williams                4.10 Research re claim avoidance issue (3.8);
                                                correspond with D. Gremling, T. Knutson re
                                                same (.3).
06/15/21 Jeffrey J. Zeiger, P.C.           2.10 Revise motion for summary judgment.
06/16/21 Dave Gremling                     5.20 Revise pleadings re claims (3.8); research re
                                                same (1.1); correspond with C. Williams,
                                                K&E team re same (.3).
06/16/21 Robert Orren                      0.80 Draft declaration re claims issue (.6);
                                                correspond with E. Wendorf and D. Gremling
                                                re same (.2).
06/16/21 Eric J. Wendorf                   4.30 Revise memorandum re claims issue (3.3);
                                                correspond with S. Seneczko, W. Thompson
                                                re same (.2); correspond with M. Alden, N.
                                                Binder re same (.2); review comments re
                                                same (.3); correspond with D. Hunter re
                                                research issue (.3).
06/17/21 Dave Gremling                     4.30 Revise pleadings re claims (2.7); analyze
                                                memorandum re same (.6); research re same
                                                (.8); correspond with T. Knutson, K&E team
                                                re same (.2).


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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration

Date     Name                            Hours Description
06/17/21 Derek I. Hunter                  3.00 Correspond with K&E team and A&M re
                                               status of claims objection, related diligence
                                               (1.1); review, analyze and revise related
                                               analyses (1.4); conference with A&M team re
                                               same (.5).
06/17/21 Emily Merki Long                 0.80 Correspond with B. Arnault re opposing
                                               party’s collections (.5); revise pre-trial
                                               scheduling order re opposing party’s edits
                                               (.3).
06/17/21 Saunders McElroy                 5.30 Review, analyze deposition transcript (1.7);
                                               review, analyze additional deposition
                                               transcript (3.6).
06/17/21 Gary M. Vogt                     2.50 Research, compile information and materials
                                               requested to respond to production requests.
06/17/21 Eric J. Wendorf                  7.80 Telephone conference with M. Alden, K&E
                                               team re claims issue (.7); revise memorandum
                                               re same (3.6); correspond with R. Orren re
                                               same (.2); correspond with W. Thompson re
                                               same (.3); conference with W. Thompson re
                                               same (.4); research re same (1.3); research re
                                               separate claims issue (.9); correspond with D.
                                               Gremling, C. Williams, T. Knutson re same
                                               (.4).
06/18/21 Michael A. Glick                 0.20 Correspond with K&E team re document
                                               production issue.
06/18/21 Derek I. Hunter                  0.90 Correspond with K&E team re claims
                                               objection, related diligence (.5); review,
                                               analyze and revise claims objection responses
                                               (.4).
06/18/21 Emily Merki Long                 2.30 Revise Company errata.
06/18/21 Eric J. Wendorf                  4.60 Correspond with C. Williams, T. Knutson re
                                               claims issue (.3); research re different claims-
                                               related issue (3.3); correspond with W.
                                               Thompson re same (.3); revise memorandum
                                               re same (.7).
06/18/21 Chambliss Williams               2.10 Review changes re claims issue.
06/19/21 Emily Merki Long                 3.10 Review, revise exhibit list re claims litigation.
06/20/21 Eric J. Wendorf                  1.90 Revise memorandum re claims issue (.9);
                                               revise pleading re same (.9); correspond with
                                               K&E team re same (.1).
06/21/21 Michael A. Glick                 0.80 Prepare for trial cross-examination.




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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration

Date     Name                            Hours Description
06/21/21 Dave Gremling                    4.70 Research issues re claims (3.5); analyze
                                               pleadings re same (.8); correspond with T.
                                               Knutson, K&E team re same (.4).
06/21/21 Derek I. Hunter                  0.20 Correspond with K&E team re claims
                                               analyses and objections.
06/21/21 Tyler R. Knutson                 0.50 Review and analyze K&E team revisions re
                                               motion re confirmation considerations.
06/21/21 Eric J. Wendorf                  2.80 Revise memorandum re claims issue (1.4);
                                               review case law re same (.7); correspond with
                                               W. Thompson re same (.2); review
                                               correspondence with D. Gremling re separate
                                               claims issue (.1); correspond with D. Hunter,
                                               K&E team re pleading re claims issue (.2);
                                               telephone conference with C. Williams re
                                               same (.1); correspond with C. Williams re
                                               same (.1).
06/21/21 Chambliss Williams               2.70 Review research re claims issue (1.1);
                                               correspond with D. Gremling, E. Wendorf, T.
                                               Knutson re same (1.6).
06/22/21 Dave Gremling                    2.50 Research re claims (1.9); correspond with T.
                                               Knutson re same (.6).
06/22/21 Anthony R. Grossi                0.70 Correspond with K&E team re claims issues.
06/22/21 Derek I. Hunter                  0.30 Correspond with K&E team re status of
                                               claims analyses and objections.
06/22/21 Tyler R. Knutson                 3.80 Correspond with D. Gremling motion re
                                               confirmation considerations (.4); research and
                                               analyze re same (3.4).
06/22/21 Emily Merki Long                 1.00 Revise exhibit list for claims litigation.
06/22/21 Eric J. Wendorf                  3.20 Revise memorandum re claims issue (2.1);
                                               revise same (.5); correspond with S.
                                               Seneczko, K&E team re same (.3);
                                               correspond with W. Thompson re same (.1);
                                               correspond with D. Gremling, T. Knutson re
                                               separate claims issue (.1); review
                                               correspondence re same (.1).
06/22/21 Chambliss Williams               2.10 Review research re claims issue.
06/23/21 Eric J. Wendorf                  0.90 Revise claims pleading (.7); correspond with
                                               K&E team re same (.1); correspond with D.
                                               Gremling, T. Knutson, C. Williams re same
                                               (.1).
06/24/21 Anthony R. Grossi                1.40 Correspond with K&E team re claims issues.
06/25/21 Nicholas A. Binder               0.40 Analyze claims (.2); correspond with K&E
                                               team re same (.2).

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Claims Administration

Date       Name                          Hours   Description
06/25/21   Emily Flynn                    0.40   Correspond with G. Kavarsky re claims.
06/25/21   Dave Gremling                  0.50   Analyze issues re claims.
06/25/21   Anthony R. Grossi              1.30   Review and revise claims summary issues.
06/25/21   Derek I. Hunter                1.30   Correspond with K&E team re claims
                                                 objection, related diligence (.6); review,
                                                 analyze and revise claims objection responses
                                                 (.7).
06/25/21 Gary J. Kavarsky                 0.50   Correspond with D. Hunter, E. Flynn re
                                                 claims.
06/25/21 Eric J. Wendorf                  1.00   Correspond with D. Gremling re claims issue
                                                 (.3); review, revise pleading re same (.3);
                                                 review correspondence re same (.3);
                                                 correspond with B. Stone re same (.1).
06/25/21 Chambliss Williams               0.90   Review summary chart re settled claims.
06/27/21 Tyler R. Knutson                 0.60   Review, analyze summary of creditor
                                                 pleadings.
06/28/21 Dave Gremling                    2.10   Revise summary re claim research (.9);
                                                 correspond with C. Williams, K&E team re
                                                 same (.4); review, analyze memorandum re
                                                 same (.8).
06/28/21 Eric J. Wendorf                  3.20   Research re claims issue (2.7); correspond
                                                 with T. Knutson, K&E team re same (.1);
                                                 correspond with D. Gremling re same (.1);
                                                 correspond with C. Williams re same (.1);
                                                 correspond with A. Grossi, K&E team re
                                                 same (.2).
06/28/21 Chambliss Williams               3.40   Research re claims issue (2.2); correspond
                                                 with D. Gremling, T. Knutson and E.
                                                 Wendorf re same (1.2).
06/29/21 Dave Gremling                    4.90   Revise motion re claim issues (.5); research re
                                                 same (2.6); revise summary re research of
                                                 same (1.5); correspond with C. Williams,
                                                 K&E team re same (.3).
06/29/21 Chambliss Williams               1.80   Revise outline re claim dispute (1.1);
                                                 correspond with T. Knutson re same (.2);
                                                 correspond with D. Gremling, T. Knutson, E.
                                                 Wendorf re same (.5).
06/30/21 Dave Gremling                    2.70   Review, analyze summary re claim research
                                                 (.9); revise same (1.4); correspond with T.
                                                 Knutson, K&E team re same (.4).




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Claims Administration

Date     Name                            Hours Description
06/30/21 Eric J. Wendorf                  8.00 Correspond with D. Hunter, K&E team re
                                               memorandum re claims issue (.2); revise same
                                               (3.9); further research re same (2.7);
                                               correspond with M. Alden re same (.4);
                                               telephone conference with S. Seneczko re
                                               same (.8).
06/30/21 Chambliss Williams               4.40 Research re claims issue (1.9); correspond
                                               with D. Gremling, T. Knutson and E.
                                               Wendorf re same (1.0); review, revise outline
                                               re same (1.5).
06/30/21 Jeffrey J. Zeiger, P.C.          5.20 Review deposition, exhibits (3.9); draft key
                                               points re trial preparation (1.3).

Total                                   283.70




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August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048250
                                                                               Client Matter: 48457-11

In the Matter of U.S. Trustee and Statutory Reporting




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 8,915.50
Total legal services rendered                                                                                   $ 8,915.50




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Intelsat S.A.                                               Matter Number:        48457-11
U.S. Trustee and Statutory Reporting




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        1.60      765.00          1,224.00
Samuel J. Seneczko                                   3.60      765.00          2,754.00
Donna Zamir                                          7.90      625.00          4,937.50

TOTALS                                               13.10                    $ 8,915.50




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Intelsat S.A.                                               Matter Number:        48457-11
U.S. Trustee and Statutory Reporting


                                  Description of Legal Services

Date     Name                            Hours Description
06/04/21 Dave Gremling                    0.30 Review U.S. Trustee guidelines re operating
                                               reporting.
06/04/21 Donna Zamir                      1.70 Correspond with D. Hunter, D. Gremling,
                                               A&M, Kutak teams re monthly operating
                                               report (.5); review materials re same (1.2).
06/07/21 Dave Gremling                    0.90 Analyze issue re U.S. Trustee reporting
                                               guidelines (.6); correspond with K&E team re
                                               same (.2); conference with D. Hunter, K&E
                                               team re same (.1).
06/07/21 Donna Zamir                      4.00 Review materials re monthly operating
                                               reports (3.2); telephone conference with D.
                                               Hunter, K&E team re same (.2); correspond
                                               with same re same (.6).
06/08/21 Dave Gremling                    0.40 Review U.S. Trustee guidelines re operating
                                               reports.
06/08/21 Donna Zamir                      1.70 Research re monthly operating report filing
                                               (.8); correspond with D. Hunter, K&E team re
                                               same (.7); telephone conference with same,
                                               Company advisors re same (.2).
06/13/21 Samuel J. Seneczko               3.60 Review invoice for compliance with U.S.
                                               Trustee guidelines, privilege.
06/14/21 Donna Zamir                      0.50 Review monthly operating report (.2);
                                               correspond with D. Hunter, K&E, A&M
                                               teams re same (.3).

Total                                     13.10




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August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048251
                                                                               Client Matter: 48457-12

In the Matter of Hearings




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 6,268.50
Total legal services rendered                                                                                   $ 6,268.50




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Intelsat S.A.                                               Matter Number:        48457-12
Hearings




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Michael A. Glick                                     0.60    1,325.00            795.00
Dave Gremling                                        1.20      765.00            918.00
Anthony R. Grossi                                    2.10    1,220.00          2,562.00
Nick Hafen                                           0.10      765.00             76.50
Jason T. Jarvis                                      0.10      625.00             62.50
Tyler R. Knutson                                     0.20      625.00            125.00
Casey McGushin                                       0.30    1,095.00            328.50
Robert Orren                                         0.40      460.00            184.00
Laura Saal                                           0.20      460.00             92.00
Donna Zamir                                          1.80      625.00          1,125.00

TOTALS                                                7.00                    $ 6,268.50




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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048251
Intelsat S.A.                                               Matter Number:        48457-12
Hearings


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Donna Zamir                      0.90 Correspond with D. Gremling, K&E team re
                                               hearing schedule.
06/02/21 Michael A. Glick                 0.40 Prepare for and participate in hearing.
06/02/21 Dave Gremling                    0.60 Attend pre-trial conference re SES issues (.2);
                                               draft summary re same (.4).
06/02/21 Anthony R. Grossi                2.10 Draft hearing talking points (1.3); attend court
                                               hearing (.3); correspond with K&E team and
                                               Company re hearing update (.5).
06/02/21   Nick Hafen                     0.10 Telephonically attend hearing re SES.
06/02/21   Jason T. Jarvis                0.10 Attend pretrial status conference.
06/02/21   Tyler R. Knutson               0.20 Telephonically attend trial status conference.
06/02/21   Casey McGushin                 0.30 Attend hearing re scheduling of SES trial.
06/02/21   Donna Zamir                    0.30 Telephonically attend hearing.
06/03/21   Michael A. Glick               0.20 Participate in hearing with Court.
06/03/21   Robert Orren                   0.20 Distribute to K&E team June 2 hearing
                                               transcript.
06/03/21 Donna Zamir                      0.40 Correspond with S. Briefel, K&E team re
                                               hearing schedules.
06/09/21 Dave Gremling                    0.20 Correspond with K&E, Kutak teams re
                                               adjournment of hearing.
06/16/21 Dave Gremling                    0.40 Review, analyze notice adjourning hearing.
06/18/21 Robert Orren                     0.20 Prepare B. Nakhaimousa telephonic hearing
                                               appearance in LATAM hearing re exclusivity.
06/21/21 Donna Zamir                      0.20 Correspond with D. Hunter re hearing
                                               schedule.
06/30/21 Laura Saal                       0.20 Coordinate listen only line for B.
                                               Nakhaimousa re LATAM June 30th hearing.

Total                                      7.00




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August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048252
                                                                               Client Matter: 48457-13

In the Matter of Non-working Travel




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 11,391.00
Total legal services rendered                                                                                  $ 11,391.00




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Intelsat S.A.                                               Matter Number:        48457-13
Non-working Travel




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Anthony R. Grossi                                    1.60    1,220.00          1,952.00
Derek I. Hunter                                      2.00    1,070.00          2,140.00
Steven N. Serajeddini, P.C.                          1.70    1,495.00          2,541.50
Anthony Vincenzo Sexton                              2.50    1,325.00          3,312.50
Michael B. Slade                                     1.00    1,445.00          1,445.00

TOTALS                                                8.80                   $ 11,391.00




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Non-working Travel


                                       Description of Legal Services

Date     Name                                 Hours Description
06/29/21 Anthony R. Grossi                     1.60 Travel to Richmond, VA (billed at half time).
06/29/21 Derek I. Hunter                       2.00 Travel to Richmond, VA for mediation (billed
                                                    at half time).
06/29/21 Steven N. Serajeddini, P.C.           1.70 Travel to Richmond, VA for mediation (billed
                                                    at half time).
06/29/21 Anthony Vincenzo Sexton               2.50 Travel to Richmond, VA for mediation (billed
                                                    at half time).
06/29/21 Michael B. Slade                      1.00 Travel to Richmond, VA for mediation (billed
                                                    at half time).

Total                                           8.80




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August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048253
                                                                               Client Matter: 48457-14

In the Matter of Employee Issues




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 18,284.50
Total legal services rendered                                                                                  $ 18,284.50




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Employee Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Kate Coverdale, P.C.                                 6.30    1,295.00          8,158.50
Anthony R. Grossi                                    8.30    1,220.00         10,126.00

TOTALS                                               14.60                   $ 18,284.50




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Employee Issues


                                  Description of Legal Services

Date     Name                            Hours Description
06/05/21 Anthony R. Grossi                0.40 Correspond with K&E team and PJT re
                                               employee issues.
06/07/21 Kate Coverdale, P.C.             0.50 Telephone conference with A. Grossi, S.
                                               Serajeddini, M. Slade, D. Hunter, Z.
                                               Georgeson and R. Beger re MIP.
06/08/21 Kate Coverdale, P.C.             0.10 Correspond with A. Grossi and R. Beger re
                                               MIP.
06/08/21 Anthony R. Grossi                0.60 Review background on compensation issues.
06/09/21 Kate Coverdale, P.C.             0.20 Telephone conference with A. Grossi and S.
                                               Serajeddini re MIP.
06/09/21 Kate Coverdale, P.C.             0.50 Telephone conference with P. Sheaffer, S.
                                               Zelin and J. Terry re MIP.
06/09/21 Kate Coverdale, P.C.             0.20 Correspond with R. Beger, Z. Georgeson, A.
                                               Grossi, S. Serajeddini, M. Slade, D. Hunter,
                                               S. Zelin and J. Terry re MIP negotiations.
06/09/21 Kate Coverdale, P.C.             0.60 Telephone conference with D. Hunter, S.
                                               Serajeddini, A. Grossi, M. Slade, D. Eaton, S.
                                               Zelin, Jones Day deal team and mediator re
                                               mediation.
06/09/21 Anthony R. Grossi                0.90 Review background re compensation issues.
06/10/21 Kate Coverdale, P.C.             0.10 Correspond with M. Bryan, A. Grossi, S.
                                               Serajeddini, M. Slade, Z. Georgeson and R.
                                               Beger re MIP.
06/10/21 Anthony R. Grossi                1.30 Correspond with Company re compensation
                                               issues (.4); correspond with Company and
                                               K&E team re compensation issues (.9).
06/11/21 Anthony R. Grossi                1.40 Correspond with K&E and Towers working
                                               groups re compensation issues (.6); review
                                               compensation proposal (.8).
06/14/21 Kate Coverdale, P.C.             1.00 Telephone conference with mediator, D.
                                               Hunter, A. Grossi, and R. Beger re MIP.
06/14/21 Kate Coverdale, P.C.             0.20 Correspond with A. Grossi, D. Hunter, and R.
                                               Beger re MIP.
06/14/21 Kate Coverdale, P.C.             0.40 Review MIP proposal (.2); draft issues list re
                                               same (.2).
06/14/21 Anthony R. Grossi                1.20 Review background re employee issues.
06/15/21 Kate Coverdale, P.C.             0.20 Correspond with A. Grossi re MIP matters.
06/15/21 Anthony R. Grossi                0.80 Correspond with K&E team re MIP issues.


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Employee Issues

Date       Name                          Hours       Description
06/16/21   Kate Coverdale, P.C.           1.10       Draft MIP talking points.
06/16/21   Kate Coverdale, P.C.           0.10       Correspond with A. Grossi and WTW re MIP.
06/16/21   Anthony R. Grossi              1.00       Correspond with WTW and K&E team re
                                                     MIP issues (.7); correspond with Company re
                                                     MIP issues (.3).
06/29/21 Anthony R. Grossi                0.70       Review background re employee issues.
06/30/21 Kate Coverdale, P.C.             0.50       Telephone conference with A. Grossi, R.
                                                     Beger, S. Serajeddini, D. Hunter, R. Beger, Z.
                                                     Georgeson, Company re MIP.
06/30/21 Kate Coverdale, P.C.             0.40       Telephone conference with A. Grossi, R.
                                                     Beger, S. Serajeddini, D. Hunter, R. Beger
                                                     and Z. Georgeson re MIP.
06/30/21 Kate Coverdale, P.C.             0.20       Correspond with Company re MIP.

Total                                    14.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048254
                                                                               Client Matter: 48457-15

In the Matter of Insurance




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 5,089.00
Total legal services rendered                                                                                   $ 5,089.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-15
Insurance




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        0.70      765.00            535.50
Anthony R. Grossi                                    0.90    1,220.00          1,098.00
Gary J. Kavarsky                                     1.40      995.00          1,393.00
Donna Zamir                                          3.30      625.00          2,062.50

TOTALS                                                6.30                    $ 5,089.00




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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048254
Intelsat S.A.                                               Matter Number:        48457-15
Insurance


                                  Description of Legal Services

Date     Name                            Hours Description
06/03/21 Donna Zamir                      3.30 Review materials re insurance issues (2.2);
                                               draft summary re same (.9); correspond with
                                               D. Hunter, K&E team re same (.2).
06/04/21 Dave Gremling                    0.70 Analyze insurance issue.
06/04/21 Anthony R. Grossi                0.90 Review background re insurance issues.
06/07/21 Gary J. Kavarsky                 0.60 Correspond with Company re surety bonds
                                               (.2); review issues re same (.4).
06/13/21 Gary J. Kavarsky                 0.20 Correspond with surety counsel re collateral.
06/22/21 Gary J. Kavarsky                 0.60 Correspond with N. Binder re surety program
                                               (.3); review issues re same (.3).

Total                                      6.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048255
                                                                               Client Matter: 48457-17

In the Matter of Tax Issues




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 199,905.50
Total legal services rendered                                                                                $ 199,905.50




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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                         4.20     765.00          3,213.00
Anthony R. Grossi                                    17.20   1,220.00         20,984.00
Derek I. Hunter                                       8.70   1,070.00          9,309.00
Natalie Hoyer Keller                                  2.60   1,420.00          3,692.00
Michael Lemm                                          1.10     765.00            841.50
Library Factual Research                              1.30     390.00            507.00
Joe Morley                                           96.70     810.00         78,327.00
David L. Perechocky                                   0.10   1,185.00            118.50
Anthony Vincenzo Sexton                              58.60   1,325.00         77,645.00
Michael B. Slade                                      3.30   1,445.00          4,768.50
Benjamin P. Stone                                     0.80     625.00            500.00

TOTALS                                              194.60                 $ 199,905.50




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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues


                                   Description of Legal Services

Date     Name                             Hours Description
06/01/21 Dave Gremling                     2.80 Coordinate conference with creditors re tax
                                                analysis (.4); analyze tax issues re plan (2.4).
06/01/21 Anthony R. Grossi                 2.30 Review background re tax legislative
                                                developments (1.2); review background re tax
                                                models (1.1).
06/01/21 Derek I. Hunter                   2.60 Telephone conference with K&E team,
                                                creditors re tax modeling (1.0); correspond
                                                with K&E team, tax advisors, creditors'
                                                counsel re certain tax and accounting issues
                                                (.8); review, analyze tax analysis (.8).
06/01/21 Joe Morley                        4.60 Telephone conference with creditor counsel re
                                                tax models (1.1); revise tax issue slides (1.5);
                                                revise emergence structure slides (1.0);
                                                correspond with creditor advisors re
                                                emergence structure (1.0).
06/01/21 Anthony Vincenzo Sexton           2.10 Telephone conference with Stroock and
                                                Lazard re tax modeling (1.2); review and
                                                analyze mediation materials re tax issues (.4);
                                                review and analyze Lux structuring materials
                                                (.5).
06/02/21 Dave Gremling                     0.30 Coordinate conferences with creditors re tax
                                                analysis.
06/02/21 Derek I. Hunter                   1.50 Telephone conference with K&E team, PJT
                                                team re tax analysis (1.0); correspond with
                                                K&E team re same, related analysis and tax
                                                workstreams (.5).
06/02/21 Joe Morley                        3.60 Telephone conference with external advisors
                                                and Company re tax issues (1.0); telephone
                                                conference with external advisors re tax
                                                reform proposals (.5); draft tax information
                                                public disclosure slides (1.9); correspond with
                                                A. Sexton re same (.2).
06/02/21 Anthony Vincenzo Sexton           3.60 Telephone conference with Deloitte and
                                                Company re tax modeling and related
                                                materials (1.3); telephone conference with
                                                PJT re Greenbook (.8); review and analyze
                                                materials re same (.9); review and analyze
                                                mediation materials and structuring materials
                                                (.6).
06/03/21 Dave Gremling                     1.10 Conference with K&E, PJT teams, creditor
                                                advisors re tax issues.

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Tax Issues

Date     Name                            Hours Description
06/03/21 Anthony R. Grossi                1.40 Review background re tax model issues.
06/03/21 Derek I. Hunter                  0.80 Telephone conference with K&E team, tax
                                               advisors, creditors' counsel re certain tax
                                               modeling analyses.
06/03/21 Joe Morley                       2.90 Telephone conference with creditor counsel re
                                               updated tax modeling (1.0); telephone
                                               conference re plan value allocation (.5);
                                               correspond with B. Nakhaimousa re tax issues
                                               status (.6); draft tax disclosure materials (.2);
                                               correspond with external advisors and client
                                               re tax disclosure materials (.3); correspond re
                                               matter status with D. Gremling (.3).
06/03/21 Anthony Vincenzo Sexton          2.40 Telephone conference with A. Grossi and S.
                                               Serajeddini re privilege (.3); telephone
                                               conference with Milbank and FTI re tax
                                               model (1.1); review and analyze tax modeling
                                               materials (1.0).
06/04/21 Anthony R. Grossi                1.10 Review background re tax issues.
06/04/21 Derek I. Hunter                  0.70 Telephone conference with K&E team, tax
                                               advisors, creditors' counsel re certain
                                               mediation tax issues.
06/04/21 Joe Morley                       3.30 Telephone conference with creditor advisors
                                               re tax issue positions (1.0); correspond with
                                               external advisors re tax modeling issues (.3);
                                               prepare summary of parties' tax positions
                                               (2.0).
06/04/21 Anthony Vincenzo Sexton          0.80 Review tax modeling materials.
06/05/21 Joe Morley                       2.80 Correspond with external advisors and
                                               creditor advisors re Lux tax issues (.5); revise
                                               parties' tax positions summary (2.3).
06/05/21 Anthony Vincenzo Sexton          3.10 Telephone conference with A. Grossi, S.
                                               Serajeddini, and M. Slade re deal issues and
                                               tax analysis (1.0); draft mediation materials re
                                               tax issues (2.1).
06/06/21 Anthony R. Grossi                0.90 Review background re tax issues.
06/06/21 Joe Morley                       3.00 Further revise parties' tax position summary
                                               (2.0); revise board presentation (.8); organize
                                               telephone conference with party advisors re
                                               Lux tax issues (.2).
06/06/21 Anthony Vincenzo Sexton          1.00 Draft mediation materials re tax issues.
06/06/21 Michael B. Slade                 1.10 Review materials re tax issues.
06/07/21 Anthony R. Grossi                0.90 Review background re tax issues.


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Tax Issues

Date     Name                            Hours Description
06/07/21 Derek I. Hunter                  0.80 Review, revise, and analyze tax mediation
                                               materials.
06/07/21 Joe Morley                       4.30 Further revise tax issues summary (3.0);
                                               correspond with K&E team re tax issues
                                               telephone conference (.3); review and analyze
                                               comments to tax issues summary from
                                               external advisors and K&E team (1.0).
06/07/21 Anthony Vincenzo Sexton          1.70 Telephone conference with K&E team re tax
                                               structuring issues (.2); review and analyze tax
                                               modeling materials (.5); review board
                                               materials (.2); review and revise mediation
                                               materials re tax issues (.8).
06/08/21 Anthony R. Grossi                1.40 Review background re tax issues (.8);
                                               correspond with K&E team re tax issues (.6).
06/08/21 Derek I. Hunter                  0.20 Review, analyze tax analysis.
06/08/21 Joe Morley                       6.00 Telephone conference with S. Breifel and M.
                                               Lemm re treaty issues (.4); revise tax issues
                                               summary re proposed edits (.8); telephone
                                               conference with unsecured creditor counsel re
                                               tax issues (.6); revise tax issues summary
                                               (1.9); organize telephone conference with
                                               creditor tax advisors re same (1.3); review
                                               and analyze tax issue summary from external
                                               advisors (.5); correspond with Deloitte re
                                               same (.5).
06/08/21 Anthony Vincenzo Sexton          4.30 Telephone conference with Milbank re tax
                                               analysis issues (.6); telephone conference
                                               with JD re cleanse materials (.1); telephone
                                               conference with creditor group advisors re
                                               Lux tax issues (1.4); review and revise tax
                                               modeling materials (.8); review and revise
                                               mediation materials re same (.8); telephone
                                               conference with Deloitte re accrual of
                                               acceleration payments (.6).
06/09/21 Joe Morley                       5.00 Further revise tax issues summary re
                                               proposed edits (2.6); telephone conference
                                               with external advisors and client re tax issues
                                               (1.0); telephone conference with Company re
                                               tax treaty issue (1.1); correspond with
                                               Deloitte re tax issue (.3).
06/09/21 David L. Perechocky              0.10 Correspond with K&E team re tax issues.




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Tax Issues

Date     Name                            Hours Description
06/09/21 Anthony Vincenzo Sexton          3.60 Telephone conference with Deloitte re
                                               mediator issues (.1); telephone conference
                                               with Deloitte and Company re status of tax
                                               analysis and related issues (1.0); telephone
                                               conference with Company and Deloitte re
                                               structuring (1.1); correspond with K&E team
                                               re same (.4); telephone conference with
                                               Company and Deloitte re same (.3); review
                                               tax modeling materials (.7).
06/10/21 Anthony R. Grossi                0.60 Correspond with K&E team re tax issues.
06/10/21 Derek I. Hunter                  0.60 Telephone conference with K&E team, tax
                                               advisors, creditors' counsel re certain tax and
                                               accounting issues.
06/10/21 Joe Morley                       2.70 Revise tax issues summary (1.2); correspond
                                               with K&E team re mediation tax session (.3);
                                               revise creditor draft of tax issues summary
                                               (1.2).
06/10/21 Anthony Vincenzo Sexton          2.40 Review and revise mediation submission
                                               materials re tax (1.4); review tax modeling
                                               materials (.5); review creditor proposals (.5).
06/11/21 Natalie Hoyer Keller             0.30 Research re pending tax legislation.
06/11/21 Michael Lemm                     0.40 Coordinate with D. Hunter, K&E team,
                                               Company advisors re telephone conference re
                                               tax update.
06/11/21 Library Factual Research         1.30 Research re pending legislation disallowing
                                               disregarded entity status.
06/11/21 Joe Morley                       5.50 Research congressional bills re tax status
                                               elections (1.5); revise tax issues summary
                                               (4.0).
06/11/21 Anthony Vincenzo Sexton          1.40 Review and revise mediation materials re tax
                                               issues.
06/12/21 Joe Morley                       0.60 Review and analyze tax issues summary (.2);
                                               correspond with external advisors re tax
                                               issues summary (.4).
06/12/21 Anthony Vincenzo Sexton          1.20 Telephone conference with A. Grossi, S.
                                               Serajeddini, and M. Slade re deal status (.4);
                                               review and revise mediator materials re tax
                                               issues (.8).
06/13/21 Derek I. Hunter                  0.40 Review, analyze tax analysis re mediation
                                               (.3); correspond with M. Alden re same (.1).
06/13/21 Joe Morley                       2.80 Revise tax issues summary.



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Tax Issues

Date     Name                            Hours Description
06/13/21 Anthony Vincenzo Sexton          1.10 Review and revise mediator materials re tax
                                               issues (.7); review and analyze tax modeling
                                               materials (.4).
06/14/21 Anthony R. Grossi                0.90 Correspond with K&E team re tax issues.
06/14/21 Derek I. Hunter                  0.90 Telephone conference with K&E team, tax
                                               advisors, creditors' counsel re certain
                                               mediation tax issues.
06/14/21 Michael Lemm                     0.70 Telephone conference with A. Sexton, K&E
                                               team, Company advisors re tax update.
06/14/21 Joe Morley                       5.40 Review and analyze creditor tax issue
                                               presentation (2.0); review and analyze tax
                                               issues description (.7); revise summary re
                                               same(1.2); correspond with A. Sexton re same
                                               (.3); participate in telephone conference with
                                               K&E team re litigation risks (1.0); correspond
                                               with A. Sexton and N. Keller re same (.2).
06/14/21 Anthony Vincenzo Sexton          4.60 Telephone conference with Company re tax
                                               model and qualified intermediary issues (1.0);
                                               telephone conference with A. Grossi re tax
                                               modeling issues (.2); telephone conference
                                               with Company advisors re tax modeling and
                                               analysis update (.8); telephone conference
                                               with K&E team re discovery issues (1.0);
                                               correspond with N. Keller re same (.2);
                                               review and revise mediation materials and
                                               related materials re tax issues (1.4).
06/15/21 Anthony R. Grossi                0.90 Review background re tax issues.
06/15/21 Natalie Hoyer Keller             2.00 Review case history re tax privilege issues
                                               (.6); prepare for and attend telephone
                                               conference with A. Sexton and J. Morley re
                                               tax privilege issues (.5); prepare for and
                                               attend telephone conference with A. Sexton,
                                               B. Arnault re tax privilege issues (.5); review
                                               tax documents and related materials (.4).
06/15/21 Joe Morley                       4.30 Review and analyze tax projections (1.1);
                                               correspond with Deloitte and A. Sexton re tax
                                               projections (.7); revise tax publication
                                               materials (.8); correspond with external
                                               advisors re tax publication materials (.7);
                                               telephone conference with A. Sexton and N.
                                               Keller re tax discovery issues (.5); telephone
                                               conference with K&E litigation team re same
                                               (.5).



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Tax Issues

Date     Name                            Hours Description
06/15/21 Anthony Vincenzo Sexton          2.70 Telephone conference with PJT re tax model
                                               issues (.3); telephone conference with A.
                                               Grossi and S. Serajeddini re tax issues (.5);
                                               telephone conference with J. Morley and N.
                                               Keller re tax diligence and discovery (.5);
                                               telephone conference with same and K&E
                                               team re same (.6); review and analyze
                                               materials re legislative impacts (.6); address
                                               requested tax cleanse materials (.2).
06/16/21 Anthony R. Grossi                1.10 Review background re tax issues.
06/16/21 Joe Morley                       1.30 Telephone conference with Company and
                                               external advisors re tax issues (1.0); telephone
                                               conference with K&E team re matter status
                                               (.1); correspond with K&E team and
                                               Company re tax disclosure and emergence
                                               structuring (.2).
06/16/21 Anthony Vincenzo Sexton          3.10 Telephone conference with Company and
                                               Deloitte re tax modeling and status of other
                                               tax and accounting analysis (1.0); correspond
                                               with A. Grossi re tax analysis and mediation
                                               (.7); review materials re same (1.0); telephone
                                               conference with Deloitte re tax issues (.4).
06/17/21 Joe Morley                       0.30 Correspond with K&E team re settlement
                                               motion (.2); correspond with creditor counsel
                                               re tax diligence questions (.1).
06/17/21 Anthony Vincenzo Sexton          1.40 Telephone conference with Deloitte re tax
                                               issues (.7); review and analyze same (.4);
                                               review and analyze tax modeling materials
                                               (.3).
06/18/21 Anthony R. Grossi                0.90 Review background re tax issues.
06/18/21 Joe Morley                       3.60 Telephone conference with K&E team re
                                               matter status (.1); review and analyze tax
                                               diligence responses (.7); revise tax public
                                               disclosure materials (1.0); revise related
                                               definitive documents (1.8).
06/18/21 Anthony Vincenzo Sexton          2.20 Telephone conference with Company
                                               advisors re tax modeling issues (.8); review
                                               materials re same (.4); telephone conference
                                               with A&M re valuation (.1); review and
                                               analyze treaty structuring issues (.7); review
                                               and revise tax diligence issues (.2).
06/19/21 Joe Morley                       1.90 Revise internal tax issues.




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Tax Issues

Date     Name                            Hours Description
06/19/21 Anthony Vincenzo Sexton          0.60 Telephone conference with S. Serajeddini, M.
                                               Slade, A. Grossi re tax analysis and deal
                                               status.
06/20/21 Joe Morley                       0.90 Revise restructuring tax issues summary (.7);
                                               revise tax disclosure (.2).
06/20/21 Anthony Vincenzo Sexton          0.80 Revise tax modeling issues (.5); telephone
                                               conference with Deloitte re same (.3).
06/21/21 Derek I. Hunter                  0.20 Review, analyze tax analysis.
06/21/21 Joe Morley                       4.90 Revise draft motion re tax issues (2.8); review
                                               and analyze issues summary re same (.3);
                                               conference re tax considerations with M.
                                               Lemm (.7); correspond with director advisors
                                               re tax modeling (.1); correspond with
                                               Company and K&E team re tax disclosures
                                               (1.0).
06/21/21 Anthony Vincenzo Sexton          0.70 Review and revise diligence materials (.5);
                                               review tax modeling materials (.2).
06/22/21 Joe Morley                       0.80 Correspond with K&E team, Company, and
                                               external advisors re tax disclosure materials.
06/22/21 Anthony Vincenzo Sexton          1.70 Telephone conference with A. Grossi re tax
                                               modeling and related issues (.3); telephone
                                               conference with Company and Deloitte re
                                               PLR fact reconciliation issues (1.0); review
                                               and analyze issues re same (.4).
06/23/21 Anthony R. Grossi                1.20 Review background re tax issues.
06/23/21 Natalie Hoyer Keller             0.30 Review draft responses to RFPs and consider
                                               issues re same.
06/23/21 Joe Morley                       2.40 Telephone conference with Company and
                                               Deloitte re matter tax issues (1.0); telephone
                                               conference with financial advisor re tax
                                               modeling (1.0); correspond with external
                                               advisors re telephone conferences re tax
                                               modeling and value allocation (.4).
06/23/21 Anthony Vincenzo Sexton          2.20 Telephone conference with Deloitte and
                                               Company re status of tax analysis and
                                               modeling (1.0); telephone conference with
                                               Deloitte and PJT re valuation and related
                                               issues (.8); telephone conference with A.
                                               Grossi re tax modeling materials (.2); review
                                               tax diligence and modeling materials (.2).
06/23/21 Michael B. Slade                 1.20 Telephone conference re tax matters.
06/23/21 Benjamin P. Stone                0.80 Conference with D. Hunter, K&E team, PJT
                                               re tax issues.

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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues

Date     Name                            Hours Description
06/24/21 Anthony R. Grossi                1.30 Review background re tax issues.
06/24/21 Joe Morley                       3.20 Review and analyze tax diligence responses
                                               provided (2.1); correspond with B. Arnault re
                                               tax diligence responses (.3); review and
                                               analyze claim summary documents (.5);
                                               correspond with K&E team re intercompany
                                               loans (.3).
06/24/21 Anthony Vincenzo Sexton          1.10 Telephone conference with Deloitte and
                                               Company re PLR facts (.6); review materials
                                               re same (.5).
06/25/21 Joe Morley                       3.50 Review and analyze tax modeling (2.6);
                                               correspond with external advisors re tax
                                               modeling (.5); telephone conference with
                                               external advisors re value allocation (.4).
06/25/21 Anthony Vincenzo Sexton          1.90 Telephone conference with A&M and D.
                                               Hunter re disclosure statement issues (.4);
                                               review mediation and settlement materials re
                                               tax issues (.6); review disclosure materials
                                               and correspond with Deloitte re same (.3);
                                               telephone conference with Company, A.
                                               Grossi, and K&E corporate re structuring
                                               issues (.6).
06/26/21 Joe Morley                       0.10 Review and analyze disclosure statement.
06/26/21 Anthony Vincenzo Sexton          1.50 Review and analyze tax model materials (.5);
                                               telephone conference with Deloitte re same
                                               (1.0).
06/27/21 Joe Morley                       1.10 Revise tax attribute disclosures (.9); review
                                               and analyze disclosure statement (.2).
06/27/21 Anthony Vincenzo Sexton          0.30 Review tax modeling materials.
06/28/21 Anthony R. Grossi                1.10 Correspond with K&E team re tax issues.
06/28/21 Joe Morley                       7.10 Revise disclosure statement (3.9); review and
                                               analyze emergence structure (.5); review and
                                               analyze presentation re plan issues (.5);
                                               telephone conference with external advisors
                                               re tax disclosure (.5); revise tax disclosure
                                               (1.5); correspond with D. Webber re value
                                               allocation (.2).




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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues

Date     Name                            Hours Description
06/28/21 Anthony Vincenzo Sexton          2.30 Telephone conference with Company and
                                               Deloitte re 1033 issues (.6); review materials
                                               re same (.2); review and analyze mediation
                                               and related materials re tax issues (.6);
                                               telephone conference with PJT and Deloitte re
                                               tax disclosure (.3); review materials re same
                                               (.2); correspond with K&E team re privilege
                                               and discovery issues (.2); review and revise
                                               ARP analysis (.2).
06/29/21 Anthony R. Grossi                1.20 Review background re tax issues.
06/29/21 Joe Morley                       6.40 Review and analyze disclosure statement
                                               (2.4); telephone conference with director
                                               advisors re tax questions (1.0); review and
                                               analyze tax diligence provided (1.0); review
                                               and analyze tax issue valuations (2.0).
06/29/21 Anthony Vincenzo Sexton          2.80 Telephone conference with Company
                                               advisors re tax modeling and related analysis
                                               (1.0); telephone conference with Jones Day,
                                               PJT, S. Serajeddini and K&E team re
                                               proposal (.8); review and analyze mediation
                                               and tax modeling materials (1.0).
06/29/21 Michael B. Slade                 1.00 Review materials re tax issues.
06/30/21 Joe Morley                       2.40 Correspond with A. Sexton re tax attribute
                                               valuation issues (1.0); conference re
                                               disclosure statement with N. Binder and D.
                                               Gremling (.7); review and analyze disclosure
                                               statement (.5); discuss tax treaty issue with E.
                                               Wendorf (.2).

Total                                   194.60




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                                                         New York, NY 10022

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August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048256
                                                                               Client Matter: 48457-18

In the Matter of Environmental/Regulatory Issues




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 41,491.50
Total legal services rendered                                                                                  $ 41,491.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048256
Intelsat S.A.                                               Matter Number:        48457-18
Environmental/Regulatory Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    0.40     765.00            306.00
Simon Briefel                                        17.10     875.00         14,962.50
Francois Capoul                                       0.50     680.00            340.00
Michael S. Casey                                      0.30   1,255.00            376.50
Michael Engel                                         5.80   1,155.00          6,699.00
Dave Gremling                                         1.30     765.00            994.50
Anthony R. Grossi                                     4.00   1,220.00          4,880.00
Luci Hague                                            0.40   1,125.00            450.00
Carla A.R. Hine                                       0.50   1,215.00            607.50
Ellen M. Jakovic                                      0.20   1,295.00            259.00
Mario Mancuso, P.C.                                   1.20   1,695.00          2,034.00
Brian Nakhaimousa                                     1.30     625.00            812.50
Matt O'Hare                                           1.90   1,070.00          2,033.00
David L. Perechocky                                   0.50   1,185.00            592.50
Harker Rhodes                                         3.60   1,145.00          4,122.00
Benjamin P. Stone                                     1.10     625.00            687.50
Laurent Victor-Michel                                 1.00   1,335.00          1,335.00

TOTALS                                               41.10                   $ 41,491.50




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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048256
Intelsat S.A.                                               Matter Number:        48457-18
Environmental/Regulatory Issues


                                  Description of Legal Services

Date       Name                          Hours        Description
06/01/21   Simon Briefel                  0.40        Revise regulatory workplan, tracker.
06/02/21   Michael Engel                  0.30        Analyze Australian FIRB analysis.
06/07/21   Simon Briefel                  0.30        Telephone conference with K&E team re
                                                      regulatory issues.
06/07/21 Anthony R. Grossi                 0.70       Review background re regulatory issues.
06/08/21 Simon Briefel                     0.10       Correspond with K&E team re regulatory
                                                      issues.
06/09/21 Simon Briefel                     0.20       Telephone conference with Jones Day re
                                                      regulatory issues.
06/09/21 Anthony R. Grossi                 0.30       Correspond with K&E team re regulatory
                                                      issues.
06/10/21 Simon Briefel                     0.20       Telephone conference with Paul Weiss re
                                                      regulatory issues.
06/11/21 Simon Briefel                     0.10       Telephone conference with K&E team,
                                                      Company re regulatory issues.
06/11/21 David L. Perechocky               0.10       Conference with K&E team re regulatory
                                                      issues.
06/14/21 Nicholas A. Binder                0.40       Telephone conference with K&E team re
                                                      regulatory considerations (.2); review FCC
                                                      docket re same (.2).
06/15/21 Simon Briefel                     0.40       Telephone conference with K&E team re
                                                      regulatory issues.
06/15/21 Anthony R. Grossi                 0.90       Review background re regulatory issues.
06/16/21 Simon Briefel                     0.30       Correspond with Jones Day, K&E team re
                                                      regulatory issues.
06/16/21 Anthony R. Grossi                 0.80       Review background re regulatory issues.
06/17/21 Simon Briefel                     1.90       Correspond with K&E team re Team
                                                      Telecom, FCC filings (1.5); analyze issues re
                                                      same (.4).
06/18/21 Simon Briefel                     0.30       Correspond with D. Perechocky re regulatory
                                                      application (.2); review information request re
                                                      same (.1).
06/21/21 Simon Briefel                     0.70       Correspond with K&E team re regulatory
                                                      issues.




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Date     Name                            Hours Description
06/22/21 Simon Briefel                    2.10 Correspond with K&E team, Jones Day re
                                               change in control application (.7); telephone
                                               conference with Company, D. Perechocky re
                                               regulatory issues (.2); follow up with K&E
                                               team re same (.1); correspond with Company
                                               re change in control application (.2); review,
                                               revise regulatory tracker (.6); analyze issues
                                               re same (.3).
06/22/21 Michael Engel                    0.80 Correspond with local counsel re international
                                               law issues (.6); revise tracker re same (.2).
06/22/21 Michael Engel                    0.30 Correspond with S. Briefel re French law
                                               issues.
06/22/21 Anthony R. Grossi                0.60 Correspond with K&E team re regulatory
                                               issues.
06/23/21 Simon Briefel                    1.40 Review, revise regulatory tracker (.5);
                                               correspond with K&E team re regulatory
                                               issues (.6); analyze issues re same (.3).
06/23/21 Anthony R. Grossi                0.70 Review background re regulatory issues.
06/24/21 Simon Briefel                    2.40 Correspond with K&E team re regulatory
                                               issues (.9); correspond with creditors re same
                                               (.3); analyze issues re same (.4); review,
                                               revise tracker re same (.8).
06/24/21 Francois Capoul                  0.50 Correspond with M. Engel re French law
                                               issues.
06/24/21 Michael Engel                    0.50 Draft responses re local counsel questions re
                                               FDI filings.
06/24/21 Michael Engel                    1.80 Telephone conference and correspond with S.
                                               Briefel and local counsel re FDI filings.
06/24/21 Brian Nakhaimousa                0.20 Revise regulatory questions tracker.
06/24/21 Laurent Victor-Michel            1.00 Correspond with M. Engel, K&E team re
                                               French FDI filing.
06/25/21 Simon Briefel                    3.00 Telephone conference with Company, K&E
                                               team re regulatory issues (.5); follow up with
                                               K&E team re same (.5); review, revise
                                               regulatory tracker re same (.6); draft, revise
                                               RFI tracker (.7); correspond with K&E team
                                               re HSR, CFIUS fillings (.7).
06/25/21 Michael S. Casey                 0.30 Review correspondence re UK national
                                               security review issues.
06/25/21 Michael Engel                    1.80 Correspond with local counsel re international
                                               law issues (.7); conference with K&E team,
                                               Company re same (1.1)


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Date       Name                          Hours       Description
06/25/21   Michael Engel                  0.30       Correspond with S. Briefel re FDI filing.
06/25/21   Dave Gremling                  0.60       Review FCC docket items re c-band process.
06/25/21   Luci Hague                     0.20       Correspond with S. Briefel and M. O'Hare re
                                                     CFIUS due diligence schedules.
06/25/21 Ellen M. Jakovic                 0.20       Correspond with S. Briefel, C. Hine re HSR
                                                     filing.
06/25/21 Mario Mancuso, P.C.              0.20       Correspond with deal team re CFIUS.
06/25/21 Matt O'Hare                      0.20       Draft CFIUS diligence requests (.1);
                                                     correspond with L. Hague re same (.1).
06/25/21 Harker Rhodes                    2.80       Telephone conference with M. Slade and
                                                     K&E team re FCC considerations (.2); review
                                                     materials re same (1.2); draft presentation re
                                                     same (1.4).
06/26/21 Brian Nakhaimousa                0.90       Revise regulatory questions tracker.
06/26/21 Harker Rhodes                    0.50       Review and revise presentation re FCC
                                                     considerations.
06/27/21 Harker Rhodes                    0.20       Review and revise presentation re FCC
                                                     considerations, accelerated relocation
                                                     payments.
06/28/21 Simon Briefel                    1.20       Correspond with K&E team re regulatory
                                                     issues (.5); review, revise regulatory tracker
                                                     (.7).
06/28/21 Dave Gremling                    0.70       Analyze regulatory emergence requirements
                                                     (.5); correspond with S. Briefel re same (.2).
06/28/21 Carla A.R. Hine                  0.50       Review HSR analysis.
06/28/21 Matt O'Hare                      1.00       Correspond with L. Hague and S. Briefel re
                                                     CFIUS considerations (.3); draft CFIUS
                                                     diligence requests (.7).
06/28/21 Benjamin P. Stone                1.10       Analyze considerations re CFIUS filing (.9);
                                                     correspond with J. Jarvis re same (.2).
06/29/21 Simon Briefel                    0.90       Review, revise regulatory tracker (.5);
                                                     correspond with K&E team re same (.4).
06/29/21 Luci Hague                       0.20       Review and revise follow-up CFIUS
                                                     questions (.1); correspond with M. O'Hare re
                                                     same (.1).
06/29/21 Mario Mancuso, P.C.              1.00       Conference with M. O'Hare re CFIUS (.3);
                                                     review CFIUS assessment (.7).
06/29/21 Brian Nakhaimousa                0.20       Update regulatory questions tracker.




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Date     Name                            Hours Description
06/29/21 Matt O'Hare                      0.60 Review and analyze CFIUS' jurisdiction (.2);
                                               draft CFIUS diligence requests for creditors
                                               (.2); correspond with L. Hague, B. Greene
                                               and K&E restructuring team re same (.2).
06/29/21 David L. Perechocky              0.10 Review regulatory issues.
06/29/21 Harker Rhodes                    0.10 Review presentation re receiving accelerated
                                               relocation payments.
06/30/21 Simon Briefel                    1.20 Telephone conference with Company, D.
                                               Perechocky re regulatory issues (.4); review,
                                               revise trackers re same (.8).
06/30/21 Matt O'Hare                      0.10 Correspond with S. Briefel re CFIUS
                                               diligence requests.
06/30/21 David L. Perechocky              0.30 Telephone conference with Company re
                                               regulatory matters.

Total                                    41.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048257
                                                                               Client Matter: 48457-20

In the Matter of Case Administration




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 78,474.50
Total legal services rendered                                                                                  $ 78,474.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         17.10     765.00         13,081.50
Nicholas A. Binder                                    6.90     765.00          5,278.50
Simon Briefel                                         2.90     875.00          2,537.50
Emily Flynn                                           0.80     875.00            700.00
Dave Gremling                                         6.40     765.00          4,896.00
Nick Hafen                                            2.20     765.00          1,683.00
Abby Rose Hollenstein                                 0.80     865.00            692.00
Derek I. Hunter                                       2.90   1,070.00          3,103.00
Jason T. Jarvis                                       2.40     625.00          1,500.00
Gary J. Kavarsky                                      4.30     995.00          4,278.50
Tyler R. Knutson                                     13.30     625.00          8,312.50
Michael Lemm                                          2.60     765.00          1,989.00
Brian Nakhaimousa                                    22.70     625.00         14,187.50
Samuel J. Seneczko                                    2.00     765.00          1,530.00
Charles B. Sterrett                                   1.20     765.00            918.00
Benjamin P. Stone                                     5.50     625.00          3,437.50
William Thompson                                      3.30     625.00          2,062.50
Scott J. Vail                                         0.40   1,070.00            428.00
Eric J. Wendorf                                       3.70     625.00          2,312.50
Chambliss Williams                                    4.80     765.00          3,672.00
Donna Zamir                                           3.00     625.00          1,875.00

TOTALS                                              109.20                   $ 78,474.50




                                              2
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                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Maggie Alden                     0.30 Telephone conference with K&E team re
                                               work in progress (.2); correspond with B.
                                               Nakhaimousa re same (.1).
06/01/21 Simon Briefel                    0.40 Telephone conference with K&E team re
                                               status, next steps.
06/01/21 Dave Gremling                    0.90 Attend telephone conference with K&E team
                                               re case status and workstream update (.3);
                                               conference with N. Binder re same (.2)
                                               review, revise workstream tracking document
                                               (.4).
06/01/21 Nick Hafen                       0.30 Conference with D. Hunter, K&E team re
                                               works in process.
06/01/21 Derek I. Hunter                  0.50 Conference with K&E team, Company, and
                                               Company advisors re works in process.
06/01/21 Jason T. Jarvis                  0.30 Telephone conference with D. Hunter, K&E
                                               team re work in process.
06/01/21 Gary J. Kavarsky                 0.30 Telephone conference with D. Hunter, K&E
                                               team re work in process.
06/01/21 Tyler R. Knutson                 0.30 Conference with K&E team re work in
                                               process.
06/01/21 Michael Lemm                     0.30 Video conference with D. Hunter, K&E team
                                               re work in process (.2); review and revise
                                               tracker re same (.1).
06/01/21 Brian Nakhaimousa                2.20 Conference with D. Hunter, K&E team re
                                               work in process (.3); correspond with K&E
                                               team re same (1.1); update work in process
                                               tracking documents (.8).
06/01/21 Benjamin P. Stone                0.30 Conference with D. Hunter, K&E team re
                                               works in process.
06/01/21 William Thompson                 0.40 Conference with D. Hunter and K&E team re
                                               work in process (.3); correspond with B.
                                               Nakhaimousa re same (.1).
06/01/21 Eric J. Wendorf                  0.30 Participate in work in progress meeting.
06/01/21 Chambliss Williams               0.70 Conference with D. Hunter, K&E team re
                                               works in process (.5); review summary chart
                                               re same (.2).
06/01/21 Donna Zamir                      0.30 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.



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Date     Name                            Hours Description
06/02/21 Maggie Alden                     1.80 Telephone conferences with K&E team re
                                               onboarding, staffing (1.1); correspond with
                                               K&E team re same (.7).
06/02/21 Abby Rose Hollenstein            0.60 Weekly K&E team zoom re upcoming
                                               projects and scheduling.
06/02/21 Brian Nakhaimousa                0.60 Correspond with D. Hunter, K&E team re
                                               work in process (.2); update work in process
                                               tracker re same (.4).
06/02/21 Benjamin P. Stone                0.30 Correspond with B. Nakhaimousa re works in
                                               progress.
06/03/21 Maggie Alden                     0.20 Correspond with K&E team re staffing,
                                               onboarding.
06/03/21 Tyler R. Knutson                 0.60 Review and revise workstream tracker.
06/03/21 Brian Nakhaimousa                1.10 Correspond with D. Hunter, K&E teams re
                                               work in process (.4); update work in process
                                               trackers re same (.7).
06/04/21 Maggie Alden                     1.70 Correspond with K&E team re staffing (.6);
                                               correspond with B. Nakhaimousa re work in
                                               process tracker (.1); telephone conference
                                               with K&E team re work in progress, status
                                               (.5); correspond with K&E team re
                                               onboarding (.5).
06/04/21 Simon Briefel                    0.40 Telephone conference with K&E team re
                                               status, next steps (.3); revise workstream
                                               tracking document (.1).
06/04/21 Emily Flynn                      0.20 Conference with D. Hunter, K&E team re
                                               works in progress.
06/04/21 Dave Gremling                    0.50 Conference with K&E team re workstream
                                               status and case update (.3); revise workstream
                                               tracking document (.2).
06/04/21 Derek I. Hunter                  0.40 Conference with K&E team re works in
                                               process.
06/04/21 Jason T. Jarvis                  0.30 Telephone conference with D. Hunter, K&E
                                               team re work in process.
06/04/21 Gary J. Kavarsky                 0.40 Telephone conference with D. Hunter, K&E
                                               team re work in progress.
06/04/21 Tyler R. Knutson                 0.20 Conference with K&E team re work in
                                               process.
06/04/21 Tyler R. Knutson                 1.50 Review and revise workstream tracker (1.1);
                                               correspond with B. Nakhaimousa, D. Zamir,
                                               B Stone re same (.4).



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Date     Name                            Hours Description
06/04/21 Michael Lemm                     0.20 Video conference with D. Hunter, K&E team
                                               re work in process.
06/04/21 Brian Nakhaimousa                0.80 Conference with D. Hunter, K&E team re
                                               work in process (.3); correspond with K&E
                                               team re work in process (.1); update work in
                                               process tracker re same (.4).
06/04/21 Charles B. Sterrett              0.30 Video conference with D. Hunter, K&E team
                                               re deal status, critical workstreams.
06/04/21 Benjamin P. Stone                0.30 Conference with D. Hunter, K&E team re
                                               works in progress.
06/04/21 William Thompson                 0.30 Conference with D. Hunter and K&E team re
                                               work in process.
06/04/21 Scott J. Vail                    0.40 Prepare for and participate in work in process
                                               conference with K&E team re work streams
                                               and critical deadlines.
06/04/21 Eric J. Wendorf                  0.50 Conference with D. Hunter, K&E team re
                                               works in progress.
06/04/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re WIP (.5); review summary chart re same
                                               (.2).
06/04/21 Donna Zamir                      0.30 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
06/06/21 Brian Nakhaimousa                0.30 Correspond with K&E team re work in
                                               process.
06/07/21 Maggie Alden                     1.90 Correspond with K&E team re staffing (.4);
                                               correspond, office conferences, telephone
                                               conferences with K&E team re same (1.5).
06/07/21 Nicholas A. Binder               1.20 Review case documents, materials,
                                               correspondences.
06/07/21 Brian Nakhaimousa                0.60 Correspond with K&E team re work in
                                               process, key dates (.3); update work in
                                               process tracker (.3).
06/07/21 Eric J. Wendorf                  0.10 Review tracker re work in process.
06/08/21 Maggie Alden                     1.00 Correspond with K&E team re staffing,
                                               onboarding (.8); attend video conference with
                                               K&E team re work in progress (.2).
06/08/21 Nicholas A. Binder               1.40 Analyze case considerations (.7); review,
                                               revise document re same (.4); telephone
                                               conference with K&E team re work in
                                               progress (.3).
06/08/21 Simon Briefel                    0.30 Telephone conference with K&E team re case
                                               status, next steps.

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Date     Name                            Hours Description
06/08/21 Dave Gremling                    1.30 Revise workstream tracking document (.7);
                                               correspond with B. Nakhaimousa re same
                                               (.2); conference with K&E team re
                                               workstream status and case update (.4);.
06/08/21 Nick Hafen                       0.30 Conference with D. Hunter, K&E team re
                                               works in process.
06/08/21 Derek I. Hunter                  0.30 Conference with K&E team, Company, and
                                               Company advisors re works in process.
06/08/21 Jason T. Jarvis                  0.30 Telephone conference with D. Hunter, K&E
                                               team re work in process.
06/08/21 Gary J. Kavarsky                 0.80 Telephone conference with K&E team, local
                                               counsel re work in progress (.4); telephone
                                               conference with D. Hunter, K&E team re
                                               work in progress (.4).
06/08/21 Tyler R. Knutson                 0.20 Conference with D. Hunter, K&E team re
                                               work in process.
06/08/21 Michael Lemm                     0.20 Video conference with D. Hunter, K&E team
                                               re work in process.
06/08/21 Brian Nakhaimousa                2.90 Correspond with K&E team re work in
                                               process (1.2); revise work in process trackers
                                               (1.4); conference with D. Hunter, K&E team
                                               re work in process (.3).
06/08/21 Benjamin P. Stone                0.20 Conference with D. Hunter, K&E team re
                                               works in progress.
06/08/21 William Thompson                 0.30 Conference with D. Hunter and K&E team re
                                               work in process.
06/08/21 Eric J. Wendorf                  0.40 Participate in work in progress meeting with
                                               K&E team.
06/08/21 Donna Zamir                      0.30 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
06/09/21 Maggie Alden                     1.10 Correspond with K&E team re staffing (.5);
                                               office conference with K&E team re research
                                               (.6).
06/09/21 Tyler R. Knutson                 0.20 Correspond with N. Binder re workstream
                                               stats.
06/09/21 Brian Nakhaimousa                1.40 Correspond with D. Hunter, K&E team re
                                               work in process and certain key dates (1.1);
                                               revise work in process tracker (.3).
06/09/21 Donna Zamir                      0.50 Correspond with D. Gremling, Stretto team re
                                               hearing schedules.
06/10/21 Maggie Alden                     1.50 Correspond with K&E restructuring team,
                                               summers re staffing.

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Date     Name                            Hours Description
06/10/21 Dave Gremling                    0.20 Revise workstream tracking document.
06/10/21 Tyler R. Knutson                 0.80 Research re 1L Credit Agreement
                                               Administrative agent (.5); correspond with D.
                                               Gremling re same (.3).
06/10/21 Brian Nakhaimousa                0.10 Correspond with calendar team re key dates.
06/10/21 Benjamin P. Stone                1.20 Conference with B. Nakhaimousa re works in
                                               progress tracker (.1); analyze same (.3);
                                               correspond with D. Hunter, K&E team re
                                               updates re same (.3); revise same (.3);
                                               correspond with D. Hunter re same (.2).
06/11/21 Maggie Alden                     3.40 Correspond with W. Thompson re staffing
                                               (.2); telephone conference with W. Thompson
                                               re same (.1); telephone conference with K&E
                                               team re onboarding (.7); correspond with
                                               K&E team re same (.5); telephone conference
                                               with K&E team re work in progress, status
                                               (.2); correspond with K&E team re staffing,
                                               docs (.9); telephone conference with J.
                                               McKelvey re workstream (.8).
06/11/21 Nicholas A. Binder               0.80 Telephone conference with D. Hunter, K&E
                                               team re case considerations (.5); telephone
                                               conference with K&E team re work in
                                               progress (.3).
06/11/21 Simon Briefel                    0.30 Telephone conference with K&E team re case
                                               status, next steps.
06/11/21 Emily Flynn                      0.20 Conference with D. Hunter, K&E team re
                                               works in progress.
06/11/21 Dave Gremling                    0.20 Conference with K&E team re workstream
                                               status and case update.
06/11/21 Nick Hafen                       0.20 Conference with D. Hunter, K&E team re
                                               works in process.
06/11/21 Derek I. Hunter                  0.60 Conference with K&E team, Company, and
                                               Company advisors re works in process.
06/11/21 Gary J. Kavarsky                 0.40 Telephone conference with K&E team re
                                               work in progress.
06/11/21 Tyler R. Knutson                 0.50 Review and revise workstream tracker (.2);
                                               conference with D. Hunter, K&E team re
                                               work in process (.3).
06/11/21 Michael Lemm                     0.20 Video conference with D. Hunter, K&E team
                                               re work in process.
06/11/21 Samuel J. Seneczko               0.30 Telephone conference with K&E team re
                                               work in process.


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Case Administration

Date     Name                            Hours Description
06/11/21 Benjamin P. Stone                1.00 Revise works in progress tracker (.2);
                                               correspond with K&E re same (.2); revise
                                               same (.3); correspond with D. Hunter re same
                                               (.2); Conference with D. Hunter, K&E team
                                               re works in process (.1).
06/11/21 William Thompson                 0.30 Conference with D. Hunter and K&E team re
                                               work in process.
06/11/21 Chambliss Williams               0.50 Video conference with D. Hunter, K&E team
                                               re works in process (.4); correspond with
                                               K&E team re updates to same (.1).
06/11/21 Donna Zamir                      0.30 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
06/13/21 Brian Nakhaimousa                0.40 Update work in process trackers.
06/14/21 Maggie Alden                     0.70 Revise priority workstream tracking
                                               document (.1); correspond with W. Thompson
                                               re staffing (.2); correspond with K&E team re
                                               staffing matters (.4).
06/14/21 Dave Gremling                    0.20 Revise workstream tracking document.
06/14/21 Brian Nakhaimousa                1.90 Correspond with K&E team re work in
                                               process (.3); update work in process tracker
                                               (.6); draft high-priority items tracker (1.0).
06/15/21 Maggie Alden                     0.60 Telephone conference with working group re
                                               work in progress, status.
06/15/21 Emily Flynn                      0.40 Telephone conference with D. Hunter, K&E
                                               team re works in progress.
06/15/21 Dave Gremling                    0.50 Conference with K&E team re workstream
                                               status and case update.
06/15/21 Nick Hafen                       0.50 Conference with D. Hunter, K&E team re
                                               works in process.
06/15/21 Abby Rose Hollenstein            0.20 Participate in weekly K&E team telephone
                                               conference re upcoming projects.
06/15/21 Derek I. Hunter                  0.60 Conference with K&E team, Company, and
                                               Company advisors re works in process.
06/15/21 Jason T. Jarvis                  0.60 Telephone conference with D. Hunter, K&E
                                               team re work in process.
06/15/21 Gary J. Kavarsky                 0.70 Telephone conference with K&E team,
                                               Company re work in progress (.3); conference
                                               with D. Hunter, K&E team re work in
                                               progress (.4).
06/15/21 Tyler R. Knutson                 1.00 Review board materials re governance issue
                                               (.5); conference with D. Hunter, K&E team re
                                               work in process (.5).

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Date     Name                            Hours Description
06/15/21 Michael Lemm                     0.50 Video conference with D. Hunter, K&E team
                                               re work in process.
06/15/21 Brian Nakhaimousa                1.30 Conference with K&E team re work in
                                               process (.5); correspond with K&E team re
                                               work in process (.1); update work in process
                                               trackers (.7).
06/15/21 Samuel J. Seneczko               0.80 Correspond with M. Alden, N. Binder, D.
                                               Gremling, M. Lemm re workstreams (.3);
                                               telephone conference with K&E team re work
                                               in process (.5).
06/15/21 Benjamin P. Stone                0.60 Telephone conference with D. Hunter, K&E
                                               team re works in process.
06/15/21 William Thompson                 0.60 Conference with D. Hunter and K&E team re
                                               work in process.
06/15/21 Eric J. Wendorf                  0.50 Conference with D. Hunter and K&E team re
                                               work in process.
06/15/21 Chambliss Williams               0.90 Video conference with D. Hunter, K&E team
                                               re work in progress (.6); review summary
                                               charts re same (.3).
06/15/21 Donna Zamir                      0.50 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
06/16/21 Maggie Alden                     0.20 Correspond with K&E team re staffing.
06/16/21 Nicholas A. Binder               0.50 Review case progress summary (.3);
                                               correspond with W. Thompson re same (.2).
06/16/21 Jason T. Jarvis                  0.10 Review, revise work in process tracker.
06/16/21 Gary J. Kavarsky                 0.30 Telephone conference with K&E team,
                                               Company re work in progress.
06/16/21 Brian Nakhaimousa                0.90 Correspond with K&E team re work in
                                               process (.4); update work in process trackers
                                               (.5).
06/17/21 Maggie Alden                     0.60 Correspond with D. Hunter, K&E team re
                                               staffing matters.
06/17/21 Gary J. Kavarsky                 0.30 Telephone conference with K&E team,
                                               Company re work in progress.
06/17/21 Tyler R. Knutson                 0.80 Update workstream trackers.
06/17/21 Brian Nakhaimousa                0.90 Correspond with K&E team re work in
                                               process (.1); update work in process trackers
                                               re same (.8).
06/18/21 Nicholas A. Binder               0.90 Telephone conference with K&E team re
                                               work in progress (.4); revise documents re
                                               same (.5).


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Case Administration

Date     Name                            Hours Description
06/18/21 Simon Briefel                    0.60 Telephone conference with K&E team re
                                               status, next steps (.5); review work in
                                               progress tracker re same (.1).
06/18/21 Nick Hafen                       0.30 Conference with D. Hunter, K&E team re
                                               works in process.
06/18/21 Gary J. Kavarsky                 0.40 Telephone conference with D. Hunter, K&E
                                               team re work in progress.
06/18/21 Tyler R. Knutson                 0.30 Conference with D. Hunter, K&E team re
                                               work in process.
06/18/21 Michael Lemm                     0.30 Video conference with D. Hunter, K&E team
                                               re work in process.
06/18/21 Brian Nakhaimousa                1.00 Update work in process trackers (.6);
                                               conference with K&E team re work in process
                                               (.4).
06/18/21 Charles B. Sterrett              0.40 Video conference with D. Hunter, K&E team
                                               re negotiations status, critical workstreams.
06/18/21 Benjamin P. Stone                0.20 Conference with D. Hunter, K&E team re
                                               works in progress.
06/18/21 William Thompson                 0.40 Conference with D. Hunter and K&E team re
                                               work in process.
06/18/21 Eric J. Wendorf                  0.50 Participate in work in process conference.
06/18/21 Chambliss Williams               0.60 Video conference with D. Hunter, K&E team
                                               re works in progress (.4); review summary
                                               chart re same (.2).
06/18/21 Donna Zamir                      0.30 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
06/20/21 Brian Nakhaimousa                0.70 Update work in process trackers.
06/20/21 Benjamin P. Stone                0.30 Correspond with B. Nakhaimousa re works in
                                               progress updates.
06/21/21 Brian Nakhaimousa                0.70 Correspond with K&E team re work in
                                               process (.2); update work in process trackers
                                               (.5).
06/22/21 Maggie Alden                     0.90 Correspond with S. Seneczko, K&E team re
                                               staffing (.2); attend telephone conference with
                                               D. Hunter, K&E team re WIP (.4); correspond
                                               with summers re summer research (.3).
06/22/21 Nicholas A. Binder               1.10 Telephone conference with K&E team re
                                               work in progress (.5); review document re
                                               same (.1); telephone conference with M.
                                               Lemm, D. Gremling re case considerations
                                               (.5).


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Date     Name                            Hours Description
06/22/21 Simon Briefel                    0.50 Telephone conference with K&E team re
                                               status, next steps.
06/22/21 Dave Gremling                    0.90 Conference with K&E team re workstream
                                               status and case update (.5); conference with
                                               N. Binder re case status (.4).
06/22/21 Nick Hafen                       0.40 Conference with D. Hunter, K&E team re
                                               works in process.
06/22/21 Derek I. Hunter                  0.50 Conference with K&E team, Company, and
                                               Company advisors re works in process.
06/22/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process.
06/22/21 Gary J. Kavarsky                 0.70 Telephone conference with disinterested
                                               directors re status (.2); telephone conference
                                               with K&E team re work in progress (.5).
06/22/21 Tyler R. Knutson                 2.30 Review and revise working group list (1.6);
                                               correspond with N. Binder, D. Gremling, re
                                               same (.3); draft summary of ongoing
                                               workstreams (.3); correspond with B.
                                               Nakhaimousa re same (.1).
06/22/21 Michael Lemm                     0.50 Video conference with D. Hunter, K&E team
                                               re work in process (.4); review and revise
                                               trackers re same (.1).
06/22/21 Brian Nakhaimousa                1.60 Correspond with K&E team re work in
                                               process (.2); revise work in process trackers
                                               (.9); conference with D. Hunter, K&E team re
                                               work in process (.5).
06/22/21 Samuel J. Seneczko               0.50 Conference with K&E team re work in
                                               process.
06/22/21 Charles B. Sterrett              0.50 Video conference with D. Hunter, K&E team
                                               re negotiations status, critical workstreams.
06/22/21 Benjamin P. Stone                0.50 Conference with D. Hunter, K&E team re
                                               works in progress.
06/22/21 William Thompson                 0.70 Conference with D. Hunter and K&E team re
                                               work in process (.5); correspond with B.
                                               Nakhaimousa re same (.2).
06/22/21 Eric J. Wendorf                  0.60 Participate in work in progress meeting (.5);
                                               correspond with B. Nakhaimousa re works in
                                               progress (.1).
06/22/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re works in progress (.5); review summary
                                               chart re same (.2).



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Date     Name                            Hours Description
06/22/21 Donna Zamir                      0.50 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
06/23/21 Maggie Alden                     0.20 Revise tracker re staffing, evaluations,
                                               summers.
06/23/21 Nicholas A. Binder               0.20 Telephone conference with W. Thompson re
                                               workstreams.
06/23/21 Brian Nakhaimousa                0.10 Revise work in process tracker.
06/24/21 Maggie Alden                     0.20 Correspond with K&E team re research
                                               summary.
06/24/21 Simon Briefel                    0.10 Revise work in progress tracker.
06/24/21 Dave Gremling                    0.90 Revise workstream tracking document (.5);
                                               conference with N. Binder re workstream
                                               status (.4).
06/24/21 Tyler R. Knutson                 2.30 Review and revise working group list (1.9);
                                               review and revise workstream tracking
                                               document (.4).
06/24/21 Brian Nakhaimousa                0.30 Correspond with K&E team re work in
                                               process (.2); update work in process tracker
                                               (.1).
06/25/21 Maggie Alden                     0.80 Telephone conference with D. Hunter, K&E
                                               team re work in progress (.3); telephone
                                               conference with K&E team re workstreams
                                               (.5).
06/25/21 Nicholas A. Binder               0.80 Correspond with K&E team re general case
                                               considerations (.3); telephone conference with
                                               K&E team re work in progress (.3); revise
                                               document re same (.2).
06/25/21 Simon Briefel                    0.30 Telephone conference with K&E team re
                                               status, next steps.
06/25/21 Dave Gremling                    0.40 Conference with K&E team re workstream
                                               status and case update (.3); analyze
                                               workstream tracking document (.1).
06/25/21 Nick Hafen                       0.20 Conference with D. Hunter, K&E team re
                                               works in process.
06/25/21 Michael Lemm                     0.30 Video conference with D. Hunter, K&E team
                                               re work in process (.2); review and revise
                                               tracker re same (.1).
06/25/21 Brian Nakhaimousa                1.60 Correspond with K&E team re work in
                                               process (.3); calendar key dates (.2); update
                                               work in process tracker (.7); conference with
                                               D. Hunter, K&E team re work in process (.4).



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Case Administration

Date     Name                            Hours Description
06/25/21 Samuel J. Seneczko               0.40 Conference with K&E team re work in
                                               process.
06/25/21 Benjamin P. Stone                0.60 Review, revise works in progress tracker (.2);
                                               correspond with B. Nakhaimousa re same
                                               (.1); conference with D. Hunter, K&E team re
                                               works in progress (.3).
06/25/21 William Thompson                 0.30 Conference with D. Hunter and K&E team re
                                               work in process.
06/25/21 Eric J. Wendorf                  0.60 Participate in work in progress meeting (.5);
                                               review tracker re same (.1).
06/25/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re works in progress (.5); review summary
                                               charts re same (.2).
06/27/21 Tyler R. Knutson                 2.30 Review, revise Working Group List (1.4);
                                               incorporate additional updates and feedback
                                               re same (.9).
06/27/21 Brian Nakhaimousa                0.40 Update work in process trackers.
06/28/21 Dave Gremling                    0.40 Revise workstream tracking document (.3);
                                               correspond with B. Nakhaimousa re same
                                               (.1).
06/28/21 Jason T. Jarvis                  0.10 Review, revise work in process tracker.
06/28/21 Michael Lemm                     0.10 Review and revise tracker re work in process.
06/28/21 Brian Nakhaimousa                0.40 Correspond with K&E team re work in
                                               process (.1); update work in process trackers
                                               (.3).
06/28/21 Eric J. Wendorf                  0.20 Review work in progress tracker (.1);
                                               correspond with B. Nakhaimousa re same
                                               (.1).
06/29/21   Jason T. Jarvis                0.10 Review, revise work in process tracker.
06/29/21   Brian Nakhaimousa              0.20 Update work in process trackers.
06/30/21   Jason T. Jarvis                0.10 Review, revise work in process tracker.
06/30/21   Brian Nakhaimousa              0.30 Revise work in process tracker.

Total                                   109.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048258
                                                                               Client Matter: 48457-21

In the Matter of K&E Retention




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 89,190.00
Total legal services rendered                                                                                  $ 89,190.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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K&E Retention




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          0.70     765.00            535.50
Joanna Aybar                                          0.30     350.00            105.00
Simon Briefel                                         2.60     875.00          2,275.00
Elizabeth DeGori                                      0.20     995.00            199.00
Emily Flynn                                           7.50     875.00          6,562.50
Dave Gremling                                         1.40     765.00          1,071.00
Anthony R. Grossi                                     0.80   1,220.00            976.00
Nick Hafen                                           30.20     765.00         23,103.00
Heidi Hockberger                                      0.50     995.00            497.50
Derek I. Hunter                                       7.50   1,070.00          8,025.00
Jason T. Jarvis                                       7.20     625.00          4,500.00
Gary J. Kavarsky                                      0.60     995.00            597.00
Tyler R. Knutson                                     12.90     625.00          8,062.50
Michael Lemm                                          2.50     765.00          1,912.50
Brian Nakhaimousa                                     1.90     625.00          1,187.50
Robert Orren                                          1.20     460.00            552.00
Laura Saal                                            2.00     460.00            920.00
Samuel J. Seneczko                                    0.20     765.00            153.00
Charles B. Sterrett                                   1.50     765.00          1,147.50
Benjamin P. Stone                                    18.90     625.00         11,812.50
William Thompson                                      1.60     625.00          1,000.00
Scott J. Vail                                         2.20   1,070.00          2,354.00
Eric J. Wendorf                                       4.90     625.00          3,062.50
Chambliss Williams                                    2.80     765.00          2,142.00
Donna Zamir                                          10.30     625.00          6,437.50

TOTALS                                              122.40                   $ 89,190.00




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K&E Retention


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Derek I. Hunter                  0.20 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
06/02/21 Gary J. Kavarsky                 0.60 Review, revise K&E invoices re U.S. Trustee
                                               guidelines and privilege.
06/04/21 Emily Flynn                      0.40 Review, revise K&E fee statement re
                                               confidentiality.
06/07/21 Emily Flynn                      0.20 Correspond with Company re K&E fees.
06/07/21 Anthony R. Grossi                0.80 Review background re compensation issues.
06/07/21 Nick Hafen                       0.40 Correspond with D. Hunter re K&E retention
                                               order (.2); review, analyze fee examiner
                                               preliminary report (.2).
06/08/21 Nick Hafen                       2.30 Review, analyze fee examiner preliminary
                                               report (1.6); draft summary chart and
                                               response letter re same (.4); correspond with
                                               D. Hunter, B. Stone re same (.3).
06/08/21 Derek I. Hunter                  0.50 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
06/08/21 Laura Saal                       2.00 Prepare April fee statement (1.8); prepare
                                               compiled filing version (.2).
06/08/21 Benjamin P. Stone                7.10 Correspond with N. Hafen re fee examiner
                                               report (.2); analyze same (2.8); draft table of
                                               responses re same (3.9); correspond with N.
                                               Hafen re same (.2).
06/09/21 Emily Flynn                      1.00 Review K&E fee statement (.6); correspond
                                               with K&E team re same (.4).
06/09/21 Nick Hafen                       1.20 Further review, revise response to fee
                                               examiner preliminary report.
06/09/21 Derek I. Hunter                  0.20 Correspond with K&E team re K&E retention
                                               and conflict analyses.
06/09/21 Donna Zamir                      3.00 Review, revise K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines.
06/10/21 Emily Flynn                      0.80 Review, revise K&E fee statement (.5);
                                               correspond with K&E team re same (.3).
06/10/21 Nick Hafen                       4.00 Draft response to fee examiner preliminary
                                               report.



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K&E Retention

Date     Name                            Hours Description
06/10/21 Derek I. Hunter                  0.30 Correspond with K&E team re K&E retention
                                               and conflict analyses.
06/10/21 Jason T. Jarvis                  2.00 Review, revise invoices re compliance with
                                               U.S. Trustee guidelines and privileged
                                               considerations.
06/10/21 Tyler R. Knutson                 0.90 Review, Revise K&E Fee Statement for
                                               confidentiality and compliance with U.S.
                                               Trustee Guidelines.
06/10/21 Samuel J. Seneczko               0.20 Correspond with E. Flynn, N. Binder, T.
                                               Knutson re invoice review.
06/10/21 Eric J. Wendorf                  2.10 Review, revise K&E fee statement re
                                               privilege, confidentiality, compliance with
                                               U.S. Trustee guidelines.
06/10/21 Chambliss Williams               0.40 Correspond with B. Stone, E. Flynn re K&E
                                               fee statement.
06/10/21 Donna Zamir                      3.00 Further review, revise K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines.
06/11/21 Nick Hafen                       1.80 Revise fee examiner response letter (.6);
                                               correspond with D. Hunter re same (.2);
                                               review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines (1.0).
06/11/21 Jason T. Jarvis                  1.20 Revise invoice re compliance with U.S.
                                               Trustee guidelines and privileged
                                               considerations.
06/11/21 Tyler R. Knutson                 1.10 Review, revise K&E Fee Statement for
                                               confidentiality and compliance with U.S.
                                               Trustee Guidelines.
06/11/21 Benjamin P. Stone                3.90 Review, revise fee statements re conforming
                                               to U.S. Trustee guidelines, privilege.
06/11/21 William Thompson                 1.50 Revise billing invoice re compliance with
                                               U.S. Trustee guidelines.
06/11/21 Eric J. Wendorf                  2.80 Further revise K&E fee statements for
                                               privilege, confidentiality, compliance with
                                               U.S. Trustee guidelines (2.6); correspond with
                                               N. Binder re same (.2).
06/11/21 Donna Zamir                      4.30 Further review, revise K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines (3.9); correspond
                                               with D. Gremling re same (.4).



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K&E Retention

Date     Name                            Hours Description
06/12/21 Nick Hafen                       3.80 Review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines (2.1); revise fee examiner response
                                               letter (1.4); correspond with A. Grossi, D.
                                               Hunter re same (.3).
06/12/21 Derek I. Hunter                  0.90 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same and fee examiner response.
06/12/21 Tyler R. Knutson                 5.30 Review, revise K&E Fee Statement for
                                               confidentiality and compliance with U.S.
                                               Trustee Guidelines.
06/12/21 Benjamin P. Stone                4.10 Further review, revise fee statements re
                                               conforming to U.S. Trustee guidelines,
                                               privilege (3.9); correspond with C. Williams
                                               re same (.2).
06/13/21 Dave Gremling                    1.40 Revise invoice re confidentiality and
                                               compliance with US Trustee guidelines.
06/13/21 Nick Hafen                       0.20 Correspond with D. Hunter, Bernstein Shur re
                                               fee examiner preliminary report.
06/13/21 Jason T. Jarvis                  4.00 Review, revise invoices re compliance with
                                               U.S. Trustee guidelines and privileged
                                               considerations.
06/13/21 Charles B. Sterrett              1.50 Review K&E invoice re privilege,
                                               confidentiality, adherence to U.S. Trustee
                                               guidelines.
06/14/21 Maggie Alden                     0.70 Review, revise, redact fee statement draft re
                                               privilege, confidentiality, compliance with
                                               U.S. Trustee guidelines (.6); correspond with
                                               S. Briefel, J. Jarvis re same (.1).
06/14/21 Michael Lemm                     2.50 Review, revise K&E invoice for privilege,
                                               confidentiality issues, compliance with U.S.
                                               Trustee guidelines and local rules.
06/14/21 Chambliss Williams               2.40 Review, revise invoices for compliance with
                                               U.S. Trustee guidelines.
06/15/21 Emily Flynn                      0.80 Review, revise K&E invoice re
                                               confidentiality and compliance with U.S.
                                               Trustee guidelines.
06/15/21 Nick Hafen                       3.10 Correspond with A. Grossi re fee examiner
                                               response (.3); revise materials re fee examiner
                                               response (2.8).
06/15/21 Derek I. Hunter                  0.20 Correspond with K&E team re response to the
                                               fee examiner, related privilege and
                                               confidentiality analysis.

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K&E Retention

Date     Name                            Hours Description
06/16/21 Simon Briefel                    2.60 Correspond with K&E team re fee examiner
                                               inquiries (.2); review, revise K&E invoice re
                                               U.S. Trustee guidelines, confidentiality (2.4).
06/16/21 Elizabeth DeGori                 0.20 Correspond with N. Hafen re fee examiner
                                               report.
06/16/21 Emily Flynn                      3.70 Review, revise K&E invoice re
                                               confidentiality and compliance with U.S.
                                               Trustee guidelines.
06/16/21 Nick Hafen                       5.20 Further revise fee examiner response
                                               materials (3.0); correspond with A. Grossi re
                                               same (.3); correspond with D. Hunter, K&E
                                               team re fee examiner response materials (.9);
                                               revise fee examiner response re A. Grossi
                                               telephone conference with B. Keach (1.0).
06/16/21 Derek I. Hunter                  1.40 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.
06/16/21 Brian Nakhaimousa                0.30 Correspond with N. Hafen re December
                                               invoice.
06/16/21 William Thompson                 0.10 Correspond with N. Hafen re fee invoice re
                                               privilege.
06/17/21 Nick Hafen                       1.90 Revise fee examiner response materials (1.7);
                                               correspond with A. Grossi, D. Hunter re same
                                               (.2).
06/17/21 Derek I. Hunter                  0.40 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
06/17/21 Robert Orren                     1.20 Draft K&E fourth interim fee application.
06/18/21 Nick Hafen                       1.00 Further revise fee examiner response
                                               materials (.8); correspond with S. Serajeddini,
                                               A. Grossi, D. Hunter re same (.2).
06/18/21 Derek I. Hunter                  1.00 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
06/19/21 Nick Hafen                       0.20 Correspond with A. Grossi, D. Hunter, fee
                                               examiner re preliminary report response.
06/22/21 Joanna Aybar                     0.30 Research retention application, conflicts
                                               precedent.
06/23/21 Nick Hafen                       0.60 Review fee examiner correspondence (.2);
                                               analyze fee application re same (.2); draft
                                               correspondence to D. Hunter re same (.2).



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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048258
Intelsat S.A.                                               Matter Number:        48457-21
K&E Retention

Date     Name                            Hours Description
06/23/21 Derek I. Hunter                  0.20 Correspond with K&E team re response to the
                                               fee examiner, related privilege and
                                               confidentiality analysis.
06/23/21 Tyler R. Knutson                 1.40 Review and analyze fee statement re
                                               summaries of activities billed for during fee
                                               period.
06/24/21 Nick Hafen                       4.50 Draft correspondence to A. Grossi, D. Hunter
                                               re fee examiner response (2.4); draft
                                               correspondence to fee examiner re same (.8);
                                               review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines (1.3).
06/24/21 Heidi Hockberger                 0.30 Revise K&E invoice for confidentiality and
                                               compliance with U.S. Trustee guidelines.
06/24/21 Derek I. Hunter                  0.50 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
06/24/21 Tyler R. Knutson                 4.20 Draft summary of items billed during
                                               applicable fee period (3.1); review K&E fee
                                               statements re same (1.1).
06/24/21 Brian Nakhaimousa                1.60 Revise fourth interim fee application.
06/24/21 Benjamin P. Stone                2.90 Analyze fee statements re fourth interim fee
                                               application (1.8); draft matter number
                                               descriptions re same (1.1).
06/25/21 Emily Flynn                      0.60 Review, revise K&E fee statement re
                                               confidentiality and compliance with U.S.
                                               Trustee guidelines.
06/25/21 Heidi Hockberger                 0.20 Revise K&E invoice for confidentiality and
                                               compliance with U.S. Trustee guidelines.
06/25/21 Benjamin P. Stone                0.90 Review, revise fourth interim fee application
                                               (.8); correspond with N. Hafen re same (.1).
06/28/21 Derek I. Hunter                  1.70 Review, analyze, and revise invoice re
                                               confidentiality and privilege.
06/28/21 Scott J. Vail                    2.20 Review, revise invoices re U.S. Trustee
                                               guidelines and privilege considerations (2.1);
                                               correspond with K&E team and E. Flynn re
                                               same (.1).

Total                                   122.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048259
                                                                               Client Matter: 48457-22

In the Matter of Non-K&E Retention




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 11,636.00
Total legal services rendered                                                                                  $ 11,636.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-22
Non-K&E Retention




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         3.70      765.00          2,830.50
Nicholas A. Binder                                   0.90      765.00            688.50
Emily Flynn                                          0.40      875.00            350.00
Anthony R. Grossi                                    0.30    1,220.00            366.00
Nick Hafen                                           5.20      765.00          3,978.00
Derek I. Hunter                                      1.30    1,070.00          1,391.00
Gary J. Kavarsky                                     1.10      995.00          1,094.50
William Thompson                                     1.50      625.00            937.50

TOTALS                                               14.40                   $ 11,636.00




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Intelsat S.A.                                               Matter Number:        48457-22
Non-K&E Retention


                                  Description of Legal Services

Date     Name                            Hours Description
06/02/21 Nick Hafen                       1.40 Research re accountant retention (1.1);
                                               correspond with D. Hunter, E. Flynn, W.
                                               Thompson re same (.3).
06/02/21 Derek I. Hunter                  0.20 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
06/03/21 Maggie Alden                     2.60 Analyze supplemental retention issue (1.9);
                                               correspond with Kutak, A. Grossi, D. Hunter
                                               re same (.7).
06/03/21 Nick Hafen                       0.30 Correspond with A&M, Kutak re A&M
                                               supplemental declaration (.2); prepare same
                                               for filing (.1).
06/03/21 Derek I. Hunter                  0.70 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
06/03/21 William Thompson                 1.20 Research re non-K&E retention motions.
06/04/21 Maggie Alden                     1.10 Correspond with A. Grossi, D. Hunter re
                                               supplemental banker retention (.9);
                                               correspond with Kutak re same (.2).
06/04/21 Nick Hafen                       0.40 Review, analyze Deloitte FAS fee statement
                                               (.3); correspond with Kutak re same (.1).
06/04/21 Derek I. Hunter                  0.20 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
06/04/21 William Thompson                 0.30 Further research re non-K&E retention
                                               motion.
06/08/21 Nicholas A. Binder               0.20 Correspond with A&M re professional fees.
06/09/21 Nicholas A. Binder               0.30 Telephone conference with N. Hafen re
                                               retention, professional fee considerations (.1);
                                               correspond with A&M, professionals re same
                                               (.2).
06/14/21 Nick Hafen                       0.90 Review, analyze A&M fee statement re
                                               privilege, confidentiality.
06/15/21 Nicholas A. Binder               0.40 Analyze professional fees considerations.
06/16/21 Gary J. Kavarsky                 1.10 Correspond with insurer, A&M, N. Binder re
                                               retained professional reimbursements (.4);
                                               review motions and orders re same (.7).
06/18/21 Anthony R. Grossi                0.30 Correspond with K&E team re OCP issues.
06/18/21 Nick Hafen                       0.40 Review, analyze certain fee statement re
                                               confidentiality issue.




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Intelsat S.A.                                               Matter Number:        48457-22
Non-K&E Retention

Date     Name                            Hours Description
06/21/21 Nick Hafen                       1.10 Review, analyze A&M fee statement re
                                               confidentiality (1.0); correspond with Kutak
                                               re same (.1).
06/22/21 Nick Hafen                       0.20 Correspond with certain OCP professional re
                                               ordinary course retention issue.
06/24/21 Nick Hafen                       0.50 Review, analyze Kutak fee statement re
                                               confidentiality.
06/25/21 Derek I. Hunter                  0.20 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
06/30/21 Emily Flynn                      0.40 Review retained professionals' fee statements.

Total                                     14.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048261
                                                                               Client Matter: 48457-40

In the Matter of Litigation Advice




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                      $ 863,295.00
Total legal services rendered                                                                                $ 863,295.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          8.70     765.00          6,655.50
Bill Arnault                                        183.80   1,245.00        228,831.00
Nicholas A. Binder                                    3.50     765.00          2,677.50
Cade C. Boland                                       38.00     625.00         23,750.00
Cassandra Myers Catalano                             64.50     995.00         64,177.50
Elizabeth DeGori                                      4.40     995.00          4,378.00
Julian Gamboa                                        25.90     430.00         11,137.00
James P. Gillespie, P.C.                              3.50   1,535.00          5,372.50
Michael A. Glick                                     11.10   1,325.00         14,707.50
Dave Gremling                                         2.40     765.00          1,836.00
Anthony R. Grossi                                     8.10   1,220.00          9,882.00
Abby Rose Hollenstein                                37.60     865.00         32,524.00
Derek I. Hunter                                      22.90   1,070.00         24,503.00
Aleschia D. Hyde                                      4.00     625.00          2,500.00
Jason T. Jarvis                                       3.30     625.00          2,062.50
Kevin M. Jonke                                        5.10   1,080.00          5,508.00
Mike Kraft                                            4.90     865.00          4,238.50
Library Factual Research                              1.70     390.00            663.00
Emily Merki Long                                      9.00   1,065.00          9,585.00
Colin J. Martindale                                   6.10     745.00          4,544.50
Saunders McElroy                                     35.60     745.00         26,522.00
Casey McGushin                                       43.90   1,095.00         48,070.50
Brian Nakhaimousa                                     2.60     625.00          1,625.00
John C. O'Quinn, P.C.                                13.90   1,495.00         20,780.50
Robert Orren                                          0.30     460.00            138.00
Nicholas Perrone                                     29.50     350.00         10,325.00
Palmer Quamme                                         4.40     865.00          3,806.00
Evan Ribot                                           11.80     625.00          7,375.00
Samuel J. Seneczko                                   14.00     765.00         10,710.00
Anne McClain Sidrys, P.C.                            57.20   1,615.00         92,378.00
Michael B. Slade                                     81.70   1,445.00        118,056.50
Benjamin P. Stone                                     2.70     625.00          1,687.50


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Litigation Advice

Name                                                Hours        Rate          Amount
William Thompson                                      0.50     625.00            312.50
Gary M. Vogt                                         35.60     460.00         16,376.00
Chambliss Williams                                    0.70     765.00            535.50
Laura Elizabeth Wolk                                 28.80   1,015.00         29,232.00
Jeffrey J. Zeiger, P.C.                              10.30   1,495.00         15,398.50
Lauren Zipp                                           1.70     255.00            433.50

TOTALS                                              823.70                 $ 863,295.00




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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice


                                     Description of Legal Services

Date     Name                               Hours Description
06/01/21 Bill Arnault                        2.20 Correspond with G. Kavarsky re rejection
                                                  (.1); review rejection notice and procedures
                                                  (.4); review objection of SpaceCom and
                                                  supporting documentations (1.4); correspond
                                                  with G. Kavarsky, C. McGushin, and A.
                                                  Grossi re same (.3).
06/01/21 Bill Arnault                        5.90 Participate in telephone conference with L.
                                                  Wilson re discovery (.1); correspond with ad
                                                  hoc group re meet and confer (.1); finalize
                                                  and serve responses and objections to second
                                                  joint set of requests (.6); review and draft
                                                  search parameters for discovery (1.5); draft
                                                  discovery plan re same (.7); review
                                                  memorandum re allocation (1.6); prepare for
                                                  meet and confer (.4); participate in telephone
                                                  conference with J. Hurwitz re discovery
                                                  requests (.3); review mediation slides (.6).
06/01/21 Cassandra Myers Catalano            3.00 Review memorandum re plan discovery
                                                  production status (1.0); process documents for
                                                  production (1.0); review discovery letters
                                                  (1.0).
06/01/21 Anthony R. Grossi                   0.90 Correspond with K&E team re discovery
                                                  issues.
06/01/21 Derek I. Hunter                     0.80 Correspond with B. Arnault, K&E team re
                                                  adversary pleadings, discovery requests, and
                                                  related litigation strategy.
06/01/21 Evan Ribot                          0.60 Review and analyze discovery requests.
06/01/21 Anne McClain Sidrys, P.C.           4.50 Draft arbitration statement (3.2); review
                                                  documents re same (1.3).
06/01/21 Anne McClain Sidrys, P.C.           1.10 Review tax documents re litigation.
06/01/21 Anne McClain Sidrys, P.C.           0.50 Meet and confer re production.
06/01/21 Michael B. Slade                    1.70 Telephone conference with Company re
                                                  litigation issues (.2); review, revise letter re
                                                  same (.6); analyze discovery matters (.9).
06/01/21 Laura Elizabeth Wolk                0.30 Revise memorandum re litigation.




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Litigation Advice

Date     Name                            Hours Description
06/02/21 Bill Arnault                     11.40 Participate in pre-trial conference re SES
                                                claim (.1); participate in telephone conference
                                                with D. Hunter, K&E team, and A&M re
                                                allocation (1.0); participate in telephone
                                                conference with C. Catalano and E. Ribot re
                                                search parameters (.4); review and revise
                                                search parameters (1.4); participate in
                                                telephone conference with A. Grossi re
                                                discovery (.1); review Telma correspondence
                                                and materials (.3); prepare for telephone
                                                conference re allocation (1.4); participate in
                                                telephone conference with M. Marcus re
                                                discovery (.1); review documents re discovery
                                                and privilege (1.1); correspond with M. Slade,
                                                A. Sidrys, and C. Catalano re discovery plan,
                                                meet and confer (.6); review letter from
                                                convertible ad hoc group re discovery (.4);
                                                draft response letter re requests (2.2);
                                                correspond with C. Catalano, E. Ribot, and C.
                                                Martindale re search terms (.3); review
                                                mediation slides (2.0).
06/02/21 Cade C. Boland                    1.20 Review and revise work in process tracker re
                                                litigation matters (.1); research re cease and
                                                desist (1.1).
06/02/21 Cassandra Myers Catalano          5.50 Correspond with director advisors re
                                                discovery (1.6); process production
                                                documents (2.5); telephone conference with
                                                B. Arnault and E. Ribot re search parameters
                                                (.4); review document search parameters
                                                memorandum (1.0).
06/02/21 Dave Gremling                     0.70 Revise stipulation re adjournment of standing
                                                and intervention motions.
06/02/21 Abby Rose Hollenstein             3.50 Review deposition testimony.
06/02/21 Abby Rose Hollenstein             2.30 Analyze, comment on Collar deposition.
06/02/21 Derek I. Hunter                   1.30 Conference and correspond with K&E team
                                                re adversary pleadings, discovery requests,
                                                and related litigation strategy (.5); review,
                                                analyze, and revise discovery responses,
                                                litigation pleadings, and related analysis (.8).
06/02/21 Saunders McElroy                  0.40 Telephone conference with M. Slade, M.
                                                Glick, J. O'Quinn and K&E team re case
                                                status update and strategy re trial preparation.




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Litigation Advice

Date     Name                            Hours Description
06/02/21 Casey McGushin                   1.60 Participate in telephone conference with M.
                                               Slade and K&E team re SES claim (.5);
                                               participate in telephone conference with M.
                                               Slade, K&E team, and A&M team re value
                                               allocation issues in connection with
                                               confirmation (1.1).
06/02/21 John C. O'Quinn, P.C.            0.50 Telephone conference with K&E team re new
                                               trial schedule.
06/02/21 Nicholas Perrone                 2.40 Compile deposition transcripts, exhibits and
                                               related materials.
06/02/21 Evan Ribot                       0.50 Telephone conference with D. Hunter, K&E
                                               team re document production requests.
06/02/21 Anne McClain Sidrys, P.C.        2.40 Correspond and conference re document
                                               issues (.4); prepare for meet and confer (2.0).
06/02/21 Michael B. Slade                 3.20 Telephone conference with Company re
                                               litigation issues (.5); correspond re hearing
                                               (.3); participate re same (.3); review, revise
                                               letter re litigation issue (.4); telephone
                                               conference with K&E team re same (.5);
                                               telephone conference with Mediator re same
                                               (.4); participate in trial preparation (.8).
06/02/21 Gary M. Vogt                     0.80 Prepare for K&E team status meeting (.5);
                                               participate in same (.3).
06/02/21 Laura Elizabeth Wolk             0.50 Participate telephone conference with K&E
                                               team re works in process.
06/02/21 Laura Elizabeth Wolk             1.50 Research re damages (1.2); correspond with
                                               M. Slade and J. O'Quinn re same (.3).
06/03/21 Bill Arnault                     0.60 Conduct privilege review.
06/03/21 Bill Arnault                     1.00 Participate in telephone conference with
                                               A&M and K&E team re allocation.
06/03/21 Bill Arnault                     0.90 Participate in telephone conference with A.
                                               Sidrys and C. Catalano re discovery (.4);
                                               prepare for same (.5).
06/03/21 Bill Arnault                     7.30 Prepare for conference re litigation issues
                                               (2.5); revise letter re discovery (.8);
                                               participate in telephone conference with A.
                                               Grossi re same (.1); research re jurisdictional
                                               issues (3.9).
06/03/21 Cade C. Boland                   0.10 Correspond with B. Nakhaimousa re litigation
                                               works in process.




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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/03/21 Cassandra Myers Catalano         6.40 Revise litigation works in process tracker (.7);
                                               prepare production documents (1.5); review
                                               documents re guarantee releases (2.0);
                                               correspond with ad hoc group re discovery
                                               (1.0); process production documents (.8);
                                               telephone conference with B. Arnault and A.
                                               Sidrys re discovery meet and confer (.4).
06/03/21 Julian Gamboa                    3.50 Compile case material (.6); summarize draft
                                               trial exhibit list (.3); prepare trial exhibits
                                               (2.6).
06/03/21   Michael A. Glick               0.30 Prepare for hearing with Court.
06/03/21   Dave Gremling                  0.30 Revise litigation work in process tracker.
06/03/21   Dave Gremling                  0.30 Revise stipulation re trial adjournment.
06/03/21   Anthony R. Grossi              1.20 Correspond with K&E team re discovery
                                               issues.
06/03/21 Abby Rose Hollenstein            4.30 Review deposition.
06/03/21 Derek I. Hunter                  0.30 Correspond with D. Gremling, K&E team re
                                               litigation strategy.
06/03/21 Casey McGushin                   1.00 Participate in telephone conference re expert.
06/03/21 Nicholas Perrone                 1.80 Research documents in trial exhibit list re
                                               redactions (1.1); compile same (.7).
06/03/21 Evan Ribot                       0.20 Review and analyze draft document search
                                               parameters.
06/03/21 Anne McClain Sidrys, P.C.        0.50 Review disputed items.
06/03/21 Anne McClain Sidrys, P.C.        0.50 Telephone conference with B. Arnault re
                                               discovery update.
06/03/21 Michael B. Slade                 2.60 Telephone conference with Company re
                                               litigation issues (.4); telephone conference
                                               with A&M re expert analysis (1.3); review,
                                               analyze trial plan (.9).
06/04/21 Bill Arnault                     1.60 Participate in telephone conference with A.
                                               Grossi, D. Hunter, and C. Boland re Telma
                                               matter (.2); prepare for same (1.4).
06/04/21 Bill Arnault                     3.70 Participate in meet and confer with ad hoc
                                               group (.9); prepare for same (2.8).
06/04/21 Bill Arnault                     1.30 Participate in telephone conference with G.
                                               Kavarsky and C. McGushin re contract
                                               rejection (.4); prepare for same (.9).
06/04/21 Bill Arnault                     0.60 Draft Telma talking points.
06/04/21 Bill Arnault                     0.60 Correspond with A. Sidrys, M. Slade, and C.
                                               Catalano re meet and confer, next steps.


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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/04/21 Cade C. Boland                   0.30 Review memorandum re Telma (.1);
                                               participate in telephone conference with B.
                                               Arnault, K&E team re cease and desist (.2).
06/04/21 Cassandra Myers Catalano         5.30 Coordinate document production (2.0);
                                               review documents re overlap (2.0); configure
                                               privilege log preliminary searches (1.3).
06/04/21 Julian Gamboa                    2.70 Research documents re potential re-
                                               production status (.7); coordinate preparation
                                               re draft trial exhibits (1.3); coordinate upload
                                               re same (.7).
06/04/21 Derek I. Hunter                  0.20 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
06/04/21 John C. O'Quinn, P.C.            0.50 Telephone conference with company re
                                               litigation update.
06/04/21 Anne McClain Sidrys, P.C.        1.40 Participate in meet and confer re discovery
                                               disputes.
06/04/21 Anne McClain Sidrys, P.C.        0.80 Telephone conference with B. Arnault re
                                               compromise, issues re discovery disputes (.4);
                                               correspond with B. Arnault re same (.4).
06/04/21 Michael B. Slade                 3.40 Telephone conference with Company re
                                               litigation issues (.4); telephone conference
                                               with PJT re same (.6); telephone conference
                                               with mediator re same (1.1); review, revise
                                               brief re same (1.3).
06/04/21 William Thompson                 0.50 Correspond with K&E team re adversary
                                               proceeding re executory contract (.2);
                                               conference with K&E team re same (.3).
06/05/21 Bill Arnault                     0.90 Participate in telephone conference with K&E
                                               team re works in process.
06/05/21 Michael B. Slade                 1.10 Telephone conference with S. Serajeddini,
                                               K&E team re litigation strategy (.7);
                                               correspond with same re litigation strategy
                                               (.4).
06/06/21 Bill Arnault                     1.70 Review memorandum re tax issues
                                               summaries.
06/06/21 Bill Arnault                     3.10 Review memorandum re forum selection
                                               clauses (2.3); research re jurisdictional issues
                                               (.5); review, analyze MSA contract (.3).
06/07/21 Bill Arnault                     1.10 Participate in telephone conference with
                                               Company, K&E team re Telma (.3); prepare
                                               for same (.8).
06/07/21 Bill Arnault                     1.10 Review and revise mediation slides.

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Litigation Advice

Date     Name                            Hours Description
06/07/21 Bill Arnault                     0.90 Review corporate finance documents re
                                               litigation issues.
06/07/21 Bill Arnault                     0.10 Participate in telephone conference with J.
                                               Hurwitz re discovery.
06/07/21 Bill Arnault                     6.60 Review allocation expert report (2.6);
                                               coordinate document production (1.4); review
                                               and revise mediation materials re tax issues
                                               (1.9); correspond with M. Slade, A. Sidrys, A.
                                               Grossi, D. Hunter, and C. Catalano re
                                               discovery issues (.7).
06/07/21 Cassandra Myers Catalano         3.10 Coordinate delivery of additional document
                                               collection re tax (1.0); review and draft
                                               document collection and review status
                                               summary (2.1).
06/07/21 Julian Gamboa                    0.50 Review deposition exhibit upload re
                                               confidentiality designations and production
                                               ranges (.3); research same (.2).
06/07/21 Michael A. Glick                 0.80 Prepare for trial.
06/07/21 Abby Rose Hollenstein            0.70 Review privilege log re consistency.
06/07/21 Derek I. Hunter                  1.00 Conference and correspond with J. O’Quinn,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.4);
                                               review, analyze, and revise discovery
                                               responses, litigation pleadings, and related
                                               analysis (.6).
06/07/21 Emily Merki Long                 0.40 Correspond with A. Hollenstein re exhibit list.
06/07/21 John C. O'Quinn, P.C.            0.30 Review presentation re business risks re
                                               litigation issues.
06/07/21 John C. O'Quinn, P.C.            0.50 Telephone conference with M. Slade and
                                               K&E team re mediation discussions.
06/07/21 Anne McClain Sidrys, P.C.        0.70 Analyze document production issues.
06/07/21 Michael B. Slade                 3.90 Telephone conference with Company re
                                               litigation issues (.4); telephone conference
                                               with K&E team re mediation (.8); telephone
                                               conference with mediator re same (1.2);
                                               correspond with K&E team re state litigation
                                               (.4); telephone conference with S.
                                               Serajeddini, J. O’Quinn and A. Grossi re
                                               same (1.1).
06/07/21 Laura Elizabeth Wolk             0.80 Review memorandum re damages (.5); revise
                                               same (.3).
06/07/21 Laura Elizabeth Wolk             1.00 Research re damages theory.


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Date     Name                            Hours Description
06/08/21 Maggie Alden                     2.70 Analyze discovery issues (1.9); review
                                               materials re same (.5); correspond with D.
                                               Hunter, S. Vail re same (.3).
06/08/21 Bill Arnault                     0.20 Participate in telephone conference with A.
                                               Grossi, C. McGushin, and G. Kavarsky re
                                               contract rejection.
06/08/21 Bill Arnault                     7.20 Review and revise discovery plan and project
                                               list (1.4); review documents re CVRs and
                                               parent guarantees (1.2); review and analyze
                                               document requests (.6); review mediation
                                               materials and slides (1.2); review board
                                               materials (.6); review and revise expert report
                                               (1.1); correspond with M. Slade, D. Webber,
                                               A. Sidrys, C .Catalano, A. Grossi, and D.
                                               Hunter re discovery (1.1).
06/08/21 Nicholas A. Binder               0.50 Review memorandum re litigation
                                               considerations (.3); conference with S.
                                               Seneczko re same (.2).
06/08/21 Cassandra Myers Catalano         3.70 Draft and review production batch (1.7);
                                               review privilege log document set (2.0).
06/08/21 Julian Gamboa                    0.50 Compile production re document review
                                               database.
06/08/21 Anthony R. Grossi                0.70 Correspond with K&E team re discovery
                                               issues.
06/08/21 Derek I. Hunter                  0.30 Correspond with N. Binder, K&E team re
                                               litigation strategy.
06/08/21 Emily Merki Long                 0.40 Correspond with M. Glick re trial preparation.
06/08/21 Casey McGushin                   2.30 Prepare for telephone conference with M.
                                               Schwartz re SES trial (.8); participate in
                                               telephone conference with M. Schwartz and
                                               A. Shampine re direct examination topics
                                               (1.0); participate in telephone conference with
                                               B. Arnault, G. Kavarsky, and A. Grossi re
                                               contract rejection objection (.5).
06/08/21 John C. O'Quinn, P.C.            1.80 Review and revise talking points for mediator
                                               conference re litigation (.7); conference with
                                               mediator (1.1).




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Date     Name                            Hours Description
06/08/21 Michael B. Slade                 4.70 Telephone conference with K&E team,
                                               Company re litigation issues (.4); draft, revise
                                               presentation and argument re same (2.1);
                                               telephone conference with creditor’s counsel
                                               re litigation issues (.4); telephone conference
                                               with mediator re same (1.0); review, revise
                                               brief re same (.8).
06/09/21 Bill Arnault                     7.90 Review deposition transcripts re SES
                                               litigation (3.1); review expert report (2.7);
                                               correspond with M. Slade, A. Grossi, C.
                                               McGushin, D. Hunter, and D. Gremling re
                                               same (.2); review discovery workstreams
                                               tracker (.2); prepare for telephone conference
                                               with C. Catalano and A. Sidrys re same (.2);
                                               meet and confer with ad hoc group (1.5).
06/09/21 Cassandra Myers Catalano         5.40 Draft production letter (.6); finalize
                                               production set (1.3); review and resolve
                                               document production issue (1.5); review
                                               previous plan discovery productions re
                                               discovery (2.0).
06/09/21 Julian Gamboa                    0.70 Correspond with G. Vogt re draft trial
                                               exhibits (.1); compile Company production re
                                               service (.2); correspond with G. Vogt re
                                               issues re production (.3); review attorney
                                               correspondence re discovery requests (.1).
06/09/21 Abby Rose Hollenstein            1.00 Correspond with E. Long re exhibit list.
06/09/21 Derek I. Hunter                  0.30 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
06/09/21 Emily Merki Long                 0.90 Correspond with A. Hollenstein re exhibit list.
06/09/21 Nicholas Perrone                 2.40 Compile deposition transcripts (1.1); prepare
                                               deposition materials (1.3).
06/09/21 Anne McClain Sidrys, P.C.        1.50 Analyze discovery issues (.1); attend meet
                                               and confer (1.4).
06/09/21 Michael B. Slade                 4.10 Telephone conference with Company, K&E
                                               team re strategy (.5); telephone conference
                                               with PJT and A&M re same (.4); telephone
                                               conferences with K&E team re information
                                               requests re mediation (1.1); review, revise
                                               presentation re same (.8); telephone
                                               conference with Company re same (.5);
                                               review, analyze trial plan (.3); review, analyze
                                               service issues re state litigation complaint
                                               (.5).

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Date     Name                            Hours Description
06/09/21 Gary M. Vogt                     1.00 Coordinate materials re trial preparation.
06/09/21 Laura Elizabeth Wolk             0.30 Review memorandum re punitive damages
                                               (.1); revise summary judgment brief (.2).
06/10/21 Bill Arnault                     3.90 Participate in telephone conference with A.
                                               Sidrys and C. Catalano re discovery (.4);
                                               prepare for same (1.1); review letter from
                                               convertible ad hoc group (.3); draft talking
                                               points, review documents re meet and confer
                                               (1.8); participate in telephone conference with
                                               A&M re same (.3).
06/10/21 Cade C. Boland                   0.20 Review memoranda, docket re certain
                                               potential claim issue.
06/10/21 Cassandra Myers Catalano         3.10 Finalize plan discovery production set (.8);
                                               revise production letter (.3); review final
                                               production (.1); draft summary re same (.5);
                                               telephone conference with B. Arnault and A.
                                               Sidrys re current discovery status (.4); review
                                               privilege log re board materials (.4); configure
                                               document production parameters (.6).
06/10/21 James P. Gillespie, P.C.         0.60 Correspond with M. Adams re motion to
                                               dismiss briefing and SES filing (.4); review
                                               same (.2).
06/10/21 Dave Gremling                    0.50 Correspond with D. Hunter, K&E team re
                                               settlement issues.
06/10/21 Derek I. Hunter                  1.70 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.6);
                                               review, analyze, and revise memorandum re
                                               discovery responses, litigation pleadings, and
                                               related analysis (1.1).
06/10/21 John C. O'Quinn, P.C.            0.50 Review SES ex parte letter to FCC,
                                               communications re same.
06/10/21 Anne McClain Sidrys, P.C.        2.00 Conferences with C. Catalano, K&E team re
                                               discovery production and dispute.
06/10/21 Michael B. Slade                 4.20 Telephone conference with Company re
                                               litigation issues (.5); review, revise summary
                                               judgment brief (2.8); telephone conference
                                               with PJT team re same (.5); correspond with
                                               opposing counsel re same (.4).
06/10/21 Gary M. Vogt                     2.50 Review, organize arrangements for upcoming
                                               SES claim objection trial (1.1); review, revise
                                               certain pleading (1.4).



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Date     Name                            Hours Description
06/10/21 Gary M. Vogt                     1.00 Review, finalize additional document
                                               production (.8); serve same (.2).
06/11/21 Bill Arnault                     1.40 Participate in meet and confer with
                                               convertible ad hoc group (.5); prepare for
                                               same (.9).
06/11/21 Bill Arnault                     1.30 Participate in telephone conference with M.
                                               Slade, A. Grossi, D. Hunter, and A. Sidrys re
                                               discovery (.5); prepare for same (.8).
06/11/21 Bill Arnault                     0.20 Participate in telephone conference with A.
                                               Grossi, D. Hunter, M. Slade, and C.
                                               McGushin re guarantee litigation.
06/11/21 Bill Arnault                     3.70 Review production parameters, documents re
                                               discovery requests (1.4); draft memorandum
                                               re same (.7); draft memorandum re meet and
                                               confer, next steps (1.0); review guarantee
                                               documents (.6).
06/11/21 Derek I. Hunter                  1.30 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.4);
                                               review, analyze, and revise memorandum re
                                               discovery responses, litigation pleadings, and
                                               related analysis (.9).
06/11/21 Casey McGushin                   1.70 Participate in telephone conference with M.
                                               Slade and K&E team re litigation work
                                               streams, response to motion for summary
                                               judgment (.4); review and analyze materials
                                               re direct examination (1.3).
06/11/21 John C. O'Quinn, P.C.            2.50 Telephone conference with Company re
                                               litigation update (1.0); correspond with
                                               Company re Clearinghouse agreement and
                                               SES purported reservation of rights (.5);
                                               review draft Clearinghouse agreement (.7);
                                               analyze response to SES purported
                                               reservation of rights (.3).
06/11/21 Samuel J. Seneczko               0.40 Correspond with N. Binder, M. Alden re
                                               litigation issues (.2); review precedent re
                                               same (.2).
06/11/21 Anne McClain Sidrys, P.C.        1.00 Attend meet and confer with convertible ad
                                               hoc group.
06/11/21 Anne McClain Sidrys, P.C.        0.70 Review tax documents re litigation issues.
06/11/21 Anne McClain Sidrys, P.C.        0.50 Review updates re privileged documents.
06/11/21 Anne McClain Sidrys, P.C.        1.30 Review updates on meet and confer and
                                               issues to handle as part of discovery.

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Date     Name                            Hours Description
06/11/21 Anne McClain Sidrys, P.C.        1.00 Attend meet and confer with creditors.
06/11/21 Michael B. Slade                 4.50 Telephone conference with Company re
                                               litigation issues (.5); telephone conference
                                               with same re privileged matter (.5); review,
                                               revise same (.9); telephone conference with
                                               mediator re status update (.6); telephone
                                               conference with PJT re same (.5); telephone
                                               conference with K&E team re discovery
                                               issues (1.0); telephone conference with K&E
                                               team re same (.5).
06/11/21 Laura Elizabeth Wolk             3.00 Revise production parameters (2.8);
                                               correspond with J. O'Quinn, M. Glick, and M.
                                               Slade re same (.2).
06/12/21 Bill Arnault                     0.40 Participate in telephone conference with A.
                                               Grossi, S. Serajedinni, M. Slade, and D.
                                               Hunter re works in process re litigation.
06/12/21 Bill Arnault                     1.20 Correspond with director advisors re search
                                               parameters (.3); correspond with ad hoc
                                               groups re guarantee litigation document
                                               production (.6); review prior requests and
                                               results re same (.3).
06/12/21 Cassandra Myers Catalano         0.10 Review document production search
                                               parameters.
06/12/21 Saunders McElroy                 3.70 Review, analyze deposition transcript.
06/12/21 Michael B. Slade                 0.50 Telephone conference with S. Serajeddini,
                                               K&E team re litigation strategy.
06/13/21 Cassandra Myers Catalano         0.10 Review memorandum re guarantee release.
06/13/21 Emily Merki Long                 0.50 Analyze deposition transcripts.
06/13/21 Saunders McElroy                 3.10 Review, analyze deposition transcript re key
                                               testimony in preparation for trial.
06/13/21 Casey McGushin                   1.00 Review and revise response to motion for
                                               summary judgment re potential litigation.
06/13/21 Samuel J. Seneczko               0.90 Telephone conference with N. Binder, M.
                                               Alden, D. Hunter re litigation issues (.6);
                                               analyze precedent re same (.3).
06/13/21 Gary M. Vogt                     0.50 Compile revised deposition video files (.3);
                                               revise transcript database re same (.2).
06/14/21 Bill Arnault                     0.20 Participate in telephone conference with B.
                                               McCallen re discovery.
06/14/21 Bill Arnault                     0.40 Participate in telephone conference with
                                               director advisors re review databases.



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Date     Name                            Hours Description
06/14/21 Bill Arnault                     0.50 Participate in telephone conference with L.
                                               Wilson re document production.
06/14/21 Bill Arnault                     0.90 Participate in telephone conference with A.
                                               Sexton, M. Slade, C. Martindale, and E. Ribot
                                               re document review.
06/14/21 Bill Arnault                     7.10 Prepare for meet and confer with ad hoc
                                               group re document production (1.1); prepare
                                               for telephone conference with K&E team re
                                               responsiveness, privilege, and other issues
                                               (1.9); draft responses and objections to
                                               discovery requests (1.3); review custodian
                                               information and create search parameters for
                                               requests (.9); review documents re same (.3);
                                               review expert materials (1.6).
06/14/21 Cade C. Boland                   1.00 Prepare for conference with B. Arnault, K&E
                                               team re document review (.1); participate in
                                               same (.9).
06/14/21 Abby Rose Hollenstein            2.10 Analyze exhibits re possible evidentiary
                                               objections.
06/14/21 Abby Rose Hollenstein            1.90 Research responses to unjust enrichment and
                                               corporate veil issues.
06/14/21 Abby Rose Hollenstein            3.90 Review deposition re possible objections and
                                               exhibit list.
06/14/21 Derek I. Hunter                  0.30 Correspond with B. Arnault, K&E team re
                                               litigation strategy.
06/14/21 Library Factual Research         0.20 Obtain briefing schedule for reply briefs (.1);
                                               review documents re media coverage of
                                               bankruptcy proceedings (.1).
06/14/21 Emily Merki Long                 2.10 Code deposition transcripts.
06/14/21 Colin J. Martindale              1.30 Prepare for and attend telephone conference
                                               with B. Arnault, M. Slade, A. Sexton, K&E
                                               team re privilege review of documents.
06/14/21 Casey McGushin                   3.40 Participate in telephone conference with A.
                                               Sexton and K&E team re 2018 restructuring
                                               litigation (1.0); review and analyze
                                               documents re tax issues re same (1.6); review
                                               and revise summary judgment response re
                                               potential litigation (.8).
06/14/21 Evan Ribot                       1.20 Prepare for and participate in telephone
                                               conference with C. McGushin, K&E team re
                                               document review re restructuring litigation.




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Date     Name                            Hours Description
06/14/21 Samuel J. Seneczko               8.70 Telephone conference with M. Alden, W.
                                               Thompson, E. Wendorf re litigation issues
                                               (.4); correspond with K&E team re same (.9);
                                               research litigation issues, precedent (3.9);
                                               analyze case law re same (2.1); review, revise
                                               memorandum re same (1.4).
06/14/21 Anne McClain Sidrys, P.C.        4.20 Review revised arbitration brief (1.2);
                                               telephone conference with A&M re same (.4);
                                               telephone conference with K&E team re
                                               Gogo brief (.5); analyze document issues and
                                               production (2.1).
06/14/21 Michael B. Slade                 3.90 Telephone conference with Company re
                                               litigation issues (.5); telephone conference
                                               with PJT re same (.5); correspond with
                                               opposing counsel re same (.4); telephone
                                               conference with mediator re same (.6);
                                               telephone conference with mediator and
                                               creditors re same (.4); telephone conference
                                               with A. Sexton, B. Arnault and others re tax
                                               issues (1.0); telephone conference with PJT re
                                               mediation (.5).
06/14/21 Gary M. Vogt                     1.70 Compile errata sheets (.2); compile additional
                                               deposition materials, video files (.3); revise
                                               transcript database re same (1.2).
06/14/21 Gary M. Vogt                     2.00 Research, compile information requested in
                                               preparation for collection, review of
                                               additional materials for production in
                                               response to creditor document requests.
06/15/21 Bill Arnault                     0.70 Participate in telephone conference with C.
                                               Martindale, E. Ribot, and C. Boland re
                                               discovery and document review (.4); prepare
                                               for same (.3).
06/15/21 Bill Arnault                     0.20 Participate in telephone conference with M.
                                               Ayala and I. Sasson re discovery.
06/15/21 Bill Arnault                     0.30 Participate in telephone conference with D.
                                               Webber and C. Kelly re allocation.
06/15/21 Bill Arnault                     0.50 Participate in telephone conference with N.
                                               Keller, A. Sexton, J. Morely, E. Ribot, C.
                                               Martindale, and C. Boland re tax documents.




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Date     Name                            Hours Description
06/15/21 Bill Arnault                     7.60 Revise discovery work plan (.9); review
                                               discovery correspondence from ad hoc groups
                                               (.5); review and analyze revised search
                                               parameters re document production (.3); draft
                                               and revise responses and objections to
                                               discovery requests (1.3); correspond with
                                               director advisors re privilege log (.6); review
                                               reports re same (.2); draft search terms re
                                               custodians (.9); correspond with director
                                               advisors re document production (.3);
                                               participate in telephone conference with
                                               director advisors re same (.4); review draft
                                               allocation summary (.7); prepare for
                                               telephone conference re same (.3); review and
                                               document productions (1.2).
06/15/21 Cade C. Boland                   2.80 Review documents re discovery (2.3); review
                                               unredacted offering memorandum (.5).
06/15/21 Julian Gamboa                    2.20 Prepare draft summary judgment brief and
                                               exhibits.
06/15/21 Michael A. Glick                 0.70 Conference with M. Slade, S. McElroy re trial
                                               preparation and summary judgment.
06/15/21 Abby Rose Hollenstein            3.90 Revise exhibit list and evaluate possible
                                               objections and responses to potential exhibits.
06/15/21 Colin J. Martindale              0.90 Telephone conference with B. Arnault and
                                               K&E team re document review (.4); telephone
                                               conference with B. Arnault, A. Sexton and
                                               K&E team re document review (.5).
06/15/21 Saunders McElroy                 0.80 Conference with M. Slade, K&E team re trial
                                               preparation (.3); review, revise summary
                                               judgment brief (.5).
06/15/21 Casey McGushin                   3.60 Participate in telephone conference with M.
                                               Slade and K&E team re claims litigation (.4);
                                               review and analyze documents related to tax
                                               disputes re litigation (1.3); review and revise
                                               response in opposition to motion for summary
                                               judgment (1.9).
06/15/21 John C. O'Quinn, P.C.            1.00 Review summary judgment opening brief;
                                               correspond with K&E team re same.
06/15/21 Nicholas Perrone                 5.40 Review motion re summary judgment brief
                                               (2.3); revise same (2.5); draft exhibit citations
                                               re same (.6).
06/15/21 Palmer Quamme                    0.50 Draft witness list re trial.



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06/15/21 Evan Ribot                       1.20 Prepare for and participate in telephone
                                               conferences re document review protocol and
                                               privilege.
06/15/21 Anne McClain Sidrys, P.C.        2.20 Analyze document issues with B. Arnault
                                               (1.9); telephone conference with K&E team re
                                               handling new discovery requests (.3).
06/15/21 Michael B. Slade                 5.30 Telephone conference with Company re
                                               litigation issues (.5); review mediation
                                               materials (.8); telephone conference with
                                               K&E team re same (.5); correspond with
                                               K&E team re discovery issues (.4); review,
                                               revise summary judgment motion (3.1).
06/15/21 Gary M. Vogt                     2.50 Review, revise motion for summary
                                               judgment, related exhibit materials (2.2);
                                               participate in K&E team status conference
                                               (.3).
06/15/21 Laura Elizabeth Wolk             0.80 Revise summary judgment brief.
06/16/21 Bill Arnault                     0.10 Participate in telephone conference with M.
                                               Marcus re discovery.
06/16/21 Bill Arnault                     0.10 Participate in telephone conference with A.
                                               Sidrys re discovery.
06/16/21 Bill Arnault                     7.80 Review, draft, and revise responses and
                                               objections to document requests (2.4); revise
                                               discovery work plan (.5); review documents
                                               re privilege log, responsiveness (2.8); prepare
                                               for meet and confer with L. Wilson re same
                                               (.7); correspond with PJT, A&M, director
                                               advisors, G. Vogt, C. Catalano, and K&E
                                               team re document production (1.4).
06/16/21 Cade C. Boland                   2.80 Revise brief re potential claim litigation (1.8);
                                               review documents re discovery (1.0).
06/16/21 Julian Gamboa                    3.00 Correspond with A. Hollenstein re draft trial
                                               exhibit list (.3); prepare document searches
                                               (.2); correspond with S. McElroy re summary
                                               judgment exhibits (.1); analyze draft summary
                                               judgment brief and exhibits (2.4).
06/16/21   Michael A. Glick               1.20 Prepare trial preparation materials.
06/16/21   Abby Rose Hollenstein          2.20 Examine exhibits.
06/16/21   Abby Rose Hollenstein          3.90 Review, revise exhibit list.
06/16/21   Derek I. Hunter                0.80 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.


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Litigation Advice

Date     Name                            Hours Description
06/16/21 Emily Merki Long                 4.10 Revise summary judgment brief (3.4); further
                                               revise same (.7).
06/16/21 Saunders McElroy                 9.40 Revise summary judgment brief (2.7); further
                                               revise summary judgment brief (.5); review,
                                               revise exhibit set re same (1.8); review,
                                               analyze deposition transcript (1.7); analyze
                                               confidentiality designations re exhibits (.5);
                                               further revise and finalize summary judgment
                                               brief (1.6); correspond with G. Vogt, K&E
                                               team re same (.6).
06/16/21 Casey McGushin                   2.20 Draft and revise response in opposition to
                                               motion for summary judgment (.8); review
                                               and analyze documents re tax issues re same
                                               (1.4).
06/16/21 Brian Nakhaimousa                1.20 Telephone conference with K&E team re
                                               conference with director advisors (.5); revise
                                               planning tracker re same (.5); correspond with
                                               M. Alden re same (.2).
06/16/21 John C. O'Quinn, P.C.            2.00 Revise summary judgment brief and
                                               arguments re secondary market agreement
                                               issues and communications re same.
06/16/21 Nicholas Perrone                 8.80 Review, revise motion for summary judgment
                                               brief (3.9); compile exhibits re same (3.1);
                                               revise same (1.8).
06/16/21 Palmer Quamme                    3.30 Draft, revise witness list re trial.
06/16/21 Evan Ribot                       0.60 Review and analyze privilege guidelines re
                                               document review.
06/16/21 Anne McClain Sidrys, P.C.        1.20 Review set of privileged documents.
06/16/21 Anne McClain Sidrys, P.C.        0.60 Telephone conference with B. Arnault re
                                               privilege and document issues.
06/16/21 Michael B. Slade                 5.80 Telephone conference with Company re
                                               litigation issues (.5); telephone conference
                                               with PJT team re same (.5); review, revise
                                               summary judgment brief (3.2); analyze
                                               discovery issues (1.6).
06/16/21 Gary M. Vogt                     7.00 Research materials re motion for summary
                                               judgment (1.5); review, revise same (3.1);
                                               further review, revise same (1.9); compile
                                               same (.5).
06/16/21 Gary M. Vogt                     0.80 Review, coordinate matters re collection,
                                               preparation of materials for review in
                                               response to creditor document requests.



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Date     Name                            Hours Description
06/16/21 Laura Elizabeth Wolk             1.50 Revise summary judgment brief (1.3); review
                                               correspondence re same (.2).
06/17/21 Bill Arnault                     1.10 Review documents for privilege log purposes.
06/17/21 Bill Arnault                     1.20 Further review documents for quality control,
                                               privilege log, privilege, and responsiveness
                                               purposes.
06/17/21 Bill Arnault                     0.80 Review documents re 2018 indenture
                                               negotiations re privilege, responsiveness,
                                               quality control..
06/17/21 Bill Arnault                     0.40 Correspond with E. Long, Jones Day, and PJT
                                               re discovery.
06/17/21 Bill Arnault                     0.90 Review documents re parent guarantee re
                                               quality control, responsiveness, and privilege.
06/17/21 Bill Arnault                     0.90 Review documents re convertible ad hoc
                                               group requests.
06/17/21 Bill Arnault                     0.60 Perform second-level review of documents re
                                               privilege, responsiveness, and quality control.
06/17/21 Bill Arnault                     0.30 Review modifications to document
                                               production search terms (.1); correspond with
                                               ad hoc groups re same (.2).
06/17/21 Bill Arnault                     0.90 Review documents re parent guarantee re
                                               document production.
06/17/21 Bill Arnault                     0.90 Review letter from convertible ad hoc group
                                               re litigation (.5); prepare for meet and confer
                                               (.4).
06/17/21 Bill Arnault                     0.70 Correspond with M. Slade, A. Sidrys, C.
                                               Catalano, and C. McGushin re discovery
                                               workstreams.
06/17/21 Bill Arnault                     0.90 Review and revise responses and objections
                                               to document requests.
06/17/21 Cade C. Boland                   7.10 Review documents re discovery (4.0); analyze
                                               issues re same (2.3); review and revise
                                               summary judgment brief (.8).
06/17/21 Julian Gamboa                    5.70 Review, revise draft trial exhibit list (3.9);
                                               further review, revise same (1.6); correspond
                                               with G. Vogt, counsel re data upload request
                                               (.2).
06/17/21 Michael A. Glick                 2.60 Review opposing party’s summary judgment
                                               brief and exhibits (1.8); correspond with K&E
                                               team re analysis re same (.6); revise
                                               scheduling order (.2).



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Date     Name                            Hours Description
06/17/21 Dave Gremling                    0.60 Review, analyze motion for summary
                                               judgment.
06/17/21 Abby Rose Hollenstein            0.80 Review, revise exhibit list.
06/17/21 Derek I. Hunter                  1.20 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.9);
                                               review, analyze, and revise discovery
                                               responses, litigation pleadings, and related
                                               analysis (.3).
06/17/21 Colin J. Martindale              0.20 Review project 2 documents for
                                               responsiveness and privilege.
06/17/21 Casey McGushin                   6.60 Review and revise draft response in
                                               opposition to motion for summary judgment
                                               (2.9); research re same (1.3); review and
                                               analyze pleading re same (1.1); review and
                                               analyze documents re tax issues and diligence
                                               re same (1.3).
06/17/21 Brian Nakhaimousa                0.30 Compile summary judgment, exhibits (.2);
                                               correspond with K&E team re same (.1).
06/17/21 John C. O'Quinn, P.C.            3.00 Review SES summary judgment brief and
                                               communications with Company re same (2.7),
                                               review and correspond with K&E team re
                                               scheduling order and related issues (.3).
06/17/21 Nicholas Perrone                 3.80 Review deposition transcripts re opposing
                                               party’s exhibits.
06/17/21 Palmer Quamme                    0.60 Revise deposition transcripts.
06/17/21 Evan Ribot                       0.80 Review and code documents re 2018
                                               reorganization for responsiveness and
                                               privilege.
06/17/21 Anne McClain Sidrys, P.C.        2.00 Telephone conferences with K&E team re
                                               document requests and privilege documents.
06/17/21 Michael B. Slade                 3.10 Review, revise briefs (2.3); analyze discovery
                                               issues (.6); telephone conference with K&E
                                               team re mediation (.2).
06/17/21 Gary M. Vogt                     2.20 Draft declaration in support of motion for
                                               summary judgment (2.0); compile deposition
                                               errata sheets (.2).
06/17/21 Chambliss Williams               0.70 Review motions for summary judgment.
06/18/21 Bill Arnault                     1.80 Participate in meet and confer with counsel
                                               for ad hoc group (.5); prepare for same (1.3).
06/18/21 Bill Arnault                     1.10 Correspond with director advisors re
                                               document production, discovery requests.


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Date     Name                            Hours Description
06/18/21 Bill Arnault                     3.30 Correspond with Company re document
                                               production (.1); draft response to ad hoc
                                               group re discovery (.1); review and revise
                                               discovery correspondence (.9); participate in
                                               telephone conference with M. Marcus re
                                               discovery (.3); participate in telephone
                                               conference with M. Slade, J. Zeiger, and C.
                                               McGushin re litigation work in process (.4);
                                               review documents re responsiveness,
                                               privilege (1.5).
06/18/21 Cade C. Boland                   2.10 Review documents re discovery (1.7); review
                                               motion re estimation (.4).
06/18/21 Abby Rose Hollenstein            1.50 Review exhibit list re additional issues.
06/18/21 Derek I. Hunter                  3.00 Conference and correspond with K&E team
                                               re adversary pleadings, discovery requests,
                                               and related litigation strategy (.4); review,
                                               analyze, and revise discovery responses,
                                               litigation pleadings, and related analysis (2.6).
06/18/21 Casey McGushin                   2.50 Review and analyze documents re potential
                                               tax dispute (1.6); review and revise draft
                                               motion for estimation (.9).
06/18/21 Evan Ribot                       1.50 Review and code documents re
                                               responsiveness and privilege.
06/18/21 Michael B. Slade                 3.90 Telephone conference with PJT, A&M teams
                                               re litigation issues (.8); telephone conference
                                               with mediator re same (.5); telephone
                                               conference with K&E team re same (.5);
                                               review, revise letter (.3); analyze discovery
                                               issues (1.2); analyze expert work (.6).
06/18/21 Gary M. Vogt                     1.30 Compile sealed motion for summary
                                               judgement filings (.5); distribute deposition
                                               errata sheets (.3); revise transcript database
                                               (.5).
06/18/21 Jeffrey J. Zeiger, P.C.          0.40 Telephone conference with M. Slade, B.
                                               Arnault, and C. McGushin re litigation
                                               strategy for potential disclosure statement
                                               hearing.
06/19/21 Bill Arnault                     0.60 Participate in telephone conference with K&E
                                               team re works in process.
06/19/21 Derek I. Hunter                  0.40 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy.



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Date     Name                            Hours Description
06/19/21 Michael B. Slade                 1.80 Telephone conference with S. Serajeddini,
                                               K&E team re litigation issues (.6); analyze
                                               briefing (1.2).
06/20/21 Maggie Alden                     6.00 Research re plan related pleading (2.4); draft,
                                               revise materials re same (2.8); correspond
                                               with S. Vail, K&E team re same (.8).
06/20/21 Derek I. Hunter                  0.60 Correspond with B. Arnault, K&E team re
                                               cause of action settlement, discovery requests,
                                               and related litigation strategy.
06/21/21 Bill Arnault                     2.90 Review documents re privilege (2.5);
                                               correspond with M. Slade, A. Sidrys, C.
                                               Catalano, and C. McGushin re same (.4).
06/21/21 Bill Arnault                     0.10 Participate in telephone conference with S.
                                               Lasko re documents.
06/21/21 Bill Arnault                     6.40 Review motion re certain claims (1.1); draft
                                               response letter to ad hoc group re discovery
                                               and meet and confers (.9); review and revise
                                               plan materials (2.1); review settlement
                                               analysis (1.0); correspond with M. Slade, A.
                                               Sidrys, C. Catalano, and C. McGushin re
                                               discovery plan (.6); draft search parameters re
                                               document production (.3); review
                                               correspondence from A. Sidrys re document
                                               review and corresponding documents (.4).
06/21/21 Cade C. Boland                   7.20 Revise response to objection to motion for
                                               summary judgment (1.5); draft claims
                                               objection (5.7).
06/21/21 Julian Gamboa                    0.60 Compile deposition video.
06/21/21 Anthony R. Grossi                1.70 Review background re litigation issues.
06/21/21 Derek I. Hunter                  0.30 Correspond with B. Arnault, K&E team re
                                               litigation strategy.
06/21/21 Jason T. Jarvis                  3.30 Research re ongoing adversary proceeding.
06/21/21 Colin J. Martindale              0.40 Review and analyze documents for
                                               responsiveness and privilege.
06/21/21 Casey McGushin                   4.80 Review and analyze documents and
                                               correspondence from opposing counsel re
                                               litigation issues (.6); review and analyze
                                               documents re potential tax dispute (1.2);
                                               review and revise estimation motion (2.6);
                                               research re settlements (.4).
06/21/21 Evan Ribot                       0.80 Review and code documents re restructuring
                                               transaction re responsiveness and privilege.


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Date     Name                            Hours Description
06/21/21 Michael B. Slade                 4.10 Telephone conference with Company re
                                               litigation issues (.5); telephone conference
                                               with PJT team re same (.5); review, revise
                                               litigation strategy document (1.1); telephone
                                               conference with mediator re status update
                                               (.5); telephone conference with director
                                               advisors re same (.5); telephone conference
                                               with expert team re expert work (1.0).
06/21/21 Gary M. Vogt                     1.30 Compile materials re response to opposing
                                               party’s motion for summary judgment.
06/22/21 Bill Arnault                     0.20 Participate in telephone conference with J.
                                               Hurwitz re discovery.
06/22/21 Bill Arnault                     1.10 Participate in telephone conference with M.
                                               Slade and A. Sidrys re discovery (.3); prepare
                                               for same (.8).
06/22/21 Bill Arnault                     1.10 Review and categorize documents re
                                               privilege.
06/22/21 Bill Arnault                     0.10 Participate in telephone conference with E.
                                               DeGori re discovery.
06/22/21 Bill Arnault                     1.50 Participate in telephone conference with K&E
                                               re claims analysis memorandum re litigation
                                               (.8); prepare for same (.7).
06/22/21 Bill Arnault                     0.60 Correspond with vendor, director advisors, M.
                                               Slade, A. Sidrys, and C. Catalano re
                                               discovery.
06/22/21 Bill Arnault                     0.20 Participate in telephone conference with M.
                                               Kraft re discovery.
06/22/21 Bill Arnault                     0.60 Revise responses and objections to discovery
                                               requests.
06/22/21 Bill Arnault                     2.70 Draft and revise privilege log.
06/22/21 Nicholas A. Binder               1.60 Telephone conference with K&E team re
                                               settlement considerations (.8); analyze
                                               considerations re same (.8).
06/22/21 Cade C. Boland                   4.90 Draft objection to proofs of claim (3.4);
                                               analyze documents re restructuring for
                                               responsiveness and privilege (1.5).
06/22/21 Elizabeth DeGori                 0.10 Telephone conference with B. Arnault re
                                               document review.
06/22/21 Julian Gamboa                    0.60 Correspond with G. Vogt, A. Hollenstein re
                                               draft trial exhibit list (.3); correspond with
                                               counsel, B. Arnault re search term reports
                                               (.3).


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Date     Name                            Hours Description
06/22/21 Derek I. Hunter                  0.80 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
06/22/21 Mike Kraft                       0.20 Participate in telephone conference with B.
                                               Arnault re potential litigation.
06/22/21 Casey McGushin                   3.60 Review and analyze documents re potential
                                               tax disputes (2.4); review and revise objection
                                               to proof of claim (1.2).
06/22/21 Samuel J. Seneczko               0.30 Correspond with D. Hunter, K&E team re
                                               litigation issues.
06/22/21 Anne McClain Sidrys, P.C.        2.00 Analyze discovery issues (1.2); attend meet
                                               and confer and telephone conferences re same
                                               (.8).
06/22/21 Michael B. Slade                 3.60 Telephone conference with Company re
                                               litigation issues (.5); telephone conference
                                               with K&E team re discovery issues (.9);
                                               telephone conference with director advisors re
                                               same (.4); participate in trial preparation (1.8).
06/22/21 Gary M. Vogt                     1.50 Review, coordinate matters re trial space
                                               matters.
06/22/21 Laura Elizabeth Wolk             3.00 Analyze motion for summary judgment.
06/23/21 Bill Arnault                     0.20 Correspond with M. Kraft and E. DeGori re
                                               guarantee litigation.
06/23/21 Bill Arnault                     0.70 Review and revise privilege log.
06/23/21 Bill Arnault                     0.50 Participate in telephone conference with K&E
                                               team, A&M, and PJT re valuation.
06/23/21 Bill Arnault                     0.20 Participate in telephone conference with
                                               Wachtell re discovery.
06/23/21 Bill Arnault                     0.10 Participate in telephone conference with K&E
                                               team, A&M, and PJT re valuation re
                                               litigation.
06/23/21 Bill Arnault                     3.60 Draft, review, and revise privilege logs.
06/23/21 Bill Arnault                     1.00 Correspond with ad hoc groups, M. Slade, C.
                                               Catalano, A. Sidrys, C. McGushin, and
                                               director advisors re discovery.
06/23/21 Bill Arnault                     0.20 Review and revise privilege log exports.
06/23/21 Bill Arnault                     1.10 Prepare for meet and confer with ad hoc
                                               group (.6); correspond with M. Slade, A.
                                               Grossi, and D. Hunter re same (.5).
06/23/21 Bill Arnault                     1.20 Draft and revise privilege log.



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Date     Name                            Hours Description
06/23/21 Bill Arnault                     1.00 Review documents for production or privilege
                                               purposes.
06/23/21 Cassandra Myers Catalano         5.60 Review status of document collection (1.0);
                                               revise memorandum re settlement issues
                                               (1.5); revise detailed chart re same (3.1).
06/23/21 Julian Gamboa                    0.10 Correspond with counsel, B. Arnault re search
                                               term reports.
06/23/21 Michael A. Glick                 1.20 Prepare calendar re K&E team trial
                                               preparation tasks.
06/23/21 Anthony R. Grossi                0.90 Review background re discovery issues.
06/23/21 Abby Rose Hollenstein            2.30 Review, revise draft exhibit list.
06/23/21 Derek I. Hunter                  0.30 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
06/23/21 Casey McGushin                   2.10 Review and analyze documents re potential
                                               tax disputes (1.4); review and analyze
                                               materials re trial testimony (.7).
06/23/21 John C. O'Quinn, P.C.            0.50 Correspond with M. Slade re issues re further
                                               accelerated clearing (.3); review trial
                                               preparation calendar (.2).
06/23/21 Robert Orren                     0.30 Research re potential appeal (.2); correspond
                                               with M. Alden re same (.1).
06/23/21 Anne McClain Sidrys, P.C.        1.30 Handle privilege issues and meet and confer
                                               from ad hoc group.
06/23/21 Anne McClain Sidrys, P.C.        5.00 Analyze factual analysis related to potential
                                               litigation claims and settlement.
06/23/21 Michael B. Slade                 1.90 Telephone conference with Company re
                                               litigation issues (.5); review, revise brief
                                               (1.4).
06/23/21 Gary M. Vogt                     1.70 Compile materials re response to opposing
                                               party’s motion for summary judgment.
06/23/21 Laura Elizabeth Wolk             0.30 Correspond with S. McElroy re briefing
                                               strategy.
06/24/21 Bill Arnault                     1.10 Participate in telephone conference with C.
                                               Catalano re status of discovery and case (.8);
                                               prepare for same (.3).
06/24/21 Bill Arnault                     1.60 Review documents for privilege and
                                               responsiveness.
06/24/21 Bill Arnault                     3.10 Further review documents re quality control.




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Date     Name                            Hours Description
06/24/21 Bill Arnault                     0.90 Correspond with A. Sexton re potential tax
                                               dispute (.1); daft correspondence to C.
                                               Catalano, G. Vogt, C. McGushin, M. Kraft, C.
                                               Boland, C. Martindale, E. Ribot, A. Grossi,
                                               and D. Hunter re discovery, document
                                               production, and privilege log (.8).
06/24/21 Bill Arnault                     1.60 Participate in meet and confer with ad hoc
                                               group (.3); prepare for same (1.3).
06/24/21 Bill Arnault                     0.10 Correspond with G. Vogt and C. Catalano re
                                               production of documents.
06/24/21 Nicholas A. Binder               1.40 Telephone conference with M. Lemm re
                                               settlement considerations (.2); analyze
                                               memorandum re same (.9); correspond with
                                               M. Lemm, K&E team re same (.3).
06/24/21 Cade C. Boland                   0.90 Review documents re r responsiveness and
                                               privilege.
06/24/21 Cassandra Myers Catalano         9.80 Review draft stay relief motion (.5); review
                                               settlement memorandum (1.5); review
                                               estimation motion (1.0); telephone conference
                                               with B. Arnault re discovery status (.8);
                                               review and revise settlement memorandum
                                               (2.2); telephone conference with A. Sidrys
                                               and A&M re settlement considerations (.9);
                                               telephone conference with A. Sidrys re certain
                                               transactions (.2); revise memorandum re plan
                                               related issues (2.7).
06/24/21 Elizabeth DeGori                 3.30 Draft memorandum re complaint.
06/24/21 Julian Gamboa                    0.90 Revise draft trial exhibit compilation.
06/24/21 Michael A. Glick                 1.70 Correspond with K&E team re trial
                                               preparation (.7); revise calendar re same (.2);
                                               revise draft witness list (.8).
06/24/21 Anthony R. Grossi                0.70 Review background re litigation issues.
06/24/21 Abby Rose Hollenstein            1.00 Finalize potential exhibit list.
06/24/21 Derek I. Hunter                  0.20 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
06/24/21 Emily Merki Long                 0.60 Revise exhibit list.
06/24/21 Colin J. Martindale              2.80 Review and analyze documents for
                                               responsiveness and privilege.
06/24/21 Saunders McElroy                 0.50 Correspond with M. Slade, J. O'Quinn and L.
                                               Wolk re strategy re summary judgment
                                               response.


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Date     Name                            Hours Description
06/24/21 Brian Nakhaimousa                0.30 Conference with D. Hunter, K&E team re
                                               director advisor negotiations.
06/24/21 John C. O'Quinn, P.C.            0.50 Conference with S. McElroy, L. Wolk, and
                                               M. Slade re responding to summary judgment
                                               brief.
06/24/21 Evan Ribot                       2.60 Review and code documents re
                                               responsiveness and privilege.
06/24/21 Anne McClain Sidrys, P.C.        9.00 Analyze claims re motion (4.0); draft points
                                               re same (4.0); telephone conferences with
                                               K&E team re same (1.0).
06/24/21 Anne McClain Sidrys, P.C.        1.30 Telephone conference with A. Kimball re
                                               retention letter (.3); review issues re Gogo
                                               letter and approach re arbitration (1.0).
06/24/21 Michael B. Slade                 2.50 Telephone conference with Company re
                                               litigation issues (.5); telephone conference
                                               with J. O’Quinn, L. Wolk and S. McElroy re
                                               brief (.9); review claims analysis (1.1).
06/24/21 Laura Elizabeth Wolk             0.80 Telephone conference with M. Slade, J.
                                               O'Quinn, and S. McElroy re briefing strategy.
06/24/21 Jeffrey J. Zeiger, P.C.          0.20 Review, revise trial assignments list.
06/25/21 Bill Arnault                     0.20 Participate in telephone conference with A.
                                               Grossi re discovery.
06/25/21 Bill Arnault                     2.30 Correspond with M. Slade, A. Sidrys, C.
                                               Catalano, C. McGushin, ad hoc group, and
                                               director advisors re discovery.
06/25/21 Cade C. Boland                   3.30 Participate in meeting re potential litigation
                                               (.2); review materials re same (.1); draft
                                               presentation re same (2.6); review documents
                                               re 2018 restructuring re responsiveness and
                                               privilege (.4).
06/25/21 Cassandra Myers Catalano         3.50 Analyze, revisesettlement memorandum (.6);
                                               review and calculate claim amounts based on
                                               A&M model (2.9).
06/25/21 Julian Gamboa                    3.20 Analyze document production inquiry (2.8);
                                               correspond with counsel, B. Arnault re email
                                               collection processing (.2); correspond with G.
                                               Vogt re event calendar to ensure compliance
                                               with case related deadlines (.2).
06/25/21 Michael A. Glick                 0.50 Correspond with K&E team re pre-trial tasks
                                               and preparation.




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Date     Name                            Hours Description
06/25/21 Derek I. Hunter                  1.20 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.5);
                                               review, analyze, and revise discovery
                                               responses, litigation pleadings, and related
                                               analysis (.7).
06/25/21 Mike Kraft                       1.60 Research re potential litigation.
06/25/21 Saunders McElroy                 0.80 Analyze opposing party’s production
                                               questions.
06/25/21 Casey McGushin                   1.60 Participate in telephone conference with M.
                                               Slade and C. Boland re mediation work
                                               product (.4); draft and revise deck for
                                               mediator re litigation (1.2).
06/25/21 John C. O'Quinn, P.C.            0.30 Telephone conference with Company re
                                               litigation update.
06/25/21 Nicholas Perrone                 3.80 Prepare motion for summary judgment
                                               exhibits (2.8); correspond with L. Zipp, M.
                                               Frazier re same (1.0).
06/25/21 Evan Ribot                       1.20 Review and code documents re
                                               responsiveness and privilege.
06/25/21 Anne McClain Sidrys, P.C.        3.00 Review model and historical documents (1.2);
                                               revise factual analysis and insert re same
                                               (1.8).
06/25/21 Michael B. Slade                 4.10 Telephone conference with S. Serajeddini,
                                               K&E team re preparation for mediation and
                                               follow up re same (1.0); telephone conference
                                               with Company re litigation issues (.5);
                                               telephone conference with A&M team re
                                               expert work and follow up re same (1.4);
                                               revise response brief (1.2).
06/25/21 Gary M. Vogt                     1.50 Prepare materials re response to opposing
                                               party’s motion for summary judgment (1.0);
                                               review, revise docketing re amended pretrial
                                               deadlines (.5).
06/25/21 Gary M. Vogt                     2.00 Finalize, serve Intelsat PLAN privilege log
                                               and expert reports from SES claim litigation
                                               (.5); research, compile information re creditor
                                               inquiry (1.5).
06/25/21 Jeffrey J. Zeiger, P.C.          2.90 Review opposing party’s motion for summary
                                               judgment.
06/25/21 Lauren Zipp                      1.70 Compile materials re summary judgment
                                               motions.



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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048261
Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/26/21 Bill Arnault                     1.10 Participate in telephone conference with K&E
                                               team re work in process.
06/26/21 Anthony R. Grossi                0.80 Correspond with K&E team re litigation
                                               issues.
06/26/21 Derek I. Hunter                  0.30 Correspond with B. Arnault, K&E team re
                                               adversary pleadings and related litigation
                                               strategy.
06/26/21 Brian Nakhaimousa                0.20 Revise in-person advisor negotiations planner.
06/26/21 Michael B. Slade                 1.40 Telephone conference with S. Serajeddini,
                                               K&E team re litigation issues (1.0); review
                                               materials re mediation (.4).
06/27/21 Bill Arnault                     2.70 Draft response letter to ad hoc group counsel
                                               re discovery, document requests, and
                                               privilege (.5); correspond with director
                                               advisors, C. Catalano, and G. Vogt re
                                               document review (.2); prepare for telephone
                                               conference by drafting review process for
                                               document review (.9); prepare for telephone
                                               conference re privilege log by reviewing draft
                                               log and documents (1.1).
06/27/21 Cade C. Boland                   1.70 Draft analysis re potential litigation.
06/27/21 Derek I. Hunter                  0.20 Correspond with B. Arnault, K&E team re
                                               litigation strategy.
06/27/21 Casey McGushin                   2.30 Draft and revise deck re mediation
                                               presentation.
06/28/21 Bill Arnault                     1.50 Participate in telephone conference with M.
                                               Slade, A. Grossi, A. Sidrys, D. Hunter, C.
                                               Catalano, and C. McGushin re privilege log
                                               (.5); participate in telephone conference with
                                               C. McGushin re same (.4); prepare for same;
                                               correspond with A. Sexton re same (.6).
06/28/21 Bill Arnault                     0.50 Participate in telephone conference with C.
                                               Catalano, K&E team re document review.
06/28/21 Bill Arnault                     0.50 Participate in telephone conference with
                                               director advisors and C. Catalano re document
                                               processing and discovery.




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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048261
Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/28/21 Bill Arnault                     4.70 Correspond with C. Catalano, A. Sidrys, and
                                               G. Vogt re discovery and document review
                                               work plan and project list (.9); review search
                                               parameters and uploads and correspond with
                                               director advisors re same (1.1); review
                                               documents re privilege log and litigation
                                               (1.7); review GDPR requirements and
                                               correspond with M. Six and Company re
                                               same (.3); review tax unity documents re
                                               potential dispute (.7).
06/28/21 Bill Arnault                     0.20 Correspond with M. Slade, K&E team,
                                               director advisors re discovery.
06/28/21 Cade C. Boland                   1.00 Analyze documents re re privilege and
                                               responsiveness (.6); participate in meeting re
                                               document review (.4).
06/28/21 Cassandra Myers Catalano         5.10 Video conference with B. Arnault, M. Slade,
                                               A. Grossi, and D. Hunter re privilege log
                                               procedures (.5); analyze production
                                               documents (2.2); revise privilege log (.8);
                                               video conference with B. Arnault, C.
                                               McGushin, and K&E team re document
                                               review (.4); video conference with B. Arnault
                                               re ongoing discovery status (.1); telephone
                                               conference with B. Arnault, J. Brennan, and
                                               M. MacGrath re director advisor meeting (.5);
                                               draft review parameters re discovery (.6).
06/28/21 Elizabeth DeGori                 1.00 Telephone conference with B. Arnault and
                                               K&E team re document review (.5); review
                                               documents re same (.5).
06/28/21 Julian Gamboa                    0.20 Correspond with counsel re internal email
                                               collection processing.
06/28/21 Anthony R. Grossi                1.20 Correspond with K&E team re discovery
                                               issues.
06/28/21 Abby Rose Hollenstein            0.80 Draft instructions re review of Company
                                               exhibit list.
06/28/21 Derek I. Hunter                  3.30 Telephone conference with K&E team re
                                               discovery responses (.5); review, analyze
                                               discovery requests and proposed responses
                                               (.3); review, analyze, and revise
                                               memorandum re litigation issues and
                                               settlement (1.6); conference with K&E team
                                               re same (.5); review, analyze related analysis
                                               and tracker (.4).



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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048261
Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/28/21 Mike Kraft                       3.10 Research re litigation (2.7); participate in
                                               telephone conference re document review
                                               (.4).
06/28/21 Colin J. Martindale              0.50 Telephone conference with B. Arnault and
                                               K&E team re potential litigation.
06/28/21 Saunders McElroy                 4.40 Review, analyze opposing party’s summary
                                               judgment motion (3.6); review, analyze
                                               exhibits re same (.8).
06/28/21 Casey McGushin                   2.50 Review and analyze materials re potential
                                               litigation (.9); participate in telephone
                                               conference with K&E team re potential
                                               litigation (.3); review and and analyze
                                               documents re privilege log (.7); participate in
                                               telephone conference with B. Arnault, M.
                                               Slade, A. Grossi, and D. Hunter re privileged
                                               documents (.6).
06/28/21 Brian Nakhaimousa                0.20 Telephone conference with M. Alden, K&E
                                               team re director advisor negotiations.
06/28/21 Evan Ribot                       0.60 Telephone conference with C. Martindale,
                                               K&E team re document review.
06/28/21 Anne McClain Sidrys, P.C.        3.00 Participate in privilege discussions and review
                                               of entries and documents.
06/28/21 Michael B. Slade                 3.80 Telephone conference with Company re
                                               litigation issues (.4); telephone conference
                                               with PJT, A&M teams re same (.5); telephone
                                               conference with B. Arnault, K&E team re
                                               privilege issues (.6); review materials re same
                                               (.5); telephone conference with directors
                                               advisors re status update (.3); review, revise
                                               litigation materials (1.1); correspond with
                                               K&E team re discovery (.4).
06/28/21 Gary M. Vogt                     0.80 Compile materials re opposition to opposing
                                               party’s motion for summary judgment.
06/28/21 Jeffrey J. Zeiger, P.C.          3.80 Review opposing party’s summary judgment
                                               motion (2.9); draft response (.9).
06/29/21 Bill Arnault                     0.20 Participate in telephone conference with L.
                                               Wolk re summary judgment briefing issues.
06/29/21 Bill Arnault                     1.80 Correspond with director advisors, C.
                                               Catalano, A. Sidrys, W. Clareman, and R.
                                               Rodriguez re discovery and document review.
06/29/21 Bill Arnault                     0.50 Review documents re guarantee litigation.
06/29/21 Bill Arnault                     3.30 Review summary judgment briefing, exhibits.
06/29/21 Bill Arnault                     1.30 Review and revise summary re allocation.

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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/29/21 Cassandra Myers Catalano         2.50 Perform quality control on privilege
                                               production (2.1); finalize document
                                               production (.4).
06/29/21 Julian Gamboa                    1.50 Draft deposition excerpt reports.
06/29/21 Michael A. Glick                 1.60 Conference with J. Zeiger, M. Slade re trial
                                               preparation (1.0); revise witness list,
                                               assignment chart (.6).
06/29/21 Derek I. Hunter                  0.80 Correspond with B. Arnault, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
06/29/21 Aleschia D. Hyde                 0.50 Telephone conference with M. Slade re
                                               factual background and procedural posture of
                                               litigation.
06/29/21 Kevin M. Jonke                   0.50 Telephone conference with M. Slade re
                                               factual background and procedural posture of
                                               litigation.
06/29/21 Saunders McElroy                 6.10 Research re exhibit list (.8); review, analyze
                                               opposing party’s summary judgment motion
                                               re preparation for response (2.6); analyze
                                               factual responses re opposing party’s
                                               statement of facts (2.7).
06/29/21 Nicholas Perrone                 1.10 Review, organize pleadings re motion for
                                               summary judgment.
06/29/21 Anne McClain Sidrys, P.C.        2.00 Analyze discovery and privilege issues.
06/29/21 Michael B. Slade                 2.60 Telephone conference with Company re
                                               litigation issues (.4); telephone conference
                                               with PJT, A&M teams re same (.4); telephone
                                               conference with K&E team re trial
                                               preparation (.9); telephone conference with
                                               creditor group re same (.5); telephone
                                               conference with directors advisors re same
                                               (.4).
06/29/21 Gary M. Vogt                     1.50 Review expert invoices re payment (.5);
                                               compile materials re opposition to opposing
                                               motion for summary judgment (1.0).
06/29/21 Laura Elizabeth Wolk             7.50 Research re summary judgment motion.
06/29/21 Jeffrey J. Zeiger, P.C.          3.00 Telephone conference with M. Slade, M.
                                               Glick re trial strategy and assignments (.8);
                                               analyze deposition and exhibits (2.2).
06/30/21 Bill Arnault                     0.30 Participate in telephone conference with W.
                                               Clareman re discovery.
06/30/21 Bill Arnault                     0.30 Review documents re guarantees.


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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/30/21 Bill Arnault                     1.40 Participate in telephone conference with A.
                                               Hyde and K. Jonke re case and background.
06/30/21 Bill Arnault                     1.10 Correspond with director advisors, M. Slade,
                                               C. Catalano, ad hoc group, K. Jonke, A.
                                               Hyde, and G. Vogt re discovery and
                                               document production.
06/30/21 Bill Arnault                     0.40 Review memorandum re restructuring
                                               transaction.
06/30/21 Bill Arnault                     0.60 Review documents in ECA.
06/30/21 Bill Arnault                     0.40 Review subpoenas (.2); prepare for telephone
                                               conference with ad hoc group re discovery
                                               (.2).
06/30/21 Cade C. Boland                   1.40 Draft analysis re guarantee releases (1.0);
                                               correspond with C. Catalano re same (.4).
06/30/21 Cassandra Myers Catalano         2.30 Telephone conference with B. Arnault re
                                               document production (.1); review and draft
                                               document collection procedures (1.2); analyze
                                               historical discovery requests (1.0).
06/30/21 James P. Gillespie, P.C.         2.90 Review D. McGlade supplemental authority
                                               filing (.8); review motion to dismiss briefing
                                               and cited authority (2.1).
06/30/21 Michael A. Glick                 0.50 Correspond with K&E team re trial
                                               preparation.
06/30/21 Abby Rose Hollenstein            1.50 Review exhibits re opposing party’s witness.
06/30/21 Derek I. Hunter                  2.00 Review, analyze, and revise memorandum re
                                               settlement (1.2); correspond with K&E team
                                               re same (.8).
06/30/21 Aleschia D. Hyde                 3.50 Telephone conference with B. Arnault and K.
                                               Jonke re factual background and procedural
                                               posture of litigation (.5); review case
                                               materials (2.9); correspond with B. Arnault,
                                               C. McGushin, and K. Jonke re litigation work
                                               in process (.1).
06/30/21 Kevin M. Jonke                   1.50 Telephone conference with B. Arnault, A
                                               Hyde re factual background and procedural
                                               posture of litigation.
06/30/21 Kevin M. Jonke                   3.10 Review case materials.
06/30/21 Library Factual Research         1.50 Research public statements re litigation issue.




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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
06/30/21 Saunders McElroy                 6.40 Draft factual outline re response to opposing
                                               party’s summary judgment motion (3.8);
                                               analyze relevant facts and testimony re same
                                               (1.3); review, analyze deposition transcript
                                               (.8); correspond with L. Wolk re preliminary
                                               outline, strategy for formal outline (.5).
06/30/21 Casey McGushin                   1.10 Review and revise slides for mediator re
                                               litigation (.5); draft and revise exhibit list for
                                               trial (.6).
06/30/21 Brian Nakhaimousa                0.40 Correspond with M. Alden, K&E team re
                                               advisor meeting.
06/30/21 Samuel J. Seneczko               3.70 Correspond with E. Wendorf re litigation
                                               issues memorandum (.4); review, revise same
                                               (1.4); analyze case law, strategy re litigation
                                               issues (1.2); telephone conference with E.
                                               Wendorf re same (.5); correspond with K&E
                                               team re same (.2).
06/30/21 Benjamin P. Stone                2.70 Correspond with M. Alden re litigation letters
                                               tracker (.2); analyze same (.9); research re
                                               same (1.6).
06/30/21 Gary M. Vogt                     0.80 Compile materials re opposition to opposing
                                               party’s motion for summary judgment.
06/30/21 Gary M. Vogt                     0.70 Coordinate with special counsel re processing
                                               of same for review, production in response to
                                               plan discovery requests.
06/30/21 Gary M. Vogt                     0.50 Review, analyze materials provided by PJT.
06/30/21 Laura Elizabeth Wolk             7.50 Further research re summary judgment
                                               motion (4.0); draft summary memorandum re
                                               same (3.0); telephone conference with S.
                                               McElroy re same (.5).

Total                                   823.70




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048262
                                                                               Client Matter: 48457-42

In the Matter of Gogo Inc. Post-petition Advice




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                        $ 48,502.50
Total legal services rendered                                                                                  $ 48,502.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-42
Gogo Inc. Post-petition Advice




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Andrew Kimball                                        3.30   1,195.00          3,943.50
Shawn OHargan, P.C.                                   1.30   1,355.00          1,761.50
Anne McClain Sidrys, P.C.                            26.50   1,615.00         42,797.50

TOTALS                                               31.10                   $ 48,502.50




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Intelsat S.A.                                               Matter Number:        48457-42
Gogo Inc. Post-petition Advice


                                     Description of Legal Services

Date     Name                               Hours Description
06/01/21 Andrew Kimball                      0.20 Draft and review correspondence re Gogo
                                                  matter.
06/02/21 Anne McClain Sidrys, P.C.           1.00 Review and revise arbitration brief for Gogo.
06/04/21 Anne McClain Sidrys, P.C.           2.00 Review and revise Gogo arbitration
                                                  statement.
06/07/21 Anne McClain Sidrys, P.C.           8.00 Review documents re Gogo transaction (2.3);
                                                  draft, revise arbitration statement (3.9); draft,
                                                  revise affidavit re same (1.8).
06/08/21 Anne McClain Sidrys, P.C.           2.00 Draft Gogo arbitration submission (1.2);
                                                  telephone conference re same (.5); review
                                                  new document requests (.2); conference with
                                                  B. Arnault, K&E team re same (.1).
06/17/21 Andrew Kimball                      0.30 Draft and review correspondence re Gogo
                                                  post-closing adjustment.
06/17/21 Anne McClain Sidrys, P.C.           1.00 Review and revise Gogo arbitration
                                                  statement.
06/18/21 Andrew Kimball                      0.70 Revise engagement letter re Gogo matter (.5);
                                                  draft and review correspondence (.2).
06/21/21 Andrew Kimball                      0.30 Revise engagement letter re Gogo matter.
06/22/21 Shawn OHargan, P.C.                 0.50 Telephone conference with K&E team re
                                                  emergence structure.
06/23/21 Andrew Kimball                      0.40 Review revised draft of engagement letter and
                                                  correspond with K&E team re same.
06/23/21 Anne McClain Sidrys, P.C.           1.00 Correspond with K&E team, other parties re
                                                  post-closing issues, arbitration.
06/24/21 Andrew Kimball                      0.30 Telephone conference with S. Ajmeri, K&E
                                                  team re same.
06/25/21 Andrew Kimball                      0.50 Telephone conference with A&M re
                                                  engagement letter.
06/25/21 Shawn OHargan, P.C.                 0.50 Telephone conference re NWC dispute (.4);
                                                  correspond re same (.1).
06/25/21 Anne McClain Sidrys, P.C.           0.50 Telephone conference with Company, related
                                                  parties re retention letter for Gogo.
06/29/21 Anne McClain Sidrys, P.C.           2.00 Review and revise retention letter (1.1);
                                                  analyze issues re same (.9).
06/30/21 Andrew Kimball                      0.60 Revise engagement letter re Gogo matter (.4);
                                                  correspond with S. OHargan re same (.2).
06/30/21 Shawn OHargan, P.C.                 0.30 Telephone conference re engagement letter.


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Intelsat S.A.                                               Matter Number:        48457-42
Gogo Inc. Post-petition Advice

Date     Name                            Hours Description
06/30/21 Anne McClain Sidrys, P.C.        9.00 Telephone conference with Company re
                                               retention letter (.4); review and revise letter
                                               (3.9); telephone conferences with related
                                               parties re same (2.6); telephone conferences
                                               with K&E team, Company re privilege issues
                                               (2.1).

Total                                     31.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048263
                                                                               Client Matter: 48457-43

In the Matter of Insured Matters




For legal services rendered through June 30, 2021
(see attached Description of Legal Services for detail)                                                         $ 5,904.00
Total legal services rendered                                                                                   $ 5,904.00




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Intelsat S.A.                                               Matter Number:        48457-43
Insured Matters




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Elizabeth DeGori                                     4.30      995.00          4,278.50
Adrienne J. Levin                                    2.40      460.00          1,104.00
Kelly Seranko                                        0.70      745.00            521.50

TOTALS                                                7.40                    $ 5,904.00




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Intelsat S.A.                                               Matter Number:        48457-43
Insured Matters


                                  Description of Legal Services

Date     Name                            Hours Description
06/01/21 Elizabeth DeGori                 2.60 Draft letter to Judge re status of service (2.0);
                                               correspond with M. Slade re same (.3);
                                               correspond with process server re status of
                                               service on defendant (.1); revise draft letter re
                                               same (.2).
06/02/21 Elizabeth DeGori                 0.20 Revise letter to judge re service status.
06/03/21 Elizabeth DeGori                 0.30 Correspond with A. Brancato re filing service
                                               letter (.2); correspond with A. Levin re same
                                               (.1).
06/03/21 Kelly Seranko                    0.20 Review status of service and case docket for
                                               information re hearing.
06/04/21 Elizabeth DeGori                 1.10 Correspond with K. Seranko re service status
                                               (.2); revise letter to court re same (.2);
                                               correspond with M. Slade re same (.2);
                                               correspond with A. Levin re filing (.3);
                                               review final version of letter for filing (.2).
06/04/21 Adrienne J. Levin                1.70 Prepare exhibits to letter to Judge (1.0);
                                               finalize and file letter (.2); review pleadings
                                               re same (.2); revise case file (.3).
06/04/21 Kelly Seranko                    0.10 Correspond with process server re status of
                                               service.
06/07/21 Elizabeth DeGori                 0.10 Correspond with foreign process server re
                                               service update for complaint.
06/07/21 Adrienne J. Levin                0.30 Review order re service (.2); revise case file
                                               re same (.1).
06/07/21 Kelly Seranko                    0.10 Review and analyze letter filed with the court
                                               re upcoming hearing.
06/14/21 Kelly Seranko                    0.10 Correspond with process server re status of
                                               service on defendant.
06/15/21 Adrienne J. Levin                0.40 Review affidavits re service (.2); revise case
                                               file re same (.2).
06/24/21 Kelly Seranko                    0.20 Review and analyze correspondence from E.
                                               DeGori re service attempts.

Total                                      7.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049134
                                                                               Client Matter: 48457-3

In the Matter of Corporate and Governance Matters




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 151,235.00
Total legal services rendered                                                                                $ 151,235.00




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Legal Services for the Period Ending July 31, 2021         Invoice Number:      1050049134
Intelsat S.A.                                               Matter Number:         48457-3
Corporate and Governance Matters




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         28.30     875.00         24,762.50
Nicholas A. Binder                                   15.40     875.00         13,475.00
Dave Gremling                                         0.70     875.00            612.50
Anthony R. Grossi                                     3.70   1,220.00          4,514.00
Derek I. Hunter                                       3.70   1,125.00          4,162.50
Jason T. Jarvis                                       6.80     765.00          5,202.00
Jennifer Karinen                                      1.90   1,125.00          2,137.50
Joshua Korff, P.C.                                    0.70   1,645.00          1,151.50
Michael Lemm                                          0.30     875.00            262.50
Library Factual Research                              0.50     390.00            195.00
Drew Maliniak                                         6.70   1,070.00          7,169.00
Brian Nakhaimousa                                    26.90     765.00         20,578.50
David L. Perechocky                                   0.10   1,185.00            118.50
Whitney Rosser                                        9.90     765.00          7,573.50
Samuel J. Seneczko                                    0.30     875.00            262.50
Benjamin P. Stone                                    72.50     765.00         55,462.50
William Thompson                                      4.70     765.00          3,595.50

TOTALS                                              183.10                 $ 151,235.00




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Corporate and Governance Matters


                                    Description of Legal Services

Date     Name                              Hours Description
07/01/21 Maggie Alden                       0.90 Telephone conference with director advisors
                                                 re case update (.2); telephone conference with
                                                 B. Nakhaimousa, K&E team re director
                                                 advisors meeting issues (.3); telephone
                                                 conference with B. Nakhaimousa re follow-up
                                                 re same (.2); correspond with B.
                                                 Nakhaimousa, K&E team re same (.2).
07/01/21 Nicholas A. Binder                 1.60 Analyze fiduciary duty considerations.
07/01/21 Library Factual Research           0.50 Research re S3 registration issues.
07/01/21 David L. Perechocky                0.10 Correspond with K&E team re governance
                                                 issues.
07/01/21 Benjamin P. Stone                  3.30 Correspond with N. Binder re cleanse
                                                 materials (.2); correspond with D. Hunter re
                                                 same (.2); revise tracker re creditor letters
                                                 (2.9).
07/02/21 Maggie Alden                       2.90 Telephone conference with director advisors
                                                 re case update (.5); revise issues document re
                                                 director advisors meeting (.8); telephone
                                                 conference with B. Nakhaimousa re same
                                                 (.1); draft outline re board deck (.3);
                                                 correspond with B. Nakhaimousa, K&E team
                                                 re same (.2); draft board deck (1.0).
07/02/21 Nicholas A. Binder                 0.70 Revise NDA amendment (.2); correspond
                                                 with D. Hunter re same (.2); correspond with
                                                 K&E team, creditor advisors re same (.3).
07/02/21 Anthony R. Grossi                  0.90 Correspond with K&E team re NDA issues
                                                 (.5); correspond with Company re board
                                                 presentation (.4).
07/02/21 Brian Nakhaimousa                  0.80 Draft board presentation re next steps.
07/02/21 Samuel J. Seneczko                 0.30 Telephone conference with K&E team re
                                                 governance issues.
07/02/21 Benjamin P. Stone                  1.60 Analyze materials re creditor letters (1.3);
                                                 correspond with N. Binder re cleanse
                                                 materials (.3).
07/02/21 William Thompson                   1.20 Revise board presentation re settlement
                                                 considerations.
07/03/21 Maggie Alden                       0.50 Correspond with D. Hunter, K&E team re
                                                 issues re director advisors in-person meetings.




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Date     Name                            Hours Description
07/04/21 Maggie Alden                     1.30 Correspond with B. Nakhaimousa re director
                                               advisors meetings issues (.6); correspond with
                                               D. Hunter, B. Nakhaimousa re same (.4);
                                               correspond with B. Nakhaimousa, K&E team
                                               re same (.3).
07/05/21 Maggie Alden                     1.40 Correspond with B. Nakhaimousa re director
                                               advisors meeting issues (.7); correspond with
                                               D. Hunter, K&E team re same (.3);
                                               correspond with B. Nakhaimousa, K&E team
                                               re same (.4).
07/05/21 Benjamin P. Stone                7.10 Conference with N. Binder re NDAs (.1);
                                               revise NDAs (3.6); compile execution
                                               versions re amended mediation NDAs (2.9);
                                               correspond with N. Binder re same (.3);
                                               correspond with ad hoc group re same (.2).
07/06/21 Maggie Alden                     4.40 Prepare and coordinate issues re director
                                               advisors meetings (1.9); kick-off office
                                               conference with director advisors (.7);
                                               correspond with W. Thompson, B.
                                               Nakhaimousa re board deck (.3); conferences
                                               with K&E team re director advisors meetings
                                               (.9); correspond with K&E team re same (.6).
07/06/21 Brian Nakhaimousa                1.20 Review, revise board presentation re case
                                               progress, next steps.
07/06/21 William Thompson                 2.10 Revise board presentation re revisions from
                                               M. Alden.
07/07/21 Maggie Alden                     1.90 Correspond with B. Nakhaimousa, K&E team
                                               re director advisors meeting issues (.4);
                                               coordinate same (1.5).
07/07/21 Benjamin P. Stone                0.40 Research re notice of appointment (.2);
                                               correspond with D. Hunter, Catalano re same
                                               (.2).
07/08/21 Maggie Alden                     0.20 Correspond with D. Hunter, B. Nakhaimousa
                                               re director advisors meeting issues.
07/09/21 Nicholas A. Binder               0.10 Correspond with creditor counsel re NDAs.
07/09/21 Benjamin P. Stone                0.80 Correspond with D. Hunter, N. Binder re
                                               cleanse date extension (.3); draft same (.3);
                                               correspond with ad hoc groups re same (.2).
07/10/21 Maggie Alden                     2.70 Telephone conference with D. Hunter re
                                               board deck (.1); draft, revise same (2.5);
                                               correspond with D. Hunter, S. Vail re same
                                               (.1).



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Corporate and Governance Matters

Date     Name                            Hours Description
07/11/21 Nicholas A. Binder               0.20 Review NDAs (.1); correspond with B. Stone
                                               re same (.1).
07/11/21 Benjamin P. Stone                3.20 Compile execution NDAs re ad hoc group
                                               (2.9); correspond with N. Binder re same (.2);
                                               correspond with creditor re same (.1).
07/12/21 Maggie Alden                     1.50 Revise board deck (1.1); correspond with B.
                                               Nakhaimousa, K&E team re same (.1);
                                               telephone conference with director advisors re
                                               case update (.3).
07/12/21 Nicholas A. Binder               0.50 Analyze NDAs, related considerations (.4);
                                               correspond with D. Hunter, K&E team re
                                               same (.1).
07/13/21 Maggie Alden                     0.60 Telephone conference with Willkie re case
                                               status.
07/13/21 Nicholas A. Binder               2.20 Correspond with B. Stone re NDA (.2);
                                               telephone conference with D. Hunter re
                                               governance considerations (.2); analyze same
                                               (1.5); telephone conference with M. Lemm,
                                               D. Hunter re same (.3).
07/13/21 Derek I. Hunter                  0.70 Telephone conference with Luxembourg
                                               counsel re certain governance issues (.5);
                                               correspond with N. Binder, K&E team re
                                               same (.2).
07/13/21 Brian Nakhaimousa                0.10 Review board resolution precedent re DIP
                                               issues.
07/14/21 Maggie Alden                     3.40 Revise board deck (1.8); correspond with D.
                                               Hunter, K&E team re same (.9); correspond
                                               with W. Thompson, K&E team re revisions re
                                               same (.3); telephone conference with N.
                                               Binder, K&E team re same (.1); compile
                                               precedent documents re research re same (.3).
07/14/21 Nicholas A. Binder               2.40 Draft summary re corporate governance
                                               considerations (1.4); conference with M.
                                               Alden, K&E team re same (.3); revise same
                                               (.7).
07/14/21 Michael Lemm                     0.30 Review and revise board deck.
07/15/21 Nicholas A. Binder               0.40 Correspond with B. Stone, D. Hunter re NDA
                                               considerations.
07/15/21 Brian Nakhaimousa                0.10 Revise board presentation re strategic
                                               alternatives.




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Corporate and Governance Matters

Date     Name                            Hours Description
07/15/21 Benjamin P. Stone                2.60 Review, analyze NDAs (1.9); correspond with
                                               N. Binder re same (.3); correspond with D.
                                               Hunter re same (.2); correspond with creditors
                                               re same (.2).
07/16/21 Maggie Alden                     0.40 Telephone conference with director advisors
                                               re case status update (.3); telephone
                                               conference with D. Gremling re same (.1).
07/16/21 Nicholas A. Binder               1.00 Correspond with D. Hunter, creditor advisors
                                               re NDAs (.3); revise same (.4); correspond
                                               with creditor advisor re same (.2); telephone
                                               conference with creditor advisor re same (.1).
07/16/21 Anthony R. Grossi                1.10 Correspond with Company and K&E team re
                                               board materials.
07/16/21 Brian Nakhaimousa                0.20 Review board minutes re June 17 board
                                               meeting.
07/16/21 Benjamin P. Stone                4.30 Review, revise NDAs re financing (3.7);
                                               correspond with N. Binder re same (.3);
                                               correspond with D. Hunter re same (.3).
07/17/21 Anthony R. Grossi                0.50 Correspond with K&E team re board
                                               materials.
07/17/21 Brian Nakhaimousa                0.30 Review board resolution precedent re DIP
                                               issues.
07/18/21 Benjamin P. Stone                2.60 Compile execution version NDAs re cleanse
                                               extension (2.5); correspond with N. Binder,
                                               D. Hunter re same (.1).
07/19/21 Nicholas A. Binder               0.30 Review NDA (.2); correspond with B. Stone,
                                               K&E team re same (.1).
07/19/21 Derek I. Hunter                  0.60 Telephone conference with Company
                                               advisors re corporate structuring issues (.4);
                                               correspond with K&E team re analysis re
                                               same (.2).
07/19/21 Jason T. Jarvis                  3.30 Draft board of directors presentation.
07/19/21 Drew Maliniak                    1.00 Correspond with D. Gremling re guarantee
                                               related issues.
07/19/21 Drew Maliniak                    1.50 Review and revise 10-Q form (1.1);
                                               correspond with B. Stone, K&E team re
                                               exhibit for same (.4).
07/19/21 Brian Nakhaimousa                3.00 Review precedent re DIP board resolutions
                                               (.2); draft same (.4); review, revise Q2 10-Q
                                               (2.4).




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Corporate and Governance Matters

Date     Name                            Hours Description
07/19/21 Benjamin P. Stone                5.10 Review, revise 10-Q sections (1.8); review,
                                               analyze same (2.4); correspond with D.
                                               Maliniak re same (.2); correspond with B.
                                               Nakhaimousa re same (.3); conference with
                                               N. Binder re cleanse materials, NDAs (.4).
07/19/21 Benjamin P. Stone                4.10 Review, analyze NDA revisions (3.4);
                                               correspond with N. Binder, D. Hunter re same
                                               (.7).
07/20/21 Nicholas A. Binder               0.50 Correspond with creditor advisors re NDAs
                                               (.1); review same (.3); correspond with B.
                                               Stone re same (.1).
07/20/21 Anthony R. Grossi                0.60 Correspond with K&E team re board
                                               materials.
07/20/21 Derek I. Hunter                  0.60 Correspond with K&E team, Company re
                                               annual reporting, other governance issues.
07/20/21 Jason T. Jarvis                  3.30 Review, revise board of directors presentation
                                               (1.4); review, revise schedule re same (1.6);
                                               telephone conference with B. Stone re same
                                               (.2); telephone conference with D. Gremling
                                               re same (.1).
07/20/21 Drew Maliniak                    0.30 Correspond with B. Stone re EDGAR filing
                                               for DIP credit agreement.
07/20/21 Brian Nakhaimousa                0.40 Review, revise board resolutions re DIP.
07/20/21 Benjamin P. Stone                7.60 Review, revise board slides (3.3); correspond
                                               with T. Knutson re same (.2); correspond with
                                               J. Jarvis re same (.1); correspond with D.
                                               Gremling, N. Binder re same (.3); conference
                                               with D. Maliniak, N. Binder re 10-Q (.2);
                                               review, analyze same (2.9); correspond with
                                               W. Rosser re same (.4); correspond with D.
                                               Maliniak re same (.2).
07/20/21 Benjamin P. Stone                1.20 Compile NDAs (.9); correspond with N.
                                               Binder re same (.2); correspond with creditor
                                               re same (.1).
07/21/21 Derek I. Hunter                  0.60 Telephone conference with Company
                                               advisors re corporate structuring issues (.4);
                                               correspond with K&E team re analysis re
                                               same (.2).
07/21/21 Drew Maliniak                    0.20 Correspond with B. Stone re EDGAR filing re
                                               DIP credit agreement amendment.
07/21/21 Whitney Rosser                   0.80 Review, revise DIP related document
                                               EDGAR submission (.3); correspond with B.
                                               Stone re same (.5).

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Corporate and Governance Matters

Date     Name                            Hours Description
07/21/21 Benjamin P. Stone                1.80 Compile EDGAR version re 10-Q form (.7);
                                               correspond with D. Maliniak re same (.2);
                                               review, analyze NDAs re same (.6);
                                               correspond with N. Binder re same (.2);
                                               correspond with creditor re same (.1).
07/22/21 Derek I. Hunter                  0.30 Correspond with K&E team, Company
                                               advisors re corporate governance, securities
                                               matters.
07/22/21 Whitney Rosser                   0.70 Correspond with K&E team re conference,
                                               work streams (.3); review materials re same
                                               (.4).
07/22/21 Benjamin P. Stone                4.20 Review, revise cleansing materials (2.9);
                                               compile same (.8); correspond with N. Binder
                                               re same (.3); correspond with D. Hunter re
                                               same (.2).
07/23/21 Dave Gremling                    0.70 Revise Company 10Q.
07/23/21 Anthony R. Grossi                0.60 Correspond with K&E team re NDA issues.
07/23/21 Drew Maliniak                    0.40 Correspond with W. Rosser, K&E team re 10-
                                               Q form related issues.
07/23/21 Whitney Rosser                   0.80 Review, revise ER and 10-Q (.4); correspond
                                               with D. Maliniak, K&E team re same (.4).
07/24/21 Derek I. Hunter                  0.20 Correspond with K&E team, Company
                                               advisors re corporate governance issues,
                                               related board presentation.
07/24/21 Drew Maliniak                    0.50 Correspond with N. Binder re 8-K related
                                               issues (.2); correspond with W. Rosser re
                                               review of 10-Q for restructuring issues (.3).
07/24/21 Whitney Rosser                   0.60 Review ER, 10-Q form (.3); correspond with
                                               D. Maliniak, N. Binder re same (.3).
07/25/21 Nicholas A. Binder               0.50 Review NDAs (.3); correspond with D.
                                               Hunter re same (.1); correspond with creditor
                                               advisors re same (.1).
07/25/21 Drew Maliniak                    1.00 Review, analyze materials re 10-Q related
                                               issues.
07/25/21 Brian Nakhaimousa                0.60 Draft bankruptcy insert re 10-Q.
07/25/21 Whitney Rosser                   3.30 Review, revise 10-Q.
07/25/21 Benjamin P. Stone                2.30 Review, revise NDAs re outside date
                                               extension (2.2); correspond with N. Binder re
                                               same (.1).
07/26/21 Maggie Alden                     1.80 Revise board deck (1.6); correspond with D.
                                               Hunter, W. Thompson, B. Nakhaimousa re
                                               same (.2).

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Date     Name                            Hours Description
07/26/21 Nicholas A. Binder               2.20 Review NDAs (.2); correspond with B. Stone
                                               re same (.1); analyze considerations re
                                               governance issues (1.4); correspond with B.
                                               Stone, B. Nakhaimousa re same (.3);
                                               telephone conference with K&E team re same
                                               (.2).
07/26/21 Derek I. Hunter                  0.20 Correspond with N. Binder, K&E team,
                                               Company re annual reporting, other
                                               governance issues.
07/26/21 Drew Maliniak                    0.90 Review and revise 10-Q related materials (.4);
                                               correspond with W. Rosser re same (.3);
                                               correspond with N. Binder re securities law
                                               issues (.2).
07/26/21 Brian Nakhaimousa                2.70 Revise board resolutions re DIP pleadings
                                               (1.4); draft board resolutions re plan
                                               considerations (1.3).
07/26/21 Whitney Rosser                   2.00 Review, revise ER (.4); correspond with
                                               Company, D. Maliniak, K&E team re same
                                               (.3); review, revise 10-Q (1.3).
07/26/21 Benjamin P. Stone                0.90 Further review, revise NDAs re outside date
                                               extension (.6); correspond with N. Binder re
                                               same (.2); correspond with creditor re same
                                               (.1).
07/27/21 Nicholas A. Binder               0.90 Telephone conference with B. Nakhaimousa,
                                               B. Stone re board presentation, resolutions
                                               (.3); correspond with B. Nakhaimousa, K&E
                                               team re resolutions (.2); analyze
                                               considerations re same (.2); revise summary
                                               re same (.2).
07/27/21 Jennifer Karinen                 1.90 Review background materials re case (1.4);
                                               conference with D. Hunter, K&E team re case
                                               status and updates (.5).
07/27/21 Joshua Korff, P.C.               0.70 Telephone conferences with K&E team re
                                               process and securities law issues.
07/27/21 Drew Maliniak                    0.90 Review and revise 10-Q (.5); correspond with
                                               Company re same (.1); correspond with W.
                                               Rosser, K&E team re case status and key
                                               documents and deliverables (.3).
07/27/21 Brian Nakhaimousa                4.90 Draft board presentation re DIP issues (2.9);
                                               review precedent re DIP resolutions (.6);
                                               revise DIP resolutions (1.4).
07/27/21 Whitney Rosser                   1.70 Review, revise 10-Q (1.3); correspond with
                                               D. Maliniak, K&E team re same (.4).


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Date     Name                            Hours Description
07/27/21 Benjamin P. Stone                4.40 Review, analyze precedent DIP board
                                               materials (1.7); review, analyze precedent
                                               DIP board resolutions (1.4); draft analysis re
                                               same (.7); correspond with N. Binder re same
                                               (.3); correspond with D. Hunter re same (.3).
07/28/21 Maggie Alden                     3.50 Review precedent re board deck (1.1); revise
                                               same (1.9); correspond with W. Thompson,
                                               B. Nakhaimousa re same (.5).
07/28/21 Nicholas A. Binder               0.40 Revise NDA (.3); correspond with B.
                                               Nakhaimousa, K&E team, creditor advisor re
                                               same (.1).
07/28/21 Brian Nakhaimousa                3.60 Revise board presentation re DIP issues (2.7);
                                               conference with N. Binder re resolutions re
                                               same (.2); revise minutes re same (.7).
07/28/21 Benjamin P. Stone                5.70 Review, analyze DIP documents (.8); review,
                                               revise DIP board materials re same (3.9);
                                               correspond with B. Nakhaimousa re same
                                               (.7); correspond with N. Binder re same (.3).
07/28/21 William Thompson                 0.80 Review, revise board deck re additions from
                                               B. Nakhaimousa.
07/29/21 Maggie Alden                     0.50 Correspond with W. Thompson, K&E team re
                                               board deck.
07/29/21 Nicholas A. Binder               1.10 Review materials re governance process (.3);
                                               revise board resolutions (.4); revise board
                                               presentation (.4).
07/29/21 Jason T. Jarvis                  0.20 Review, analyze board presentation slides
                                               (.1); correspond with B. Stone, W. Thompson
                                               re same (.1).
07/29/21 Brian Nakhaimousa                1.70 Revise board presentation re DIP issues (1.4);
                                               revise resolutions re same (.3).
07/29/21 Benjamin P. Stone                0.80 Review, analyze debt holdings re board
                                               materials (.6); correspond with W. Thompson
                                               re same (.2).
07/29/21 Benjamin P. Stone                4.40 Review, analyze precedent board materials re
                                               DIP considerations (1.9); review, revise board
                                               materials (1.7); correspond with B.
                                               Nakhaimousa re same (.4); correspond with
                                               R. Orren re same (.2); correspond with N.
                                               Binder re same (.2).
07/29/21 William Thompson                 0.40 Revise board presentation.




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Date     Name                            Hours Description
07/30/21 Maggie Alden                     0.40 Correspond with D. Hunter, B. Nakhaimousa,
                                               W. Thompson re board deck (.1); telephone
                                               conference with B. Nakhaimousa re same
                                               (.2); correspond with B. Nakhaimousa re
                                               same (.1).
07/30/21 Nicholas A. Binder               0.40 Review NDAs (.2); correspond with K&E
                                               team, creditor advisors re same (.2).
07/30/21 Brian Nakhaimousa                5.50 Review, revise board presentation re DIP
                                               related pleadings (2.0); revise resolutions re
                                               same (1.3); draft board presentation re plan
                                               update (2.2).
07/30/21 Benjamin P. Stone                4.10 Review, revise DIP board materials (3.7);
                                               correspond with B. Nakhaimousa re same
                                               (.4).
07/30/21 William Thompson                 0.20 Correspond with B. Nakhaimousa re board
                                               presentation.
07/31/21 Derek I. Hunter                  0.50 Review, analyze and revise corporate
                                               governance documents, resolutions.
07/31/21 Brian Nakhaimousa                1.80 Revise board presentation re plan updates
                                               (.4); revise board resolutions re same (1.4).

Total                                   183.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049135
                                                                               Client Matter: 48457-4

In the Matter of Disclosure Statement, Plan and Confirmation




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                    $ 1,604,136.50
Total legal services rendered                                                                              $ 1,604,136.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Disclosure Statement, Plan and Confirmation




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         88.10     875.00         77,087.50
Bill Arnault                                          7.60   1,245.00          9,462.00
Nicholas A. Binder                                  165.40     875.00        144,725.00
Simon Briefel                                         1.90     995.00          1,890.50
Cassandra Myers Catalano                             13.00   1,065.00         13,845.00
David L. Eaton                                        3.40   1,695.00          5,763.00
Maya Frazier                                          0.70     255.00            178.50
Dave Gremling                                       119.10     875.00        104,212.50
Anthony R. Grossi                                    96.90   1,220.00        118,218.00
Derek I. Hunter                                     119.10   1,125.00        133,987.50
Jason T. Jarvis                                      68.70     765.00         52,555.50
Kevin M. Jonke                                        3.30   1,080.00          3,564.00
Andrew Kimball                                        3.70   1,195.00          4,421.50
Tyler R. Knutson                                    133.10     765.00        101,821.50
Joshua Korff, P.C.                                    2.70   1,645.00          4,441.50
Michael Lemm                                        157.10     875.00        137,462.50
Lib Legislative Research                              4.80     390.00          1,872.00
Drew Maliniak                                        10.70   1,070.00         11,449.00
Casey McGushin                                       11.40   1,095.00         12,483.00
Brian Nakhaimousa                                    48.40     765.00         37,026.00
Robert Orren                                          6.80     460.00          3,128.00
David L. Perechocky                                   2.00   1,185.00          2,370.00
Harker Rhodes                                         2.00   1,145.00          2,290.00
Whitney Rosser                                        7.70     765.00          5,890.50
Samuel J. Seneczko                                  109.60     875.00         95,900.00
Steven N. Serajeddini, P.C.                         143.90   1,495.00        215,130.50
Anne McClain Sidrys, P.C.                             9.30   1,615.00         15,019.50
Michael B. Slade                                     16.10   1,445.00         23,264.50
Benjamin P. Stone                                    95.10     765.00         72,751.50
William Thompson                                     92.20     765.00         70,533.00
Scott J. Vail                                         0.40   1,125.00            450.00
Andy Veit, P.C.                                       1.70   1,375.00          2,337.50


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Name                                                Hours        Rate          Amount
Gary M. Vogt                                          2.80     460.00          1,288.00
Eric J. Wendorf                                      52.90     765.00         40,468.50
Chambliss Williams                                    9.00     875.00          7,875.00
Aparna Yenamandra                                     1.00   1,195.00          1,195.00
Donna Zamir                                          88.60     765.00         67,779.00

TOTALS                                            1,700.20                $ 1,604,136.50




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                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Maggie Alden                     1.80 Revise plan related pleadings (1.5);
                                               correspond with E. Wendorf re research re
                                               same (.3).
07/01/21 Bill Arnault                     0.80 Participate in telephone conference with N.
                                               Binder and M. Lemm re emergence issues
                                               (.7); prepare for same (.1).
07/01/21 Nicholas A. Binder               7.90 Telephone conference with B. Arnault, K&E
                                               team re emergence risks (.7); correspond with
                                               D. Maliniak re same (.2); telephone
                                               conference with EHP, K&E team re same
                                               (.9); analyze considerations re same (.9);
                                               review documents and materials re same
                                               (1.2); conference with M. Lemm re same (.5);
                                               analyze plan support issue (.6); correspond
                                               with B. Stone, K&E team re same (.3);
                                               telephone conference with B. Stone re same
                                               (.3); telephone conference with E. Wendorf re
                                               confirmation issues (.3); review memoranda
                                               re same (1.6); telephone conference with
                                               K&E team, Company advisors re plan process
                                               (.1); review plan (.3).
07/01/21 Dave Gremling                    6.00 Review, revise disclosure statement (3.1);
                                               review background re same (1.1); correspond
                                               with D. Hunter, K&E team re same (.5);
                                               review, analyze objections re same (.8); revise
                                               reply in support of same (.5).
07/01/21 Anthony R. Grossi                9.70 Review background on mediation materials
                                               (1.6); attend mediation session (8.1).
07/01/21 Derek I. Hunter                  8.50 Participate in all-day plan mediation with
                                               stakeholders (7.0); review, analyze, and revise
                                               materials and proposals re same (.7);
                                               conference with K&E team, Company re
                                               same (.8).
07/01/21 Jason T. Jarvis                  5.40 Review, revise memorandum re confirmation
                                               compliance considerations (1.4); research re
                                               confirmation requirements re settlements
                                               (2.3); review, revise memorandum re same
                                               (.5); correspond with N. Binder, D. Gremling,
                                               B. Stone re emergence considerations (1.2).




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Date     Name                            Hours Description
07/01/21 Tyler R. Knutson                 3.10 Review and revise summary re certain
                                               confirmation considerations (2.3); research
                                               and analyze precedent, pleadings, additional
                                               documentation re same (.8).
07/01/21 Joshua Korff, P.C.               1.00 Telephone conferences with working group
                                               members re emergence and securities law
                                               issues.
07/01/21 Michael Lemm                     2.20 Telephone conference with N. Binder, K&E
                                               team re emergence considerations (.7);
                                               telephone conferences with N. Binder re same
                                               (.5); telephone conference with N. Binder, W.
                                               Thompson re same (.1); telephone conference
                                               with N. Binder, K&E team, EHP re same (.9).
07/01/21 Drew Maliniak                    1.00 Conference with Company re securities
                                               emergence mechanics, summarizing work
                                               plan (.5); prepare for same (.5).
07/01/21 Brian Nakhaimousa                4.90 Telephone conference with Company
                                               advisors re mediation update (.2); telephone
                                               conferences with D. Gremling, B. Stone re
                                               disclosure statement reply (1.1); review
                                               disclosure statement ballot precedent (1.8);
                                               revise precedent chart re same (1.8).
07/01/21 David L. Perechocky              0.10 Conference with Elvinger re case status and
                                               updates.
07/01/21 Whitney Rosser                   1.90 Telephone conference with Company, K&E
                                               team re emergence (.5); telephone conference
                                               with B. Stone re same (.3); research issues re
                                               same (1.1).
07/01/21 Samuel J. Seneczko               2.40 Review confirmation issues research (.4);
                                               review, revise memorandum re same (.7);
                                               correspond with E. Wendorf re same (.1);
                                               analyze ballots, notice, precedent (.6);
                                               conference with D. Gremling re same (.5);
                                               correspond with N. Binder, K&E team re plan
                                               issues (.1).
07/01/21 Steven N. Serajeddini, P.C.      9.10 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.4); review and analyze same (.8);
                                               participate in mediation re same (6.9).
07/01/21 Michael B. Slade                 5.40 Attend mediation session.




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Date     Name                            Hours Description
07/01/21 Benjamin P. Stone                6.30 Review, revise disclosure statement reply
                                               (3.9); review, revise disclosure statement
                                               reply re same (1.3); conference with B.
                                               Nakhaimousa re same (.2); conference with
                                               directors advisors re plan negotiations,
                                               mediation status (.2); conference with N.
                                               Binder re PSA (.3); research re same (.2);
                                               correspond with N. Binder re same (.2).
07/01/21 William Thompson                 6.60 Telephone conference with Company
                                               directors re settlement negotiations (.3);
                                               telephone conference with B. Arnault, N.
                                               Binder and M. Lemm re plan implementation
                                               issues (.8); telephone conference with
                                               Elvinger re same (.9); research re same (3.6);
                                               draft memorandum re same (.8); revise
                                               memorandum re plan approval issues (.2).
07/01/21 Scott J. Vail                    0.40 Conference with A. Grossi, PJT, and A&M re
                                               work in process and critical deadlines.
07/01/21 Gary M. Vogt                     0.50 Compile materials for PJT (.3); correspond
                                               with K&E team re processing of same for
                                               review (.2).
07/01/21 Eric J. Wendorf                  0.80 Telephone conference with N. Binder re
                                               confirmation issues (.3); revise confirmation
                                               brief re same (.3); correspond with D.
                                               Gremling, K&E team re same (.2).
07/01/21 Donna Zamir                      7.00 Correspond with D. Gremling, K&E team re
                                               confirmation related issues (.3); research re
                                               disclosure statement issues (3.6); draft
                                               summary re same (2.9); correspond with D.
                                               Gremling re same (.2).
07/02/21 Maggie Alden                     1.10 Telephone conference with D. Hunter, K&E
                                               team, A&M, PJT re case strategy, updates
                                               (.4); revise PSA (.5); correspond with S.
                                               Seneczko, K&E team re same (.2).
07/02/21 Maggie Alden                     4.90 Revise plan related pleadings (3.9);
                                               correspond with D. Hunter, S. Vail re same
                                               (.2); correspond with J. Jarvis re same (.2);
                                               correspond with A. Grossi, K&E team re
                                               same (.2); analyze issues re same (.4).




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Date     Name                            Hours Description
07/02/21 Nicholas A. Binder               8.80 Analyze considerations re plan support
                                               agreement (1.4); revise amended plan (1.9);
                                               telephone conference with K&E team re
                                               definitive documents (1.8); review, revise
                                               same (1.4); telephone conference with J.
                                               Morley, D. Gremling re disclosure statement,
                                               plan (.3); telephone conference with
                                               Company advisors, D. Hunter, K&E team re
                                               plan process (.5); analyze emergence risks
                                               (1.3); telephone conference with M. Lemm re
                                               same (.2).
07/02/21 Dave Gremling                    4.00 Revise disclosure statement (2.8); correspond
                                               with N. Binder, K&E team re same (.3);
                                               review background re same (.9).
07/02/21 Anthony R. Grossi                4.30 Correspond with K&E team and Company re
                                               open legal issues (.6); correspond with
                                               director advisors re chapter 11 plan status
                                               (.9); review restructuring proposal (1.2);
                                               review background on mediation related
                                               research (1.6).
07/02/21 Derek I. Hunter                  7.60 Telephone conference with Company,
                                               Company advisors re mediation status (.5);
                                               telephone conference with Company advisors
                                               re case strategy (.5); telephone conference
                                               with A&M, K&E team re plan-related
                                               analyses (.5); review, analyze, and research re
                                               plan issues (1.7); correspond with N. Binder,
                                               K&E team re same (.3); review, analyze, and
                                               revise definitive document drafts, related
                                               materials (2.4); correspond with N. Binder,
                                               K&E team re same (.6); review, analyze, and
                                               comment on creditor proposal re same (1.1).
07/02/21 Jason T. Jarvis                  1.90 Review, revise plan related pleadings (1.6);
                                               correspond with M. Alden re same (.2);
                                               telephone conference with D. Hunter, K&E
                                               team re emergence (.1).
07/02/21 Tyler R. Knutson                 3.20 Review and revise summary re certain
                                               confirmation considerations (.6); correspond
                                               with K&E team re confirmation related
                                               research (.4); revise plan related pleading
                                               draft (1.5); research and analysis pleadings,
                                               related documentation re same (.7).




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Date     Name                            Hours Description
07/02/21 Michael Lemm                     3.10 Review and revise summary re case update
                                               (.6); telephone conference with N. Binder,
                                               K&E team, director advisors re case update
                                               (.4); telephone conference with N. Binder,
                                               K&E team re emergence considerations (.1);
                                               telephone conferences with N. Binder re same
                                               (.6); telephone conference with D. Hunter, S.
                                               Seneczko re plan term sheets (.1); review
                                               same (.8); review and revise summary re plan
                                               considerations (.5).
07/02/21 Brian Nakhaimousa                3.00 Conference with B. Stone re disclosure
                                               statement reply (.1); telephone conference
                                               with D. Hunter, D. Gremling, B. Stone re
                                               same (.6); conference with Company advisor
                                               re case update (.5); revise disclosure
                                               statement reply (1.8).
07/02/21 David L. Perechocky              0.20 Conference with K&E team re case update.
07/02/21 Whitney Rosser                   0.10 Correspond with D. Maliniak re emergence
                                               considerations.
07/02/21 Samuel J. Seneczko               5.70 Telephone conference with D. Hunter, M.
                                               Lemm re PSA issues (.2); review materials,
                                               precedent re same (.9); telephone conference
                                               with N. Binder re same (.5); telephone
                                               conference with N. Binder, M. Lemm re same
                                               (.3); correspond with M. Alden re same (.2);
                                               correspond with N. Binder re same (.3);
                                               review, revise RSA (3.3).
07/02/21 Steven N. Serajeddini, P.C.      7.80 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (4.0); review and analyze same (3.8).
07/02/21 Michael B. Slade                 1.90 Review plan related materials.
07/02/21 Benjamin P. Stone                7.30 Review, revise disclosure statement reply
                                               (2.3); conference with D. Hunter, D.
                                               Gremling, B. Nakhaimousa re same (.6); draft
                                               case table re same (2.9); conference with E.
                                               Wendorf re same (.4); correspond with B.
                                               Nakhaimousa re same (.5); correspond with
                                               E. Wendorf re disclosure statement objections
                                               (.3); correspond with K&E team re disclosure
                                               statement (.3).




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Date     Name                            Hours Description
07/02/21 William Thompson                  7.60 Telephone conference with Company
                                                directors re settlement negotiations (.5);
                                                further draft memorandum re plan
                                                implementation issues (3.9); research issues
                                                re same (3.2).
07/02/21 Andy Veit, P.C.                   0.40 Telephone conference re emergence work
                                                stream.
07/02/21 Eric J. Wendorf                   0.40 Review, revise confirmation brief.
07/02/21 Donna Zamir                       5.30 Research re disclosure statement related
                                                issues (3.8); further draft summary re same
                                                (1.1); correspond with D. Gremling re same
                                                (.4).
07/03/21 Maggie Alden                      1.20 Telephone conference with S. Serajeddini,
                                                K&E team re plan strategy, next steps.
07/03/21 Nicholas A. Binder               12.90 Draft, revise summary re emergence risks
                                                (.6); correspond with K&E team re same (.2);
                                                telephone conference with K&E team re plan
                                                considerations (1.3); revise amended plan
                                                (3.8); review, revise definitive documents re
                                                same (2.7); correspond with D. Hunter, K&E
                                                team re same (.7); review K&E comments to
                                                amended plan (.3); further revise amended
                                                plan (2.3); correspond with S. Seneczko,
                                                K&E team re same (.2); telephone conference
                                                with M. Lemm re same (.2); telephone
                                                conference with S. Seneczko re plan support
                                                agreement (.6).
07/03/21 Dave Gremling                     0.50 Correspond with D. Hunter re disclosure
                                                statement issues (.3); conference with B.
                                                Stone re same (.2).
07/03/21 Derek I. Hunter                   7.00 Review, analyze, and revise plan, mediation,
                                                and other related analyses (2.3); telephone
                                                conferences with K&E team re deal strategy
                                                (1.0); telephone conference with K&E team re
                                                plan analysis (.4); correspond with K&E
                                                team, Debtor advisors re DS exhibits, related
                                                work product (.3); review, analyze, and revise
                                                same (.3); review, analyze, and revise
                                                definitive plan documents (2.1); conference
                                                with K&E team re same (.6).




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Date     Name                            Hours Description
07/03/21 Michael Lemm                     6.80 Telephone conference with A. Grossi, K&E
                                               team re case strategy (1.2); correspond with
                                               D. Hunter, K&E team, EHP re plan
                                               documents (.3); review and revise plan term
                                               sheets (3.8); review materials re same (1.5).
07/03/21 Drew Maliniak                    2.20 Review and revise disclosure statement (1.2);
                                               review and revise plan of reorganization (1.0).
07/03/21 Samuel J. Seneczko               7.90 Correspond with D. Hunter, M. Lemm re PSA
                                               documents (.2); correspond with N. Binder re
                                               same, plan (.8); review, revise PSA (3.1);
                                               telephone conference with N. Binder re same
                                               (.6); analyze plan re same (1.1); further revise
                                               PSA re same (2.1).
07/03/21 Steven N. Serajeddini, P.C.      1.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (.9); review and analyze same (.4).
07/03/21 Michael B. Slade                 2.60 Telephone conference with S. Serajeddini, A.
                                               Grossi and others re case strategy (1.0);
                                               review and revise plan-related materials (1.6).
07/03/21 Benjamin P. Stone                2.10 Correspond with D. Hunter re disclosure
                                               statement exhibits (.6); correspond with D.
                                               Gremling re same (.3); revise same (1.2).
07/04/21 Maggie Alden                     2.40 Revise plan related order (1.1); correspond
                                               with D. Hunter, K&E team re same (.1);
                                               revise plan related motion (1.0); correspond
                                               with A. Sexton, K&E team re same (.2).
07/04/21 Nicholas A. Binder               4.30 Further revise amended plan (2.6); correspond
                                               with A. Sexton, K&E team re same (.4);
                                               telephone conference with D. Hunter re same,
                                               case considerations (.5); telephone conference
                                               with PJT, K&E team re plan proposal (.5);
                                               telephone conference with M. Lemm re
                                               definitive documents (.3).
07/04/21 Dave Gremling                    0.60 Further revise disclosure statement.
07/04/21 Derek I. Hunter                  2.90 Review, analyze, and revise plan definitive
                                               document and related analyses and research
                                               (2.4); conference with N. Binder, K&E team
                                               re same (.5).
07/04/21 Michael Lemm                     4.00 Review and revise plan term sheets (3.6);
                                               correspond with D. Hunter, K&E team re
                                               same (.2); telephone conference with N.
                                               Binder re plan considerations (.2).



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Date     Name                            Hours Description
07/04/21 Samuel J. Seneczko               0.90 Correspond with D. Hunter, N. Binder, K&E
                                               team re PSA (.2); review same (.6);
                                               correspond with S. Serajeddini, K&E team re
                                               same (.1).
07/05/21 Maggie Alden                     0.10 Correspond with S. Seneczko re PSA.
07/05/21 Maggie Alden                     4.90 Correspond with A&M re diligence re
                                               litigation issue (3.6); revise plan related
                                               pleadings (.4); correspond with D. Gremling
                                               re same (.4); correspond with A. Sexton, J.
                                               Morley, K&E team re same (.5).
07/05/21 Nicholas A. Binder               7.30 Review, revise ancillary deal document (.9);
                                               telephone conference with M. Lemm re same
                                               (.3); telephone conference with D. Maliniak
                                               re emergence, plan process (.3); review,
                                               revise amended plan (.6); analyze plan
                                               support agreement considerations (.5);
                                               telephone conference with S. Seneczko re
                                               same (.4); research, analyze re confirmation
                                               issues (4.0); telephone conference with M.
                                               Lemm re same (.3).
07/05/21 Dave Gremling                    6.70 Further revise disclosure statement (3.9);
                                               review background re same (.5); correspond
                                               with K&E team, A&M, PJT re same (2.3).
07/05/21 Anthony R. Grossi                1.40 Correspond with K&E team re creditor
                                               discussions (.8); correspond with K&E team
                                               re chapter 11 plan issues (.6).
07/05/21 Derek I. Hunter                  3.10 Telephone conferences with Company
                                               advisors re mediation updates (.5); correspond
                                               with Company advisors re same (.4); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (1.1); correspond with S.
                                               Seneczko, K&E team re same, related
                                               analysis and strategy, emergence work
                                               streams (.3); review, analyze, analyses re
                                               same (.8).
07/05/21 Michael Lemm                     4.20 Review and revise memorandum re
                                               Luxembourg legal considerations (.2); review
                                               and revise plan related pleading (2.9); review
                                               and revise plan term sheets (.5); telephone
                                               conferences with N. Binder re plan
                                               considerations (.6).




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07/05/21 Drew Maliniak                    1.30 Review and revise term sheets re contingent
                                               value rights, warrants and corporate
                                               governance (1.0); correspond with N. Binder
                                               and A. Sexton re same (.3).
07/05/21 Casey McGushin                   3.20 Review and revise plan related pleadings
                                               (2.1); review and analyze documents re
                                               exhibits re same (1.1).
07/05/21 Brian Nakhaimousa                2.80 Further revise disclosure statement reply
                                               (2.4); review precedent re same (.4).
07/05/21 David L. Perechocky              0.20 Review CVR and governance term sheet.
07/05/21 Whitney Rosser                   0.10 Correspond with D. Maliniak re emergence
                                               considerations.
07/05/21 Samuel J. Seneczko               4.90 Telephone conference with N. Binder re PSA,
                                               plan, deal documents (.5); telephone
                                               conference with D. Hunter re same (.3);
                                               review, revise PSA (3.7); correspond with N.
                                               Binder re same (.4).
07/05/21 Steven N. Serajeddini, P.C.      2.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.7); review and analyze same (.6).
07/05/21 Michael B. Slade                 2.10 Review and revise plan-related materials.
07/05/21 Benjamin P. Stone                1.10 Correspond with B. Nakhaimousa re
                                               disclosure statement reply (.2); review, revise
                                               same (.9).
07/06/21 Maggie Alden                     2.50 Revise plan documents (.6); office conference
                                               with D. Hunter, D. Gremling re plan
                                               considerations (.2); correspond with A&M, G.
                                               Vogt re discovery re plan strategies and
                                               considerations (.2); correspond with J. Jarvis
                                               re diligence re plan documents (.2);
                                               correspond with A. Sexton, K&E team re plan
                                               documents (.1); further same (.9); office
                                               conference with D. Hunter re same (.1) ;
                                               correspond with A&M re diligence (.2).
07/06/21 Nicholas A. Binder               3.20 Telephone conference with M. Lemm, K&E
                                               team, EHP re emergence considerations (.5);
                                               prepare for same (.2); conference with M.
                                               Lemm re same (.2); conference with
                                               Company advisors re deal status (.4);
                                               telephone conference with Company,
                                               Company advisors re go forward operational
                                               considerations (.5); correspond with Company
                                               re same (.1); review documents and materials
                                               re plan, emergence considerations (1.3).

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07/06/21 David L. Eaton                   1.30 Telephone conference with Company
                                               advisors, S. Serajeddini, PJT re settlement and
                                               mediation.
07/06/21 David L. Eaton                   0.50 Telephone conference with Company
                                               advisors, S. Serajeddini, PJT re settlement and
                                               mediation.
07/06/21 Dave Gremling                    5.90 Revise reply in support of disclosure
                                               statement (3.2); research, analyze issues re
                                               same (2.1); telephone conferences with A.
                                               Grossi, D. Hunter, K&E team, A&M and PJT
                                               re case status and strategy (.6).
07/06/21 Anthony R. Grossi                7.30 Review chapter 11 plan research background
                                               (2.8); correspond with director advisors re
                                               chapter 11 plan issues (3.7); correspond with
                                               ad hoc equity committee advisors re
                                               mediation status (.8).
07/06/21 Derek I. Hunter                  4.80 Telephone conferences and correspond with
                                               Debtor advisors re mediation updates (1.3);
                                               review, analyze, and revise plan, mediation,
                                               and other related analyses (1.5); correspond
                                               with K&E team re same, related analysis and
                                               strategy, emergence workstreams (.9); review,
                                               analyze, analyses re same (1.1).
07/06/21 Jason T. Jarvis                  0.90 Correspond with K&E team re confirmation
                                               requirements re settlements (.3); review,
                                               revise memorandum re same (.1); telephone
                                               conference with M. Lemm, K&E team, EHP
                                               re emergence considerations re applicable law
                                               (.5).
07/06/21 Tyler R. Knutson                 5.60 Conform and revise 9019 motion (2.8);
                                               review precedent, pleadings, additional
                                               materials re same (1.1); review and revise
                                               memorandum re certain confirmation
                                               considerations re same (.7); review and
                                               analyze correspondence re certain
                                               confirmation considerations (.3); review and
                                               analyze correspondence re proposals (.4);
                                               review and analyze prior correspondence,
                                               proposals re same (.3).
07/06/21 Joshua Korff, P.C.               1.00 Telephone conferences with K&E team re
                                               securities law issues.




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Date     Name                            Hours Description
07/06/21 Michael Lemm                      6.80 Telephone conference with Company
                                                advisors (.8); telephone conference with N.
                                                Binder, K&E team, EHP re plan
                                                considerations (.5); correspond with D.
                                                Maliniak, D. Perechocky re same (.1); review
                                                and revise motion re exclusivity (1.5); review
                                                and revise memorandum re Luxembourg legal
                                                considerations (1.0); conference with K&E
                                                team re negotiations, plan matters (2.9).
07/06/21 Drew Maliniak                     0.80 Correspond with E. Wendorf and D.
                                                Gremling re certain reporting requirements.
07/06/21 Casey McGushin                    5.10 Review documents for responsiveness and
                                                privilege re guarantee release dispute (2.7);
                                                participate in telephone conference with M.
                                                Slade and K&E team re litigation work in
                                                process (.5); review and revise plan related
                                                pleadings (1.9).
07/06/21 David L. Perechocky               0.50 Telephone conference with same re
                                                emergence.
07/06/21 Harker Rhodes                     2.00 Review and plan documents .
07/06/21 Whitney Rosser                    0.80 Conference with EHP, K&E team re
                                                emergence (.3); review materials re same (.2);
                                                correspond with D. Maliniak re same (.3).
07/06/21 Samuel J. Seneczko                8.90 Review, revise PSA re comments, plan
                                                updates (3.3); research re plan, confirmation
                                                issues (2.3); analyze plan re same (.3);
                                                conferences with Company advisors re plan
                                                negotiations (3.0).
07/06/21 Steven N. Serajeddini, P.C.      10.20 Correspond with K&E team, advisors,
                                                Company re plan issues (3.6); telephone
                                                conferences with same re plan issues (3.9);
                                                analyze same (2.7).
07/06/21 Anne McClain Sidrys, P.C.         2.30 Review draft plan related brief (2.1);
                                                telephone conferences re litigation work in
                                                process (.2).
07/06/21 Benjamin P. Stone                 7.40 Conferences with Company advisors re plan
                                                negotiations (1.3); review, revise disclosure
                                                statement order (3.4); review, revise exhibits
                                                re same (2.7).
07/06/21 William Thompson                  3.80 Telephone conference with Company
                                                directors re settlement negotiations (1.4);
                                                research re memorandum re plan approval
                                                issues (2.4).


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07/06/21 Andy Veit, P.C.                   0.30 Telephone conference with EHP re case
                                                updates.
07/06/21 Eric J. Wendorf                   1.40 Review, analyze plan language (.4); analyze
                                                same (.3); correspond with W. Thompson re
                                                same (.2); telephone conference with W.
                                                Thompson re same (.3); correspond with N.
                                                Binder re same (.2).
07/06/21 Donna Zamir                       7.80 Review memorandum re confirmation issues
                                                (.7); correspond with N. Binder, K&E team re
                                                same (.5); research re disclosure statement
                                                related issues (3.4); analyze same (2.6);
                                                correspond with D. Gremling, A&M re same
                                                (.6).
07/07/21 Maggie Alden                      0.60 Correspond with D. Gremling re disclosure
                                                statement reply.
07/07/21 Maggie Alden                      0.70 Analyze issues re plan strategies.
07/07/21 Nicholas A. Binder                4.20 Telephone conference with E. Wendorf, S.
                                                Seneczko re confirmation issue (.3);
                                                conference with D. Hunter re same (.2);
                                                research, review case law re same (3.4);
                                                telephone conference with D. Maliniak re
                                                emergence consideration (.1); conference with
                                                Company advisors re negotiations (.2).
07/07/21 Cassandra Myers Catalano          4.30 Review board minutes re privilege (.5);
                                                telephone conference with B. Arnault, M.
                                                Slade, A. Sidrys, and director advisors re
                                                discovery requests (.3); review guarantee
                                                documents for responsiveness (.1); review
                                                and revise plan related pleadings (3.4) .
07/07/21 Dave Gremling                     7.60 Revise disclosure statement reply (3.3);
                                                research, analyze issues re same (2.6);
                                                conferences with N. Binder, K&E team re
                                                case status and strategy (1.7).
07/07/21 Anthony R. Grossi                10.00 Correspond with K&E team re disclosure
                                                statement issues (1.6); review background on
                                                chapter 11 plan research issues (3.2);
                                                correspond with director advisors re chapter
                                                11 plan issues (3.9); correspond with Paul
                                                Weiss and Stroock re mediation status (.4);
                                                correspond with K&E team re creditor
                                                discussions (.9).




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Date     Name                            Hours Description
07/07/21 Derek I. Hunter                  4.90 Telephone conferences and correspond with
                                               debtor advisors re mediation updates (1.6);
                                               review, analyze and revise plan, mediation,
                                               and other related analyses (1.3); correspond
                                               with K&E team re same, related analysis and
                                               strategy, emergence work streams (.8);
                                               review, analyze analyses re same (1.2).
07/07/21 Jason T. Jarvis                  3.00 Draft memorandum re confirmation
                                               considerations (1.8); review, revise same
                                               (1.2).
07/07/21 Andrew Kimball                   0.70 Review restructuring term sheets.
07/07/21 Tyler R. Knutson                 3.70 Review, analyze precedent re certain
                                               confirmation issues (1.5); review, analyze
                                               precedent re same (.4); review memorandum
                                               re same (1.8).
07/07/21 Michael Lemm                     5.90 Review and revise memorandum re
                                               Luxembourg legal considerations (3.7);
                                               correspond with J. Jarvis re creditor letters
                                               (.3); telephone conference with N. Binder,
                                               K&E team re emergence considerations (.1);
                                               conference with K&E team re negotiations,
                                               plan matters (1.8).
07/07/21 Drew Maliniak                    1.00 Conference with Luxembourg counsel re
                                               emergence planning issues (.1); prepare for
                                               same (.4); revise term sheets re same (.5).
07/07/21 Brian Nakhaimousa                0.10 Conference with D. Gremling re disclosure
                                               statement adjournment.
07/07/21 David L. Perechocky              0.50 Telephone conference with K&E team re
                                               emergence.
07/07/21 Whitney Rosser                   0.20 Conference with K&E team re emergence
                                               considerations (.1); review materials re same
                                               (.1).
07/07/21 Samuel J. Seneczko               9.70 Review, revise PSA re amended plan (3.1);
                                               correspond and conference with N. Binder,
                                               K&E team re same (.4); analyze plan re same
                                               (1.1); review case law, precedent re plan
                                               issues (2.7); telephone conference with E.
                                               Wendorf, N. Binder, W. Thompson re same
                                               (.4); conferences with directors advisors re
                                               plan negotiations (2.0).




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Date     Name                            Hours Description
07/07/21 Steven N. Serajeddini, P.C.      10.10 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (3.8); telephone conferences with same re
                                                plan issues (4.0); review and analyze same
                                                (2.3).
07/07/21 Benjamin P. Stone                 1.70 Draft disclosure statement adjournment notice
                                                (.4); correspond with D. Hunter, D. Gremling
                                                re same (.2); conferences with Company
                                                advisors re plan negotiations (1.1).
07/07/21 William Thompson                  8.20 Telephone conference with Company
                                                directors re settlement negotiations (.3);
                                                revise memorandum re plan structure issues
                                                (1.3); research re plan consideration (3.7);
                                                research re disclosure statement case law
                                                (2.9).
07/07/21 Andy Veit, P.C.                   0.40 Telephone conference re emergence work
                                                stream.
07/07/21 Donna Zamir                       2.40 Research re disclosure statement related
                                                issues (.4); correspond with D. Gremling,
                                                A&M re same (.3); review, analyze amended
                                                plan (1.3); correspond with N. Binder, K&E
                                                team re same (.4).
07/08/21 Maggie Alden                      1.60 Review, comment on, analyze memorandum
                                                re plan related pleadings and research (1.3);
                                                correspond with R.M. Roy re same (.2);
                                                telephone conference with J. Jarvis re same
                                                (.1).
07/08/21 Nicholas A. Binder                4.80 Correspond with D. Maliniak, M. Lemm re
                                                emergence (.3); conference with M. Lemm re
                                                same (.4); telephone conference with A.
                                                Kimball re ancillary plan documents (.3);
                                                correspond with Company advisors re plan
                                                considerations (.4); review analysis re
                                                confirmation issue (.4); review case law re
                                                same (1.8); analyze considerations re same
                                                (.3); correspond with W. Thompson, E.
                                                Wendorf re same (.3); draft summary re same
                                                (.3); telephone conference with E. Wendorf re
                                                same (.3).
07/08/21 Cassandra Myers Catalano          4.50 Review and revise plan related pleadings
                                                (2.0); review memoranda re same (2.5).




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Date     Name                            Hours Description
07/08/21 Dave Gremling                    7.00 Revise reply in support of disclosure
                                               statement (3.4); research, analyze issues re
                                               same (1.9); conferences with A. Grossi, D.
                                               Hunter, K&E team, A&M and PJT re case
                                               status and strategy (1.7).
07/08/21 Anthony R. Grossi                8.30 Correspond with Company re chapter 11 plan
                                               issues (.7); correspond with K&E team re
                                               chapter 11 plan deal issues (1.9); review
                                               background on chapter 11 plan issues (2.4);
                                               correspond with director advisors re chapter
                                               11 plan issues (3.3).
07/08/21 Derek I. Hunter                  4.50 Telephone conferences and correspond with
                                               debtor advisors re mediation updates (1.6);
                                               analyze plan, mediation, and other related
                                               analyses (1.5); correspond with K&E team re
                                               same, related analysis and strategy,
                                               emergence work streams (1.1); review,
                                               analyze analyses re same (.3).
07/08/21 Tyler R. Knutson                 3.70 Revise draft 9019 motion (1.4); research
                                               precedent re same (.5); revise memorandum
                                               re certain confirmation considerations to
                                               conform with same (.9); analyze research
                                               summary re certain confirmation
                                               considerations (.5); research additional
                                               precedent re same (.4).
07/08/21 Michael Lemm                     6.90 Conference with K&E team re negotiations,
                                               plan matters (2.9); review and revise
                                               memorandum re Luxembourg legal
                                               considerations (2.9); review materials re same
                                               (.6); correspond with Company, EHP re plan
                                               considerations (.5).
07/08/21 Casey McGushin                   0.90 Review and analyze plan related pleadings.
07/08/21 Whitney Rosser                   0.30 Correspond with D. Maliniak, N. Binder re
                                               emergence meeting.
07/08/21 Samuel J. Seneczko               7.60 Analyze cases, research re confirmation
                                               issues (1.7); correspond with N. Binder, W.
                                               Thompson, K&E team re same (.5); research
                                               re same (2.1); correspond with E. Wendorf re
                                               same (.3); conferences with directors advisors
                                               re plan negotiations (3.0).
07/08/21 Steven N. Serajeddini, P.C.      9.50 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (7.3); review and analyze same (2.2).



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Date     Name                            Hours Description
07/08/21 William Thompson                 3.70 Research re plan considerations (.9); research
                                               re disclosure statement case law (2.8).
07/08/21 Eric J. Wendorf                  3.70 Review, revise confirmation brief (3.4);
                                               research re same (.3).
07/08/21 Donna Zamir                      5.00 Review, revise confirmation brief (1.6);
                                               review materials re same (3.2); telephone
                                               conference with K&E team re confirmation-
                                               related memorandum (.2).
07/09/21 Maggie Alden                     5.50 Office conference with D. Hunter re plan
                                               related pleadings (.1); revise same (1.5);
                                               telephone conference with J. Jarvis re plan
                                               related pleadings and research issues (.1);
                                               telephone conference with C. Catalano re
                                               same (.2); analyze issues re same (3.3);
                                               correspond with A. Sidrys McClain, K&E
                                               team re same (.3).
07/09/21 Bill Arnault                     0.10 Participate in telephone conference with A.
                                               Sexton re plan analysis.
07/09/21 Bill Arnault                     1.00 Participate in telephone conference with
                                               Company, PJT, A&M, and K&E team re plan
                                               analysis.
07/09/21 Nicholas A. Binder               4.50 Telephone conference with M. Lemm re
                                               confirmation considerations (.2); draft, revise
                                               memorandum re same (3.8); revise document
                                               re plan support (.1); correspond with D.
                                               Hunter, S. Vail re same (.1); correspond with
                                               K&E team re plan confirmation memoranda
                                               (.3).
07/09/21 Cassandra Myers Catalano         3.00 Revise plan related pleadings.
07/09/21 Dave Gremling                    5.80 Revise disclosure statement reply (2.6);
                                               research, analyze issues re same (1.4);
                                               conferences with A. Grossi, D. Hunter, K&E
                                               team, A&M and PJT re case status and
                                               strategy (1.8).
07/09/21 Anthony R. Grossi                4.00 Correspond with K&E team and Company re
                                               legal issues (.6); correspond with K&E team
                                               re disclosure statement issues (1.3);
                                               correspond with A&M re disclosure statement
                                               issues (.9); review background on mediation
                                               issues (1.2).




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07/09/21 Derek I. Hunter                  3.20 Telephone conference with K&E team re
                                               mediation updates (1.2); review, analyze and
                                               revise plan, mediation, and other related
                                               analyses (.9); correspond with K&E team,
                                               debtor advisors re same, related analysis and
                                               strategy (.2); correspond with K&E team re
                                               emergence work streams (.2); review, analyze
                                               analyses re same (.7).
07/09/21 Jason T. Jarvis                  0.40 Correspond with K&E team re confirmation
                                               considerations (.1); draft memorandum re
                                               same (.2); telephone conference with M.
                                               Alden re same (.1).
07/09/21 Kevin M. Jonke                   1.10 Participate in conference telephone
                                               conference with D. Tolley and team re
                                               confirmation considerations.
07/09/21 Tyler R. Knutson                 5.20 Review and analyze memorandum re certain
                                               confirmation-related issues (1.3); review and
                                               analyze precedent re same (.7); review and
                                               analyze memorandum re confirmation-related
                                               issues (1.9); analyze precedent, pleadings re
                                               same (.9); review prior creditor proposals,
                                               correspondence (.4).
07/09/21 Michael Lemm                     4.70 Revise memorandum re Luxembourg legal
                                               considerations (3.1); review materials re same
                                               (1.6).
07/09/21 Brian Nakhaimousa                4.40 Revise disclosure statement reply (3.9);
                                               analyze and further revise disclosure
                                               statement reply re D. Gremling comments
                                               (.5).
07/09/21 Samuel J. Seneczko               4.60 Correspond with D. Hunter re plan,
                                               confirmation research (.2); correspond with
                                               K&E team re same (.4); review same (.7);
                                               correspond with S. Serajeddini, A. Grossi,
                                               K&E team re same (.1); telephone conference
                                               with M. Lemm re same (.2); analyze plan
                                               issues research (1.1); correspond with E.
                                               Wendorf, W. Thompson, N. Binder re same
                                               (.4); conferences with directors advisors re
                                               plan negotiations (1.5).
07/09/21 Steven N. Serajeddini, P.C.      7.40 Correspond with K&E team, advisors,
                                               Company re plan issues (3.1); telephone
                                               conference with same re plan issues (3.0);
                                               review and analyze same (1.3).



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Date     Name                            Hours Description
07/09/21 Anne McClain Sidrys, P.C.         7.00 Revise plan related pleadings (4.0); revise
                                                schedules re same (3.0).
07/09/21 Benjamin P. Stone                 5.60 Revise disclosure statement order (2.8); revise
                                                exhibits re same (1.9); revise disclosure
                                                statement adjournment (.3); correspond with
                                                local counsel re same (.3); conference with
                                                directors advisors re plan negotiations (.3).
07/09/21 William Thompson                  3.80 Research re plan consideration structure (.3);
                                                revise memorandum re plan structure
                                                approval issues (3.0); review memorandum re
                                                plan implementation issues (.5).
07/09/21 Donna Zamir                       2.60 Review, revise confirmation brief (.6); review
                                                materials re same (1.8); correspond with N.
                                                Binder, E. Wendorf re same (.2).
07/10/21 Maggie Alden                      1.10 Telephone conference with S. Serajeddini,
                                                K&E team re strategy, next steps.
07/10/21 Maggie Alden                      1.30 Revise plan related pleadings (1.0);
                                                correspond with A. McClain, C. Catalano,
                                                K&E team re same (.3).
07/10/21 Nicholas A. Binder               10.70 Telephone conference with K&E team re plan
                                                process, strategy (1.1); telephone conference
                                                with D. Hunter re same (.6); analyze
                                                confirmation considerations (.8); telephone
                                                conference with E. Wendorf re same (.1);
                                                correspond with K&E team re same (.3);
                                                analyze plan structure, value considerations
                                                (3.6); telephone conference with M. Lemm, J.
                                                Jarvis re same (1.1); telephone conference
                                                with A&M re same (1.3); telephone
                                                conference with M. Lemm re same (1.8).
07/10/21 Dave Gremling                     1.40 Conference with D. Hunter, K&E team re
                                                plan issues, case strategy (.9); conference
                                                with N. Binder, J. Jarvis, A&M re same (.5).
07/10/21 Anthony R. Grossi                 0.60 Correspond with K&E team re chapter 11
                                                plan status.
07/10/21 Derek I. Hunter                   2.40 Telephone conference with K&E team re case
                                                strategy and open work streams (.5); review,
                                                analyze, and revise plan, mediation, and other
                                                related analyses (1.6); correspond with K&E
                                                team re same, related analysis and strategy
                                                (.3).




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07/10/21 Jason T. Jarvis                  3.30 Draft memorandum re confirmation
                                               considerations (1.6); telephone conferences
                                               with N. Binder, M. Lemm re same (1.0);
                                               telephone conference with N. Binder, M.
                                               Lemm, PJT re same (.7).
07/10/21 Michael Lemm                     4.90 Telephone conference with A. Grossi, K&E
                                               team re case strategy (1.0); telephone
                                               conferences with N. Binder re plan
                                               considerations (.7); conferences with N.
                                               Binder re same (1.1); conference with N.
                                               Binder, J. Jarvis re same (.5); conference with
                                               N. Binder, J. Jarvis, A&M re same (.5);
                                               review 9019 motion (1.1).
07/10/21 Brian Nakhaimousa                0.40 Review, revise disclosure statement reply.
07/10/21 Steven N. Serajeddini, P.C.      1.30 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (.9); review and analyze same (.4).
07/10/21 William Thompson                 0.20 Correspond with N. Binder re plan issues
                                               memorandum.
07/10/21 Eric J. Wendorf                  0.20 Correspond with D. Hunter, K&E team re
                                               plan issue.
07/11/21 Maggie Alden                     1.90 Telephone conference with S. Serajeddini,
                                               K&E team re plan related pleadings and
                                               research (.7); revise plan related pleadings
                                               (1.0); correspond with D. Hunter, K&E team
                                               re same (.2).
07/11/21 Nicholas A. Binder               5.20 Telephone conference with D. Hunter, M.
                                               Lemm re plan structure, related
                                               considerations (.8); telephone conference with
                                               D. Hunter, PJT re same (.2); analyze same
                                               (3.4); telephone conference with M. Lemm,
                                               K&E team re same (.8).
07/11/21 Anthony R. Grossi                1.10 Correspond with K&E team re chapter 11
                                               plan issues.
07/11/21 Derek I. Hunter                  0.70 Correspond with K&E team, debtor advisors
                                               re case strategy, creditor engagement, related
                                               work streams.
07/11/21 Andrew Kimball                   1.40 Review and revise plan-related term sheet.




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07/11/21 Michael Lemm                     6.90 Draft overview re plan considerations (3.8);
                                               review and revise same (1.9); telephone
                                               conferences with D. Hunter, N. Binder re
                                               same (.4); telephone conferences with N.
                                               Binder re same (.2); telephone conference
                                               with N. Binder, K&E team re same (.6).
07/11/21 Brian Nakhaimousa                0.30 Review cases cited re disclosure statement
                                               reply.
07/12/21 Maggie Alden                     0.30 Telephone conference with advisors re
                                               strategy, next steps.
07/12/21 Maggie Alden                     1.10 Revise plan related pleadings (.8); correspond
                                               with J. Morley re same (.1); correspond with
                                               D. Hunter, K&E team re same (.2).
07/12/21 Maggie Alden                     0.60 Correspond with K&E team re plan issue (.2);
                                               telephone conference with K&E team re same
                                               (.4).
07/12/21 Bill Arnault                     1.70 Participate telephone conference with
                                               Company, A&M, PJT, and K&E re
                                               confirmation considerations.
07/12/21 Nicholas A. Binder               6.90 Analyze plan negotiation considerations (1.6);
                                               revise document re plan structure, related
                                               considerations (1.9); analyze same (.5);
                                               telephone conference with M. Lemm, J.
                                               Morley re same (.8); telephone conference
                                               with W. Thompson re plan research (.2);
                                               analyze considerations re same (1.2);
                                               telephone conference with K&E team,
                                               Company advisors re plan process (.3);
                                               conference with creditor advisors re plan
                                               negotiations (.4).
07/12/21 David L. Eaton                   0.20 Telephone conference with A. Grossi, S.
                                               Serajeddini, S. Zelin, K&E team re mediation
                                               and settlement status.
07/12/21 Dave Gremling                    5.60 Revise disclosure statement (3.1); analyze
                                               background materials and issues re same
                                               (1.9); conference with B. Nakhaimousa re
                                               same (.6).
07/12/21 Anthony R. Grossi                1.90 Correspond with Company and K&E team re
                                               legal issues (.6); correspond with K&E team
                                               re mediation issues (.7); correspond with
                                               director advisors re chapter 11 plan status (.6).




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07/12/21 Derek I. Hunter                  5.10 Telephone conference with debtors' advisors
                                               re mediation updates, case strategy (.5);
                                               telephone conference with Company, debtor
                                               advisors re disclosure statement analysis
                                               (1.0); review, analyze, and revise plan,
                                               mediation, and other related analyses and
                                               memoranda (.9); review, analyze, and revise
                                               definitive plan documents (1.6); correspond
                                               with K&E team re same, related analysis and
                                               strategy, emergence work streams (.7);
                                               review, analyze emergence structuring
                                               considerations analysis, related memorandum
                                               (.4).
07/12/21 Jason T. Jarvis                  4.40 Draft memorandum re confirmation
                                               considerations (2.4); research re same (2.0).
07/12/21 Kevin M. Jonke                   2.20 Participate in conference with D. Tolley and
                                               A&M team for confirmation considerations.
07/12/21 Tyler R. Knutson                 3.70 Review and analyze plan issues (1.1);
                                               research and analyze precedent, related
                                               pleadings and documentation re same (.6);
                                               research and analyze precedent re same (.4);
                                               review and analyze disclosure statement re
                                               outstanding issues (1.1); compile materials for
                                               research re certain confirmation
                                               considerations re same (.5).
07/12/21 Michael Lemm                     5.00 Review and revise overview re plan
                                               considerations (2.6); correspond with A.
                                               Grossi, K&E team re same (.4); telephone
                                               conferences with N. Binder re same (1.2);
                                               telephone conference with J. Morley re same
                                               (.1); telephone conference with A. Grossi,
                                               K&E team, Company advisors re same (.2);
                                               review and revise motion re plan
                                               considerations (.5).
07/12/21 Drew Maliniak                    0.70 Review, revise CVR term sheet (.6);
                                               correspond with A. Kimball re same (.1).




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Date     Name                            Hours Description
07/12/21 Brian Nakhaimousa                8.10 Analyze precedent re disclosure statement
                                               reply citations (2.4); correspond with D.
                                               Gremling, B. Stone re disclosure statement
                                               order and exhibits (.2); revise disclosure
                                               statement (.2); telephone conference with D.
                                               Gremling re same (.5); revise board
                                               presentation re mediation and in-person
                                               meetings (3.9); conference with W.
                                               Thompson re same (.2); further review and
                                               revise board presentation (.7).
07/12/21 Whitney Rosser                   0.10 Correspond with D. Maliniak re emergence
                                               considerations.
07/12/21 Samuel J. Seneczko               0.60 Correspond with D. Hunter, N. Binder, B.
                                               Stone re PSA rights (.2); review same (.4).
07/12/21 Steven N. Serajeddini, P.C.      5.40 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (2.8); review and analyze same (2.6).
07/12/21 Benjamin P. Stone                9.90 Correspond with D. Gremling re proposed
                                               case timelines (.4); review precedent re same
                                               (1.9); revise same (3.1); revise disclosure
                                               statement order (2.3); revise disclosure
                                               statement reply case summaries (1.4);
                                               correspond with claims agent re solicitation
                                               questions (.4); review PSA re disclosure issue
                                               (.4).
07/12/21 William Thompson                 5.30 Research re plan structure analysis (3.9);
                                               revise board presentation re comments from
                                               D. Hunter (1.4).
07/12/21 Donna Zamir                      3.50 Review memorandum re confirmation related
                                               issues (1.4); research re same (1.9);
                                               correspond with N. Binder, K&E team re
                                               same (.2).
07/13/21 Maggie Alden                     0.40 Telephone conference with Milbank re case
                                               strategy, negotiations.
07/13/21 Maggie Alden                     1.10 Telephone conference with D. Hunter, N.
                                               Binder, M. Lemm re plan related pleadings
                                               (.1); review, compile, organize, coordinate
                                               materials re same (1.0).




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Date     Name                            Hours Description
07/13/21 Nicholas A. Binder               6.60 Telephone conference with A. Sexton, K&E
                                               team, Company advisors, creditor advisors re
                                               emergence structuring (.5); telephone
                                               conference with M. Lemm, D. Maliniak re
                                               same (.2); review document re same (.2);
                                               correspond with K&E team re same (.4);
                                               telephone conference with K&E team,
                                               Company, EHP re same (.8); telephone
                                               conference with K&E team, creditor advisors
                                               re plan negotiations (.5); telephone
                                               conference with M. Lemm re plan structuring
                                               (.3); review, revise document re same (.6);
                                               telephone conference with K&E team,
                                               Company advisors re same (.6); revise
                                               amended plan (1.9); correspond with K&E
                                               team re definitive documents (.6).
07/13/21 Dave Gremling                    5.20 Analyze issues re confirmation (1.9); analyze,
                                               revise disclosure statement (2.4); analyze
                                               issues re same (.3); conference with K&E
                                               team, creditors re deal status (.4); conference
                                               with EHP team re plan issues (.2).
07/13/21 Anthony R. Grossi                5.60 Correspond with Company and K&E team re
                                               chapter 11 plan status (.4); correspond with
                                               director advisors re chapter 11 plan issues
                                               (2.3); correspond with K&E team re chapter
                                               11 plan research issues (1.1); correspond with
                                               K&E team re deal documents and next steps
                                               (1.3); review background on mediation
                                               materials (.5).
07/13/21 Derek I. Hunter                  7.30 Telephone conference with Company re
                                               mediation updates, case strategy (.5);
                                               correspond with K&E team re status of
                                               disclosure statement analyses (.3); review,
                                               analyze, and revise same, disclosure
                                               statement, and disclosure statement order and
                                               exhibits (.4); review, analyze, and revise plan,
                                               mediation, and other related analyses and
                                               memorandum (1.9); review, analyze, and
                                               revise definitive plan documents (3.6);
                                               correspond with K&E team re same, related
                                               analysis and strategy, emergence work
                                               streams (.6).
07/13/21 Jason T. Jarvis                  0.80 Telephone conference with K&E team, EHP
                                               re emergence structuring considerations.



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Date     Name                            Hours Description
07/13/21 Andrew Kimball                    1.40 Revise governance proposal (.7); telephone
                                                conference with S. OHargan re same (.4);
                                                revise draft and circulated (.3).
07/13/21 Tyler R. Knutson                  4.80 Research precedent re confirmation
                                                considerations (1.9); review disclosure
                                                statement reply re same (.9); analyze
                                                memorandum re same (.8); draft summary of
                                                findings re same (.6); review memorandum re
                                                certain plan-related issues (.5); review
                                                memorandum re certain confirmation
                                                considerations re same (.1).
07/13/21 Michael Lemm                     12.20 Telephone conferences with N. Binder, K&E
                                                team, EHP, Company re plan considerations
                                                (.8); revise overview re plan considerations
                                                (3.2); telephone conference with D. Hunter,
                                                N. Binder, M. Alden re same (.1); telephone
                                                conferences with N. Binder re same (.5); draft
                                                table re plan term sheet comparison (.7); draft
                                                term sheet re plan considerations (3.9); review
                                                materials re same (2.1); telephone
                                                conferences with D. Hunter re same (.1);
                                                telephone conference with D. Hunter, K&E
                                                team, UCC advisors re case update (.3);
                                                conference with D. Hunter, K&E team,
                                                Willkie re case update (.5).
07/13/21 Drew Maliniak                     1.50 Conference with Luxembourg counsel re
                                                emergence issues (.8); prepare for same (.7).
07/13/21 Brian Nakhaimousa                 2.90 Correspond with K&E team re mediation
                                                session (.2); telephone conference with B.
                                                Stone re disclosure statement (.2); revise
                                                notice of revised proposed disclosure
                                                statement order (.2); revise disclosure
                                                statement (2.3).
07/13/21 Robert Orren                      1.40 Draft notice of revised proposed disclosure
                                                statement order (1.2); correspond with B.
                                                Nakhaimousa re same (.2).
07/13/21 David L. Perechocky               0.50 Telephone conference with EHP, K&E team
                                                re confirmation issues.
07/13/21 Whitney Rosser                    3.30 Conference with EHP, Company re
                                                emergence considerations (.8); draft, revise
                                                outline re same (1.4); review materials re
                                                same (.8); correspond with D. Maliniak, N.
                                                Binder re same (.3).



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Date     Name                            Hours Description
07/13/21 Samuel J. Seneczko                3.70 Correspond with D. Hunter re PSA revisions
                                                (.1); revise PSA re same (3.6).
07/13/21 Steven N. Serajeddini, P.C.       6.50 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (3.7); review and analyze same (2.8).
07/13/21 Benjamin P. Stone                10.20 Revise PSA signature page holdings tracker
                                                (2.9); correspond with D. Hunter re same (.1);
                                                review, revise disclosure statement (3.9);
                                                review, revise disclosure statement order
                                                (3.3).
07/13/21 William Thompson                  1.10 Research re plan structure (.8); research
                                                indenture language re plan term sheet (.3).
07/14/21 Maggie Alden                      0.90 Revise disclosure statement (.8); correspond
                                                with D. Gremling, K&E team re same (.1).
07/14/21 Maggie Alden                      0.30 Correspond with A. Grossi, K&E
                                                restructuring team re plan strategies (.2);
                                                correspond with D. Hunter, N. Binder, M.
                                                Lemm re precedent case of interest (.1).
07/14/21 Nicholas A. Binder                4.10 Telephone conference with D. Hunter re plan
                                                negotiations strategy (.3); draft analysis re
                                                same (.5); telephone conference with M.
                                                Lemm re definitive documents (.5); revise
                                                plan (1.8); review documents and materials re
                                                same (.6); telephone conference with S.
                                                Seneczko re plan support agreement (.4).
07/14/21 David L. Eaton                    0.20 Telephone conference with A. Grossi, S.
                                                Serajeddini, S. Zelin, K&E team re mediation
                                                and settlement status.
07/14/21 Dave Gremling                     7.60 Revise disclosure statement (3.9); correspond
                                                with B. Stone, K&E team re same (.5); review
                                                background materials re same (.5); analyze
                                                plan and confirmation issues (2.7).
07/14/21 Anthony R. Grossi                 6.50 Correspond with K&E team and Company re
                                                legal issues (.7); correspond with Foley
                                                Lardner re mediation status (.4); review
                                                background on mediation issues (1.4);
                                                correspond with director advisors re chapter
                                                11 plan status (.6); review and revise
                                                corporate structure issues background
                                                memorandum (.9); correspond with K&E
                                                team re mediation preparation (1.6); review
                                                and revise chapter 11 plan (.9).




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Date     Name                            Hours Description
07/14/21 Derek I. Hunter                   2.90 Correspond with K&E team, Debtor advisors
                                                re mediation, related analysis and strategy
                                                (.6); review, analyze, and revise research
                                                memoranda re mediation, plan issues (1.1);
                                                review, analyze, and revise definitive
                                                documents (1.2).
07/14/21 Derek I. Hunter                   2.20 Telephone conference with Company
                                                advisors re corporate structuring issues (.5);
                                                review, analyze and revise analysis and
                                                materials re same, governance considerations
                                                (1.7).
07/14/21 Jason T. Jarvis                   3.70 Review, analyze memorandum re
                                                confirmation considerations (.1); research re
                                                confirmation considerations, settlements
                                                (1.1); draft memorandum re emergence
                                                considerations (2.4); telephone conference
                                                with M. Lemm re same (.1).
07/14/21 Tyler R. Knutson                  1.80 Review and analyze precedent re certain
                                                confirmation considerations (1.3); further
                                                draft summary re same (.5).
07/14/21 Michael Lemm                     15.00 Review and revise term sheet re plan
                                                considerations (3.8); review materials re same
                                                (3.5); draft table re term sheet (3.4); review
                                                documents re same (3.3); telephone
                                                conference with D. Hunter re same (.2);
                                                telephone conferences with N. Binder re plan
                                                matters (.7); correspond with W. Thompson
                                                re memorandum re plan considerations (.1).
07/14/21 Brian Nakhaimousa                 5.20 Review, revise amended disclosure statement
                                                (1.1); review precedent re disclosure
                                                statement reply (1.8); revise strategic
                                                alternatives board presentation (1.3);
                                                correspond with D. Hunter re in-person
                                                mediation (.4); telephone conference with N.
                                                Binder re same (.3); review plan support
                                                agreement milestones and correspond with D.
                                                Hunter, N. Binder re same (.3).
07/14/21 Samuel J. Seneczko                1.80 Revise PSA re negotiation updates (.8);
                                                telephone conference with N. Binder re same
                                                (.6); analyze plan re same (.4).
07/14/21 Steven N. Serajeddini, P.C.       8.90 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (6.6); review and analyze same (2.3).



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Date     Name                            Hours Description
07/14/21 Benjamin P. Stone                 8.60 Review, revise disclosure statement order
                                                (1.4); review, revise amended disclosure
                                                statement (3.9); further review, revise same
                                                (1.7); correspond with D. Gremling re same
                                                (.3); correspond with B. Nakhaimousa re
                                                same (.6); correspond with M. Alden, M.
                                                Lemm re plan issue section (.3); correspond
                                                with M. Alden, W. Thompson re PSA
                                                holdings (.4).
07/14/21 William Thompson                 10.60 Draft memorandum re plan structure re debtor
                                                leverage (1.6); research re plan confirmation
                                                requirements (3.6); revise board presentation
                                                re comments from D. Hunter (4.0); revise
                                                board presentation re comments from M.
                                                Alden (1.4).
07/14/21 Eric J. Wendorf                   0.40 Review pleadings re confirmation issues (.3);
                                                conference with J. Jarvis re same (.1).
07/15/21 Nicholas A. Binder                8.40 Correspond with W. Thompson re plan
                                                research (.2); analyze considerations re same
                                                (1.0); research, review case law re
                                                confirmation issue (3.0); telephone
                                                conference with S. Seneczko re same (.3);
                                                correspond with D. Hunter, K&E team re
                                                same (.3); telephone conference with K&E
                                                team, EHP re emergence (.2); prepare for
                                                same (.2); telephone conference with M.
                                                Lemm re same (.4); review documents and
                                                materials re same (.5); analyze considerations
                                                re confirmation brief (.4); telephone
                                                conference with E. Wendorf re same (.2);
                                                revise plan (1.6); correspond with D. Hunter
                                                re same (.1).
07/15/21 Cassandra Myers Catalano          1.20 Review revised plan related pleadings.
07/15/21 Dave Gremling                     3.20 Revise disclosure statement (1.7); correspond
                                                with K&E team re same (.3); analyze
                                                confirmation issues (1.2).
07/15/21 Anthony R. Grossi                 9.60 Review and revise chapter 11 plan (1.4);
                                                participate in mediation session (8.2).
07/15/21 Derek I. Hunter                   8.00 Participate in all-day in-person mediation in
                                                Richmond (6.0); review, analyze, and revise
                                                analyses re same (1.4); correspond with K&E
                                                team re same (.6).




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Date     Name                            Hours Description
07/15/21 Jason T. Jarvis                  7.20 Correspond with D. Gremling, B. Stone re
                                               confirmation considerations (.2); correspond
                                               with D. Hunter, K&E team re same (.6);
                                               review, revise memorandum re same (1.5);
                                               telephone conference with D. Gremling re
                                               same (.1); draft memorandum re emergence
                                               considerations (.3); research re same (.8);
                                               review, revise memorandum re same (.1);
                                               telephone conference with N. Binder, EHP re
                                               same (.2); research re exclusivity (2.0); draft
                                               exclusivity motion (1.4).
07/15/21 Tyler R. Knutson                 5.10 Research and analyze precedent, pleadings,
                                               related materials re voting considerations
                                               (1.3); review and analyze memorandum re
                                               certain confirmation considerations (2.4);
                                               draft summary re same (1.4).
07/15/21 Michael Lemm                     2.10 Telephone conference with N. Binder, K&E
                                               team, EHP re plan considerations (.1);
                                               telephone conferences with N. Binder re same
                                               (.5); review, revise plan term sheet (.2);
                                               correspond with A. Grossi, K&E team re
                                               same (.2); review, revise motion re plan
                                               considerations (.6); correspond with J. Jarvis
                                               re same (.5).
07/15/21 Drew Maliniak                    2.20 Correspond with K&E team re guarantee
                                               related issues (1.4); revise summary re
                                               emergence steps (.3); conference with
                                               Luxembourg counsel re same (.5).
07/15/21 Brian Nakhaimousa                3.40 Review, revise case law re disclosure
                                               statement reply (1.8); revise disclosure
                                               statement (1.6).
07/15/21 Robert Orren                     0.30 Compile confirmation hearing transcript
                                               precedent.
07/15/21 Whitney Rosser                   0.50 Correspond with D. Maliniak, D. Gremling re
                                               releases.
07/15/21 Samuel J. Seneczko               7.90 Correspond with D. Hunter re PSA revisions
                                               (.2); revise same (3.6); telephone conference
                                               with N. Binder re same (.6); correspond with
                                               N. Binder, K&E team re same (.7); further
                                               revise same (2.3); correspond with K&E team
                                               re plan issues, precedent (.2); analyze plan re
                                               same (.3).




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Date     Name                            Hours Description
07/15/21 Steven N. Serajeddini, P.C.       9.30 Correspond with K&E team, advisors,
                                                Company re plan issues (2.7); participate in
                                                mediation re same (5.0); review, analyze
                                                same (1.6).
07/15/21 Michael B. Slade                  4.10 Participate in mediation.
07/15/21 Benjamin P. Stone                 8.40 Correspond with N. Binder re plan issue
                                                research (.3); research case law re same (3.9);
                                                review, revise case summaries re same (3.6);
                                                correspond with J. Jarvis, D. Gremling re
                                                PSA issue (.3); analyze same (.3).
07/15/21 William Thompson                 11.70 Research re plan confirmation requirements
                                                (2.8); revise memorandum re same (3.8);
                                                further revise same (2.5); draft case
                                                summaries re creditor letter (2.6).
07/15/21 Eric J. Wendorf                   4.20 Review, analyze creditor letter (.4); research
                                                case law cited re same (1.4); summarize same
                                                (1.3); correspond with W. Thompson re same
                                                (.2); telephone conference with N. Binder re
                                                confirmation work streams (.2); review draft
                                                confirmation order (.2); correspond with B.
                                                Nakhaimousa, K&E team re disclosure
                                                statement (.2); review correspondence re
                                                same (.3).
07/15/21 Donna Zamir                       0.40 Correspond with N. Binder, K&E team re
                                                confirmation issues.
07/16/21 Maggie Alden                      0.30 Telephone conference with PJT, K&E team re
                                                status, strategy.
07/16/21 Maggie Alden                      0.40 Revise plan related pleadings.
07/16/21 Nicholas A. Binder                8.70 Revise amended plan (1.4); telephone
                                                conference with D. Hunter re same, related
                                                considerations (.5); telephone conference with
                                                EHP, K&E team, Company advisors re
                                                emergence, Luxembourg legal considerations
                                                (.7); prepare for same (.2); revise
                                                memorandum re same (2.2); review
                                                documents, correspondence re same (1.4);
                                                review emergence structure presentation (.4);
                                                correspond with J. Jarvis re same (.1); analyze
                                                considerations re same (.4); telephone
                                                conference with K&E team, Company
                                                advisors re negotiation update (.4); review
                                                memoranda re confirmation issues (1.0).
07/16/21 David L. Eaton                    0.70 Telephone conference with director advisors,
                                                A. Grossi re case status update.

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07/16/21 Dave Gremling                    3.00 Conference with Company advisors re case
                                               status, deal update (.3); review, revise
                                               disclosure statement (.7); analyze issues re
                                               same (1.2); analyze confirmation issues (.8).
07/16/21 Anthony R. Grossi                3.30 Correspond with K&E team re chapter 11
                                               plan issues (1.2); correspond with K&E team
                                               re plan support agreement issues (1.4); review
                                               background on mediation follow-up materials
                                               (.7).
07/16/21 Derek I. Hunter                  4.00 Telephone conference with Company re
                                               mediation update, case strategy (.5);
                                               correspond with K&E team re status of
                                               definitive documents (.3); review, revise same
                                               (1.2); review, revise memoranda re same
                                               (1.7); correspond with K&E team re same
                                               (.3).
07/16/21 Jason T. Jarvis                  8.10 Review, revise memorandum re emergence
                                               considerations (3.9); correspond with N.
                                               Binder, M. Lemm re same (.2); draft
                                               exclusivity motion (1.6); review, revise
                                               memorandum re restructuring transactions
                                               (2.3); telephone conference with N. Binder re
                                               same (.1).
07/16/21 Tyler R. Knutson                 4.60 Review, analyze precedent re confirmation
                                               considerations (1.9); draft memorandum re
                                               same (1.4); further revise same (.9); review
                                               disclosure statement reply re same (.4).
07/16/21 Michael Lemm                     6.40 Review, revise memorandum re plan
                                               considerations (3.7); telephone conference
                                               with N. Binder re same (.1); review materials
                                               re same (.1); draft summary re plan terms
                                               (1.9); telephone conference with N. Binder,
                                               K&E team, EHP re plan structuring matters
                                               (.6).
07/16/21 Brian Nakhaimousa                4.60 Revise amended disclosure statement (2.6);
                                               analyze case law re disclosure statement reply
                                               (2.0).
07/16/21 Robert Orren                     0.80 Compile precedent re disclosure statement
                                               (.6); correspond with B. Nakhaimousa re
                                               same (.2).




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07/16/21 Samuel J. Seneczko               9.50 Correspond with D. Hunter re PSA revisions
                                               (.2); revise, draft PSA re same (3.9); analyze
                                               precedent re same (2.0); correspond with N.
                                               Binder, B. Stone re confirmation issues
                                               memorandum (.2); revise same (1.1);
                                               correspond with B. Stone re same (.1);
                                               research re PSA precedent (1.9); correspond
                                               with N. Binder re same (.1).
07/16/21 Steven N. Serajeddini, P.C.      6.60 Correspond with K&E team, advisors,
                                               Company re plan issues (2.6); correspond
                                               with same re plan issues (2.6); review and
                                               analyze same (1.4).
07/16/21 Benjamin P. Stone                2.20 Analyze comments re plan issue
                                               memorandum (.7); review, revise same (1.5).
07/17/21 Maggie Alden                     0.20 Review correspondence re disclosure
                                               statement, plan, plan related pleadings.
07/17/21 Nicholas A. Binder               4.70 Revise amended plan (2.1); correspond with
                                               D. Hunter re same (.1); review comments re
                                               amended plan (.3); revise plan re same (1.1);
                                               telephone conference with D. Hunter, K&E
                                               team re plan process (.4); telephone
                                               conference with S. Seneczko re definitive deal
                                               documents (.4); correspond with K&E team re
                                               same (.3).
07/17/21 Dave Gremling                    0.60 Conference with D. Hunter, K&E team re
                                               outstanding plan issues (.4); analyze issues re
                                               same (.2).
07/17/21 Anthony R. Grossi                0.70 Correspond with K&E team re chapter 11
                                               plan status.
07/17/21 Derek I. Hunter                  2.60 Telephone conference with K&E team re case
                                               strategy and open work streams (.5); review,
                                               revise analyses re plan issues (1.7);
                                               correspond with K&E team re same (.4).
07/17/21 Jason T. Jarvis                  0.20 Review, revise memorandum re restructuring
                                               transactions.
07/17/21 Michael Lemm                     0.30 Telephone conference with A. Grossi, K&E
                                               team re case strategy.
07/17/21 Brian Nakhaimousa                1.70 Review, revise amended disclosure statement
                                               (.5); review, revise disclosure statement reply
                                               case chart (1.2).
07/17/21 Robert Orren                     0.20 Correspond with B. Nakhaimousa re
                                               confirmation hearing transcript precedent.



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Date     Name                            Hours Description
07/17/21 Samuel J. Seneczko               5.10 Telephone conference with N. Binder re PSA,
                                               plan revisions (.6); revise PSA re same (3.1);
                                               analyze plan re same (.7); correspond with N.
                                               Binder re plan revisions (.5); correspond with
                                               PJT, K&E team re same (.1); correspond with
                                               D. Hunter re PSA, plan (.1).
07/17/21 Steven N. Serajeddini, P.C.      1.30 Correspond with K&E team, advisors,
                                               Company re plan issues (.9); review and
                                               analyze same (.4).
07/17/21 Benjamin P. Stone                1.80 Review, analyze case summaries re disclosure
                                               statement reply.
07/17/21 William Thompson                 5.80 Research re plan issues (3.6); revise
                                               memorandum re same (2.2).
07/17/21 Eric J. Wendorf                  0.10 Correspond with N. Binder re confirmation
                                               issues.
07/18/21 Nicholas A. Binder               0.80 Revise memorandum re emergence risks (.5);
                                               telephone conference with M. Lemm re same,
                                               ancillary definitive documents (.3).
07/18/21 Dave Gremling                    0.90 Review, analyze precedent re disclosure
                                               issues.
07/18/21 Anthony R. Grossi                1.20 Correspond with director advisors and
                                               HoldCo advisors re chapter 11 plan status
                                               (.8); correspond with K&E team re chapter 11
                                               plan issues (.4).
07/18/21 Derek I. Hunter                  1.10 Review, revise memorandum re mediation,
                                               plan issues.
07/18/21 Michael Lemm                     8.20 Draft plan term sheet (3.9); review materials
                                               re same (3.8); review, revise memorandum re
                                               plan considerations (.5).
07/18/21 Brian Nakhaimousa                0.70 Review disclosure statement precedent.
07/18/21 Benjamin P. Stone                6.20 Review, revise memorandum re confirmation
                                               issue (3.9); research case law re same (2.3).
07/18/21 William Thompson                 1.10 Revise memorandum re plan issues.
07/18/21 Eric J. Wendorf                  3.60 Research confirmation issues (1.9); draft
                                               memorandum re same (1.7).
07/18/21 Donna Zamir                      3.00 Research re confirmation related issues (2.2);
                                               draft summary re same (.8).




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Date     Name                            Hours Description
07/19/21 Maggie Alden                     10.90 Telephone conference with PJT, K&E team re
                                                strategy, next steps (.2); telephone conference
                                                with N. Binder re precedent case of interest
                                                (.1); compile precedent re same (.4); review
                                                precedent re same (1.5); telephone conference
                                                with N. Binder re confirmation-related
                                                research (.1); correspond with A. Grossi, D.
                                                Hunter, N. Binder re same (.5); correspond
                                                with W. Thompson, E. Wendorf, R. Orren re
                                                same (.2); research re same (1.0); review,
                                                analyze research re same (3.5); draft
                                                memorandum section re same (3.4).
07/19/21 Nicholas A. Binder               12.60 Telephone conference with K&E team,
                                                Company advisors re plan process (.2);
                                                correspond with D. Hunter re plan work
                                                streams (.3); analyze considerations re plan
                                                settlement (3.9); research re same (.6);
                                                review, revise analyses re plan structure,
                                                confirmation issues (3.6); correspond with
                                                K&E team re same (.5); telephone conference
                                                with D. Gremling re security interests, plan
                                                issues (.3); telephone conference with B.
                                                Stone re plan research (.4); revise plan (1.2);
                                                analyze emergence considerations (.8);
                                                review, revise emergence steps presentation
                                                (.6); correspond with EHP, K&E team re
                                                same (.2).
07/19/21 Dave Gremling                     8.20 Revise disclosure statement (3.9); analyze
                                                precedent re issues re same (3.0); correspond
                                                with B. Nakhaimousa, K&E team re same
                                                (.8); analyze issues re confirmation (.3);
                                                conference with Company advisors re
                                                outstanding plan, deal issues (.2).
07/19/21 Anthony R. Grossi                 4.40 Correspond with K&E team and Company re
                                                legal issues (.6); correspond with K&E team
                                                re chapter 11 plan issues (1.1); correspond
                                                with K&E team re mediation status (.8);
                                                correspond with PJT re deal issues (.7);
                                                correspond with K&E team re chapter 11 plan
                                                research issues (1.2).




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Date     Name                            Hours Description
07/19/21 Derek I. Hunter                  5.60 Telephone conference with Company
                                               advisors re mediation updates, case strategy
                                               (.5); telephone conference with Company
                                               advisors re same, related issues (.3); review,
                                               revise analyses re plan issues (1.4); review,
                                               revise definitive plan documents, related
                                               implementation documents (1.9); correspond
                                               with K&E team re same, related analysis and
                                               strategy (.9); review, analyze emergence
                                               structuring considerations analysis, related
                                               memorandum (.6).
07/19/21 Jason T. Jarvis                  5.50 Correspond with M. Alden re plan
                                               classification (.2); draft memorandum re same
                                               (1.2); research re same (2.4); correspond with
                                               D. Gremling, B. Stone re confirmation
                                               considerations (1.2); telephone conference
                                               with B. Stone re same (.3); telephone
                                               conference with D. Gremling, B. Stone re
                                               same (.2).
07/19/21 Andrew Kimball                   0.20 Correspond with K&E team re emergence
                                               considerations.
07/19/21 Tyler R. Knutson                 9.90 Research, analyze plan voting considerations
                                               (3.2); draft summary re same (1.7); research,
                                               analyze plan considerations (2.8); draft
                                               precedent summary re same (2.2).
07/19/21 Joshua Korff, P.C.               0.70 Telephone conferences with K&E team re
                                               securities law issues.
07/19/21 Michael Lemm                     5.10 Review, revise plan term sheet (1.5); draft
                                               motion re plan considerations (3.6).
07/19/21 Brian Nakhaimousa                0.90 Review, analyze disclosure statement
                                               precedent.
07/19/21 Robert Orren                     4.10 Correspond with N. Binder re plan related
                                               pleadings precedent (1.2); correspond with
                                               K&E team re same (1.2); compile
                                               confirmation precedent (1.7).
07/19/21 Whitney Rosser                   0.40 Correspond with D. Maliniak re emergence
                                               considerations.
07/19/21 Samuel J. Seneczko               5.80 Revise PSA re deal updates (3.1); analyze
                                               plan materials re same (1.1); correspond with
                                               N. Binder, K&E team re same (.7); analyze
                                               memorandum re plan issues (.8); correspond
                                               with N. Binder re same (.1).




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07/19/21 Steven N. Serajeddini, P.C.       4.90 Correspond with K&E team, advisors,
                                                Company re plan issues (.9); conference with
                                                same re plan issues (.8); review and analyze
                                                same (3.2).
07/19/21 Benjamin P. Stone                 4.90 Review, revise memorandum re confirmation
                                                issue (2.8); analyze PSA matter (.6);
                                                conference with J. Jarvis re PSA (.2);
                                                conference with D. Gremling re same (.2);
                                                conference with J. Jarvis, D. Gremling re
                                                same (.2); revise presentation re same (.9).
07/19/21 William Thompson                  4.20 Research re plan structure (1.2); further revise
                                                memorandum re plan considerations (1.5);
                                                research case summaries re plan structure
                                                (1.5).
07/19/21 Eric J. Wendorf                  11.90 Research re confirmation issues (3.2); review
                                                confirmation order (.3); correspond with N.
                                                Binder re same (.4); revise memorandum re
                                                same (3.9); analyze issues re same (1.4);
                                                research separate confirmation issues (.9);
                                                correspond with M. Alden re same (.2); draft
                                                summary re same (1.6).
07/19/21 Chambliss Williams                4.20 Research re plan precedent (3.7); correspond
                                                with M. Alden re same (.5).
07/19/21 Chambliss Williams                3.60 Review research re impairment (2.9);
                                                correspond with M. Alden re same (.7).
07/19/21 Donna Zamir                       4.80 Research re confirmation related issues (2.6);
                                                further draft summary re same (1.9);
                                                correspond with N. Binder, K&E team re
                                                same (.3).
07/20/21 Maggie Alden                      6.00 Research re memorandum re confirmation
                                                issue (3.9); correspond with J. Jarvis, K&E
                                                team re same (.6); revise same (1.5).
07/20/21 Maggie Alden                      4.50 Telephone conference with J. Jarvis re
                                                memorandum re research re litigation issue
                                                (.2); research re same (3.9); correspond with
                                                J. Jarvis re same (.4).




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Date     Name                            Hours Description
07/20/21 Nicholas A. Binder               8.00 Review, revise memoranda re plan issues
                                               (2.3); telephone conference with S. Seneczko
                                               re same (.3); correspond with K&E team re
                                               same (.5); telephone conference with K&E
                                               team, EHP re emergence considerations (.4);
                                               prepare for same (.4); telephone conference
                                               with M. Lemm re same (.3); review, revise
                                               presentation re creditor holdings (.3);
                                               telephone conference with D. Gremling re
                                               same (.3); review, revise plan (1.4); review
                                               documents, materials, precedent re same
                                               (1.0); review memorandum re emergence
                                               risks (.4); correspond with M. Slade re same
                                               (.4).
07/20/21 Simon Briefel                    0.30 Telephone conference with D. Hunter re
                                               confirmation issues.
07/20/21 Maya Frazier                     0.70 Compile production materials re plan matters.
07/20/21 Dave Gremling                    3.70 Analyze precedent re disclosure statement
                                               issue (2.8); correspond with K&E team re
                                               same (.4); analyze issues re same (.5).
07/20/21 Anthony R. Grossi                2.70 Correspond with K&E team re exit structure
                                               issues (.8); correspond with Company and
                                               K&E team re chapter 11 plan status (.7);
                                               review chapter 11 plan research (1.2).
07/20/21 Derek I. Hunter                  4.00 Telephone conference with Company,
                                               Company advisors re strategy (.5); review,
                                               revise plan research (.8); conference with
                                               K&E team re same (.4); review, revise plan
                                               definitive documents (1.4); correspond with
                                               K&E team re same (.4); telephone conference
                                               with Luxembourg counsel re ongoing
                                               emergence and Luxembourg law analyses
                                               (.5).
07/20/21 Jason T. Jarvis                  3.00 Correspond with M. Alden re plan issue (.1);
                                               research re same (.3); review, analyze
                                               memorandum re same (.3); research re
                                               confirmation considerations (.4); draft
                                               emergence checklist (.1); draft memorandum
                                               re emergence considerations (1.5); telephone
                                               conference with N. Binder, K&E team, EHP
                                               re same (.3).




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Date     Name                            Hours Description
07/20/21 Tyler R. Knutson                 9.30 Review and research precedent, pleadings re
                                               plan considerations, related pleadings (3.7);
                                               draft precedent table re same (2.6); review
                                               and revise related pleadings re same (1.3);
                                               review and analyze memorandum re plan
                                               distribution considerations (1.7).
07/20/21 Michael Lemm                     6.20 Correspond with A. Grossi, K&E team re plan
                                               term sheet (.3); review, revise memorandum
                                               re plan considerations (.9); draft motion re
                                               same (3.8); correspond with S. Briefel re plan
                                               documents (.5); telephone conference with N.
                                               Binder, K&E team, EHP re plan matters (.4);
                                               telephone conference with N. Binder re same
                                               (.3).
07/20/21 Samuel J. Seneczko               7.40 Correspond with D. Hunter, N. Binder re PSA
                                               revisions (.2); telephone conference with N.
                                               Binder re same (.4); review, revise PSA re
                                               same (3.6); analyze plan, related pleadings re
                                               same (1.6); correspond with N. Binder, K&E
                                               team re same (.6); correspond with A. Grossi,
                                               K&E team re same (.1); correspond with S.
                                               Briefel, K&E team re PSA materials (.1);
                                               correspond with M. Alden re confirmation
                                               issues (.2); analyze same (.6).
07/20/21 Steven N. Serajeddini, P.C.      4.70 Correspond with K&E team, advisors,
                                               Company re plan issues (3.5); review and
                                               analyze same (1.2).
07/20/21 William Thompson                 8.70 Telephone conference with EHP re
                                               memorandum re plan considerations (.4);
                                               correspond with N. Binder, K&E team re
                                               same (1.2); correspond with EHP re same
                                               (.6); further revise memorandum re same
                                               (2.3); further draft case summaries re plan
                                               structure considerations (3.9); correspond
                                               with M. Alden re same (.3).
07/20/21 Andy Veit, P.C.                  0.60 Telephone conference with EHP re case
                                               updates (.3); telephone conference with
                                               Company re same (.3).
07/20/21 Eric J. Wendorf                  6.90 Draft summaries re plan-related research
                                               (1.5); correspond with M. Alden re same (.2);
                                               correspond with D. Zamir re same (.2);
                                               review pleadings re same (2.3); draft
                                               memorandum re same (1.9); revise same (.8).



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Date     Name                            Hours Description
07/20/21 Donna Zamir                      10.50 Research re confirmation related issues (3.7);
                                                further draft, revise summary re same (3.1);
                                                correspond with N. Binder, K&E team re
                                                same (.6); review, revise confirmation brief
                                                (2.8); correspond with N. Binder, E. Wendorf
                                                re same (.3).
07/21/21 Maggie Alden                      6.90 Telephone conference with K&E team re
                                                research re confirmation issue (.1); telephone
                                                conference with PJT, A&M, K&E team re
                                                strategy, next steps (.3); telephone conference
                                                with K&E team re follow-up re confirmation
                                                research (.1); review research re confirmation
                                                requirements (1.0); correspond with J. Jarvis
                                                re same (.1); research re same (3.9); revise
                                                memorandum re same (1.4).
07/21/21 Nicholas A. Binder                4.80 Telephone conference with K&E team,
                                                Company advisors re plan process (.3);
                                                telephone conference with D. Gremling re
                                                same (.3); analyze plan settlement
                                                considerations (2.6); revise analysis re same
                                                (.4); review, revise memoranda re
                                                confirmation consideration (1.1); telephone
                                                conference with Company advisor re
                                                emergence consideration (.1).
07/21/21 Dave Gremling                     6.70 Conference with K&E team, A&M, PJT re
                                                deal status (.5); revise disclosure statement
                                                (3.9); analyze issues re same (.6); analyze
                                                background materials re same (.7); revise
                                                reply in support of same (1.0).
07/21/21 Anthony R. Grossi                 0.70 Correspond with K&E team re chapter 11
                                                plan issues.
07/21/21 Derek I. Hunter                   2.50 Telephone conference with K&E team,
                                                Company advisors re case strategy (.5);
                                                correspond with K&E team re ongoing plan
                                                analyses (.5); review, revise same (1.5).
07/21/21 Jason T. Jarvis                   3.30 Draft memorandum re claims administration
                                                (.3); telephone conference with W. Thompson
                                                re emergence checklist (.2); correspond with
                                                same re emergence checklist (.2); research re
                                                exclusivity (2.2); correspond with M. Lemm
                                                re motion re same (.1); draft same (.3).




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Date     Name                            Hours Description
07/21/21 Tyler R. Knutson                 11.60 Research and analyze precedent, pleadings,
                                                additional materials re plan considerations,
                                                related pleadings (3.9); review and revise
                                                precedent analysis summary re same (3.4);
                                                further research and analyze precedent re
                                                same (2.7); review and analyze memorandum
                                                re intercompany issues, related pleadings (.9);
                                                review and analyze memorandum re certain
                                                Lux plan issues (.7).
07/21/21 Michael Lemm                      8.80 Draft motion re plan considerations (3.6);
                                                research re same (2.1); review precedent re
                                                same (3.1).
07/21/21 Lib Legislative Research          4.50 Research legislative history re confirmation
                                                issue (3.9); correspond with K&E team re
                                                same (.6).
07/21/21 Brian Nakhaimousa                 0.30 Telephone conference with D. Gremling, B.
                                                Stone re disclosure statement.
07/21/21 Samuel J. Seneczko                5.10 Research re plan issues (1.1); analyze
                                                research re same (3.7); correspond with N.
                                                Binder re same (.3).
07/21/21 Steven N. Serajeddini, P.C.       5.60 Correspond with K&E team, advisors,
                                                Company re plan issues (2.0); telephone
                                                conferences with same re plan issues (1.9);
                                                review, analyze same (1.7).
07/21/21 William Thompson                  0.30 Correspond with J. Jarvis re emergence
                                                checklist.
07/21/21 Gary M. Vogt                      2.30 Compile deposition materials re director
                                                advisors' request (1.8); correspond with
                                                disinterested director advisors re processing
                                                same (.5).
07/21/21 Eric J. Wendorf                   7.20 Research certain plan-related issues (3.4);
                                                correspond with D. Zamir, N. Binder, D.
                                                Gremling re same (.3); revise memorandum re
                                                same (1.7); revise confirmation brief re same
                                                (1.8).
07/21/21 Donna Zamir                       5.00 Research re plan related pleadings issues
                                                (1.7); review precedent re same (2.9);
                                                correspond with N. Binder, K&E team re
                                                same (.4).
07/22/21 Maggie Alden                      5.00 Draft memorandum re confirmation
                                                requirement matter (3.3); revise same (1.2);
                                                correspond with D. Hunter re same (.2);
                                                correspond with J. Jarvis, K&E team re same
                                                (.3).

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Date     Name                            Hours Description
07/22/21 Bill Arnault                     0.50 Participate in telephone conference re
                                               confirmation considerations with A&M, PJT,
                                               and K&E team.
07/22/21 Nicholas A. Binder               4.70 Telephone conference with D. Hunter, K&E
                                               team re confirmation, distribution
                                               considerations (.5); telephone conference with
                                               D. Gremling re same (.3); analyze same (2.4);
                                               telephone conference with E. Wendorf re
                                               confirmation order (.4); analyze
                                               considerations re same (.5); telephone
                                               conference with K&E team, EHP re
                                               emergence considerations (.2); prepare for
                                               same (.3); telephone conference with M.
                                               Lemm re same (.1).
07/22/21 Dave Gremling                    1.80 Analyze disclosure statement exhibit issues.
07/22/21 Dave Gremling                    2.00 Revise disclosure statement (1.7); analyze
                                               issues re same (.3).
07/22/21 Anthony R. Grossi                2.90 Correspond with Company and K&E team re
                                               chapter 11 plan issues (.6); review research on
                                               chapter 11 plan issues (1.1); correspond with
                                               A&M re disclosure statement issues (1.2).
07/22/21 Derek I. Hunter                  4.60 Telephone conference with Company, advisor
                                               group re case strategy (.5); review, revise
                                               analyses re plan issues (1.3); telephone
                                               conference with K&E team, EHP re
                                               emergence work streams (.5); telephone
                                               conference with A&M re disclosure statement
                                               analysis (1.0); conference with K&E team re
                                               certain plan implementation issues (.5);
                                               review analysis re same (.3); telephone
                                               conference with PJT re same, related plan
                                               implementation considerations (.5).
07/22/21 Jason T. Jarvis                  8.40 Correspond with D. Hunter, K&E team re
                                               confirmation considerations (1.1); review,
                                               revise memorandum re same (1.9); telephone
                                               conference with D. Hunter, K&E team re
                                               same (.5); telephone conference with D.
                                               Hunter, K&E team, PJT re same (.2); draft
                                               emergence checklist (1.9); review, revise
                                               same (2.8).
07/22/21 Jason T. Jarvis                  0.30 Research re confirmation considerations.




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07/22/21 Tyler R. Knutson                 9.70 Conference with K&E team re confirmation
                                               considerations (.4); review and revise motion
                                               re same (1.6); research and analyze precedent,
                                               pleadings re same (3.9); review and revise
                                               order re same (2.4); review and analyze
                                               memorandum re confirmation issues (1.4).
07/22/21 Michael Lemm                     8.40 Draft motion re plan considerations (3.8);
                                               review precedent re same (3.5); review, revise
                                               same (.9); correspond with B. Nakhaimousa
                                               re same (.1); telephone conference with N.
                                               Binder, K&E team, EHP re plan matters (.1).
07/22/21 Lib Legislative Research         0.30 Correspond with K&E team re legislative
                                               history re confirmation issue.
07/22/21 Brian Nakhaimousa                0.10 Correspond with D. Gremling, B. Stone re
                                               disclosure statement.
07/22/21 Samuel J. Seneczko               4.40 Review, revise PSA re plan updates (2.6);
                                               analyze confirmation issues (1.3); correspond
                                               with K&E team re same (.5).
07/22/21 Steven N. Serajeddini, P.C.      4.20 Correspond with K&E team, advisors,
                                               Company re plan issues (3.2); review, analyze
                                               same (1.0).
07/22/21 Benjamin P. Stone                4.10 Review, revise memorandum re confirmation
                                               issue (3.4); correspond with S. Seneczko re
                                               same (.2); conference with D. Hunter, K&E
                                               team re presentation re confirmation
                                               considerations (.5).
07/22/21 William Thompson                 0.20 Telephone conference with K&E team and
                                               EHP re case updates.
07/22/21 Eric J. Wendorf                  7.20 Revise confirmation order (3.9); analyze
                                               issues re same (2.8); telephone conference
                                               with N. Binder re same (.5).
07/22/21 Chambliss Williams               1.20 Conference with D. Hunter, K&E team re
                                               confirmation considerations (.5); review
                                               summary re same (.7).
07/22/21 Donna Zamir                      5.80 Correspond with N. Binder, K&E team re
                                               confirmation related issues (.4); review
                                               materials re same (3.2); draft summary re
                                               same (2.2).




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07/23/21 Maggie Alden                      6.10 Correspond with D. Gremling, T. Knutson re
                                                case of interest re disclosure statement issue
                                                (.3); telephone conference with D. Gremling
                                                re follow-up re analysis re same (.2); review
                                                memorandum re confirmation matter (2.5);
                                                revise same (3.1).
07/23/21 Bill Arnault                      3.30 Participate in telephone conference with
                                                Company and A&M re confirmation
                                                considerations (.6); review memorandum re
                                                claims and plan (2.7).
07/23/21 Nicholas A. Binder                4.50 Research, analyze plan structure (3.2); revise
                                                analysis re same (.4); telephone conference
                                                with D. Gremling re same (.4); telephone
                                                conference with M. Lemm re plan and
                                                definitive documents (.2); revise plan (.3).
07/23/21 David L. Eaton                    0.50 Conference with A. Grossi re case status,
                                                related plan issues.
07/23/21 Dave Gremling                     5.00 Revise disclosure statement (2.6); analyze
                                                issues re same (.6); analyze plan and
                                                confirmation issues (1.4); correspond with
                                                K&E team re same (.4).
07/23/21 Anthony R. Grossi                 3.30 Correspond with K&E team re disclosure
                                                statement issues (.8); correspond with K&E
                                                team re chapter 11 plan issues (.9); review
                                                research on chapter 11 plan issues (1.6).
07/23/21 Derek I. Hunter                   2.70 Telephone conferences with K&E team,
                                                A&M, Company re disclosure statement
                                                analysis (.5); review, analyses re plan issues
                                                (1.2); correspond with K&E team re same,
                                                related analysis and strategy, emergence work
                                                streams (.6); review, analyze definitive
                                                document drafts (.4).
07/23/21 Jason T. Jarvis                   2.50 Draft emergence checklist.
07/23/21 Tyler R. Knutson                 10.40 Analyze precedent re solicitation
                                                considerations (.9); correspond with D.
                                                Gremling re same (.5); research and analyze
                                                precedent, pleadings re same (3.9); draft
                                                summary re same (2.1); review and analyze
                                                motion re certain plan considerations, related
                                                pleadings (.8); revise same (2.2).
07/23/21 Michael Lemm                      0.80 Correspond with S. Briefel re motion re plan
                                                considerations (.5); telephone conference with
                                                N. Binder re same (.3).


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Disclosure Statement, Plan and Confirmation

Date     Name                            Hours Description
07/23/21 Samuel J. Seneczko               1.70 Analyze memorandum re plan issues (1.1);
                                               revise same (.6).
07/23/21 Steven N. Serajeddini, P.C.      4.40 Correspond with K&E team, advisors,
                                               Company re plan issues (3.2); review, analyze
                                               same (1.2).
07/23/21 Benjamin P. Stone                0.80 Draft adjournment notice re disclosure
                                               statement (.4); correspond with D. Gremling
                                               re same (.2); correspond with D. Hunter re
                                               same (.1); correspond with KR re same (.1).
07/23/21 Eric J. Wendorf                  3.10 Revise confirmation order (2.2); correspond
                                               with N. Binder re same (.3); review
                                               correspondence re plan-related research (.3);
                                               telephone conference with N. Binder, D.
                                               Zamir, D. Gremling re same (.3).
07/23/21 Donna Zamir                      8.30 Revise summary re plan issues (.9);
                                               correspond with N. Binder, K&E team re
                                               same (.4); telephone conference with N.
                                               Binder, K&E team re same (.5); review,
                                               analyze materials re same (1.9); research re
                                               confirmation related issues (3.4); analyze
                                               issues re same (1.2).
07/24/21 Maggie Alden                     1.00 Telephone conference with A. Grossi, K&E
                                               team re strategy, next steps.
07/24/21 Nicholas A. Binder               0.70 Telephone conference with K&E team re plan
                                               process, strategy (.5); review plan (.2).
07/24/21 Dave Gremling                    2.80 Conference with K&E team re plan issues,
                                               deal status (1.0); revise disclosure statement
                                               (1.8).
07/24/21 Anthony R. Grossi                1.00 Correspond with K&E team re chapter 11
                                               plan issues (.7); correspond with Milbank re
                                               case status (.3).
07/24/21 Derek I. Hunter                  1.40 Telephone conference with K&E team re case
                                               strategy and open work streams (.5); review,
                                               revise analyses re plan issues (.9).
07/24/21 Tyler R. Knutson                 8.50 Review and analyze precedent re certain
                                               solicitation considerations (3.8); further
                                               research re same (1.8); draft summary
                                               precedent tables re same (2.9).
07/24/21 Michael Lemm                     0.90 Telephone conference with A. Grossi, K&E
                                               team re case strategy.
07/24/21 Steven N. Serajeddini, P.C.      1.40 Telephone conference with K&E team,
                                               advisors, Company re plan issues (1.0);
                                               review and analyze same (.4).

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Date     Name                            Hours Description
07/24/21 William Thompson                  2.00 Review, revise emergence checklist re plan
                                                updates.
07/25/21 Dave Gremling                     1.40 Revise disclosure statement.
07/25/21 Derek I. Hunter                   0.40 Correspond with K&E team, Company
                                                advisors re case strategy, creditor
                                                engagement, related work streams.
07/25/21 Brian Nakhaimousa                 0.70 Research disclosure statement issue.
07/26/21 Maggie Alden                      1.40 Telephone conference with PJT, A&M, K&E
                                                team re strategy, next steps (.4); telephone
                                                conference with N. Binder re same (.3);
                                                correspond with K&E team re research
                                                memorandum revisions (.7).
07/26/21 Nicholas A. Binder                2.30 Telephone conference with K&E team,
                                                Company advisors re plan process (.4);
                                                telephone conference with M. Lemm re same
                                                (.3); revise plan (1.3); review precedent re
                                                same (.3).
07/26/21 Simon Briefel                     0.50 Telephone conference with Company
                                                advisors re deal status, next steps.
07/26/21 Dave Gremling                     4.40 Conference with K&E team, A&M, PJT re
                                                deal status (.4); revise disclosure statement
                                                (3.6); analyze confirmation issues (.4).
07/26/21 Anthony R. Grossi                 0.60 Correspond with Company and K&E team re
                                                legal issues.
07/26/21 Derek I. Hunter                   1.40 Review, revise plan-related research (.4);
                                                draft definitive documents (.5); telephone
                                                conference with Company advisors re case
                                                strategy (.5).
07/26/21 Jason T. Jarvis                   3.20 Correspond with N. Binder, K&E team re
                                                confirmation considerations (.2); draft same
                                                (2.9); review, revise same (.1).
07/26/21 Tyler R. Knutson                 10.60 Compile and organize precedent re certain
                                                plan considerations, related pleadings (.8);
                                                correspond with C. Williams, D. Hunter re
                                                same (.2); review and revise pleadings re
                                                same (3.9); research and analyze case law,
                                                related pleadings, materials re same (2.2);
                                                correspond with D. Gremling re certain
                                                pleading precedent (.3); review and revise
                                                precedent tables re certain confirmation
                                                considerations (2.4); review precedent, related
                                                materials re same (.8).



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Date     Name                            Hours Description
07/26/21 Michael Lemm                     0.20 Telephone conference with N. Binder re plan
                                               considerations.
07/26/21 Brian Nakhaimousa                2.10 Conference with K&E team re plan issue (.3);
                                               research disclosure statement reply issue
                                               (1.2); draft summary re same (.6).
07/26/21 Samuel J. Seneczko               1.20 Analyze memorandum re confirmation issues.
07/26/21 Steven N. Serajeddini, P.C.      3.90 Correspond with K&E team, advisors,
                                               Company re plan issues (3.2); review, analyze
                                               same (.7).
07/26/21 Benjamin P. Stone                2.60 Conference with B. Nakhaimousa re
                                               disclosure statement objection (.4); research
                                               same (.8); revise disclosure statement reply re
                                               same (1.4).
07/26/21 Eric J. Wendorf                  1.30 Revise confirmation order.
07/26/21 Donna Zamir                      7.40 Correspond with N. Binder, D. Gremling re
                                               confirmation related issues (.3); research re
                                               same (3.6); review materials re same (2.4);
                                               analyze same (1.1).
07/27/21 Maggie Alden                     0.50 Revise research memorandum re confirmation
                                               issue (.3); correspond with K&E team re same
                                               (.2).
07/27/21 Bill Arnault                     0.20 Participate in telephone conference with EHP
                                               re emergence considerations.
07/27/21 Nicholas A. Binder               2.90 Telephone conference with J. Morley re plan
                                               considerations (.2); correspond with party in
                                               interest re filed plan, disclosure statement
                                               (.4); revise amended plan (1.1); correspond
                                               with D. Hunter re same (.1); telephone
                                               conference with M. Lemm re definitive
                                               documents (.2); correspond with M. Lemm,
                                               K&E team re emergence considerations (.2);
                                               telephone conference with S. Seneczko re
                                               same (.2); conference with E. Wendorf re
                                               confirmation order (.2); telephone conference
                                               with Company advisors, EHP, K&E team re
                                               confirmation, emergence issues (.3).
07/27/21 Dave Gremling                    2.50 Revise, review, and analyze disclosure
                                               statement (2.2); analyze issue re reply in
                                               support of same (.3).
07/27/21 Anthony R. Grossi                1.10 Correspond with A&M re disclosure
                                               statement issues (.6); correspond with K&E
                                               team re corporate exit structure issues (.5).



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Date     Name                            Hours Description
07/27/21 Derek I. Hunter                  1.40 Correspond with K&E team re ongoing plan,
                                               confirmation research (.6); review, analyze,
                                               and revise analysis re same (.8).
07/27/21 Jason T. Jarvis                  0.60 Correspond with W. Thompson, N. Binder,
                                               M. Lemm re emergence (.2); draft summary
                                               memorandum re same (.4).
07/27/21 Tyler R. Knutson                 7.60 Correspond with D. Hunter re certain
                                               confirmation considerations (.3); research re
                                               same (.4); review, analyze and revise
                                               pleadings re certain plan considerations (1.4);
                                               correspond with D. Hunter re certain
                                               confirmation considerations (.2); research and
                                               analyze precedent re same (.4); review and
                                               analyze summary of key case issues re same
                                               (.2); conference with K&E team re same (.5);
                                               correspond with K&E team re same (.2);
                                               correspond with D. Gremling re plan
                                               considerations (.2); review and revise
                                               pleading re plan considerations (1.6);
                                               correspond with D. Hunter re same (.1);
                                               review and analyze memorandum re certain
                                               confirmation considerations (1.5); revise same
                                               (.6).
07/27/21 Michael Lemm                     0.90 Correspond with EHP re outstanding items
                                               (.3); review and revise motion re plan
                                               considerations (.2); correspond with D.
                                               Hunter, S. Briefel re same (.2); telephone
                                               conference with N. Binder, K&E team, EHP,
                                               McDonald Hopkins re Luxembourg
                                               considerations (.2).
07/27/21 Brian Nakhaimousa                0.50 Research disclosure statement reply issue (.4);
                                               correspond with D. Gremling, B. Stone re
                                               same (.1).
07/27/21 Samuel J. Seneczko               1.40 Review, revise memorandum re confirmation
                                               issues (1.3); correspond with B. Stone, N.
                                               Binder re same (.1).
07/27/21 Steven N. Serajeddini, P.C.      4.60 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.8); review and analyze same (.8).
07/27/21 William Thompson                 1.60 Correspond with J. Jarvis, N. Binder, and M.
                                               Lemm re updates for EHP (.6); telephone
                                               conference with EHP re case updates (.4);
                                               draft notes re same (.6).
07/27/21 Eric J. Wendorf                  0.50 Revise confirmation order.


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Date     Name                            Hours Description
07/27/21 Donna Zamir                      3.40 Research re confirmation related issues (1.7);
                                               review materials re same (.9); review, revise
                                               confirmation brief (.8).
07/28/21 Maggie Alden                     1.00 Telephone conference with D. Hunter, N.
                                               Binder, D. Gremling re next steps, status (.3);
                                               correspond with D. Hunter, K&E team re
                                               confirmation research (.4); correspond with
                                               D. Gremling re disclosure statement (.3).
07/28/21 Nicholas A. Binder               6.30 Revise summary re emergence considerations
                                               re regulatory process (.9); correspond with
                                               K&E team re same (.2); telephone conference
                                               with D. Hunter, K&E team re plan process,
                                               related considerations (.4); analyze same
                                               (1.3); draft, revise summary re same (.5);
                                               correspond with K&E team re same (.2);
                                               analyze confirmation considerations (1.5);
                                               correspond with party in interest re
                                               confirmation order (.1); analyze
                                               considerations re same (.3); analyze plan
                                               language (.8); correspond with K&E team re
                                               same (.1).
07/28/21 Simon Briefel                    0.50 Correspond with D. Hunter, M. Lemm re
                                               exclusivity motion.
07/28/21 Dave Gremling                    4.90 Review, analyze, revise disclosure statement
                                               (2.7); review background re same (1.4);
                                               correspond with K&E team re same (.8).
07/28/21 Anthony R. Grossi                1.40 Correspond with Company and K&E team re
                                               chapter 11 plan issues (.6); correspond with
                                               PJT and K&E team re deal status (.5);
                                               correspond with Foley Lardner re case status
                                               (.3).
07/28/21 Derek I. Hunter                  4.00 Telephone conference with Company,
                                               Debtors' advisors re strategy (.5); review,
                                               analyze, and revise plan research (.7);
                                               conference with K&E team re same (.3);
                                               review, analyze, and revise plan definitive
                                               documents (1.8); correspond with K&E team
                                               re same (.4); telephone conference with Lux
                                               counsel re ongoing emergence and Lux law
                                               analyses (.3).
07/28/21 Tyler R. Knutson                 6.20 Research and analyze precedent, materials re
                                               case professionals (1.5); research and analyze
                                               precedent re certain encumbrance issues (2.8);
                                               summarize same (1.9).


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Disclosure Statement, Plan and Confirmation

Date     Name                            Hours Description
07/28/21 Michael Lemm                     2.10 Review and revise motion re plan
                                               considerations.
07/28/21 Brian Nakhaimousa                1.10 Revise disclosure statement reply.
07/28/21 Steven N. Serajeddini, P.C.      4.90 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.6); review and analyze same (1.3).
07/28/21 Benjamin P. Stone                1.20 Review, revise proposed case timeline (.9);
                                               correspond with D. Gremling re same (.3).
07/29/21 Maggie Alden                     2.80 Telephone conference with D. Gremling re
                                               disclosure statement, related issues (.5);
                                               review disclosure statement (2.0); telephone
                                               conference with N. Binder re case status (.1);
                                               correspond with D. Gremling re disclosure
                                               statement (.2).
07/29/21 Nicholas A. Binder               2.30 Analyze plan language re releases (.9);
                                               analyze confirmation issues (1.4).
07/29/21 Simon Briefel                    0.60 Review, revise plan.
07/29/21 Dave Gremling                    3.60 Revise disclosure statement (2.8); review,
                                               analyze precedent re same (.8).
07/29/21 Anthony R. Grossi                1.10 Correspond with K&E team and Company re
                                               chapter 11 plan status (.6); correspond with
                                               director advisors re chapter 11 plan issues
                                               (.5).
07/29/21 Derek I. Hunter                  1.80 Telephone conference with Company, advisor
                                               group re case strategy (.5); review, analyze,
                                               and revise plan, mediation, and other related
                                               analyses (.6); telephone conference with K&E
                                               team re emergence work streams and
                                               disclosure statement analysis (.7).
07/29/21 Tyler R. Knutson                 0.90 Correspond with D. Hunter re confirmation
                                               issues (.3); research and analyze precedent,
                                               materials re same (.4); correspond with K&E
                                               team re same (.2).
07/29/21 Michael Lemm                     0.10 Correspond with EHP re outstanding items.
07/29/21 Brian Nakhaimousa                0.20 Correspond with B. Stone re disclosure
                                               statement order considerations.
07/29/21 Samuel J. Seneczko               1.40 Review confirmation issues, timeline (.2);
                                               correspond with N. Binder, K&E team re
                                               same (.1); analyze plan issues (1.0);
                                               correspond with D. Hunter, T. Knutson, D.
                                               Gremling re same (.1).



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Date     Name                            Hours Description
07/29/21 Steven N. Serajeddini, P.C.      4.40 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.4); review and analyze same (1.0).
07/29/21 Benjamin P. Stone                1.60 Review, revise proposed case timeline (.7):
                                               correspond with D. Gremling re same (.2);
                                               correspond with D. Hunter re same (.2); draft
                                               disclosure statement adjournment notice (.4);
                                               correspond with D. Gremling re same (.1).
07/29/21 Donna Zamir                      2.20 Research re confirmation issues (1.8); review,
                                               analyze same (.4).
07/30/21 Maggie Alden                     2.20 Telephone conference with PJT, A&M, K&E
                                               team re strategy, next steps (.3); correspond
                                               with D. Gremling re adjournment, timeline
                                               (1.0); review disclosure statement (.9).
07/30/21 Maggie Alden                     1.40 Review plan related pleadings and research
                                               materials (.3); telephone conference with M.
                                               Lemm re same (.3); correspond with D.
                                               Hunter, N. Binder, M. Lemm re same (.4);
                                               revise plan related pleadings (.4).
07/30/21 Nicholas A. Binder               0.30 Telephone conference with Company
                                               advisors, K&E team re plan process.
07/30/21 Dave Gremling                    0.50 Revise disclosure statement.
07/30/21 Anthony R. Grossi                1.50 Correspond with Company and K&E team re
                                               chapter 11 plan issues (.6); correspond with
                                               K&E team re chapter 11 plan research (.9).
07/30/21 Derek I. Hunter                  3.40 Conference with debtor advisors re case
                                               strategy, related issues (.5); review, analyze,
                                               and revise definitive documents re potential
                                               deal scenario (1.8); conference with K&E
                                               team re same (.5); review precedent re same
                                               (.4); correspond with K&E team re ongoing
                                               research (.2).
07/30/21 Jason T. Jarvis                  2.60 Correspond with M. Alden re emergence
                                               considerations (.3); draft memorandum re
                                               same (.9); research re same (1.4).
07/30/21 Tyler R. Knutson                 3.90 Review materials re certain confirmation
                                               considerations (1.3); review correspondence
                                               re same (.4); review and analyze pleadings,
                                               precedent re plan issues, related pleadings
                                               (1.6); revise summary re same (.6).
07/30/21 Michael Lemm                     7.30 Draft agreement re plan considerations (3.9);
                                               review materials re same (3.2); telephone
                                               conference with M. Alden re same (.2).


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Date     Name                            Hours Description
07/30/21 Casey McGushin                    2.20 Review and revise plan related pleadings.
07/30/21 Steven N. Serajeddini, P.C.       3.90 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (2.0); review and analyze same (1.9).
07/30/21 William Thompson                  4.80 Research re confirmation considerations (3.9);
                                                correspond with N. Binder, E. Wendorf, and
                                                D. Zamir re same (.9).
07/30/21 Donna Zamir                       1.00 Correspond with D. Gremling, B. Stone re
                                                disclosure statement issues (.3); review,
                                                analyze materials re same (.7).
07/31/21 Maggie Alden                      1.20 Review, revise plan related pleadings.
07/31/21 Nicholas A. Binder                2.00 Telephone conference with K&E team re plan
                                                process, strategy (.7); telephone conference
                                                with M. Lemm, D. Hunter re same (.5);
                                                review plan precedent (.8).
07/31/21 Anthony R. Grossi                 0.70 Correspond with K&E team re chapter 11
                                                plan issues.
07/31/21 Derek I. Hunter                   3.10 Review, analyze, and revise plan-related
                                                research and definitive documents (2.1);
                                                telephone conference with K&E team re
                                                same, related strategy (1.0).
07/31/21 Michael Lemm                     10.70 Telephone conference with D. Hunter, K&E
                                                team re case strategy (.7); telephone
                                                conference with N. Binder re same (.4); draft
                                                term sheet re plan considerations (3.5); review
                                                materials re same (3.0); draft agreement re
                                                plan considerations (3.1).
07/31/21 Benjamin P. Stone                 1.10 Review, revise memorandum re confirmation
                                                issue (.9); correspond with S. Seneczko, N.
                                                Binder re same (.2).
07/31/21 William Thompson                  0.90 Revise board deck re correspondence with B.
                                                Nakhaimousa.
07/31/21 Aparna Yenamandra                 1.00 Telephone conference with K&E team re
                                                plan, deal status (.7); follow up re same (.3).
07/31/21 Donna Zamir                       3.20 Research re confirmation considerations (2.1);
                                                draft summary re same (.6); correspond with
                                                N. Binder, W. Thompson re same (.5).

Total                                  1,700.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049136
                                                                               Client Matter: 48457-5

In the Matter of Financing and Cash Collateral




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 210,152.50
Total legal services rendered                                                                                $ 210,152.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Financing and Cash Collateral




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Bill Arnault                                          0.70   1,245.00            871.50
Peter Bang                                            0.10   1,070.00            107.00
Nicholas A. Binder                                   30.70     875.00         26,862.50
Chad Davis                                            9.10   1,185.00         10,783.50
Anthony R. Grossi                                    13.40   1,220.00         16,348.00
Derek I. Hunter                                      20.60   1,125.00         23,175.00
Library Factual Research                              1.00     390.00            390.00
Brian Nakhaimousa                                    40.20     765.00         30,753.00
Robert Orren                                          1.30     460.00            598.00
Whitney Rosser                                        1.50     765.00          1,147.50
Benjamin P. Stone                                    35.90     765.00         27,463.50
Andy Veit, P.C.                                       8.30   1,375.00         11,412.50
Eric J. Wendorf                                      23.30     765.00         17,824.50
Chambliss Williams                                   23.40     875.00         20,475.00
Aparna Yenamandra                                     0.50   1,195.00            597.50
Donna Zamir                                          27.90     765.00         21,343.50

TOTALS                                              237.90                 $ 210,152.50




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Financing and Cash Collateral


                                      Description of Legal Services

Date     Name                                Hours Description
07/01/21 Andy Veit, P.C.                      0.40 Telephone conference re financing updates.
07/02/21 Nicholas A. Binder                   0.50 Revise DIP related pleading declaration (.4);
                                                   telephone conference with K&E team re same
                                                   (.1).
07/02/21 Anthony R. Grossi                    0.80 Correspond with K&E team re DIP issues.
07/02/21 Derek I. Hunter                      0.60 Correspond with K&E team re DIP analysis,
                                                   funding considerations.
07/02/21 Brian Nakhaimousa                    0.10 Correspond with N. Binder re A&M DIP
                                                   related pleading declaration.
07/03/21 Nicholas A. Binder                   0.80 Revise pleading re DIP financing.
07/03/21 Brian Nakhaimousa                    1.50 Revise PJT DIP related pleading declaration
                                                   (.8); correspond with D. Hunter, N. Binder re
                                                   same (.1); telephone conference with B. Stone
                                                   re DIP related pleading (.1); review precedent
                                                   re same (.5).
07/03/21 Benjamin P. Stone                    4.80 Correspond with N. Binder re DIP refinancing
                                                   pleadings (.3); correspond with B.
                                                   Nakhaimousa re same (.4); research precedent
                                                   re same (3.9); correspond with N. Binder re
                                                   same (.2).
07/04/21 Derek I. Hunter                      0.30 Correspond with K&E team, PJT re DIP
                                                   analysis.
07/05/21 Anthony R. Grossi                    0.30 Correspond with K&E team re DIP issues.
07/05/21 Brian Nakhaimousa                    0.50 Draft DIP related pleading.
07/06/21 Brian Nakhaimousa                    4.60 Draft, review, revise DIP related pleading
                                                   (3.9); review precedent re same (.7).
07/06/21 Robert Orren                         0.30 Compile precedent re declaration in support
                                                   of DIP related pleading.
07/06/21 Benjamin P. Stone                    2.10 Research DIP related pleading precedent
                                                   (1.9); correspond with N. Binder re same (.2).
07/06/21   Chambliss Williams                 3.90 Research re DIP issues.
07/06/21   Chambliss Williams                 3.90 Summarize precedent re DIP issues.
07/07/21   Chad Davis                         0.40 Telephone conference with Company re DIP.
07/07/21   Library Factual Research           1.00 Research re DIP issues.
07/07/21   Brian Nakhaimousa                  6.40 Revise DIP related pleading (3.9); review and
                                                   further revise same (1.5); review precedent re
                                                   same (1.0).



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Financing and Cash Collateral

Date     Name                            Hours Description
07/07/21 Benjamin P. Stone                5.20 Analyze precedent re DIP declarations (2.7);
                                               draft same re DIP issues (1.9); correspond
                                               with B. Nakhaimousa re same (.3);
                                               correspond with N. Binder re same (.3).
07/07/21 Andy Veit, P.C.                  0.30 Telephone conference with Company and
                                               advisors re DIP issues.
07/07/21 Chambliss Williams               4.00 Research re DIP issues.
07/07/21 Chambliss Williams               3.90 Draft summaries re DIP precedent.
07/08/21 Brian Nakhaimousa                3.30 Revise DIP related pleading (2.8); review,
                                               revise PJT declaration re same (.5).
07/08/21 Benjamin P. Stone                5.20 Review, revise DIP related declarations (2.9);
                                               review, revise DIP related pleading (1.8);
                                               correspond with B. Nakhaimousa re same
                                               (.3); correspond with N. Binder re same (.2).
07/08/21 Chambliss Williams               3.90 Research re DIP issues.
07/08/21 Chambliss Williams               3.80 Draft summaries re DIP precedent.
07/09/21 Nicholas A. Binder               0.70 Analyze DIP financing considerations (.2);
                                               correspond with A. Grossi re same (.1);
                                               revise, compile credit agreement amendment
                                               (.2); correspond with creditor advisors, K&E
                                               team re same (.2).
07/09/21 Anthony R. Grossi                0.70 Correspond with K&E team re DIP issues.
07/09/21 Brian Nakhaimousa                0.50 Revise DIP related pleadings (.3); revise DIP
                                               declarations (.2).
07/09/21 Andy Veit, P.C.                  0.50 Correspond with K&E team re revision of
                                               DIP document.
07/10/21 Anthony R. Grossi                0.60 Correspond with K&E team re DIP
                                               amendment issues.
07/11/21 Nicholas A. Binder               1.00 Telephone conference with K&E team, PJT,
                                               A&M re DIP issues (.5); analyze
                                               considerations re same (.3); telephone
                                               conference with B. Nakhaimousa re same (.2).
07/11/21 Chad Davis                       0.80 Telephone conference with PJT re DIP upsize
                                               (.4); review DIP credit agreement re same
                                               (.4).
07/11/21 Anthony R. Grossi                1.20 Correspond with K&E team re DIP
                                               amendment issues (.7); correspond with PJT
                                               re DIP issues (.5).
07/11/21 Derek I. Hunter                  0.90 Telephone conference with K&E team, A&M,
                                               PJT re DIP analysis, next steps.




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Financing and Cash Collateral

Date     Name                            Hours Description
07/11/21 Brian Nakhaimousa                2.80 Review bankruptcy rules, local rules, case
                                               management order, and DIP documents re
                                               DIP.
07/11/21 Benjamin P. Stone                0.40 Correspond with B. Nakhaimousa re local
                                               rules re DIP.
07/11/21 Andy Veit, P.C.                  0.50 Telephone conference with PJT and A&M re
                                               DIP issues.
07/12/21 Nicholas A. Binder               1.40 Analyze considerations re DIP financing (.4);
                                               telephone conference with Company, K&E
                                               team, Company advisors re same (.8); review,
                                               revise amendment re same (.2).
07/12/21 Chad Davis                       0.90 Telephone conference re DIP with Company
                                               and PJT.
07/12/21 Anthony R. Grossi                0.80 Correspond with Company and K&E team re
                                               DIP issues.
07/12/21 Derek I. Hunter                  1.90 Telephone conference with K&E team, PJT,
                                               A&M re DIP-related analysis, next steps
                                               (1.0); correspond with K&E team, A&M re
                                               DIP related inquiries (.4); review, analyze and
                                               revise analysis re same (.5).
07/13/21 Nicholas A. Binder               1.30 Revise DIP document, related correspondence
                                               (.6); correspond with K&E team re same (.2);
                                               review documents and materials re DIP
                                               financing (.3); correspond with K&E team,
                                               PJT re same (.2).
07/13/21 Anthony R. Grossi                0.60 Correspond with K&E team re DIP issues.
07/13/21 Derek I. Hunter                  1.50 Correspond with K&E team, PJT re DIP
                                               status (.4); review, analyze, and revise
                                               materials and pleadings re same (1.1).
07/13/21 Brian Nakhaimousa                1.70 Revise DIP related pleading (1.3); revise
                                               declarations re same (.4).
07/13/21 Benjamin P. Stone                0.90 Review, revise DIP related pleading.
07/13/21 Andy Veit, P.C.                  0.30 Review DIP document.
07/14/21 Nicholas A. Binder               0.70 Telephone conference with K&E team,
                                               Company advisors, creditor advisors re DIP
                                               financing (.5); prepare for same (.2).
07/14/21 Anthony R. Grossi                0.50 Correspond with Akin and Centerview re DIP
                                               issues.
07/14/21 Derek I. Hunter                  0.90 Telephone conference with lenders' advisors
                                               re DIP considerations (.5); correspond with
                                               Debtor advisors re same (.4).



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Financing and Cash Collateral

Date     Name                            Hours Description
07/14/21 Andy Veit, P.C.                  0.70 Telephone conference re DIP issues with
                                               Akin and Centerview.
07/16/21 Nicholas A. Binder               0.30 Telephone conference with K&E team,
                                               Company advisors, creditor advisors re DIP
                                               financing.
07/16/21 Chad Davis                       0.40 Telephone conference with Akin re DIP
                                               issues.
07/16/21 Anthony R. Grossi                0.60 Correspond with K&E team re DIP issues.
07/16/21 Derek I. Hunter                  1.20 Telephone conference with Debtor advisors,
                                               lender's advisors re DIP considerations (.5);
                                               review, analyze, and revise pleadings re same
                                               (.7).
07/16/21 Andy Veit, P.C.                  0.70 Telephone conference with Akin re DIP
                                               issues.
07/18/21 Nicholas A. Binder               0.40 Revise pleading re DIP financing.
07/18/21 Brian Nakhaimousa                1.00 Revise PJT DIP declaration.
07/18/21 Benjamin P. Stone                1.70 Review, revise declaration re DIP (1.4);
                                               correspond with B. Nakhaimousa re same
                                               (.3).
07/19/21 Chad Davis                       0.90 Review documents re equity pledges.
07/19/21 Derek I. Hunter                  1.20 Review, analyze, and revise DIP pleadings
                                               (.4); correspond with K&E team, PJT re
                                               same, related analyses (.8).
07/19/21 Brian Nakhaimousa                2.80 Revise DIP declarations (2.4); review PJT
                                               engagement letter re same (.4).
07/20/21 Nicholas A. Binder               1.80 Review summaries re DIP financing
                                               considerations (1.4); correspond with K&E
                                               team re same (.4).
07/20/21 Chad Davis                       0.40 Telephone conference with advisors re DIP
                                               considerations.
07/20/21 Anthony R. Grossi                1.90 Review and revise DIP related pleading.
07/20/21 Derek I. Hunter                  1.00 Correspond and conference with Debtor
                                               advisors re DIP considerations and analyses.
07/20/21 Brian Nakhaimousa                7.00 Revise DIP pleadings (3.0); revise DIP
                                               pleading declarations (1.0); conferences with
                                               B. Stone re same and talking points (.5); draft,
                                               review, revise talking points re pleadings
                                               (2.5).
07/20/21 Robert Orren                     0.30 Compile precedent re DIP talking points.
07/20/21 Whitney Rosser                   1.50 Review DIP amendments (.7); correspond
                                               with B. Stone re same (.8).


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Date     Name                            Hours Description
07/20/21 Benjamin P. Stone                3.70 Review, analyze precedent DIP talking points
                                               (1.3); draft same (1.8); correspond with N.
                                               Binder re same (.2); correspond with B.
                                               Nakhaimousa re same (.4).
07/21/21 Nicholas A. Binder               2.30 Review, revise summary re DIP financing
                                               considerations (1.8); telephone conference
                                               with creditor advisors re same (.4); telephone
                                               conference with J. Morley re same (.1).
07/21/21 Chad Davis                       1.50 Review documents re equity pledges (1.0);
                                               telephone conference re DIP considerations
                                               (.5).
07/21/21 Anthony R. Grossi                1.40 Correspond with PJT re DIP issues (.6);
                                               correspond with K&E team re DIP issues (.8).
07/21/21 Derek I. Hunter                  2.60 Telephone conference with Debtor and
                                               creditor advisors re DIP financing
                                               considerations (.5); review, analyze materials
                                               re same (.7); correspond with K&E team re
                                               same, next steps (.4); review, analyze draft
                                               definitive documents re same (1.0).
07/21/21 Brian Nakhaimousa                3.80 Correspond with D. Hunter, K&E team re
                                               DIP pleadings (.4); review, revise talking
                                               points re same (3.4).
07/21/21 Benjamin P. Stone                6.10 Review, revise DIP talking points (3.9);
                                               further review, revise same (.8); conference
                                               with B. Nakhaimousa re same (.6);
                                               correspond with N. Binder, D. Hunter, A.
                                               Grossi re same (.8).
07/21/21 Andy Veit, P.C.                  0.50 Telephone conference with K&E team re DIP
                                               considerations.
07/22/21 Chad Davis                       1.60 Review documents re equity pledges (.6);
                                               revise chart re same (.6); telephone
                                               conference with advisors re DIP
                                               considerations (.4).
07/22/21 Anthony R. Grossi                0.80 Correspond with K&E team re DIP issues.
07/22/21 Derek I. Hunter                  2.00 Telephone conference with K&E team, PJT,
                                               A&M re DIP-related analysis, next steps (.5);
                                               correspond with K&E team, A&M re DIP
                                               related inquiries (.7); review, analyze and
                                               revise analysis re same (.3); telephone
                                               conference with lenders re DIP considerations
                                               (.5).




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Financing and Cash Collateral

Date     Name                            Hours Description
07/22/21 Andy Veit, P.C.                  1.70 Telephone conference with K&E team re DIP
                                               proposal and case updates (.5); review debt
                                               documents re equity pledges (.8); correspond
                                               with K&E team re same (.4).
07/24/21 Nicholas A. Binder               0.30 Review pleadings re DIP financing (.2);
                                               correspond with B. Nakhaimousa re same
                                               (.1).
07/24/21 Anthony R. Grossi                0.40 Correspond with K&E team re DIP issues.
07/24/21 Derek I. Hunter                  0.20 Correspond with K&E team, PJT re DIP
                                               considerations.
07/24/21 Brian Nakhaimousa                1.10 Revise DIP pleadings.
07/25/21 Bill Arnault                     0.30 Review pleadings re DIP motion.
07/25/21 Peter Bang                       0.10 Conference re DIP considerations with K&E
                                               team.
07/25/21 Nicholas A. Binder               2.30 Analyze considerations re DIP financing
                                               (1.9); draft analysis re same (.4).
07/25/21 Derek I. Hunter                  0.30 Correspond with K&E team re DIP analysis,
                                               funding considerations.
07/26/21 Nicholas A. Binder               1.20 Analyze considerations re DIP financing (.8);
                                               correspond with A. Grossi, K&E team re
                                               same (.4).
07/26/21 Chad Davis                       0.50 Review, revise 10-Q re DIP.
07/26/21 Anthony R. Grossi                0.70 Correspond with K&E team re DIP issues.
07/26/21 Derek I. Hunter                  1.30 Review, analyze, and revise DIP pleadings
                                               (.4); correspond with K&E team, PJT, and
                                               A&M re same, related considerations (.9).
07/26/21 Brian Nakhaimousa                2.60 Revise DIP pleadings.
07/26/21 Robert Orren                     0.40 Compile DIP resolution precedent.
07/26/21 Benjamin P. Stone                5.80 Review, revise, DIP amendment (.6); review,
                                               analyze precedent DIP resolutions (2.8);
                                               correspond with B. Nakhaimousa re same
                                               (.6); conference with B. Nakhaimousa, N.
                                               Binder re same (.3); draft summary re same
                                               (.8); correspond with N. Binder re same (.3);
                                               correspond with D. Hunter re same (.4).
07/27/21 Nicholas A. Binder               2.20 Telephone conference with D. Hunter re DIP
                                               financing, plan process (.7); review
                                               documents and materials re same (.6);
                                               telephone conference with B. Nakhaimousa re
                                               same (.3); analyze considerations re DIP
                                               financing (.4); correspond with E. Wendorf,
                                               D. Zamir re same (.2).

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Financing and Cash Collateral

Date     Name                            Hours Description
07/27/21 Chad Davis                       0.70 Review credit agreement questioner note
                                               considerations (.3); telephone conference with
                                               K&E team re DIP (.4).
07/27/21 Anthony R. Grossi                0.80 Correspond with PJT and K&E team re DIP
                                               issues.
07/27/21 Derek I. Hunter                  2.00 Review, analyze, and revise DIP definitive
                                               documents (1.3); conference with K&E team,
                                               Debtor advisors re same (.4); correspond with
                                               K&E team re related precedent (.3).
07/27/21 Andy Veit, P.C.                  1.00 Telephone conference with K&E team re DIP
                                               documents (.3); telephone conference with
                                               K&E team re case updates (.3); review
                                               intercompany note and related provisions in
                                               DIP (.4).
07/27/21 Eric J. Wendorf                  2.70 Correspond with N. Binder re DIP
                                               amendment (.2); telephone conference with
                                               D. Zamir, W. Thompson re same (.3);
                                               research issues re same (2.2).
07/27/21 Donna Zamir                      3.50 Research re DIP related issues (3.1);
                                               telephone conference with E. Wendorf, W.
                                               Thompson re same (.2); correspond with E.
                                               Wendorf, W. Thompson re same (.2).
07/28/21 Nicholas A. Binder               0.30 Conference with K&E team re DIP
                                               considerations.
07/28/21 Derek I. Hunter                  0.30 Correspond with K&E team, Debtor advisors
                                               re DIP considerations.
07/28/21 Eric J. Wendorf                  6.60 Research issues re DIP documents (3.1);
                                               analyze same (1.4); draft memorandum re
                                               same (2.1).
07/28/21 Donna Zamir                      7.20 Research re DIP related issues (3.2); review
                                               precedent re same (2.7); draft summary re
                                               same (1.3).
07/29/21 Nicholas A. Binder               4.20 Analyze DIP financing considerations (2.4);
                                               correspond with D. Hunter re same (.2);
                                               telephone conference with creditor advisors re
                                               same (.5); telephone conference with E.
                                               Wendorf, W. Thompson re same (.6);
                                               telephone conference with B. Nakhaimousa,
                                               B. Stone re same (.5).
07/29/21 Anthony R. Grossi                0.70 Correspond with K&E team and PJT re DIP
                                               issues.




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Financing and Cash Collateral

Date     Name                            Hours Description
07/29/21 Derek I. Hunter                   1.30 Correspond and conference with Debtor
                                                advisors re DIP financing proposal (.4);
                                                review, analyze materials re same (.5);
                                                correspond with K&E team re same, next
                                                steps (.4).
07/29/21 Robert Orren                      0.30 Compile precedent re DIP deck.
07/29/21 Andy Veit, P.C.                   0.80 Telephone conference with K&E team re DIP
                                                documents (.5); correspond re loan agreement
                                                amendment (.3).
07/29/21 Eric J. Wendorf                   5.30 Research issues re DIP document (1.8); revise
                                                memorandum re same (2.4); telephone
                                                conferences with N. Binder re same (.6);
                                                telephone conference with K&E team, PJT,
                                                creditors' advisors re same (.5).
07/29/21 Donna Zamir                       4.50 Research re DIP related issues (2.3); analyze
                                                same (1.4); correspond with N. Binder, E.
                                                Wendorf, W. Thompson re same (.4);
                                                telephone conference with Company advisors,
                                                creditor representatives re same (.4).
07/30/21 Nicholas A. Binder                6.70 Research case law re DIP considerations
                                                (1.6); analyze considerations re same (4.0);
                                                correspond with K&E team re same (.4);
                                                telephone conference with K&E team re same
                                                (.3); revise memorandum re same (.4).
07/30/21 Chad Davis                        1.00 Review and revise loan agreement
                                                amendment.
07/30/21 Derek I. Hunter                   0.20 Correspond with K&E team, PJT re DIP
                                                considerations.
07/30/21 Andy Veit, P.C.                   0.90 Telephone conference re loan agreement
                                                amendment (.5); correspond with K&E team
                                                re same (.4).
07/30/21 Eric J. Wendorf                   8.10 Research DIP issues (4.0); analyze same
                                                (2.3); draft analysis re same (.9); telephone
                                                conference with D. Zamir, W. Thompson re
                                                same (.3); correspond with N. Binder re same
                                                (.4); correspond with B. Nakhaimousa re
                                                same (.2).
07/30/21 Donna Zamir                      10.70 Research re DIP related issues (3.6); draft
                                                summary re same (3.2); revise same (1.7);
                                                correspond with N. Binder, E. Wendorf, W.
                                                Thompson re same (1.4); telephone
                                                conference with N. Binder, E. Wendorf, W.
                                                Thompson re same (.5); telephone conference
                                                with E. Wendorf, W. Thompson re same (.3).

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Date     Name                            Hours Description
07/31/21 Bill Arnault                     0.40 Review DIP documents.
07/31/21 Nicholas A. Binder               2.30 Analyze considerations re DIP financing
                                               (1.6); revise memorandum re same (.6);
                                               correspond with D. Zamir, K&E team re same
                                               (.1).
07/31/21 Anthony R. Grossi                0.60 Correspond with K&E team and Akin re DIP
                                               issues.
07/31/21 Derek I. Hunter                  0.90 Telephone conference with lenders' advisors
                                               re DIP negotiations (.5); conference with
                                               K&E team, PJT re same, related strategy (.4).
07/31/21 Brian Nakhaimousa                0.50 Conference with B. Stone, D. Zamir, E.
                                               Wendorf re DIP issues.
07/31/21 Eric J. Wendorf                  0.60 Telephone conference with B. Nakhaimousa,
                                               D. Zamir, B. Stone, and W. Thompson re DIP
                                               workstreams (.4); draft declaration re same
                                               (.2).
07/31/21 Aparna Yenamandra                0.50 Correspond re DIP with K&E team.
07/31/21 Donna Zamir                      2.00 Correspond with D. Hunter, K&E team re
                                               DIP related issues (.6); telephone conference
                                               with E. Wendorf, B. Nakhaimousa, B. Stone
                                               re same (.3); review materials re same (1.1).

Total                                   237.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

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September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049137
                                                                               Client Matter: 48457-6

In the Matter of Automatic Stay Issues




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 1,382.00
Total legal services rendered                                                                                   $ 1,382.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-6
Automatic Stay Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Ian Clarke                                           0.30    1,155.00           346.50
Dave Gremling                                        0.50      875.00           437.50
Robert Orren                                         0.50      460.00           230.00
Laura Saal                                           0.80      460.00           368.00

TOTALS                                                2.10                    $ 1,382.00




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Automatic Stay Issues


                                  Description of Legal Services

Date       Name                          Hours  Description
07/07/21   Robert Orren                   0.50  Compile precedent re motion to lift stay.
07/09/21   Laura Saal                     0.80  Prepare shell re lift stay motion.
07/16/21   Dave Gremling                  0.50  Revise motion re enforcement of automatic
                                                stay.
07/30/21 Ian Clarke                        0.30 Correspond with K&E team re administration
                                                of Phasor Solutions Limited.

Total                                      2.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049138
                                                                               Client Matter: 48457-7

In the Matter of Section 363 Issues




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 12,170.00
Total legal services rendered                                                                                  $ 12,170.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Section 363 Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        9.90      875.00          8,662.50
Derek I. Hunter                                      1.90    1,125.00          2,137.50
Andrew Kimball                                       1.00    1,195.00          1,195.00
Samantha N. Stowers                                  0.20      875.00            175.00

TOTALS                                               13.00                   $ 12,170.00




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Section 363 Issues


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Dave Gremling                    0.50 Analyze issues re Company vendor.
07/06/21 Dave Gremling                    0.80 Telephone conference with K&E team, A&M,
                                               Company re vendor and customer issues (.2);
                                               analyze issues re same (.4); correspond with
                                               Company re same (.2).
07/06/21 Samantha N. Stowers              0.20 Correspond with D. Gremling re transaction
                                               documentation.
07/12/21 Dave Gremling                    0.20 Correspond with Company re customer issue.
07/14/21 Dave Gremling                    0.70 Analyze issues re vendor (.4); conference
                                               with B. Stone, Company, Vendor re same
                                               (.3).
07/16/21 Dave Gremling                    0.90 Analyze vendor issues (.3); correspond with
                                               vendor re same (.6).
07/20/21 Dave Gremling                    0.80 Analyze issues re vendor (.3); conference
                                               with Company re customer issue (.2); analyze
                                               issues re same (.3).
07/21/21 Dave Gremling                    1.80 Analyze issues re Company customers and
                                               vendors (.8); correspond with B. Stone, D.
                                               Hunter re same (.6); review, revise draft
                                               customer agreement provisions (.4).
07/21/21 Derek I. Hunter                  1.20 Telephone conference with K&E team, PJT,
                                               and Company re potential 363 transaction
                                               (.6); review, analyze materials re same,
                                               related issues (.6).
07/21/21 Andrew Kimball                   0.70 Telephone conference with D. Mayland, S.
                                               Ajmeri, and Company re transaction (.6);
                                               prepare for same (.1).
07/22/21 Dave Gremling                    1.80 Conference with B. Stone, vendor re vendor
                                               issue (.3); correspond with B. Stone, K&E
                                               team re same (.9); conference with B. Stone,
                                               Company re customer issue (.2); correspond
                                               with B. Stone, Company re same (.2); analyze
                                               draft contract provisions re same (.2).
07/26/21 Dave Gremling                    0.70 Conference with K&E team, A&M, Company
                                               re customer and vendor issues (.2); analyze
                                               same (.4); correspond with Company re same
                                               (.1).
07/27/21 Dave Gremling                    0.70 Analyze draft customer contract.
07/28/21 Dave Gremling                    0.50 Analyze vendor issues (.4); correspond with
                                               B. Stone re same (.1).

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Intelsat S.A.                                               Matter Number:         48457-7
Section 363 Issues

Date     Name                            Hours Description
07/29/21 Dave Gremling                    0.50 Prepare for and conference with B. Stone,
                                               K&E team, Company re vendor issues (.2);
                                               analyze same (.3).
07/29/21 Derek I. Hunter                  0.10 Correspond with K&E team, Company re
                                               potential 363 transaction and related
                                               considerations.
07/30/21 Derek I. Hunter                  0.30 Correspond with K&E team, Company re
                                               potential 363 transaction and related
                                               considerations.
07/30/21 Andrew Kimball                   0.30 Conference with A. Veit re transaction issue.
07/31/21 Derek I. Hunter                  0.30 Correspond with K&E team, Company re 363
                                               transaction and related analysis.

Total                                    13.00




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049139
                                                                               Client Matter: 48457-8

In the Matter of Executory Contracts and Unexpired Leases




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 12,600.50
Total legal services rendered                                                                                  $ 12,600.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-8
Executory Contracts and Unexpired Leases




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Bill Arnault                                         0.20    1,245.00            249.00
Dave Gremling                                        2.80      875.00          2,450.00
Jason T. Jarvis                                      1.20      765.00            918.00
Brian Nakhaimousa                                    2.70      765.00          2,065.50
Robert Orren                                         2.40      460.00          1,104.00
Benjamin P. Stone                                    7.60      765.00          5,814.00

TOTALS                                               16.90                   $ 12,600.50




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Intelsat S.A.                                               Matter Number:         48457-8
Executory Contracts and Unexpired Leases


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Brian Nakhaimousa                0.50 Conference with W. Thompson re rejection
                                               reply.
07/16/21 Bill Arnault                     0.20 Participate in telephone conference with
                                               Company, A. Grossi, and D. Hunter re
                                               potential contract rejection.
07/16/21 Dave Gremling                    1.20 Conference with K&E team re executory
                                               contract issue (.4); analyze background
                                               materials re same (.8).
07/16/21 Brian Nakhaimousa                0.50 Telephone conference with K&E team,
                                               customer re executory contract rejection.
07/21/21 Robert Orren                     0.90 Retrieve precedent re renewal of customer
                                               contracts (.7); correspond with B. Stone re
                                               same (.2).
07/21/21 Benjamin P. Stone                6.80 Conference with D. Hunter, D. Gremling re
                                               vendor contract provisions (.5); review
                                               precedent re same (3.9); draft same (1.9);
                                               correspond with D. Gremling re same (.3);
                                               correspond with D. Hunter re same (.2).
07/22/21 Benjamin P. Stone                0.80 Conference with D. Gremling, Company re
                                               contract provisions (.1); correspond with D.
                                               Gremling re same (.2); correspond with
                                               Company re same (.2); conference with D.
                                               Gremling, vendor re contract (.1); correspond
                                               with D. Gremling re same (.2).
07/23/21 Brian Nakhaimousa                0.20 Conference with W. Thompson re contract
                                               rejection.
07/25/21 Brian Nakhaimousa                1.00 Review, revise memorandum re executory
                                               contract issue.
07/26/21 Dave Gremling                    0.20 Correspond with K&E team, A&M re
                                               executory contracts.
07/26/21 Brian Nakhaimousa                0.20 Correspond with D. Gremling, A&M re
                                               executory contract issue.
07/27/21 Dave Gremling                    0.40 Conference with W. Thompson, B.
                                               Nakhaimousa, K&E team re executory
                                               contract issues.
07/27/21 Jason T. Jarvis                  0.30 Review, analyze executory contract.
07/27/21 Brian Nakhaimousa                0.10 Correspond with D. Hunter, D. Gremling,
                                               A&M re executory contract question.



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Intelsat S.A.                                               Matter Number:         48457-8
Executory Contracts and Unexpired Leases

Date     Name                            Hours Description
07/27/21 Robert Orren                     1.50 Retrieve precedent re adequate assurance in
                                               lease assumption (1.2); correspond with B.
                                               Nakhaimousa re same (.3).
07/28/21 Jason T. Jarvis                  0.60 Research re executory contracts.
07/28/21 Jason T. Jarvis                  0.10 Correspond with R. Orren, K&E team re
                                               research re executory contracts.
07/29/21 Dave Gremling                    0.60 Analyze issues re Company executory
                                               contracts.
07/29/21 Jason T. Jarvis                  0.20 Correspond with M. Alden, K&E team re
                                               research re executory contracts.
07/29/21 Brian Nakhaimousa                0.20 Correspond with D. Gremling re executory
                                               contracts issues.
07/30/21 Dave Gremling                    0.40 Analyze issues re Company executory
                                               contracts.

Total                                    16.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049140
                                                                               Client Matter: 48457-9

In the Matter of Business Operations




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 131,170.00
Total legal services rendered                                                                                $ 131,170.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:         48457-9
Business Operations




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          5.20     875.00          4,550.00
Nicholas A. Binder                                   13.90     875.00         12,162.50
Alexia Renee Brancato                                 0.50   1,095.00            547.50
Emily Flynn                                           1.80     995.00          1,791.00
Dave Gremling                                        23.00     875.00         20,125.00
Anthony R. Grossi                                     2.10   1,220.00          2,562.00
Jacqueline Hahn                                       1.50     285.00            427.50
Derek I. Hunter                                      10.00   1,125.00         11,250.00
Jason T. Jarvis                                       0.40     765.00            306.00
Brian Nakhaimousa                                    41.10     765.00         31,441.50
Shawn OHargan, P.C.                                   0.50   1,355.00            677.50
Robert Orren                                          8.50     460.00          3,910.00
Benjamin P. Stone                                    12.60     765.00          9,639.00
William Thompson                                     30.60     765.00         23,409.00
Lydia Yale                                            7.90     285.00          2,251.50
Donna Zamir                                           8.00     765.00          6,120.00

TOTALS                                              167.60                 $ 131,170.00




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Business Operations


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Emily Flynn                      0.60 Review OCP declarations (.3); correspond
                                               with Company re same (.1); draft amended
                                               OCP list (.2).
07/01/21 Dave Gremling                    1.30 Review pleadings re vendor bankruptcy (.9);
                                               correspond with K&E team, Company re
                                               same (.4).
07/01/21 Benjamin P. Stone                0.90 Conference with D. Gremling, A&M, the
                                               Company re vendor issues (.3); analyze
                                               contract re same (.3); correspond with D.
                                               Gremling re same (.2); correspond with A&M
                                               re same (.1).
07/02/21 Dave Gremling                    0.60 Analyze issues re vendor chapter 11 case.
07/02/21 Anthony R. Grossi                0.70 Correspond with Company re customer
                                               issues.
07/05/21 Dave Gremling                    1.50 Review, analyze issues re vendor chapter 11
                                               cases (1.2); correspond with K&E team,
                                               Company re same (.3).
07/06/21 Dave Gremling                    0.90 Analyze issues re vendor chapter 11 cases.
07/06/21 Brian Nakhaimousa                0.50 Review list stay precedent re customer matter.
07/07/21 Dave Gremling                    0.90 Analyze issues re vendor assumption
                                               agreement (.6); correspond with Company re
                                               same (.3).
07/07/21 Brian Nakhaimousa                0.20 Conference with D. Gremling re customer's
                                               chapter 11 cases.
07/07/21 Brian Nakhaimousa                0.10 Correspond with Kekst re press coverage.
07/07/21 Brian Nakhaimousa                0.50 Review precedent re customer's chapter 11
                                               issue.
07/08/21 Emily Flynn                      0.60 Correspond with Company re OCPs (.2); draft
                                               amended OCP list (.4).
07/08/21 Dave Gremling                    1.00 Analyze issues re vendor chapter 11 cases.
07/08/21 Brian Nakhaimousa                0.30 Conference with W. Thompson re customer's
                                               chapter 11 matter (.2); correspond with R.
                                               Orren re same (.1).
07/08/21 Benjamin P. Stone                0.20 Conference with D. Gremling, A&M, the
                                               Company re vendor issues.
07/09/21 Emily Flynn                      0.30 Correspond with D. Hunter re OCPs (.2);
                                               prepare amended list re filing (.1).




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Business Operations

Date     Name                            Hours Description
07/09/21 Dave Gremling                    0.90 Analyze issues re vendor assumption
                                               agreement (.5); analyze issues re vendor
                                               chapter 11 filing (.4).
07/09/21 Brian Nakhaimousa                0.40 Telephone conference with W. Thompson re
                                               customer's chapter 11 cases (.3); correspond
                                               with L. Saal lift stay motion (.1).
07/09/21 Brian Nakhaimousa                0.10 Review customer's chapter 11 omnibus
                                               objections.
07/09/21 Brian Nakhaimousa                0.10 Correspond with Kekst re press coverage.
07/09/21 William Thompson                 0.10 Review case updates re vendor bankruptcy.
07/10/21 Brian Nakhaimousa                0.40 Review customer's chapter 11 omnibus
                                               objections.
07/12/21 Dave Gremling                    0.60 Correspond with B. Nakhaimousa re vendor
                                               chapter 11 cases issues.
07/12/21 Derek I. Hunter                  0.40 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
07/12/21 Brian Nakhaimousa                0.70 Correspond with Kekst re press coverage (.1);
                                               conference with K&E team re lift stay motion
                                               re customer's chapter 11 cases (.6).
07/12/21 Donna Zamir                      5.80 Research re Company business issue (3.1);
                                               review, analyze materials re same (2.3);
                                               correspond with D. Hunter re same (.4).
07/13/21 Derek I. Hunter                  0.60 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.4); review analysis re same (.2).
07/13/21 Brian Nakhaimousa                0.10 Correspond with Kekst re press coverage.
07/13/21 Shawn OHargan, P.C.              0.50 Telephone conference with A. Kimball re
                                               governance term sheet.
07/13/21 Donna Zamir                      2.20 Analyze, research re Company business issue
                                               (1.8); correspond with D. Hunter, A. Grossi re
                                               same (.4).
07/14/21 Dave Gremling                    1.50 Analyze issues re vendor bankruptcy (1.1);
                                               conference with vendor Counsel, K&E team
                                               re same (.2); prepare for same (.2).
07/14/21 Derek I. Hunter                  0.30 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
07/14/21 Brian Nakhaimousa                1.00 Attend conference with D. Gremling, W.
                                               Thompson re customer's chapter 11 cases (.4);
                                               review lift stay motion re same (.6).


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Business Operations

Date     Name                            Hours Description
07/14/21 Robert Orren                     0.30 Correspond with W. Thompson re case
                                               conferences in customer’s chapter 11 case
                                               (.2); review notices re same (.1).
07/14/21 Benjamin P. Stone                0.60 Conference with D. Gremling, the Company,
                                               vendor re proposed contract (.3); review
                                               materials re same (.3).
07/14/21 William Thompson                 1.40 Correspond with D. Gremling, B.
                                               Nakhaimousa re vendor chapter 11 filing.
07/15/21 Benjamin P. Stone                1.20 Review, revise letter re vendor contract (.9);
                                               correspond with D. Gremling re same (.3).
07/16/21 Anthony R. Grossi                0.60 Correspond with K&E team and Company re
                                               customer issue.
07/16/21 Derek I. Hunter                  0.70 Conference with Company, A&M, and K&E
                                               team re certain operational inquiries (.3);
                                               correspond with Company re same (.1);
                                               review, analyze bankruptcy orders, related
                                               analyses re same (.3).
07/16/21 William Thompson                 1.10 Correspond with D. Gremling re vendor
                                               rejection status update (.9); telephone
                                               conference with Company and A. Grossi re
                                               rejection questions (.2).
07/19/21 Brian Nakhaimousa                0.60 Correspond with Kekst re press coverage (.1);
                                               draft motion to lift stay re customer's chapter
                                               11 cases (.5).
07/20/21 Nicholas A. Binder               0.60 Analyze operational consideration (.4);
                                               telephone conference with Company re same
                                               (.1); correspond with K&E team, vendor re
                                               same (.1).
07/20/21 Alexia Renee Brancato            0.50 Review, analyze, and edit default papers.
07/20/21 Dave Gremling                    0.40 Analyze issues re Russian Media Company
                                               bankruptcy (.3); correspond with K&E re
                                               same (.1).
07/20/21 Derek I. Hunter                  0.80 Conference with Company, A&M, and K&E
                                               team re certain operational inquiries (.5);
                                               review, analyze bankruptcy orders, related
                                               analyses re to same (.3).
07/20/21 Brian Nakhaimousa                0.50 Draft motion to lift stay re customer's chapter
                                               11 cases.
07/20/21 Robert Orren                     0.10 Prepare telephonic hearing appearance for B.
                                               Nakhaimousa re case of interest.
07/20/21 William Thompson                 0.80 Revise proof of claim re creditor bankruptcy.



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Business Operations

Date     Name                            Hours Description
07/21/21 Nicholas A. Binder               0.20 Telephone conference with creditor advisor re
                                               operational consideration (.1); correspond
                                               with creditor advisor re same (.1).
07/21/21 Derek I. Hunter                  0.70 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.3); review analysis re same (.4).
07/21/21 Brian Nakhaimousa                4.20 Monitor customer's chapter 11 cases (.3);
                                               draft motion to lift stay re customer's chapter
                                               11 cases (3.8); correspond with W. Thompson
                                               re same (.1).
07/21/21 William Thompson                 0.60 Revise motion re creditor bankruptcy re
                                               EDNY case law.
07/22/21 Maggie Alden                     2.90 Research, analyze assignment issue (2.5);
                                               correspond with D. Hunter, A. Sexton re same
                                               (.2); correspond with Company re same (.2).
07/22/21 Nicholas A. Binder               3.90 Review, compile cleansing material (.8);
                                               telephone conference with PJT team re same
                                               (.1); telephone conference with B. Stone re
                                               same (.1); correspond with K&E, PJT teams
                                               re same (.2); telephone conference with
                                               creditors, Company, K&E team re operational
                                               considerations (1.2); analyze same (.9);
                                               correspond with A. Grossi re same (.6).
07/22/21 Dave Gremling                    1.40 Analyze issues re customer bankruptcy (1.1);
                                               correspond with K&E team re same (.3).
07/22/21 Derek I. Hunter                  0.80 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.6); review analysis re same (.2).
07/22/21 Brian Nakhaimousa                1.80 Attend customer's chapter 11 omnibus hearing
                                               (1.7); summarize same (.1).
07/22/21 Brian Nakhaimousa                3.80 Revise lift stay motion re customer's chapter
                                               11 cases (3.6); correspond with D. Gremling,
                                               W. Thompson re same (.1); correspond with
                                               same re adequate protection considerations
                                               (.1).
07/22/21 Benjamin P. Stone                2.10 Review, revise chapter 11 update re vendor
                                               letter (1.8); correspond with D. Gremling re
                                               same (.2); correspond with D. Hunter re same
                                               (.1).
07/22/21 William Thompson                 4.80 Further revise motion re creditor bankruptcy
                                               re EDNY case law (3.7); telephonically attend
                                               customer chapter 11 hearing (1.1).



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Business Operations

Date     Name                            Hours Description
07/23/21 Nicholas A. Binder               1.50 Review public reporting (1.2); correspond
                                               with D. Hunter re same (.2); correspond with
                                               vendor re operational issue (.1).
07/23/21 Dave Gremling                    1.10 Analyze issues re vendor Bankruptcy.
07/23/21 Derek I. Hunter                  0.30 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
07/23/21 Brian Nakhaimousa                0.50 Revise summary re customer's chapter 11
                                               omnibus hearing.
07/23/21 Brian Nakhaimousa                3.30 Telephone conference with D. Gremling, W.
                                               Thompson re customer's chapter 11 lift stay
                                               motion (.5); revise same (2.8).
07/23/21 Robert Orren                     3.00 Prepare pro hac vice motions for A. Grossi
                                               and S. Serajeddini re customer’s chapter 11
                                               cases (1.4); retrieve good standing
                                               certifications re same (1.0); correspond with
                                               B. Nakhaimousa, K&E team re same (.6).
07/23/21 Benjamin P. Stone                0.70 Review, revise chapter 11 update re vendor
                                               letter (.4); correspond with M. Slade re same
                                               (.2); correspond with Company re same (.1).
07/23/21 William Thompson                 0.30 Correspondence with B. Nakhaimousa re
                                               creditor bankruptcy.
07/23/21 Lydia Yale                       2.90 Submit requests for certificates of good
                                               standing.
07/24/21 Nicholas A. Binder               0.30 Review public reporting (.2); correspond with
                                               D. Maliniak, W. Rosser re same (.1).
07/24/21 Dave Gremling                    0.90 Analyze issues re vendor bankruptcy (.6);
                                               correspond with K&E team re same (.3).
07/24/21 Brian Nakhaimousa                3.20 Revise customer's chapter 11 lift stay motion.
07/24/21 Benjamin P. Stone                0.60 Review, revise chapter 11 update letter re
                                               vendor (.4); correspond with Company re
                                               same (.2).
07/24/21 William Thompson                 1.20 Review, revise motion re customer's
                                               bankruptcy case.
07/25/21 Brian Nakhaimousa                2.70 Revise lift stay motion re customers chapter
                                               11 cases (2.3); revise proof of claim re same
                                               (.4).
07/25/21 William Thompson                 0.40 Further revise motion re customer's
                                               bankruptcy case.
07/26/21 Nicholas A. Binder               1.40 Review, revise public filings (1.2);
                                               correspond with K&E team re same (.2).
07/26/21 Dave Gremling                    0.80 Analyze issues re vendor bankruptcy.

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Business Operations

Date     Name                            Hours Description
07/26/21 Derek I. Hunter                  0.50 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.2); review analysis re same (.3).
07/26/21 Brian Nakhaimousa                2.10 Correspond with Kekst re press coverage (.1);
                                               research issue re customer's chapter 11 cases
                                               (1.2); review, summarize correspondences
                                               between Company and customer re customer's
                                               chapter 11 cases (.8).
07/26/21 Robert Orren                     1.50 Retrieve good standing certifications for S.
                                               Serajeddini and A. Grossi pro hac vices in
                                               customer’s chapter 11 cases (1.3); correspond
                                               with L. Yale re same (.2).
07/26/21 William Thompson                 3.40 Research re precedent re adequate assurance
                                               (2.6); further revise motion re customer's
                                               bankruptcy case (.8).
07/26/21 Lydia Yale                       1.00 Correspond with K. Vega, R. Orren, and S.
                                               Serajeddini re certificates of good standing.
07/27/21 Nicholas A. Binder               0.60 Conference with K&E team re operational
                                               consideration (.1); analyze same (.2);
                                               correspond with K&E team re same (.2);
                                               correspond with Company, vendor counsel re
                                               vendor issue (.1).
07/27/21 Dave Gremling                    1.40 Analyze issues re vendor bankruptcy (.9);
                                               conference with W. Thompson, B.
                                               Nakhaimousa, K&E team re same (.5).
07/27/21 Jacqueline Hahn                  1.00 Prepare certificate of good standing requests.
07/27/21 Derek I. Hunter                  1.70 Review, analyze analysis re creditor matter
                                               and potential issues associated with same (.8);
                                               correspond with K&E team re same (.2);
                                               conference with A&M re general operational
                                               inquiries and related analyses (.7).
07/27/21 Jason T. Jarvis                  0.40 Review, analyze vendor issues.
07/27/21 Brian Nakhaimousa                2.50 Telephone conference with D. Gremling, W.
                                               Thompson re customer's chapter 11 cases (.7);
                                               revise pleadings re same (.5); research issue
                                               re same (1.3).
07/27/21 Robert Orren                     1.50 Prepare pro hac vices in customer’s chapter
                                               11 cases (.8); retrieve good standings for
                                               same (.3); correspond with B. Nakhaimousa,
                                               K&E team re same (.4).
07/27/21 Benjamin P. Stone                3.40 Review, revise potential vendor service
                                               agreement (3.1); correspond with D.
                                               Gremling re same (.3).

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Business Operations

Date     Name                            Hours Description
07/27/21 William Thompson                 3.20 Revise motion re customer's bankruptcy case
                                               re comments from D. Gremling (1.9);
                                               telephone conference re same (.5); conference
                                               with B. Nakhaimousa, K&E team re contract
                                               rejection reply (.8).
07/28/21 Maggie Alden                     0.20 Correspond with D. Hunter, J. Jarvis re
                                               creditor-side matter.
07/28/21 Nicholas A. Binder               2.10 Analyze operational considerations re case
                                               costs (1.6); telephone conference with K&E
                                               team re same (.5).
07/28/21 Jacqueline Hahn                  0.50 Draft pro hac vice motions for A. Gross and
                                               D. Hunter.
07/28/21 Derek I. Hunter                  1.60 Correspond with Company K&E team,
                                               Debtor advisors re status of operational issues
                                               (.3); analyze bankruptcy court order
                                               considerations re same (.2); review, analyze,
                                               and revise motion re to potential creditor
                                               matter (1.1).
07/28/21 Brian Nakhaimousa                0.90 Research customer's chapter 11 cases
                                               adequate protection issue.
07/28/21 Robert Orren                     2.10 Review pro hac vices in customer’s chapter
                                               11 cases (.8); prepare same for filing (.9);
                                               correspond with K&E team re same (.4).
07/28/21 Benjamin P. Stone                1.60 Draft summary re proposed changes to
                                               potential vendor agreement (1.1); correspond
                                               with D. Gremling re same (.3); correspond
                                               with Company re same (.2).
07/28/21 William Thompson                 3.60 Further revise motion re customer's
                                               bankruptcy case.
07/28/21 Lydia Yale                       4.00 Review, revise pro hac vices (2.0); organize
                                               supporting documents re same (1.0);
                                               correspond with J. Hahn, R. Orren, and H.
                                               David re same (1.0).
07/29/21 Maggie Alden                     0.20 Correspond with J. Jarvis, K&E team re
                                               creditor matter.
07/29/21 Nicholas A. Binder               0.20 Correspond with vendor counsel re vendor
                                               issue.
07/29/21 Dave Gremling                    0.30 Analyze issues re vendor bankruptcy.
07/29/21 Dave Gremling                    2.80 Analyze issues re vendor bankruptcy (.4);
                                               revise pleadings re same (2.4).
07/29/21 Anthony R. Grossi                0.40 Correspond with Company re customer
                                               issues.


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Intelsat S.A.                                               Matter Number:         48457-9
Business Operations

Date     Name                            Hours Description
07/29/21 Brian Nakhaimousa                4.60 Revise lift stay motion re customer's chapter
                                               11 cases.
07/30/21 Maggie Alden                     1.90 Correspond with K&E team re creditor matter
                                               (.5); correspond with J. Jarvis, K&E team re
                                               same (.5); correspond with D. Hunter re status
                                               update re same (.1); review, analyze filings re
                                               same (.8).
07/30/21 Nicholas A. Binder               3.10 Conference with Company, vendor counsel re
                                               operational issue (.1); telephone conference
                                               with vendor counsel re same (.2); analyze
                                               same (.4); analyze considerations re case costs
                                               (.4); telephone conferences with K&E team,
                                               Company re same (1.7); telephone conference
                                               with A&M re same (.3).
07/30/21 Emily Flynn                      0.30 Draft notice re OCP fees.
07/30/21 Dave Gremling                    4.70 Analyze issues re vendor bankruptcy (.8);
                                               revise pleadings re same (1.2); prepare for
                                               and participate in vendor section 341 meeting
                                               of creditors (1.8); correspond with B.
                                               Nakhaimousa, K&E team re issues re same
                                               (.9).
07/30/21 Anthony R. Grossi                0.40 Correspond with Company re customer
                                               issues.
07/30/21 Derek I. Hunter                  1.10 Correspond with K&E team, Company re
                                               creditor matter (.3); analyze documents re
                                               same (.8).
07/30/21 Brian Nakhaimousa                3.50 Attend 341 meeting re customer's chapter 11
                                               cases (2.5); correspond with D. Gremling,
                                               K&E team, A&M, re issues re customer's
                                               chapter 11 cases (.5); revise motion re issue re
                                               customer's chapter 11 cases (.5).
07/30/21 Benjamin P. Stone                1.30 Review, analyze vendor contract re
                                               termination provisions (1.1); correspond with
                                               D. Gremling re same (.2).
07/30/21 William Thompson                 4.60 Telephone conference re customer's
                                               bankruptcy 341 meeting (1.8); conference
                                               with B. Nakhaimousa and D. Gremling re
                                               same (.6); draft summary re same (2.2).
07/31/21 Derek I. Hunter                  0.50 Review, analyze draft materials re creditor
                                               matter.
07/31/21 Brian Nakhaimousa                2.50 Draft letter re customer's chapter 11 cases
                                               issue.



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Business Operations

Date     Name                            Hours Description
07/31/21 William Thompson                 5.10 Revise letter re customer's bankruptcy case
                                               (.6); review customer's contract re termination
                                               analysis (3.1); correspond with D. Hunter re
                                               same (1.4).

Total                                   167.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049141
                                                                               Client Matter: 48457-10

In the Matter of Claims Administration




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 402,402.00
Total legal services rendered                                                                                $ 402,402.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Claims Administration




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          0.90     875.00            787.50
Emily Flynn                                           0.50     995.00            497.50
Julian Gamboa                                        16.10     430.00          6,923.00
Michael A. Glick                                      3.60   1,325.00          4,770.00
Dave Gremling                                        31.00     875.00         27,125.00
Anthony R. Grossi                                     2.00   1,220.00          2,440.00
Abby Rose Hollenstein                                38.30     945.00         36,193.50
Derek I. Hunter                                       3.30   1,125.00          3,712.50
Jason T. Jarvis                                      15.50     765.00         11,857.50
Tyler R. Knutson                                      2.80     765.00          2,142.00
Emily Merki Long                                     39.60   1,080.00         42,768.00
Saunders McElroy                                     99.10     865.00         85,721.50
Brian Nakhaimousa                                     0.20     765.00            153.00
Robert Orren                                          0.40     460.00            184.00
Nicholas Perrone                                     41.30     350.00         14,455.00
Palmer Quamme                                        13.30     945.00         12,568.50
Gary M. Vogt                                         40.50     460.00         18,630.00
Eric J. Wendorf                                      13.70     765.00         10,480.50
Chambliss Williams                                   54.60     875.00         47,775.00
Jeffrey J. Zeiger, P.C.                              48.60   1,495.00         72,657.00
Lauren Zipp                                           2.20     255.00            561.00

TOTALS                                              467.50                 $ 402,402.00




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Claims Administration


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Emily Flynn                      0.20 Correspond with D. Gremling re claims.
07/01/21 Julian Gamboa                    0.30 Conference with B. Arnault, G. Vogt, and
                                               Special Counsel re correspondence analysis.
07/01/21 Abby Rose Hollenstein            0.90 Review and revise exhibit list.
07/01/21 Emily Merki Long                 2.10 Draft trial plan.
07/01/21 Saunders McElroy                 6.10 Review and analyze deposition transcripts re
                                               key testimony and documents for pleadings
                                               (3.3); draft outline re same (2.8).
07/01/21 Eric J. Wendorf                  1.00 Revise memorandum re claims issue (.6);
                                               correspond with S. Seneczko re same (.1);
                                               correspond with D. Hunter re same (.1);
                                               correspond with A. Grossi, B. Arnault re
                                               same (.2).
07/01/21 Chambliss Williams               3.80 Revise outline re claims issue, related
                                               pleadings (3.1); correspond with D. Gremling,
                                               T. Knutson, E. Wendorf re same (.7).
07/02/21 Julian Gamboa                    0.30 Telephone conference with M. Slade, K&E
                                               team re trial preparations.
07/02/21 Michael A. Glick                 0.70 Telephone conference with M. Slade and E.
                                               Long re trial preparation and strategy.
07/02/21 Dave Gremling                    3.00 Revise summary re issue re claims (1.8);
                                               review, analyze motion re same (.9);
                                               correspond with C. Williams, K&E team re
                                               same (.3).
07/02/21 Abby Rose Hollenstein            0.90 Telephone conference with K&E team re trial
                                               preparations.
07/02/21 Emily Merki Long                 3.60 Telephone conference with K&E team re pre-
                                               trial tasks (1.2); review exhibit list (1.3); draft
                                               trial plan (1.1).
07/02/21 Saunders McElroy                 5.80 Telephone conference with M. Slade, M.
                                               Glick, J. O’Quinn, and K&E team re trial plan
                                               and strategy (.9); draft outline re summary
                                               judgment pleading (3.0); research re
                                               deposition testimony and documents re same
                                               (1.9).
07/02/21 Gary M. Vogt                     2.50 Participate in conference with E. Long, K&E
                                               team re case status, outstanding issues (1.0);
                                               review additional, updated information re trial
                                               space, accommodation arrangements (.9);
                                               correspond with K&E team re same (.6).

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Date     Name                            Hours Description
07/02/21 Eric J. Wendorf                   0.50 Telephone conference with D. Gremling re
                                                certain claims, related pleadings (.1);
                                                correspond with K&E team re same (.2);
                                                revise pleadings re same (.2).
07/02/21 Jeffrey J. Zeiger, P.C.           0.80 Telephone conference with K&E team re trial
                                                assignments and strategy.
07/04/21 Saunders McElroy                  5.20 Draft outline re summary judgment pleading
                                                (3.5); identify key deposition testimony re
                                                factual support in same (1.7).
07/05/21 Dave Gremling                     0.60 Revise pleading re settlement of certain
                                                claims.
07/05/21 Abby Rose Hollenstein             2.40 Draft pleading re legal issues.
07/05/21 Abby Rose Hollenstein             0.80 Review and revise exhibit list re SES witness
                                                deposition transcripts.
07/05/21 Saunders McElroy                  9.20 Review and analyze trial exhibits re trial
                                                witnesses (2.6); revise trial exhibit list re
                                                same (1.5); review and analyze documents re
                                                identification of potential exhibits for trial
                                                exhibit list (3.0); review and analyze
                                                documents re same (1.5); draft summary re
                                                additional potential exhibits for same (.6).
07/05/21 Eric J. Wendorf                   0.50 Compile precedent re claims issue (.3);
                                                correspond with S. Seneczko re same (.2).
07/06/21 Julian Gamboa                     2.00 Review and revise draft trial exhibit list.
07/06/21 Dave Gremling                     0.40 Analyze issues re certain asserted claims.
07/06/21 Tyler R. Knutson                  1.90 Draft summary and citation of research re
                                                litigation discovery items (.9); review and
                                                analyze materials re same (.6); review and
                                                analyze precedent re draft declarations (.4).
07/06/21 Saunders McElroy                 11.30 Review and analyze exhibits for citation in
                                                opposition to motion for summary judgment
                                                (2.9); review and analyze opening motion for
                                                summary judgment to identify key sections to
                                                repurpose for opposition brief (1.9); draft
                                                background section of opposition brief for
                                                August 2017 to June 2018 time period (2.7);
                                                draft background section of opposition brief
                                                for June 2018 to September 2018 time period
                                                (3.8).
07/06/21 Nicholas Perrone                  1.90 Review discovery materials re certain claim-
                                                related documents, pleadings.




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Date     Name                            Hours Description
07/06/21 Palmer Quamme                    4.10 Review and analyze prior deposition exhibits
                                               re inclusion in draft exhibit list (3.3); further
                                               review and analyze re same (.8).
07/06/21 Eric J. Wendorf                  0.90 Correspond with D. Maliniak, D. Gremling,
                                               W. Rosser re claims issue (.4); revise pleading
                                               re same (.2); research re same (.3).
07/06/21 Jeffrey J. Zeiger, P.C.          2.70 Analyze witness deposition exhibits (1.8);
                                               outline for trial re same (.9).
07/07/21 Julian Gamboa                    0.10 Conference with G. Vogt re document
                                               productions.
07/07/21 Saunders McElroy                 7.40 Review and analyze exhibits re summary
                                               judgment pleading (2.1); draft same (1.5);
                                               further draft re same (3.8).
07/07/21 Palmer Quamme                    1.00 Research precedent re pleadings (.7);
                                               correspond with L. Wolk re same (.3).
07/07/21 Eric J. Wendorf                  5.00 Telephone conference with S. Seneczko, W.
                                               Thompson, N. Binder re claims issues (.3);
                                               research re same (2.7); correspond with S.
                                               Seneczko re same (.2); draft analysis re same
                                               (1.6); correspond with N. Binder, S. Seneczko
                                               re same (.2).
07/07/21 Jeffrey J. Zeiger, P.C.          0.20 Analyze correspondence re outstanding
                                               discovery issues.
07/08/21 Julian Gamboa                    1.30 Research re document productions (.7);
                                               conference with G. Vogt re same (.4); assist
                                               with service to relevant party re same (.2).
07/08/21 Michael A. Glick                 0.20 Correspond with S. McElroy and A.
                                               Hollenstein re SES trial.
07/08/21 Abby Rose Hollenstein            0.50 Review and revise exhibit list per team input
                                               re status.
07/08/21 Emily Merki Long                 1.30 Coordinate with A. Hollenstein and P.
                                               Quamme re production of witness
                                               communications (.6); coordinate with related
                                               party counsel re collection of additional
                                               documents (.7).
07/08/21 Saunders McElroy                 7.70 Draft pleadings re negotiations with the FCC,
                                               FCC order (3.5); review and analyze exhibits
                                               re same (1.1); draft same re asset allocation
                                               (3.1).
07/08/21 Palmer Quamme                    1.10 Research precedent re factual legal standards
                                               (.9); correspond with L. Wolk re same (.2).



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Date     Name                            Hours Description
07/08/21 Eric J. Wendorf                   1.50 Correspond with N. Binder re certain claims
                                                issue (.2); review docket, transcripts re same
                                                (.7); review internal correspondence re same
                                                (.3); telephone conference with N. Binder re
                                                same (.3).
07/09/21 Michael A. Glick                  0.50 Review and approve plan re preparation of
                                                deposition designations.
07/09/21 Abby Rose Hollenstein             0.50 Participate in telephone conference with K&E
                                                team re deposition designation projects.
07/09/21 Abby Rose Hollenstein             1.40 Compile documents re exhibit list.
07/09/21 Emily Merki Long                  0.40 Telephone conference with P. Quamme, A.
                                                Hollenstein and S. McElroy re deposition
                                                designations.
07/09/21 Saunders McElroy                 11.30 Telephone conference with E. Long, A.
                                                Hollenstein, and P. Quamme re strategy for
                                                trial deposition designations (.5); review and
                                                revise pleadings (3.7); further review and
                                                revise same re facts (.8); further review and
                                                revise same re extrinsic evidence (3.9);
                                                research and analyze pleadings, precedent,
                                                and relevant documents re factual support for
                                                same (2.4).
07/09/21 Palmer Quamme                     1.00 Coordinate re production.
07/09/21 Eric J. Wendorf                   3.40 Correspond with S. Seneczko re claims issue
                                                (.3); draft summary re same (2.7); correspond
                                                with S. Seneczko, N. Binder, W. Thompson
                                                re same (.4).
07/09/21 Jeffrey J. Zeiger, P.C.           0.10 Review correspondence re outstanding
                                                discovery issues.
07/10/21 Saunders McElroy                  1.40 Revise pleading re certain claim-related
                                                issues.
07/12/21 Julian Gamboa                     3.80 Review and revise draft trial exhibit list.
07/12/21 Anthony R. Grossi                 0.90 Correspond with K&E team re SES claim
                                                issues.
07/12/21 Abby Rose Hollenstein             1.70 Review documents re witness testimony for
                                                pleading re summary judgment (1.0); review
                                                production (.7).
07/12/21 Tyler R. Knutson                  0.90 Review and revise memorandum re claim
                                                issues.
07/12/21 Emily Merki Long                  1.40 Review production.
07/12/21 Saunders McElroy                  7.90 Revise pleading re summary judgment (3.5);
                                                draft same (4.4).


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Date     Name                            Hours Description
07/12/21 Nicholas Perrone                 3.60 Review and revise pleading re summary
                                               judgment (1.6); review and revise citations re
                                               exhibits and transcripts (.9); compile same
                                               (.6); review and revise excerpts from same
                                               (.1); review and revise citations re same (.4).
07/12/21 Gary M. Vogt                     2.30 Coordinate compilation of exhibit materials re
                                               SES motion for summary judgment (.3);
                                               review same (.5); research, compile
                                               information for preparation of objection to
                                               SES motion for summary judgment (1.5).
07/12/21 Jeffrey J. Zeiger, P.C.          4.90 Analyze witness deposition transcript and
                                               exhibits (2.7); outline same (2.2).
07/13/21 Julian Gamboa                    0.70 Review and revise draft trial exhibit list (.4);
                                               conference with A. Hollenstein re same (.3).
07/13/21 Michael A. Glick                 1.00 Conference with A. Hollenstein and S.
                                               McElroy re trial examination preparation.
07/13/21 Dave Gremling                    0.90 Revise pleadings re certain claims.
07/13/21 Abby Rose Hollenstein            1.20 Conference with M. Glick and S. McElroy re
                                               witness outlines.
07/13/21 Abby Rose Hollenstein            0.70 Review and revise exhibit list.
07/13/21 Emily Merki Long                 5.30 Review and revise exhibit list.
07/13/21 Saunders McElroy                 6.40 Draft summary of pleading re summary
                                               judgment for client review (1.8); revise
                                               summary re same (3.7); conference with M.
                                               Glick and A. Hollenstein re strategy for
                                               witness trial outlines (.9).
07/13/21 Nicholas Perrone                 7.40 Review opposition brief (2.4); document
                                               exhibit citation and deposition transcript cites
                                               (1.6); compile exhibits (1.1); excerpt
                                               transcripts (.9); review and revise brief re
                                               facts and citations (1.4).
07/13/21 Palmer Quamme                    0.80 Participate in conference with K&E team re
                                               strategy.
07/13/21 Gary M. Vogt                     7.20 Coordinate review and update of exhibits re
                                               opposition to SES motion for summary
                                               judgment (.5); review, coordinate matters re
                                               special master matters (.5); review, coordinate
                                               matters re additional service of special
                                               committee productions (.2); research re
                                               objection to SES motion for summary
                                               judgment (2.1); review citations re same (3.9).
07/13/21 Jeffrey J. Zeiger, P.C.          5.10 Revise objection to SES motion for summary
                                               judgment.

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Date     Name                            Hours Description
07/14/21 Abby Rose Hollenstein            0.20 Participate in conference re claims by
                                               interested parties.
07/14/21 Abby Rose Hollenstein            3.90 Research re various evidentiary issues.
07/14/21 Saunders McElroy                 5.60 Conference with M. Slade, E. Long, A.
                                               Hollenstein, and P. Quamme re demand letter
                                               (.3); identify deposition testimony re response
                                               to same (.2); review and revise opposition
                                               brief (2.1); further review and revise same
                                               (2.3); revise summary re same for client
                                               review (.7).
07/14/21 Nicholas Perrone                 5.90 Review opposition brief (1.7); document
                                               exhibit citations and deposition transcripts
                                               (1.2); compile exhibits, excerpted transcripts
                                               re same (2.2); review and analyze same (.8).
07/14/21 Palmer Quamme                    0.30 Participate in conference with K&E team re
                                               SES claim objection.
07/14/21 Gary M. Vogt                     2.30 Research information, materials requested for
                                               preparation of objection to SES motion for
                                               summary judgment (1.3); review and analyze
                                               revised objection to SES motion for summary
                                               judgment (1.0).
07/14/21 Jeffrey J. Zeiger, P.C.          0.20 Review and analyze talking points re
                                               pleadings (.1); analyze research re trial
                                               evidentiary issues (.1).
07/15/21 Dave Gremling                    2.80 Revise motion re settlement of certain claims
                                               (2.5); correspond with K&E team re same
                                               (.3).
07/15/21 Abby Rose Hollenstein            1.80 Compiled evidence re the stock sale,
                                               including key deposition testimony and
                                               documents.
07/15/21 Abby Rose Hollenstein            3.10 Research re evidentiary admissibility of FCC
                                               filings.
07/15/21 Emily Merki Long                 1.30 Summarize witness testimony, documentation
                                               re securities sale.
07/15/21 Saunders McElroy                 7.10 Review and revise pleading re summary
                                               judgment (2.4); review and analyze draft
                                               exhibits re same (1.5); conference with G.
                                               Vogt and N. Perrone re additional revisions re
                                               same (.5); further revise same (1.3); research
                                               and analyze additional exhibits re same (.3);
                                               identify relevant language in same re
                                               redactions (1.1).



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Date     Name                            Hours Description
07/15/21 Nicholas Perrone                 9.40 Review pleading re summary judgment (2.1);
                                               document exhibit and deposition transcript
                                               citations (2.8); compile exhibits and excerpt
                                               transcripts re same (3.2); review and revise
                                               same re facts, citations (1.3).
07/15/21 Palmer Quamme                    1.00 Draft summary re certain stock sale
                                               documentation.
07/15/21 Gary M. Vogt                     5.80 Review, update, fact check objection to SES
                                               motion for summary judgment (1.7); review,
                                               update exhibits re same (1.8); review, revise
                                               deposition exhibit citations in pleading (1.5);
                                               cite check new case citations added to
                                               objection (.3); coordinate preparation of table
                                               of contents, table of exhibits in objection (.5).
07/15/21 Chambliss Williams               3.70 Review, revise motions re claims settlements.
07/15/21 Jeffrey J. Zeiger, P.C.          5.70 Revise witness deposition summary (.4);
                                               outline of key points for trial (1.2); analyze
                                               witness deposition, exhibits (1.8); outline
                                               talking points re same (2.3).
07/15/21 Lauren Zipp                      1.00 Review and confirm exhibit numbering re
                                               objection to SES' Motion for Summary
                                               Judgment.
07/16/21 Julian Gamboa                    1.90 Assist S. McElroy and E. Long re
                                               troubleshooting issues with near final brief
                                               (.4); assist G. Vogt re document production
                                               quality check in anticipation of service (.7);
                                               review, process, and distribute recently filed
                                               pleadings for attorney review (.8).
07/16/21 Dave Gremling                    1.90 Review, analyze precedent re claim
                                               settlement agreements (1.6); correspond with
                                               K&E team re same (.3).
07/16/21 Derek I. Hunter                  0.70 Review, analyze, and revise claim resolution
                                               motion.
07/16/21 Emily Merki Long                 3.10 Review, analyze response brief.
07/16/21 Saunders McElroy                 4.10 Revise and finalize opposition to SES motion
                                               for summary judgment.
07/16/21 Brian Nakhaimousa                0.20 Correspond with Stretto re docket notices (.1);
                                               telephone conference with same re same (.1).




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Date     Name                            Hours Description
07/16/21 Nicholas Perrone                 6.20 Review pleading re summary judgment (.8);
                                               document exhibit citation and deposition
                                               transcript cites re same (1.4); compile and
                                               excerpt exhibits, transcripts (1.7); review and
                                               revise brief re facts, citations (1.1); apply
                                               redactions re brief, brief exhibits (.7); compile
                                               production from special counsel project
                                               management group (.4); correspond with
                                               K&E litigation team re same (.1).
07/16/21 Gary M. Vogt                     2.00 Review, update exhibits re pleading re
                                               summary judgment for filing (1.5); review,
                                               revise final objection in preparation for filing
                                               (.5).
07/16/21 Chambliss Williams               3.90 Review precedent re claims settlement.
07/16/21 Lauren Zipp                      1.20 Review and revise Table of Contents and
                                               Table of Authorities to objection.
07/18/21 Gary M. Vogt                     0.50 Compile distributed materials requested re
                                               preparation for arguments on motions for
                                               summary judgment.
07/18/21 Jeffrey J. Zeiger, P.C.          4.90 Analyze witness deposition and exhibits (2.8);
                                               outline key points for trial re same (2.1).
07/19/21 Julian Gamboa                    0.20 Compile pleadings.
07/19/21 Michael A. Glick                 0.20 Conference with M. Slade re SES status.
07/19/21 Dave Gremling                    1.40 Review, analyze precedent re settlement
                                               orders, agreements (1.1); correspond with
                                               K&E team re same (.3).
07/19/21 Derek I. Hunter                  0.30 Correspond with K&E team re claims
                                               objection, related diligence.
07/20/21 Julian Gamboa                    0.60 Telephone conference with M. Slade, K&E
                                               team re pre-trial projects and workflow.
07/20/21 Dave Gremling                    4.20 Revise motion re claim settlement (1.4);
                                               review, analyze precedent re order, agreement
                                               re settlement (1.5); correspond with T.
                                               Knutson, K&E team re same (.8); review,
                                               analyze precedent chart re same (.5).
07/20/21 Derek I. Hunter                  0.40 Correspond with K&E team re status of
                                               claims analysis and objections.
07/20/21 Jason T. Jarvis                  2.60 Correspond with D. Hunter, M. Alden re
                                               claims issues (.4); correspond with M. Slade,
                                               D. Hunter, M. Alden re same (.1); draft
                                               memorandum re same (.4); research re same
                                               (1.5); telephone conference with M. Alden re
                                               same (.2).

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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration

Date     Name                            Hours Description
07/20/21 Emily Merki Long                 0.90 Telephone conference with K&E team re trial
                                               preparations.
07/20/21 Saunders McElroy                 0.80 Participate in conference with M. Slade, J.
                                               O’Quinn, J. Zeiger, and K&E team re strategy
                                               for trial preparation and plan for summary
                                               judgment reply brief.
07/20/21 Palmer Quamme                    1.00 Participate in conference with K&E team re
                                               trial status, outstanding issues.
07/20/21 Gary M. Vogt                     2.10 Prepare for and participate in conference with
                                               K&E team (.8); research, compile
                                               information, materials requested for
                                               preparation of reply in support of motion
                                               (1.3).
07/20/21 Chambliss Williams               5.80 Research re claim settlement term sheet (3.9);
                                               correspond with D. Gremling, T. Knutson re
                                               same (.8); review summary chart re claim
                                               settlement precedent (1.1).
07/20/21 Jeffrey J. Zeiger, P.C.          6.00 Analyze witness deposition and exhibits (1.2);
                                               outline key points for trial (3.9); participate in
                                               telephone conference with K&E team re same
                                               (.8); telephone conference with M. Slade re
                                               follow up issues (.1).
07/21/21 Dave Gremling                    1.80 Analyze issues re claims settlement (.6);
                                               revise motion re same (.9); revise term sheet
                                               re same (.3).
07/21/21 Abby Rose Hollenstein            3.10 Research re SES's unjust enrichment claim
                                               (1.8); summarize same (1.3).
07/21/21 Jason T. Jarvis                  2.40 Draft summary memorandum re claims
                                               administration (1.3); draft memorandum re
                                               claims, voting (.3); review, analyze pleadings
                                               re claims, voting (.8).
07/21/21 Emily Merki Long                 0.70 Compile background materials re certain
                                               directors.
07/21/21 Chambliss Williams               8.30 Draft term sheet re settlement of claims (3.8);
                                               correspond with D. Gremling re same (.6);
                                               revise term sheet re settlement of claims (1.1);
                                               review precedent re claims settlement (2.2);
                                               correspond with T. Knutson re same (.6).
07/21/21 Jeffrey J. Zeiger, P.C.          2.20 Analyze witness deposition and exhibits (.4);
                                               outline key points for trial re same (1.7);
                                               review and analyze draft witness list (.1).




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Claims Administration

Date     Name                            Hours Description
07/22/21 Dave Gremling                    3.10 Review, revise claim settlement motion (1.6);
                                               revise term sheet re same (1.1); correspond
                                               with C. Williams, T. Knutson re same (.4).
07/22/21 Derek I. Hunter                  0.20 Correspond with K&E team re status of
                                               claims analysis and objections.
07/22/21 Emily Merki Long                 2.30 Review documents re witness direct outline.
07/22/21 Saunders McElroy                 1.40 Review and analyze SES summary judgment
                                               opposition (.9); draft comments re response
                                               strategy (.5).
07/22/21 Gary M. Vogt                     2.20 Compile materials re claim litigation (1.8);
                                               correspond with director advisors re same
                                               (.4).
07/22/21 Eric J. Wendorf                  0.90 Telephone conference with J. Jarvis, K&E
                                               team re claims issues (.5); review modeling re
                                               same (.2); review correspondence re same
                                               (.2).
07/22/21 Chambliss Williams               9.00 Review summary chart re claim settlement
                                               term sheet (1.4); revise term sheet (1.1);
                                               correspond with D. Gremling, T. Knutson re
                                               same (1.2); analyze claims (1.4); correspond
                                               with T. Knutson re same (.4); revise term
                                               sheet re claims analysis (.3); draft term sheet
                                               for alternate resolutions of claims (1.3); revise
                                               same (1.9).
07/22/21 Jeffrey J. Zeiger, P.C.          4.40 Analyze witness deposition and exhibits (1.9);
                                               outline key points for trial re same (2.5).
07/23/21 Dave Gremling                    1.60 Revise motion re claim settlement (1.1);
                                               revise term sheet re same (.5).
07/23/21 Abby Rose Hollenstein            2.30 Research re substantive consolidation issues.
07/23/21 Abby Rose Hollenstein            3.10 Review and summarize motion to remand for
                                               team (.8); preliminary research re same (2.3).
07/23/21 Emily Merki Long                 1.70 Research re MNPI documents (1.2);
                                               summarize witness notes (.5).
07/23/21 Palmer Quamme                    0.30 Compile documents used in witness
                                               preparation (.2); correspond with M. Slade re
                                               same (.1).
07/23/21 Chambliss Williams               6.50 Review, revise claims settlement order (1.3);
                                               review comments re same (.6); review, revise
                                               motion re claims settlement (3.4); correspond
                                               with K&E team re same (1.2).




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Claims Administration

Date     Name                            Hours Description
07/23/21 Jeffrey J. Zeiger, P.C.          1.40 Telephone conference with M. Slade re trial
                                               strategy and assignments (.2); analyze SES
                                               opposition to motion for summary judgment
                                               (1.2).
07/24/21 Gary M. Vogt                     1.50 Review matters re trial re SES claims
                                               objection (.8); correspond with M. Slade re
                                               same (.7).
07/25/21 Emily Merki Long                 4.40 Draft reply brief.
07/25/21 Palmer Quamme                    0.40 Review and analyze witness deposition
                                               transcript for deposition designations.
07/26/21 Michael A. Glick                 0.50 Conference re trial and witness strategy with
                                               S. McElroy.
07/26/21 Dave Gremling                    4.30 Review, revise motion re claims settlement
                                               (3.1); revise term sheet (1.0); correspond with
                                               K&E team re same (.2).
07/26/21 Abby Rose Hollenstein            0.70 Research and analyze precedent re certain
                                               New York law issues.
07/26/21 Derek I. Hunter                  1.30 Correspond with K&E team re claims
                                               objection, related diligence (.5); review,
                                               analyze, and revise claims objection pleading
                                               (.8).
07/26/21 Emily Merki Long                 2.30 Revise reply.
07/26/21 Nicholas Perrone                 1.40 Review pleadings (.4); compile documents
                                               cited (.6); organize same (.3); compile and
                                               send to M. Slade re same (.1).
07/26/21 Gary M. Vogt                     2.50 Compile materials re information requested
                                               for preparation of pleadings (1.4); research re
                                               same (1.1).
07/26/21 Gary M. Vogt                     2.00 Assemble materials re claim litigation issue.
07/26/21 Chambliss Williams               7.10 Review, revise motion re claims settlement
                                               (3.7); revise exhibits re same (3.4).
07/27/21 Dave Gremling                    4.10 Review, revise motion re claim settlement
                                               (2.4); revise term sheet re same (1.2);
                                               correspond with K&E team re same (.4);
                                               conference with M. Alden re same (.1).
07/27/21 Abby Rose Hollenstein            1.30 Compile and annotate materials for trial prep.
07/27/21 Derek I. Hunter                  0.40 Correspond with K&E team re status of
                                               claims analysis (.2); correspond status of
                                               litigation strategy re same (.2).




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Claims Administration

Date     Name                            Hours Description
07/27/21 Jason T. Jarvis                  4.30 Review, analyze invoices, SOW re
                                               professional fees (.3); correspond with D.
                                               Gremling, K&E team re professional fees
                                               (.2); draft memorandum re same (1.6);
                                               research re same (2.2).
07/27/21 Emily Merki Long                 2.00 Revise reply brief.
07/27/21 Gary M. Vogt                     1.60 Review, coordinate matters re negotiations for
                                               hotel, trial space (1.0); correspond with K.
                                               Krause, M. Gibbons re same (.6).
07/27/21 Chambliss Williams               6.50 Review, revise claims settlement motion
                                               (3.9); correspond with D. Gremling, T.
                                               Knutson re same (2.6).
07/27/21 Jeffrey J. Zeiger, P.C.          3.80 Revise reply brief re summary judgment
                                               opposition.
07/28/21 Emily Flynn                      0.30 Telephone conference with N. Binder re
                                               claims (.1); review documents re same (.2).
07/28/21 Dave Gremling                    0.60 Revise motion re claim settlement.
07/28/21 Abby Rose Hollenstein            1.20 Compile deposition designations for witness’
                                               testimony.
07/28/21 Jason T. Jarvis                  3.70 Correspond with D. Gremling, T. Knutson re
                                               professional fees (1.5); correspond with D.
                                               Hunter re same (.3); correspond with D.
                                               Hunter, D. Gremling, T. Knutson re same
                                               (.7); review, revise memorandum re same
                                               (1.0); telephone conference with D. Hunter re
                                               same (.2).
07/28/21 Gary M. Vogt                     2.00 Review, coordinate matters re negotiations for
                                               hotel, trial space (1.5); update issue coding in
                                               transcript database (.5).
07/28/21   Jeffrey J. Zeiger, P.C.        2.30 Revise subsequent draft of reply brief.
07/29/21   Abby Rose Hollenstein          1.50 Continued creating deposition designations.
07/29/21   Emily Merki Long               1.00 Revise reply brief.
07/29/21   Robert Orren                   0.40 Distribute to B. Nakhaimousa precedent re
                                               administrative expense request.
07/29/21 Palmer Quamme                    2.30 Review and analyze witness deposition
                                               transcript re deposition designations.
07/29/21 Gary M. Vogt                     1.50 Review, coordinate matters re negotiations re
                                               hotel, trial space.
07/29/21 Jeffrey J. Zeiger, P.C.          0.20 Telephone conference with L. Wilson re
                                               settlement issues.
07/30/21 Maggie Alden                     0.90 Review draft pleadings re claims matters.


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Intelsat S.A.                                               Matter Number:        48457-10
Claims Administration

Date       Name                          Hours   Description
07/30/21   Julian Gamboa                  0.70   Assist G. Vogt re document productions.
07/30/21   Michael A. Glick               0.50   Revise draft trial witness list.
07/30/21   Dave Gremling                  0.30   Revise motion re claim settlement.
07/30/21   Abby Rose Hollenstein          0.80   Begin deposition designations for witness.
07/30/21   Abby Rose Hollenstein          4.30   Compile draft designations for witness.
07/30/21   Jason T. Jarvis                2.50   Correspond with D. Hunter, A&M, K&E
                                                 team re ordinary course professionals
                                                 schedule (.2); review, analyze same (.1);
                                                 research re professional fees (1.1); review,
                                                 analyze schedules re professional fees (1.1).
07/30/21 Emily Merki Long                 4.60   Revise reply re summary judgment.
07/30/21 Gary M. Vogt                     2.50   Review, coordinate matters re hotel, trial
                                                 space negotiations (1.0); correspond with K.
                                                 Krause, M. Gibbons, M. Slade re same (1.5).
07/30/21 Jeffrey J. Zeiger, P.C.          3.70   Telephone conference with Jones Day and S.
                                                 Serajeddini re SES issues (.5); draft
                                                 correspondence to team re same and follow
                                                 up issues (.5); telephone conference with M.
                                                 Slade and S. Serajeddini re next steps (.5);
                                                 revise subsequent draft of reply brief in
                                                 support of motion for summary judgment
                                                 (2.2).
07/31/21   Julian Gamboa                  4.20   Revise reply re summary judgment.
07/31/21   Anthony R. Grossi              1.10   Correspond with K&E team re claims issues.
07/31/21   Emily Merki Long               1.20   Revise reply in support of SJ brief.
07/31/21   Saunders McElroy               0.40   Revise draft summary judgment reply based
                                                 on comments from M. Slade.
07/31/21 Nicholas Perrone                 5.50   Review and revise summary judgment
                                                 pleading (1.7); compile documents re same
                                                 (1.2); revise re same (1.8); correspond with
                                                 K&E litigation team re same (.8).

Total                                   467.50




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049142
                                                                               Client Matter: 48457-11

In the Matter of U.S. Trustee and Statutory Reporting




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 3,841.50
Total legal services rendered                                                                                   $ 3,841.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-11
U.S. Trustee and Statutory Reporting




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        0.30      875.00            262.50
Anthony R. Grossi                                    0.30    1,220.00            366.00
Benjamin P. Stone                                    0.70      765.00            535.50
Donna Zamir                                          3.50      765.00          2,677.50

TOTALS                                                4.80                    $ 3,841.50




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Intelsat S.A.                                               Matter Number:        48457-11
U.S. Trustee and Statutory Reporting


                                  Description of Legal Services

Date     Name                            Hours Description
07/06/21 Dave Gremling                    0.30 Analyze issues re U.S. Trustee fees.
07/12/21 Benjamin P. Stone                0.70 Review, analyze issues re U.S. Trustee fees
                                               (.4); correspond with D. Hunter, D. Gremling
                                               re same (.3).
07/13/21 Donna Zamir                      0.20 Review correspondence with A&M re
                                               Monthly Operating Report.
07/14/21 Donna Zamir                      1.70 Correspond with D. Hunter, D. Gremling,
                                               A&M team re Monthly Operating Report (.5);
                                               review materials re same (1.2).
07/15/21 Donna Zamir                      1.60 Correspond with D. Hunter, D. Gremling,
                                               A&M team re Monthly Operating Report (.7);
                                               review materials re same (.9).
07/19/21 Anthony R. Grossi                0.30 Correspond with U.S. Trustee re case status.

Total                                      4.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049143
                                                                               Client Matter: 48457-12

In the Matter of Hearings




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 1,900.00
Total legal services rendered                                                                                   $ 1,900.00




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Intelsat S.A.                                               Matter Number:        48457-12
Hearings




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        0.30      875.00            262.50
Brian Nakhaimousa                                    1.90      765.00          1,453.50
Robert Orren                                         0.40      460.00            184.00

TOTALS                                                2.60                    $ 1,900.00




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Intelsat S.A.                                               Matter Number:        48457-12
Hearings


                                  Description of Legal Services

Date     Name                            Hours Description
07/05/21 Dave Gremling                    0.30 Correspond with B. Nakhaimousa re hearing
                                               scheduling.
07/05/21 Brian Nakhaimousa                1.20 Correspond with D. Hunter, D. Gremling, re
                                               July 14 hearing (.5); update works in process
                                               trackers (.7).
07/08/21 Brian Nakhaimousa                0.20 Correspond with D. Gremling, Kutak re July
                                               14 hearing (.1); conference with D. Hunter, D.
                                               Gremling re same (.1).
07/08/21 Robert Orren                     0.30 Prepare B. Nakhaimousa telephonic hearing
                                               appearance for creditor matter hearing.
07/12/21 Brian Nakhaimousa                0.10 Correspond with K&E team, advisors re April
                                               19 hearing.
07/13/21 Brian Nakhaimousa                0.40 Correspond with D. Hunter, Stretto re July
                                               omnibus hearing.
07/13/21 Robert Orren                     0.10 Correspond with B. Nakhaimousa re case
                                               hearing transcripts.

Total                                      2.60




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                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049144
                                                                               Client Matter: 48457-13

In the Matter of Non-working Travel




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 65,082.00
Total legal services rendered                                                                                  $ 65,082.00




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Intelsat S.A.                                               Matter Number:        48457-13
Non-working Travel




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    6.30     875.00          5,512.50
Dave Gremling                                         4.80     875.00          4,200.00
Anthony R. Grossi                                     3.20   1,220.00          3,904.00
Derek I. Hunter                                       5.70   1,125.00          6,412.50
Michael Lemm                                          4.00     875.00          3,500.00
Samuel J. Seneczko                                    6.00     875.00          5,250.00
Steven N. Serajeddini, P.C.                           3.20   1,495.00          4,784.00
Anthony Vincenzo Sexton                              14.30   1,325.00         18,947.50
Michael B. Slade                                      8.70   1,445.00         12,571.50

TOTALS                                               56.20                   $ 65,082.00




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Intelsat S.A.                                               Matter Number:        48457-13
Non-working Travel


                                       Description of Legal Services

Date     Name                                 Hours Description
07/01/21 Anthony R. Grossi                     1.20 Travel from Richmond, VA to New York, NY
                                                    re mediation sessions (billed at half time).
07/01/21 Derek I. Hunter                       2.00 Travel back to New York, NY from
                                                    Richmond, VA following in-person mediation
                                                    sessions (billed at half time).
07/01/21 Steven N. Serajeddini, P.C.           1.20 Travel from Richmond, VA to New York, NY
                                                    for mediation (billed at half time).
07/02/21 Anthony Vincenzo Sexton               2.50 Travel from Richmond, VA to Chicago, IL
                                                    (billed at half time).
07/02/21 Michael B. Slade                      1.30 Travel from Richmond, VA to Chicago, IL
                                                    (billed at half time).
07/05/21 Dave Gremling                         2.40 Travel from Chicago, IL to New York, NY
                                                    for negotiations (billed at half time).
07/05/21 Michael Lemm                          2.00 Travel from Chicago, IL to New York, NY
                                                    renegotiations (billed at half time).
07/05/21 Samuel J. Seneczko                    3.00 Travel from Chicago, IL to New York, NY re
                                                    special committee conference (billed at half
                                                    time).
07/05/21 Anthony Vincenzo Sexton               2.50 Travel from Chicago, IL to New York, NY
                                                    for director advisors meetings (billed at half
                                                    time).
07/05/21 Michael B. Slade                      1.30 Travel from Chicago, IL to New York, NY re
                                                    directors meetings (significant flight delays
                                                    due to weather) (billed at half time).
07/06/21 Nicholas A. Binder                    2.90 Travel from Detroit, MI to New York, NY re
                                                    negotiations (billed at half time).
07/08/21 Anthony Vincenzo Sexton               4.70 Travel from New York, NY to Chicago, IL re
                                                    DDA meetings (significant flight delays due
                                                    to weather) (billed at half time).
07/08/21 Michael B. Slade                      2.00 Attempted travel from New York, NY to
                                                    Chicago, IL (partial; significant flight delays
                                                    due to weather; flight left gate but did not take
                                                    off and returned to gate in Newark) (billed at
                                                    half time).
07/09/21 Nicholas A. Binder                    3.40 Travel from New York, NY to Detroit, MI re
                                                    negotiations (delay on tarmac) (billed at half
                                                    time).
07/09/21 Michael Lemm                          2.00 Travel back from New York, NY to Chicago,
                                                    Chicago, IL (billed at half time).


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Non-working Travel

Date     Name                            Hours Description
07/09/21 Michael B. Slade                 1.30 Travel from New York, NY to Chicago, IL
                                               (continued from 7/8) (billed at half time).
07/10/21 Samuel J. Seneczko               3.00 Travel from New York, NY to Chicago, IL re
                                               special committee conference (billed at half
                                               time).
07/11/21 Dave Gremling                    2.40 Travel from New York, NY to Chicago, IL
                                               (billed at half time).
07/14/21 Derek I. Hunter                  2.00 Travel from New York, NY to Richmond, VA
                                               re attend mediation (billed at half time).
07/14/21 Steven N. Serajeddini, P.C.      0.90 Travel from New York, NY to Richmond, VA
                                               re mediation (billed at half time).
07/14/21 Anthony Vincenzo Sexton          2.50 Travel from Chicago, IL to Richmond, VA
                                               for mediation (billed at half time).
07/14/21 Michael B. Slade                 1.50 Travel from Chicago, IL to Richmond, VA
                                               for mediation (billed at half time).
07/15/21 Anthony R. Grossi                2.00 Travel from New York, NY to Richmond, VA
                                               re mediation (billed at half time) (1.0); travel
                                               from Richmond to New York, NY re
                                               mediation (billed at half time) (1.0).
07/15/21 Steven N. Serajeddini, P.C.      1.10 Travel from Richmond, VA to New York, NY
                                               re mediation (billed at half time).
07/16/21 Derek I. Hunter                  1.70 Travel from Richmond, VA to New York, NY
                                               (billed at half time).
07/16/21 Anthony Vincenzo Sexton          2.10 Travel from Richmond, VA to Chicago, IL
                                               (billed at half time).
07/16/21 Michael B. Slade                 1.30 Travel from Richmond, VA to Chicago, IL
                                               (billed at half time).

Total                                     56.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049145
                                                                               Client Matter: 48457-14

In the Matter of Employee Issues




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 5,368.00
Total legal services rendered                                                                                   $ 5,368.00




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Legal Services for the Period Ending July 31, 2021         Invoice Number:      1050049145
Intelsat S.A.                                               Matter Number:        48457-14
Employee Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Kate Coverdale, P.C.                                 1.60    1,295.00          2,072.00
Anthony R. Grossi                                    2.20    1,220.00          2,684.00
Benjamin P. Stone                                    0.80      765.00            612.00

TOTALS                                                4.60                    $ 5,368.00




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Intelsat S.A.                                               Matter Number:        48457-14
Employee Issues


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Benjamin P. Stone                0.80 Analyze U.S. Trustee's objection re MIP.
07/06/21 Anthony R. Grossi                0.60 Correspond with K&E team re employee
                                               issues.
07/08/21 Kate Coverdale, P.C.             0.10 Correspond with A. Grossi re MIP matters.
07/08/21 Kate Coverdale, P.C.             0.80 Telephone conference with M. Bryan, S.
                                               Serajeddini, A. Grossi, and Z. Georgeson re
                                               MIP.
07/08/21 Anthony R. Grossi                0.80 Correspond with K&E team re employee
                                               issues.
07/10/21 Anthony R. Grossi                0.40 Correspond with Willis Towers working
                                               group re MIP status.
07/14/21 Kate Coverdale, P.C.             0.20 Correspond with M. Bryan and Z. Georgeson
                                               re MIP considerations.
07/14/21 Kate Coverdale, P.C.             0.50 Telephone conference with M. Bryan, S.
                                               Serajeddini, A. Grossi, Z. Georgeson and R.
                                               Beger re MIP considerations.
07/19/21 Anthony R. Grossi                0.40 Correspond with Willis Towers working
                                               group re MIP materials.

Total                                      4.60




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September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049146
                                                                               Client Matter: 48457-15

In the Matter of Insurance




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 2,062.50
Total legal services rendered                                                                                   $ 2,062.50




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Legal Services for the Period Ending July 31, 2021         Invoice Number:      1050049146
Intelsat S.A.                                               Matter Number:        48457-15
Insurance




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Dave Gremling                                        0.90      875.00            787.50
William T. Pruitt                                    1.00    1,275.00          1,275.00

TOTALS                                                1.90                    $ 2,062.50




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Legal Services for the Period Ending July 31, 2021         Invoice Number:      1050049146
Intelsat S.A.                                               Matter Number:        48457-15
Insurance


                                  Description of Legal Services

Date     Name                            Hours Description
07/15/21 William T. Pruitt                0.50 Analyze demand letter and potential coverage
                                               for and notice of same (.3); correspond with
                                               A. Grossi re same (.2).
07/16/21 Dave Gremling                    0.90 Analyze issues re Company insurance.
07/28/21 William T. Pruitt                0.50 Analyze indemnification and D&O insurance
                                               issues (.3); telephone conference with A.
                                               Grossi and D. Hunter re same (.2).

Total                                      1.90




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September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049147
                                                                               Client Matter: 48457-17

In the Matter of Tax Issues




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 144,385.00
Total legal services rendered                                                                                $ 144,385.00




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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Derek I. Hunter                                       2.40   1,125.00          2,700.00
Miles H. Johnson                                      2.00   1,225.00          2,450.00
Joe Morley                                           67.30     925.00         62,252.50
Anthony Vincenzo Sexton                              58.10   1,325.00         76,982.50

TOTALS                                              129.80                 $ 144,385.00




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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues


                                   Description of Legal Services

Date     Name                             Hours Description
07/01/21 Joe Morley                        2.90 Research tax issues (2.3); participate in
                                                telephone conference with Lux advisors re
                                                emergence structure (.6).
07/01/21 Anthony Vincenzo Sexton           5.40 Attend mediation session re tax issues (4.0);
                                                review tax modeling issues (1.4).
07/02/21 Joe Morley                        3.30 Review, revise disclosure statement (2.0);
                                                correspond with K&E team, external advisors,
                                                and client re tax disclosure (.3); discuss
                                                matter status with K&E team (.2); discuss
                                                matter status with A. Sexton (.2); review and
                                                analyze proposed emergence structure (.3);
                                                correspond with A. Sexton, K&E team re tax
                                                research issue (.3).
07/02/21 Anthony Vincenzo Sexton           0.50 Telephone conference with A. Grossi re deal
                                                structuring issues (.3); telephone conference
                                                with J. Morley re same (.2).
07/03/21 Joe Morley                        2.70 Review and analyze plan strategy
                                                considerations.
07/03/21 Anthony Vincenzo Sexton           1.90 Telephone conference with A. Grossi,
                                                Serajeddini, and M. Slade re deal structuring
                                                and related issues (1.2); review and revise
                                                deal term sheet (.2); review and revise plan
                                                (.5).
07/04/21 Joe Morley                        2.70 Review and analyze deal considerations (.5);
                                                correspond with K&E team re same (.8);
                                                make proposed edits plan materials re same
                                                (.8); review and analyze proposed edits re
                                                plan (.6).
07/04/21 Anthony Vincenzo Sexton           2.10 Review and revise plan documents.
07/05/21 Joe Morley                        1.50 Participate in telephone conference with
                                                Deloitte re matter tax issues (1.0); correspond
                                                with K&E team re tax comments to
                                                emergence documents (.5).
07/05/21 Anthony Vincenzo Sexton           2.40 Telephone conference with Company and
                                                Deloitte re status of tax modeling and related
                                                analysis (1.1); review tax analysis to prepare
                                                for DDA meeting (1.0); review settlement
                                                motion issues (.3).




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Tax Issues

Date     Name                            Hours Description
07/06/21 Joe Morley                       5.80 Participate in telephone conference with
                                               Luxembourg counsel re emergence structure
                                               (.4); correspond with A. Sexton and external
                                               advisors re tax modeling (1.0); review and
                                               analyze related issues (.3); review and revise
                                               bankruptcy plan (2.5); review and revise
                                               disclosure statement (1.6).
07/06/21 Anthony Vincenzo Sexton          5.00 Office conference with Debtor advisors re tax
                                               issues (4.3); review and analyze tax modeling
                                               materials (.7).
07/07/21 Joe Morley                       2.90 Correspond with M. Johnson re matter status
                                               (.5); review and analyze negotiation term
                                               sheets (.5); correspond with client and K&E
                                               team re tax disclosure materials (.5);
                                               correspond with K&E team re tax diligence
                                               requests (1.4).
07/07/21 Anthony Vincenzo Sexton          4.20 Participate in office conference with Debtor
                                               advisors re tax issues (3.8); review and
                                               analyze tax model materials (.4).
07/08/21 Joe Morley                       0.60 Correspond with K&E team re tax diligence
                                               (.3); correspond with external advisors re
                                               Luxembourg tax call (.3).
07/08/21 Anthony Vincenzo Sexton          3.80 In-person for DDA meeting (2.7); review and
                                               analyze tax diligence issues (.5); review and
                                               analyze tax modeling and related materials
                                               (.6).
07/09/21 Joe Morley                       3.10 Review and revise disclosure statement (2.4);
                                               review and analyze related definitive
                                               documents (.7).
07/09/21 Anthony Vincenzo Sexton          2.20 Telephone conference with A&M, PJT,
                                               Company, and various K&E team members re
                                               plan value allocation issues (1.1); telephone
                                               conference with Arnault re same (.2);
                                               telephone conference with Grossi re same
                                               (.1); telephone conference with Morley re
                                               deal analysis issues (.1); review and analyze
                                               tax modeling materials (.4); review and revise
                                               settlement materials (.3).
07/10/21 Joe Morley                       1.10 Make proposed edits to 9019 motion (1.1).
07/10/21 Anthony Vincenzo Sexton          1.10 Telephone conference with Slade, Grossi,
                                               Serajeddini re deal status and settlement
                                               issues (1.1).
07/11/21 Joe Morley                       0.20 Review and analyze settlement
                                               considerations.

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Tax Issues

Date     Name                            Hours Description
07/11/21 Anthony Vincenzo Sexton          1.40 Telephone conference with Serajeddini and
                                               other K&E team members re settlement issues
                                               (.7); review and revise settlement materials
                                               (.4); review and analyze tax modeling
                                               materials (.3).
07/12/21 Joe Morley                       4.10 Review and revise tax issues summary (1.5);
                                               review and analyze related motion (.7);
                                               correspond with K&E team and external
                                               advisors re Luxembourg NOLs (1.5); review
                                               and analyze proposed Irish Topco structure
                                               (.4).
07/12/21 Anthony Vincenzo Sexton          2.80 Telephone conference with Company and
                                               A&M re entity value allocation issues (1.1);
                                               correspond with A&M and Company re same
                                               (.6); telephone conference with DDAs re deal
                                               status (.3); review and revise disclosure
                                               statement (.2); review and revise settlement
                                               materials (.6).
07/13/21 Derek I. Hunter                  0.60 Telephone conference with K&E team, tax
                                               advisors, creditors' counsel re certain tax and
                                               accounting issues.
07/13/21 Joe Morley                       3.90 Participate in telephone conference with
                                               creditor advisors re Luxembourg debt
                                               cancellation tax issues (.7); review and
                                               analyze Luxembourg debt cancellation tax
                                               issues analysis (.7); participate in telephone
                                               conference with Luxembourg counsel re
                                               emergence structure (.9); correspond with
                                               K&E team and external advisors re disclosure
                                               statement (.7); review and analyze revised
                                               plan (.3); draft summary of current tax issues
                                               (.6).
07/13/21 Anthony Vincenzo Sexton          2.90 Telephone conference with convertible
                                               advisors (.6); telephone conference with
                                               Stroock re same (.2) review and analyze tax
                                               modeling materials (.7); telephone conference
                                               with Elvinger and others re tax and corporate
                                               structuring (.7); review and analyze treaty
                                               structuring issues (.3); review and analyze
                                               DIP issues (.3); review and revise disclosure
                                               statement (.1).




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Tax Issues

Date     Name                            Hours Description
07/14/21 Joe Morley                       2.40 Participate in telephone conference with client
                                               and external advisors re bankruptcy tax issues
                                               (1.0); review and analyze Luxembourg
                                               accounting and tax treatment memorandum
                                               (.5); draft summary of emergence timing
                                               issues (.5); review and analyze updated
                                               bankruptcy plan (.4).
07/14/21 Anthony Vincenzo Sexton          2.40 Telephone conference with company and
                                               Deloitte re tax modeling and related issues
                                               (1.1); telephone conference with COmpany
                                               and Deloitte re 1033 satellite issues (.8);
                                               review and analyze tax modeling materials
                                               (.5).
07/15/21 Joe Morley                       1.20 Correspond with external advisors re
                                               disclosure statement (.5); review and analyze
                                               draft agreement for tax issues (.7).
07/15/21 Anthony Vincenzo Sexton          3.30 On-site for mediation (3); review and analyze
                                               tax modeling and intercompany payment
                                               materials (.3).
07/16/21 Joe Morley                       1.20 Correspond with external advisors re
                                               disclosure statement (.5); review and analyze
                                               intercompany settlement agreement (.7).
07/16/21 Anthony Vincenzo Sexton          0.50 Telephone conference with DDAs re status of
                                               deal (.3); correspond with K&E team and
                                               Deloitte re fee allocation issues (.2).
07/17/21 Anthony Vincenzo Sexton          0.40 Telephone conference with Hunter, Slade, and
                                               others re deal status and related issues (.4).
07/19/21 Derek I. Hunter                  0.30 Correspond with K&E team, tax advisors re
                                               ongoing tax analyses.
07/19/21 Joe Morley                       2.10 Make proposed edits to disclosure statement
                                               (1.3); correspond with external advisors re
                                               disclosure statement (.8).
07/19/21 Anthony Vincenzo Sexton          3.20 Telephone conference with A&M and
                                               Company re plan value allocation (1);
                                               telephone conferences with Deloitte re
                                               Section 1033 issues (.9); telephone
                                               conference with Hunter re deal status (.2);
                                               telephone conference with Company re tax
                                               modeling and 1033 issues (.7); review and
                                               analyze materials re same (.4).
07/20/21 Miles H. Johnson                 0.60 Discuss status and current work-streams with
                                               J. Morley and A. Sexton.



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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues

Date     Name                            Hours Description
07/20/21 Joe Morley                       3.30 Discuss matter status with A. Sexton and M.
                                               Johnson (.7); correspond with M. Johnson re
                                               matter status (.7); participate in telephone
                                               conference with Luxembourg advisors re
                                               emergence structure (.6); review and analyze
                                               DIP financing issues (1.0); review and
                                               analyze disclosure statement (.3).
07/20/21 Anthony Vincenzo Sexton          1.20 Telephone conference with Morley and
                                               Johnson re case update and status (.6);
                                               correspond with K&E team and Deloitte re
                                               board meeting cancellation tax considerations
                                               (.2); review and analyze DIP fungibility
                                               issues (.4).
07/21/21 Miles H. Johnson                 1.10 Participate in weekly catch-up call with K&E
                                               team and Deloitte team.
07/21/21 Joe Morley                       6.00 Participate in telephone conference with client
                                               and external advisors re tax issues (1.1);
                                               research tax debt issues (3.7); review and
                                               analyze DIP credit agreement documents (.5);
                                               review and analyze proposed edits to
                                               disclosure statement (.2); correspond with
                                               external advisors re DIP credit agreement (.3);
                                               review and analyze tax diligence (.2).
07/21/21 Anthony Vincenzo Sexton          2.10 Telephone conference with Deloitte and
                                               Company re tax issues and model (1.2);
                                               review materials re DIP and DIP upsize (.2);
                                               correspond with K&E team and Deloitte re
                                               board meeting issues (.2); review discovery
                                               response issues (.1); correspond with
                                               Company re claim issues (.4).
07/22/21 Joe Morley                       1.20 Discuss debt issues with C. Davis (.4);
                                               correspond with A. Sexton, M. Johnson, and
                                               external advisors re debt issues (.7);
                                               participate in telephone conference with
                                               Luxembourg advisors re emergence structure
                                               (.1).
07/22/21 Anthony Vincenzo Sexton          0.40 Review issues re trademark assignments (.2);
                                               review DIP and DIP upsize tax issues (.2).
07/23/21 Joe Morley                       2.00 Research tax issues re indebtedness (1.3);
                                               correspond with K&E team re tax issues
                                               pertaining to indebtedness (.7).
07/23/21 Anthony Vincenzo Sexton          0.60 Telephone conference with Yenamandra re
                                               case status and tax issues (.6).



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Tax Issues

Date     Name                            Hours Description
07/24/21 Joe Morley                       2.80 Make proposed edits to disclosure statement
                                               (2.3); correspond with K&E team re DIP
                                               credit agreement (.5).
07/24/21 Anthony Vincenzo Sexton          1.20 Standing telephone conference with Slade,
                                               Serajeddini, Grossi re case status (1); review
                                               DIP materials (.2).
07/25/21 Anthony Vincenzo Sexton          0.10 Address discovery issues.
07/26/21 Joe Morley                       0.20 Correspond with N. Binder and D. Gremling
                                               re matter status (.1); review and analyze
                                               deemed interest rate analysis (.1).
07/26/21 Anthony Vincenzo Sexton          1.00 Address discovery issues (.1); telephone
                                               conference with Deloitte re 1033 issues (.7);
                                               review and analyze tax modeling issues (.2).
07/27/21 Derek I. Hunter                  0.20 Review, analyze tax analysis.
07/27/21 Miles H. Johnson                 0.30 Review and provide tax comments re:
                                               structure; discuss same with J. Morley.
07/27/21 Joe Morley                       2.80 Review and analyze tax characterization of
                                               debt costs (1.4); discuss matter status with N.
                                               Binder (.2); correspond with M. Johnson re
                                               emergence structure (1.0); discuss emergence
                                               structure with M. Johnson (.2).
07/27/21 Anthony Vincenzo Sexton          1.80 Telephone conference with Company and
                                               Deloitte re 1033 issues (1); review and
                                               analyze DIP issues (.2); address discovery
                                               response issues (.1); review and analyze claim
                                               issues (.5).
07/28/21 Joe Morley                       4.10 Participate in telephone conference with client
                                               and external advisors re matter tax issues
                                               (1.1); correspond with K&E re invoicing tax
                                               issue (1.6); review and analyze draft
                                               bankruptcy plan (.9); review and analyze
                                               disclosure statement (.5).
07/28/21 Anthony Vincenzo Sexton          1.70 Telephone conference with Deloitte and
                                               Company re model issues (1.1); review VAT
                                               issues (.2); review tax model issues (.1);
                                               review and revise disclosure statement (.2);
                                               address DIP tax issues (.1).
07/29/21 Joe Morley                       1.00 Correspond with K&E team, client, and
                                               external advisors re professional fee
                                               allocation (.8); review and analyze document
                                               production (.2).
07/29/21 Anthony Vincenzo Sexton          0.10 Review VAT issues.



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Intelsat S.A.                                               Matter Number:        48457-17
Tax Issues

Date     Name                            Hours Description
07/30/21 Derek I. Hunter                  1.30 Telephone conference and correspondence
                                               with K&E team, tax advisors, creditors'
                                               counsel re certain tax and accounting issues;
                                               review, analyze tax analysis.
07/30/21 Joe Morley                       1.50 Participate in telephone conference with client
                                               and external advisors re professional fee
                                               allocation (.6); review and analyze
                                               professional fee allocation (.7); correspond
                                               with K&E team and C. Kelly re professional
                                               fee allocation call (.2).
07/30/21 Anthony Vincenzo Sexton          1.60 Telephone conference with Company, A&M,
                                               Deloitte, Hunter and other K&E team
                                               members re VAT issues (.6); review materials
                                               re same (.2); telephone conference with
                                               Hunter re case update issues (.1); review and
                                               analyze tax treaty issues (.7).
07/31/21 Joe Morley                       0.70 Make proposed edits to disclosure statement.
07/31/21 Anthony Vincenzo Sexton          0.80 Telephone conference with Grossi,
                                               Serajeddini, Yenamandra re case status.

Total                                   129.80




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September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049148
                                                                               Client Matter: 48457-18

In the Matter of Environmental/Regulatory Issues




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 52,061.00
Total legal services rendered                                                                                  $ 52,061.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-18
Environmental/Regulatory Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    0.30     875.00            262.50
Simon Briefel                                         7.60     995.00          7,562.00
Francois Capoul                                       1.50     760.00          1,140.00
Michael S. Casey                                      0.30   1,255.00            376.50
Michael Engel                                        12.90   1,155.00         14,899.50
Dave Gremling                                         1.70     875.00          1,487.50
Anthony R. Grossi                                     2.80   1,220.00          3,416.00
Luci Hague                                            0.20   1,155.00            231.00
Library Factual Research                              0.70     390.00            273.00
Brian Nakhaimousa                                     3.50     765.00          2,677.50
Matt O'Hare                                           0.60   1,125.00            675.00
David L. Perechocky                                   3.20   1,185.00          3,792.00
Sandeep Ravikumar                                     7.10     875.00          6,212.50
Anna Schwander                                        0.30   1,125.00            337.50
Michael B. Slade                                      2.80   1,445.00          4,046.00
Laurent Victor-Michel                                 3.50   1,335.00          4,672.50

TOTALS                                               49.00                   $ 52,061.00




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Intelsat S.A.                                               Matter Number:        48457-18
Environmental/Regulatory Issues


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Brian Nakhaimousa                0.10 Correspond with D. Perechocky, S. Briefel re
                                               regulatory questions tracker.
07/01/21 David L. Perechocky              0.10 Correspond with K&E team re regulatory
                                               issues.
07/02/21 Brian Nakhaimousa                0.40 Correspond with S. Briefel re regulatory
                                               questions tracker (.1); update same (.3).
07/05/21 Simon Briefel                    0.30 Correspond with K&E team re regulatory
                                               tracker.
07/05/21 Brian Nakhaimousa                0.20 Revise regulatory questions tracker.
07/06/21 Simon Briefel                    0.20 Correspond with D. Perechocky, Jones Day re
                                               regulatory issues.
07/06/21 Michael Engel                    0.40 Conference re regulatory check-in with
                                               Company.
07/06/21 Anthony R. Grossi                2.10 Review background re Luxembourg issues.
07/06/21 David L. Perechocky              0.50 Telephone conference with K&E team re
                                               regulatory issues.
07/07/21 Simon Briefel                    0.80 Correspond with D. Perechocky, M. Engel re
                                               regulatory issues (.5); analyze issues re same
                                               (.3).
07/07/21 Michael Engel                    0.50 Telephone conference re regulatory
                                               considerations.
07/07/21 David L. Perechocky              0.50 Telephone conference with K&E team re
                                               regulatory issues.
07/08/21 Simon Briefel                    0.80 Correspond with D. Perechocky, M. Engel re
                                               regulatory issues, emergence tracker (.3);
                                               review, revise emergence tracker (.5).
07/08/21 Francois Capoul                  0.50 Correspond with Company re Minefi filing.
07/08/21 Michael Engel                    0.80 Correspond with Company re regulatory
                                               considerations.
07/08/21 Michael Engel                    0.50 Correspond with S. Briefel re equity
                                               ownership overview.
07/08/21 Laurent Victor-Michel            1.00 Review questions from Company re FDI
                                               filing.
07/09/21 Simon Briefel                    0.20 Telephone conference with Company, K&E
                                               team re regulatory issues.
07/09/21 Michael S. Casey                 0.30 Correspond re UK NSI issues.
07/09/21 Michael Engel                    0.30 Conference with D. Perechocky and S. Briefel
                                               re regulatory consideratoins.

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Environmental/Regulatory Issues

Date     Name                            Hours Description
07/09/21 Michael Engel                    0.30 Telephone conference with K&E French FDI
                                               team re FDI filing.
07/12/21 Francois Capoul                  0.20 Correspond with Company re Minefi filing.
07/12/21 Dave Gremling                    1.40 Review, revise memorandum re securities law
                                               issues.
07/12/21 Brian Nakhaimousa                0.30 Revise regulatory questions tracker.
07/12/21 Laurent Victor-Michel            1.00 Follow up re FDI analysis.
07/13/21 Simon Briefel                    0.20 Telephone conference with Company, D.
                                               Perechocky, D. Engel re regulatory issues.
07/13/21 Michael Engel                    0.50 Correspond with Company re regulatory
                                               considerations.
07/13/21 David L. Perechocky              0.30 Telephone conference with Company re
                                               regulatory issues.
07/14/21 Simon Briefel                    0.50 Correspond with B. Nakhaimousa re
                                               emergence regulatory tracker (.3); review,
                                               revise same (.2).
07/14/21   Brian Nakhaimousa              0.20 Update regulatory questions tracker.
07/14/21   David L. Perechocky            0.30 Review correspondence re regulatory issues.
07/14/21   Laurent Victor-Michel          0.50 Follow up re FDI analysis.
07/15/21   Brian Nakhaimousa              0.80 Update regulatory questions tracker.
07/16/21   Simon Briefel                  1.20 Review, revise regulatory tracker (.5);
                                               telephone conference with Company, D.
                                               Perechocky, M. Engel re regulatory issues
                                               (.2); prepare for same (.2); analyze issues re
                                               emergence (.3).
07/16/21 Michael Engel                    0.30 Correspond with Bruce McDonald re JD
                                               contacts for ex-US FDI and antitrust analysis.
07/16/21 Michael Engel                    0.80 Correspond with Company re regulatory
                                               considerations.
07/16/21 Brian Nakhaimousa                1.20 Update regulatory questions tracker.
07/19/21 Luci Hague                       0.20 Correspond with KE team re international
                                               issues.
07/19/21 Matt O'Hare                      0.60 Correspond with Company with T. Lundquist
                                               re CFIUS considerations (.2); compile
                                               documentation re same (.4).
07/20/21 Simon Briefel                    1.00 Prepare for telephone conference with
                                               Company re regulatory issues (.3); review,
                                               revise tracker re same (.5); telephone
                                               conference with Company, D. Perechocky, M.
                                               Engel re same (.2).



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Date     Name                            Hours Description
07/20/21 Michael Engel                    1.30 Telephone conference re kick-off with Jones
                                               Day re ex-US and FDI analysis (.6);
                                               correspond re additional information for FDI
                                               analysis and regulatory check-in with
                                               Company (.7).
07/20/21 David L. Perechocky              0.20 Telephone conference with Company re
                                               regulatory matters.
07/21/21 Sandeep Ravikumar                0.30 Correspond with M. Engel re regulatory
                                               issues.
07/22/21 Simon Briefel                    0.30 Revise regulatory tracker.
07/22/21 Michael Engel                    0.50 Correspond with Jones Day re FDI and ex-US
                                               analysis.
07/22/21 Michael Engel                    0.30 Correspond with S. Briefel re regulatory
                                               considerations.
07/22/21 Michael Engel                    0.30 Correspond with Sandeep R. re Company
                                               data.
07/22/21 Anthony R. Grossi                0.70 Correspond with K&E team re regulatory
                                               issues.
07/22/21 Sandeep Ravikumar                0.50 Correspond with M. Engel re regulatory
                                               issues.
07/23/21 Simon Briefel                    0.30 Telephone conference with Company, M.
                                               Engel re regulatory issues.
07/23/21 Francois Capoul                  0.30 Correspond with M. Engel re update on
                                               French Minefi filing.
07/23/21 Francois Capoul                  0.50 Conference with L. Victor-Michel re update
                                               on French Minefi filing.
07/23/21 Michael Engel                    0.80 Correspond re regulatory analysis (.2);
                                               conference with Company re same (.4);
                                               correspond with Jones Day re same (.2).
07/23/21 Sandeep Ravikumar                0.50 Review, analyze regulatory considerations.
07/27/21 Nicholas A. Binder               0.30 Correspond with D. Gremling, S. Briefel re
                                               emergence regulatory considerations.
07/27/21 Simon Briefel                    1.10 Telephone conference with Company, D.
                                               Perechocky, M. Engel re regulatory issues
                                               (.2); prepare for same (.2); review, revise
                                               regulatory tracker (.7).
07/27/21 Michael Engel                    0.80 Conference with Company, S. Briefel re
                                               regulatory issues (.2); correspond with S.
                                               Ravikumar, A. Schwander re regulatory
                                               considerations (.3); correspond with S. Briefel
                                               re governance considerations (.3).


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Date     Name                            Hours Description
07/27/21 Michael Engel                    1.00 Correspond with creditor advisors re
                                               regulatory issues (.1); correspond with S.
                                               Briefel re regulatory questions tracker (.2);
                                               correspond with K&E teams re FDI (.7).
07/27/21 Brian Nakhaimousa                0.30 Update regulatory questions tracker.
07/27/21 David L. Perechocky              0.40 Conference with Company re regulatory
                                               considerations.
07/27/21 Anna Schwander                   0.30 Review information on German FDI (.2);
                                               correspond with London team re same (.1).
07/27/21 Laurent Victor-Michel            1.00 Correspond with K&E team re French FDI.
07/28/21 Dave Gremling                    0.30 Draft statement re emergence regulatory
                                               issues.
07/28/21 Sandeep Ravikumar                1.00 Review regulatory considerations (.8);
                                               correspond with M. Engel and creditor
                                               advisors re same (.2).
07/29/21 Michael Engel                    2.00 Correspond with creditor advisors re FDI
                                               analysis and ex-US merger filing analysis
                                               (1.0); compile responses and follow up
                                               questions re same (.5); correspond with S.
                                               Ravikumar re same (.5).
07/29/21 David L. Perechocky              0.40 Telephone conference with Appaloosa re
                                               HSR.
07/29/21 Sandeep Ravikumar                2.80 Review creditor advisors’ analysis re
                                               regulatory issues (1.8); correspond with M.
                                               Engel, local counsel re regulatory
                                               considerations (1.0).
07/30/21 Simon Briefel                    0.70 Telephone conference with Company, D.
                                               Perechocky, M. Engel re regulatory issues
                                               (.2); correspond with K&E team re same (.5).
07/30/21 Michael Engel                    0.50 Conference with S. Ravikumar re regulatory
                                               considerations.
07/30/21 Michael Engel                    1.00 Conference with local counsel re regulatory
                                               considerations (.5); correspond with creditors’
                                               advisors re same (.5).
07/30/21 Library Factual Research         0.70 Daily monitoring for public statements re
                                               Intelsat for month of July.
07/30/21 David L. Perechocky              0.50 Conference with Company re regulatory
                                               considerations.
07/30/21 Sandeep Ravikumar                2.00 Conference with M Engel on re regulatory
                                               considerations (.5); correspond with creditor
                                               advisors re same (1.5).



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Date     Name                            Hours Description
07/30/21 Michael B. Slade                 0.50 Telephone conference with J. Zeiger and S.
                                               Serajeddini re settlement outreach.
07/31/21 Michael B. Slade                 2.30 Telephone conference with J. O’Quinn (.4);
                                               review and revise reply brief (1.9).

Total                                    49.00




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049149
                                                                               Client Matter: 48457-20

In the Matter of Case Administration




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 88,131.00
Total legal services rendered                                                                                  $ 88,131.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          6.60     875.00          5,775.00
Nicholas A. Binder                                   14.10     875.00         12,337.50
Simon Briefel                                         2.30     995.00          2,288.50
Chad Davis                                            1.40   1,185.00          1,659.00
Emily Flynn                                           0.50     995.00            497.50
Dave Gremling                                         2.80     875.00          2,450.00
Nick Hafen                                            2.20     875.00          1,925.00
Derek I. Hunter                                       3.50   1,125.00          3,937.50
Jason T. Jarvis                                       2.80     765.00          2,142.00
Tyler R. Knutson                                     18.80     765.00         14,382.00
Michael Lemm                                          3.10     875.00          2,712.50
Brian Nakhaimousa                                    24.50     765.00         18,742.50
Robert Orren                                          0.20     460.00             92.00
Samuel J. Seneczko                                    3.10     875.00          2,712.50
Benjamin P. Stone                                     2.80     765.00          2,142.00
William Thompson                                      2.90     765.00          2,218.50
Andy Veit, P.C.                                       0.50   1,375.00            687.50
Eric J. Wendorf                                       3.20     765.00          2,448.00
Chambliss Williams                                    5.30     875.00          4,637.50
Lydia Yale                                            3.70     285.00          1,054.50
Donna Zamir                                           4.30     765.00          3,289.50

TOTALS                                              108.60                   $ 88,131.00




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                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Brian Nakhaimousa                0.30 Update works in process trackers.
07/01/21 Brian Nakhaimousa                0.80 Telephone conference with M. Alden, K&E
                                               team re in person negotiations (.5);
                                               correspond with same re negotiations (.3).
07/02/21 Maggie Alden                     0.60 Telephone conference with D. Hunter, K&E
                                               restructuring team re works in process.
07/02/21 Nicholas A. Binder               0.70 Telephone conference with K&E team re
                                               works in process (.5); review document re
                                               same (.2).
07/02/21 Derek I. Hunter                  0.60 Conference with K&E team re works in
                                               process.
07/02/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re works in process.
07/02/21 Tyler R. Knutson                 0.90 Conference with K&E team re works in
                                               process (.5); review and revise Rx Listserv
                                               Assignment Tracker (.4).
07/02/21 Michael Lemm                     0.40 Video conference with D. Hunter, K&E team
                                               re work in process.
07/02/21 Brian Nakhaimousa                0.80 Conference with D. Hunter, K&E team re
                                               works in process (.5); update works in process
                                               tracker (.3).
07/02/21 Brian Nakhaimousa                2.40 Correspond with K&E team, director advisors
                                               re in-person meetings (.6); revise tracker re
                                               same (1.8).
07/02/21 Samuel J. Seneczko               0.40 Conference with K&E team re works in
                                               process.
07/02/21 Benjamin P. Stone                0.50 Conference with D. Hunter, K&E team re
                                               works in process.
07/02/21 William Thompson                 0.50 Conference with K&E team re works in
                                               process.
07/02/21 Eric J. Wendorf                  0.50 Video conference with D. Hunter, K&E team
                                               re works in process.
07/02/21 Donna Zamir                      0.50 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
07/03/21 Brian Nakhaimousa                0.50 Correspond with D. Hunter, K&E team,
                                               director advisors re in-person meetings (.2);
                                               revise tracker re same (.3).
07/04/21 Brian Nakhaimousa                0.30 Update work in process trackers.


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Date     Name                            Hours Description
07/04/21 Brian Nakhaimousa                0.60 Correspond with D. Hunter, K&E team,
                                               director advisors re in-person meetings; (.4);
                                               revise tracker re same (.2).
07/05/21 Brian Nakhaimousa                0.90 Correspond with M. Alden, K&E team re in-
                                               person advisor meetings.
07/06/21 Maggie Alden                     0.60 Correspond with K&E team re staffing (.3);
                                               office conference with K&E team re works in
                                               process (.3).
07/06/21 Nicholas A. Binder               2.10 Conference with K&E team re general case
                                               considerations (1.6); conference with K&E
                                               team re work in process (.5).
07/06/21 Nick Hafen                       0.20 Conference with D. Hunter, K&E team re
                                               works in process.
07/06/21 Derek I. Hunter                  0.50 Conference with K&E team, company, and
                                               company advisors re works in process.
07/06/21 Jason T. Jarvis                  0.20 Telephone conference with D. Hunter, K&E
                                               team re work in process.
07/06/21 Tyler R. Knutson                 0.60 Revise working group list (.2); correspond
                                               with B. Nakhaimousa re same (.1);
                                               conference with K&E team re works in
                                               process (.3).
07/06/21 Michael Lemm                     0.20 Conference with D. Hunter, K&E team re
                                               works in process.
07/06/21 Brian Nakhaimousa                0.70 Update work in process tracker (.3);
                                               conference with K&E team re works in
                                               process (.4).
07/06/21 Brian Nakhaimousa                1.80 Partially attend and assist in administration of
                                               in-person advisor meetings.
07/06/21 Robert Orren                     0.20 Prepare alerts for B. Nakhaimousa and I.
                                               Bergonzoli re customer’s chapter 11 cases.
07/06/21 Samuel J. Seneczko               0.50 Conference with K&E team re works in
                                               process.
07/06/21 Benjamin P. Stone                0.30 Conference with D. Hunter, K&E team re
                                               works in process.
07/06/21 Eric J. Wendorf                  0.50 Participate in work in process meeting.
07/06/21 Chambliss Williams               0.80 Conference with D. Hunter, K&E team re
                                               work in process (.3); review summary chart re
                                               same (.5).
07/06/21 Donna Zamir                      0.30 Conference with K&E team re works in
                                               process.
07/07/21 Maggie Alden                     0.70 Telephone conference with K&E team re
                                               staffing.

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Date     Name                            Hours Description
07/07/21 Nicholas A. Binder               2.80 Review case materials (.4); conference with
                                               K&E team re general case considerations
                                               (2.4).
07/07/21 Dave Gremling                    0.60 Review, revise works in process tracking
                                               document.
07/07/21 Brian Nakhaimousa                0.20 Update work in process tracker.
07/08/21 Maggie Alden                     0.80 Telephone conference with K&E team re case
                                               background (.7); correspond with K&E team
                                               re same (.1).
07/08/21 Nicholas A. Binder               4.00 Conference with K&E team re general case
                                               considerations.
07/08/21 Tyler R. Knutson                 1.10 Review and revise Rx Listserv Assignment
                                               Tracker (.3); track correspondences re same
                                               (.8).
07/08/21 Brian Nakhaimousa                0.40 Update work in process trackers.
07/08/21 Brian Nakhaimousa                0.60 Correspond with K&E team re in-person
                                               meetings.
07/09/21 Maggie Alden                     0.10 Correspond with K&E team re case
                                               background.
07/09/21 Nicholas A. Binder               0.50 Review, revise work in process tracker (.4);
                                               correspond with B. Nakhaimousa re same
                                               (.1).
07/09/21 Tyler R. Knutson                 0.70 Review and revise working group list.
07/09/21 Brian Nakhaimousa                0.70 Update work in process tracker.
07/09/21 Brian Nakhaimousa                0.10 Correspond with K&E team re in person
                                               meetings.
07/11/21 Maggie Alden                     0.10 Correspond with B. Nakhaimousa re WIP.
07/11/21 Brian Nakhaimousa                0.30 Update work in process trackers.
07/12/21 Tyler R. Knutson                 1.80 Review and revise working group list (1.4);
                                               compile and format bookmarked version re
                                               same (.4).
07/12/21 Brian Nakhaimousa                0.60 Correspond with K&E team re work in
                                               process (.1); update work in process tracker
                                               (.5).
07/13/21 Maggie Alden                     1.10 Telephone conference with K&E team re case
                                               update (.8); telephone conference with D.
                                               Hunter, K&E restructuring team re works in
                                               process (.3).
07/13/21 Nicholas A. Binder               0.20 Telephone conference with K&E team re
                                               work in progress.
07/13/21 Chad Davis                       1.20 Telephone conference re case updates.

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Date     Name                            Hours Description
07/13/21 Dave Gremling                    0.20 Conference with K&E team re workstream
                                               status, case update.
07/13/21 Nick Hafen                       0.20 Conference with D. Hunter, K&E team re
                                               works in process.
07/13/21 Derek I. Hunter                  0.20 Conference with K&E team re works in
                                               process.
07/13/21 Jason T. Jarvis                  0.20 Telephone conference with D. Hunter, K&E
                                               team re work in process.
07/13/21 Michael Lemm                     0.10 Video conference with D. Hunter, K&E team
                                               re work in process.
07/13/21 Brian Nakhaimousa                1.00 Conference with D. Hunter, K&E team re
                                               work in process (.2); update work in process
                                               trackers (.8).
07/13/21 Benjamin P. Stone                0.20 Conference with D. Hunter, K&E team re
                                               works in process.
07/13/21 William Thompson                 0.20 Conference with D. Hunter and K&E team re
                                               work in process.
07/13/21 Eric J. Wendorf                  0.50 Participate in work in progress meeting.
07/13/21 Chambliss Williams               1.00 Video conference with T. Knutson, K&E
                                               team re staffing.
07/13/21 Chambliss Williams               0.70 Conference with D. Hunter, K&E team re
                                               works in process (.5); review summary chart
                                               re same (.2).
07/13/21 Donna Zamir                      0.30 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
07/14/21 Maggie Alden                     0.10 Correspond with B. Nakhaimousa re works in
                                               process.
07/14/21 Nicholas A. Binder               0.60 Telephone conference with B. Nakhaimousa
                                               re works in process tracker (.2); revise same
                                               (.4).
07/14/21 Tyler R. Knutson                 3.50 Compile and organize documents re works in
                                               process (2.8); conform re naming and
                                               organize same (.7).
07/14/21 Brian Nakhaimousa                1.00 Correspond with K&E team re work in
                                               process (.1); update work in process tracker
                                               (.9).
07/15/21   Chad Davis                     0.20 Telephone conference re case updates.
07/15/21   Tyler R. Knutson               2.00 General administrative activities.
07/15/21   Tyler R. Knutson               0.60 Review and revise working group list (.6).
07/15/21   Brian Nakhaimousa              0.50 Revise work in process tracker.



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Date     Name                            Hours Description
07/15/21 Benjamin P. Stone                0.20 Correspond with B. Nakhaimousa re work in
                                               progress updates.
07/15/21 Andy Veit, P.C.                  0.50 Telephone conference with EHP re case
                                               updates.
07/16/21 Maggie Alden                     0.60 Telephone conference with D. Hunter, K&E
                                               restructuring team re works in process (.5);
                                               correspond with K&E team re staffing (.1).
07/16/21 Nicholas A. Binder               0.90 Telephone conference with K&E team re
                                               work in progress (.6); review document re
                                               same (.3).
07/16/21 Simon Briefel                    0.50 Telephone conference with K&E team re case
                                               status, next steps.
07/16/21 Dave Gremling                    0.40 Conference with K&E team re workstream
                                               status and case update .
07/16/21 Nick Hafen                       0.50 Conference with D. Hunter, K&E team re
                                               works in process.
07/16/21 Derek I. Hunter                  0.60 Conference with K&E team, company, and
                                               company advisors re works in process.
07/16/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process.
07/16/21 Tyler R. Knutson                 0.50 Conference with K&E team re work in
                                               process.
07/16/21 Michael Lemm                     0.50 Video conference with D. Hunter, K&E team
                                               re work in process.
07/16/21 Michael Lemm                     0.20 Telephone conference with A. Grossi, K&E
                                               team, director advisors re case update.
07/16/21 Brian Nakhaimousa                1.40 Update work in process tracker (.8); telephone
                                               conference with K&E team re work in process
                                               (.6).
07/16/21 Samuel J. Seneczko               0.50 Conference with K&E team re WIP.
07/16/21 Benjamin P. Stone                0.50 Conference with D. Hunter, K&E team re
                                               works in process.
07/16/21 William Thompson                 0.50 Conference with D. Hunter and K&E team re
                                               work in process.
07/16/21 Eric J. Wendorf                  0.50 Conference with K&E team re works in
                                               process.
07/16/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re work in process (.5); review summary chart
                                               re same (.2).
07/16/21 Donna Zamir                      0.50 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.


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Date       Name                          Hours       Description
07/18/21   Brian Nakhaimousa              0.70       Update work in process trackers.
07/19/21   Brian Nakhaimousa              0.50       Update work in process trackers.
07/20/21   Maggie Alden                   0.60       Correspond with B. Nakhaimousa re WIP
                                                     (.1); office conference with D. Hunter, K&E
                                                     restructuring team re same (.5).
07/20/21 Nicholas A. Binder               0.80       Telephone conference with K&E team re
                                                     work in progress (.6); revise document re
                                                     same (.2).
07/20/21 Simon Briefel                    0.50       Telephone conference with K&E team re case
                                                     status, next steps.
07/20/21 Dave Gremling                    0.50       Conference with N. Binder, K&E team re
                                                     workstream status and case update.
07/20/21 Nick Hafen                       0.50       Conference with D. Hunter, K&E team re
                                                     works in process.
07/20/21 Derek I. Hunter                  0.60       Conference with K&E team, company, and
                                                     company advisors re works in process.
07/20/21 Jason T. Jarvis                  0.50       Telephone conference with D. Hunter, K&E
                                                     team re work in process.
07/20/21 Tyler R. Knutson                 0.50       Conference with K&E restructuring team re
                                                     work in process.
07/20/21 Michael Lemm                     0.70       Video conference with D. Hunter, K&E team
                                                     re work in process (.5); review and revise
                                                     trackers re same (.2).
07/20/21 Brian Nakhaimousa                1.50       Conference with D. Hunter, K&E team re
                                                     works in process (.6); update works in process
                                                     trackers (.9).
07/20/21 Samuel J. Seneczko               0.50       Conference with K&E team re WIP.
07/20/21 William Thompson                 0.60       Conference with D. Hunter and K&E team re
                                                     work in process.
07/20/21 Eric J. Wendorf                  0.60       Participate in work in process meeting.
07/20/21 Chambliss Williams               0.70       Video conference with D. Hunter, K&E team
                                                     re work in process (.5); review summary chart
                                                     re same (.2).
07/20/21 Donna Zamir                      0.60       Video conference with D. Hunter, K&E team
                                                     re case status and work-stream update.
07/21/21 Brian Nakhaimousa                0.50       Update work in process tracker.
07/22/21 Maggie Alden                     0.20       Correspond with B. Nakhaimousa re WIP,
                                                     staffing (.2).
07/22/21 Brian Nakhaimousa                0.50       Update work in process trackers.
07/23/21 Brian Nakhaimousa                0.30       Update work in process tracker.


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Legal Services for the Period Ending July 31, 2021         Invoice Number:      1050049149
Intelsat S.A.                                               Matter Number:        48457-20
Case Administration

Date     Name                            Hours Description
07/23/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re work in process (.5); review summary chart
                                               re same (.2).
07/23/21 Donna Zamir                      1.00 Correspond with D. Hunter, K&E team,
                                               Company re hearings schedules.
07/24/21 Brian Nakhaimousa                0.30 Update work in process tracker (.2); calendar
                                               key dates (.1).
07/25/21 Brian Nakhaimousa                0.30 Update work in process trackers.
07/26/21 Maggie Alden                     0.20 Correspond with B. Nakhaimousa, K&E team
                                               re staffing (.1); correspond with D. Gremling
                                               re workstreams (.1).
07/26/21 Brian Nakhaimousa                0.70 Update work in process tracker.
07/27/21 Maggie Alden                     0.30 Attend telephone conference with D. Hunter,
                                               KE team re work in progress (.2); correspond
                                               with B. Nakhaimousa re same (.1).
07/27/21 Nicholas A. Binder               0.80 Telephone conference with K&E team re
                                               work in process (.6); review document re
                                               same (.2).
07/27/21 Simon Briefel                    0.70 Revise work in progress tracker (.2);
                                               telephone conference with D. Hunter, K&E
                                               team re case status, next steps (.5).
07/27/21 Dave Gremling                    0.60 Conference with B. Stone, K&E team re
                                               workstream status and case update.
07/27/21 Nick Hafen                       0.50 Conference with D. Hunter, K&E team re
                                               works in process.
07/27/21 Derek I. Hunter                  0.50 Conference with K&E team re works in
                                               process.
07/27/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process.
07/27/21 Michael Lemm                     0.60 Video conference with D. Hunter, K&E team
                                               re work in process.
07/27/21 Brian Nakhaimousa                1.50 Update work in process trackers (.9);
                                               conference with D. Hunter and K&E team re
                                               work in process (.6).
07/27/21 Samuel J. Seneczko               0.50 Conference with K&E team re WIP.
07/27/21 Benjamin P. Stone                0.60 Conference with D. Hunter, K&E team re
                                               works in process.
07/27/21 William Thompson                 0.60 Conference with D. Hunter and K&E team re
                                               work in process.
07/27/21 Eric J. Wendorf                  0.60 Participate in work in progress meeting.



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Intelsat S.A.                                               Matter Number:        48457-20
Case Administration

Date     Name                            Hours Description
07/27/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re works in process (.5); review summary
                                               chart re same (.2).
07/27/21 Lydia Yale                       3.70 Research re certificates of good standing
                                               (.75); correspond with R. Orren and J. Hahn
                                               re same (1.25); submit forms re same (.7);
                                               draft a pro hac vice motion (1.0).
07/27/21 Donna Zamir                      0.60 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
07/28/21 Maggie Alden                     0.10 Correspond with B. Nakhaimousa re WIP.
07/28/21 Tyler R. Knutson                 3.40 Compile directory of all materials circulated
                                               via Rx Listserv.
07/28/21 Brian Nakhaimousa                0.40 Update work in process tracker.
07/29/21 Nicholas A. Binder               0.40 Analyze case considerations (.3); conference
                                               with M. Alden re same (.1).
07/29/21 Brian Nakhaimousa                0.30 Update work in process trackers.
07/30/21 Maggie Alden                     0.50 Telephone conference with D. Hunter, KE
                                               team re WIP.
07/30/21 Nicholas A. Binder               0.30 Telephone conference with K&E team re
                                               work in progress.
07/30/21 Simon Briefel                    0.60 Telephone conference with D. Hunter, K&E
                                               team re case status, next steps.
07/30/21 Emily Flynn                      0.50 Telephone conference with D. Hunter, K&E
                                               team re works in progress.
07/30/21 Dave Gremling                    0.50 Conference with M. Lemm, K&E team re
                                               workstream status and case update.
07/30/21 Nick Hafen                       0.30 Conference with D. Hunter, K&E team re
                                               works in process.
07/30/21 Derek I. Hunter                  0.50 Conference with K&E team re works in
                                               process.
07/30/21 Jason T. Jarvis                  0.40 Telephone conference with D. Hunter, K&E
                                               team re work in process.
07/30/21 Tyler R. Knutson                 3.20 Review and revise tracker re case documents
                                               and materials (.3); compile correspondences
                                               re same (.4); further organize directory of
                                               same (2.5).
07/30/21 Michael Lemm                     0.40 Video conference with D. Hunter, K&E team
                                               re work in process.
07/30/21 Brian Nakhaimousa                0.80 Update work in process tracker (.2);
                                               conference with K&E team re work in process
                                               (.6).


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Case Administration

Date     Name                            Hours Description
07/30/21 Samuel J. Seneczko               0.70 Review 341 meeting summary, other case
                                               materials re customer’s chapter 11 cases (.6);
                                               correspond with B. Nakhaimousa, W.
                                               Thompson, M. Lemm re same (.1).
07/30/21 Benjamin P. Stone                0.50 Conference with D. Hunter, K&E team re
                                               works in process.
07/30/21 William Thompson                 0.50 Conference with D. Hunter and K&E team re
                                               work in process.
07/30/21 Donna Zamir                      0.50 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
07/31/21 Brian Nakhaimousa                0.30 Update work in process tracker (.2); calendar
                                               key dates (.1).

Total                                   108.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049150
                                                                               Client Matter: 48457-21

In the Matter of K&E Retention




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 91,465.00
Total legal services rendered                                                                                  $ 91,465.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-21
K&E Retention




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    1.20     875.00          1,050.00
Simon Briefel                                         2.60     995.00          2,587.00
Emily Flynn                                           6.80     995.00          6,766.00
Susan D. Golden                                       0.50   1,220.00            610.00
Dave Gremling                                         3.60     875.00          3,150.00
Nick Hafen                                           20.60     875.00         18,025.00
Derek I. Hunter                                       5.20   1,125.00          5,850.00
Jason T. Jarvis                                       7.60     765.00          5,814.00
Andrew Kimball                                        0.90   1,195.00          1,075.50
Tyler R. Knutson                                     10.90     765.00          8,338.50
Michael Lemm                                          2.40     875.00          2,100.00
Brian Nakhaimousa                                     0.60     765.00            459.00
Robert Orren                                          5.60     460.00          2,576.00
Laura Saal                                            1.40     460.00            644.00
Samuel J. Seneczko                                    2.20     875.00          1,925.00
Charles B. Sterrett                                   2.60     875.00          2,275.00
Benjamin P. Stone                                     7.60     765.00          5,814.00
William Thompson                                      5.60     765.00          4,284.00
Eric J. Wendorf                                       4.40     765.00          3,366.00
Chambliss Williams                                    3.40     875.00          2,975.00
Donna Zamir                                          15.40     765.00         11,781.00

TOTALS                                              111.10                   $ 91,465.00




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Intelsat S.A.                                               Matter Number:        48457-21
K&E Retention


                                  Description of Legal Services

Date     Name                            Hours Description
07/02/21 Andrew Kimball                   0.10 Draft and review correspondence related to
                                               engagement.
07/06/21 Emily Flynn                      0.40 Correspond with D. Hunter re fees.
07/06/21 William Thompson                 0.40 Conference with D. Hunter and K&E team re
                                               work in process.
07/07/21 Andrew Kimball                   0.60 Telephone conference with S. Ajmeri re
                                               engagement letter (.2); revise drafts from
                                               Debevoise re engagement letter (.2); draft and
                                               review related correspondence (.2).
07/09/21 Nick Hafen                       0.20 Correspond with D. Hunter, Milbank re fee
                                               application schedule.
07/12/21 Emily Flynn                      1.10 Review, revise K&E fee statement re
                                               confidentiality (.9); correspond with N.
                                               Hafen, D. Hunter re same (.2).
07/12/21 Nick Hafen                       0.30 Review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines.
07/13/21 Emily Flynn                      0.50 Review K&E fee statement for filing.
07/13/21 Dave Gremling                    0.70 Analyze issues re fees (.4); correspond with
                                               K&E team re same (.3).
07/13/21 Derek I. Hunter                  0.40 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.
07/13/21 Robert Orren                     1.70 Draft May fee request (1.2); prepare same for
                                               filing (.3); correspond with E. Flynn re same
                                               (.2).
07/14/21 Emily Flynn                      0.90 Correspond with K&E team re fee statement
                                               (.3); review same (.6).
07/14/21 Nick Hafen                       0.70 Review, revise K&E fee application.
07/14/21 Derek I. Hunter                  0.40 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.
07/14/21 Donna Zamir                      3.00 Review, revise K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines.
07/15/21 Emily Flynn                      0.60 Review professional retention applications re
                                               confidentiality.
07/15/21 Nick Hafen                       0.80 Revise K&E fee application.


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K&E Retention

Date     Name                            Hours Description
07/15/21 Donna Zamir                      5.40 Further review K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines (3.6); revise
                                               same (1.8).
07/16/21 Dave Gremling                    0.30 Correspond with K&E team re invoices.
07/16/21 Nick Hafen                       0.20 Revise K&E fee application.
07/16/21 Jason T. Jarvis                  4.40 Review, revise invoices re compliance with
                                               U.S. Trustee guidelines and privilege
                                               considerations.
07/16/21 Tyler R. Knutson                 2.80 Review invoices for compliance with UST
                                               guidelines.
07/16/21 Brian Nakhaimousa                0.60 Review K&E invoice re privilege,
                                               confidentiality, adherence to U.S. Trustee
                                               guidelines.
07/16/21 Benjamin P. Stone                3.90 Review, revise fee statement re conforming to
                                               U.S. Trustee guidelines, privilege.
07/16/21 William Thompson                 5.20 Revise K&E fee invoice to comply with US
                                               Trustee guidelines (3.8); further revise same
                                               re comments from D. Gremling and E. Flynn
                                               (1.4).
07/16/21 Eric J. Wendorf                  4.40 Review, revise K&E fee invoice for privilege,
                                               confidentiality, compliance with UST
                                               guidelines (4.1); review correspondence from
                                               E. Flynn re same (.2); correspond with M.
                                               Lemm re same (.1).
07/16/21 Donna Zamir                      7.00 Further review K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines (2.8); revise
                                               same (3.9); correspond with S. Seneczko re
                                               same (.3).
07/17/21 Nick Hafen                       4.10 Review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines (4.0); correspond with E. Flynn re
                                               same (.1).
07/17/21 Jason T. Jarvis                  3.20 Review, revise invoices re compliance with
                                               U.S. Trustee guidelines and privilege
                                               considerations.
07/17/21 Tyler R. Knutson                 6.80 Review and revise invoices re compliance
                                               with UST compliance and guidelines (4.0);
                                               further review and revise re same (2.8).
07/17/21 Samuel J. Seneczko               2.20 Correspond with D. Zamir re invoice (.1);
                                               review invoice for compliance with UST
                                               guidelines, privilege (2.1).

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K&E Retention

Date     Name                            Hours Description
07/17/21 Benjamin P. Stone                3.70 Further review, revise fee statements re
                                               conforming to U.S. Trustee guidelines,
                                               privileges.
07/17/21 Chambliss Williams               3.40 Review invoices re compliance with U.S.T.
                                               guidelines.
07/18/21 Nicholas A. Binder               1.20 Review, revise fee statement re privilege,
                                               confidentiality, U.S. Trustee guidelines.
07/18/21 Dave Gremling                    2.60 Review, revise invoice re compliance with
                                               UST guidelines, confidentiality.
07/18/21 Michael Lemm                     1.20 Review, revise K&E invoice for privilege,
                                               confidentiality issues, compliance with U.S.
                                               Trustee guidelines and local rules.
07/18/21 Charles B. Sterrett              2.60 Review K&E invoices re privilege,
                                               confidentiality, adherence to U.S. Trustee
                                               guidelines.
07/19/21 Nick Hafen                       1.20 Revise K&E fee application.
07/19/21 Michael Lemm                     1.20 Review, revise K&E invoice for privilege,
                                               confidentiality issues, compliance with U.S.
                                               Trustee guidelines and local rules.
07/20/21 Nick Hafen                       5.20 Revise K&E fee application (3.8); review,
                                               analyze pleadings re same (1.4).
07/21/21 Simon Briefel                    1.80 Review, revise, comment on K&E invoice re
                                               UST guidelines, local rules, confidentiality.
07/21/21 Emily Flynn                      3.30 Review, revise K&E fee statement re
                                               confidentiality and compliance with U.S.
                                               Trustee guidelines.
07/21/21 Nick Hafen                       1.30 Revise K&E fee application.
07/22/21 Simon Briefel                    0.80 Review, revise, comment on K&E invoice re
                                               UST guidelines, local rules, confidentiality.
07/22/21 Andrew Kimball                   0.20 Review engagement letter.
07/23/21 Derek I. Hunter                  1.30 Review, analyze, and revise interim fee
                                               application re confidentiality, privilege, and
                                               UST guideline compliance.
07/24/21 Nick Hafen                       1.10 Revise K&E fee application (1.0); correspond
                                               with A. Grossi re same (.1).
07/26/21 Nick Hafen                       2.90 Correspond with K&E billing team re fee
                                               application (.2); revise same (2.6); correspond
                                               with D. Hunter, K&E team re same (.1).
07/26/21 Derek I. Hunter                  0.30 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.


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Intelsat S.A.                                               Matter Number:        48457-21
K&E Retention

Date     Name                            Hours Description
07/26/21 Robert Orren                     2.70 Revise K&E fee application and exhibits
                                               (2.5); correspond with N. Hafen re same (.2).
07/27/21 Susan D. Golden                  0.50 Review and revise Kirkland's Fourth Interim
                                               Fee Application.
07/27/21 Nick Hafen                       1.30 Revise K&E fee application (1.0); correspond
                                               with D. Hunter, K&E team re same (.3).
07/27/21 Derek I. Hunter                  0.30 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
07/27/21 Robert Orren                     1.20 Prepare for filing K&E fourth interim fee
                                               application (1.0); correspond with N. Hafen re
                                               same (.2).
07/28/21 Nick Hafen                       0.10 Correspond with D. Hunter, Kutak re filing
                                               K&E fee application.
07/28/21 Derek I. Hunter                  1.20 Review, analyze, and revise interim fee
                                               application.
07/28/21 Tyler R. Knutson                 1.30 Correspond with L. Saal re compiling all case
                                               fee statements, applications (.2); review and
                                               organize same (.3); review same re certain
                                               billing information (.6); correspond with N
                                               Binder re same (.2).
07/28/21 Laura Saal                       1.40 Compile filed versions of the K&E monthly
                                               fee statements and interim fee applications
                                               (1.3); correspond with T. Knutson re same
                                               (.1).
07/29/21 Nick Hafen                       0.50 Correspond with C. Slivka, document services
                                               team re expense backups (.4); correspond
                                               with A. Stewart re same (.1).
07/30/21 Nick Hafen                       0.60 Review, apply redactions to expense backups.
07/31/21 Nick Hafen                       0.10 Correspond with W. Thompson re conflicts
                                               process.
07/31/21 Derek I. Hunter                  1.30 Review, analyze, and revise invoice re
                                               confidentiality, UST guideline compliance,
                                               and privilege.

Total                                   111.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049151
                                                                               Client Matter: 48457-22

In the Matter of Non-K&E Retention




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 37,740.00
Total legal services rendered                                                                                  $ 37,740.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-22
Non-K&E Retention




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    2.10     875.00          1,837.50
Emily Flynn                                           1.30     995.00          1,293.50
Dave Gremling                                        18.20     875.00         15,925.00
Nick Hafen                                            5.40     875.00          4,725.00
Derek I. Hunter                                      12.00   1,125.00         13,500.00
Jason T. Jarvis                                       0.20     765.00            153.00
Tyler R. Knutson                                      0.40     765.00            306.00

TOTALS                                               39.60                   $ 37,740.00




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Intelsat S.A.                                               Matter Number:        48457-22
Non-K&E Retention


                                  Description of Legal Services

Date     Name                            Hours Description
07/01/21 Nicholas A. Binder               0.80 Review, revise professional retention
                                               application (.7); correspond with D. Hunter re
                                               same (.1).
07/01/21 Emily Flynn                      0.70 Review, revise financial advisor retention
                                               application (.6); correspond with D. Hunter re
                                               same (.1).
07/02/21 Nicholas A. Binder               0.40 Revise professional retention application.
07/02/21 Derek I. Hunter                  0.20 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/06/21 Tyler R. Knutson                 0.40 Review and analyze pleadings re precedent
                                               application for financial advisor.
07/07/21 Nick Hafen                       0.20 Correspond with D. Hunter re Company
                                               entities.
07/09/21 Nicholas A. Binder               0.20 Correspond with A&M, various professionals
                                               re professional fees.
07/09/21 Nick Hafen                       0.10 Correspond with Kutak re PJT fee statement.
07/10/21 Nick Hafen                       0.10 Correspond with Kutak re PJT fee statement.
07/12/21 Derek I. Hunter                  0.20 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/13/21 Dave Gremling                    0.30 Analyze issues re proposed OCP.
07/13/21 Derek I. Hunter                  0.40 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/14/21 Emily Flynn                      0.30 Telephone conference with D. Hunter, D.
                                               Gremling, EY re retention.
07/14/21 Dave Gremling                    1.80 Conference with D. Hunter, K&E Team,
                                               professional re OCP list (.2); analyze issues re
                                               same (1.6).
07/14/21 Derek I. Hunter                  1.10 Review, analyze and comment on advisor
                                               retention materials, declarations (.6);
                                               conference with OCP re same (.5).
07/16/21 Nicholas A. Binder               0.10 Correspond with A&M re professional fees.
07/16/21 Nick Hafen                       0.90 Correspond with Deloitte re declaration of
                                               disinterestedness (.2); review, analyze
                                               Deloitte fee statement re confidentiality (.7).
07/19/21 Derek I. Hunter                  0.20 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/20/21 Nick Hafen                       0.20 Review, analyze Kutak fee application.
07/21/21 Nicholas A. Binder               0.20 Correspond with A&M re professional fees.

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Non-K&E Retention

Date     Name                            Hours Description
07/21/21 Dave Gremling                    1.90 Review, analyze Baker & McKenzie draft
                                               OCP declaration (.3); correspond with D.
                                               Hunter, E. Flynn re same (.1); analyze issues
                                               re EY OCP retention (1.2); correspond with
                                               K&E team, A&M team re same (.3).
07/21/21 Derek I. Hunter                  0.60 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/22/21 Dave Gremling                    1.30 Analyze issues re EY OCP retention (.8);
                                               correspond with D. Hunter, E. Flynn, A&M
                                               Team, EY team re same (.5).
07/22/21 Derek I. Hunter                  0.30 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/23/21 Emily Flynn                      0.30 Correspond with D. Gremling re OCP
                                               retentions.
07/23/21 Dave Gremling                    1.50 Analyze issues re EY OCP retention (1.1);
                                               correspond with D. Hunter, E. Flynn, A&M
                                               Team, EY Team re same (.4).
07/23/21 Nick Hafen                       1.10 Review, analyze Deloitte Tax fee statement re
                                               confidentiality (.7); review, analyze Deloitte
                                               FAS fee statement re confidentiality (.4).
07/23/21 Derek I. Hunter                  0.30 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters.
07/26/21 Dave Gremling                    4.60 Analyze issues re EY OCP retention (2.6);
                                               analyze background materials re same (1.4);
                                               correspond with K&E, A&M, EY teams re
                                               same (.6).
07/26/21 Nick Hafen                       1.00 Review A&M fee statement re
                                               confidentiality.
07/26/21 Derek I. Hunter                  1.30 Correspond with K&E team, Debtor
                                               professionals re non-K&E retention matters
                                               (.5); review, analyze and comment on advisor
                                               retention materials, declarations (.8).
07/27/21 Dave Gremling                    1.00 Analyze issues re EY OCP retention (.4);
                                               correspond with K&E, A&M, EY teams re
                                               same (.4); correspond with K&E team,
                                               Company, Baker & McKenzie team re Baker
                                               & McKenzie OCP retention (.2).
07/27/21 Nick Hafen                       0.70 Review Deloitte Tax fee statement re
                                               confidentiality (.2); review Deloitte FAS fee
                                               application re confidentiality (.3); correspond
                                               with M. Rothchild (Deloitte) re same (.2).




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Non-K&E Retention

Date     Name                            Hours Description
07/27/21 Derek I. Hunter                  1.00 Conference and correspond with K&E team,
                                               Debtor professionals re non-K&E retention
                                               matters.
07/28/21 Dave Gremling                    2.80 Review, analyze Baker & McKenzie
                                               Declaration of disinterestedness re OCP work
                                               (.2); correspond with K&E, Company re same
                                               (.3); analyze issues re EY OCP retention
                                               (1.5); review, analyze declaration of
                                               disinterestedness re same (.3); correspond
                                               with K&E team, EY team, A&M team re
                                               same (.5).
07/28/21 Derek I. Hunter                  1.30 Review, analyze, and revise materials re OCP
                                               retention (.9); correspond with K&E team and
                                               A&M re same (.4).
07/29/21 Nicholas A. Binder               0.20 Correspond with A&M re professional fees.
07/29/21 Dave Gremling                    2.20 Analyze issues re EY OCP retention (1.4);
                                               conference with D. Hunter, EY team re same
                                               (.5); correspond with D. Hunter, E. Flynn, EY
                                               team re same (.3).
07/29/21 Nick Hafen                       1.10 Review Kutak invoice re confidentiality and
                                               correspond with Kutak re same (.4); review
                                               PJT fee application re same (.7).
07/29/21 Derek I. Hunter                  2.80 Review, analyze, and revise materials re OCP
                                               retention (1.4); correspond with K&E team,
                                               professional, and A&M re same (.9);
                                               telephone conference with professional re
                                               same (.5).
07/30/21 Nicholas A. Binder               0.20 Correspond with A&M re professional fees.
07/30/21 Dave Gremling                    0.80 Analyze issues re EY OCP retention (.6);
                                               correspond with K&E team, EY team re same
                                               (.2).
07/30/21 Derek I. Hunter                  2.00 Review, analyze, and revise materials re OCP
                                               retention (1.2); correspond with K&E team,
                                               professional, and A&M re same (.8).
07/31/21 Derek I. Hunter                  0.30 Correspond with K&E team, A&M re
                                               ongoing OCP analysis.
07/31/21 Jason T. Jarvis                  0.20 Correspond with D. Hunter re quarterly
                                               ordinary course professionals notice.

Total                                    39.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049153
                                                                               Client Matter: 48457-40

In the Matter of Litigation Advice




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 845,835.00
Total legal services rendered                                                                                $ 845,835.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Litigation Advice




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Bill Arnault                                        174.80   1,245.00        217,626.00
Nicholas A. Binder                                    0.60     875.00            525.00
Cade C. Boland                                       31.20     745.00         23,244.00
Michael S. Casey                                      0.30   1,255.00            376.50
Cassandra Myers Catalano                             96.70   1,065.00        102,985.50
Elizabeth DeGori                                      0.60   1,065.00            639.00
Cassandra E. Fenton                                   2.90     995.00          2,885.50
Maya Frazier                                          1.40     255.00            357.00
James P. Gillespie, P.C.                              8.60   1,535.00         13,201.00
Anthony R. Grossi                                     6.00   1,220.00          7,320.00
Derek I. Hunter                                      38.90   1,125.00         43,762.50
Aleschia D. Hyde                                     42.10     745.00         31,364.50
Jason T. Jarvis                                       2.60     765.00          1,989.00
Kevin M. Jonke                                       44.80   1,080.00         48,384.00
Mike Kraft                                            6.60     945.00          6,237.00
Library Factual Research                              1.30     390.00            507.00
Song Lin                                              1.40     425.00            595.00
Colin J. Martindale                                   6.40     865.00          5,536.00
Casey McGushin                                       40.40   1,095.00         44,238.00
Brian Nakhaimousa                                     0.50     765.00            382.50
John C. O'Quinn, P.C.                                19.30   1,495.00         28,853.50
Evan Ribot                                           24.70     745.00         18,401.50
Alexandra Schrader                                    6.70     745.00          4,991.50
Anne McClain Sidrys, P.C.                            17.30   1,615.00         27,939.50
Michael B. Slade                                     91.70   1,445.00        132,506.50
Gary M. Vogt                                         18.10     460.00          8,326.00
Laura Elizabeth Wolk                                 63.80   1,085.00         69,223.00
Jeffrey J. Zeiger, P.C.                               2.30   1,495.00          3,438.50

TOTALS                                              752.00                 $ 845,835.00




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                                     Description of Legal Services

Date     Name                               Hours Description
07/01/21 Bill Arnault                        2.10 Participate in telephone conference with EHP,
                                                  K&E team re restructuring issues (.9); prepare
                                                  for same (1.2).
07/01/21 Bill Arnault                        0.50 Participate in telephone conference with A.
                                                  Hyde, K. Jonke, and C. McGushin re
                                                  guarantee litigation.
07/01/21 Bill Arnault                        1.10 Review, analyze summary judgment motion
                                                  (.6); conference with L. Wolk re same (.5).
07/01/21 Cade C. Boland                      1.60 Review and analyze documents re guarantee
                                                  release re responsiveness and privilege.
07/01/21 Cassandra Myers Catalano            2.40 Review discovery collections and production
                                                  (.5); draft memorandum re discovery status
                                                  (1.9).
07/01/21 Aleschia D. Hyde                    1.50 Telephone conference with C. McGushin, B.
                                                  Arnault, and K. Jonke re guarantee litigation
                                                  (.5); prepare for same (1.0).
07/01/21 Kevin M. Jonke                      1.50 Review documents re guarantee litigation.
07/01/21 Kevin M. Jonke                      0.50 Participate in telephone conference with B.
                                                  Arnault, A. Hyde, B. Arnault, C. McGushin re
                                                  guarantee litigation.
07/01/21 Evan Ribot                          0.90 Review documents re guarantee litigation.
07/01/21 Anne McClain Sidrys, P.C.           2.80 Review, analyze discovery issues.
07/01/21 Laura Elizabeth Wolk                7.50 Conference with B. Arnault re summary
                                                  judgment motion (.5); review same (2.3);
                                                  telephone conference with S. McElroy re
                                                  research re same (.7); research re same (2.5);
                                                  draft memorandum re same (1.5).
07/02/21 Bill Arnault                        0.30 Participate in telephone conference with L.
                                                  Wolk re summary judgment briefing.
07/02/21 Bill Arnault                        2.10 Review documents re discovery re guarantee
                                                  litigation.
07/02/21 Cade C. Boland                      1.80 Review and analyze documents re guarantee
                                                  releases for responsiveness and privilege.
07/02/21 Cassandra Myers Catalano            4.00 Draft memorandum re guarantee litigation
                                                  (.7); review documents re guarantees for
                                                  responsiveness (2.8); revise coding panel for
                                                  guarantee review (.5).
07/02/21 Aleschia D. Hyde                    1.50 Review, analyze case documents, materials re
                                                  litigation, matter issues.


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Date     Name                            Hours Description
07/02/21 Kevin M. Jonke                   4.50 Review, analyze guarantee documents (4.0);
                                               review analyze pleadings re same (.5).
07/02/21 Kevin M. Jonke                   2.50 Review legal memorandum re guarantee
                                               issues.
07/02/21 Casey McGushin                   2.30 Participate telephone conference with M.
                                               Slade, K&E team re SES claim (1.0); review
                                               and analyze documents re same (1.3).
07/02/21 John C. O'Quinn, P.C.            1.50 Telephone conference with Company re
                                               litigation update (.5); telephone conference
                                               with M. Slade, K&E team re trial preparation
                                               (1.0).
07/02/21 Evan Ribot                       0.80 Review and analyze documents re parent
                                               guarantees re production.
07/02/21 Anne McClain Sidrys, P.C.        1.00 Analyze discovery responses.
07/02/21 Michael B. Slade                 1.00 Telephone conference with litigation trial
                                               team re litigation considerations.
07/02/21 Laura Elizabeth Wolk             7.00 Research re summary judgment reply (3.1);
                                               draft memorandum re same (3.9).
07/03/21 Bill Arnault                     1.10 Review document requests from creditors’
                                               counsel (.7); correspond with M. Slade, K&E
                                               team re same (.4).
07/03/21 Bill Arnault                     1.20 Participate in telephone conference with K&E
                                               team re litigation work in process.
07/03/21 Cade C. Boland                   1.50 Review and analyze documents re guarantee
                                               releases re responsiveness and privilege.
07/03/21 Cassandra Myers Catalano         1.60 Review guarantee documents re
                                               responsiveness.
07/03/21 Derek I. Hunter                  0.30 Correspond with B. Nakhaimousa, K&E team
                                               re litigation strategy.
07/03/21 Kevin M. Jonke                   4.50 Review documents re discovery re guarantee
                                               materials.
07/03/21 Casey McGushin                   1.40 Review and analyze deposition transcripts re
                                               SES claim trial.
07/03/21 Evan Ribot                       0.10 Review documents re discovery re
                                               guarantees.
07/04/21 Derek I. Hunter                  0.90 Conference with K&E team re litigation
                                               strategy, settlement (.5); review, analyze draft
                                               motion re same (.4).
07/04/21 Evan Ribot                       0.10 Review and analyze settlement proposal.




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Date     Name                            Hours Description
07/05/21 Bill Arnault                     6.60 Review documents re guarantee litigation re
                                               responsiveness (3.7); review same re privilege
                                               (2.9).
07/05/21 Derek I. Hunter                  2.60 Telephone conference with B. Arnault, K&E
                                               team re discovery responses (.2); review,
                                               analyze discovery requests, proposed
                                               responses (1.4); review, analyze, and revise
                                               memorandum re litigation issues and
                                               settlement (.8); conference with B. Arnault
                                               K&E team re same (.2).
07/05/21 Aleschia D. Hyde                 0.30 Review documents re litigation, case
                                               background.
07/06/21 Bill Arnault                     1.80 Review guarantee litigation documents re
                                               discovery.
07/06/21 Bill Arnault                     0.30 Review guarantee litigation documents re
                                               document review.
07/06/21 Bill Arnault                     0.60 Participate in telephone conference with ad
                                               hoc equity committee re litigation
                                               considerations re plan.
07/06/21 Bill Arnault                     0.10 Participate in telephone conference with Paul
                                               Weiss re discovery.
07/06/21 Bill Arnault                     0.60 Review guarantee litigation documents re
                                               document production.
07/06/21 Bill Arnault                     0.40 Participate in telephone conference with C.
                                               Boland, K&E team re litigation work in
                                               process.
07/06/21 Bill Arnault                     0.90 Correspond with Jones Day, C. Catalano, M.
                                               Slade, A. Grossi, and A. Sidrys re discovery
                                               requests.
07/06/21 Bill Arnault                     5.70 Review, analyze guarantee litigation
                                               documents re privilege (2.9); review analyze
                                               guarantee litigation documents re
                                               responsiveness (2.8).
07/06/21 Cade C. Boland                   2.00 Review and analyze documents re
                                               responsiveness, privilege re guarantee
                                               releases (1.6); participate in conference with
                                               C. Catalano, K&E team re litigation work in
                                               process (.4).




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Date     Name                            Hours Description
07/06/21 Cassandra Myers Catalano         3.40 Review guarantee documents for
                                               responsiveness (2.0); review documents re
                                               D&O policies (.5); conference with K&E
                                               team re discovery and negotiations status (.4);
                                               review, analyze board minutes re discovery
                                               requests (.5).
07/06/21 Elizabeth DeGori                 0.60 Review documents re parent guarantees re
                                               production.
07/06/21 Derek I. Hunter                  5.10 Conference with Company advisors re
                                               litigation strategy, potential settlement (3.0);
                                               correspond with K&E team re adversary
                                               pleadings, discovery requests, and related
                                               litigation strategy (.4); review, analyze, and
                                               revise discovery responses, litigation
                                               pleadings, and related analysis (.6); review,
                                               analyze, and revise memorandum re litigation
                                               issues and related strategy (1.1).
07/06/21 Aleschia D. Hyde                 5.00 Review documents re litigation work in
                                               process, case background (4.0); prepare for
                                               and attend telephone conference with M.
                                               Slade, K&E team re document review (1.0).
07/06/21 Kevin M. Jonke                   2.50 Review, analyze plan related pleadings.
07/06/21 Kevin M. Jonke                   0.50 Participate in telephone conference with M.
                                               Slade and K&E team re litigation work in
                                               process.
07/06/21 Kevin M. Jonke                   2.80 Review documents re guarantees re
                                               production.
07/06/21 Mike Kraft                       0.40 Participate in telephone conference with M.
                                               Slade, K&E team re litigation work in
                                               process.
07/06/21 Mike Kraft                       0.60 Review, analyze documents re guarantees re
                                               production.
07/06/21 Colin J. Martindale              0.40 Telephone conference with M. Slade and
                                               K&E team re litigation work in process.
07/06/21 John C. O'Quinn, P.C.            1.00 Review, comment on memorandum re
                                               opposition to SES Summary Judgment brief.
07/06/21 Evan Ribot                       1.60 Prepare for and participate in conference re
                                               settlement negotiations and document review
                                               (.5); review documents re discovery re
                                               guarantees (1.1).




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Date     Name                            Hours Description
07/06/21 Michael B. Slade                 4.70 Conferences with other advisors (3.4);
                                               telephone conference with ad hoc equity
                                               committee (.5); telephone conference with
                                               K&E team re update and follow up re same
                                               (.8).
07/06/21 Gary M. Vogt                     0.50 Compile responses to SES discovery requests.
07/06/21 Laura Elizabeth Wolk             8.00 Research re guarantee claims (4.0); draft
                                               summary judgment response (4.0).
07/07/21 Bill Arnault                     0.20 Participate in telephone conference with Paul
                                               Weiss re discovery (.1); correspond with M.
                                               Slade, D. Hunter, A. Grossi, C. McGushin,
                                               and C. Catalano re same (.1).
07/07/21 Bill Arnault                     1.90 Participate in telephone conference with
                                               directors' advisors re discovery (.3); prepare
                                               for same (1.6).
07/07/21 Bill Arnault                     1.10 Review guarantee litigation documents re
                                               discovery.
07/07/21 Bill Arnault                     1.80 Review guarantee litigation documents re
                                               document production.
07/07/21 Bill Arnault                     1.70 Review guarantee documents for privilege
                                               considerations.
07/07/21 Bill Arnault                     2.90 Review litigation documents for
                                               responsiveness.
07/07/21 James P. Gillespie, P.C.         1.10 Review Company submission of
                                               supplemental authority and cited case law
                                               (.8); correspond with M. Adams re scheduling
                                               issues and review docket re oral argument
                                               (.3).
07/07/21 Anthony R. Grossi                1.10 Correspond with K&E team re discovery
                                               issues.
07/07/21 Derek I. Hunter                  5.20 Conference with Company advisors re
                                               litigation strategy, potential settlement (2.7);
                                               correspond with C. Catalano, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy (.7); review,
                                               analyze, and revise discovery responses,
                                               litigation pleadings, and related analysis (.9);
                                               review, analyze, and revise memorandum re
                                               litigation issues and related strategy (.9).
07/07/21 Aleschia D. Hyde                 4.00 Review, analyze case documents re
                                               background, litigation strategy.




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Date     Name                            Hours Description
07/07/21 Jason T. Jarvis                  1.10 Correspond with M. Lemm, K&E team re
                                               letters re legal claims (.6); review, analyze
                                               same (.5).
07/07/21 Kevin M. Jonke                   4.00 Review documents re guarantees re
                                               production.
07/07/21 Casey McGushin                   5.10 Review documents re guarantees re
                                               responsiveness (2.6); review documents re
                                               guarantees re privilege (2.1); participate in
                                               telephone conference with C. Catalano, K&E
                                               team and director advisors re discovery
                                               request (.4).
07/07/21 Brian Nakhaimousa                0.50 Attend conference with C. Catalano, K&E
                                               team, director advisors re discovery request.
07/07/21 Evan Ribot                       2.20 Review documents re discovery re
                                               guarantees.
07/07/21 Anne McClain Sidrys, P.C.        3.00 Analyze issues re document issues/disputes
                                               (2.1); telephone conference with creditor
                                               counsel re requests/issues (.6); analyze plan
                                               related motion (.3).
07/07/21 Michael B. Slade                 6.60 Telephone conference with Company (.5);
                                               participate in conferences (3.4); review
                                               Supernet letter (1.4); review and revise
                                               presentation (1.3).
07/07/21 Gary M. Vogt                     2.00 Research, compile information for response to
                                               litigation-related information request.
07/07/21 Laura Elizabeth Wolk             3.00 Draft summary judgment response (2.8);
                                               correspond with M. Slade and J. O'Quinn re
                                               same (.2).
07/08/21 Bill Arnault                     0.70 Correspond with C. Catalano and C.
                                               McGushin re document review, production
                                               plan, batches (.4); review and revise
                                               responses and objections to discovery
                                               requests (.3).
07/08/21 Bill Arnault                     1.10 Review guarantee litigation documents re
                                               discovery.
07/08/21 Bill Arnault                     2.10 Review guarantee litigation documents re
                                               document review.
07/08/21 Bill Arnault                     0.60 Revise and review responses and objections
                                               to document requests.
07/08/21 Bill Arnault                     0.60 Review guarantee litigation documents re
                                               privilege.
07/08/21 Bill Arnault                     2.70 Draft responses and objections re requests for
                                               production.

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Date     Name                            Hours Description
07/08/21 Bill Arnault                     0.70 Review guarantee litigation documents re
                                               responsiveness.
07/08/21 Cassandra Myers Catalano         2.80 Finalize production re directors (1.0); review
                                               and revise discovery plan for production
                                               vendor (1.8).
07/08/21 James P. Gillespie, P.C.         1.40 Review motion to dismiss reply briefing.
07/08/21 Derek I. Hunter                  6.10 Conference with Company advisors re
                                               litigation strategy, potential settlement (3.0);
                                               correspond with K&E team re adversary
                                               pleadings, discovery requests, and related
                                               litigation strategy (.4); review, analyze, and
                                               revise discovery responses, litigation
                                               pleadings, and related analysis (1.0); review,
                                               analyze, and revise memorandum re litigation
                                               issues and related strategy (1.7).
07/08/21 Aleschia D. Hyde                 6.00 Analyze documents re guarantees (3.5);
                                               review same re privilege (2.5).
07/08/21 Kevin M. Jonke                   4.50 Review documents re discovery re guarantee
                                               materials.
07/08/21 Colin J. Martindale              0.60 Review guarantee documents for
                                               responsiveness and privilege.
07/08/21 Casey McGushin                   5.80 Review documents re guarantees re
                                               responsiveness (3.8); review same re privilege
                                               (2.0).
07/08/21 Evan Ribot                       0.90 Review documents re discovery re
                                               guarantees.
07/08/21 Anne McClain Sidrys, P.C.        1.70 Review written discovery responses (1.4);
                                               telephone conference with creditor’s counsel
                                               re privilege (.3).
07/08/21 Michael B. Slade                 6.30 Telephone conference with D. Tolley and
                                               other advisors (.5); participate in conferences
                                               (4.0); telephone conference with Tolley and
                                               K&E team re strategy (.4); revise discovery
                                               responses (1.4).
07/08/21 Gary M. Vogt                     1.50 Upload productions re claims litigation (.5);
                                               research, compile additional information re
                                               claims litigation discovery (1.0).
07/09/21 Bill Arnault                     0.50 Correspond with M. Slade, A. Grossi, D.
                                               Hunter, and M. Ayala re discovery.
07/09/21 Bill Arnault                     0.70 Review and revise responses and objections
                                               to document requests.
07/09/21 Bill Arnault                     0.10 Participate in telephone conference with C.
                                               McGushin re litigation work in process.

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Date     Name                            Hours Description
07/09/21 Bill Arnault                     0.90 Review settlement motion.
07/09/21 Bill Arnault                     1.60 Review guarantee litigation documents re
                                               discovery.
07/09/21 Bill Arnault                     0.70 Participate in telephone conference with
                                               Special Counsel, G. Vogt, and C. Catalano re
                                               discovery and document production.
07/09/21 Bill Arnault                     1.80 Review guarantee litigation documents re
                                               production.
07/09/21 Cade C. Boland                   2.10 Review and analyze documents re guarantees
                                               re responsiveness and privilege.
07/09/21 Cassandra Myers Catalano         5.90 Finalize production set for directors
                                               production (1.8); draft production letter for
                                               directors production (.3); review guarantee
                                               documents for responsiveness (3.0); telephone
                                               conference with B. Arnault, M. MacGrath and
                                               Special Counsel re document production
                                               status (.8).
07/09/21 Derek I. Hunter                  5.10 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (1.7);
                                               review, analyze, and revise discovery
                                               responses, litigation pleadings, and related
                                               analysis (3.4).
07/09/21 Kevin M. Jonke                   4.30 Review documents for production of
                                               guarantee materials (.5); review documents re
                                               guarantees re responsiveness, privilege (3.8).
07/09/21 Library Factual Research         0.20 Research public records.
07/09/21 Colin J. Martindale              3.10 Review guarantee litigation documents for
                                               responsiveness and privilege.
07/09/21 Casey McGushin                   1.70 Review documents re guarantees for
                                               responsiveness and privilege.
07/09/21 John C. O'Quinn, P.C.            0.80 Telephone conference with Company re
                                               litigation work in process (.5); correspond
                                               with M. Slade re same (.3).
07/09/21 Anne McClain Sidrys, P.C.        0.80 Review issues re discovery requests.
07/09/21 Michael B. Slade                 2.30 Telephone conference with PJT and A&M
                                               (.5); review, revise expert work (.6); review,
                                               revise discovery issues (1.2).
07/09/21 Gary M. Vogt                     1.80 Telephone conference with Special Counsel
                                               re discovery matters (.8); review, finalize
                                               serve responses to production requests (1.0).



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Date     Name                            Hours Description
07/10/21 Bill Arnault                     1.00 Participate in telephone conference with K&E
                                               team re litigation work in process.
07/10/21 Cade C. Boland                   0.70 Review and analyze documents re guarantees
                                               for responsiveness and privilege.
07/10/21 Anthony R. Grossi                0.70 Correspond with K&E team re discovery
                                               issues.
07/10/21 Derek I. Hunter                  0.60 Correspond with K&E team re cause of action
                                               settlement, discovery requests, and related
                                               litigation strategy.
07/10/21 Kevin M. Jonke                   3.20 Review documents re guarantees re
                                               production
07/10/21 Colin J. Martindale              1.40 Review and analyze guarantee documents for
                                               responsiveness and privilege.
07/10/21 Casey McGushin                   1.30 Review documents re guarantees for
                                               responsiveness and privilege.
07/10/21 John C. O'Quinn, P.C.            4.00 Review and revise opposition to SES
                                               Summary Judgment brief.
07/10/21 Evan Ribot                       1.10 Review documents re discovery re
                                               guarantees.
07/10/21 Michael B. Slade                 3.30 Telephone conference with A. Grossi, S.
                                               Serajeddini and others re case strategy (1.1);
                                               review, revise summary judgment matters
                                               (1.3); review and revise document responses
                                               (.9).
07/11/21 Bill Arnault                     1.70 Review and revise reply in support of motion
                                               to dismiss.
07/11/21 Bill Arnault                     6.20 Review guarantee litigation documents re
                                               document production.
07/11/21 Cade C. Boland                   2.50 Review and analyze documents re guarantees
                                               for responsiveness and privilege.
07/11/21 Cassandra Myers Catalano         2.10 Review guarantee documents for
                                               responsiveness.
07/11/21 Derek I. Hunter                  2.60 Telephone conferences with M. Alden, K&E
                                               team re settlement constructs (1.0); review,
                                               analyze, and revise analysis and
                                               documentation re same (1.2); correspond with
                                               B. Arnault, K&E team re same (.4).
07/11/21 Jason T. Jarvis                  0.40 Review, revise memorandum re historical
                                               transactions issues.
07/11/21 Kevin M. Jonke                   4.50 Review documents re guarantees re
                                               production (4.0); review same re privilege
                                               (.5).

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Date     Name                            Hours Description
07/11/21 Casey McGushin                   3.90 Review documents re guarantees for
                                               responsiveness and privilege.
07/11/21 Evan Ribot                       1.80 Review documents re discovery re
                                               guarantees.
07/11/21 Michael B. Slade                 3.50 Telephone conference with A. Grossi, S.
                                               Serajeddini, A. Sexton and others re case
                                               strategy (.8); review and revise summary
                                               judgment response (2.7).
07/12/21 Bill Arnault                     0.90 Review guarantee litigation documents re
                                               production.
07/12/21 Bill Arnault                     2.50 Review batches re guarantee litigation
                                               documents re production, responsiveness, and
                                               privilege.
07/12/21 Cade C. Boland                   1.10 Draft motion re opposing motions for partial
                                               summary judgment re guarantee releases.
07/12/21 Cassandra Myers Catalano         7.00 Review guarantee documents for
                                               responsiveness (3.8); coordinate plan
                                               production deliveries to creditor recipients
                                               (.2); telephone conference with B. Arnault re
                                               plan discovery status (.2); draft discovery
                                               requests for Special Counsel (2.8).
07/12/21 Anthony R. Grossi                1.10 Review background on litigation issues.
07/12/21 Derek I. Hunter                  2.80 Correspond with K&E team re litigation
                                               strategy and status of discovery responses
                                               (.5); review, analyze, and revise claim
                                               settlement documents (1.9); correspond with
                                               K&E team re same (.4).
07/12/21 Aleschia D. Hyde                 0.80 Review documents re guarantees.
07/12/21 Colin J. Martindale              0.60 Review guarantee documents re
                                               responsiveness and privilege.
07/12/21 Casey McGushin                   1.10 Review and revise response to summary
                                               judgment motion re guarantee release.
07/12/21 John C. O'Quinn, P.C.            1.00 Review, analyze Summary Judgment
                                               opposition brief.
07/12/21 Evan Ribot                       0.10 Review documents re discovery re
                                               guarantees.




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Date     Name                            Hours Description
07/12/21 Michael B. Slade                 5.80 Telephone conference with M. Bryan, S.
                                               Serajeddini, and A. Grossi (.6); telephone
                                               conference with A&M and others re expert
                                               work (1.8); review and revise summary
                                               judgment brief (2.6); telephone conference
                                               with advisors to special committees (.3);
                                               telephone conference with advisor to ad hoc
                                               equity committee (.3); review Supernet papers
                                               (.2).
07/12/21 Gary M. Vogt                     0.50 Review, coordinate matters re additional
                                               service of Special Committee productions.
07/12/21 Laura Elizabeth Wolk             0.20 Review, analyze summary judgment reply.
07/13/21 Bill Arnault                     2.70 Review guarantee litigation documents re
                                               production re responsiveness and privilege.
07/13/21 Bill Arnault                     0.90 Review Paul Weiss discovery documents (.7);
                                               correspond with M. Slade and A. Grossi re
                                               same (.2).
07/13/21 Bill Arnault                     6.60 Correspond with C. Catalano re privilege log
                                               and documents (.9); prepare for meet and
                                               confer with ad hoc group re discovery issues
                                               (.6); review settlement motion (.9) correspond
                                               with M. Slade and directors re document
                                               request responses (.2); review guarantee
                                               litigation documents for privilege and
                                               responsiveness (4.0).
07/13/21 Michael S. Casey                 0.30 Correspond with K&E team re litigation
                                               considerations.
07/13/21 Cassandra Myers Catalano         4.00 Review responsive documents re guarantees
                                               (2.0); review responsive and privileged
                                               documents re parent guarantee (2.0).
07/13/21 Maya Frazier                     1.00 Review and revise deposition exhibits.
07/13/21 Derek I. Hunter                  1.00 Review, analyze, and revise litigation
                                               settlement documents.
07/13/21 John C. O'Quinn, P.C.            1.50 Review, revised Summary Judgment
                                               opposition brief.
07/13/21 Anne McClain Sidrys, P.C.        0.90 Correspond with creditor counsel re discovery
                                               disputes.
07/13/21 Anne McClain Sidrys, P.C.        0.80 Review revised inter-company chart.
07/13/21 Michael B. Slade                 5.20 Telephone conference with M. Bryan and
                                               others (.5); review and revise summary
                                               judgment brief (2.9); review and revise
                                               summary document (.6); review discovery
                                               responses (1.2).

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Date     Name                            Hours Description
07/14/21 Bill Arnault                     2.90 Review guarantee litigation documents for
                                               responsiveness and privilege.
07/14/21 Bill Arnault                     0.20 Participate in telephone conference with M.
                                               Marcus re discovery.
07/14/21 Bill Arnault                     0.60 Correspond with C. Catalano re discovery
                                               plan, document production batches.
07/14/21 Bill Arnault                     3.60 Review parent guarantee, plan and
                                               negotiation and DIP related documents re
                                               responsiveness and privilege.
07/14/21 Bill Arnault                     0.70 Participate in meet and confer with M. Ayala
                                               re document requests (.2); prepare for same
                                               (.5).
07/14/21 Bill Arnault                     0.40 Review and revise responses and objections
                                               to Jones Day document requests.
07/14/21 Bill Arnault                     0.10 Participate in telephone conference with M.
                                               Marcus re discovery.
07/14/21 Bill Arnault                     2.10 Review documents re debtors' restructuring
                                               and other issues re production.
07/14/21 Cassandra Myers Catalano         4.10 Review discovery, production status (2.0);
                                               draft privilege log responses (.3); analyze
                                               status of ongoing vendor document collection
                                               and production tasks (.3); draft memorandum
                                               re same (1.0); compile privilege batches (.5).
07/14/21 Anthony R. Grossi                1.10 Review background on litigation issues.
07/14/21 Derek I. Hunter                  1.10 Conference and correspond with C. Catalano,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.4);
                                               review, analyze, and revise discovery
                                               responses, litigation pleadings, and related
                                               analysis (.7).
07/14/21 John C. O'Quinn, P.C.            1.00 Review revised memorandum re Summary
                                               Judgment brief opposition (.2); telephone
                                               conference re letter from creditor group (.2);
                                               reviewing edits to Summary Judgment
                                               opposition brief (.6).
07/14/21 Michael B. Slade                 5.10 Telephone conference with Company and
                                               others (.5); review and revise brief (2.7);
                                               review and revise discovery responses (1.1);
                                               review and revise one page summary (.5);
                                               telephone conferences re diligence requests
                                               (.3).
07/14/21 Laura Elizabeth Wolk             0.30 Review summary judgment brief.


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Date     Name                            Hours Description
07/15/21 Bill Arnault                     3.10 Review letter from Jones Day re claims (.6);
                                               research re same (2.1), correspond with M.
                                               Slade, C. Martindale, and E. Ribot re same
                                               (.4).
07/15/21 Bill Arnault                     1.60 Review documents re tax issues, accelerated
                                               relocation payments re production.
07/15/21 Cade C. Boland                   3.80 Research re guarantee releases (2.0); draft
                                               memorandum re same (1.7); correspond with
                                               B. Nakhaimousa re litigation work in process
                                               (.1).
07/15/21 Cassandra Myers Catalano         3.60 Review privileged documents re guarantees
                                               (2.3); compile redaction batches re guarantee
                                               documents (1.0); prepare guarantee
                                               production batch (.3).
07/15/21 James P. Gillespie, P.C.         4.30 Review motion to dismiss briefing, pleadings,
                                               select cited case law (3.4); prepare for and
                                               participate in telephone conference with
                                               counsel to Directors re same (.9).
07/15/21 Derek I. Hunter                  1.00 Review, analyze draft complaint (.5);
                                               conference with director advisors re same
                                               (.5).
07/15/21 Casey McGushin                   1.10 Research re guarantee releases.
07/15/21 John C. O'Quinn, P.C.            1.50 Review, comment on Summary Judgment
                                               opposition brief.
07/15/21 Evan Ribot                       1.60 Review and analyze letter and complaint re
                                               Brophy claim (.4); research re same (1.2).
07/15/21 Anne McClain Sidrys, P.C.        1.50 Review, revise arbitration brief.
07/15/21 Michael B. Slade                 4.30 Review and revise brief (3.1); telephone
                                               conference re letter and evidence re same (.6);
                                               review same (.6).
07/15/21 Gary M. Vogt                     1.30 Compile production requests (.8); correspond
                                               with Epiq re processing (.5).
07/15/21 Laura Elizabeth Wolk             0.50 Review, analyze summary judgment reply.
07/16/21 Bill Arnault                     1.30 Review production batches.
07/16/21 Bill Arnault                     0.30 Prepare for and participate in telephone
                                               conference with C. Catalano, K&E team, and
                                               the Directors re discovery status.
07/16/21 Bill Arnault                     0.50 Research re fiduciary duties.
07/16/21 Bill Arnault                     1.30 Draft memorandum re fiduciary duties (1.0);
                                               correspond with M. Slade re same (.3).
07/16/21 Bill Arnault                     0.90 Review documents re tax issues, accelerated
                                               relocation payments re discovery.

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Date     Name                            Hours Description
07/16/21 Bill Arnault                     1.10 Review documents re tax issues, accelerated
                                               relocation payments, and negotiations re
                                               production.
07/16/21 Bill Arnault                     1.20 Review, revise, and draft discovery
                                               Responses and Objections.
07/16/21 Bill Arnault                     0.20 Participate in telephone conference with C.
                                               Catalano re discovery.
07/16/21 Cassandra Myers Catalano         5.40 Review guarantee document production (1.5);
                                               finalize guarantee production (1.7); review
                                               and redact privileged guarantee documents
                                               (1.0); draft memorandum re privilege review
                                               status (.8); telephone conference with B.
                                               Arnault re discovery status (.2); draft
                                               production letter (.2).
07/16/21 James P. Gillespie, P.C.         0.60 Review D. McGlade supplemental authority
                                               filing and cited case law.
07/16/21 Anthony R. Grossi                0.90 Correspond with K&E team re litigation
                                               issues.
07/16/21 Derek I. Hunter                  1.00 Review, analyze, and revise draft litigation
                                               resolution pleadings.
07/16/21 Jason T. Jarvis                  0.10 Review, revise litigation letter; revise tracker
                                               re same.
07/16/21 Evan Ribot                       0.70 Research re fiduciary duties (.4); research re
                                               Brophy claims (.3).
07/16/21 Michael B. Slade                 4.80 Telephone conference with PJT and others
                                               (.5); review and revise brief (2.4); telephone
                                               conference re diligence re letter (.5);
                                               telephone conference with D. Tolley (.4);
                                               telephone conference with M. Bryan and S.
                                               Serajeddini (.6); follow up re same (.4).
07/16/21 Gary M. Vogt                     2.70 Correspond with creditors re production
                                               materials (1.0); review, revise same (1.0);
                                               compile same (.7).
07/17/21 Bill Arnault                     0.30 Participate in telephone conference with K&E
                                               team re litigation work in process.
07/17/21 Song Lin                         1.40 Assemble materials re document production.
07/17/21 Michael B. Slade                 2.10 Telephone conference with A. Grossi and
                                               others re case strategy (.5); correspond re
                                               diligence requests (.8); review brief (.8).
07/17/21 Gary M. Vogt                     3.00 Compile production materials re claim
                                               litigation.
07/18/21 Bill Arnault                     0.90 Review document request re discovery.


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Date     Name                            Hours Description
07/18/21 Bill Arnault                     3.20 Review converts' plan-related documents re
                                               document production.
07/18/21 Michael B. Slade                 1.30 Review, revise brief.
07/18/21 Gary M. Vogt                     0.50 Correspond with directors advisors re
                                               production materials re claim litigation.
07/19/21 Bill Arnault                     3.60 Review research memorandum re litigation
                                               issues (1.5); correspond with M. Slade, A.
                                               Grossi, D. Hunter, C. McGushin, C. Catalano,
                                               and Special Counsel re document production,
                                               discovery (2.1).
07/19/21 Bill Arnault                     0.30 Participate in telephone conference with A.
                                               Grossi, D. Hunter, and M. Slade re litigation.
07/19/21 Cassandra Myers Catalano         6.00 Review privileged documents and redact for
                                               production (3.0); draft memorandum re
                                               guarantee document production (.7); review
                                               guarantee document batching re search and
                                               date parameters (1.5); analyze document
                                               batching issues (.8).
07/19/21 Derek I. Hunter                  1.40 Conference and correspond with B. Arnault,
                                               K&E team re adversary pleadings, discovery
                                               requests, and related litigation strategy (.3);
                                               review, analyze, and revise discovery
                                               responses, litigation pleadings, and related
                                               analysis (1.1).
07/19/21 John C. O'Quinn, P.C.            1.50 Review SES Summary Judgment opposition
                                               brief and correspondence re same.
07/19/21 Michael B. Slade                 4.90 Telephone conference with Company and
                                               others (.5); telephone conference with A&M
                                               re expert work and follow up re same (1.0);
                                               telephone conference with PJT (.3); telephone
                                               conference with B. Arnault, A. Grossi and D.
                                               Hunter (.4); telephone conference with
                                               counsel for director (.5); review documents
                                               for exhibit list (1.8); review diligence requests
                                               (.4).
07/19/21 Gary M. Vogt                     0.30 Compile materials re claim litigation.
07/19/21 Laura Elizabeth Wolk             1.50 Review, comment on SES's response to
                                               summary judgment.
07/20/21 Cade C. Boland                   4.60 Review and analyze documents re guarantee
                                               releases re responsiveness (3.1); review and
                                               analyze same re privilege (1.5).




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Date     Name                            Hours Description
07/20/21 Cassandra Myers Catalano         4.90 Review guarantee documents for production
                                               (4.0); draft memorandum re privileged
                                               documents (.9).
07/20/21 Aleschia D. Hyde                 3.00 Review guarantee documents.
07/20/21 John C. O'Quinn, P.C.            1.00 Telephone conference with L. Wolk, K&E
                                               team re trial preparation and Summary
                                               Judgment briefing.
07/20/21 Anne McClain Sidrys, P.C.        0.50 Review discovery issues.
07/20/21 Michael B. Slade                 5.20 Telephone conference with Company, S.
                                               Serajeddini, K&E team (.5); telephone
                                               conference re Supernet (.4); review papers re
                                               same (.4); telephone conference with K&E
                                               team (.8); telephone conferences with counsel
                                               for interested party (.5); review diligence
                                               requests and responses to same (1.1);
                                               correspond re expert work (.6); review
                                               witness outline (.9).
07/20/21 Gary M. Vogt                     0.30 Correspond with director advisors re
                                               summary judgement filings.
07/20/21 Laura Elizabeth Wolk             1.00 Telephone conference with J. O’Quinn, K&E
                                               team re summary judgment brief.
07/21/21 Bill Arnault                     2.90 Review documents re ad hoc creditor group
                                               document requests re production.
07/21/21 Bill Arnault                     4.10 Review documents re guarantee litigation re
                                               discovery (4.0); correspond with ad hoc
                                               creditor group re same (.1).
07/21/21 Bill Arnault                     3.00 Participate in telephone conference with L.
                                               Philips re expert witness (.1); participate in
                                               telephone conference with M. Slade re case
                                               and discovery (.1); prepare for meet and
                                               confer with ad hoc creditor group (.8);
                                               research re expert witnesses (.7); correspond
                                               with M. Slade, A. Grossi, D. Hunter, C.
                                               Catalano, and C. McGushin re discovery,
                                               document productions, and experts (1.1);
                                               review redactions (.2).
07/21/21 Cade C. Boland                   3.50 Review and analyze documents re guarantee
                                               releases for responsiveness and privilege.
07/21/21 Cassandra Myers Catalano         7.00 Review guarantee documents re production
                                               (4.0); correspond with B. Arnault, K&E team
                                               re guarantee document review status (1.0);
                                               analyze issues re guarantee document
                                               productions (2.0).


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Date     Name                            Hours Description
07/21/21 Maya Frazier                     0.40 Compile documents re creditor request.
07/21/21 Aleschia D. Hyde                 8.30 Review, analyze guarantee documents (4.0);
                                               review, analyze guarantee release documents
                                               (4.0); draft summary memorandum re same
                                               (.3).
07/21/21 Evan Ribot                       3.30 Review documents re discovery re
                                               guarantees.
07/21/21 Anne McClain Sidrys, P.C.        1.00 Review, analyze discovery responses.
07/21/21 Michael B. Slade                 5.10 Telephone conference with PJT and K&E
                                               team (.5); telephone conference with L.
                                               Lakarovsky and M. Kelly (.3); telephone
                                               conference with C. Kelly (.3); review expert
                                               work streams (1.2); review diligence requests
                                               and responses to same (.6); draft trial witness
                                               outline (2.2).
07/21/21 Laura Elizabeth Wolk             3.00 Research re punitive damages (2.7);
                                               correspond with M. Slade and J. O'Quinn re
                                               same (.3).
07/22/21 Bill Arnault                     8.10 Review documents re guarantees re
                                               responsiveness (4.0); compile same (1.6);
                                               participate in telephone conference with M.
                                               Slade and C. McGushin re litigation work in
                                               process (.2); prepare for meet and confer (.5);
                                               and draft memorandum re search terms,
                                               custodians, date range, and other parameters
                                               re production (1.6); correspond with C.
                                               Catalano re discovery (.2).
07/22/21 Nicholas A. Binder               0.20 Telephone conference with C. McGushen re
                                               protective order (.1); telephone conference
                                               with creditor advisor re same (.1).
07/22/21 Cade C. Boland                   5.70 Review and analyze documents re guarantees
                                               re responsiveness and privilege (3.8); review
                                               and analyze documents re guarantee releases
                                               re same (1.9).
07/22/21 Cassandra Myers Catalano         6.20 Review documents re guarantees for
                                               production (3.0); compile production
                                               documents (1.2); review same (2.0).
07/22/21 James P. Gillespie, P.C.         0.80 Correspond with Company re motion to
                                               dismiss briefing (.1); review same (.7).
07/22/21 Aleschia D. Hyde                 7.00 Review documents re guarantees re
                                               responsiveness (3.6); review same re privilege
                                               (3.4).



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07/22/21 Kevin M. Jonke                   3.50 Review documents re guarantees re
                                               production.
07/22/21 Mike Kraft                       1.80 Review and analyze documents re guarantees
                                               for responsiveness.
07/22/21 Library Factual Research         1.10 Research case filings in New York Supreme
                                               Court case.
07/22/21 Casey McGushin                   2.70 Review and analyze documents re guarantees
                                               for responsiveness and privilege.
07/22/21 Evan Ribot                       4.80 Review documents re discovery re guarantees
                                               (2.9); review, analyze same re privilege (1.9).
07/22/21 Michael B. Slade                 5.80 Telephone conference with Company and D.
                                               Tolley (.5); telephone conference with
                                               counsel for special committee (.5); review
                                               diligence requests re same (.7); telephone
                                               conference with B. Arnault and C. McGushin
                                               re work streams (.3); telephone conference
                                               with Centerview and Company re financing
                                               (.7); telephone conference with S. Zelin, L.
                                               Lakarovsky, S. Serajeddini, A. Grossi and
                                               others re structuring issues (.5); telephone
                                               conference with A&M re expert work and
                                               follow up re same (1.0); review trial outlines
                                               (1.6).
07/22/21 Laura Elizabeth Wolk             8.00 Research re guarantees (4.0); further draft
                                               reply to motion for summary judgment (4.0).
07/23/21 Bill Arnault                     5.10 Participate in meet and confer with ad hoc
                                               creditor group re discovery requests (.6);
                                               prepare for same (2.1); participate in
                                               telephone conferences with C. Catalano re
                                               discovery (.8); participate in telephone
                                               conference with litigation team re litigation
                                               work in process (.3); draft discovery and
                                               document production review plan (1.1);
                                               prepare for telephone conference with C.
                                               Catalano re same (.2).
07/23/21 Cade C. Boland                   0.30 Participate in telephone conference with C.
                                               Catalano, K&E team re litigation work in
                                               process.




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07/23/21 Cassandra Myers Catalano         7.00 Review documents re guarantees re
                                               production (2.5); telephone conference with
                                               B. Arnault re discovery status (.8); conference
                                               with M. Slade and K&E team re case status
                                               (.2); draft searches and instructions for
                                               discovery vendor (2.0); draft privilege log
                                               protocol (1.5).
07/23/21 Aleschia D. Hyde                 0.50 Participate in conference with M. Slade, K&E
                                               team re litigation work in process.
07/23/21 Kevin M. Jonke                   1.00 Review documents for production of
                                               materials re parent guarantees.
07/23/21 Kevin M. Jonke                   0.50 Participate in conference with M. Slade, K&E
                                               team re litigation work in process.
07/23/21 Mike Kraft                       3.50 Review documents re guarantees for
                                               responsiveness.
07/23/21 Mike Kraft                       0.30 Participate in telephone conference with M.
                                               Slade, K&E team re litigation work in
                                               process.
07/23/21 Colin J. Martindale              0.30 Conference with M. Slade and K&E team re
                                               litigation work in process.
07/23/21 Casey McGushin                   5.10 Draft and revise direct examination outline re
                                               SES claims trial (3.1); draft and revise cross-
                                               examination outline re same (1.6); conference
                                               with M. Slade and K&E team re litigation
                                               work in process (.4).
07/23/21 John C. O'Quinn, P.C.            0.50 Telephone conference with Company re
                                               litigation status.
07/23/21 Evan Ribot                       0.20 Review documents re discovery re
                                               guarantees.
07/23/21 Anne McClain Sidrys, P.C.        1.80 Telephone conference re update on plan,
                                               litigation issues (.9); telephone conferences
                                               with Company re discovery (.9).
07/23/21 Michael B. Slade                 4.30 Telephone conference with Company, S.
                                               Spengler and K&E team (.5); telephone
                                               conference with K&E team re update (.5);
                                               review and revise letter (.4); review diligence
                                               requests and responses to same (1.1);
                                               telephone conference re expert work (.6);
                                               draft trial outline (1.2).
07/23/21 Laura Elizabeth Wolk             8.00 Research re guarantees (4.0); further draft
                                               motion for summary judgment (4.0).




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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
07/24/21 Bill Arnault                      0.90 Prepare for and participate in telephone
                                                conference with M. Slade, K&E team re
                                                litigation work in process.
07/24/21 Cassandra E. Fenton               0.10 Telephone conference with M. Slade, K&E
                                                team re litigation work in process.
07/24/21 Michael B. Slade                  2.60 Telephone conference with S. Serajeddini, A.
                                                Grossi and others re case strategy (.8); review
                                                and revise pleadings re DIP (1.1); review
                                                expert work (.7).
07/25/21 Bill Arnault                      0.30 Correspond with M. Slade re discovery.
07/25/21 Derek I. Hunter                   0.30 Correspond with C. Catalano, K&E team re
                                                litigation strategy.
07/25/21 Michael B. Slade                  1.90 Review discovery requests (.4); correspond re
                                                same (.4); review, analyze trial outline (1.1).
07/26/21 Bill Arnault                     10.40 Participate in telephone conference with M.
                                                Slade re litigation work in process (.2);
                                                correspond with Company, M. Slade, C.
                                                Catalano, and director advisors re discovery
                                                (1.1); review production documents re
                                                privilege (2.2); review same re
                                                inconsistencies (2.3); review same re
                                                responsiveness (2.6); draft responses to
                                                requests for production (.5), review, analyze
                                                issues re production (1.1), and review
                                                documents re same (.4).
07/26/21 Cassandra Myers Catalano          3.20 Draft privilege log review panel and
                                                instructions for vendor (1.0); draft
                                                memorandum re intercompany transactions
                                                (1.0); review status of DIP collections and
                                                diligence (.7); draft privilege log review plan
                                                (.5).
07/26/21 Anthony R. Grossi                 0.40 Correspond with K&E team re discovery
                                                issues.
07/26/21 Casey McGushin                    2.70 Draft and revise cross examination outline for
                                                Witness 1 and Witness 2 re claim litigation
                                                trial.
07/26/21 Evan Ribot                        0.10 Review and analyze privilege guidelines re
                                                document review.
07/26/21 Michael B. Slade                  3.80 Telephone conference with S. Serajeddini, S.
                                                Zelin, D. Tolley, Company, A. Grossi and
                                                K&E team re case strategy (.5); review
                                                discovery requests (.9); review and revise
                                                reply brief (2.4).


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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
07/26/21 Laura Elizabeth Wolk              7.00 Revise reply to motion for summary judgment
                                                (4.0); review, analyze same (2.2); correspond
                                                with M. Slade, K&E team re same (.8).
07/27/21 Bill Arnault                     10.20 Participate in telephone conference with J.
                                                O’Quinn re discovery (.1); prepare for same
                                                (.6); review documents for production (3.3);
                                                participate in telephone conference with C.
                                                Fenton, C. Catalano, C. McGushin, and A.
                                                Schrader re litigation work in process, case
                                                background (1.0); review third-party
                                                production documents and correspond with
                                                M. Slade, A. Grossi, and D. Hunter re same
                                                (2.9); review outstanding discovery requests
                                                (1.2) draft tracker re same (.8); review revised
                                                expert retention letter (.2); correspond with S.
                                                Herlihy re same (.1).
07/27/21 Cassandra Myers Catalano          3.00 Review SES document requests (1.0); review
                                                updated batch review pane (.2); review
                                                Company document requests (.8); conference
                                                with B. Arnault, C. Fenton, C. McGushin, and
                                                A. Schrader re litigation work in process, case
                                                background (1.0).
07/27/21 Cassandra E. Fenton               1.20 Prepare for and participate in telephone
                                                conference with B. Arnault, K&E team re
                                                litigation work in process, case background.
07/27/21 James P. Gillespie, P.C.          0.40 Correspond with Company re deferred oral
                                                argument; review supplemental McGlade
                                                filing.
07/27/21 Derek I. Hunter                   0.80 Conference and correspond with C.
                                                McGushin, K&E team re adversary pleadings,
                                                discovery requests, and related litigation
                                                strategy.
07/27/21 Jason T. Jarvis                   1.00 Review, analyze documents re discovery
                                                request.
07/27/21 Casey McGushin                    1.40 Participate in telephone conference with D.
                                                Hunter, K&E team re litigation work in
                                                process (.5); review and revise summary
                                                judgment response re guarantee release issue
                                                (.9).
07/27/21 John C. O'Quinn, P.C.             2.00 Review and revise Summary Judgment reply
                                                brief.
07/27/21 Evan Ribot                        1.20 Review and revise privilege log re guarantees.




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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
07/27/21 Alexandra Schrader                2.00 Telephone conference re litigation work in
                                                process, case background (1.0); review
                                                guarantee claims motion, proofs of claims
                                                (1.0).
07/27/21 Anne McClain Sidrys, P.C.         1.50 Review documents re discovery/status of
                                                case; telephone conference with Company re
                                                plan related pleadings.
07/27/21 Gary M. Vogt                      1.20 Compile, organize materials from A&M (.5);
                                                correspond with counsel re incorporation of
                                                same into database re discovery request (.7).
07/28/21 Bill Arnault                     10.20 Participate in telephone conference with C.
                                                Fenton, C. Catalano, A. Schrader, and C.
                                                McGushin re case, discovery, and claims
                                                (1.5); prepare for meet and confer (1.1);
                                                participate in telephone conference with J.
                                                Zeiger re litigation work in process (.3);
                                                participate in telephone conference with A.
                                                Grossi re litigation work in process;
                                                correspond with J. Zeiger re same (.9); review
                                                research re guarantee claim (1.4); correspond
                                                with Special Counsel, C. Catalano, and C.
                                                Fenton re discovery (.5); participate in
                                                telephone conference with J. O’Quinn re
                                                discovery (.1); review documents re
                                                additional production request (1.7); review,
                                                analyze responsive documents re same (2.2);
                                                compile same (.2); revise discovery tracker
                                                (.3).
07/28/21 Cassandra Myers Catalano          4.00 Prepare production batch (1.5); analyze
                                                privilege issues re same (.9); conference with
                                                B. Arnault, C. McGushin, C. Fenton, and A.
                                                Schrader re litigation work in process, case
                                                background (1.6).
07/28/21 Cassandra E. Fenton               1.60 Prepare for and participate in telephone
                                                conference with C. Catalano, K&E team re
                                                litigation work in process, case background.
07/28/21 Anthony R. Grossi                 0.70 Correspond with K&E team re discovery
                                                issues.
07/28/21 Derek I. Hunter                   0.60 Correspond with C. Catalano, K&E team re
                                                adversary pleadings, discovery requests, and
                                                related litigation strategy.
07/28/21 Aleschia D. Hyde                  0.50 Telephone conference with C. Boland and C.
                                                McGushin re guarantee.
07/28/21 Aleschia D. Hyde                  3.70 Review, analyze documents re guarantees.

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Litigation Advice

Date     Name                            Hours Description
07/28/21 Casey McGushin                   2.00 Participate in telephone conference with B.
                                               Arnault and C. Fenton re litigation work in
                                               process, case background (1.6); participate in
                                               telephone conference with A. Hyde and C.
                                               Boland re parent guarantee release litigation
                                               (.4).
07/28/21 John C. O'Quinn, P.C.            0.50 Review revised reply brief.
07/28/21 Evan Ribot                       3.20 Review and revise privilege log re documents
                                               re guarantees.
07/28/21 Alexandra Schrader               1.60 Telephone conference with C. Catalano, K&E
                                               team re litigation work in process, case
                                               background.
07/28/21 Michael B. Slade                 1.80 Review and revise reply brief.
07/28/21 Laura Elizabeth Wolk             0.80 Revise reply brief.
07/28/21 Jeffrey J. Zeiger, P.C.          1.60 Telephone conference with B. Arnault re
                                               analysis of Brophy claim (.3); analyze legal
                                               research and background information re same
                                               (1.3).
07/29/21 Bill Arnault                     6.90 Participate in telephone conference with J.
                                               O’Quinn re discovery (.4); participate in meet
                                               and confer with M. Ayala re discovery,
                                               document requests (.3); prepare for same
                                               (1.1); review memorandum re claims (2.1);
                                               correspond with J. Zeiger re same (.7); draft
                                               memorandum re expert retention (.3);
                                               correspond with C. Catalano, C. Fenton,
                                               Special Counsel, S. McElroy, E. Long, and
                                               A&M re discovery (1.2); review documents re
                                               SES letter (.8).
07/29/21 Nicholas A. Binder               0.40 Telephone conference with J. Zeigler, K&E
                                               team, Company advisors re litigation
                                               considerations.
07/29/21 Cassandra Myers Catalano         2.80 Review, analyze production issues (.5);
                                               finalize guarantee document production set
                                               (.8); review SES discovery requests (1.1);
                                               compile document productions (.4).
07/29/21 Derek I. Hunter                  0.40 Correspond with K&E team re adversary
                                               pleadings, discovery requests, and related
                                               litigation strategy.
07/29/21 Casey McGushin                   2.80 Review and revise drafts of responses to
                                               motion for summary judgment re guarantee
                                               release issue.



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Litigation Advice

Date     Name                            Hours Description
07/29/21 Alexandra Schrader               0.90 Review case background materials re
                                               litigation.
07/29/21 Gary M. Vogt                     1.50 Compile, organize additional materials re
                                               incorporation into document requests
                                               database (1.0); coordinate with counsel re
                                               processing of same (.5).
07/29/21 Laura Elizabeth Wolk             3.00 Revise, analyze reply brief.
07/29/21 Jeffrey J. Zeiger, P.C.          0.70 Telephone conference with Quinn Emanuel,
                                               A. Grossi, and B. Arnault re Brophy claim
                                               (.5); analyze additional legal research re same
                                               (.2).
07/30/21 Bill Arnault                     9.20 Review documents re production (2.1);
                                               correspond with C. Catalano, G. Vogt, and C.
                                               Fenton re discovery (1.1); correspond with C.
                                               Catalano, K&E team re expert, retention letter
                                               (.6); review production searches, search
                                               protocol, and relevant documents (1.8);
                                               review and revise discovery plan and proposal
                                               (1.5); review documents re discovery status
                                               (.4); review guarantee litigation documents
                                               (.3); review memorandum re guarantee claims
                                               (1.4).
07/30/21 Cassandra Myers Catalano         6.30 Analyze privilege log document review (1.2);
                                               review privilege log review results (2.0);
                                               review plan discovery batches (1.0); draft
                                               production letter (.3); finalize document
                                               production (1.0); review same (.8).
07/30/21 Alexandra Schrader               2.20 Review documents re litigation work in
                                               process, case background.
07/30/21 Gary M. Vogt                     1.00 Review, finalize, serve additional discovery
                                               requests.
07/30/21 Laura Elizabeth Wolk             2.50 Review, revise plan related pleadings;
                                               correspond with M. Slade, J. Zeiger, K&E
                                               team re same.
07/31/21 Bill Arnault                     0.80 Participate in telephone conference with M.
                                               Slade, K&E team re litigation work in process
                                               (.7); correspond with Company re expert (.1).
07/31/21 John C. O'Quinn, P.C.            1.50 Telephone conference with M. Slade re
                                               Summary Judgment hearing (.5); correspond
                                               with same, K&E team re Summary Judgment
                                               hearing (.3); review and revise Summary
                                               Judgment reply brief (.7).



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Intelsat S.A.                                               Matter Number:        48457-40
Litigation Advice

Date     Name                            Hours Description
07/31/21 Laura Elizabeth Wolk             2.50 Review, revise summary judgment reply
                                               brief.

Total                                   752.00




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                                                         New York, NY 10022

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September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049154
                                                                               Client Matter: 48457-42

In the Matter of Gogo Inc. Post-petition Advice




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 29,218.00
Total legal services rendered                                                                                  $ 29,218.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                               Matter Number:        48457-42
Gogo Inc. Post-petition Advice




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Alexia Renee Brancato                                 0.50   1,095.00            547.50
Shawn OHargan, P.C.                                   3.40   1,355.00          4,607.00
Anne McClain Sidrys, P.C.                            14.90   1,615.00         24,063.50

TOTALS                                               18.80                   $ 29,218.00




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Intelsat S.A.                                               Matter Number:        48457-42
Gogo Inc. Post-petition Advice


                                     Description of Legal Services

Date     Name                               Hours Description
07/01/21 Anne McClain Sidrys, P.C.           2.00 Review revised EY retention letter (1.5);
                                                  telephone conferences with Company re Gogo
                                                  (.5).
07/02/21 Shawn OHargan, P.C.                 0.30 Telephone conference re Company re exit
                                                  status.
07/02/21 Anne McClain Sidrys, P.C.           2.30 Revise EY retention letter (1.8); telephone
                                                  conferences re same (.2); correspond with
                                                  K&E team re disputed items (.3).
07/05/21 Anne McClain Sidrys, P.C.           2.00 Analyze retention issues (1.2); draft letter to
                                                  panel re same (.8).
07/06/21 Shawn OHargan, P.C.                 1.00 Telephone conference re Company
                                                  emergence (.5); review plan term sheets (.5).
07/13/21 Alexia Renee Brancato               0.50 Review and analyze declaration re service and
                                                  default (.2); prepare for and attend
                                                  teleconference with team re same (.3).
07/13/21 Anne McClain Sidrys, P.C.           3.00 Draft Gogo arbitration brief (2.2); analyze
                                                  documents re same (.8).
07/15/21 Shawn OHargan, P.C.                 0.30 Telephone conference re emergence.
07/20/21 Anne McClain Sidrys, P.C.           0.50 Telephone conference with Company re
                                                  retention.
07/21/21 Shawn OHargan, P.C.                 1.00 Prep for telephone conference re KVH (.3);
                                                  attend same (.7).
07/21/21 Anne McClain Sidrys, P.C.           1.80 Revise brief re EY retention.
07/26/21 Anne McClain Sidrys, P.C.           3.30 Review updates on discovery/status of case;
                                                  analyze retention letter for Gogo (1.3);
                                                  review, comment on revised arbitration
                                                  statement (2.0).
07/27/21 Shawn OHargan, P.C.                 0.80 Review EY engagement letter; contact
                                                  Intelsat re comments (.5); telephone
                                                  conference with Intelsat re same (.3).

Total                                        18.80




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                                                         New York, NY 10022

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September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049155
                                                                               Client Matter: 48457-43

In the Matter of Insured Matters




For legal services rendered through July 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 47,627.00
Total legal services rendered                                                                                  $ 47,627.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Insured Matters




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Lamina Bowen                                          0.60   1,080.00            648.00
Elizabeth DeGori                                     10.70   1,065.00         11,395.50
Kevin M. Jonke                                       30.60   1,080.00         33,048.00
Adrienne J. Levin                                     4.90     460.00          2,254.00
Library Factual Research                              0.50     390.00            195.00
Kelly Seranko                                         0.10     865.00             86.50

TOTALS                                               47.40                   $ 47,627.00




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Intelsat S.A.                                               Matter Number:        48457-43
Insured Matters


                                  Description of Legal Services

Date     Name                            Hours Description
07/06/21 Elizabeth DeGori                 1.40 Prepare draft status letter to J. Nathan re
                                               service of process re customer matter (1.0);
                                               correspond with M. Slade re update in status
                                               re service of process (.4).
07/07/21 Elizabeth DeGori                 1.10 Revise and finalize letter to J. Nathan re
                                               service motion re customer matter (.9);
                                               correspond with M. Slade re same (.1);
                                               correspond with E. Lane re filing (.1).
07/07/21 Kelly Seranko                    0.10 Review and analyze pleading updating the
                                               court on the status of service.
07/08/21 Elizabeth DeGori                 1.50 Correspond with M. Slade re default motion
                                               (.2); prepare summary of facts, law (1.0);
                                               telephone conference with K. Jonke, K&E
                                               team re preparing default judgment motion
                                               and background (.3).
07/08/21 Kevin M. Jonke                   1.50 Review case-initiating documents and
                                               correspondence in litigation.
07/08/21 Kevin M. Jonke                   1.40 Research precedent and procedures re motion
                                               for default judgment.
07/08/21 Kevin M. Jonke                   0.30 Participate in on-boarding call with E. Degori.
07/08/21 Adrienne J. Levin                0.40 Review letter to court; updates to case file;
                                               review memorandum endorsement; updates to
                                               case calendar.
07/09/21 Kevin M. Jonke                   1.50 Research litigation issues re default judgment.
07/12/21 Elizabeth DeGori                 0.90 Correspond with J. Jonke re translation of
                                               Pakistan certificate (.2); correspond with K.
                                               Jonke re litigation considerations (.4); review
                                               drafted request papers re same (.3).
07/12/21 Kevin M. Jonke                   5.50 Research and draft papers re litigation
                                               strategy.
07/13/21 Lamina Bowen                     0.60 Review request for entry of default and
                                               coordinate filing re same.




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Insured Matters

Date     Name                            Hours Description
07/13/21 Elizabeth DeGori                 3.40 Correspond with K. Jonke re litigation
                                               stratgies (.3); correspond with K. Jonke and
                                               A. Brancato re same (.2); review court rules
                                               re same (.3); review analyze precedent
                                               motions and procedures (.4); telephone
                                               conference with A. Brancato and K. Jonke re
                                               factual basis litigation strategy (.2);
                                               correspond with L. Bowen re procedural
                                               questions with papers (.3); correspond with K.
                                               Jonke and A. Brancato re receipt of additional
                                               certificate of service (.3); correspond with N.
                                               Sakamoto at Crowe re certificate (.1); revise
                                               litigation papers (.5); correspond with K.
                                               Jonke and A. Brancato re same (.2); finalize
                                               same (.3); correspond with L. Bowen, K.
                                               Jonke, and E. Lane re filing and filing
                                               specifications (.3).
07/13/21 Kevin M. Jonke                   2.50 Finalize and file request re clerk’s certificate
                                               of default.
07/13/21 Kevin M. Jonke                   1.10 Revise papers in support of request re clerk’s
                                               certificate of default.
07/13/21 Kevin M. Jonke                   0.50 Participate in conference re filing of request
                                               for clerk's certificate of default.
07/13/21 Adrienne J. Levin                0.40 Review returned certificate of service;
                                               updates to case file.
07/13/21 Library Factual Research         0.50 Retrieve motions for default judgment and
                                               their related documents for various cases.
07/14/21   Kevin M. Jonke                 0.20 Conference with M. Slade re litigation issues.
07/14/21   Kevin M. Jonke                 0.80 Research litigation issue.
07/14/21   Kevin M. Jonke                 6.30 Research and draft papers re litigation issues.
07/15/21   Elizabeth DeGori               1.30 Review Supernet default judgment papers
                                               (1.0); correspond with J. Jonke re same (.3).
07/15/21 Kevin M. Jonke                   1.60 Review and revise draft papers in support of
                                               motion for default judgment.
07/16/21 Elizabeth DeGori                 0.30 Correspond with K. Jonke re service re
                                               default judgment papers.
07/19/21 Kevin M. Jonke                   0.30 Correspond with Company, and M.A. Bhika
                                               re motion for default judgment.
07/20/21 Elizabeth DeGori                 0.20 Correspond with managing attorney’s office
                                               and A. Levin re filing litigation papers (.2).
07/20/21 Kevin M. Jonke                   0.50 Conference with Company, and M.A. Bhika
                                               re motion for default judgment.


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Insured Matters

Date     Name                            Hours Description
07/20/21 Kevin M. Jonke                   1.30 Review and proof papers in support of motion
                                               for default judgment.
07/20/21 Kevin M. Jonke                   1.80 Review litigation considerations and revise
                                               papers in support of motion for default
                                               judgment.
07/20/21 Adrienne J. Levin                1.30 Prepare exhibits to motion for default
                                               judgment.
07/21/21 Elizabeth DeGori                 0.60 Review final version of papers and exhibits
                                               for filing (.4); correspond with A. Levin re
                                               same (.1); correspond with K. Jonke re same
                                               (.1).
07/21/21 Kevin M. Jonke                   2.50 Finalize and file motion for default judgment.
07/21/21 Adrienne J. Levin                2.00 Prepare exhibits to declarations (1.0); review,
                                               revise Brancato declaration (1.0).
07/22/21 Kevin M. Jonke                   1.00 Draft certificate of service and coordinate
                                               service of motion for default judgment.
07/22/21 Adrienne J. Levin                0.50 Review pleadings (.2); updates to case file
                                               (.3).
07/23/21 Adrienne J. Levin                0.30 Review communication from service agency.

Total                                     47.40




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                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050013
                                                                               Client Matter: 48457-3

In the Matter of Corporate and Governance Matters




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 187,085.00
Total legal services rendered                                                                                $ 187,085.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:       48457-3
Corporate and Governance Matters




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         13.10     875.00         11,462.50
Peter Bang                                            0.40   1,070.00            428.00
Nicholas A. Binder                                    4.50     875.00          3,937.50
Katya Boyko                                           0.50   1,125.00            562.50
Simon Briefel                                        16.10     995.00         16,019.50
Kate Coverdale, P.C.                                  0.80   1,295.00          1,036.00
Dave Gremling                                         1.20     875.00          1,050.00
Derek I. Hunter                                       0.70   1,125.00            787.50
Jennifer Karinen                                     14.30   1,125.00         16,087.50
Joshua Korff, P.C.                                    3.50   1,645.00          5,757.50
Michael Lemm                                          2.40     875.00          2,100.00
Drew Maliniak                                         3.90   1,070.00          4,173.00
Brian Nakhaimousa                                    71.10     765.00         54,391.50
David L. Perechocky                                   1.00   1,185.00          1,185.00
Whitney Rosser                                       18.30     765.00         13,999.50
Samuel J. Seneczko                                    5.10     875.00          4,462.50
Anthony Vincenzo Sexton                               0.90   1,325.00          1,192.50
Michael B. Slade                                      2.30   1,445.00          3,323.50
Benjamin P. Stone                                    35.10     765.00         26,851.50
William Thompson                                     17.80     765.00         13,617.00
Aparna Yenamandra                                     3.90   1,195.00          4,660.50

TOTALS                                              216.90                 $ 187,085.00




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                                  Description of Legal Services

Date     Name                            Hours Description
08/01/21 Simon Briefel                    2.10 Draft board resolutions re plan, PSA (1.2);
                                               review, revise same (.6); correspond with B.
                                               Nakhaimousa re same (.3).
08/01/21 Brian Nakhaimousa                2.50 Revise board resolutions re plan
                                               considerations.
08/01/21 Benjamin P. Stone                2.70 Review, revise NDAs re extension (1.9);
                                               review, analyze DIP proposal (.8)..
08/02/21 Maggie Alden                     0.90 Revise board materials (.7); correspond with
                                               W. Thompson, K&E team re same (.2).
08/02/21 Nicholas A. Binder               0.40 Review and revise NDAs (.2); telephone
                                               conference with B. Stone re same (.2).
08/02/21 Simon Briefel                    0.60 Review, revise board resolutions re plan
                                               considerations.
08/02/21 Derek I. Hunter                  0.30 Correspond with S. Briefel, K&E team,
                                               Debtor advisors re corporate governance
                                               issues.
08/02/21 Brian Nakhaimousa                2.40 Revise board presentation re plan (.3); revise
                                               resolutions re same (2.1).
08/02/21 Benjamin P. Stone                2.70 Review, revise NDA (2.4); correspond with
                                               N. Binder re same (.2); correspond with
                                               creditor re same (.1).
08/02/21 Benjamin P. Stone                0.80 Review, revise board presentation re DIP
                                               financing considerations.
08/02/21 William Thompson                 5.80 Revise board presentation re case updates
                                               (2.1); revise same re comments from D.
                                               Hunter (3.7).
08/02/21 Aparna Yenamandra                0.50 Telephone conference with director advisor,
                                               S. Serajeddini, K&E team, director advisors
                                               re case status.
08/03/21 Maggie Alden                     3.90 Revise board presentation (3.5); correspond
                                               with W. Thompson, K&E team re same (.4).
08/03/21 Brian Nakhaimousa                0.90 Revise board resolutions re DIP financing
                                               (.7); review, revise board presentation re
                                               negotiations (.2).
08/03/21 William Thompson                 0.90 Revise board deck re case updates.
08/04/21 Nicholas A. Binder               0.60 Review, revise board resolutions re DIP
                                               financing (.4); correspond with D. Hunter,
                                               K&E team re same (.2).



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Date     Name                            Hours Description
08/04/21 Derek I. Hunter                  0.20 Correspond with N. Binder, K&E team,
                                               Company re board governance issues.
08/04/21 Brian Nakhaimousa                1.90 Review, revise board presentation re DIP
                                               financing (.7); revise board resolutions re
                                               same (1.2).
08/05/21 Maggie Alden                     0.50 Telephone conference with W. Thompson re
                                               board presentation (.1); correspond with same
                                               re board presentation (.1); revise same (.3).
08/05/21 Nicholas A. Binder               0.20 Correspond with creditor counsel re NDAs.
08/05/21 Katya Boyko                      0.50 Review, analyze board minutes (.3);
                                               correspond with K&E team re same (.2).
08/05/21 Brian Nakhaimousa                3.30 Review, revise board resolutions re DIP
                                               financing (1.4); revise board presentation re
                                               plan (.3); revise board presentation re DIP
                                               financing (1.6).
08/05/21 William Thompson                 2.10 Revise board presentation re comments from
                                               D. Hunter.
08/06/21 Derek I. Hunter                  0.20 Correspond with N. Binder, K&E team,
                                               Company re governance considerations re
                                               deal.
08/06/21 Brian Nakhaimousa                0.50 Revise board minutes re board meeting.
08/06/21 Benjamin P. Stone                1.20 Compile cleanse materials (.9); correspond
                                               with N. Binder re same (.1); correspond with
                                               D. Hunter re same (.2).
08/07/21 Michael Lemm                     1.80 Review and revise slides re board
                                               presentation.
08/07/21 Brian Nakhaimousa                0.80 Review, revise board resolutions re plan (.4);
                                               review, compile July 17 board minutes (.4).
08/07/21 Benjamin P. Stone                3.90 Draft postpetition NDAs (3.6); correspond
                                               with N. Binder re same (.3).
08/07/21 William Thompson                 2.90 Draft board presentation slides re plan
                                               confirmation requirements.
08/08/21 Maggie Alden                     1.80 Revise board presentation (1.2); correspond
                                               with W. Thompson re same (.6).
08/08/21 Nicholas A. Binder               0.50 Review, revise NDA (.4); correspond with B.
                                               Stone re same (.1).
08/08/21 Simon Briefel                    0.80 Review, comment on board resolutions (.6);
                                               correspond with K&E team re same (.2).
08/08/21 Jennifer Karinen                 3.50 Research 12(g) registration and proxy
                                               solicitation rules (2.5); research re going
                                               private (1.0).


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Corporate and Governance Matters

Date     Name                            Hours Description
08/08/21 Michael Lemm                     0.60 Review and revise slides re board
                                               presentation.
08/08/21 Drew Maliniak                    3.40 Review and revise memorandum re securities
                                               emergence matters (1.6); correspond with J.
                                               Karinen, D. Hunter and J. Korff re same (.2);
                                               research re emergence structures (1.6).
08/08/21 Brian Nakhaimousa                4.60 Revise board presentation (1.6); revise board
                                               resolutions (3.0).
08/08/21 David L. Perechocky              1.00 Review corporate governance slides.
08/08/21 Benjamin P. Stone                2.30 Correspond with N. Binder re NDAs (.2);
                                               review, revise same (1.9); correspond with D.
                                               Hunter re same (.2).
08/08/21 William Thompson                 5.50 Revise board presentation slides re
                                               confirmation requirements (1.5); further
                                               revise same re comments from D. Hunter
                                               (4.0).
08/09/21 Maggie Alden                     1.50 Revise board presentation (.6); correspond
                                               with D. Hunter, K&E team re same (.9).
08/09/21 Joshua Korff, P.C.               1.00 Telephone conferences with K&E team re
                                               securities law and listing issues.
08/09/21 Brian Nakhaimousa                1.00 Review, revise board minutes re multiple
                                               meetings (.7); compile minutes re same (.3).
08/09/21 Benjamin P. Stone                2.10 Correspond with creditors re NDA (.3);
                                               review, revise same (1.8).
08/10/21 Brian Nakhaimousa                0.10 Revise board presentation.
08/10/21 Benjamin P. Stone                4.40 Review, analyze creditor NDAs (2.4);
                                               correspond with N. Binder re same (.4); revise
                                               same (1.6).
08/10/21 William Thompson                 0.60 Revise board presentation slides re comments
                                               from D. Hunter.
08/11/21 Maggie Alden                     0.10 Telephone conference with director advisors
                                               re status update.
08/11/21 Brian Nakhaimousa                0.20 Correspond with A. Yenamandra, company
                                               advisors re board meeting.
08/11/21 Benjamin P. Stone                1.80 Review, analyze, compile creditor NDAs
                                               (1.6); correspond with N. Binder re same (.2).
08/12/21 Maggie Alden                     0.10 Telephone conference with director advisors,
                                               K&E team re case update.
08/12/21 Brian Nakhaimousa                0.90 Attend telephone conference with boards of
                                               directors re case status (.3); draft minutes re
                                               same (.5); correspond with S. Briefel,
                                               Company re board resolutions (.1).

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Date     Name                            Hours Description
08/13/21 Maggie Alden                     2.80 Correspond with director advisors re case
                                               status (2.2); correspond with B. Stone re same
                                               (.2); telephone conference with D. Hunter re
                                               same (.1); correspond with D. Hunter, K&E
                                               team re same (.3).
08/13/21 Simon Briefel                    0.20 Review, comment on board resolutions.
08/13/21 Brian Nakhaimousa                0.30 Correspond with S. Briefel, Company re
                                               board resolutions and signature packets.
08/13/21 Benjamin P. Stone                2.60 Revise creditor letter tracker (.8); review,
                                               compile NDAs (.9); correspond with creditor
                                               re same (.3); review, revise same (.4);
                                               correspond with N. Binder re same (.2).
08/14/21 Drew Maliniak                    0.50 Telephone conference with director advisor re
                                               securities compliance considerations
08/14/21 Brian Nakhaimousa                3.20 Revise board resolutions re plan.
08/14/21 Michael B. Slade                 0.70 Telephone conference with director advisors
                                               re case status.
08/15/21 Simon Briefel                    0.30 Review, revise board resolutions.
08/15/21 Brian Nakhaimousa                4.30 Correspond with S. Briefel re board
                                               resolutions (.1); draft board resolutions re
                                               plan considerations (3.6); draft signature
                                               pages re same (.6).
08/15/21 Michael B. Slade                 0.20 Telephone conference with director advisors
                                               re case status.
08/16/21 Simon Briefel                    0.60 Review, comment on board resolutions,
                                               written consents.
08/16/21 Jennifer Karinen                 3.10 Review, revise SEC filings (.2); correspond
                                               with D. Hunter, K&E team re same (.9);
                                               conference with D. Hunter, K&E team re
                                               same (2.0).
08/16/21 Brian Nakhaimousa                3.90 Review, revise signature packets re board
                                               resolutions (1.3); review, revise board
                                               resolutions re plan considerations (2.6).
08/16/21 Whitney Rosser                   0.30 Correspond with Company, D. Hunter, K&E
                                               team re SEC filing.
08/16/21 Anthony Vincenzo Sexton          0.60 Telephone conference with Elvinger, PW, JD
                                               teams re corporate governance issues.
08/16/21 Aparna Yenamandra                0.30 Participate in telephone conference with
                                               director advisors re case status.
08/17/21 Maggie Alden                     0.20 Participate in telephone conference with
                                               director advisors re case status.


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Date     Name                            Hours Description
08/17/21 Simon Briefel                    3.40 Review, revise, comment on board resolutions
                                               (1.0); review, revise written consents (.6);
                                               review signature pages (.3); correspond with
                                               B. Nakhaimousa re same (1.5).
08/17/21 Kate Coverdale, P.C.             0.80 Telephone conference with Company, A.
                                               Yenamandra, M. Alden and D. Hunter re
                                               corporate governance matters (.6); correspond
                                               with J. Karinen re securities law matters (.2).
08/17/21 Jennifer Karinen                 4.40 Conference with D. Hunter, K&E team re
                                               governance considerations (1.2); correspond
                                               with D. Hunter, K&E team re same (1.0);
                                               revise 8-K (1.1); revise governance term sheet
                                               (1.1).
08/17/21 Brian Nakhaimousa                8.40 Review, revise board presentation re
                                               restructuring update (.2); review revise board
                                               resolutions (3.5); correspond with A.
                                               Yenamandra, D. Hunter, S. Briefel re same
                                               (.1); draft additional board resolutions (2.6);
                                               review, revise same (1.6); revise signature
                                               packets (.3); correspond with Company re
                                               same (.1).
08/17/21 Whitney Rosser                   1.50 Research re 8-Ks (.3); draft same (.9);
                                               correspond with J. Karinen, K&E team re
                                               same (.3).
08/17/21 Benjamin P. Stone                4.30 Review, revise creditor NDAs (1.6); compile
                                               same (1.2); correspond with N. Binder re
                                               same (.2); correspond with creditor re same
                                               (.1); compile cleanse materials (1.2).
08/17/21 Aparna Yenamandra                1.20 Review and revise board resolutions,
                                               documents re same.
08/18/21 Maggie Alden                     0.90 Telephone conference with director advisors
                                               re status update (.2); review, comment on
                                               board presentation (.6); correspond with W.
                                               Thompson re same (.1).
08/18/21 Simon Briefel                    0.30 Review, comment on board resolutions.
08/18/21 Dave Gremling                    1.20 Review, analyze draft 8-K (.5); revise same
                                               (.3); correspond with W. Rosser, K&E team
                                               re same (.4).
08/18/21 Joshua Korff, P.C.               1.50 Review disclosure statement (.5); correspond
                                               with K&E team re same (.5); telephone
                                               conferences with K&E team re governance
                                               issues (.5).



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Date     Name                            Hours Description
08/18/21 Brian Nakhaimousa                4.60 Review, revise board resolutions (3.6);
                                               compile signature pages (.3); draft
                                               memorandum re same (.7).
08/18/21 Samuel J. Seneczko               0.70 Telephone conference with W. Rosser re 8K
                                               (.3); analyze same (.4).
08/18/21 Michael B. Slade                 1.40 Review and revise board materials.
08/18/21 Aparna Yenamandra                0.90 Correspond with B. Stone, K&E team re
                                               cleansing issues.
08/19/21 Maggie Alden                     0.20 Correspond with T. Knutson, K&E team re
                                               director advisor inquiry.
08/19/21 Simon Briefel                    3.90 Participate in telephone conference with S.
                                               Serajeddini, K&E team, director advisors re
                                               board resolutions (.5); review, revise same
                                               (1.5); review, revise written consents (1.0)
                                               review, revise signature pages re same (.2);
                                               correspond with B. Nakhaimousa re same
                                               (.7).
08/19/21 Brian Nakhaimousa                7.60 Participate in telephone conference with
                                               company board re written consents (.5); draft
                                               written same (3.9); review, revise same (1.6);
                                               draft signature packets re same (1.4);
                                               correspond with D. Hunter, S. Briefel,
                                               Company re same (.2).
08/19/21 Samuel J. Seneczko               0.50 Analyze 8K filings (.2); review same (.2);
                                               correspond with W. Rosser, K&E team re
                                               same (.1).
08/19/21 Anthony Vincenzo Sexton          0.30 Review and revise cleansing materials.
08/19/21 Benjamin P. Stone                2.40 Compile revised cleansing materials (1.3);
                                               correspond with N. Binder re same (.2);
                                               correspond with W. Rosser re same (.4);
                                               correspond with PJT re same (.2); correspond
                                               with J. Morley re same (.3).
08/19/21 Aparna Yenamandra                0.60 Telephone conference with B. Stone, K&E
                                               team re cleansing.
08/20/21 Peter Bang                       0.40 Correspond with K&E team re board
                                               resolutions.
08/20/21 Simon Briefel                    0.40 Correspond with B. Nakhaimousa re board
                                               written consents.
08/20/21 Brian Nakhaimousa                3.20 Review, revise written consents (1.1); review,
                                               revise signature packets (.9); compile same
                                               (1.2).
08/20/21 Whitney Rosser                   1.20 Review, revise cleansing materials (.6);
                                               correspond with K&E team re same (.6).

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Date     Name                            Hours Description
08/21/21 Brian Nakhaimousa                0.50 Revise written consents.
08/22/21 Maggie Alden                     0.20 Telephone conference with A. Yenamandra,
                                               director advisors re deal status, update.
08/22/21 Nicholas A. Binder               2.30 Draft memorandum re board update.
08/22/21 Brian Nakhaimousa                0.30 Revise signature packets (.2); correspond with
                                               D. Gremling re resolutions (.1).
08/22/21 Whitney Rosser                   0.30 Correspond with J. Karinen, S. Seneczko, N.
                                               Binder re blowout.
08/23/21 Nicholas A. Binder               0.50 Analyze considerations re NDA (.3);
                                               correspond with K&E team, Company re
                                               same (.2).
08/23/21 Simon Briefel                    3.20 Review, revise board resolutions (1.4); review
                                               PSA signature packet (1.0); analyze issues re
                                               same (.8).
08/23/21 Brian Nakhaimousa                4.30 Revise written consents (1.8); revise signature
                                               packets (1.3) compile signature pages (.3);
                                               compile written consents (.4); correspond
                                               with Company, D. Hunter, Katten, Willkie,
                                               Jenner re signature pages (.5).
08/23/21 Whitney Rosser                   1.80 Review, revise 8-K re blowout (1.0);
                                               correspond with S. Briefel, K&E team re
                                               same (.8).
08/23/21 Benjamin P. Stone                2.40 Draft NDA signature page (.4); correspond
                                               with N. Binder re same (.1); draft
                                               memorandum re cleanse (1.6); conference
                                               with N. Binder re same (.3).
08/23/21 Aparna Yenamandra                0.40 Telephone conference and correspond with S.
                                               Briefel, K&E team re NDA issues.
08/24/21 Jennifer Karinen                 1.50 Review, analyze memoranda re 12(g) de-
                                               registration (.7); draft 8-K (.8).
08/24/21 Brian Nakhaimousa                2.70 Draft, revise memorandum re signature pages
                                               (.6); correspond and conference with director
                                               advisors re signature pages (.5); revise written
                                               consents and signature pages (.5); compile
                                               signature packets (.8); correspond with D.
                                               Hunter, S. Briefel, S. Senezcko re same (.3).
08/24/21 Whitney Rosser                   4.10 Review, revise 8-K re cleanse and PSA (1.9);
                                               correspond with K&E team re same (2.2).




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Date     Name                            Hours Description
08/24/21 Samuel J. Seneczko               3.90 Correspond with B. Stone re 8K filing (.3);
                                               compile, revise PSA re 8K filing (1.3);
                                               correspond with W. Rosser, J. Karinen, D.
                                               Hunter, K&E team re 8K, press release (.3);
                                               telephone conference with W. Rosser re 8K
                                               (.5); compile, analyze 8K signature pages re
                                               same (1.5).
08/24/21 Benjamin P. Stone                0.90 Compile NDA re creditor group (.6);
                                               correspond with N. Binder and D. Hunter re
                                               same (.2); correspond with creditor re same
                                               (.1).
08/25/21 Brian Nakhaimousa                1.80 Correspond with S. Briefel re executed
                                               written consents (.2); revise board minutes
                                               (1.6).
08/25/21 Whitney Rosser                   3.20 Correspond with K&E team re 8-K (.8);
                                               review 8-K (1.1); coordinate 8-K filing (1.3).
08/25/21 Benjamin P. Stone                0.60 Draft cleanse proposal (.4); correspond with
                                               N. Binder re same (.2).
08/26/21 Brian Nakhaimousa                2.00 Compile signature pages (.1); revise board
                                               minutes (1.9).
08/26/21 Whitney Rosser                   1.00 Correspond with Company re 8-K (.1);
                                               correspond with K&E team, Company re
                                               Form 15 (.5); correspond with J. Karinen re
                                               Form 15 (.4).
08/27/21 Simon Briefel                    0.30 Analyze board resolutions.
08/27/21 Jennifer Karinen                 0.80 Telephone conference and correspond with
                                               Company re 12(g) registration.
08/27/21 Brian Nakhaimousa                0.50 Revise August 19 board minutes (.2);
                                               correspond with D. Hunter, S. Briefel re DIP
                                               board resolutions (.3).
08/27/21 Brian Nakhaimousa                4.20 Draft, review, revise board presentation re
                                               disclosure statement hearing (3.6); further
                                               review, revise same (.6).
08/27/21 Whitney Rosser                   4.60 Conference with Company re Form 15 (.5);
                                               research re same (.8); research re exchange
                                               act (2.1); draft memorandum re same (1.2).
08/30/21 Jennifer Karinen                 0.80 Review 12(g) memorandum; attend telephone
                                               conference with Company re same.
08/30/21 Joshua Korff, P.C.               1.00 Telephone conferences with J. Karinen, K&E
                                               team re securities law issues.
08/31/21 Jennifer Karinen                 0.20 Correspond with W. Rosser, Company re
                                               12(g) registration.


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Corporate and Governance Matters

Date     Name                            Hours Description
08/31/21 Brian Nakhaimousa                0.20 Review, revise DIP board resolutions.
08/31/21 Whitney Rosser                   0.30 Correspond with J. Karinen, Company re
                                               Form 15.

Total                                   216.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050014
                                                                               Client Matter: 48457-4

In the Matter of Disclosure Statement, Plan and Confirmation




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                    $ 2,928,515.50
Total legal services rendered                                                                              $ 2,928,515.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Disclosure Statement, Plan and Confirmation




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                        171.00     875.00        149,625.00
Bill Arnault                                          2.30   1,245.00          2,863.50
Nicholas A. Binder                                  265.60     875.00        232,400.00
Simon Briefel                                       137.30     995.00        136,613.50
Seth A. Brimley                                      48.30     625.00         30,187.50
Mariel Brookins                                      14.80     995.00         14,726.00
Francois Capoul                                       0.20     760.00            152.00
Kate Coverdale, P.C.                                  1.10   1,295.00          1,424.50
Annie Laurette Dreisbach                             94.60     995.00         94,127.00
David L. Eaton                                        0.90   1,695.00          1,525.50
Dave Gremling                                       215.30     875.00        188,387.50
Nick Hafen                                            0.70     875.00            612.50
Luci Hague                                            0.90   1,155.00          1,039.50
Derek I. Hunter                                     323.60   1,125.00        364,050.00
Jason T. Jarvis                                      66.80     765.00         51,102.00
Miles H. Johnson                                      0.50   1,225.00            612.50
Deidre Kalenderian                                    2.60   1,125.00          2,925.00
Jennifer Karinen                                     34.00   1,125.00         38,250.00
Andrew Kimball                                        7.60   1,195.00          9,082.00
Tyler R. Knutson                                    103.60     765.00         79,254.00
Joshua Korff, P.C.                                    4.20   1,645.00          6,909.00
Krista Koskivirta                                     0.50     995.00            497.50
Erika Krum                                            0.40     765.00            306.00
Michael Lemm                                        139.60     875.00        122,150.00
Library Factual Research                              0.50     390.00            195.00
Drew Maliniak                                        11.20   1,070.00         11,984.00
Mario Mancuso, P.C.                                   0.50   1,695.00            847.50
Joe Morley                                           21.60     925.00         19,980.00
Brian Nakhaimousa                                   145.60     765.00        111,384.00
Matt O'Hare                                           4.40   1,125.00          4,950.00
Shawn OHargan, P.C.                                  10.80   1,355.00         14,634.00
Robert Orren                                          2.40     460.00          1,104.00


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Name                                                Hours        Rate          Amount
David L. Perechocky                                  37.30   1,185.00         44,200.50
Whitney Rosser                                       16.70     765.00         12,775.50
Samuel J. Seneczko                                  245.60     875.00        214,900.00
Steven N. Serajeddini, P.C.                         172.30   1,495.00        257,588.50
Anthony Vincenzo Sexton                              24.90   1,325.00         32,992.50
Michael B. Slade                                     49.80   1,445.00         71,961.00
Benjamin P. Stone                                   209.80     765.00        160,497.00
William Thompson                                     91.10     765.00         69,691.50
Gary M. Vogt                                          9.10     460.00          4,186.00
Eric J. Wendorf                                     101.80     765.00         77,877.00
Chambliss Williams                                   25.70     875.00         22,487.50
Aparna Yenamandra                                   169.10   1,195.00        202,074.50
Donna Zamir                                          80.90     765.00         61,888.50
Jeffrey J. Zeiger, P.C.                               1.00   1,495.00          1,495.00

TOTALS                                            3,068.50                $ 2,928,515.50




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                                  Description of Legal Services

Date     Name                            Hours Description
08/01/21 Maggie Alden                     2.20 Telephone conference with N. Binder re
                                               confirmation declarations (.6); correspond
                                               with N. Binder re same (.1); review disclosure
                                               statement (1.5).
08/01/21 Nicholas A. Binder               4.70 Analyze plan, disclosure statement, definitive
                                               documentation precedent (2.4); review
                                               creditor proposal (.3); revise plan (1.2);
                                               telephone conference with M. Lemm re
                                               definitive documents, plan provisions (.8).
08/01/21 Derek I. Hunter                  1.30 Telephone conference with K&E team re case
                                               strategy and open workstreams (.5); review,
                                               analyze, and revise plan, mediation, and other
                                               related analyses (.8).
08/01/21 Michael Lemm                     8.90 Draft materials re plan considerations (3.9);
                                               analyze same against precedent (2.7); review
                                               and revise same (2.1); telephone conference
                                               with N. Binder re same (.2).
08/01/21 Benjamin P. Stone                1.40 Review, revise proposed confirmation
                                               timeline re revised disclosure statement
                                               hearing (1.2); correspond with D. Hunter re
                                               same (.2).
08/02/21 Maggie Alden                     3.20 Telephone conference with PJT, A&M, K&E
                                               team re strategy, next steps (.1); telephone
                                               conference with D. Hunter, B. Nakhaimousa,
                                               B. Stone re disclosure statement Order (.2);
                                               correspond with N. Binder re confirmation
                                               materials (.1); correspond with B. Stone, B.
                                               Nakhaimousa re ballots (.5); revise disclosure
                                               statement Order materials (1.5); review
                                               precedent re same (.8).
08/02/21 Nicholas A. Binder               9.70 Analyze precedent re confirmation pleadings
                                               (2.2); telephone conference with D. Hunter,
                                               K&E team re definitive documents (1.6);
                                               analyze same (1.5); revise same (3.9);
                                               correspond with D. Hunter, K&E team,
                                               Company advisors re same (.5).
08/02/21 Simon Briefel                    4.00 Review, revise PSA (1.6); analyze issues re
                                               same (.6); correspond with S. Seneczko re
                                               same (.3); telephone conference with D.
                                               Hunter, S. Seneczko, M. Lemm re same,
                                               exclusivity (.3); review exclusivity motion
                                               (.8); correspond with M. Lemm re same (.4).

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Date     Name                            Hours Description
08/02/21 Derek I. Hunter                   7.00 Telephone conference with K&E team,
                                                Company advisors re case status, open
                                                workstreams (.5); review, analyze, and revise
                                                ongoing plan and other implementation
                                                research (1.6); review, analyze, and revise
                                                plan-related research (1.1); draft definitive
                                                documents (1.2); telephone conference with
                                                Company, other Company advisors re deal
                                                status (.5); correspond with N. Binder, K&E
                                                team re status of definitive documents (.4);
                                                review, analyze, and revise plan definitive
                                                documents (1.2); telephone conference with
                                                N. Binder, K&E team re emergence
                                                workstreams and disclosure statement
                                                analysis (.5).
08/02/21 Jason T. Jarvis                   5.90 Draft term sheet re plan (2.0); review, revise
                                                same (3.8); telephone conference with M.
                                                Lemm re same (.1).
08/02/21 Miles H. Johnson                  0.50 Review plan and disclosure statement.
08/02/21 Michael Lemm                     10.10 Draft term sheet re plan considerations (3.8);
                                                review and revise same (3.5); review
                                                materials re same (2.0); telephone conference
                                                with J. Jarvis re same (.1); telephone
                                                conference with N. Binder re same (.2);
                                                telephone conference with D. Hunter, K&E
                                                team re plan workstreams (.3); telephone
                                                conference with E. Wendorf, W. Thompson re
                                                plan matters (.2).
08/02/21 Brian Nakhaimousa                 1.10 Conference with D. Hunter, M. Alden, B.
                                                Stone re disclosure statement order (.2);
                                                conference with B. Stone re same (.2); revise
                                                same (.7).
08/02/21 Robert Orren                      1.50 Correspond with N. Binder re confirmation
                                                declaration precedent.




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Date     Name                            Hours Description
08/02/21 Samuel J. Seneczko               7.40 Telephone conference with D. Hunter, S.
                                               Briefel, M. Lemm re PSA docs, next steps
                                               (.4); correspond with S. Briefel, K&E team re
                                               same (.8); revise PSA (2.3); telephone
                                               conference with N. Binder re plan, PSA
                                               revisions (.6); analyze plan re same (.5);
                                               correspond with N. Binder re PSA, plan
                                               revisions (.5); correspond with S. Briefel re
                                               same (.1); further revise PSA (1.1);
                                               correspond with D. Hunter, K&E team re
                                               same (.2); further revise PSA (.8); correspond
                                               with A. Yenamandra, K&E team re same (.1).
08/02/21 Steven N. Serajeddini, P.C.      5.20 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.8); review and analyze same (1.4).
08/02/21 Benjamin P. Stone                2.60 Conference with D. Hunter, M. Alden, B.
                                               Nakhaimousa re disclosure statement Order,
                                               solicitation procedures (.2); correspond with
                                               M. Alden re same (.2); correspond with B.
                                               Nakhaimousa re same (.4); review, revise
                                               same (1.8).
08/02/21 William Thompson                 2.00 Correspond with D. Hunter re hearing
                                               presentations (.2); conference with M. Lemm
                                               and E. Wendorf re exclusivity motion (.5);
                                               draft chart re precedent documents of
                                               declarations (1.3).
08/02/21 Eric J. Wendorf                  4.90 Draft exclusivity motion (3.9); revise same
                                               (.7); correspond with W. Thompson re same
                                               (.1); telephone conference with M. Lemm re
                                               same (.2).
08/02/21 Aparna Yenamandra                1.60 Office conferences with K&E team re deal
                                               document modifications and analysis re same
                                               (1.0); telephone conferences with S.
                                               Serajeddini re updates to same (.6).
08/02/21 Donna Zamir                      7.40 Review materials re confirmation
                                               considerations (3.6); draft summary re same
                                               (2.6); correspond with N. Binder, W.
                                               Thompson re same (.4); correspond with B.
                                               Stone, B. Nakhaimousa re disclosure
                                               statement related issues (.3); telephone
                                               conference with same re same (.5).




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Date     Name                            Hours Description
08/03/21 Maggie Alden                      7.20 Telephone conference with B. Nakhaimousa,
                                                B. Stone re disclosure statement order (.1);
                                                telephone conference with N. Binder re case
                                                status (.2); revise disclosure statement Order
                                                (.5); correspond with D. Hunter, B.
                                                Nakhaimousa, B. Stone re same (.6);
                                                telephone conference with B. Nakhaimousa,
                                                B. Stone re ballots (.1); review precedent re
                                                disclosure statement section (.3); revise
                                                disclosure statement (.9); telephone
                                                conference with Stretto, B. Nakhaimousa, B.
                                                Stone re ballots, solicitation procedures (.3);
                                                further revise disclosure statement (3.9);
                                                correspond with B. Stone, K&E team re same
                                                (.3).
08/03/21 Nicholas A. Binder                4.20 Analyze confirmation considerations (1.5);
                                                telephone conference with C. Williams re
                                                plan research (.5); telephone conference with
                                                M. Lemm, K&E team re definitive documents
                                                (.6); review, analyze, revise same (1.6).
08/03/21 Simon Briefel                     2.40 Review, revise, comment on exclusivity
                                                motions (2.0); correspond with M. Lemm re
                                                same (.4).
08/03/21 Derek I. Hunter                   3.80 Telephone conference with K&E team,
                                                Company advisors and Company re deal
                                                status (.5); review, analyze and revise
                                                ongoing plan and other implementation
                                                research (.5); review, analyze, and revise
                                                plan-related research (.3); draft definitive
                                                documents (.6); correspond with N. Binder,
                                                K&E team re status of definitive documents
                                                (.4); review, analyze and revise plan
                                                definitive documents (1.2); telephone
                                                conference with K&E team re emergence
                                                workstreams and disclosure statement
                                                analysis (.3).
08/03/21 Tyler R. Knutson                  2.30 Draft analysis re certain confirmation
                                                considerations (2.1); correspond with M.
                                                Alden re same (.2).
08/03/21 Michael Lemm                     10.30 Draft pleadings re plan considerations (3.5);
                                                review materials, precedent re same (3.3);
                                                review and revise same (3.2); telephone
                                                conferences with N. Binder re plan matters
                                                (.3).



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Date     Name                            Hours Description
08/03/21 Brian Nakhaimousa                5.50 Telephone conference with D. Hunter,
                                               Company re negotiations update (.5); revise
                                               disclosure statement (3.9); review and further
                                               revise same (1.1).
08/03/21 Samuel J. Seneczko               0.40 Correspond with N. Binder and K&E team re
                                               PSA, deal documents.
08/03/21 Steven N. Serajeddini, P.C.      5.90 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (4.0); review and analyze same (1.9).
08/03/21 Benjamin P. Stone                9.20 Conference with B. Nakhaimousa re
                                               solicitation procedures (.4); research
                                               precedent re same (3.9); draft additional
                                               procedures (1.8); conference with M. Alden,
                                               B. Nakhaimousa re same (.2); conference
                                               with Stretto, M. Alden, B. Nakhaimousa re
                                               same (.3); conference with B. Nakhaimousa
                                               re disclosure statement order (.4); research re
                                               stipulation (.4); review, revise disclosure
                                               statement. (1.8).
08/03/21 William Thompson                 3.30 Revise exclusivity motion (2.6); revise chart
                                               re precedent of declarations (.7).
08/03/21 Aparna Yenamandra                3.90 Conference with K&E team re work in
                                               process (.6); revise settlement agreement (.9);
                                               office conference with D. Hunter re open deal
                                               issues and next steps (1.0); review plan, PSA
                                               considerations (.5); telephone conferences
                                               with various constituents (.9).
08/03/21 Donna Zamir                      8.00 Research re confirmation considerations (3.8);
                                               review precedent re same (2.1); draft
                                               summary re same (1.7); correspond with N.
                                               Binder, W. Thompson re same (.4).




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Date     Name                            Hours Description
08/04/21 Maggie Alden                     6.80 Telephone conference with B. Nakhaimousa
                                               re disclosure statement order (.2); revise
                                               disclosure statement (.3); revise disclosure
                                               statement order (.6); correspond with B.
                                               Nakhaimousa, B. Stone re disclosure
                                               statement order (.6); telephone conference
                                               with PJT, A&M, K&E team re status, next
                                               steps (.2); telephone conference with B.
                                               Nakhaimousa re disclosure statement
                                               workstream (.6); telephone conference with J.
                                               Jarvis re confirmation research (.2); telephone
                                               conference with B. Nakhaimousa re
                                               disclosure statement (.1); telephone
                                               conference with D. Hunter re disclosure
                                               statement risk factor (.1); telephone
                                               conference with M. Lemm re disclosure
                                               statement (.1); correspond with D. Hunter, J.
                                               Jarvis re confirmation research (.3);
                                               correspond with D. Hunter, K&E team re
                                               PSA (.3); further review, revise disclosure
                                               statement (.6); analyze issues re disclosure
                                               statement order (.2); draft risk factor re
                                               disclosure statement (.7); further revise
                                               disclosure statement (.4); analyze issues,
                                               precedent re disclosure statement, disclosure
                                               statement order (1.3).
08/04/21 Nicholas A. Binder               5.90 Telephone conference with D. Hunter, K&E
                                               team, Company advisors re plan process (.1);
                                               telephone conference with M. Alden, K&E
                                               team re same (.3); revise definitive documents
                                               (3.0); correspond with D. Hunter, K&E team
                                               re same (.6); review, analyze same (1.9).
08/04/21 Simon Briefel                    2.90 Review, comment on exclusivity motion
                                               (2.5); correspond with M. Lemm re same (.3);
                                               telephone conference with PJT, A&M, D.
                                               Hunter, K&E team re deal, next steps (.1).




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Date     Name                            Hours Description
08/04/21 Derek I. Hunter                   9.80 Telephone conference with Company
                                                advisors re deal status (.5); review, analyze
                                                and revise ongoing plan analyses (3.2); draft,
                                                revise definitive documents (2.1); review,
                                                analyze same (1.7); telephone conferences
                                                with Company advisors, creditors re case
                                                strategy, revised definitive documents (1.4);
                                                conference with S. Briefel, K&E team re
                                                same (.5); telephone conference with N.
                                                Binder, K&E team re emergence workstreams
                                                and disclosure statement analysis (.4).
08/04/21 Jason T. Jarvis                   6.90 Correspond with M. Alden re confirmation
                                                considerations (.3); draft memorandum re
                                                same (2.4); review, revise same (4.0);
                                                telephone conference with M. Alden re same
                                                (.2).
08/04/21 Michael Lemm                     11.60 Review and revise pleadings re plan
                                                considerations (3.7); further revise same per
                                                additional comments (3.6); review materials
                                                re same (2.9); review and revise plan support
                                                agreement (1.4).
08/04/21 Brian Nakhaimousa                 1.60 Revise disclosure statement and order.
08/04/21 David L. Perechocky               0.20 Correspond with K&E team re plan status,
                                                updates.
08/04/21 Samuel J. Seneczko                8.70 Correspond with D. Hunter, K&E team re
                                                PSA revisions (.2); revise PSA re comments,
                                                revisions (3.8); correspond with N. Binder re
                                                same (.8); analyze plan re same (1.5);
                                                correspond with D. Hunter, K&E team re
                                                PSA, plan (.6); telephone conference with N.
                                                Binder re same (.6); further revise PSA (1.1);
                                                correspond S. Serajedinni, K&E team re same
                                                (.1).
08/04/21 Steven N. Serajeddini, P.C.       5.50 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (3.6); review and analyze same (1.9).
08/04/21 Benjamin P. Stone                 5.30 Review, revise disclosure statement (3.3);
                                                review, revise disclosure statement order
                                                (1.4); correspond with M. Alden re same (.2);
                                                correspond with D. Hunter re same (.2);
                                                correspond with A. Yenamandra re same (.2).
08/04/21 William Thompson                  0.80 Revise exclusivity motion re edits from E.
                                                Wendorf (.3); further revise memorandum re
                                                plan implementation (.5).


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Date     Name                            Hours Description
08/04/21 Eric J. Wendorf                  1.20 Review, revise exclusivity motion (.9);
                                               correspond with W. Thompson re same (.1);
                                               correspond with M. Lemm re same (.2).
08/04/21 Aparna Yenamandra                3.40 Analyze stipulation (.6); correspond with
                                               K&E team re same (.3); review and revise
                                               plan, PSA markups (2.5).
08/05/21 Maggie Alden                     7.30 Correspond with B. Nakhaimousa, B. Stone re
                                               deal documents (.2); correspond with N.
                                               Binder, S. Seneczko re same (.2); revise
                                               disclosure statement (2.2); correspond with B.
                                               Nakhaimousa, B. Stone re same (.3); review
                                               ballots (.5); correspond with D. Hunter, B.
                                               Nakhaimousa, B. Stone re same (.3); analyze
                                               issues re disclosure statement order (1.2);
                                               revise disclosure statement (1.5); correspond
                                               with B. Nakhaimousa, B. Stone re same (.9).
08/05/21 Nicholas A. Binder               7.50 Review, revise definitive documents (3.4);
                                               telephone conference with D. Hunter, K&E
                                               team re same (1.9); analyze same (1.7);
                                               review precedent re same (.5).
08/05/21 Simon Briefel                    5.90 Review, revise exclusivity motion (.5);
                                               analyze PSA issues (.3); revise, comment on
                                               same (2.3); correspond with D. Hunter, K&E
                                               team re same (.4); analyze issues re PSA
                                               ancillary documents (.4); draft, revise deal
                                               scheduling motion (2.0).
08/05/21 Derek I. Hunter                  9.20 Telephone conference with Company re
                                               mediation updates, case strategy, creditor
                                               engagement (.5); review, analyze and revise
                                               same (2.1); review, analyze and revise plan-
                                               related research (1.7); draft definitive
                                               documents (.9); telephone conference with
                                               Company advisors re case strategy (.4);
                                               conference with N. Binder, K&E team re
                                               same (.3); review, analyze and revise plan
                                               definitive documents (2.9); telephone
                                               conference with K&E team re emergence
                                               workstreams and disclosure statement
                                               analysis (.4).
08/05/21 Jason T. Jarvis                  0.70 Correspond with N. Binder re emergence
                                               considerations (.2); research re same (.5).
08/05/21 Tyler R. Knutson                 0.60 Draft table re certain confirmation precedent
                                               (.5); correspond with E. Wendorf re same (.1).



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Date     Name                            Hours Description
08/05/21 Michael Lemm                     0.20 Correspond with K. Coverdale, D. Hunter re
                                               term sheet re plan.
08/05/21 Brian Nakhaimousa                1.70 Revise disclosure statement order (.9); revise
                                               disclosure statement (.8).
08/05/21 Matt O'Hare                      0.70 Telephone conference with L. Hague and
                                               Jones Day re CFIUS considerations (.4);
                                               correspond with Jones Day re same (.3).
08/05/21 Robert Orren                     0.30 Correspond with N. Binder re RSA precedent.
08/05/21 Samuel J. Seneczko               5.60 Correspond with N. Binder re plan revisions,
                                               PSA implementation (.7); correspond with D.
                                               Hunter, K&E team re PSA, plan (.3); revise
                                               PSA re same (2.6); telephone conference with
                                               N. Binder re plan revisions, PSA changes (.5);
                                               correspond with S. Briefel re same (.2);
                                               analyze comments, revisions to PSA (1.1);
                                               correspond with D. Hunter, S. Briefel, N.
                                               Binder re same (.2).
08/05/21 Steven N. Serajeddini, P.C.      5.80 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.4); review and analyze same (2.4).
08/05/21 Benjamin P. Stone                8.40 Further review, revise disclosure statement
                                               (2.4); review, revise disclosure statement
                                               order (.8); review, revise exhibits re dates,
                                               plan changes (1.7); draft table re CUSIP's
                                               (2.3); correspond with M. Alden re same (.3);
                                               review, revise PSA signature page holdings
                                               (.7); correspond with D. Hunter re same (.2).
08/05/21 Aparna Yenamandra                3.50 Conference with K&E team re work in
                                               process (.5); correspond with K&E team re
                                               plan, PSA (.7); analyze issues re same (1.4);
                                               telephone conference with AHEC counsel re
                                               case progress (.6); telephone conference with
                                               UCC re next steps (.3).




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08/06/21 Maggie Alden                     12.10 Telephone conference with PJT, A&M, N.
                                                Binder, K&E team re strategy, next steps (.5);
                                                telephone conference with S. Seneczko re
                                                PSA (.1); review, analyze amended U.S.
                                                Trustee objection (.9); correspond with S.
                                                Seneczko, K&E team re same (.2);
                                                correspond with B. Nakhaimousa, B. Stone re
                                                disclosure statement exhibit (.3); revise
                                                disclosure statement (3.9); telephone
                                                conferences with B. Nakhaimousa, B. Stone
                                                re disclosure statement order (.3); analyze
                                                ballots matter (.3); revise ballots, solicitation
                                                procedures (.9); correspond with B.
                                                Nakhaimousa, B. Stone re same (.3); review
                                                term sheet (.6); further revise disclosure
                                                statement (2.9); analyze issues re disclosure
                                                statement, disclosure statement order (.9).
08/06/21 Nicholas A. Binder               10.00 Telephone conference with M. Alden, K&E
                                                team, Company advisors re plan process (.5);
                                                telephone conference with D. Hunter re same
                                                (.4); conference with A. Yenamandra, K&E
                                                team, Company advisors re same (.3); revise
                                                plan (1.5); telephone conference with S.
                                                Seneczko re definitive documents (.5);
                                                analyze confirmation, disclosure statement
                                                issues (1.6); analyze creditor proposal (1.4);
                                                draft issues list re same (1.8); revise definitive
                                                documents re same (2.0).
08/06/21 Simon Briefel                     3.30 Review, revise deal scheduling motion (3.0);
                                                analyze restructuring term sheet (.3).
08/06/21 Derek I. Hunter                   9.80 Telephone conference with Company re
                                                mediation updates, case strategy, creditor
                                                engagement (.5); review, analyze and revise
                                                documents re same (1.7); review, analyze and
                                                revise plan-related research (1.2); draft
                                                definitive documents (1.8); telephone
                                                conference with Company advisors re case
                                                strategy (.4); conference with N. Binder, K&E
                                                team re same (.6); review, analyze and revise
                                                plan definitive documents (3.2); telephone
                                                conference with S. Seneczko, K&E team re
                                                emergence workstreams and disclosure
                                                statement analysis (.4).




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Date     Name                            Hours Description
08/06/21 Tyler R. Knutson                 2.20 Review plan related term sheet (.6); review
                                               prior correspondence and precedent re same
                                               (.7); review pleadings re disclosure statement
                                               objection, appointment of certain
                                               professionals (.9).
08/06/21 Michael Lemm                     4.40 Review and revise pleadings re plan
                                               considerations (3.6); review transcripts re
                                               same (.2); draft issues list re same (.6).
08/06/21 Drew Maliniak                    1.00 Review and revise memorandum re
                                               emergence (.8); correspond with J. Korff and
                                               J. Karinen re same (.2).
08/06/21 Brian Nakhaimousa                5.30 Telephone conference with E. Wendorf, B.
                                               Stone re disclosure statement timeline (.5);
                                               review amended U.S. Trustee objection (.4);
                                               correspond with M. Alden, B. Stone re same
                                               (.2); revise disclosure statement order ballots
                                               (1.5); revise disclosure statement (2.4);
                                               telephone conferences with M. Alden, B.
                                               Stone re disclosure statement (.3).
08/06/21 Samuel J. Seneczko               7.80 Correspond with D. Hunter, K&E team re
                                               PSA, disclosure statement, plan revisions (.4);
                                               analyze disclosure statement objection (.7);
                                               review precedent materials re same (.4);
                                               telephone conference with M. Alden re same
                                               (.4); telephone conference with N. Binder re
                                               plan, PSA implementation (.4); correspond
                                               with D. Hunter, S. Briefel, N. Binder re PSA,
                                               plan revisions (.4); revise PSA re same (.5);
                                               analyze PSA re secured lenders issues (1.6);
                                               analyze term sheet (1.0): revise issues list re
                                               same (.5); correspond with N. Binder re PSA,
                                               plan revisions on term sheet (.4); further
                                               revise PSA re term sheet (.7); telephone
                                               conference with D. Hunter, N. Binder re same
                                               (.4).
08/06/21 Steven N. Serajeddini, P.C.      6.40 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (3.7); review and analyze same (2.7).
08/06/21 Anthony Vincenzo Sexton          0.30 Review and revise plan.




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Date     Name                            Hours Description
08/06/21 Benjamin P. Stone                7.40 Conference with D. Hunter, K&E team re
                                               disclosure statement, Plan (.4); conference
                                               with M. Alden, B. Nakhaimousa re same (.3);
                                               review, revise CUSIP table (.8); correspond
                                               with M. Alden re same (.2); correspond with
                                               Stretto re same (.2); conference with same re
                                               same (.2); analyze stipulation re plan issues
                                               (.9); correspond with E. Wendorf re same
                                               (.4); review, analyze U.S. Trustee disclosure
                                               statement objection (.8); research re precedent
                                               disclosure statement ballots (1.9); review,
                                               revise disclosure statement Order (1.3).
08/06/21 William Thompson                 0.50 Further revise exclusivity motion re case
                                               updates.
08/06/21 Aparna Yenamandra                2.80 Conference with Company advisors re plan
                                               status, updates (.9); conference with K&E
                                               team re same (.4); prepare for same (.2);
                                               telephone conferences with S. Serajeddini re
                                               updates (1.0); review term sheet (.3).
08/06/21 Donna Zamir                      3.50 Research re confirmation considerations (1.8);
                                               further draft summary re same (1.4);
                                               correspond with N. Binder, W. Thompson re
                                               same (.3).




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Date     Name                            Hours Description
08/07/21 Maggie Alden                     12.30 Telephone conference with K&E teams re
                                                strategy, next steps (1.1); telephone
                                                conference with D. Hunter, K&E
                                                restructuring team re deal docs (.4); telephone
                                                conferences with B. Nakhaimousa, B. Stone
                                                re disclosure statement order, next steps (.6);
                                                telephone conference with S. Seneczko re
                                                deal status (.6); telephone conference with S.
                                                Briefel re scheduling issues (.1); revise
                                                disclosure statement (.8); correspond with M.
                                                Lemm re MIP, disclosure statement (.1);
                                                further revise disclosure statement (.8);
                                                correspond with K&E teams re revised
                                                disclosure statement (1.2); correspond with D.
                                                Maliniak re same (.1); further revise
                                                disclosure statement (1.4); correspond with S.
                                                Briefel re scheduling issues (.2); research
                                                precedent re ballots (.3); correspond with M.
                                                Lemm re deal checklist (.1); revise
                                                correspondence re A&M review (.9);
                                                correspond with N. Binder, K&E team re deal
                                                docs (.2); further revise disclosure statement
                                                (3.4).
08/07/21 Nicholas A. Binder               10.80 Revise plan (3.8); correspond with D. Hunter
                                                re same (.1); further revise plan per D. Hunter
                                                comments (2.9); telephone conference with D.
                                                Hunter, K&E team re plan process (1.1);
                                                telephone conference with K&E team re
                                                definitive documents (1.4); revise same (.7);
                                                correspond with K&E team re same (.4);
                                                telephone conference with D. Hunter re plan
                                                (.4).
08/07/21 Simon Briefel                     3.20 Telephone conference with S. Serajeddini, M.
                                                Slade, A. Yenamandra, K&E team re term
                                                sheet, next steps (1.1); telephone conference
                                                with D. Hunter, K&E team re same (.5);
                                                review, comment on PSA, term sheets (1.4);
                                                correspond with K&E team re same (.2).




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Date     Name                            Hours Description
08/07/21 Derek I. Hunter                  10.10 Review, analyze and revise definitive plan
                                                documents (2.9); conference with PJT team,
                                                Company re same, plan structure
                                                considerations (.5); telephone conference with
                                                K&E team re plan term sheet, issues re same
                                                (.5); conference with K&E team re definitive
                                                document drafting, related research (.5);
                                                review analyze and revise disclosure
                                                statement documents (2.5); review, analyze
                                                plan-related research and precedent (2.3);
                                                correspond with K&E team re same (.9).
08/07/21 Jason T. Jarvis                   4.40 Research re plan issues (2.8); draft
                                                memorandum re same (1.3); correspond with
                                                T. Knutson, N. Binder re same (.3).
08/07/21 Jennifer Karinen                  3.00 Review ancillary PSA term sheets.
08/07/21 Andrew Kimball                    0.40 Review and revise corporate governance term
                                                sheet.
08/07/21 Tyler R. Knutson                  8.20 Correspond with D. Hunter, K&E team re
                                                table of confirmation-related claims (.4);
                                                research and analyze plan precedent re certain
                                                confirmation considerations (3.8); further
                                                research re same (2.1); compile plan
                                                precedent research into excel spreadsheet
                                                (1.4); correspond with J. Jarvis re same (.5).
08/07/21 Michael Lemm                      5.30 Telephone conference with D. Hunter, K&E
                                                team re case strategy (1.0); telephone
                                                conference with M. Alden, K&E team re
                                                same (.3); draft deal document tracker (1.1);
                                                review and revise pleadings re plan
                                                considerations (2.9).
08/07/21 Library Factual Research          0.50 Research proposed plan and disclosure
                                                statement related to confirmation order.
08/07/21 Drew Maliniak                     0.80 Draft memorandum re securities issues re
                                                plan.
08/07/21 Brian Nakhaimousa                 6.50 Conference with D. Hunter, K&E team re
                                                plan (.5); conference with M. Alden, B. Stone
                                                re same (.5); revise same (1.4); summarize
                                                U.S. Trustee's amended objection (.4);
                                                research precedent re disclosure statement
                                                exhibits (3.7).
08/07/21 David L. Perechocky               0.30 Correspond with K&E team re
                                                documentation.




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08/07/21 Samuel J. Seneczko               8.90 Revise PSA re term sheet (1.7); analyze term
                                               sheet re same (.8); correspond with N. Binder
                                               re same (.2); correspond with D. Hunter,
                                               K&E team re PSA revisions (.2); telephone
                                               conference with K&E team re deal docs, next
                                               steps (.4); revise PSA re comments, term
                                               sheet (2.3); correspond with N. Binder re
                                               same (.8); telephone conference with D.
                                               Hunter, N. Binder re PSA, plan revisions (.4);
                                               further revise PSA re same (1.6); correspond
                                               with A. Yenamandra, K&E team re same (.1);
                                               correspond with N. Binder re same (.3);
                                               correspond with M. Alden re same (.1).
08/07/21 Steven N. Serajeddini, P.C.      2.20 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.5); review and analyze same (.7).
08/07/21 Anthony Vincenzo Sexton          1.30 Standing conference with S. Serajeddini, A.
                                               Yenamandra, and K&E team re deal status
                                               and analysis (1.1); review revised plan and
                                               disclosure statement (.2).
08/07/21 Michael B. Slade                 3.80 Telephone conferences with S. Serajeddini,
                                               A. Yenamandra K&E team re plan (1.1);
                                               telephone conference with director advisors re
                                               same (.6); telephone conference with B.
                                               Arnault re discovery issues (.5); correspond
                                               with B. Arnault re same (.4); review and
                                               revise plan related materials (1.2).
08/07/21 Benjamin P. Stone                8.40 Conference with M. Alden, B. Nakhaimousa
                                               re disclosure statement (.2); analyze amended
                                               U.S. Trustee's disclosure statement objection
                                               (1.4); revise tracker re same (1.7); correspond
                                               with B. Nakhaimousa re same (.2); review,
                                               revise disclosure statement (2.5); correspond
                                               with M. Alden re same (.2); correspond with
                                               K&E team re same (.2); research precedent re
                                               ballots (1.8); correspond with M. Alden re
                                               same (.2).
08/07/21 William Thompson                 0.20 Telephone conference with E. Wendorf re
                                               exclusivity motion.




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08/07/21 Aparna Yenamandra                 4.80 Review term sheets (.8); telephone conference
                                                with K&E team, PJT, management re same
                                                (.7); participate in standing weekly call (.7);
                                                review revised PSA and telephone conference
                                                with D. Hunter re same (.5); review revised
                                                plan and telephone conference with D. Hunter
                                                re same (1.1); telephone conferences with
                                                K&E team, Company advisors re guaranty
                                                claims stipulation (1.0).
08/07/21 Aparna Yenamandra                 0.50 Telephone conference with director advisors
                                                re plan, PSA, related documents.
08/07/21 Jeffrey J. Zeiger, P.C.           1.00 Telephone conference with S. Serajeddini, D.
                                                Hunter, A. Yenamandra and M. Slade re case
                                                update and strategy.
08/08/21 Maggie Alden                     10.00 Correspond with B. Stone, B. Nakhaimousa re
                                                disclosure statement order (.2); correspond
                                                with K&E tax specialists re same (.2); draft,
                                                revise same (2.1); telephone conference with
                                                A&M re plan issues (.6); telephone
                                                conference with D. Hunter, K&E team re
                                                strategy, next steps (.5); telephone
                                                conferences with B. Stone, B. Nakhaimousa
                                                re disclosure statement, disclosure statement
                                                order (.2); draft, revise disclosure statement
                                                (2.7); review precedent re disclosure
                                                statement (.4); correspond with K&E
                                                specialist groups re same (.2); further revise
                                                same (2.9).
08/08/21 Nicholas A. Binder                6.30 Analyze considerations re emergence (.8);
                                                revise presentation re same (1.9); correspond
                                                with K&E team re same (.5); telephone
                                                conference with creditor advisors, K&E team
                                                re definitive documents (.6); review, analyze,
                                                revise same (1.4); correspond with K&E team
                                                re same (.4); telephone conference with D.
                                                Hunter, K&E team re same (.7).
08/08/21 Simon Briefel                     3.50 Draft, revise, comment on stipulated order
                                                (.3); telephone conference with JD, PW, K&E
                                                team re deal (.6); review, comment on PSA,
                                                term sheets (2.0); correspond with D. Hunter,
                                                K&E team re same (.6).
08/08/21 Dave Gremling                     0.60 Conference with K&E team, PJT team,
                                                creditor advisors re plan issues.
08/08/21 Dave Gremling                     0.50 Analyze issues re disclosure statement.


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Date     Name                            Hours Description
08/08/21 Derek I. Hunter                  11.80 Conference with creditor advisors re
                                                definitive document negotiation’s and
                                                drafting (1.0); conference with A&M re
                                                disclosure statement, plan classes (.5);
                                                conferences with K&E team, Debtor advisors
                                                re definitive documents and plan and PSA
                                                negotiations (1.5); correspond with K&E
                                                team re definitive document drafting and
                                                research (1.3); review, analyze and revise
                                                numerous definitive documents, plan and
                                                PSA (4.6); review and analyze research and
                                                precedent re same (2.9).
08/08/21 Jason T. Jarvis                   0.90 Correspond with B. Stone re confirmation
                                                considerations (.1); draft summary
                                                memorandum re equity interests in, contracts
                                                with third party (.8).
08/08/21 Jennifer Karinen                  1.30 Review emergence term sheet (.8); review
                                                and revise governance term sheet re
                                                registration rights (.5).
08/08/21 Andrew Kimball                    2.10 Revise disclosure statement (.8); review
                                                changes to CVR term sheet (.4); draft and
                                                review correspondence with D. Perechocky
                                                and S. O'Hargan (.3); review and provide
                                                comments on the governance proposal (.6).
08/08/21 Tyler R. Knutson                  0.30 Review and analyze term sheet markup.
08/08/21 Michael Lemm                     10.00 Review and revise deal document tracker (.8);
                                                review and revise term sheets re plan (3.8);
                                                review materials re same (2.8); correspond
                                                with EHP re same (.2); compile issues list re
                                                same (1.4); review and revise pleading re plan
                                                considerations (.5); telephone conference with
                                                D. Hunter, K&E team, creditors re plan
                                                documents (.5).
08/08/21 Drew Maliniak                     1.00 Review plan term sheet (.9); correspond with
                                                A. Kimball and J. Karinen re same (.1).
08/08/21 Joe Morley                        0.30 Correspond with M. Johnson re disclosure
                                                statement and plan.
08/08/21 Brian Nakhaimousa                 4.20 Participate in conference with A&M re plan
                                                issues (.5); review disclosure statement
                                                precedent (3.1); revise disclosure statement
                                                exhibits (.6).
08/08/21 David L. Perechocky               1.00 Review updated plan (.7); correspond with
                                                K&E team re same (.3).
08/08/21 Whitney Rosser                    0.20 Correspond with K&E team re deal status.

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08/08/21 Samuel J. Seneczko               3.90 Analyze supplemental PSA term sheet (2.1);
                                               correspond with D. Hunter, S. Briefel, N.
                                               Binder re same (.2); draft issues list re same
                                               (1.3); correspond with S. Briefel, N. Binder re
                                               same (.3).
08/08/21 Steven N. Serajeddini, P.C.      1.70 Telephone conference with K&E team,
                                               advisors, Company re plan issues (1.1);
                                               review and analyze same (.6).
08/08/21 Anthony Vincenzo Sexton          3.70 Telephone conference with PW, JD, S.
                                               Serajeddini, A. Yenamandra, and other K&E
                                               team re deal issues (.6); review and revise
                                               plan and disclosure statement documents
                                               (3.1).
08/08/21 Michael B. Slade                 1.20 Review and revise plan related materials.
08/08/21 Benjamin P. Stone                5.40 Research precedent re disclosure statement
                                               risk factors (3.7); correspond with B.
                                               Nakhaimousa re same (.6); correspond with
                                               M. Alden re same (.3); correspond with A.
                                               Yenamandra re disclosure statement (.2);
                                               correspond with K&E team re same (.2);
                                               correspond with B. Nakhaimousa, W.
                                               Thompson re PSA holdings (.4).
08/08/21 William Thompson                 2.70 Revise exclusivity motion with comments
                                               from M. Lemm (2.2); telephone conference
                                               with K&E team re definitive documents (.5).
08/08/21 Eric J. Wendorf                  4.20 Revise exclusivity motion (3.4); correspond
                                               with W. Thompson re same (.3); correspond
                                               with M. Lemm re same (.3); correspond with
                                               D. Hunter re same (.2).
08/08/21 Aparna Yenamandra                1.80 Telephone conference with PW, JD, company
                                               advisors re next steps (.5); telephone
                                               conferences with S. Serajeddini re same (.9);
                                               correspond re MIP term sheet (.4).
08/09/21 Maggie Alden                     4.10 Correspond with B. Nakhaimousa, B. Stone re
                                               solicitation materials (.2); correspond with
                                               PJT, K&E team re emergence matters (.2);
                                               correspond with D. Gremling, B.
                                               Nakhaimousa, B. Stone re disclosure
                                               statement, solicitation materials (1.0);
                                               telephone conference with B. Nakhaimousa,
                                               K&E team re same, emergence (.5); revise
                                               solicitation materials (1.2); telephone
                                               conferences with interested parties re plan,
                                               materials, next steps (1.0).


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08/09/21 Bill Arnault                      0.90 Review and revise disclosure statement insert.
08/09/21 Nicholas A. Binder               12.50 Review presentation re emergence
                                                considerations (.3); correspond with K&E
                                                team, EHP re same (.5); telephone conference
                                                with D. Hunter re same (.1); telephone
                                                conference with K&E team, Company
                                                advisors re plan process (.5); telephone
                                                conference with creditor advisors re definitive
                                                documents (.3); analyze plan considerations
                                                (.4); correspond with A&M re same (.4);
                                                telephone conference with D. Hunter, S.
                                                Seneczko, K&E team re definitive documents
                                                (2.6); revise same (4.0); analyze
                                                considerations re same (1.8); telephone
                                                conference with K&E team, EHP re
                                                emergence considerations (.8); analyze same
                                                (.5); telephone conference with W. Thompson
                                                re same (.3).
08/09/21 Simon Briefel                     6.00 Telephone conference with PJT K&E re deal,
                                                next steps (.4); telephone conference with JD,
                                                PW, K&E team re same (.3); telephone
                                                conference with D. Hunter, K&E team, PJT re
                                                CVR term sheet (.5); review, comment on
                                                PSA, term sheets (2.4); analyze issues re same
                                                (1.0); correspond with M. Alden, E. Wendorf
                                                re same (1.4).
08/09/21 Dave Gremling                    10.40 Revise disclosure statement (3.2); analyze
                                                issues re same (2.4); revise disclosure
                                                statement exhibits (1.0); revise disclosure
                                                statement order (1.3); analyze issues re plan
                                                and confirmation (1.8); conference with
                                                Debtor advisors re same (.4); conference with
                                                creditors' advisors re same (.3).




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08/09/21 Derek I. Hunter                  12.10 Conference with creditor advisors re
                                                definitive document negotiation’s and
                                                drafting (1.0); conferences with K&E team,
                                                Debtor advisors re definitive documents and
                                                plan and PSA negotiations (.5); correspond
                                                with K&E team re definitive document
                                                drafting and research (1.3); review, analyze,
                                                and revise numerous definitive documents,
                                                plan and PSA (2.6); review and analyze
                                                research and precedent re same (1.7); review,
                                                analyze and revise disclosure statement
                                                documents (2.4); correspond with K&E team,
                                                Debtor advisors re same (.7); telephone
                                                conference with K&E team re disclosure
                                                statement reply (.5); review, analyze draft re
                                                same (.9); telephone conference with client,
                                                advisors re case status (.5).
08/09/21 Jason T. Jarvis                   3.00 Review, revise emergence checklist (.2);
                                                telephone conference with N. Binder, K&E
                                                team re emergence considerations (.2);
                                                correspond with Company, K&E team re
                                                equity interests in, contracts with third party
                                                (.4); correspond with M. Alden re same (.1);
                                                correspond with N. Binder, E. Wendorf, W.
                                                Thompson re plan, emergence considerations
                                                (.2); draft memorandum re same (1.0);
                                                review, revise memorandum re same (.3);
                                                telephone conference with K&E team, Jones
                                                Day, Paul Weiss, PJT re plan, emergence
                                                considerations (.5); prepare for same (.1);.
08/09/21 Jennifer Karinen                  4.60 Telephone conference with N. Binder, K&E
                                                working group re emergence (2.5); review
                                                term sheets (2.1).
08/09/21 Andrew Kimball                    2.50 Review CVR term sheet (.2); telephone
                                                conference with S. O'Hargan re emergence
                                                (.2); telephone conference with EHP re
                                                emergence (.6); draft and review
                                                correspondence re emergence (.4); telephone
                                                conference with Company re governance term
                                                sheets (.7); prepare for telephone conference
                                                with Company re same (.4).




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08/09/21 Tyler R. Knutson                  8.60 Attend conference with K&E team, creditor
                                                constituencies, interested parties re
                                                confirmation-related documents (.2); review
                                                and analyze precedent re U.S. Trustee
                                                objections to plan provisions (2.2); revise
                                                research summary re same (2.6); review prior
                                                draft pleadings re plan issues, related
                                                pleadings (1.2); incorporate into research
                                                summaries re same (2.4).
08/09/21 Michael Lemm                     14.70 Review and revise term sheets re plan (3.7);
                                                compile issues list re same (3.9); review
                                                materials re same (.8); incorporate additional
                                                comments re same (1.6); telephone
                                                conference with N. Binder, K&E team re
                                                same (.2); telephone conference with D.
                                                Hunter, K&E team, PJT re same (.5);
                                                telephone conference with D. Hunter, K&E
                                                team, Company re same (.5); review and
                                                revise deal document tracker (.2); review and
                                                revise pleadings re plan considerations (3.1);
                                                telephone conference with D. Hunter, K&E
                                                team, creditors re plan documents (.2).
08/09/21 Brian Nakhaimousa                 5.40 Revise disclose statement exhibits (2.7);
                                                conference with D. Gremling, B. Stone re
                                                same (.3); correspond with N. Binder, M.
                                                Alden re same (.2); attend conference with
                                                advisors re plan issues (.3); conference with
                                                B. Stone re timeline considerations (.1);
                                                review, summarize amended U.S. Trustee
                                                objection (1.8).
08/09/21 Matt O'Hare                       0.10 Review and comment on disclosure
                                                statement.
08/09/21 David L. Perechocky               3.90 Telephone conference with N. Binder re PSA
                                                (.5); telephone conference with Whitney
                                                Rosser, K&E team re emergence (.5);
                                                telephone conference with K&E team, PJT re
                                                CVR term sheet (.5); telephone conference
                                                with K&E team re governance term sheet (.9);
                                                review and revise term sheets (1.5).
08/09/21 Whitney Rosser                    0.50 Conference with D. Perechocky, K&E team
                                                re emergence (.2); conference with PJT, K&E
                                                team re emergence (.3).




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08/09/21 Samuel J. Seneczko               7.20 Telephone conference with N. Binder re PSA,
                                               Plan revisions (.3); telephone conference with
                                               M. Lemm re same (.3); analyze PSA re PW
                                               comments (1.6); correspond with D. Hunter,
                                               K&E team re same (.4); correspond with
                                               directors advisors, K&E team, PJT team re
                                               same (.3): draft issues list re PSA comments
                                               (.8); telephone conference with D. Hunter, S.
                                               Briefel, N. Binder re same (.6); further revise
                                               issues list re same (.5); revise PSA re same
                                               (2.4).
08/09/21 Steven N. Serajeddini, P.C.      7.20 Telephone conference with K&E team,
                                               advisors, client re plan issues (3.9); review
                                               and analyze same (3.3).
08/09/21 Anthony Vincenzo Sexton          1.10 Telephone conference with K&E team, PW,
                                               and JD teams re plan documents and related
                                               issues (.3); review and revise same (.3);
                                               review materials re Jackson-only plan
                                               constructs (.3); review and revise disclosure
                                               statement (.2).
08/09/21 Benjamin P. Stone                6.20 Review, revise proposed case timeline (1.4);
                                               correspond with D. Gremling re same (.4);
                                               draft disclosure statement adjournment notice
                                               (.6); review, revise same (.2); correspond with
                                               local counsel re same (.2); review, revise
                                               disclosure statement reply (1.8); correspond
                                               with D. Gremling, M. Alden re disclosure
                                               statement order (.3); correspond with B.
                                               Nakhaimousa re same (.4); review, analyze
                                               disclosure statement objections (.9).
08/09/21 William Thompson                 5.90 Telephone conference with K&E team, JD,
                                               and PW re definitive documents updates (.3):
                                               draft notes re same (.6); conference with N.
                                               Binder, D. Zamir and E. Wendorf re
                                               confirmation research (.7); research same
                                               (2.5); telephone conference with K&E team,
                                               EHP re emergence considerations (.2); draft
                                               talking points re implementation
                                               considerations (1.6).




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Date     Name                            Hours Description
08/09/21 Eric J. Wendorf                  5.00 Telephone conferences with W. Thompson,
                                               D. Zamir, N. Binder re confirmation research
                                               (1.1); telephone conference with creditor
                                               groups re deal status (.4); research
                                               confirmation issues (.7); draft memorandum
                                               re same (2.7); correspond with M. Lemm re
                                               structuring issues (.1).
08/09/21 Aparna Yenamandra                8.00 Telephone conference with K&E team,
                                               management re next steps (.6); participate in
                                               standing advisor call (.8); participate in
                                               standing creditor call re document checklist
                                               (.6); telephone conference with Akin, K&E
                                               team re same (.6); telephone conferences with
                                               JD re guaranty claims stipulation (.9); review
                                               revised version of same (.4); correspond re
                                               CVR and warrants term sheet (.4); multiple
                                               telephone conferences with S. Serajeddini re
                                               updates (1.4); office conference with D.
                                               Hunter re issues lists (.6); telephone
                                               conference with PJT re same (.6); correspond
                                               with director advisors re diligence, deal (1.1).
08/09/21 Donna Zamir                      9.70 Telephone conference with D. Hunter, K&E
                                               team, Company advisors re case status and
                                               updates (.3); research re confirmation related
                                               issues (3.9); draft summary re same (3.6);
                                               correspond with N. Binder, E. Wendorf, W.
                                               Thompson re same (.9); telephone conference
                                               with N. Binder, E. Wendorf, W. Thompson re
                                               same (1.0).
08/10/21 Maggie Alden                     5.50 Telephone conference with D. Gremling re
                                               disclosure statement (.2); telephone
                                               conference with D. Hunter, D. Gremling re
                                               same (.2); correspond with D. Gremling re
                                               same (.2); revise disclosure statement (.9);
                                               correspond with A. Yenamandra re same (.2);
                                               correspond with B. Nakhaimousa, B. Stone re
                                               precedent review re same (.4); correspond
                                               with D. Gremling, K&E team re disclosure
                                               statement reply (.4); further revise disclosure
                                               statement (2.2); analyze issues re same (.4);
                                               correspond with D. Gremling, K&E specialist
                                               teams re same (.4).




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Date     Name                            Hours Description
08/10/21 Nicholas A. Binder               14.00 Draft confirmation considerations talking
                                                points (1.3); telephone conference with K&E
                                                team re emergence (.5); telephone conference
                                                with creditor advisors re definitive documents
                                                (.3); analyze considerations re same (4.0);
                                                telephone conference with D. Hunter, K&E
                                                team re same (2.4); revise same (1.4);
                                                telephone conference with EHP, K&E team re
                                                emergence considerations (.5); prepare for
                                                same (.3); telephone conference with EHP,
                                                K&E team, Company advisors re same (1.0);
                                                prepare for same (.2); telephone conference
                                                with Company advisors, A. Yenamandra re
                                                plan process (.5); prepare for same (.1);
                                                telephone conference with K&E team,
                                                creditor advisors re plan negotiations (.8);
                                                telephone conference with A&M re plan (.3);
                                                analyze considerations re same (.4).
08/10/21 Simon Briefel                     6.70 Telephone conference with A. Yenamandra,
                                                K&E team, creditor advisors re definitive
                                                documents, deal (1.5); telephone conference
                                                with EHP, K&E team re emergence
                                                considerations (.5);. telephone conference
                                                with K&E team re emergence (.5); telephone
                                                conference with D. Hunter, K&E team, PJT re
                                                plan, PSA comments (.6); review, comment
                                                on PSA, term sheets (1.8); correspond with
                                                M. Alden, E. Wendorf, S. Seneczko re same
                                                (1.0); analyze issues re same (.8).
08/10/21 Dave Gremling                     5.60 Conference with Company advisors and
                                                creditors' advisors re plan issues (.3);
                                                conference with EHP team, K&E team re
                                                same (.2); revise disclosure statement (2.3);
                                                analyze issues re same (1.2); correspond with
                                                K&E team re same (.6); analyze issues re plan
                                                (1.0).
08/10/21 Luci Hague                        0.20 Review and revise comments re disclosure
                                                statement.




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Date     Name                            Hours Description
08/10/21 Derek I. Hunter                  13.40 Conference with creditor advisors re
                                                definitive document negotiation’s and
                                                drafting (1.0); conferences with K&E team,
                                                Debtor advisors re definitive documents and
                                                plan and PSA negotiations (1.1); correspond
                                                with K&E team re definitive document
                                                drafting and research (.9); review, analyze
                                                and revise numerous definitive documents,
                                                plan, and PSA (3.9); review and analyze
                                                research and precedent re same (1.2); review,
                                                analyze, and revise disclosure statement
                                                documents (3.4); correspond with K&E team,
                                                Debtor advisors re same (.9); telephone
                                                conference with K&E team re disclosure
                                                statement and plan revisions (.5); telephone
                                                conference with client, advisors re case status
                                                (.5).
08/10/21 Jason T. Jarvis                   2.80 Draft memorandum re emergence
                                                considerations (1.0); telephone conference
                                                with D. Hunter, K&E team, EHP re same (.4);
                                                correspond with D. Hunter, K&E team re
                                                plan, emergence considerations (.1); draft
                                                memorandum re same (1.0); telephone
                                                conference with A. Yenamandra, K&E team,
                                                Jones Day, Paul Weiss, PJT, Houlihan re
                                                same (.3).
08/10/21 Deidre Kalenderian                2.10 Review and revise disclosure statement (1.8);
                                                correspond with K. Coverdale re same (.3).
08/10/21 Jennifer Karinen                  2.40 Review and revise plan draft (1.); review
                                                warrant term sheet (.5); telephone conference
                                                with D. Hunter, K&E team (.9).
08/10/21 Andrew Kimball                    1.10 Telephone conference with D. Hunter, K&E
                                                team re emergence (.6); revise CVR term
                                                sheet (.5).
08/10/21 Tyler R. Knutson                  1.80 Review and revise memorandum re disclosure
                                                statement objections.
08/10/21 Joshua Korff, P.C.                1.20 Telephone conferences with D. Maliniak,
                                                K&E team re process and structuring
                                                considerations.




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Date     Name                            Hours Description
08/10/21 Michael Lemm                     12.00 Review and revise term sheets re plan (3.5);
                                                compile issues list re same (2.8); incorporate
                                                additional comments re same (3.3); telephone
                                                conference with D. Hunter, K&E team,
                                                creditors re plan documents (.2); telephone
                                                conferences with N. Binder re same (.1);
                                                telephone conference with N. Binder, K&E
                                                team, EHP re plan matters (.3); telephone
                                                conference with N. Binder, K&E team,
                                                creditors re plan structuring (.8); telephone
                                                conference with N. Binder, K&E team, EHP,
                                                McDonald Hopkins re plan structuring (1.0).
08/10/21 Drew Maliniak                     2.70 Telephone conference with J. Korff, K&E
                                                team re emergence process and structuring
                                                considerations (1.0); revise memorandum re
                                                same (1.6); correspond with J. Karinen, J.
                                                Korff, K&E team re same (.1).
08/10/21 Brian Nakhaimousa                 7.50 Revise disclosure statement exhibits (1.4);
                                                conference with D. Hunter, M. Alden, D.
                                                Gremling, B. Stone re disclosure statement
                                                considerations (.8); conference with B. Stone
                                                re same (.2); revise reply in support of
                                                disclosure statement (2.5); revise disclosure
                                                statement (1.3); draft issues list re objections
                                                (1.3).
08/10/21 Matt O'Hare                       1.00 Review and comment on disclosure statement
                                                (.7); correspond with K&E team, L. Hague re
                                                same (.3).
08/10/21 David L. Perechocky               3.30 Telephone conference with K&E, Jones Day,
                                                Paul Weiss teams re PSA (.5); telephone
                                                conference with same re term sheets (1.5);
                                                review. revise same (1.3).
08/10/21 Whitney Rosser                    3.50 Research re securities re emergence
                                                considerations (3.0); correspond with D.
                                                Maliniak re same (.5).




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Date     Name                            Hours Description
08/10/21 Samuel J. Seneczko               9.90 Correspond with D. Hunter, S. Briefel, N.
                                               Binder re PSA revisions (.4); revise PSA re
                                               same (1.3); correspond with S. Briefel, N.
                                               Binder re same (.3); conference with K&E,
                                               Jones Day, Paul Weiss teams re PSA, plan
                                               status (.5); correspond with Jones Day, Paul
                                               Weiss, Akin, Wilmer teams re PSA
                                               provisions (.3); correspond with disinterested
                                               directors re same (.1); correspond with A.
                                               Yenamandra re PSA language (.2); analyze
                                               PSA re same (.3); further revise PSA re
                                               comments (3.4); research precedent re same
                                               (1.6); analyze plan revisions (1.4); correspond
                                               with PJT team re PSA, plan revisions (.1).
08/10/21 Steven N. Serajeddini, P.C.      7.50 Correspond with K&E team, advisors,
                                               Company re plan issues (2.5) telephone
                                               conference with K&E team, advisors,
                                               Company re plan issues, creditor negotiations
                                               (3.4); review and analyze same (1.6).
08/10/21 Anthony Vincenzo Sexton          0.60 Telephone conference with PW, JD, A.
                                               Yenamandra and other K&E team re plan
                                               document status (.3); review and revise
                                               document term sheets and plan (.3).
08/10/21 Michael B. Slade                 2.50 Telephone conference with D. Hunter, K&E
                                               team and director advisors re plan issues (.3);
                                               review and revise plan related documents
                                               (2.2).
08/10/21 Benjamin P. Stone                4.70 Review, revise issue list re disclosure
                                               statement objections (3.9); further revise same
                                               (.8).
08/10/21 William Thompson                 1.60 Research re confirmation issues (.9);
                                               telephone conference with K&E, JD, PW re
                                               definitive documents updates (.3); telephone
                                               conference with K&E team, EHP re case
                                               updates (.4).
08/10/21 Eric J. Wendorf                  4.90 Correspond with W. Thompson, D. Zamir re
                                               confirmation related issues (.4); telephone
                                               conference with creditor groups re deal status
                                               (.5); correspond with N. Binder re
                                               confirmation issues (.3); draft memorandum
                                               re same (2.1); research re same (.7);
                                               correspond with M. Lemm re exclusivity
                                               motion (.1); revise same(.8).



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Date     Name                            Hours Description
08/10/21 Aparna Yenamandra                 6.80 Attend daily telephone conference with K&E
                                                team re work in process (.5); attend standing
                                                creditor update call (.7); telephone
                                                conferences with K&E team re plan, PSA
                                                issues (1.2); telephone conference with Akin
                                                re next steps (.6); telephone conference with
                                                UCC counsel re update (.5); telephone
                                                conference with director advisors re deal
                                                update (.9); revise PSA (.6); telephone
                                                conference with PJT re same, plan issues (.7);
                                                telephone conference with M. Bryan re same
                                                (.4); review exclusivity motion (.7).
08/10/21 Donna Zamir                       1.50 Review materials re confirmation
                                                considerations (.9); correspond with N.
                                                Binder, E. Wendorf, W. Thompson re same
                                                (.6).
08/11/21 Maggie Alden                      9.30 Telephone conference with PJT, A&M, K&E
                                                teams re case updates, strategy, next steps
                                                (.1); telephone conference with M. Lemm,
                                                K&E team re emergence matters (.1);
                                                correspond with D. Gremling, D. Hunter re
                                                disclosure statement (.4); correspond with D.
                                                Gremling re same (.2); revise reply chart re
                                                same (.8); review disclosure statement
                                                markup (.7); correspond with D. Hunter, K&E
                                                team re same (.1); review, revise disclosure
                                                statement (3.5); review, revise disclosure
                                                statement order (1.2); revise reply chart re
                                                disclosure statement objections (1.5);
                                                correspond with D. Gremling, K&E team re
                                                issues re same (.7).
08/11/21 Nicholas A. Binder               14.70 Analyze considerations re definitive
                                                documents (4.0); draft issues lists re same
                                                (1.6); telephone conference with creditor
                                                advisors re same (.3); revise definitive
                                                documents (4.0); conference with D. Hunter,
                                                K&E team re same (2.4); correspond with A.
                                                Sexton re emergence issues (.2); telephone
                                                conference with A. Sexton, Company
                                                advisors re same (.5); prepare for same (.2);
                                                telephone conference with PJT, K&E teams re
                                                plan (1.0); telephone conference with A.
                                                Yenamandra, Company advisors re plan
                                                process (.5).



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08/11/21 Simon Briefel                    10.90 Telephone conference with PJT, K&E teams
                                                re plan (1.0); telephone conferences with
                                                K&E team, creditor advisors re definitive
                                                documents (1.1); review, comment on PSA
                                                (1.3); correspond with S. Seneczko re same
                                                (.5); review, comment on term sheets (2.3);
                                                correspond with M. Alden, E. Waldorf re
                                                same (1.3); analyze issues re definitive
                                                documents (2.1); correspond with D. Hunter,
                                                K&E team re same (1.3).
08/11/21 Kate Coverdale, P.C.              1.10 Review and revise disclosure statement.
08/11/21 David L. Eaton                    0.90 Telephone conference with S. Serajeddini, S.
                                                Zelin, K&E team re plan issues (.6);
                                                conference with director advisors re same
                                                (.3).
08/11/21 Dave Gremling                     2.50 Review, analyze disclosure statement (1.8);
                                                revise same (.7).
08/11/21 Derek I. Hunter                  14.40 Conferences with K&E team, Company
                                                advisors re definitive documents and plan and
                                                PSA negotiations (2.0); conferences with
                                                creditor advisors re same (2.3); review,
                                                analyze, and revise numerous definitive
                                                documents, plan, and PSA (3.7); correspond
                                                with N. Binder, K&E team re same (1.3);
                                                correspond with K&E specialists re DS
                                                comments (.5); review, analyze DS order and
                                                solicitation procedure revisions (1.9);
                                                correspond with K&E team re same (.3);
                                                review, analyze research and precedent re
                                                plan negotiations and confirmation issues
                                                (2.4).
08/11/21 Jason T. Jarvis                   1.90 Telephone conference with D. Perechocky,
                                                K&E team re emergence considerations (.2);
                                                correspond with D. Hunter, K&E team re
                                                plan, emergence considerations (.1); draft
                                                memorandum re same (1.3); telephone
                                                conference with D. Hunter, K&E team, PW,
                                                JD re same (.3);.
08/11/21 Deidre Kalenderian                0.50 Review and revise disclosure statement.
08/11/21 Jennifer Karinen                  2.00 Review and revise disclosure statement (1.0);
                                                review warrant term sheet (.2); review
                                                registration rights in term sheet (.4); review
                                                distribution date provision (.4).



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Date     Name                            Hours Description
08/11/21 Andrew Kimball                    1.50 Revise corporate governance term sheet (1.0);
                                                telephone conference with K&E team re same
                                                (.3); attend telephone conference with creditor
                                                working group re same (.2).
08/11/21 Tyler R. Knutson                  2.30 Correspond with D. Gremling re plan issues,
                                                related pleadings (.3); review and analyze
                                                disclosure statement summary re confirmation
                                                considerations, plan issues (1.6); correspond
                                                with N. Binder re plan (.1); research re same
                                                (.3).
08/11/21 Krista Koskivirta                 0.50 Review term sheet re control, antitrust
                                                considerations.
08/11/21 Michael Lemm                     14.80 Review and revise term sheets (3.8); review
                                                comments re same (2.4); draft issues list re
                                                same (3.8); further revise same (3.7);
                                                telephone conference with D. Hunter, K&E
                                                team, creditors re plan documents (.2);
                                                telephone conference with N. Binder, K&E
                                                team re emergence considerations (.1);
                                                telephone conference with N. Binder, K&E
                                                team, Company advisors re case update (.4);
                                                telephone conference with N. Binder, K&E
                                                team, Company advisors re plan structuring
                                                (.4).4).
08/11/21 Drew Maliniak                     3.40 Review and revise disclosure statement re
                                                emergence (1.9); review revise plan support
                                                agreement re same (1.5).
08/11/21 Brian Nakhaimousa                 5.10 Revise disclosure statement (1.7); revise
                                                disclosure statement objections issues list
                                                (1.3); revise disclosure statement exhibits
                                                (1.6); revise disclosure statement reply (.2);
                                                telephone conference with K&E team,
                                                creditor group advisors re plan issues (.3).
08/11/21 David L. Perechocky               2.40 Telephone conference re emergence
                                                workstream (.5); review term sheets (1.9).
08/11/21 Whitney Rosser                    1.50 Correspond with K&E team re deal status
                                                (.9); review governance term sheet (.4);
                                                correspond with Company re emergence (.2).




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08/11/21 Samuel J. Seneczko               12.70 Telephone conference with S. Briefel re PSA
                                                revisions (.3); revise PSA (.5); correspond
                                                with D. Hunter, S. Briefel re same (.4);
                                                correspond with JD, PW re same (.2);
                                                telephone conference with K&E, JD, PW
                                                teams re PSA, plan (.4); telephone conference
                                                with D. Hunter, S. Briefel, N. Binder re PSA,
                                                plan (.4); revise PSA re same (3.8); telephone
                                                conference with S. Briefel re same (.3);
                                                telephone conference with K&E team,
                                                Company advisors re PSA, plan (.4);
                                                telephone conference with D. Hunter, S.
                                                Briefel, N. Binder re PSA, plan (.5); further
                                                revise PSA re same (3.0); correspond with S.
                                                Briefel re same (.3); analyze plan re same
                                                (.5); analyze JD PSA revisions (1.1);
                                                telephone conference with D. Hunter, S.
                                                Briefel, N. Binder re same (.6).
08/11/21 Steven N. Serajeddini, P.C.       6.30 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (4.0); review and analyze definitive
                                                documents and related analysis re same (2.3).
08/11/21 Anthony Vincenzo Sexton           0.30 Telephone conference with A. Yenamandra
                                                and various other firms re plan and PSA
                                                documents.
08/11/21 Michael B. Slade                  4.20 Revise plan related materials (1.1); telephone
                                                conference with PJT N. Binder, K&E team re
                                                plan (1.0); telephone conference with N.
                                                Binder, K&E team, director advisors re plan
                                                (.4); review and revise exclusivity brief (1.3);
                                                telephone conference re plan settlement and
                                                review materials re same (.4).
08/11/21 Benjamin P. Stone                 8.30 Draft issue list re U.S. Trustee disclosure
                                                statement objections (3.9); review, revise
                                                same re other objectors (2.4); review, revise
                                                disclosure statement order (1.1); review,
                                                analyze case table re reply in support of
                                                disclosure statement (.9).
08/11/21 William Thompson                  3.70 Telephone conference with K&E team, JD,
                                                PW re definitive documents revisions (.3);
                                                revise exclusivity motion (.6); research re
                                                confirmation structuring issues (2.6);
                                                telephone conference with K&E team, EHP re
                                                deal, case updates (.2).



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08/11/21 Eric J. Wendorf                  9.20 Telephone conferences with creditor groups
                                               re deal status (.8); correspond with D. Zamir,
                                               W. Thompson re confirmation issues (.4);
                                               telephone conference with same re same (.3)
                                               research same (1.9); draft summary
                                               memorandum re same (1.0); draft secured
                                               creditor settlement term sheet (2.3); revise
                                               same (1.8); telephone conference with S.
                                               Briefel re same (.2); correspond with same re
                                               same (.3); correspond with A. Yenamandra,
                                               D. Hunter re same (.2).
08/11/21 Aparna Yenamandra                5.50 Telephone conference with Company
                                               advisors re plan issues (.6); telephone
                                               conferences with PE, PJT re various plan,
                                               PSA issues (2.1); review issues lists re same
                                               (.9); correspond with PJT re plan issues (.8);
                                               multiple telephone conferences with S.
                                               Serajeddini re deal issues updates (1.1).
08/11/21 Aparna Yenamandra                0.70 Telephone conference with D. Hunter, K&E
                                               team, director advisors re plan, related
                                               documents.
08/11/21 Donna Zamir                      3.70 Telephone conference with D. Hunter, K&E
                                               team, Company advisors re case status and
                                               updates (.3); research re confirmation
                                               considerations (2.7); correspond with N.
                                               Binder, E. Wendorf, W. Thompson re same
                                               (.4); telephone conference with E. Wendorf,
                                               W. Thompson re same (.3).
08/12/21 Maggie Alden                     4.80 Telephone conference with B. Nakhaimousa
                                               re disclosure statement (.1); telephone
                                               conference with Company, EHP, K&E team
                                               re emergence, governance considerations (.8);
                                               telephone conference with D. Gremling re
                                               disclosure statement; revise same (1.6); draft,
                                               revise order re same (1.3); revise reply re
                                               same (.7); further revise order re same (.3).




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Date     Name                            Hours Description
08/12/21 Nicholas A. Binder               12.00 Analyze considerations re definitive
                                                documents (2.5); draft issues list re same
                                                (2.1); telephone conference re creditor
                                                advisors re same (.3); revise same (2.8);
                                                telephone conference with EHP, K&E team re
                                                emergence considerations (.8); prepare for
                                                same (.2); telephone conference with K&E
                                                team, parties in interest re plan, related
                                                documents (1.3); telephone conference with
                                                K&E, PJT teams re plan (.5); telephone
                                                conference with A. Yenamandra, K&E team,
                                                Company advisors re plan process (.3);
                                                analyze confirmation considerations (1.2).
08/12/21 Simon Briefel                     5.40 Telephone conference with JD, PW, K&E
                                                team re deal, deal documents (1.0); telephone
                                                conference with Company advisors re same
                                                (.3); telephone conference with D. Hunter,
                                                K&E team, EHP re corporate governance
                                                term sheet (.5); review, revise, comment on
                                                PSA, term sheets (2.7); correspond with K&E
                                                team re same (.9).
08/12/21 Dave Gremling                     8.20 Revise disclosure statement (3.3); analyze
                                                issues re same (2.2); correspond with K&E
                                                team re same (1.1); analyze issues re plan
                                                (1.6).
08/12/21 Derek I. Hunter                  14.10 Conferences with K&E team, Company
                                                advisors re definitive documents and plan and
                                                PSA negotiations (1.5); conferences with
                                                creditor advisors re same (2.5); review,
                                                analyze, and revise numerous definitive
                                                documents, plan, and PSA (3.4); correspond
                                                with N. Binder, K&E team re same (1.4);
                                                correspond with K&E specialists re DS
                                                comments (.5); review, analyze DS order and
                                                solicitation procedure revisions (2.1);
                                                correspond with K&E team re same (.6);
                                                review, analyze research and precedent re
                                                plan negotiations and confirmation issues
                                                (2.1).




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Date     Name                            Hours Description
08/12/21 Jason T. Jarvis                   4.00 Correspond with N. Binder, K&E team re
                                                emergence considerations (.1); draft
                                                memorandum re same (2.0); telephone
                                                conference with A. Sexton, K&E team, EHP
                                                re same (.6); draft memorandum re plan,
                                                emergence considerations (.4); telephone
                                                conference with D. Hunter, K&E team re
                                                work in process (.6); telephone conference
                                                with A. Yenamandra, K&E team, JD, PW re
                                                same (.3).
08/12/21 Jennifer Karinen                  1.70 Attend telephone conference with N. Binder,
                                                K&E team, PJT re plan (.8); review and
                                                revise warrant term sheet (.4); telephone
                                                conference with D. Hunter, K&E team,
                                                director advisors re plan, related documents
                                                (.5).
08/12/21 Tyler R. Knutson                 10.10 Research and analyze precedent re disclosure
                                                statement objections (1.3); review prior
                                                correspondence re same (.4); review PSA,
                                                plan term sheet, warrant term sheet comments
                                                and revisions (.7); review full draft of PSA,
                                                plan (2.4); review pleadings re exclusivity
                                                (.4); review prior correspondence re same
                                                (.3); research and analyze prior pleadings,
                                                documentation, precedent re same (.6);
                                                telephone conference with K&E team,
                                                interested parties re outstanding plan, PSA,
                                                deal documentation action items, outstanding
                                                issues (.3); review and analyze disclosure
                                                statement (1.1); research precedent, pleadings,
                                                prior memoranda re confirmation
                                                considerations (1.4); review draft PSA re
                                                same (.7); draft summary re same (.5).
08/12/21 Michael Lemm                     14.50 Review and revise term sheets re plan (3.9);
                                                review comments re same (3.3); review
                                                materials re same (4.0); telephone conference
                                                with D. Perechocky, K&E team, EHP,
                                                Company re same (.8); telephone conference
                                                with D. Hunter, K&E team, creditors re plan
                                                documents (.1); telephone conference with N.
                                                Binder re plan matters (.2); telephone
                                                conference with N. Binder, K&E team, EHP
                                                re plan matters (.7); correspond with D.
                                                Hunter, K&E team, creditors re pleading re
                                                plan considerations (1.5).


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Date     Name                            Hours Description
08/12/21 Drew Maliniak                     0.80 Review and revise warrant term sheet (.5);
                                                draft memorandum re securities re emergence
                                                considerations (.3).
08/12/21 Brian Nakhaimousa                 7.10 Telephone conference with Company
                                                advisors re plan issues (.3); correspond with
                                                D. Gremling, B. Stone re disclosure statement
                                                issues and considerations (.8); revise
                                                disclosure statement exhibits (2.1); revise
                                                disclosure statement objection tracker issues
                                                list (1.7); revise disclosure statement (2.2).
08/12/21 David L. Perechocky               3.80 Telephone conference with Company
                                                advisors re plan issues (.5); telephone
                                                conference with K&E team re corporate
                                                governance issues (1.0); revise term sheets re
                                                same (2.3).
08/12/21 Whitney Rosser                    1.00 Conference with K&E team re emergence
                                                considerations (.5); conference with
                                                Company, D. Maliniak re same (.2); review
                                                materials re same (.3).
08/12/21 Samuel J. Seneczko               13.20 Correspond with D. Maliniak, K&E corporate
                                                team re PSA, plan language (.2); analyze
                                                comments re same (.4); draft issues list re
                                                PSA (1.3); correspond with S. Briefel re same
                                                (.2); correspond with D. Hunter, S. Briefel, N.
                                                Binder re PSA issues, next steps (.1);
                                                correspond with A. Yenamandra re same (.1);
                                                telephone conference with K&E team, lender
                                                advisors re plan, PSA (.5); analyze lender
                                                PSA markup (1.8); correspond with PJT team
                                                re same (.1); telephone conference with K&E
                                                team, PJT team re capital structure (.4); revise
                                                PSA re same (3.3); correspond with D.
                                                Hunter, N. Binder, S. Briefel re same (.8);
                                                correspond with T. Knutson, N. Binder, D.
                                                Gremling, B. Simon re PSA issues (.3);
                                                telephone conference with N. Binder re same
                                                (.5); telephone conference with Company
                                                advisors re plan, case update (.5); further
                                                revise PSA re same (2.7).
08/12/21 Steven N. Serajeddini, P.C.       7.60 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (4.0); review and analyze same (3.6).
08/12/21 Anthony Vincenzo Sexton           0.30 Telephone conference with A. Yenamandra
                                                and various other firms re plan and PSA
                                                documents.

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Date     Name                            Hours Description
08/12/21 Michael B. Slade                 1.60 Telephone conference with D. Hunter, K&E
                                               team, EHP re emergence considerations (.5);
                                               review and comment on plan documents
                                               (1.1).
08/12/21 Benjamin P. Stone                8.10 Review, revise proposed case timeline re
                                               disclosure statement adjournment (2.2);
                                               correspond with D. Gremling re same (.2);
                                               review, revise disclosure statement objection
                                               issue list (3.9); review, revise disclosure
                                               statement order (1.4); correspond with B.
                                               Nakhaimousa re same (.4).
08/12/21 William Thompson                 4.50 Research re confirmation issues (3.6);
                                               telephone conference with K&E, JD, PW re
                                               case updates (.2); telephone conference with
                                               K&E, EHP re same (.7).
08/12/21 Eric J. Wendorf                  6.60 Telephone conference with creditors re deal
                                               status (.3); research confirmation issues (1.4);
                                               telephone conference with N. Binder re same
                                               (.2); draft summary memorandum re same
                                               (1.3); telephone conference with W.
                                               Thompson, D. Zamir re same (.3); revise
                                               secured creditor settlement term sheet (2.4);
                                               correspond with S. Briefel re same (.3);
                                               correspond with D. Hunter re same (.2);
                                               correspond with N. Binder re same (.2).
08/12/21 Aparna Yenamandra                7.50 Telephone conference with K&E team re
                                               plan, PSA issues (1.2); telephone conference
                                               with mediator (.8); telephone conferences
                                               with Company advisors re plan, PSA issues ll
                                               (.8); review and revise PSA and plan (2.1);
                                               correspond, conference with D. Hunter re
                                               same (.9); correspond re exclusivity motion
                                               (.6); telephone conferences with S.
                                               Serajeddini re updates (1.1).
08/12/21 Donna Zamir                      5.90 Telephone conference with D. Hunter, K&E
                                               team, Company advisors re case status and
                                               updates (.3); research re confirmation issues
                                               (3.7); draft summary re same (1.1);
                                               correspond with N. Binder, E. Wendorf, W.
                                               Thompson re same (.8).




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Date     Name                            Hours Description
08/13/21 Maggie Alden                      7.70 Telephone conference with PJT, A&M, K&E
                                                teams re case strategy, updates (.4); telephone
                                                conference with M. Lemm re emergence (.4);
                                                telephone conference with M. Lemm, K&E
                                                team, various re same (.4); telephone
                                                conference with D. Gremling re disclosure
                                                statement, order (.2); review same (1.5);
                                                correspond with D. Gremling, B.
                                                Nakhaimousa, B. Stone re same (.1);
                                                correspond with M. Lemm re warrants term
                                                sheet (.1); revise disclosure statement (2.5);
                                                correspond with D. Gremling, K&E team re
                                                same (.4); further revise disclosure statement
                                                (1.3); correspond with D. Gremling re same
                                                (.2); correspond with M. Lemm re term sheets
                                                (.2).
08/13/21 Nicholas A. Binder               15.30 Analyze considerations re definitive
                                                documents (4.0); correspond with K&E team
                                                re same (.9); telephone conference with
                                                creditor advisors re same (1.6); revise same
                                                (4.0); draft issues lists re same (2.2);
                                                telephone conference with K&E team re same
                                                (2.3); telephone conference with A.
                                                Yenamandra, K&E team, Company advisors
                                                re plan issues (.3).
08/13/21 Simon Briefel                     5.60 Review, revise exclusivity motion (.3);
                                                prepare same for filing (.1); review, revise,
                                                comment on PSA, term sheets (3.3);
                                                correspond with D. Hunter, K&E team re
                                                same (1.0); analyze issues re same (.9).
08/13/21 Annie Laurette Dreisbach          3.60 Telephone conference with D. Hunter and
                                                K&E team and PJT and A&M teams re deal
                                                documents (.4); review and analyze plan,
                                                PSA, disclosure statement and other relevant
                                                deal documents (2.2); telephone conference
                                                with D. Hunter and K&E team and working
                                                group re plan and PSA (1.0).
08/13/21 Dave Gremling                     9.90 Revise disclosure statement (3.9); review,
                                                analyze same (1.5); analyze issues re same
                                                (2.6); conference with Company’s advisors re
                                                deal status (.2); conference with K&E team re
                                                emergence issues (.2); review, analyze
                                                disclosure statement order (1.5).




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Date     Name                            Hours Description
08/13/21 Derek I. Hunter                  12.30 Conferences with K&E team, Company
                                                advisors re definitive documents and plan and
                                                PSA negotiations (3.9); conferences with
                                                creditor advisors re same (3.8); review,
                                                analyze, and revise numerous definitive
                                                documents, plan, and PSA (3.9); review,
                                                analyze research and precedent re same (.7).
08/13/21 Jason T. Jarvis                   8.80 Telephone conference with D. Hunter, K&E
                                                team re emergence considerations (.1); draft
                                                memorandum re plan language (1.6); research
                                                re same (2.5); draft memorandum re plan,
                                                emergence considerations (3.0); telephone
                                                conference with D. Hunter, K&E team, PW,
                                                JD, PJT re same (1.6).
08/13/21 Jennifer Karinen                  0.50 Review and revise warrant term sheet.
08/13/21 Tyler R. Knutson                  7.30 Review and analyze disclosure statement
                                                motion (.9); review and analyze memoranda
                                                re same (.8); review and analyze plan (.7);
                                                review and analyze supporting documents re
                                                same (.5); review and analyze PSA (.4);
                                                attend conference with D. Hunter, K&E team,
                                                parties in interest re PSA, plan (1.4); research
                                                re confirmation considerations (1.2); draft
                                                memorandum re same (.7); revise
                                                memorandum re same (.7).
08/13/21 Michael Lemm                      9.90 Review and revise term sheets re plan (3.7);
                                                review comments re same (2.3); revise same
                                                (2.3); telephone conference with K.
                                                Coverdale, Company re same (.1); telephone
                                                conference with D. Hunter, K&E team,
                                                creditors re plan documents (1.5).
08/13/21 Drew Maliniak                     1.50 Telephone conference with D. Hunter, T.
                                                Lundquist re emergence process (.4);
                                                correspond with W. Rosser re Form 15 (.4);
                                                correspond with D. Hunter, K&E team re
                                                term sheets (.6); participate in telephone
                                                conference re emergence work in process (.1).
08/13/21 Joe Morley                        2.00 Make proposed edits to disclosure statement.
08/13/21 Brian Nakhaimousa                 6.40 Telephone conference with creditor advisors
                                                re plan considerations (1.7); revise disclosure
                                                statement exhibits (.7); revise disclosure
                                                statement order (.3); correspond with D.
                                                Gremling, M. Alden, creditors re same (.3);
                                                revise disclosure statement (3.4).


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Date     Name                            Hours Description
08/13/21 David L. Perechocky               2.20 Telephone conference with Company
                                                advisors, creditors re PSA (.5); review term
                                                sheets re same (1.7).
08/13/21 Whitney Rosser                    1.00 Conference with K&E team re deal status
                                                (.3); correspond with K&E team, JD re exit
                                                financing, scheduling (.3); correspond with
                                                K&E team re deal status (.4).
08/13/21 Samuel J. Seneczko                8.70 Correspond with K&E team re PSA issues
                                                (.3); correspond with E. Wendorf, S. Briefel,
                                                N. Binder re same (.4); revise PSA re same
                                                (1.9); correspond with D. Hunter, N. Binder
                                                re same (.2); correspond with Akin team, WH
                                                team re PSA, plan (.1); telephone conference
                                                with K&E team, Company advisors re PSA,
                                                plan (.5); telephone conference with K&E
                                                team, lender counsel re PSA, plan (1.6);
                                                review, revise PSA (1.6); analyze PSA re
                                                lender comments (1.4); correspond with D.
                                                Hunter, S. Briefel, N. Binder (.7).
08/13/21 Steven N. Serajeddini, P.C.       6.50 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (4.0); review and analyze same (2.5).
08/13/21 Anthony Vincenzo Sexton           2.00 Telephone conference with PSA party
                                                professionals re deal documents (1.6); review
                                                and revise disclosure statement and other
                                                structuring materials (.4).
08/13/21 Michael B. Slade                  2.30 Telephone conference with A. Yenamandra,
                                                PJT and A&M teams re emergence (.5);
                                                telephone conferences with S. Serajeddini and
                                                A. Yenamandra re plan settlements (.4);
                                                telephone conference with A. Yenamandra,
                                                JD, PW, K&E team re plan documents (.4);
                                                review same (1.0).
08/13/21 Benjamin P. Stone                10.90 Correspond with N. Binder re PSA holdings
                                                (.2); analyze same (.4); review, revise
                                                disclosure statement objection issue list (2.2);
                                                review, revise proposed responses re same
                                                (2.9); review, revise disclosure statement
                                                (3.6); conference with creditor groups re PSA,
                                                plan (1.6).
08/13/21 William Thompson                  1.80 Telephone conference with K&E team, JD re
                                                PSA (1.6); telephone conference with M.
                                                Lemm, E. Wendorf re exclusivity motion (.2).



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Date     Name                            Hours Description
08/13/21 Eric J. Wendorf                  5.80 Revise secured creditor settlement term sheet
                                               (.3); correspond with A. Yenamandra re same
                                               (.2); telephone conference with creditors re
                                               deal status (1.6); review confirmation order
                                               precedent re plan drafting (2.6); correspond
                                               with N. Binder re same (.4); correspond with
                                               J. Jarvis re same (.2); draft summary re same
                                               (.2); correspond with D. Hunter re same (.1);
                                               telephone conference with M. Lemm re
                                               structuring issues (.2).
08/13/21 Aparna Yenamandra                8.50 Telephone conferences with K&E team re
                                               plan, PSA issues (2.1); telephone conferences
                                               with K&E team re revisions re same (.8);
                                               telephone conference with PJT and A&M re
                                               same (.4); telephone conference re MIP term
                                               sheet (.4); attend standing Company advisors
                                               update call (.5); review and revise plan, PSA
                                               (1.9); telephone conferences re secured
                                               creditor settlement (1.2); telephone
                                               conference with PJT re disclosure statement
                                               issues (.4); correspond re governance
                                               considerations (.8).
08/13/21 Donna Zamir                      2.00 Telephone conference with D. Hunter, K&E
                                               team, Company advisors re case status and
                                               updates (.7); review materials re confirmation
                                               considerations (.9); correspond with B.
                                               Nakhaimousa re disclosure statement related
                                               issues (.4).
08/14/21 Maggie Alden                     2.40 Telephone conference with S. Briefel re
                                               emergence matters (.1); telephone conference
                                               with JD, PW, K&E team re plan, PSA (.4);
                                               revise deal document checklist (.3);
                                               correspond with parties in interest re same
                                               (.6); correspond with D. Hunter, D. Gremling
                                               re disclosure statement (.1); correspond with
                                               Company advisors re term sheets (.5); revise
                                               corporate governance term sheet (.4).




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Date     Name                            Hours Description
08/14/21 Nicholas A. Binder               9.40 Review, revise definitive documents (3.6);
                                               analyze precedent re same (1.0); correspond
                                               with K&E team re same (.4); telephone
                                               conference with creditor advisors, K&E team
                                               re plan, settlement (.8); telephone conference
                                               with K&E team, Company advisors re plan
                                               process, negotiations (.5); analyze plan,
                                               definitive documents (2.6); telephone
                                               conference with K&E team re plan
                                               considerations (.5).
08/14/21 Simon Briefel                    2.60 Review, comment on PSA, ancillary
                                               documents (.9); correspond with M. Lemm,
                                               K&E team re same (.3); telephone conference
                                               with secured creditors re deal (.5); telephone
                                               conference with creditor groups, K&E team re
                                               same (.6); telephone conference with directors
                                               advisors re deal update (.3).
08/14/21 Annie Laurette Dreisbach         0.30 Telephone conference with D. Hunter and
                                               K&E team and working group re plan and
                                               PSA.
08/14/21 Dave Gremling                    5.60 Conference with K&E team, creditors re plan
                                               and PSA issues (.9); revise disclosure
                                               statement (2.9); analyze issues re same (1.8).
08/14/21 Derek I. Hunter                  5.80 Conferences with K&E team, Debtor advisors
                                               re definitive documents and plan and PSA
                                               negotiations (1.5); conferences with creditor
                                               advisors re same (.5); review, analyze, and
                                               revise numerous definitive documents, plan,
                                               and PSA (2.7); review, analyze research and
                                               precedent re same (.5); correspond with K&E
                                               team re solicitation, DS revisions (.6).
08/14/21 Jason T. Jarvis                  0.40 Telephone conference with D. Hunter, K&E
                                               team, PW, JD, PJT re same.
08/14/21 Jennifer Karinen                 0.90 Review and revise disclosure statement (.5);
                                               telephone conference re same (.4).
08/14/21 Tyler R. Knutson                 0.60 Telephone conferences with K&E team,
                                               interested parties re outstanding PSA, plan
                                               issues (.4); review plan re same (.2).
08/14/21 Joe Morley                       0.30 Participate in telephone conference with
                                               creditor advisors re plan support agreement
                                               and related documents.
08/14/21 Brian Nakhaimousa                3.80 Revise disclosure statement.
08/14/21 David L. Perechocky              0.20 Review correspondence re plan, PSA term
                                               sheets.

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08/14/21 Whitney Rosser                   0.30 Conference with JD, J. Karinen re deal status.
08/14/21 Samuel J. Seneczko               4.70 Correspond with D. Hunter, S. Briefel, N.
                                               Binder re PSA and lender draft (.2);
                                               correspond with A. Yenamandra, K&E team
                                               re same (.4); telephone conference with K&E
                                               team, JD team, PW team re PSA, plan (.5);
                                               correspond with N. Binder re same (.8);
                                               telephone conference with Akin team, WH
                                               team, K&E team re PSA, plan (.8); telephone
                                               conference with Company advisors re plan,
                                               PSA (.5); review, revise PSA (1.5).
08/14/21 Steven N. Serajeddini, P.C.      1.70 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.2); review and analyze same (.5).
08/14/21 Michael B. Slade                 2.90 Telephone conference with A. Yenamandra,
                                               S. Serajeddini, Akin and Wilmer re plan
                                               issues (.8); review materials re dispute re plan
                                               settlement (2.1).
08/14/21 Benjamin P. Stone                6.20 Review, revise disclosure statement (2.4);
                                               correspond with D. Gremling re same (.2);
                                               conference with creditors, K&E team re plan
                                               issues (.4); further review, revise disclosure
                                               statement (2.9); correspond with A.
                                               Yenamandra, D. Hunter re same (.3).
08/14/21 William Thompson                 0.40 Telephone conference with K&E team, JD,
                                               PW re definitive documents.
08/14/21 Eric J. Wendorf                  0.40 Telephone conference with creditor groups re
                                               deal status.
08/14/21 Aparna Yenamandra                5.00 Telephone conference with creditors re plan,
                                               PSA issues (1.2); telephone conference with
                                               Company advisors re same (.5); review plan,
                                               PSA (.9); telephone conference with Akin,
                                               WH re next steps (.6); telephone conferences
                                               with S. Serajeddini re next steps (.9); review
                                               disclosure statement (.9).
08/15/21 Maggie Alden                     4.50 Revise disclosure statement reply (2.5); revise
                                               deal document tracker (.2); review warrant
                                               term sheet (.4); correspond with K&E team re
                                               same (.2); review, revise CVR term sheet (.8);
                                               correspond with M. Lemm re emergence (.1);
                                               correspond with D. Hunter, S. Briefel re term
                                               sheets (.3).




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Date     Name                            Hours Description
08/15/21 Nicholas A. Binder               6.10 Telephone conference with creditor advisors
                                               re plan, definitive documents (1.2); analyze
                                               same (1.6); revise same (2.7); correspond
                                               with K&E team re same (.4); telephone
                                               conference with K&E team, Company
                                               advisors re same (.2).
08/15/21 Simon Briefel                    6.70 Telephone conference with Company
                                               advisors, creditor advisors, and D. Hunter,
                                               K&E team re plan, plan support agreement,
                                               deal documents (.5); telephone conference
                                               with same re corporate governance term sheet
                                               (.4); telephone conference with directors, D.
                                               Hunter, K&E team re deal update (.3);
                                               review, revise on plan support agreement,
                                               term sheets (3.4); correspond with D. Hunter,
                                               K&E team re same (2.1).
08/15/21 Annie Laurette Dreisbach         0.80 Telephone conference with D. Hunter re
                                               Disclosure Statement reply (.3); review and
                                               analyze issues re same (.5).
08/15/21 Dave Gremling                    4.80 Conference with D. Hunter, K&E team,
                                               Company advisors and creditor advisors re
                                               outstanding plan issues (1.2); revise
                                               disclosure statement (3.6).
08/15/21 Derek I. Hunter                  6.80 Conference with A. Yenamandra, K&E team,
                                               Company advisors re plan and PSA
                                               negotiations (1.5); conference with creditor
                                               advisors re same (1.0); review, revise
                                               definitive documents (2.4); review, analyze
                                               research and precedent re same (.3);
                                               correspond with A. Yenamandra, K&E team
                                               re same (.4); conference with A&M team re
                                               disclosure statement exhibit analysis (.5);
                                               review, analyze work product re same (.7).
08/15/21 Jason T. Jarvis                  3.40 Correspond with D. Hunter, K&E team re
                                               plan language (.1); correspond with D.
                                               Hunter, N. Binder re same (.5); research re
                                               same (1.6); telephone conference with D.
                                               Hunter, K&E team, Company advisors, and
                                               creditor advisors PJT re plan, definitive
                                               documents, and PSA negotiations (1.2).
08/15/21 Jennifer Karinen                 1.00 Review and revise plan and warrant term
                                               sheet.
08/15/21 Jennifer Karinen                 0.80 Participate in telephone conference with S.
                                               Briefel, K&E team, director advisors re plan,
                                               PSA.

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Date     Name                            Hours Description
08/15/21 Tyler R. Knutson                 0.30 Review and analyze various drafts of plan,
                                               PSA.
08/15/21 Brian Nakhaimousa                2.80 Conference with D. Hunter, K&E team,
                                               Company advisors, and creditor advisors re
                                               definitive documents, plan and PSA
                                               negotiations (1.3); revise disclosure statement
                                               (.6); draft disclosure statement outstanding
                                               issues tracker (.9).
08/15/21 David L. Perechocky              1.40 Conference with D. Hunter, K&E team,
                                               Company advisors, and creditor advisors re
                                               term sheets (.5); revise same (.9).
08/15/21 Whitney Rosser                   0.20 Correspond with D. Hunter, K&E team re
                                               emergence considerations.
08/15/21 Samuel J. Seneczko               8.40 Telephone conference with D. Hunter, K&E
                                               team, Company advisors, and creditor
                                               advisors re definitive documents, PSA, and
                                               plan issues (1.4); telephone conference with
                                               N. Binder re same (.6); analyze lender PSA
                                               mark-up (.8); revise PSA re same (.8);
                                               correspond with D. Hunter, S. Briefel, N.
                                               Binder re PSA, plan issues (.3); correspond
                                               with N. Binder re same (.7); further revise,
                                               analyze PSA re same (2.9); correspond with
                                               B. Stone, B. Nakhaimousa re PSA signature
                                               pages (.3); telephone conference with B.
                                               Stone, B. Nakhaimousa re same (.4); review
                                               same (.2).
08/15/21 Steven N. Serajeddini, P.C.      1.10 Correspond and telephone conference with A.
                                               Yenamandra, K&E team, advisors, Company
                                               re plan issues (.8); review and analyze same
                                               (.3).
08/15/21 Anthony Vincenzo Sexton          1.10 Telephone conference with A. Yenamandra
                                               and RSA firms re plan and PSA documents
                                               (1.0); telephone conference with A.
                                               Yenamandra and directors/director advisors re
                                               case status (.1).
08/15/21 Michael B. Slade                 1.90 Telephone conference with opposing counsel
                                               re plan issues (.5); telephone conference with
                                               PJT team re plan settlement (.4); review
                                               documents re same (1.0).




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Date     Name                            Hours Description
08/15/21 Benjamin P. Stone                 5.40 Further review, revise disclosure statement
                                                (3.4); conference with D. Hunter, K&E team,
                                                Company advisors, and creditors re plan,
                                                PSA, and definitive document negotiations
                                                (1.2); draft PSA signature pages (.6);
                                                correspond with S. Seneczko re same (.2).
08/15/21 Eric J. Wendorf                   1.40 Telephone conference with, D. Hunter, K&E
                                                team, Company advisors, and creditor
                                                advisors re plan, PSA, and definitive
                                                document negotiations.
08/15/21 Aparna Yenamandra                 3.00 Conference with D. Hunter, K&E team,
                                                Company advisors, and creditor advisors re
                                                plan, PSA, and definitive document
                                                negotiations (.9); conference with director
                                                advisors re same (.5); review plan and PSA
                                                (1.0); telephone conference re plan
                                                considerations with D. Hunter, K&E team
                                                (.6).
08/16/21 Maggie Alden                     12.70 Draft, revise term sheets (3.9); telephone
                                                conferences with various parties re same
                                                (1.5); correspond with Company, K&E
                                                working group re same (1.9); analyze issues
                                                re same (3.9); draft issues list re same (1.0);
                                                further revise same (.5).
08/16/21 Nicholas A. Binder               12.00 Review definitive documents (2.4); draft
                                                issues list re same (.8); telephone conference
                                                with creditor advisors, D. Hunter, K&E team
                                                re same (1.3); revise same (4.0); analyze
                                                considerations re same (.9); telephone
                                                conference with D. Hunter, K&E team re
                                                same (1.2); correspond with D. Hunter, K&E
                                                team re same (.5); telephone conference with
                                                D. Hunter, K&E team, Company advisors re
                                                plan process, strategy (.3); telephone
                                                conference with D. Hunter, K&E team, EHP
                                                re emergence considerations (.3); prepare for
                                                same (.1); telephone conference with E.
                                                Wendorf re confirmation considerations (.2).




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Date     Name                            Hours Description
08/16/21 Simon Briefel                     8.20 Review, revise plan support agreement (2.1);
                                                review, revise term sheets (1.9); telephone
                                                conference with Company advisors re same
                                                (.4); telephone conference with Company
                                                advisors, creditor advisors re deal documents
                                                (1.0); telephone conference with A.
                                                Yenamandra, K&E team, director advisors re
                                                same (.3); correspond with D. Hunter, K&E
                                                team re plan support agreements, term sheets,
                                                deal issues (2.5).
08/16/21 Annie Laurette Dreisbach          3.50 Telephone conference with D. Gremling and
                                                K&E team re disclosure statement reply (.4);
                                                review, analyze objections to disclosure
                                                statement (1.2); review, analyze objection
                                                tracker re same (.5); telephone conference
                                                with D. Hunter, K&E team, and A&M re
                                                liquidation analysis (.5); telephone conference
                                                with A. Yenamandra, K&E team, A&M, and
                                                PJT teams re updates on plan, PSA, and
                                                Disclosure Statement negotiations (.5);
                                                telephone conference with A. Yenamandra
                                                and K&E team and creditor advisors re same
                                                (.4).
08/16/21 Dave Gremling                     9.20 Conference with Company advisors re deal
                                                issues (.2); revise disclosure statement (3.9);
                                                analyze issues re same (1.8); conference with
                                                D. Hunter, K&E team, Company advisors,
                                                and creditor advisors re plan issues (1.1);
                                                analyze plan, PSA re same (2.2).
08/16/21 Derek I. Hunter                  15.50 Conference with A. Yenamandra, K&E team,
                                                Company advisors re definitive documents,
                                                plan, and PSA negotiations (2.5); conference
                                                with creditor advisors re same (1.5); review,
                                                revise definitive documents (3.9); review,
                                                analyze research and precedent re same (1.9);
                                                conference with K&E corporate team re
                                                ancillary PSA term sheets (.5); review, revise
                                                same (2.4); conference with Company re
                                                status of PSA documents, negotiations re
                                                same (1.0); review, revise disclosure
                                                statement (1.3); correspond with D. Gremling,
                                                K&E team re same (.5).




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Date     Name                            Hours Description
08/16/21 Jason T. Jarvis                  4.20 Correspond with N. Binder re confirmation
                                               considerations (.3); draft memorandum re
                                               same (.2); review, analyze memorandum re
                                               same (.3); telephone conference with D.
                                               Hunter, K&E team re emergence
                                               considerations (.2); draft memorandum re
                                               plan, emergence considerations (2.0);
                                               telephone conference with D. Hunter, K&E
                                               team, creditor advisors re same (1.2).
08/16/21 Jennifer Karinen                 1.00 Review, revise plan and plan support
                                               agreement.
08/16/21 Tyler R. Knutson                 5.70 Conference with D. Hunter, K&E team,
                                               creditor advisors re plan issues (1.1); review
                                               and analyze plan re confirmation
                                               considerations (2.8); research and analyze
                                               plan documentation, pleadings,
                                               correspondence re same (1.5); correspond
                                               with D. Gremling, N. Binder re same (.3).
08/16/21 Joshua Korff, P.C.               1.50 Telephone conferences with K&E team re
                                               governance issues (1.0); review governance
                                               term sheet (.5).
08/16/21 Joe Morley                       0.20 Review and analyze disclosure statement.
08/16/21 Brian Nakhaimousa                2.70 Draft disclosure statement outstanding issues
                                               tracker.
08/16/21 Brian Nakhaimousa                7.20 Revise same (1.1); revise disclosure statement
                                               (1.8); conference with A. Dreisbach, D.
                                               Gremling, B. Stone re same (.5); Conference
                                               with M. Slade, D. Hunter re disclosure
                                               statement exhibits (.2); correspond with D.
                                               Gremling re same (.2); conference with D.
                                               Gremling re disclosure statement
                                               considerations (.2); revise disclosure
                                               statement order (.8); further revise disclosure
                                               statement (2.4).
08/16/21 Shawn OHargan, P.C.              2.30 Telephone conference re plan confirmation
                                               (.5); telephone conference re term sheet status
                                               (1.5); telephone conference with D.
                                               Perechocky (.3).
08/16/21 David L. Perechocky              4.50 Conference with D. Hunter, K&E team re
                                               term sheets (2.0); correspond with D. Hunter,
                                               K&E team re same (1.5); review, analyze
                                               issues list (1.0).




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Date     Name                            Hours Description
08/16/21 Samuel J. Seneczko               11.40 Telephone conference with D. Hunter, K&E
                                                team, Company advisors, and creditor
                                                advisors re plan, PSA (1.3); analyze creditor
                                                PSA markup (1.1); telephone conference with
                                                N. Binder re same (.5); revise PSA re same
                                                (2.3); correspond with N. Binder re plan, PSA
                                                revisions (.8); correspond with D. Hunter, S.
                                                Briefel, N. Binder re same (.7); further revise
                                                PSA re same (2.6); analyze plan re same (.8);
                                                telephone conference with creditor advisors re
                                                PSA (.3); correspond with creditor advisors,
                                                D. Hunter, K&E team re PSA (.1): correspond
                                                with B. Nakhaimousa, K&E team re PSA
                                                forms (.4); correspond with A. Yenamandra,
                                                K&E team re PSA revisions (.3); correspond
                                                with creditor advisors, D. Hunter, K&E team
                                                re PSA, plan, term sheet revisions (.2).
08/16/21 Steven N. Serajeddini, P.C.       7.30 Correspond with K&E team, advisors,
                                                Company re plan issues (4.0); telephone
                                                conference with K&E team, advisors,
                                                Company re same (1.9); review and analyze
                                                same (1.4).
08/16/21 Anthony Vincenzo Sexton           1.50 Telephone conference with JD, PW teams, A.
                                                Yenamandra, D. Hunter and other K&E team
                                                members re plan and PSA documents (.8);
                                                telephone conference with A. Yenamandra
                                                and directors/director advisors re case status
                                                (.2); review and revise plan and related
                                                documents (.5).
08/16/21 Michael B. Slade                  4.30 Telephone conference with PJT, A&M, A.
                                                Yenamandra and K&E team re plan issues
                                                (.5); telephone conference with Jones Day and
                                                Paul Weiss teams re plan materials (.5);
                                                telephone conference with Jones Day, Paul
                                                Weiss, Ducera and Houlihan re plan materials
                                                (1.0); review materials re summary judgment
                                                (1.9); correspond with B. Arnault re guaranty
                                                issues (.4).




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Date     Name                            Hours Description
08/16/21 Benjamin P. Stone                12.20 Revise PSA signature page (.3); correspond
                                                with S. Seneczko re same (.2); correspond
                                                with D. Hunter re same (.1); conference with
                                                D. Hunter, K&E team, Company advisors,
                                                and creditor advisors re plan issues (1.1);
                                                review, revise disclosure statement (2.9);
                                                compile regulatory sections re same (1.2);
                                                correspond with D. Gremling re same (.6);
                                                review, revise U.S. Trustee issue list re same
                                                (2.2); draft proposed confirmation schedule
                                                (1.3); draft notice re hearing re same (1.9);
                                                review, revise reply re same (.4).
08/16/21 William Thompson                  1.30 Telephone conference with K&E team,
                                                Company advisors, and creditor advisors re
                                                plan and PSA comments (1.1); telephone
                                                conference with K&E team re case updates
                                                (.2).
08/16/21 Eric J. Wendorf                   3.30 Telephone conference with D. Hunter, K&E
                                                team, Company advisors, creditor advisors re
                                                plan, PSA, and definitive document
                                                negotiations (.4); revise secured creditor term
                                                sheet (2.6); telephone conference with S.
                                                Briefel, K&E team re same (.3).
08/16/21 Aparna Yenamandra                 8.10 Telephone conference with D. Hunter, K&E
                                                team re status update (.6); telephone
                                                conference with Company advisors, D.
                                                Hunter, K&E team re case status and next
                                                steps (.7); telephone conference with D.
                                                Hunter, K&E team, Company advisors,
                                                creditor advisors re plan, PSA, definitive
                                                document negotiations (1.1); telephone
                                                conference with D. Hunter, K&E team,
                                                creditor advisors re stipulation (.9);
                                                correspond with D. Hunter, K&E team re
                                                communications plan (.5); review, revise
                                                definitive document (.8); correspond with D.
                                                Hunter, K&E team re same (1.2); telephone
                                                conference with D. Hunter, K&E team re
                                                same (.9); correspond with D. Hunter, K&E
                                                team re creditor advisor correspondence (.6);
                                                correspond with D. Hunter, K&E team re
                                                disclosure statement (.8).
08/16/21 Donna Zamir                       1.60 Conference with D. Hunter, K&E team,
                                                Company advisors, creditor advisors re case
                                                status (1.0); review materials re same (.6).


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08/17/21 Maggie Alden                     12.70 Telephone conference with Company, D.
                                                Hunter, K&E team re corporate governance
                                                (.7); telephone conference with D. Hunter,
                                                K&E team, creditor advisors re corporate
                                                governance (.3); telephone conference with
                                                same re plan, PSA (.9); telephone conference
                                                with D. Gremling re disclosure statement (.1);
                                                revise corporate governance term sheet (3.9);
                                                analyze, coordinate issues re same (2.4);
                                                correspond with various parties in interest re
                                                same (.5); revise term sheets (3.9).
08/17/21 Nicholas A. Binder               10.40 Telephone conference with D. Hunter, K&E
                                                team, Company advisors, and creditor
                                                advisors re plan, definitive documents (.9);
                                                analyze same (3.4); correspond with D.
                                                Hunter, K&E team, parties in interest re same
                                                (.5); review, revise same (2.9); telephone
                                                conference with creditor advisors re plan
                                                negotiations (.5); telephone conference with
                                                Company Advisors, D. Hunter, K&E team re
                                                same (.3); telephone conference with D.
                                                Hunter, K&E team re same (1.5); telephone
                                                conference with D. Hunter, Company
                                                advisors re same (.4).
08/17/21 Simon Briefel                     8.30 Telephone conference with Company
                                                advisors, creditor advisors re deal, deal
                                                documents (1.7); review, revise plan support
                                                agreement, term sheets (2.6); correspond with
                                                D. Hunter, K&E team re same (1.2); review,
                                                revise scheduling motion (1.2); correspond
                                                with E. Wendorf re same (.5); telephone
                                                conference with A. Yenamandra, K&E team,
                                                director advisors re deal (.3); telephone
                                                conference with advisors re plan issues (.3);
                                                telephone conference with D. Perechocky,
                                                K&E team, creditor advisors re corporate
                                                governance term sheet (.5).
08/17/21 Annie Laurette Dreisbach          4.60 Telephone conference with A. Yenamandra,
                                                K&E team, Company advisors, and creditor
                                                advisors re plan and PSA (.4); review and
                                                analyze disclosure statement objections (.9);
                                                review and revise chart re same (1.7); review
                                                and revise U.S. Trustee issues list re same
                                                (.9); correspond with D. Gremling and K&E
                                                team re next steps re disclosure statement
                                                reply and objection resolution (.7).

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08/17/21 Dave Gremling                    10.60 Revise disclosure statement (3.9) analyze
                                                issues re same (2.5); conferences with D.
                                                Hunter, K&E team, Company advisors, and
                                                creditor advisors re plan issues (1.4); analyze
                                                draft plan, PSA re same (2.8).
08/17/21 Derek I. Hunter                  14.30 Conference with A. Yenamandra, K&E team,
                                                Company advisors re definitive documents,
                                                plan, and PSA negotiations (1.0); conference
                                                with creditor advisors re same (1.5); review,
                                                revise definitive documents (2.6); review,
                                                analyze research and precedent re same (1.4);
                                                conference with K&E corporate team re
                                                ancillary PSA term sheets (1.5); review,
                                                revise same (2.4); conference with Company
                                                re status of PSA documents, negotiations re
                                                same (1.5); review, revise disclosure
                                                statement (1.9); correspond with D. Gremling,
                                                K&E team re same (.5).
08/17/21 Jason T. Jarvis                   1.80 Correspond with D. Hunter, K&E team re
                                                plan, emergence considerations (.1); draft
                                                memorandum re same (.9); telephone
                                                conference with D. Hunter, K&E team,
                                                Company advisors, and creditor advisors re
                                                same (.8).
08/17/21 Tyler R. Knutson                  2.30 Review and revise disclosure statement
                                                exhibits (.4); conference with D. Hunter,
                                                K&E team, Company advisors, and creditor
                                                advisors re plan issues (.4); review,
                                                summarize pleadings re summary judgment
                                                (1.5).
08/17/21 Joshua Korff, P.C.                1.50 Review governance term sheet (.5); telephone
                                                conferences with K&E team re issues re same
                                                (1.0).
08/17/21 Joe Morley                        1.90 Participate in telephone conference with
                                                creditor advisors re bankruptcy documents
                                                (1.0); review and analyze bankruptcy plan
                                                (.5); review and analyze bankruptcy
                                                documents related to bankruptcy plan (.4).
08/17/21 Brian Nakhaimousa                 4.00 Correspond with B. Stone re disclosure
                                                statement exhibits (.2); revise same (2.1)
                                                revise disclosure statement objections tracker
                                                (1.1); conference with W. Thompson re
                                                disclosure statement issues (.2); revise
                                                disclosure statement order (.4).


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Date     Name                            Hours Description
08/17/21 Shawn OHargan, P.C.               2.30 Review talking points (.5); telephone
                                                conference with K&E team re term sheet (.8);
                                                telephone conference with Company re
                                                governance terms (.5); follow-up re same (.5).
08/17/21 Robert Orren                      0.30 Distribute to A. Dreisbach disclosure
                                                statement precedent.
08/17/21 David L. Perechocky               5.90 Conference with D. Hunter, K&E team re
                                                PSA (.5); conference with same re corporate
                                                governance (1.0); conference with D. Hunter,
                                                K&E team re governance (1.5); review term
                                                sheets (2.0); correspond with D. Hunter, K&E
                                                team re same (.9).
08/17/21 Samuel J. Seneczko               12.40 Correspond with A. Yenamandra, K&E team
                                                re PSA revisions (.5); correspond with
                                                creditor advisors, D. Hunter, and K&E team
                                                re same (.1): telephone conference with D.
                                                Hunter, K&E team, Company advisors, and
                                                creditor advisors re plan and PSA status (.9);
                                                telephone conference with N. Binder re same
                                                (.6); analyze plan, PSA (.6); correspond with
                                                director advisors re PSA, plan (.3): review,
                                                revise PSA (2.3); correspond with N. Binder
                                                re plan revisions, next steps (.8); correspond
                                                with T. Knutson, K&E team re guarantee
                                                claims (.3); telephone conference with
                                                director advisors re case update (.4);
                                                telephone conference with Company advisors
                                                re PSA, plan (.4); telephone conference with
                                                Company advisors re plan (.5); analyze
                                                creditor advisor PSA markup (.6); further
                                                revise PSA re same (3.1); analyze PSA, plan
                                                re revisions (.6); correspond with creditor
                                                advisors re revised plan and PSA (.4).
08/17/21 Steven N. Serajeddini, P.C.       7.40 Correspond with A. Yenamandra, K&E team,
                                                advisors, Company re plan issues (3.9);
                                                telephone conference with same re plan issues
                                                (2.2); review and analyze same (1.3).
08/17/21 Anthony Vincenzo Sexton           0.60 Review and revise plan and deal documents.
08/17/21 Michael B. Slade                  3.20 Review and revise guaranty brief (1.2);
                                                review and revise motion re scheduling (1.6);
                                                review corporate documents re same (.4).




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08/17/21 Benjamin P. Stone                7.90 Review, revise disclosure statement (3.9);
                                               further review, revise same (1.4); correspond
                                               with D. Gremling re same (.3); correspond
                                               with B. Nakhaimousa re same (.6); compile
                                               exhibits re same (.8); conference with D.
                                               Hunter, K&E team, Company advisors, and
                                               creditor advisors re plan issues (.9).
08/17/21 William Thompson                 1.80 Telephone conference with D. Hunter, K&E
                                               team re plan and PSA comments (.4);
                                               telephone conference with D. Hunter, K&E
                                               team, Company advisors, and creditor
                                               advisors re same (.9); correspond with B.
                                               Nakhaimousa re board presentation (.5).
08/17/21 Eric J. Wendorf                  7.00 Revise scheduling motion (3.4); further revise
                                               same (1.1); correspond with S. Briefel re
                                               same (.3); correspond with D. Hunter re same
                                               (.2); correspond with A. Yenamandra re same
                                               (.2); telephone conference with N. Binder re
                                               plan (.3); revise secured creditor settlement
                                               term sheet (.6); correspond with S. Briefel re
                                               same (.2); revise disclosure statement section
                                               re secured creditor settlement (.6); correspond
                                               with D. Gremling re same (.1).
08/17/21 Aparna Yenamandra                7.90 Conference with D. Hunter, K&E team re
                                               status update (.6); review and revise plan,
                                               PSA markups (.9); correspond with D.
                                               Hunter, K&E team, creditor advisors re same
                                               (2.8); conference with director advisors re
                                               status update (.4); telephone conference with
                                               D. Hunter, K&E team, creditor advisors re
                                               same (.6); correspond with creditor advisors
                                               re same (.4); telephone conference with
                                               creditor advisors re next steps (.4); telephone
                                               conferences with director advisors re
                                               definitive documents (.8); correspond with D.
                                               Hunter, K&E team re communications
                                               materials (.4); review and revise scheduling
                                               motion (.6).
08/17/21 Donna Zamir                      2.40 Conference with D. Hunter, K&E team,
                                               Company advisors, creditor advisors re case
                                               status and updates (1.2); review materials re
                                               same (.7); draft summary re same (.5).




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Date     Name                            Hours Description
08/18/21 Maggie Alden                     14.10 Telephone conference with Company, S.
                                                Serajeddini, K&E team re corporate
                                                governance term sheet (.4); telephone
                                                conference with Company Advisors, , D.
                                                Hunter, K&E team re status, next steps (.5);
                                                telephone conference with D. Hunter, K&E
                                                team re plan, PSA (.4); telephone conference
                                                with S. Briefel re term sheets (.3); revise
                                                disclosure statement reply (3.2); correspond
                                                with Company, S. Serajeddini, K&E team re
                                                corporate governance term sheet (.7);
                                                correspond with A. Dreisbach re disclosure
                                                statement reply (.2); telephone conference
                                                with J. Karinen re term sheets (.1); revise
                                                same (3.9); analyze issues re same (3.9);
                                                correspond with D. Perechocky, K&E team re
                                                same (.5).
08/18/21 Nicholas A. Binder               12.90 Analyze plan, definitive documents (3.8);
                                                draft issues list re same (.5); revise same
                                                (4.0); analyze considerations re same (1.2)
                                                telephone conference with D. Hunter, K&E
                                                team, Company advisors, parties in interest re
                                                same (1.8); correspond with D. Hunter, K&E
                                                team, parties in interest re same (.5);
                                                telephone conference with J. Morley re plan
                                                (.2); review, revise Form 8K and press release
                                                re same (.7); correspond with D. Hunter,
                                                K&E team re same (.2).
08/18/21 Simon Briefel                     9.90 Telephone conference with Company
                                                advisors, creditor advisors re deal, deal
                                                documents (1.0); review, revise plan support
                                                agreement, term sheets (4.0); correspond with
                                                D. Hunter, K&E team re same (1.9); analyze
                                                issues re same (1.6); review, revise
                                                scheduling motion (.5); correspond with E.
                                                Wendorf re same (.5); telephone conference
                                                with A. Yenamandra, K&E team, director
                                                advisors re deal (.4).




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Date     Name                            Hours Description
08/18/21 Annie Laurette Dreisbach          6.50 Review and revise disclosure statement reply
                                                (3.9); review and analyze disclosure statement
                                                objections re same (.9); review and revise
                                                disclosure statement re same (.5); review and
                                                revise disclosure statement objection tracker
                                                (.4); review and revise notice re disclosure
                                                statement objection deadline (.3); telephone
                                                conference with A. Yenamandra, K&E team,
                                                and advisors re plan and PSA negotiations
                                                (.5).
08/18/21 Dave Gremling                    13.50 Revise disclosure statement (3.9); correspond
                                                with D. Hunter, K&E team, Company
                                                advisors, creditor advisors re same (1.8);
                                                analyze and revise exhibits re same (2.3);
                                                review, revise draft order re same (3.7);
                                                analyze issues re confirmation (1.8).
08/18/21 Derek I. Hunter                  15.10 Conference with A. Yenamandra, K&E team,
                                                Company advisors, creditor advisors re
                                                definitive documents, plan, and PSA
                                                negotiations (1.5); review, revise definitive
                                                documents (3.9); review, analyze research and
                                                precedent re same (1.7); conference with
                                                K&E corporate team re ancillary PSA term
                                                sheets (1.5); review, revise same (2.6);
                                                conference with Company re status of PSA,
                                                negotiations (1.5); review, revise disclosure
                                                statement (1.9); correspond with D. Gremling,
                                                K&E team re same (.5).
08/18/21 Jason T. Jarvis                   1.80 Telephone conference with D. Hunter, K&E
                                                team, creditor advisors re plan, emergence
                                                considerations (.5); draft memorandum re
                                                same (1.2); telephone conference with M.
                                                Alden, K&E team re same (.1).
08/18/21 Jennifer Karinen                  5.50 Correspond with creditor advisors re
                                                registration rights, warrant term sheet (2.4);
                                                review, revise 8-K (1.2); review, analyze
                                                press release (1.9).
08/18/21 Tyler R. Knutson                  4.60 Review and analyze motion re confirmation
                                                considerations (1.3); review and analyze
                                                precedent re same (.8); review and analyze
                                                disclosure statement re certain confirmation
                                                considerations (1.4); review and analyze
                                                documentation, memoranda, pleadings re
                                                same (.5); review and analyze plan term
                                                sheets, documents (.6).

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Date     Name                            Hours Description
08/18/21 Brian Nakhaimousa                 2.10 Conference with creditor advisors re plan
                                                issues (.5): review revise disclosure statement
                                                (1.6).
08/18/21 Brian Nakhaimousa                 6.40 Revise disclosure statement order, exhibits
                                                (2.2); revise disclosure statement reply (2.1);
                                                conference with creditors re plan issues (.5):
                                                review, revise disclosure statement (1.6).
08/18/21 Shawn OHargan, P.C.               1.30 Telephone conference with Intelsat re
                                                governance terms.
08/18/21 David L. Perechocky               3.80 Conference with D. Hunter, K&E team re
                                                corporate governance (1.0); telephone
                                                conference with same re PSA (1.0); revise
                                                term sheets (1.8).
08/18/21 Whitney Rosser                    3.30 Correspond with D. Hunter, K&E team re
                                                cleanse (.9); review, revise cleanse materials
                                                (2.0); telephone conference with D. Hunter,
                                                K&E team re deal status (.4).
08/18/21 Samuel J. Seneczko               11.40 Analyze creditor advisors PSA markup (.5);
                                                draft issues list re same (.8); correspond with
                                                D. Hunter, N. Binder re PSA, plan revisions
                                                (.8); revise PSA re same (2.8); telephone
                                                conference with creditor advisors re plan,
                                                PSA (.2); correspond with N. Binder re same
                                                (.9); telephone conference with D. Hunter,
                                                K&E team, creditor advisors re same (.5);
                                                telephone conference with director advisors re
                                                same (.3); telephone conference with N.
                                                Binder re same (.6); correspond with A.
                                                Yenamandra, K&E team re same (.5); further
                                                revise PSA (3.1); correspond with creditor
                                                advisors re PSA, plan (.4).
08/18/21 Steven N. Serajeddini, P.C.       8.50 Correspond with A. Yenamandra, K&E team,
                                                advisors, Company re plan issues (3.9);
                                                telephone conference with A. Yenamandra,
                                                K&E team, advisors, Company re same (3.0);
                                                review and analyze same (1.6).
08/18/21 Anthony Vincenzo Sexton           1.60 Telephone conference with JD, PW teams, D.
                                                Hunter and other K&E team re deal
                                                documents (.3); review and analyze issues re
                                                same (1.1); telephone conference with A.
                                                Yenamandra and other K&E team and
                                                directors/director advisors re status of case
                                                (.2).



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Date     Name                            Hours Description
08/18/21 Michael B. Slade                  0.50 Telephone conference with creditors’ counsel
                                                re plan documents.
08/18/21 Benjamin P. Stone                10.30 Conference with D. Hunter, K&E team, and
                                                creditor advisors re plan issues (.5);
                                                conference with B. Nakhaimousa, W.
                                                Thompson re disclosure statement objections
                                                (.6); review, revise notice re disclosure
                                                statement hearing (.8); review, revise U.S.
                                                trustee objection tracker re disclosure
                                                statement (2.9); review, revise disclosure
                                                statement objection tracker (3.3); research
                                                risk factors re disclosure statement (.7);
                                                review, revise exhibits re same (.6); review
                                                revise regulatory standalone re same (.9).
08/18/21 William Thompson                  9.30 Correspond with advisors re Disclosure
                                                Statement objections (1.6); draft disclosure
                                                statement section re same (2.6); telephone
                                                conference with B. Nakhaimousa and B.
                                                Stone re disclosure statement materials (.4);
                                                revise issues list re disclosure statement
                                                objections (3.5); review, revise board
                                                presentation re case updates (1.2).
08/18/21 Eric J. Wendorf                   4.50 Telephone conference with creditors re deal
                                                status (.5); review, revise plan document
                                                (3.6); correspond with S. Briefel re same (.2);
                                                correspond with D. Hunter re same (.2).
08/18/21 Aparna Yenamandra                 8.70 Participate in standing advisor telephone
                                                conference (.7); participate in standing
                                                creditor checklist telephone conference (1.1);
                                                correspond re plan, PSA changes (.4); review,
                                                analyze same (.8); telephone conferences with
                                                K&E, JD, PW, company re same (1.3);
                                                correspond with same re same (1.1);
                                                participate in standing DDA update telephone
                                                conference (.5); telephone conference with M.
                                                Bryan re deal status (.3); correspond with
                                                K&E team re board materials and resolutions
                                                (.9); telephone conference with M. Slade re
                                                scheduling motion (.2); revise same (.4);
                                                correspond with K&E team re MIP (.4);
                                                telephone conference with DD counsel re
                                                open points (.6).




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Date     Name                            Hours Description
08/19/21 Maggie Alden                      5.10 Telephone conference with JD, PW, D.
                                                Hunter, K&E teams re plan, PSA (.8); revise
                                                term sheets (3.9); correspond with D.
                                                Perechocky, K&E team re same (.4).
08/19/21 Nicholas A. Binder               14.30 Review, analyze creditor’s issues lists re plan,
                                                definitive documents (1.6); correspond with
                                                D. Hunter, K&E team re same (.4); telephone
                                                conference with D. Hunter, K&E team,
                                                creditor advisors re plan, definitive
                                                documents (1.9); analyze considerations re
                                                plan, definitive documents (4.0); review,
                                                revise same (2.9); correspond with D. Hunter,
                                                K&E team re same (1.2); telephone
                                                conference with D. Hunter, K&E team,
                                                creditor advisors re plan, definitive
                                                documents (1.7); telephone conference with
                                                D. Hunter, K&E team, PJT re same (.6).
08/19/21 Simon Briefel                     3.70 Telephone conferences with D. Hunter, K&E
                                                team, creditor advisors re deal, deal
                                                documents (1.0); correspond with M. Alden,
                                                K&E team re PSA, term sheets, scheduling
                                                motion, motion to expedite (1.6); review,
                                                comment on same (1.1).
08/19/21 Seth A. Brimley                   1.00 Attend telephone conference with creditor
                                                advisors, K&E team re revision and
                                                negotiation of plan terms.
08/19/21 Annie Laurette Dreisbach          5.30 Telephone conferences with A. Yenamandra,
                                                K&E team and lender advisors re plan and
                                                PSA (1.4); review and revise U.S. Trustee
                                                issues list (.9); review and revise disclosure
                                                statement order (.7); correspond with D.
                                                Gremling, K&E team re same (.3); review and
                                                revise proposed emails to objecting parties re
                                                proposed objection resolution (.2); correspond
                                                with D. Gremling and K&E team re
                                                confirmation hearing scheduling (.3); review
                                                and revise disclosure statement (1.5).
08/19/21 Dave Gremling                     9.70 Revise disclosure statement (3.4); analyze
                                                issues re same (2.2); correspond with D.
                                                Hunter, K&E team re same (1.8); analyze
                                                issues re confirmation (1.8); correspond with
                                                D. Hunter, K&E team re same (.5).




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Date     Name                            Hours Description
08/19/21 Derek I. Hunter                  15.70 Conferences with K&E team, Debtor advisors
                                                re definitive documents and plan and PSA
                                                negotiations (1.5); conferences with creditor
                                                advisors re same (.5); review, analyze, and
                                                revise numerous definitive documents, plan,
                                                and PSA (3.6); review, analyze research and
                                                precedent re same (1.7); conferences with
                                                K&E corporate teams re various ancillary
                                                PSA term sheets (.5); review, analyze, and
                                                revise same (2.1); conference with company
                                                re status of PSA documents, negotiations re
                                                same (1.5); review, analyze, and revise
                                                disclosure statement documents (2.9);
                                                correspond with D. Gremling, K&E team re
                                                same (1.4).
08/19/21 Jason T. Jarvis                   4.60 Research re plan support agreements (2.5);
                                                telephone conferences with A. Yenamandra,
                                                K&E team, Paul Weiss, Jones Day, Houlihan,
                                                Ducera, PJT re same (2.1).
08/19/21 Jennifer Karinen                  4.90 Review warrant term sheet (2.4); coordinate
                                                8-K filing (1.1); participate in telephone
                                                conference with K&E, JD, and PW teams
                                                (.8); telephone conference with W. Rosser
                                                (.6).
08/19/21 Tyler R. Knutson                  3.20 Conference with D. Hunter, K&E team,
                                                creditor constituencies re confirmation
                                                considerations (1.7); review revised markups
                                                re same (.6); review and analyze amended
                                                disclosure statement re certain confirmation
                                                considerations (.9).
08/19/21 Joe Morley                        6.60 Review and analyze bankruptcy filing drafts
                                                (1.0); make proposed edits to disclosure
                                                statement (3.5); conference re bankruptcy
                                                plan with N. Binder and S. Seneczko (.4);
                                                conference re disclosure statement with D.
                                                Gremling (.2); participate in telephone
                                                conference with creditor advisors re
                                                bankruptcy document filings (1.5).
08/19/21 Brian Nakhaimousa                 4.10 Revise disclosure statement reply (2.4); revise
                                                disclosure statement objection tracker (.2);
                                                revise disclosure statement order (.3); revise
                                                disclosure statement exhibits (1.2).
08/19/21 Robert Orren                      0.10 Correspond with N. Binder re confirmation
                                                precedent.


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Date     Name                            Hours Description
08/19/21 David L. Perechocky               0.60 Telephone conference with K&E, JD, and PW
                                                teams re PSA.
08/19/21 Whitney Rosser                    3.90 Review, revise cleanse materials (2.4);
                                                correspond with K&E team re same (1.1);
                                                telephone conference with K&E team re deal
                                                status (.4).
08/19/21 Samuel J. Seneczko               14.60 Analyze JD PSA mark-up (.6); draft issues
                                                list re same (.7); correspond with A.
                                                Yenamandra, D. Hunter, K&E team re PSA,
                                                plan revisions (.7); revise PSA re same (2.5);
                                                telephone conference with K&E, JD, PW
                                                teams re PSA and plan revisions (1.8);
                                                analyze PW revisions (.5); review AG, WH
                                                comments to plan, PSA (.5); telephone
                                                conference with J. Morley, N. Binder re plan
                                                (.3); further revise PSA re markups (2.4);
                                                correspond with N. Binder re same (.8);
                                                telephone conference with K&E, JD, PW,
                                                AG, WH teams re plan, PSA (1.9); telephone
                                                conference with directors advisors re plan,
                                                PSA (.5); correspond with D. Gremling, D.
                                                Hunter, N. Binder re solicitation (.3); review
                                                materials re same (.7); correspond with JD,
                                                PW, AG, WH teams re revised PSA, plan (.4).
08/19/21 Steven N. Serajeddini, P.C.       8.20 Telephone conference with K&E team,
                                                advisors, Company re plan issues (3.6);
                                                correspond with same re same (3.1); review
                                                and analyze same (1.5).
08/19/21 Anthony Vincenzo Sexton           2.30 Telephone conference with PW, JD teams, A.
                                                Yenamandra and K&E team re deal
                                                documents (1.6); review and revise deal
                                                documents and disclosure statement (.5);
                                                telephone conference with directors/director
                                                advisors and A. Yenamandra re deal status
                                                (.2).
08/19/21 Michael B. Slade                  0.80 Review, analyze latest markups of plan
                                                documents.




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Date     Name                            Hours Description
08/19/21 Benjamin P. Stone                10.40 Revise regulatory standalone re disclosure
                                                statement (.6); correspond with D. Gremling
                                                re same (.3); correspond with outside counsel
                                                re same (.3); conference with D. Hunter, K&E
                                                team, creditors re plan issues (1.8); review,
                                                revise disclosure statement order (2.7);
                                                correspond with local counsel re same (.3);
                                                correspond with Stretto re solicitation
                                                procedures (.3); review, revise confirmation
                                                schedule (1.3); correspond with local counsel
                                                re same (.3); review, revise disclosure
                                                statement (2.3); correspond with director
                                                advisors re same (.2).
08/19/21 William Thompson                  3.20 Telephone conference with D. Hunter, K&E
                                                team, JD, PW re case updates (1.0); review,
                                                revise disclosure statement reply (2.2).
08/19/21 Eric J. Wendorf                   2.80 Telephone conference with creditor groups re
                                                deal status (1.7); correspond with D.
                                                Gremling re secured creditor plan document
                                                (.2); revise same (.6); correspond with D.
                                                Hunter re same (.3).
08/19/21 Aparna Yenamandra                 8.30 Prepare for and participate in daily creditor
                                                checklist telephone conference (2.1);
                                                telephone conference with Wilmer, Akin re
                                                next steps (.9); telephone conference with
                                                PJT, K&E re plan structure (.6); revise plan,
                                                PSA re deal structure (1.4); correspond with
                                                K&E team re MIP (.4); correspond with same
                                                re HL EL (.6); telephone conference with PW,
                                                JD re PSA/plan issues (1.2); correspond with
                                                same re DIP next steps (.5); correspond with
                                                same re guaranty motion (.6).
08/19/21 Donna Zamir                       3.70 Conferences with D. Hunter, K&E team,
                                                Company advisors, creditor advisors re case
                                                update and status (2.4); review materials re
                                                same (1.1); correspond with N. Binder, K&E
                                                team re same (.2).
08/20/21 Maggie Alden                      4.80 Telephone conference with PJT, A&M, D.
                                                Hunter, K&E team re strategy, next steps (.5);
                                                telephone conference with JD, PW, K&E
                                                teams re plan, PSA (.8); telephone conference
                                                with same re corporate governance term sheet
                                                (.4); correspond with D. Gremling re
                                                disclosure statement (.2); revise term sheets
                                                (2.9).

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Date     Name                            Hours Description
08/20/21 Nicholas A. Binder                8.80 Telephone conference with D. Hunter, K&E
                                                team, Company advisors re plan process,
                                                strategy (.5); telephone conference with D.
                                                Hunter, K&E team, creditor advisors re plan,
                                                definitive documents (.9); analyze same (2.6);
                                                review, revise same (3.8); telephone
                                                conference with D. Hunter, K&E team re
                                                same (.5); correspond with same re same (.5).
08/20/21 Simon Briefel                     6.00 Telephone conference with D. Hunter, K&E
                                                team, creditor advisors re deal, deal
                                                documents (.8); telephone conference with
                                                same re governance term sheet (.7);
                                                correspond with D. Hunter re PSA, term
                                                sheets, scheduling motion, motion to expedite
                                                (1.4); review, comment on same (3.1). .
08/20/21 Dave Gremling                    10.20 Conference with creditor advisors re plan
                                                issues (1.3); review, analyze disclosure
                                                statement (2.9); revise same (3.1); analyze
                                                plan issues (1.8); correspond with D. Hunter,
                                                K&E team re same (1.1).
08/20/21 Derek I. Hunter                  11.10 Conferences with K&E team, Debtor advisors
                                                re definitive documents and plan and PSA
                                                negotiations (1.1); conferences with creditor
                                                advisors re same (.5); review, analyze, and
                                                revise numerous definitive documents, plan,
                                                and PSA (1.8); review, analyze research and
                                                precedent re same (1.1); conferences with
                                                K&E corporate teams re various ancillary
                                                PSA term sheets (.5); review, analyze, and
                                                revise same (1.7); conference with company
                                                re status of PSA documents, negotiations re
                                                same (1.5); review, analyze, and revise
                                                disclosure statement documents (1.5);
                                                correspond with K&E team re same (1.4).
08/20/21 Jason T. Jarvis                   1.00 Correspond with D. Hunter, K&E team re
                                                emergence considerations (.1); telephone
                                                conference with A. Yenamandra, K&E team,
                                                Paul Weiss, Jones Day, Wilmer Hale re plan,
                                                emergence considerations (.9).
08/20/21 Jennifer Karinen                  2.00 Participate in K&E, JD, PW teams telephone
                                                conference (.6); review corporate documents
                                                re updates (1.4).




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Date     Name                            Hours Description
08/20/21 Tyler R. Knutson                 5.30 Conference with D. Hunter, K&E team,
                                               creditor constituencies re confirmation
                                               considerations (.8); review and analyze plan
                                               term sheets, creditor plan and PSA edits
                                               annexes, scheduling motion, motion to
                                               expedite, claims recovery analysis (3.4);
                                               review and analyze correspondence,
                                               precedent re same (1.1).
08/20/21 Joe Morley                       1.20 Revise disclosure statement (.5); participate in
                                               telephone conference with creditor advisors re
                                               bankruptcy documents (.7).
08/20/21 Brian Nakhaimousa                0.60 Correspond with W. Thompson, B. Stone re
                                               disclosure statement materials (.2); review,
                                               revise disclosure statement exhibits (.4).
08/20/21 Shawn OHargan, P.C.              1.00 Telephone conference re PW, Jones Day
                                               creditor issues.
08/20/21 David L. Perechocky              1.60 Review, revise governance term sheet (1.0);
                                               telephone conference with K&E, JD, PW
                                               teams re PSA (.6).
08/20/21 Samuel J. Seneczko               8.50 Review, revise PSA re comments (2.3);
                                               telephone conference with JD, PW, K&E
                                               teams (.9); correspond with D. Hunter, N.
                                               Binder re PSA, plan revisions (.6); analyze
                                               plan revisions (.5); analyze lender comments
                                               to PSA (.7); correspond with A. Yenamandra,
                                               K&E team re PSA, plan revisions (.4);
                                               correspond with D. Zamir re same (.2);
                                               telephone conference with N. Binder re plan,
                                               PSA revisions (.6); further revise PSA (2.1);
                                               correspond with AG, JD, PW, WH re plan,
                                               PSA revisions (.1); correspond with director
                                               advisors re same (.1).
08/20/21 Steven N. Serajeddini, P.C.      7.50 Telephone conference with K&E team,
                                               advisors, Company re plan issues (3.8);
                                               correspond with same re same (2.4); review
                                               and analyze same (1.3).
08/20/21 Anthony Vincenzo Sexton          1.60 Telephone conference with PW, JD, A.
                                               Yenamandra and other K&E team re deal
                                               documents (.6); review and revise disclosure
                                               materials (.3); telephone conference with
                                               Deloitte and Company re disclosure materials
                                               (.3); telephone conference with A.
                                               Yenamandra and directors/director advisors re
                                               case status (.2); review and revise plan and
                                               disclosure statement (.2).

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Date     Name                            Hours Description
08/20/21 Michael B. Slade                  2.80 Telephone conference with PJT, M. Alden,
                                                K&E team re plan update (.5); prepare for and
                                                participate in telephone conference with
                                                creditor counsel re same (1.1); review plan
                                                related materials (1.2).
08/20/21 Benjamin P. Stone                11.40 Analyze responses re disclosure statement
                                                objections (2.7); review, revise objection
                                                chart re same (3.9); further review, revise
                                                same (2.8); review, revise exhibits re same
                                                (1.1); conference with D. Hunter, K&E team,
                                                creditors re plan issues (.9).
08/20/21 William Thompson                  1.70 Telephone conference with D. Hunter, K&E
                                                team, JD, PW re plan and PSA updates (.8);
                                                telephone conference with same re term
                                                sheets (.4); correspond with B. Nakhaimousa,
                                                B. Stone. D. Gremling, and A. Dreisbach re
                                                disclosure statement (.5).
08/20/21 Eric J. Wendorf                   3.30 Correspond with N. Binder re plan issue (.4);
                                                telephone conference with creditors re deal
                                                status (.5); review, revise secured creditor
                                                plan document (2.4).
08/20/21 Aparna Yenamandra                 9.50 Participate in standing advisor telephone
                                                conference (.5); participate in daily creditor
                                                checklist telephone conference (1.1);
                                                correspond re plan, PSA drafts (.9); telephone
                                                conferences re status updates (1.1);
                                                correspond re same (1.1); telephone
                                                conference with M. Bryan re status (.5);
                                                participate in standing DDA update (.8);
                                                telephone conference with Akin re next steps
                                                (.5); correspond with K&E team re HL letter
                                                (.5); review scheduling motion (.5);
                                                correspond with K&E team re same (.4);
                                                review and revise plan, PSA markups (.7);
                                                telephone conference with D. Hunter re
                                                disclosure statement (.3); telephone
                                                conference with counsel re same (.6).
08/20/21 Donna Zamir                      12.80 Conferences with D. Hunter, K&E team,
                                                Company advisors, creditor advisors re case
                                                update and status (1.3); review, revise plan
                                                related documents (3.7); research issues re
                                                same (3.4); draft summary re same (3.2);
                                                correspond with N. Binder, K&E team re
                                                same (1.2).



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Date     Name                            Hours Description
08/21/21 Maggie Alden                      6.40 Telephone conference with D. Hunter, K&E
                                                teams re strategy, next steps (.7); telephone
                                                conference with working group re same (1.0);
                                                telephone conference with JD, PW, counsel,
                                                K&E team re deal document negotiations
                                                (1.0); telephone conference with Wiley, D.
                                                Perechocky, D. Hunter re emergence
                                                considerations (.3); review, revise plan
                                                documents (2.9); correspond with D. Hunter,
                                                K&E team re same (.5).
08/21/21 Nicholas A. Binder               14.10 Analyze confirmation issues (1.5); telephone
                                                conference with D. Hunter, K&E team re plan
                                                process, strategy (.8); review plan, definitive
                                                documents (2.8); telephone conference with
                                                D. Hunter, K&E team, creditor advisors re
                                                same (1.1); analyze same (3.9); revise same
                                                (2.2); telephone conference with D. Hunter,
                                                K&E team, creditor advisors re same (1.8).
08/21/21 Simon Briefel                     3.00 Telephone conference with Company
                                                advisors re deal, status (1.0); telephone
                                                conference with K&E team, Paul Weiss,
                                                Jones Day re same, deal documents (.8);
                                                review, revise, comment on PSA, term sheets
                                                (.8); correspond with D. Hunter, K&E team re
                                                same (.4).
08/21/21 Annie Laurette Dreisbach          1.70 Review and revise disclosure statement reply
                                                (1.2); telephone conference with A.
                                                Yenamandra, K&E team, Paul Weiss, and
                                                Jones Day re plan and PSA (.5).
08/21/21 Dave Gremling                     8.30 Revise disclosure statement (3.9); review,
                                                analyze plan, PSA, ancillary agreements re
                                                same (3.9); correspond with D. Hunter, K&E
                                                team re same (.5).




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Date     Name                            Hours Description
08/21/21 Derek I. Hunter                  12.90 Conferences with K&E team, Debtor advisors
                                                re definitive documents and plan and PSA
                                                negotiations (1.2); conferences with creditor
                                                advisors re same (.8); review, analyze, and
                                                revise numerous definitive documents, plan,
                                                and PSA (2.4); review, analyze research and
                                                precedent re same (2.3); conferences with
                                                K&E corporate teams re various ancillary
                                                PSA term sheets (.4); review, analyze, and
                                                revise same (1.7); conference with company
                                                re status of PSA documents, negotiations re
                                                same (1.1); review, analyze, and revise
                                                disclosure statement documents (1.9);
                                                correspond with K&E team re same (1.1).
08/21/21 Jason T. Jarvis                   0.40 Telephone conference with ad hoc groups'
                                                counsel, advisors re plan, emergence
                                                considerations.
08/21/21 Jennifer Karinen                  0.80 Review, revise plan documents re deal
                                                updates.
08/21/21 Tyler R. Knutson                  4.30 Review and analyze debtor and creditor
                                                document markups re disclosure statement,
                                                plan support agreement, and plan documents
                                                (2.7); review and analyze precedent, prior
                                                drafts re same (.9); additional research re
                                                same (.7).
08/21/21 Joe Morley                        3.00 Participate in telephone conference with
                                                creditor advisors re bankruptcy plan
                                                documents (.5); make proposed edits to
                                                disclosure statement (2.5).
08/21/21 Brian Nakhaimousa                 4.00 Telephone conference with creditors re plan
                                                issues (2.1); revise disclosure statement (1.9).
08/21/21 Shawn OHargan, P.C.               2.80 Telephone conference with PW, Jones Day re
                                                PSA and plan.
08/21/21 David L. Perechocky               0.50 Correspond with K&E team re MIP and
                                                governance term sheet.
08/21/21 Whitney Rosser                    0.40 Conference with J. Karinen, creditor counsel
                                                re emergence (.3); review materials re same
                                                (.1).




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Date     Name                            Hours Description
08/21/21 Samuel J. Seneczko               12.20 Telephone conference with D. Hunter, K&E
                                                team re strategy call (.7); analyze plan, PSA
                                                (.5); telephone conference with JD, K&E,
                                                PW, AG teams re PSA, plan mark-ups (1.1);
                                                correspond with A. Yenamandra, K&E team
                                                re same (.5); analyze lender comments re
                                                PSA, plan (1.6); revise PSA re same (3.9);
                                                telephone conference with JD, K&E, PW, AG
                                                team re further PSA, plan revisions (1.3);
                                                correspond with N. Binder, D. Hunter re PSA,
                                                plan revisions (.6); further revise PSA re same
                                                (1.7); correspond with K&E, JD, PW, AG,
                                                WH teams re PSA, plan revisions (.3).
08/21/21 Steven N. Serajeddini, P.C.       4.30 Telephone conference with K&E team,
                                                advisors, Company re plan issues (1.5);
                                                correspond with K&E team, advisors,
                                                Company re same (.5); review and analyze
                                                various PSA and plan documents (2.3).
08/21/21 Anthony Vincenzo Sexton           2.00 Telephone conference with A. Yenamandra,
                                                S. Serajeddini, and other K&E team re deal
                                                status and related issues (.6); telephone
                                                conference with PW, JD, and K&E teams re
                                                deal documents and related issues (.9); review
                                                and revise plan and disclosure statement (.5).
08/21/21 Benjamin P. Stone                 2.50 Conferences with D. Hunter, K&E team,
                                                creditors re plan issues.
08/21/21 Eric J. Wendorf                   2.30 Telephone conferences with creditor groups
                                                re deal status (1.7); correspond with D.
                                                Hunter (.2); revise secured creditor plan
                                                document (.4).
08/21/21 Aparna Yenamandra                 6.90 Participate in weekly telephone conference
                                                with K&E team re update (.6); telephone
                                                conferences with creditors re plan, PSA (3.4);
                                                telephone conferences with S. Serajeddini, D.
                                                Hunter re same (1.2); correspond with K&E
                                                team re HL EL (.4); review plan, PSA (1.3).
08/21/21 Donna Zamir                       4.80 Conferences with D. Hunter, K&E, Company
                                                advisors, creditor advisors re case update and
                                                status (1.2); correspond with D. Hunter, N.
                                                Binder re plan related issues (.4); review
                                                materials re same (2.1); review materials re
                                                disclosure statement related issues (.8);
                                                correspond with D. Gremling, K&E team re
                                                same (.3).


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Date     Name                            Hours Description
08/22/21 Maggie Alden                      6.10 Telephone conference with Wiley, D.
                                                Perechocky, D. Hunter, S. Briefel re
                                                emergence considerations (.7); review, revise
                                                plan documents (3.9); correspond with
                                                Company, JD, PW, Elvinger, K&E team re
                                                same (1.5).
08/22/21 Nicholas A. Binder                3.80 Review plan, definitive documents (1.8); draft
                                                issues list re same (.3); revise same (.8);
                                                correspond with K&E team re same (.2);
                                                telephone conference with D. Hunter re same
                                                (.3); telephone conference with S. Seneczko
                                                re same (.4).
08/22/21 Simon Briefel                     1.90 Telephone conference with A. Yenamandra,
                                                K&E team, directors advisors re deal, status
                                                (.4); review, comment on PSA, term sheets
                                                (1.0); correspond with D. Hunter, K&E team
                                                re same (.5).
08/22/21 Annie Laurette Dreisbach          2.70 Review and revise disclosure statement reply
                                                (1.2); review and revise disclosure statement
                                                objection summary chart (1.5).
08/22/21 Dave Gremling                    10.60 Revise disclosure statement (3.0); review,
                                                analyze plan, PSA, ancillary agreements re
                                                same (2.9); correspond with A. Dreisbach,
                                                K&E team re same (1.5); review, analyze
                                                disclosure statement order and exhibits (3.2).
08/22/21 Derek I. Hunter                  10.20 Conferences with K&E team, Debtor advisors
                                                re definitive documents and plan and PSA
                                                negotiations (1.1); conferences with creditor
                                                advisors re same (.7); review, analyze, and
                                                revise numerous definitive documents, plan,
                                                and PSA (2.1); review, analyze research and
                                                precedent re same (1.2); conferences with
                                                K&E corporate teams re various ancillary
                                                PSA term sheets (.3); review, analyze, and
                                                revise same (1.1); conference with company
                                                re status of PSA documents, negotiations re
                                                same (.9); review, analyze, and revise
                                                disclosure statement documents (1.6);
                                                correspond with K&E team re same (1.2).
08/22/21 Jennifer Karinen                  0.10 Correspond with K&E team re plan cleansing
                                                materials.




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Date     Name                            Hours Description
08/22/21 Tyler R. Knutson                 7.30 Review and analyze debtor and creditor deal
                                               document markups re PSA, plan, term sheets,
                                               pleadings (2.5); telephone conference with
                                               K&E team, creditor constituencies re same
                                               (2.3); review and analyze prior drafts,
                                               pleadings, precedent re same (1.4); further
                                               research re same (1.1).
08/22/21 Michael Lemm                     0.30 Review, analyze plan documents.
08/22/21 Joe Morley                       1.90 Conference re disclosure statement with N.
                                               Binder (.2); revise disclosure statement (1.4);
                                               review and analyze proposed edits to
                                               disclosure statement (.3).
08/22/21 Brian Nakhaimousa                1.10 Review, analyze disclosure statement exhibits
                                               (.2); revise disclosure statement (.7);
                                               correspond with A. Dreisbach, D. Gremling re
                                               disclosure statement reply (.2).
08/22/21 Samuel J. Seneczko               8.10 Correspond with N. Binder re deal
                                               documentation summary (.6); review, revise
                                               same (.5); analyze lender comments re PSA,
                                               plan (1.6); correspond with D. Hunter, K&E
                                               team re same (.8); conference with N. Binder
                                               re same (.8); revise PSA re same (3.5);
                                               correspond with JD, PW, AG, WH teams re
                                               same (.3).
08/22/21 Steven N. Serajeddini, P.C.      3.70 Telephone conference with K&E team,
                                               advisors, Company re plan issues (1.5);
                                               correspond with same re same (.5); review
                                               and analyze and comment on plan and PSA
                                               documents (1.7).
08/22/21   Anthony Vincenzo Sexton        0.20 Review and revise disclosure statement.
08/22/21   Michael B. Slade               0.40 Draft insert re scheduling motion.
08/22/21   Michael B. Slade               2.90 Review and comment on plan documents.
08/22/21   Benjamin P. Stone              5.60 Correspond with M. Slade re confirmation
                                               schedule (.2); review, revise disclosure
                                               statement exhibits (3.6); correspond with D.
                                               Gremling re same (.2); review, revise
                                               disclosure statement (1.2); correspond with D.
                                               Gremling re same (.2); correspond with
                                               creditors re same (.2).
08/22/21 Eric J. Wendorf                  3.70 Review, revise plan documents.




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Date     Name                            Hours Description
08/22/21 Aparna Yenamandra                 5.90 Prepare for and participate in update with
                                                directors and advisors (.6); telephone
                                                conferences re plan, PSA with K&E team
                                                (2.1); correspond with K&E team re same
                                                (1.3); correspond with K&E team re HL EL
                                                (.4); review plan, PSA issues (.9); review
                                                revised guaranty claims scheduling order (.6).
08/23/21 Maggie Alden                      3.00 Telephone conference with M. Lemm re
                                                emergence (.3); telephone conference with
                                                PJT, AM, D. Hunter, K&E team re status,
                                                strategy, next steps (.4); telephone conference
                                                with JD, PW, WH, AG, K&E teams re deal
                                                documents (.5); correspond with M. Lemm re
                                                emergence, term sheets (.1); correspond with
                                                A. Yenamandra re term sheets (.1);
                                                correspond with Milbank, D. Gremling, K&E
                                                team re deal documents (.5); review, revise
                                                plan documents (1.1).
08/23/21 Nicholas A. Binder               13.00 Analyze plan, definitive document issues
                                                (4.0); correspond with K&E team re same
                                                (1.3); review, revise same (3.7); analyze
                                                considerations re same (1.0); telephone
                                                conference with K&E team re same (1.9);
                                                telephone conference with creditor advisors,
                                                K&E team re same (.5); telephone conference
                                                with K&E team, Company advisors re plan
                                                process (.6).
08/23/21 Simon Briefel                     5.80 Telephone conference with Company
                                                advisors re deal, status (.5); review, revise
                                                plan documents (1.8); correspond with K&E
                                                team re same; review, revise PSA, term sheets
                                                (2.1); review issues re same (1.4).
08/23/21 Seth A. Brimley                   5.90 Review example chart re plan structuring
                                                (.1); draft precedent chart re same (3.8);
                                                research case law re same (.8); review and
                                                revise same re comments from B.
                                                Nakhaimousa (1.2).




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Date     Name                            Hours Description
08/23/21 Annie Laurette Dreisbach          4.50 Correspond with D. Hunter K&E team re
                                                disclosure statement objection deadline (.2);
                                                telephone conference with A. Yenamandra,
                                                K&E team and advisors re PSA and plan
                                                negotiations (.5); telephone conference with
                                                A. Yenamandra and K&E team and lender
                                                advisors re same (.6); correspond with S.
                                                Brimley re plan structure and research re
                                                same (.4); review and revise U.S. Trustee
                                                issues list (.8); correspond with W.
                                                Thompson, K&E team re same (.2); review
                                                and analyze EDVA precedent re filing notices
                                                (.2); draft and revise notices re disclosure
                                                statement re same (.6); correspond with B.
                                                Nakhaimousa re same (.3); review and revise
                                                reply and objection chart re disclosure
                                                statement (.7).
08/23/21 Dave Gremling                    11.70 Revise disclosure statement (3.8); correspond
                                                with D. Hunter, K&E team, Debtor advisors
                                                re same (1.6); analyze issues re same (2.3)
                                                revise order re same (.5); analyze issues re
                                                confirmation (3.0); correspond with A.
                                                Dreisbach, K&E team re same (.5).
08/23/21 Derek I. Hunter                  15.40 Conferences with K&E team, Debtor advisors
                                                re definitive documents and plan and PSA
                                                negotiations (1.2); conferences with creditor
                                                advisors re same (.9); review, analyze, and
                                                revise numerous definitive documents, plan,
                                                and PSA (2.8); review, analyze research and
                                                precedent re same (2.5);conferences with
                                                K&E corporate teams re various ancillary
                                                PSA term sheets (.5); review, analyze, and
                                                revise same (2.1); conference with company
                                                re status of PSA documents, negotiations re
                                                same (1.5); review, analyze, and revise
                                                disclosure statement documents (2.5);
                                                correspond with K&E team re same (1.4).
08/23/21 Jason T. Jarvis                   1.70 Correspond with D. Hunter re formation
                                                documents re notice (.1); review, analyze
                                                same (1.2); telephone conference with D.
                                                Hunter, K&E team, ad hoc creditor groups,
                                                advisors re plan, emergence considerations
                                                (.4).




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Date     Name                            Hours Description
08/23/21 Tyler R. Knutson                 9.10 Review and analyze disclosure statement re
                                               certain plan, confirmation considerations
                                               (3.6); research pleadings re same (1.4);
                                               review and analyze precedent, prior deal
                                               document drafts re same (2.1); further review
                                               and analyze memoranda, pleadings re certain
                                               confirmation considerations (1.6); conference
                                               with K&E litigation team, creditor
                                               constituencies re plan issues (.4).
08/23/21 Michael Lemm                     2.50 Telephone conference with M. Alden re plan
                                               documents (.3); telephone conference with M.
                                               Alden, K&E team, advisors re case update
                                               (.3); telephone conference with D. Hunter,
                                               K&E team re plan considerations (.2);
                                               telephone conference with N. Binder, K&E
                                               team, creditors re plan documents (.4);
                                               telephone conference with N. Binder, K&E
                                               team, director advisors re case update (.1);
                                               review plan documents and related
                                               correspondence (1.0); review and revise
                                               document tracker re same (.2).
08/23/21 Joe Morley                       0.90 Participate in telephone conference with K&E
                                               team re disclosure statement order (.4);
                                               review and analyze bankruptcy documents
                                               (.5).
08/23/21 Brian Nakhaimousa                5.70 Telephone conference with creditor advisors
                                               re plan, PSA issues (.4); revise disclosure
                                               statement order (1.5); correspond with B.
                                               Stone, S. Brimley re precedent chart (.2);
                                               revise same (.5); revise objection tracker (.8);
                                               revise disclosure statement order (1.6); revise
                                               disclosure statement (.7).
08/23/21 Shawn OHargan, P.C.              0.80 Correspond with D. Perechocky re final term
                                               sheet (.3); telephone conference re plan and
                                               PSA documents (.5).
08/23/21 David L. Perechocky              0.40 Telephone conference with K&E, JD, PW
                                               teams re PSA.




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Date     Name                            Hours Description
08/23/21 Samuel J. Seneczko               14.70 Correspond with JD, PW, AG, WH, K&E
                                                team re PSA, plan (.5); analyze PSA, plan re
                                                lenders comments (1.5); correspond with D.
                                                Hunter, N. Binder re PSA, plan (.7); revise
                                                PSA (3.9); correspond with A. Yenamandra,
                                                K&E team re PSA, plan revisions (.3);
                                                telephone conference with N. Binder re plan,
                                                PSA revisions (.6); review, revise board
                                                approval PSA, plan analysis (.4); correspond
                                                with S. Briefel, N. Binder, D. Hunter re PSA,
                                                plan revisions (.3); telephone conference with
                                                JD, PW, AG, WH, K&E team re PSA, plan
                                                (1.1); further revise PSA re comments (3.8);
                                                telephone conference with director advisors re
                                                PSA, plan, case update (1.2); correspond with
                                                B. Nakhaimousa, D. Gremling, K&E team re
                                                plan, disclosure statement filing notices;
                                                compile PSA materials (.4).
08/23/21 Steven N. Serajeddini, P.C.       6.70 Telephone conference with K&E team,
                                                advisors, Company re plan issues (3.3);
                                                correspond with same re same (1.8); review
                                                and analyze same (1.6).
08/23/21 Anthony Vincenzo Sexton           1.40 Review and revise disclosure statement (.4);
                                                telephone conference with D. Hunter and
                                                other K&E team members re disclosure
                                                statement order (.3); telephone conference
                                                with PW and JD teams and A. Yenamandra
                                                and other K&E team members re plan
                                                documents (.5); telephone conference with A,
                                                Yenamandra and directors/director advisors re
                                                deal status (.2).
08/23/21 Michael B. Slade                  4.90 Telephone conference and correspond with
                                                Milbank re plan status (.2); telephone
                                                conference with D. Hunter, K&E team,
                                                director advisors re plan (.4); review and
                                                comment on disclosure statement (2.4).;
                                                review and revise brief re claims allowance
                                                (1.9).




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Date     Name                            Hours Description
08/23/21 Benjamin P. Stone                5.90 Conference with K&E team, creditors re plan
                                               issues (.5); review, analyze case table re
                                               disclosure statement reply (.8); draft
                                               disclosure statement adjournment notice (.3);
                                               review, revise confirmation schedule (.9);
                                               correspond with D. Gremling re same (.3);
                                               review, revise disclosure statement exhibits
                                               (.8); correspond with C. Williams re
                                               disclosure statement reply (.6); review, revise
                                               disclosure statement (.9); draft plan support
                                               agreement signature page holdings tracker
                                               (.8).
08/23/21 William Thompson                 3.30 Review, revise reply to disclosure statement
                                               objections (2.1); telephone conference with
                                               creditor advisors and K&E teams re definitive
                                               documents (.4); review, revise chart re
                                               disclosure statement objections (.8).
08/23/21 Eric J. Wendorf                  9.70 Review, revise secured creditor settlement
                                               term sheet (4.0); review, revise scheduling
                                               motion (3.9); telephone conferences with S.
                                               Briefel re same (.3); correspond with same re
                                               same (.3); correspond with K&E working
                                               group re same (.4); telephone conferences
                                               with creditors re deal status (.8).
08/23/21 Aparna Yenamandra                9.10 Attend standing advisor call (.7); attend DDA
                                               update conference (.6); attend multiple
                                               telephone conferences with same re same (.9);
                                               attend telephone conferences with K&E team,
                                               creditor advisors re plan issues (2.5);
                                               correspond with same re same (.9);
                                               correspond with K&E team, creditor advisors
                                               re plan support agreement (1.2); correspond
                                               with K&E team re litigation order (.9);
                                               correspond with K&E team, Company re
                                               press release (.4); correspond re timing and
                                               scheduling issues (1.0). [GD1]matter 20
08/23/21 Donna Zamir                      3.20 Attend conferences with K&E, Company,
                                               creditor advisors re plan issues (.5); review
                                               materials re same (1.8); draft summary re
                                               same (.9).
08/24/21 Maggie Alden                     1.00 Correspond with N. Binder re plan, deal
                                               documents (.5); correspond with N. Binder,
                                               K&E team re deal documents (.3); review
                                               same (.2).



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Date     Name                            Hours Description
08/24/21 Bill Arnault                      1.40 Review filings re plan and disclosure
                                                statements.
08/24/21 Nicholas A. Binder               15.40 Telephone conference with K&E team, EHP
                                                re plan, definitive documents (.1); review
                                                plan, definitive documents (4.0); telephone
                                                conference with creditor advisors, K&E team
                                                re same (.5); analyze same (4.0); telephone
                                                conference with K&E team re same (2.0);
                                                revise same (4.0); correspond with K&E team
                                                re same (.6); correspond with K&E team,
                                                Company, Company advisors re plan
                                                considerations (.2).
08/24/21 Simon Briefel                     5.50 Telephone conference with creditor advisors
                                                re deal documents, status (1.0); follow up
                                                with D. Hunter, K&E team re same (.6);
                                                review, revise PSA, term sheets (2.2);
                                                correspond with M. Alden, D. Hunter re same
                                                (1.1); analyze issues re same (.6).
08/24/21 Seth A. Brimley                   5.50 Research precedent re incorporation of certain
                                                plan provisions (.6); draft chart re same (2.4);
                                                review and revise same (2.5).
08/24/21 Seth A. Brimley                   0.50 Attend telephone conference with K&E team
                                                re Intelsat plan.
08/24/21 Annie Laurette Dreisbach          4.30 Attend telephone conferences with A.
                                                Yenamandra, K&E team, and lender advisors
                                                re PSA and plan issues (.8); review and revise
                                                filing notices re disclosure statement,
                                                disclosure statement order, plan (.6); review
                                                and analyze precedent re same (.5);
                                                correspond with D. Gremling and K&E team
                                                re disclosure statement hearing preparation
                                                (.6); compile materials re same (.3); review
                                                and revise U.S. Trustee issue list (.4); review
                                                and analyze disclosure statement and plan re
                                                PSA party comments (1.1).
08/24/21 Dave Gremling                    13.70 Review, analyze disclosure statement (3.2);
                                                revise same (3.1); correspond with K&E
                                                team, A&M team, PJT team re same (2.5)
                                                prepare same for filing (.4); review, analyze
                                                plan, PSA, ancillary agreements (3.4);
                                                correspond with K&E team, Debtor advisors,
                                                creditor advisors re same (1.1).
08/24/21 Nick Hafen                        0.40 Telephone conferences with stakeholders re
                                                plan.


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Date     Name                            Hours Description
08/24/21 Derek I. Hunter                  17.90 Conferences with K&E team, Debtor advisors
                                                re definitive documents, plan, and PSA
                                                negotiations (3.3); conferences with creditor
                                                advisors re same (3.5); review, analyze, and
                                                revise numerous definitive documents, plan,
                                                and PSA(3.9); further review, analyze same
                                                (3.6); review, analyze research and precedent
                                                re same (3.6).
08/24/21 Jason T. Jarvis                   0.60 Telephone conference with M. Lemm, K&E
                                                team, EHP re emergence considerations (.1);
                                                telephone conferences with D. Hunter, K&E
                                                team, creditor advisors re plan, emergence
                                                considerations (.5).
08/24/21 Tyler R. Knutson                  7.40 Research re solicitation issues (1.8);
                                                correspond with D. Gremling, Stretto re same
                                                (.6); review and analyze pleadings,
                                                memoranda, precedent re certain plan issues,
                                                related pleadings (3.3); draft summary re
                                                same (1.1); revise summary re same (.6).
08/24/21 Erika Krum                        0.30 Correspond with M. O'Hare re regulatory
                                                issues (.1); review revised responses re same
                                                (.1); review, analyze regulatory tracker (.1).
08/24/21 Michael Lemm                      1.60 Telephone conferences with D. Hunter, K&E
                                                team, creditor advisors re plan documents
                                                (.4); telephone conference with J. Morley,
                                                K&E team, EHP re plan considerations (.1);
                                                correspond with J. Morley, K&E team re
                                                same (.1); review and revise disclosure
                                                statement (1.0).
08/24/21 Joe Morley                        2.80 Review and analyze disclosure statement
                                                (1.5); participate in telephone conference with
                                                creditor advisors re bankruptcy plan and
                                                supporting documents (.5); review and
                                                analyze bankruptcy plan and supporting
                                                documents (.8).




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Date     Name                            Hours Description
08/24/21 Brian Nakhaimousa                 5.80 Revise disclosure statement exhibits (.3);
                                                draft notice re disclosure statement (.8);
                                                attend conferences with creditor advisors re
                                                plan issues (.3); correspond with A.
                                                Dreisbach, K&E team, Kutak re notices (.3);
                                                draft, review, revise notices re disclosure
                                                statement (.9); compile same (.5); review,
                                                revise disclosure statement order exhibits
                                                (1.1); review, revise disclosure statement
                                                order (.6); review, revise disclosure statement
                                                reply (.5); review, revise disclosure statement
                                                (.3); prepare disclosure statement order and
                                                exhibits for filing and correspond with Kutak
                                                re same (.2).
08/24/21 Matt O'Hare                       1.00 Draft regulatory responses (.4); review and
                                                comment on regulatory tracker (.4);
                                                communicate with S. Briefel and L. Hague re
                                                same (.2).
08/24/21 David L. Perechocky               1.10 Telephone conference with K&E team,
                                                creditor advisors re PSA (.5); review term
                                                sheets (.6).
08/24/21 Samuel J. Seneczko               12.70 Review PSA (.5); correspond with N. Binder
                                                re same (.7); correspond with K&E team,
                                                creditor advisors re plan support agreement,
                                                plan (.3); telephone conference with K&E
                                                team, creditor advisors re plan support
                                                agreement, plan (2.5); revise plan support
                                                agreement re creditor advisor comments (3.8);
                                                correspond with D. Hunter, K&E team re
                                                same (.7); correspond with B. Stone, N.
                                                Binder re plan support agreement signature
                                                pages, exhibits (.3); review same (.5); finalize
                                                plan support agreement re signature page
                                                release (2.1); correspond with D. Hunter, N.
                                                Binder re plan support agreement, plan
                                                release (.2); analyze plan re filing version (.7);
                                                telephone conference with N. Binder re same
                                                (.4).
08/24/21 Steven N. Serajeddini, P.C.       6.40 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (5.1); review and analyze same (1.3).
08/24/21 Anthony Vincenzo Sexton           1.30 Review and revise deal documentation (1.1);
                                                telephone conference with A. Yenamandra
                                                and other K&E team, JD, PW teams re deal
                                                documents (.2).

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Date     Name                            Hours Description
08/24/21 Michael B. Slade                  1.00 Telephone conference with Company, S.
                                                Serajeddini, K&E team re discovery (.5);
                                                telephone conference with A. Yenamandra,
                                                K&E team, director advisors re plan
                                                documents (.5).
08/24/21 Benjamin P. Stone                13.70 Draft notice of amended plan (.7); correspond
                                                with A. Dreisbach re same (.2); review, revise
                                                same (.3); conference with K&E team,
                                                creditor advisors re plan issues (.4); compile
                                                execution version re PSA (.8); compile
                                                cleanse version re same (1.7); correspond
                                                with N. Binder re same (.2); revise PSA
                                                signature page holdings tracker (3.9); further
                                                revise same (1.9); correspond with N. Binder
                                                re same (.2); review, revise disclosure
                                                statement exhibits (2.8); correspond with D.
                                                Gremling re same (.2); correspond with local
                                                counsel re confirmation schedule (.4).
08/24/21 William Thompson                  4.10 Telephone conference with K&E, creditor
                                                advisors re definitive document negotiations
                                                (.4); review, revise disclosure statement re
                                                releases (1.3); review, revise reply to
                                                objections to the disclosure statement (.4);
                                                review revise chart of objections to the
                                                disclosure statement (2.0).
08/24/21 Eric J. Wendorf                   9.10 Draft secured creditor settlement term sheet
                                                (2.5); review and revise same (1.4); draft
                                                scheduling motion (3.6); revise and prepare
                                                same for filing (.6); correspond with K&E
                                                team re same (.4); telephone conferences re
                                                same (.6).
08/24/21 Aparna Yenamandra                 7.40 Attend standing small group meeting re deal
                                                status (.5); multiple telephone conferences
                                                with K&E team, creditor advisors and
                                                correspondence re finalizing deal documents
                                                (3.6); telephone conferences with Company,
                                                advisors, creditors’ advisors re timing and
                                                next steps (1.2); telephone conference with
                                                K&E team re guarantee claims (.3);
                                                correspond with K&E team re disclosure
                                                statement (.6); correspond re creditor advisors
                                                re plan issues (.3); telephone conferences with
                                                PJT, K&E team re signature pages (.9).




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Date     Name                            Hours Description
08/24/21 Donna Zamir                      4.40 Conferences with K&E, Company advisors,
                                               creditor advisors re plan update and status
                                               (.8); review, revise materials re same (3.6).
08/25/21 Maggie Alden                     1.60 Telephone conference with PJT, K&E, A&M
                                               teams re next steps, strategy re plan (.6);
                                               correspond with S. Seneczko re plan support
                                               agreement (.1); correspond with D. Hunter re
                                               same (.1); review, analyze issues re same (.3);
                                               correspond with D. Gremling re MIP, CVR,
                                               corporate governance, warrants term sheets
                                               (.1); correspond with M. Slade, K&E team re
                                               plan issues (.4).
08/25/21 Nicholas A. Binder               3.90 Review plan support agreement form 8K (.4);
                                               telephone conference with K&E team re same
                                               (.4); telephone conference with creditor
                                               advisors re same (.1); review plan re post
                                               emergence considerations, continued
                                               negotiations (.6); telephone conference with
                                               K&E team, Company advisors re plan process
                                               (.5); correspond with Company re definitive
                                               documents (.2); telephone conference with D.
                                               Hunter re plan process (.4); analyze
                                               Committee proposal (.6); draft response re
                                               same (.5); telephone conference with K&E
                                               team, Company advisors re negotiations (.2).
08/25/21 Simon Briefel                    1.60 Correspond with D. Hunter, K&E team re
                                               plan issues.
08/25/21 Seth A. Brimley                  5.60 Review and revise table re plan provisions
                                               (4.1); further review and revise same (1.5).
08/25/21 Annie Laurette Dreisbach         3.10 Correspond with D. Hunter and K&E team re
                                               disclosure statement objecting party outreach
                                               (.6); review and revise reply in support of
                                               disclosure statement (1.1); review and revise
                                               summary of disclosure statement objections
                                               (.6); correspond with D. Gremling and K&E
                                               team re same (.2); correspond with US
                                               Trustee re disclosure statement objection (.2);
                                               telephone conference with A. Yenamandra,
                                               K&E team and advisors re disclosure
                                               statement hearing (.4).
08/25/21 Dave Gremling                    5.20 Revise reply re disclosure statement (3.9);
                                               analyze issues re same (1.3).
08/25/21 Luci Hague                       0.20 Correspond with M. O'Hare re regulatory
                                               emergence assessment, timeline.


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Date     Name                            Hours Description
08/25/21 Derek I. Hunter                  5.90 Conferences with K&E team, Debtor advisors
                                               re definitive documents, plan, and plan
                                               support agreement negotiations (2.8);
                                               conferences with creditor advisors re same
                                               (1.3); review, analyze, and revise numerous
                                               definitive documents, plan, and plan support
                                               agreement (.6); review, analyze research and
                                               precedent re same (1.2).
08/25/21 Jennifer Karinen                 1.50 Coordinate 8-K filing.
08/25/21 Tyler R. Knutson                 2.40 Correspond with Stretto, D. Gremling re
                                               solicitation issues (.4); correspond with M.
                                               Alden re plan issues, related pleadings (.1);
                                               review pleadings re certain confirmation
                                               considerations (1.9).
08/25/21 Michael Lemm                     1.10 Telephone conference with K&E team,
                                               advisors re case strategy (.5); coordinate with
                                               A&M re telephone conference re plan
                                               considerations (.4); correspond with D.
                                               Hunter, K&E team re emergence workstreams
                                               (.1); correspond with D. Gremling re plan
                                               documents (.1).
08/25/21 Mario Mancuso, P.C.              0.50 Correspond with K&E team, creditor advisors
                                               re regulatory issues (.3); correspond with L.
                                               Hague re same (.2).
08/25/21 Brian Nakhaimousa                1.10 Revise objections outreach tracker (.3);
                                               conference with D. Hunter re disclosure
                                               statement hearing (.1); review, revise
                                               precedent chart re release provisions (.7).
08/25/21 Matt O'Hare                      0.90 Telephone conference with K&E team re
                                               regulatory issues (.6); correspond with L.
                                               Hague and M. Mancuso re regulatory
                                               considerations (.3).
08/25/21 Robert Orren                     0.20 Prepare telephonic hearing appearance for B.
                                               Nakhaimousa (.1); correspond with same re
                                               same (.1).
08/25/21 Samuel J. Seneczko               4.80 Correspond with creditor advisors re plan,
                                               plan support agreement (.2); correspond with
                                               D. Hunter re plan support agreement
                                               obligations (.3); analyze plan support
                                               agreement re same (3.9); correspond with B.
                                               Stone re same (.2); correspond with A.
                                               Yenamandra, D. Hunter re plan support
                                               agreement obligations (.2).



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Date     Name                            Hours Description
08/25/21 Steven N. Serajeddini, P.C.       7.80 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (6.5); review and analyze same (1.3).
08/25/21 Michael B. Slade                  0.50 Telephone conference with A. Yenamandra,
                                                K&E team, director advisors re plan.
08/25/21 Benjamin P. Stone                11.20 Analyze plan support agreement obligations
                                                (2.4); analyze precedent tables re same (1.7);
                                                draft table re same (3.9); correspond with S.
                                                Seneczko re same (.4); review, revise
                                                disclosure statement objections tracker (2.4);
                                                correspond with Stretto re solicitation
                                                logistics (.4).
08/25/21 William Thompson                  5.00 Review, revise chart re U.S. Trustee
                                                disclosure statement objections (.4); review,
                                                revise reply to disclosure statement objections
                                                re comments from D. Gremling and A.
                                                Dreisbach (3.4); correspond with objecting
                                                parties re suggested disclosure statement
                                                revisions (1.2).
08/25/21 Gary M. Vogt                      1.00 Research, compile requested information re
                                                previously produced value allocation models.
08/25/21 Chambliss Williams                7.10 Review filing version of plan (3.9); review
                                                filing version of disclosure statement (3.2).
08/25/21 Aparna Yenamandra                 3.60 Attend small group conference re plan-related
                                                works in process (.5); telephone conference
                                                with advisors re plan issues (.6); telephone
                                                conference with UCC re next steps (.6);
                                                telephone conference with M. Slade, creditor
                                                advisors re next steps (.6); telephone
                                                conference with S. Serajeddini re Sept 1
                                                hearing (.9); participate in director advisors
                                                update telephone conference (.4).
08/26/21 Maggie Alden                      0.50 Telephone conference with plan support
                                                agreement party re plan issues (.4);
                                                correspond with D. Hunter re same (.1).
08/26/21 Nicholas A. Binder                0.50 Correspond with K&E team, Debtor advisor
                                                re plan considerations (.2); correspond with
                                                K&E team, parties in interest re Committee
                                                proposal (.3).
08/26/21 Simon Briefel                     0.90 Telephone conference with A. Sexton, D.
                                                Hunter re emergence issues (.5); correspond
                                                with D. Hunter re same (.4).




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Date     Name                            Hours Description
08/26/21 Seth A. Brimley                  6.50 Review and revise precedent table re plan
                                               provisions (3.8); further revise same (2.1);
                                               correspond with D. Gremling re same (.6).
08/26/21 Mariel Brookins                  0.50 Telephone conference with M. Slade and H.
                                               Rhodes re plan related pleadings.
08/26/21 Annie Laurette Dreisbach         2.40 Review and analyze issues list re U.S. Trustee
                                               objection to disclosure statement (.7);
                                               telephone conference with same re same (.5);
                                               correspond with D. Gremling and K&E team
                                               re same (.3); conference with D. Hunter re
                                               disclosure statement hearing presentation (.2);
                                               telephone conference with W. Thompson and
                                               K&E team re same, disclosure statement
                                               hearing presentation (.3); review and analyze
                                               issues re same (.4).
08/26/21 Dave Gremling                    7.00 Revise reply re disclosure statement (2.1);
                                               revise disclosure statement (1.3); analyze
                                               issues re same (1.5); review, analyze
                                               solicitation procedures (1.7); correspond with
                                               K&E team re disclosure statement issues (.4).
08/26/21 Nick Hafen                       0.30 Correspond with D. Gremling re plan
                                               releases.
08/26/21 Luci Hague                       0.50 Correspond with M. O'Hare, K&E team re
                                               regulatory emergence issues.
08/26/21 Derek I. Hunter                  6.50 Conferences with K&E team, Debtor advisors
                                               re definitive documents, plan and PSA
                                               negotiations (2.4); conferences with creditor
                                               advisors re same (1.8); review, analyze, and
                                               revise numerous definitive documents, plan,
                                               and PSA (1.4); review, analyze research and
                                               precedent re same (.9).
08/26/21 Tyler R. Knutson                 4.70 Review amended plan re confirmation
                                               considerations (1.3); review and analyze order
                                               denying summary judgment, notice re hearing
                                               of objection (.6); review and analyze
                                               disclosure statement order, solicitation
                                               procedures, form ballot re certain
                                               confirmation considerations (1.9); research
                                               and analyze precedent re same (.8); review
                                               and analyze SES pre-trial statement (.1).
08/26/21 Erika Krum                       0.10 Review and analyze correspondence re
                                               regulatory considerations.
08/26/21 Michael Lemm                     0.20 Conference with A. Sexton, J. Morley, A&M
                                               re plan considerations.

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Date     Name                            Hours Description
08/26/21 Joe Morley                        0.50 Participate in telephone conference with
                                                external advisors re plan recoveries.
08/26/21 Brian Nakhaimousa                 2.10 Conference with D. Gremling, K&E team re
                                                disclosure statement hearing (.7); review,
                                                revise releases precedent chart (1.2);
                                                telephone conference with D. Gremling re
                                                same (.2).
08/26/21 Brian Nakhaimousa                 0.10 Correspond with W. Thompson, L. Saal re
                                                disclosure statement hearing presentation.
08/26/21 Matt O'Hare                       0.60 Correspond with Company, K&E team re
                                                regulatory considerations.
08/26/21 Samuel J. Seneczko                4.70 Correspond with B. Stone re PSA obligations
                                                chart (.2); review, revise same (3.7);
                                                correspond with N. Binder, D. Gremling re
                                                plan issues (.4); correspond with D. Hunter,
                                                K&E team re provisional voting; analyze PSA
                                                re same (.2); correspond with D. Gremling re
                                                disclosure statement reply (.2).
08/26/21 Steven N. Serajeddini, P.C.       7.10 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (5.9); review and analyze same (1.2).
08/26/21 Anthony Vincenzo Sexton           0.40 Telephone conference with A&M re GUC
                                                recovery issues (.3); review materials re same
                                                (.1).
08/26/21 Michael B. Slade                  5.10 Review and revise deposition letter (1.2);
                                                review deposition designations (1.4);
                                                telephone conference with clearinghouse re
                                                same (.4); telephone conference with
                                                opposing counsel re depositions (.5);
                                                telephone conference with Jones Day team re
                                                claims issues (.4); draft proposal re same (.4);
                                                telephone conference with H. Rhodes and M.
                                                Brookins re plan related pleadings (.5);
                                                review materials re same (.3).
08/26/21 Benjamin P. Stone                10.70 Review, revise PSA obligations table (3.9);
                                                correspond with S. Seneczko re same (.3);
                                                further review, revise same (1.6); correspond
                                                with D. Hunter re same (.1); conference with
                                                U.S. Trustee, K&E team re disclosure
                                                statement objections (.6); analyze precedent
                                                witness and exhibit lists re disclosure
                                                statement hearing (1.6); correspond with W.
                                                Thompson, B. Nakhaimousa re same (.3);
                                                draft same (2.3).


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Date     Name                            Hours Description
08/26/21 William Thompson                 2.20 Telephone conference with U.S. Trustee re
                                               outstanding objections to the disclosure
                                               statement (.6); correspond with K&E team re
                                               same (.9); review, revise, presentation re
                                               disclosure statement hearing (.7).
08/26/21 Gary M. Vogt                     3.40 Correspond with K&E team re preparation of
                                               additional materials for production in
                                               response to document requests (.7); research,
                                               compile requested information re all
                                               productions to date (1.7); research, compile
                                               requested information for preparation of
                                               privilege log review (1.0).
08/26/21 Chambliss Williams               7.40 Review chart tracking objections to the
                                               disclosure statement (2.3); review omnibus
                                               reply to disclosure statement objections (1.9);
                                               review objecting party outreach re disclosure
                                               statement (1.3); conference with D. Hunter,
                                               K&E team, U.S. Trustee re disclosure
                                               statement issues (.5); follow up research re
                                               issues raised during same (1.4).
08/26/21 Aparna Yenamandra                4.40 Telephone conference with M. Slade, D.
                                               Hunter, clearinghouse counsel re FCC
                                               payments (.5); correspond with K&E team re
                                               disclosure statement objections (.7); review
                                               correspondence re plan considerations (.3);
                                               telephone conference with K&E team re
                                               disclosure statement, plan issues (.6);
                                               correspond with K&E team re creditor
                                               negotiations (.4); telephone conference with
                                               K&E team re hearing preparation (.8);
                                               correspond re disclosure statement
                                               scheduling, strategy (1.1).
08/26/21 Donna Zamir                      3.70 Research re confirmation related issues (2.9);
                                               review, revise materials re same (.8).
08/27/21 Maggie Alden                     0.60 Telephone conference with PJT, AM, D.
                                               Hunter, K&E team re plan issues, timeline.
08/27/21 Nicholas A. Binder               0.80 Correspond with K&E team, party in interest
                                               re plan (.1); telephone conference with K&E
                                               team, Company advisors re plan, process (.7).
08/27/21 Simon Briefel                    0.90 Telephone conference with K&E team, PJT re
                                               deal.




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Date     Name                            Hours Description
08/27/21 Seth A. Brimley                  6.80 Review and revise precedent table re certain
                                               plan provisions (3.9); further review and
                                               revise same (2.6); correspond with and B.
                                               Nakhaimousa and D. Gremling re same (.3).
08/27/21 Seth A. Brimley                  1.40 Correspond with W. Thompson re amended
                                               disclosure statement precedent table (.3); draft
                                               initial amended disclosure statement
                                               precedent chart (.1); research and analyze
                                               precedent re same (1.0).
08/27/21 Francois Capoul                  0.20 Review governance term sheet.
08/27/21 Annie Laurette Dreisbach         5.80 Correspond with D. Gremling and K&E team
                                               re disclosure statement talking points (.3);
                                               correspond with W. Thompson re disclosure
                                               statement objector outreach (.2); review and
                                               revise reply in support of disclosure statement
                                               (3.6); review and revise deck re disclosure
                                               statement hearing (1.7).
08/27/21 Dave Gremling                    8.70 Conference with Debtor advisors re plan
                                               issues (.6); revise reply re disclosure
                                               statement (2.4); revise disclosure statement
                                               (1.8); analyze issues re same (1.1); review,
                                               analyze solicitation procedures (1.5);
                                               correspond with K&E team re disclosure
                                               statement issues (1.3).
08/27/21 Derek I. Hunter                  5.50 Conferences with K&E team, Debtor advisors
                                               re definitive documents, plan, and PSA
                                               negotiations (1.8); conferences with creditor
                                               advisors re same (1.6); review, analyze, and
                                               revise numerous definitive documents, plan,
                                               and PSA (.9); review, analyze research and
                                               precedent re same (1.2).
08/27/21 Michael Lemm                     0.60 Telephone conference with D. Hunter, K&E
                                               team, advisors re case strategy.
08/27/21 Brian Nakhaimousa                1.70 Correspond with A. Dreisbach, K&E team re
                                               witness and exhibits list (.3); review, revise,
                                               precedent comparisons chart re releases (1.2);
                                               correspond with S. Brimley re same (.2).
08/27/21 Matt O'Hare                      0.10 Correspond with S. Briefel re regulatory
                                               emergence considerations.




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Date     Name                            Hours Description
08/27/21 Samuel J. Seneczko               3.70 Correspond with D. Hunter, D. Gremling re
                                               plan, disclosure statement, PSA (.1); analyze
                                               PSA re disclosure statement reply (.5);
                                               correspond with D. Gremling re same (.3);
                                               draft talking points re guarantee claims (2.6);
                                               correspond with A. Dreisbach, K&E team re
                                               same (.2).
08/27/21 Steven N. Serajeddini, P.C.      7.40 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (6.1); review and analyze same (1.3).
08/27/21 Michael B. Slade                 0.90 Draft memorandum re claims settlement.
08/27/21 William Thompson                 3.60 Correspond with parties objecting to the
                                               disclosure statement re proposed resolutions
                                               (.6); review, revise disclosure statement
                                               hearing presentation (2.8); telephone
                                               conference with Stretto re solicitation
                                               procedures (.2).
08/27/21 Gary M. Vogt                     4.00 Review, finalize and serve production and
                                               privilege log (2.0); compile materials re SES
                                               motion for summary judgment hearing
                                               requested by creditor advisors (1.0); review,
                                               follow up re production password issue (1.0).
08/27/21 Eric J. Wendorf                  2.10 Review plan, PSA re confirmation issues.
08/27/21 Chambliss Williams               3.50 Review and analyze disclosure statement re
                                               suggested revisions.
08/28/21 Maggie Alden                     0.90 Telephone conference with D. Hunter, K&E
                                               team re plan issues (.8); correspond with A.
                                               Dreisbach re disclosures statement, disclosure
                                               statement hearing (.1).
08/28/21 Simon Briefel                    4.30 Telephone conference with S. Serajedinni,
                                               K&E team re plan negotiations (.7); draft,
                                               revise disclosure statement hearing
                                               presentation (2.5); correspond with E.
                                               Wendorf, K&E team re same (1.1).
08/28/21 Seth A. Brimley                  5.70 Review and revise amended disclosure
                                               statement precedent table (3.9); research re
                                               same (1.6); correspond with B. Nakhaimousa
                                               re same (.2).




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Date     Name                            Hours Description
08/28/21 Annie Laurette Dreisbach         11.80 Draft and revise disclosure statement hearing
                                                deck (3.9); correspond with B. Nakhaimousa
                                                and K&E team re same (.6); telephone
                                                conference with D. Hunter and K&E team re
                                                same (.4); review and analyze plan and
                                                disclosure statement re same (3.9); review and
                                                revise reply in support of disclosure statement
                                                (2.5); telephone conference with A.
                                                Yenamandra and K&E team re disclosure
                                                statement hearing preparation (.5).
08/28/21 Dave Gremling                     8.10 Conference with Debtor advisors re plan
                                                issues (.6); revise reply re disclosure
                                                statement (2.6); revise disclosure statement
                                                (1.9); analyze issues re same (1.2); review,
                                                analyze solicitation procedures (1.5);
                                                correspond with K&E team re disclosure
                                                statement issues (.3).
08/28/21 Dave Gremling                    10.60 Revise reply re disclosure statement (4.2);
                                                revise disclosure statement (2.9); analyze
                                                issues re same (3.0); correspond with K&E
                                                team re disclosure statement issues (.5).
08/28/21 Derek I. Hunter                   6.40 Conferences with K&E team, Debtor advisors
                                                re disclosure statement hearing, resolution of
                                                issues re same (1.0); review, analyze, and
                                                revise disclosure statement reply (1.9);
                                                correspond with K&E team, A. Dreisbach re
                                                same (.5); review, analyze precedent and
                                                research re disclosure statement reply (1.9);
                                                telephone conference with K&E team re
                                                hearing presentation (1.1).
08/28/21 Jason T. Jarvis                   3.50 Correspond with S. Briefel, K&E team re
                                                disclosure statement hearing deck (.2); draft
                                                same (1.8); review, revise same (1.5).
08/28/21 Michael Lemm                      1.20 Telephone conference with D. Hunter, K&E
                                                team re case strategy (.7); telephone
                                                conference with S. Briefel, K&E team re
                                                disclosure statement hearing presentation (.5).
08/28/21 Brian Nakhaimousa                 1.00 Attend telephone conference with D. Hunter,
                                                K&E team re disclosure statement hearing
                                                (.5); review, revise precedent tracker re
                                                disclosure statement issues (.5).
08/28/21 Brian Nakhaimousa                 4.60 Draft, review revise disclosure statement
                                                hearing presentation (3.9); review, revise
                                                same (.7).


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Date     Name                            Hours Description
08/28/21 Steven N. Serajeddini, P.C.      2.50 Correspond and telephone conference with
                                               K&E team, advisors, Company re plan issues
                                               (1.9); review and analyze same (.6).
08/28/21 Anthony Vincenzo Sexton          0.90 Telephone conference with M. Slade, A.
                                               Yenamandra, and others re deal status (.8);
                                               review disclosure statement issues (.1).
08/28/21 William Thompson                 5.50 Review, revise disclosure statement
                                               presentation.
08/28/21 Eric J. Wendorf                  8.00 Review exclusivity reply (.4); draft
                                               presentation re same (3.9); revise same (3.4);
                                               telephone conference with S. Briefel re same
                                               (.3).
08/28/21 Aparna Yenamandra                1.50 Attend conference with K&E team re plan
                                               issues, strategy (.6); telephone conference
                                               with D. Hunter re disclosure statement
                                               objections (.5); review same (.4).
08/29/21 Seth A. Brimley                  4.60 Review and revise amended disclosure
                                               statement precedent chart (3.4); research re
                                               same (.6); correspond with B. Nakhaimousa
                                               re same (.3); correspond with D. Gremling
                                               and A. Dreisbach re same (.3).
08/29/21 Annie Laurette Dreisbach         3.70 Review and revise reply in support of
                                               disclosure statement (1.8); review and revise
                                               objection chart re same (1.1); review and
                                               revise talking points re disclosure statement
                                               hearing (.8).
08/29/21 Derek I. Hunter                  3.80 Conferences with K&E team, Debtor advisors
                                               re definitive documents, plan, and PSA
                                               negotiations (1.6); review, analyze, and revise
                                               numerous definitive documents, plan, and
                                               PSA (.7); review, analyze research and
                                               precedent re same (1.1); telephone conference
                                               with K&E team re hearing presentation (.4).
08/29/21 Tyler R. Knutson                 1.10 Review and analyze ad hoc group of
                                               convertible noteholders reply in support of
                                               objection (.8); review and analyze holdco ad
                                               hoc group objection re same (.3).
08/29/21 Brian Nakhaimousa                6.30 Draft talking points re disclosure statement
                                               hearing (1.2); review, revise precedent chart
                                               re disclosure statements (1.3); review, revise
                                               omnibus reply in support of disclosure
                                               statement (3.6); conference with S. Seneczko
                                               re same (.2)


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Date     Name                            Hours Description
08/29/21 Brian Nakhaimousa                 0.80 Review, revise disclosure statement hearing
                                                presentation.
08/29/21 Samuel J. Seneczko                1.00 Correspond with A. Dreisbach, K&E team re
                                                talking points (.2); review, revise same (.5);
                                                telephone conference with B. Nakhaimousa re
                                                disclosure statement Reply (.3).
08/29/21 Steven N. Serajeddini, P.C.       1.70 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (1.3); review and analyze same (.4).
08/29/21 Michael B. Slade                  1.10 Review and revise memorandum re
                                                emergence.
08/29/21 William Thompson                  1.10 Review, revise reply in support of disclosure
                                                statement.
08/29/21 Aparna Yenamandra                 4.10 Telephone conference with S. Serajeddini re
                                                disclosure statement hearing (.5); correspond
                                                with same, M. Slade, D. Hunter re same (.6);
                                                review disclosure statement, plan for hearing
                                                (.9); revise hearing deck (.9); correspond with
                                                K&E team re disclosure statement issues
                                                (1.2).
08/30/21 Maggie Alden                      1.60 Telephone conference with PJT, A&M, D.
                                                Hunter, K&E team re strategy, next steps (.2);
                                                correspond with M. Lemm re same (.2); draft
                                                reply in support of disclosure statement (1.1);
                                                correspond with A. Dreisbach, D. Gremling re
                                                same (.1).
08/30/21 Simon Briefel                     0.50 Review, revise disclosure statement hearing
                                                presentation.
08/30/21 Mariel Brookins                   7.80 Review plan related pleadings (2.1); draft
                                                plan related pleading (2.7); review disclosure
                                                statement (2.6); correspond with H. Rhodes re
                                                same (.4).
08/30/21 Annie Laurette Dreisbach         14.10 Review and revise reply in support of
                                                disclosure statement (3.9); research and
                                                analyze issues re same (1.2); review and
                                                analyze objections re same (3.9); telephone
                                                conference with A. Yenamandra and K&E
                                                team re same (.5); review and revise objection
                                                chart re same (3.4); review and revise deck re
                                                disclosure statement hearing (.8); telephone
                                                conference with A. Yenamandra and
                                                Company advisors re disclosure statement
                                                hearing presentation (.4).


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Date     Name                            Hours Description
08/30/21 Dave Gremling                    14.70 Revise disclosure statement (3.9); revise reply
                                                in support of same (2.8); revise disclosure
                                                statement hearing presentation (3.7);
                                                correspond with K&E team re issues re same
                                                (2.4); revise disclosure statement order (1.4);
                                                analyze solicitation procedures (.5).
08/30/21 Derek I. Hunter                  11.10 Revise, analyze, and revise disclosure
                                                statement reply (4.3); conference with K&E
                                                team re same (.5); revise disclosure statement
                                                hearing presentation (1.7); correspond with
                                                K&E team re same (.9); review, analyze, and
                                                revise disclosure statement order (1.5);
                                                conference with creditor advisors re
                                                comments to same (1.0); analyze solicitation
                                                procedures re solicitation issues (.9);
                                                correspond with K&E team re same (.3).
08/30/21 Jason T. Jarvis                   0.20 Correspond with D. Gremling re disclosure
                                                statement hearing slides (.1); review, analyze
                                                same (.1).
08/30/21 Michael Lemm                      2.20 Telephone conference with M. Alden, K&E
                                                team, advisors re case strategy (.2); draft
                                                correspondence re plan (2.0).
08/30/21 Brian Nakhaimousa                 7.90 Review, analyze disclosure statement
                                                objections (1.6); review, summarize precedent
                                                re disclosure statement issues (2.5); review,
                                                revise disclosure statement exhibits (.5); draft
                                                notices re plan, disclosure statement,
                                                disclosure statement order (1.5); draft, review,
                                                revise disclosure statement hearing talking
                                                points (1.8).
08/30/21 Brian Nakhaimousa                 0.90 Revise disclosure statement hearing
                                                presentation: (.7); conferences with D.
                                                Gremling re same (.2).
08/30/21 Whitney Rosser                    0.90 Correspond with J. Karinen, K&E team re
                                                emergence issue.
08/30/21 Samuel J. Seneczko                8.40 Correspond with D. Hunter, K&E team re
                                                plan revisions (.3); review, revise plan (3.7);
                                                analyze precedent re same (1.3); correspond
                                                with A. Dreisbach re plan comments (.2);
                                                analyze disclosure statement re plan
                                                comments (.5); further revise plan re same
                                                (2.0); correspond with D. Hunter, K&E team
                                                re plan, disclosure statement revisions (.4).



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Date     Name                            Hours Description
08/30/21 Steven N. Serajeddini, P.C.       7.30 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (.5); review and analyze analysis re same
                                                (1.2); conferences with K&E team re DS
                                                hearing, presentation re same (2.0); review,
                                                analyze, and comment on hearing
                                                presentation (1.7); prepare talking points re
                                                same (1.9).
08/30/21 Anthony Vincenzo Sexton           0.40 Review and analyze issues re disclosure
                                                statement and related pleadings.
08/30/21 Michael B. Slade                  1.00 Draft plan related pleading.
08/30/21 Benjamin P. Stone                 5.80 Conference with D. Hunter, K&E team re
                                                disclosure statement objection (.4); review,
                                                analyze PSA holdings tracker (2.6);
                                                correspond with D. Gremling re same (.2);
                                                correspond with PJT re same (.2); review,
                                                analyze ballots (.9); correspond with Stretto re
                                                same (.2); correspond with A. Dreisbach re
                                                solicitation questions (.2); review, analyze
                                                same (.9); correspond with E. Flynn re same
                                                (.2).
08/30/21 William Thompson                 10.10 Review, revise disclosure statement objection
                                                tracker (3.9); further revise same (3.0); revise
                                                reply re objections to the disclosure statement
                                                re same (2.4); correspond with A. Dreisbach,
                                                D. Gremling and B. Nakhaimousa re same
                                                (.8).
08/30/21 Chambliss Williams                3.80 Review, analyze plan modifications (.9);
                                                research, draft analysis re confirmation issues
                                                (2.9).
08/30/21 Aparna Yenamandra                 7.50 Attend standing advisor call (.5); telephone
                                                conferences with MB, K&E team re UCC
                                                settlement (.6); telephone conferences with D.
                                                Hunter, S. Serajeddini re disclosure statement
                                                (.9); review disclosure statement objections
                                                (1.0); telephone conference with K&E team re
                                                disclosure statement, scheduling reply (.7);
                                                review examiner motion (.4); revise proposed
                                                UCC letter (.2); revise disclosure statement
                                                hearing deck (2.1); correspond with K&E
                                                team re plan changes (.6); correspond with
                                                K&E team re examiner response (.5).
08/31/21 Maggie Alden                      0.50 Research re disclosure statement reply (.3);
                                                correspond with A. Dreisbach re same (.2).


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Date     Name                            Hours Description
08/31/21 Nicholas A. Binder               12.60 Review plan (.6); revise same (.8); correspond
                                                with K&E team re same (.6); telephone
                                                conference with K&E team re same (.6);
                                                analyze objections re disclosure statement
                                                (2.3); review disclosure statement (.6);
                                                analyze emergence, confirmation
                                                considerations (1.4); draft talking points re
                                                same (2.3); review presentation re same (.3);
                                                review disclosure statement reply brief,
                                                exhibit (2.8); correspond with D. Hunter re
                                                same (.2); telephone conference with EHP,
                                                K&E team re emergence considerations, plan
                                                process (.1).
08/31/21 Simon Briefel                     7.70 Review, revise, comment on disclosure
                                                statement presentation (1.9); correspond with
                                                D. Hunter, K&E team re same (.9); analyze
                                                objections to scheduling motion (.6); review,
                                                revise omnibus disclosure statement reply
                                                (2.6); analyze issues re same (.5); correspond
                                                with B. Nakhaimousa, K&E team re same
                                                (1.2).
08/31/21 Seth A. Brimley                   2.50 Correspond with B. Nakhaimousa re
                                                disclosure statement objection chart (.2);
                                                review and revise same (2.3).
08/31/21 Seth A. Brimley                   2.30 Correspond with B. Nakhaimousa re plan
                                                issue (.1); research same (1.4); revise
                                                omnibus reply in support of disclosure
                                                statement (.2); correspond with B.
                                                Nakhaimousa re research (.1); research and
                                                review precedent re disclosure statement issue
                                                (.5).
08/31/21 Mariel Brookins                   6.50 Draft plan related motion (3.1); revise same
                                                (2.3); draft proposed order (1.1).
08/31/21 Annie Laurette Dreisbach         15.90 Review and revise reply in support of
                                                disclosure statement (3.9); research and
                                                analyze issues re same (3.9); review and
                                                revise objection chart re same (3.9);
                                                correspond with D. Hunter and K&E team re
                                                same (.6); review and analyze disclosure
                                                statement amendments re same (2.3);
                                                telephone conference with D. Hunter and
                                                office of the U.S. Trustee re disclosure
                                                statement objection (.5); prepare reply and
                                                objection chart for filing (.8).



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Date     Name                            Hours Description
08/31/21 Dave Gremling                    15.40 Revise disclosure statement (3.5); revise
                                                disclosure statement order (3.1); correspond
                                                with K&E team re same (2.7); revise
                                                disclosure statement hearing presentation
                                                (3.9); correspond with K&E team re same
                                                (1.6); analyze issues re solicitation (.6).
08/31/21 Derek I. Hunter                  14.60 Review, analyze, and revise disclosure
                                                statement re DS objection resolutions (2.3);
                                                conference with K&E team re same (.5);
                                                revise disclosure statement order re same
                                                (2.9); negotiate same with creditor counsel
                                                (.6); correspond with K&E team re same
                                                (1.7); review, analyze, and revise disclosure
                                                statement hearing presentation (1.9);
                                                correspond with K&E team re same (.8);
                                                analyze issues re solicitation (.6); correspond
                                                with K&E team re same (.9); review, analyze,
                                                and revise DS reply (2.4).
08/31/21 Jason T. Jarvis                   3.90 Draft summary memorandum re disclosure
                                                statement hearing (2.2); review, revise
                                                summary memorandum re same (1.7).
08/31/21 Tyler R. Knutson                  1.60 Review and revise disclosure statement
                                                hearing presentation.
08/31/21 Michael Lemm                      3.20 Draft talking points re disclosure statement
                                                hearing (2.4); review objections re disclosure
                                                statement (.8).
08/31/21 Brian Nakhaimousa                11.40 Revise notices of amended disclosure
                                                statement, amended plan, and amended
                                                disclosure statement order (.9); review, revise
                                                disclosure statement order and exhibits (2.8);
                                                prepare disclosure statement order for filing
                                                (.3); draft talking points re disclosure
                                                statement hearing (3.9); review revise same
                                                (2.1); correspond with D. Hunter, D.
                                                Gremling, W. Thompson re same (.3); review,
                                                revise disclosure statement hearing
                                                presentation (.7); correspond with D.
                                                Gremling re same (.2); correspond with S.
                                                Briefel re disclosure statement issue (.1);
                                                research same (.1).
08/31/21 Shawn OHargan, P.C.               0.30 Telephone conference with advisor group re
                                                emergence.
08/31/21 David L. Perechocky               0.20 Telephone conference with Elvinger re plan
                                                negotiations.


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Date     Name                            Hours Description
08/31/21 Samuel J. Seneczko                9.50 Correspond with K&E team re talking points
                                                (.2); correspond with A. Yenamandra, D.
                                                Hunter re plan revisions (.4); analyze same
                                                (1.0); correspond with N. Binder re plan
                                                revisions (.3); correspond with PJT, A&M
                                                teams re plan issues (.2); telephone
                                                conference with N. Binder re same (.6); revise
                                                disclosure statement re comments (4.0);
                                                correspond with D. Hunter, K&E team re
                                                same (.6); correspond with A&M team re
                                                same (.3); telephone conference with A&M re
                                                disclosure statement (.2); analyze plan
                                                support agreement (.4); correspond with K&E
                                                team, S. Briefel re same (1.3).
08/31/21 Steven N. Serajeddini, P.C.       7.90 Correspond and telephone conference with
                                                K&E team, advisors, Company re plan issues
                                                (.9); review and analyze analysis re same
                                                (1.4); conferences with K&E team re DS
                                                hearing, presentation re same (1.8); review,
                                                analyze, and comment on hearing
                                                presentation (2.5); prepare talking points re
                                                same (1.3).
08/31/21 Benjamin P. Stone                 4.30 Review, revise disclosure statement order
                                                (.9); review, revise exhibits re same (1.9);
                                                compile same (.3); review, analyze notice re
                                                same (.5); correspond with B. Nakhaimousa
                                                re same (.3); correspond with D. Hunter re
                                                same (.2); correspond with D. Gremling re
                                                PSA holdings (.2).
08/31/21 William Thompson                 11.50 Review, revise disclosure statement
                                                objections chart (2.4); revise and compile
                                                disclosure statement hearing talking points
                                                (3.4); telephone conference with U.S. Trustee
                                                re objections to disclosure statement (.7);
                                                research plan issue (1.8); review, review
                                                disclosure statement presentation (2.6);
                                                correspond with A. Yenamandra, S.
                                                Serajeddini, and M. Slade re disclosure
                                                statement hearing (.6).
08/31/21 Gary M. Vogt                      0.70 Review, coordinate remote arrangements re
                                                disclosure statement, pretrial conference.




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08/31/21 Eric J. Wendorf                  2.40 Revise disclosure statement presentation
                                               (1.1); correspond with D. Gremling re same
                                               (.2); review, revise disclosure statement
                                               objection tracker (.7); review objections to
                                               disclosure statement (.4).
08/31/21 Chambliss Williams               3.90 Review, revise disclosure statement hearing
                                               presentation.
08/31/21 Aparna Yenamandra                8.90 Attend standing advisor update call (.6); draft
                                               talking points re disclosure statement hearing
                                               (2.1); revise omnibus reply (1.8); review and
                                               revise disclosure statement, plan (.9);
                                               correspond re communications updates (.4);
                                               correspond re plan and disclosure statement
                                               changes, objections and confirmation
                                               schedule (2.1); telephone conference with
                                               K&E, UCC counsel re next steps (.5);
                                               correspond with same re same (.5).
08/31/21 Donna Zamir                      2.60 Review, revise presentation for disclosure
                                               statement hearing (2.2); correspond with D.
                                               Gremling, K&E team re same (.4).

Total                                  3,068.50




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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050015
                                                                               Client Matter: 48457-5

In the Matter of Financing and Cash Collateral




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 264,452.50
Total legal services rendered                                                                                $ 264,452.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:       48457-5
Financing and Cash Collateral




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Bill Arnault                                          1.30   1,245.00          1,618.50
Peter Bang                                            8.90   1,070.00          9,523.00
Laura Bielinski                                      45.10   1,155.00         52,090.50
Nicholas A. Binder                                   24.40     875.00         21,350.00
Simon Briefel                                        27.70     995.00         27,561.50
Chad Davis                                           37.70   1,215.00         45,805.50
Erik Hepler                                           0.10   1,495.00            149.50
Derek I. Hunter                                      22.10   1,125.00         24,862.50
Aleschia D. Hyde                                      5.30     745.00          3,948.50
Joe Morley                                            1.90     925.00          1,757.50
Brian Nakhaimousa                                     3.80     765.00          2,907.00
Aisha M. Noor                                         1.00   1,070.00          1,070.00
Robert Orren                                          0.30     460.00            138.00
Laura Saal                                            2.10     460.00            966.00
Anthony Vincenzo Sexton                               0.60   1,325.00            795.00
Benjamin P. Stone                                     3.20     765.00          2,448.00
William Thompson                                      0.30     765.00            229.50
Andy Veit, P.C.                                       0.50   1,405.00            702.50
Eric J. Wendorf                                      42.70     765.00         32,665.50
Chambliss Williams                                   30.90     875.00         27,037.50
Aparna Yenamandra                                     3.60   1,195.00          4,302.00
Donna Zamir                                           3.30     765.00          2,524.50

TOTALS                                              266.80                 $ 264,452.50




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                                  Description of Legal Services

Date     Name                            Hours Description
08/01/21 Bill Arnault                     0.20 Review DIP analysis.
08/01/21 Nicholas A. Binder               2.20 Review, analyze precedent re DIP financing
                                               considerations (2.1); correspond with B.
                                               Nakhaimousa, K&E team re same (.1).
08/01/21 Derek I. Hunter                  0.60 Correspond with K&E team, PJT re DIP-
                                               related analysis and negotiations.
08/01/21 Brian Nakhaimousa                0.10 Correspond with N. Binder re DIP pleadings.
08/02/21 Nicholas A. Binder               2.30 Analyze considerations re DIP financing (.8);
                                               telephone conference with PJT, K&E team re
                                               same (.3); review precedent pleadings re same
                                               (.4); correspond with K&E team re same (.3);
                                               telephone conference with D. Hunter re DIP
                                               financing, plan process (.5).
08/02/21 Chad Davis                       0.70 Revise loan agreement amendment (.5);
                                               review updated DIP proposals (.2).
08/02/21 Derek I. Hunter                  3.20 Telephone conference with Debtor and
                                               creditor advisors re DIP financing
                                               considerations (.5); review, analyze materials
                                               re same (1.2); correspond with K&E team re
                                               same, next steps (.4); review, analyze draft
                                               definitive documents re same (1.1).
08/02/21 Brian Nakhaimousa                1.80 Telephone conference with E. Wendorf, D.
                                               Zamir, W. Thompson, B. Stone re DIP
                                               pleadings (.5); conference with N. Binder re
                                               same (.2); review, precedent re same (.5);
                                               review revise pleadings (.6).
08/02/21 Laura Saal                       2.10 Research precedent re DIP financing
                                               considerations (1.9); correspond with B.
                                               Nakhaimousa re same (.2).
08/02/21 Benjamin P. Stone                0.40 Conference with E. Wendorf, D. Zamir, W.
                                               Thompson, B. Nakhaimousa re DIP
                                               refinancing motion.
08/02/21 William Thompson                 0.30 Conference with B. Nakhaimousa re DIP
                                               research.
08/02/21 Eric J. Wendorf                  4.40 Review, revise DIP refinancing motion (.6);
                                               review, revise term sheet re same (1.2);
                                               telephone conference with B. Nakhaimousa,
                                               K&E working group re same (.3); draft
                                               revised DIP order (2.3).



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Date     Name                            Hours Description
08/02/21 Aparna Yenamandra                0.50 Correspond with KE team re DIP credit
                                               agreement.
08/02/21 Donna Zamir                      1.50 Correspond with E. Wendorf, K&E team re
                                               DIP related issues (.5); telephone conference
                                               with same re same (.4); review materials re
                                               same (.6).
08/03/21 Nicholas A. Binder               2.20 Correspond with K&E team re DIP financing
                                               workstreams (.2); analyze DIP financing
                                               pleadings precedent (1.2); revise DIP
                                               financing pleadings (.8).
08/03/21 Chad Davis                       1.50 Review updated DIP proposals (.6); review
                                               and revise loan agreement amendment (.7);
                                               correspond with Debtor re same (.2).
08/03/21 Derek I. Hunter                  1.20 Review, analyze, and revise DIP pleadings;
                                               correspond with K&E team, PJT re same,
                                               related analyses.
08/03/21 Eric J. Wendorf                  4.60 Review, revise DIP order (2.1); telephone
                                               conference with N. Binder re same (.2);
                                               review, revise term sheet re same (2.3).
08/03/21 Chambliss Williams               6.30 Review, analyze materials re DIP facility
                                               issues (3.4); review, analyze precedent re
                                               same (2.9).
08/03/21 Aparna Yenamandra                0.30 Telephone conference with Akin re DIP.
08/03/21 Donna Zamir                      0.30 Correspond with E. Wendorf, K&E team re
                                               DIP related issues.
08/04/21 Bill Arnault                     1.10 Review DIP analysis (.5); correspond with D.
                                               Hunter re same (.6).
08/04/21 Peter Bang                       1.20 Prepare for conference with K&E team re DIP
                                               refinancing (.1); participate in same (.5);
                                               prepare correspondence to U.K. team,
                                               Gibraltar and Bermuda counsel re DIP
                                               refinancing deliverables (.6).
08/04/21 Laura Bielinski                  0.70 Prepare for conference with K&E team re DIP
                                               (.1); attend same (.5); review loan documents
                                               (.1).
08/04/21 Nicholas A. Binder               5.60 Draft, revise DIP financing pleadings (3.8);
                                               correspond with K&E team re same (.5);
                                               review documents and materials re same (.8);
                                               telephone conference with K&E team re same
                                               (.5).
08/04/21 Chad Davis                       0.90 Review, analyze existing guarantor
                                               arrangements.


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Date     Name                            Hours Description
08/04/21 Derek I. Hunter                  1.20 Review, analyze, and revise DIP pleadings
                                               (.7); correspond with K&E team, PJT, and
                                               A&M re same, related considerations (.5).
08/04/21 Brian Nakhaimousa                1.70 Review, revise DIP pleadings, declarations.
08/04/21 Robert Orren                     0.30 Correspond with N. Binder re precedent re
                                               board resolutions.
08/04/21 Benjamin P. Stone                2.80 Further review, revise board presentation re
                                               DIP financing considerations.
08/04/21 Eric J. Wendorf                  4.40 Correspond with N. Binder re DIP motion
                                               (.5); telephone conference with same re same
                                               (.2); telephone conference with B.
                                               Nakhaimousa re same (.1); review, revise DIP
                                               motion, related pleadings (3.3); correspond
                                               with A. Yenamandra, A. Grossi re same (.3).
08/04/21 Chambliss Williams               7.50 Review, analyze materials re DIP facility
                                               issues, considerations (3.6); research re same
                                               (3.9).
08/04/21 Donna Zamir                      1.20 Correspond with N. Binder, K&E team re DIP
                                               related issues (.3); review materials re same
                                               (.9).
08/05/21 Peter Bang                       0.10 Correspond with U.K. team on U.K.
                                               deliverables re DIP refinancing.
08/05/21 Laura Bielinski                  1.20 Telephone conference with K&E team re DIP
                                               financing (.4); prepare for same (.2); review
                                               loan documents (.6).
08/05/21 Nicholas A. Binder               0.60 Telephone conference with K&E team re DIP
                                               financing (.4); prepare for same (.2).
08/05/21 Chad Davis                       0.70 Review DIP upsize/refinancing materials (.5);
                                               correspond with Company re loan amendment
                                               question (.2).
08/05/21 Aisha M. Noor                    0.50 Telephone conference with K&E team re DIP
                                               financing.
08/05/21 Eric J. Wendorf                  1.70 Revise DIP order (1.3); correspond with N.
                                               Binder re same (.2); telephone conference
                                               with same re same (.2).
08/05/21 Chambliss Williams               9.40 Research re DIP facility issues (3.7);
                                               correspond with N. Binder and D. Zamir re
                                               same (1.8); further research re same (3.9).
08/05/21 Donna Zamir                      0.30 Correspond with N. Binder, C. Williams re
                                               DIP related issues.
08/06/21 Laura Bielinski                  0.80 Draft, revise DIP refinancing checklist.



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Date     Name                            Hours Description
08/06/21 Nicholas A. Binder               2.10 Revise DIP financing pleadings (1.9);
                                               correspond with E. Wendorf re same (.1);
                                               correspond with K&E team re same (.1).
08/06/21 Chad Davis                       0.20 Review DIP term sheet.
08/06/21 Derek I. Hunter                  0.20 Correspond with K&E team, PJT re status of
                                               DIP negotiations.
08/06/21 Eric J. Wendorf                  2.20 Review, revise DIP order (1.6); review DIP
                                               refinancing motion (.3); correspond with N.
                                               Binder re same (.2); correspond with D.
                                               Hunter re same (.1).
08/06/21 Chambliss Williams               7.70 Research re DIP facility issues (3.8); draft
                                               chart summarizing cases re same (3.9).
08/09/21 Laura Bielinski                  0.80 Review DIP refinancing motion; (.4) review,
                                               revise checklist re same (.4).
08/09/21 Chad Davis                       1.00 Telephone conference with working group re
                                               DIP.
08/09/21 Aisha M. Noor                    0.10 Review, revise DIP refinancing motion.
08/09/21 Eric J. Wendorf                  0.20 Correspond with N. Binder re DIP (.1);
                                               review correspondence re same (.1).
08/10/21 Chad Davis                       0.40 Participate in conference with Debtor advisors
                                               re DIP related issues and considerations.
08/10/21 Aleschia D. Hyde                 5.30 Review DIP documents re privilege issues.
08/10/21 Aparna Yenamandra                0.40 Telephone conference with PJT re DIP (.4).
08/11/21 Chad Davis                       0.20 Participate in conference with Debtor advisors
                                               re DIP related issues and considerations.
08/11/21 Eric J. Wendorf                  0.70 Correspond with B. Nakhaimousa re DIP
                                               order (.1); analyze same (.2); correspond with
                                               D. Hunter re same (.4).
08/12/21 Chad Davis                       0.70 Participate in conference with Debtor advisors
                                               re DIP related issues and considerations.
08/13/21 Chad Davis                       2.50 Review related DIP documents.
08/14/21 Chad Davis                       0.80 Review DIP related documents (.4); telephone
                                               conference with K&E team re same (.4).
08/16/21 Chad Davis                       0.20 Participate in telephone conference with K&E
                                               team re DIP workstream, next steps.
08/18/21 Chad Davis                       0.20 Participate in telephone conference with K&E
                                               team re DIP workstream, next steps.
08/20/21 Laura Bielinski                  1.10 Draft and revise DIP related documents.
08/20/21 Chad Davis                       0.60 Review, analyze DIP credit agreement.
08/21/21 Anthony Vincenzo Sexton          0.10 Review DIP and exit financing issues.


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Date     Name                            Hours Description
08/24/21 Peter Bang                       1.10 Review, analyzeDIP refinancing proposal
                                               (.3);revise DIP credit agreement (.8).
08/24/21 Laura Bielinski                  3.20 Draft, revise K&E opinion re DIP (1.5); draft,
                                               revise ancillary DIP documents (1.7).
08/24/21 Andy Veit, P.C.                  0.50 Telephone conference P. Bang, C. Davis re
                                               DIP issues and considerations.
08/25/21 Peter Bang                       3.90 Revise DIP credit agreement (2.7); prepare
                                               for telephone conference with Akin and Jones
                                               Day teams re refinancing (.2); participate in
                                               same (.3); participate in telephone conference
                                               with A. Veit and C. Davis re refinancing term
                                               sheet, DIP issues and considerations(.5);
                                               prepare for same (.2).
08/25/21 Laura Bielinski                  6.10 Prepare for telephone conference with
                                               creditor advisors re DIP financing (.3); attend
                                               same (.3); draft, review and revise officer’s
                                               certificates (2.8); draft, review, revise board
                                               resolutions (2.0); draft, review, revise,
                                               perfection certificate (.7).
08/25/21 Nicholas A. Binder               6.30 Telephone conference with creditor advisors
                                               re DIP financing (.3); analyze considerations
                                               re same (1.0); draft, revise term sheet re same
                                               (1.7); telephone conference with S. Briefel re
                                               same (.4); draft, revise pleadings re same
                                               (2.3); telephone conference with E. Wendorf
                                               re same (.3); correspond with K&E team re
                                               same (.3).
08/25/21 Simon Briefel                    2.60 Telephone conference with K&E team, Jones
                                               Day, Akin re DIP upsize (.5); correspond with
                                               N. Binder, K&E team re same (1.1); review,
                                               revise motion re same (1.0).
08/25/21 Chad Davis                       5.50 Telephone conference with creditor advisors
                                               re DIP financing (.5); review, analyze DIP
                                               credit agreement (3.9); review, analyze
                                               original DIP documents (1.1).
08/25/21 Erik Hepler                      0.10 Correspond with P. Bang re DIP financing
                                               issues and considerations.
08/25/21 Derek I. Hunter                  2.10 Telephone conference with Debtor and
                                               creditor advisors re DIP financing
                                               considerations (.4); review, analyze materials
                                               re same; correspond with K&E team re same,
                                               next steps (1.0); review, analyze draft
                                               definitive documents re same (.7).


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Date     Name                            Hours Description
08/25/21 Aisha M. Noor                    0.40 Telephone conference with Debtor and
                                               creditor advisors re DIP financing
                                               considerations.
08/25/21 Eric J. Wendorf                  7.70 Review, revise DIP term sheet (3.7); revise
                                               DIP motion (2.4); correspond with PJT, K&E
                                               debt finance team, D. Hunter re DIP issues
                                               (.6); correspond with A. Yenamandra re same
                                               (.2); correspond with J. Luze, C. Husnick re
                                               same (.1); telephone conferences with N.
                                               Binder re same (.3); telephone conference
                                               with creditors re same (.4).
08/26/21 Peter Bang                       0.30 Correspond with Akin Gump and Bank of
                                               America re prepetition lender registry.
08/26/21 Laura Bielinski                  5.10 Draft, corporate authority documents,
                                               perfection certificate, opinion, and checklist
                                               (3.9); review and revise (1.2).
08/26/21 Nicholas A. Binder               1.70 Review, revise DIP order (1.4); correspond
                                               with K&E team re same (.3).
08/26/21 Simon Briefel                    5.30 Review, revise, comment on DIP motion,
                                               order, term sheet (3.5); correspond with D.
                                               Hunter, N. Binder re same (1.0); analyze
                                               issues re same (.8).
08/26/21 Chad Davis                       5.50 Correspond with creditor advisors re DIP
                                               refinancing (.6); review and revise new DIP
                                               term sheet (2.9); review and revise board
                                               resolutions and officer’s certificates (2.0).
08/26/21 Derek I. Hunter                  2.40 Telephone conference with A. Yenamandra,
                                               Debtor and creditor advisors re DIP financing
                                               considerations (.4); review, analyze materials
                                               re same (.8); correspond with K&E team re
                                               same, next steps (.4); review, analyze draft
                                               definitive documents re same (.8).
08/26/21 Eric J. Wendorf                  5.80 Revise DIP order (1.6); revise motion re same
                                               (3.8); correspond with S. Briefel re same (.3);
                                               correspond with PJT re same (.1).
08/26/21 Aparna Yenamandra                0.70 Review amended DIP order and telephone
                                               conference with D. Hunter re same (.7).
08/27/21 Peter Bang                       1.30 Discuss legal opinions requirements for
                                               refinancing (.3); correspond with K&E team
                                               re intercompany subordination agreement and
                                               authorizing resolutions re same (.8);
                                               conference with K&E team re issues re DIP-
                                               related analysis (.2).


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Date     Name                            Hours Description
08/27/21 Laura Bielinski                  3.90 Draft, review, and revise debt documents.
08/27/21 Simon Briefel                    1.90 Telephone conference with K&E team, PJT,
                                               A&M re DIP-related analysis, next steps
                                               (1.0); review, revise DIP term sheet, DIP
                                               order (.6); correspond with creditor advisors
                                               re same (.3).
08/27/21 Chad Davis                       2.90 Telephone conference with K&E team, PJT,
                                               A&M re DIP-related analysis, next steps (.9);
                                               review and revise new DIP term sheet (1.0);
                                               review and revise board resolutions (1.0).
08/27/21 Derek I. Hunter                  1.70 Telephone conference with K&E team, PJT,
                                               A&M re DIP-related analysis, next steps (.9);
                                               correspond with K&E team, A&M re DIP
                                               related inquiries (.3); review, analyze and
                                               revise analysis re same (.5).
08/27/21 Eric J. Wendorf                  2.00 Correspond with A&M re DIP-related issues
                                               and considerations, revise pleadings re same.
08/28/21 Simon Briefel                    4.10 Review, comment on DIP term sheet, motion,
                                               order (3.1); correspond with E. Wendorf,
                                               K&E team re same (1.0).
08/28/21 Chad Davis                       0.50 Review new DIP term sheet re question from
                                               Akin.
08/28/21 Derek I. Hunter                  1.40 Review, analyze, and revise DIP pleadings
                                               (1.0); correspond with K&E team, PJT, and
                                               A&M re same, related considerations (.4).
08/28/21 Aparna Yenamandra                0.40 Review DIP motion.
08/29/21 Laura Bielinski                  0.60 Correspond with B. Nakhaimousa re DIP
                                               resolutions.
08/29/21 Simon Briefel                    4.30 Review, revise DIP term sheet, order, motion
                                               (3.4); correspond with K&E team, creditor
                                               advisors (.3); analyze issues re same (.6).
08/29/21 Chad Davis                       1.20 Review DIP term sheet and correspond with
                                               Akin re same.
08/29/21 Derek I. Hunter                  2.10 Review, analyze, and revise DIP definitive
                                               documents (1.4); conference with K&E team,
                                               Debtor advisors re same (.5); correspond with
                                               K&E team re related precedent (.2).
08/29/21 Brian Nakhaimousa                0.20 Correspond with S. Briefel, L. Bielinkski re
                                               DIP board resolutions.
08/29/21 Anthony Vincenzo Sexton          0.30 Review replacement DIP term sheet.




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Date     Name                            Hours Description
08/29/21 Eric J. Wendorf                  1.60 Revise DIP term sheet (.4); research
                                               precedent re same (.7); correspond with D.
                                               Hunter, S. Briefel re same (.2); revise DIP refi
                                               motion re A&M edits (.3).
08/29/21 Aparna Yenamandra                0.90 Correspond with working group re DIP.
08/30/21 Peter Bang                       1.00 Review, revise DIP pleadings (.1); correspond
                                               with K&E, creditor teams re same (.9).
08/30/21 Laura Bielinski                  9.30 Draft, review and revise officer’s certificates
                                               (2.3); draft, review, revise board resolutions
                                               (2.3); draft, review, revise, perfection
                                               certificate (2.1); review subsidiary
                                               organizational documents (2.6).
08/30/21 Simon Briefel                    9.50 Review, revise, comment on DIP term sheet,
                                               order (3.3); analyze issues re same (.7);
                                               review, revise, comment on DIP motion (3.6);
                                               correspond with E. Wendorf, D. Hunter re
                                               same (1.0); analyze issues re same (.9).
08/30/21 Chad Davis                       6.80 Review, revise new DIP term sheet (.9);
                                               review, revise credit agreement (4.5);
                                               conference with Davis Polk re DIP-related
                                               considerations (.4); correspond with Debtor re
                                               question DIP issue (.2); review DIP
                                               documents (.8).
08/30/21 Derek I. Hunter                  5.20 Telephone conference with A. Yenamandra,
                                               K&E team, PJT, A&M re DIP-related
                                               analysis, next steps (.4); correspond with
                                               K&E finance team, A&M re DIP related
                                               inquiries (1.4); review, analyze and revise
                                               analysis re same; telephone conference with
                                               lenders re DIP considerations (3.4).
08/30/21 Joe Morley                       1.90 Review and analyze re-financing documents
                                               (1.5); correspond with K&E team re re-
                                               financing documents (.4).
08/30/21 Anthony Vincenzo Sexton          0.20 Review and analyze DIP term sheet.
08/30/21 Eric J. Wendorf                  7.40 Review, revise DIP refinancing order (4.0);
                                               revise motion re same (1.4); prepare same for
                                               filing (1.6); correspond with S. Briefel re
                                               same (.3); correspond with Kutak re same
                                               (.1).
08/30/21 Aparna Yenamandra                0.40 Telephone conference with D. Hunter re DIP.




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Date     Name                            Hours Description
08/31/21 Laura Bielinski                  12.30 Review and revise corporate authority
                                                documents (10.2); correspond with working
                                                group re lien searches, schedules, and exhibits
                                                (2.1).
08/31/21 Nicholas A. Binder                1.40 Review DIP credit agreement (1.2);
                                                correspond with K&E team re same (.2).
08/31/21 Chad Davis                        4.30 Draft security agreement (.4); review
                                                perfection certificate and other deliverables
                                                (2.1); revise credit agreement (1.4);
                                                correspond with Davis Polk, Company re DIP
                                                issue (.4).
08/31/21 Chad Davis                        0.40 Review loan agreement and correspond with
                                                Company re same.
08/31/21 Derek I. Hunter                   0.80 Telephone conference with K&E finance
                                                team, A&M, PJT re DIP analysis, next steps.

Total                                   266.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050016
                                                                               Client Matter: 48457-7

In the Matter of Section 363 Issues




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 2,494.00
Total legal services rendered                                                                                   $ 2,494.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Section 363 Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Francois Capoul                                      0.50      760.00            380.00
Michael S. Casey                                     0.80    1,255.00          1,004.00
Derek I. Hunter                                      0.30    1,125.00            337.50
Marcus Thompson                                      0.50    1,545.00            772.50

TOTALS                                                2.10                    $ 2,494.00




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Intelsat S.A.                                                 Matter Number:       48457-7
Section 363 Issues


                                  Description of Legal Services

Date     Name                            Hours Description
08/03/21 Derek I. Hunter                  0.10 Correspond with K&E team, Company re
                                               potential 363 transaction and related
                                               consideration.
08/05/21 Derek I. Hunter                  0.20 Correspond with K&E team, Company re 363
                                               transaction and related analysis.
08/13/21 Marcus Thompson                  0.50 Telephone conference with A. Shourie, K&E
                                               team re national security issues re to potential
                                               transaction.
08/16/21 Michael S. Casey                 0.50 Review and revise memorandum re national
                                               security issues re to potential transaction.
08/19/21 Michael S. Casey                 0.30 Revise memorandum re national security
                                               issues re potential transaction.
08/25/21 Francois Capoul                  0.50 Correspond with M. Engel re international
                                               compliance issues.

Total                                      2.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050017
                                                                               Client Matter: 48457-8

In the Matter of Executory Contracts and Unexpired Leases




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 32,491.50
Total legal services rendered                                                                                  $ 32,491.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050017
Intelsat S.A.                                                 Matter Number:       48457-8
Executory Contracts and Unexpired Leases




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Annie Laurette Dreisbach                             0.70      995.00            696.50
Dave Gremling                                        5.30      875.00          4,637.50
Jason T. Jarvis                                      8.40      765.00          6,426.00
Tyler R. Knutson                                     4.80      765.00          3,672.00
Brian Nakhaimousa                                    0.80      765.00            612.00
Benjamin P. Stone                                    3.90      765.00          2,983.50
William Thompson                                     5.30      765.00          4,054.50
Eric J. Wendorf                                      3.90      765.00          2,983.50
Donna Zamir                                          8.40      765.00          6,426.00

TOTALS                                               41.50                   $ 32,491.50




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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050017
Intelsat S.A.                                                 Matter Number:       48457-8
Executory Contracts and Unexpired Leases


                                  Description of Legal Services

Date     Name                            Hours Description
08/02/21 Brian Nakhaimousa                0.80 Telephone conference with D. Zamir, B.
                                               Stone re executory contract issue (.6);
                                               correspond with K&E team, A&M re same
                                               (.2).
08/02/21 Benjamin P. Stone                3.90 Review, analyze executory contract re
                                               termination provisions (2.9); conference with
                                               D. Zamir, B Nakhaimousa re same (.6);
                                               correspond with M. Lemm, S. Seneczko re
                                               same (.2); correspond with A&M re same
                                               (.2).
08/09/21 Dave Gremling                    0.20 Analyze issues re executory contracts.
08/10/21 Dave Gremling                    1.50 Conferences with Company, D. Hunter, E.
                                               Wendorf, W. Thompson re executory contract
                                               issue (.5); correspond with K&E team,
                                               Company re same (.3); analyze issues re same
                                               (.7).
08/10/21 Jason T. Jarvis                  5.70 Correspond with D. Gremling, K&E team re
                                               executory contracts (.1); correspond with E.
                                               Wendorf, K&E team re same (.2); draft
                                               memorandum re same (1.0); research re same
                                               (.5); review, analyze same (3.2); telephone
                                               conferences with E. Wendorf and K&E team
                                               re same (.7).
08/10/21 Tyler R. Knutson                 3.70 Review and analyze agreements re certain
                                               assumption and rejection issues (3.3);
                                               correspond with D. Gremlin and K&E team re
                                               same (.4).
08/10/21 William Thompson                 2.40 Review, analyze contracts re rejection issues.
08/10/21 Eric J. Wendorf                  3.90 Review contracts re rejection issues (2.8);
                                               telephone conference with K&E team re same
                                               (.3); telephone conference with J. Jarvis re
                                               same (.2); correspond with J. Jarvis re same
                                               (.2); telephone conference with D. Gremling
                                               re same (.1); correspond with A&M re same
                                               (.3).
08/10/21 Donna Zamir                      4.50 Review Company contracts (2.6); analyze
                                               same (1.1); correspond with D. Gremling,
                                               K&E team re same (.8).
08/11/21 Dave Gremling                    1.60 Analyze issue re Company executory
                                               contracts.


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Intelsat S.A.                                                 Matter Number:       48457-8
Executory Contracts and Unexpired Leases

Date     Name                            Hours Description
08/11/21 Jason T. Jarvis                  2.70 Draft memorandum re contract damages (.9);
                                               research re same (.6); review, revise
                                               memorandum re same (.3); draft
                                               memorandum re executory contracts (.3);
                                               review, analyze same (.6).
08/11/21 Tyler R. Knutson                 1.10 Correspond with J. Jarvis re executory
                                               contracts research (.2); review memoranda re
                                               rejection damages (.9).
08/11/21 William Thompson                 2.90 Review, analyze customer contract re
                                               rejection issues.
08/11/21 Donna Zamir                      3.90 Review Company contracts (1.1); research re
                                               same (1.7); telephone conference with W.
                                               Thompson re same (.5); correspond with D.
                                               Gremling, K&E team re same (.6).
08/13/21 Annie Laurette Dreisbach         0.70 Review and analyze issues re contract
                                               rejection.
08/13/21 Dave Gremling                    2.00 Analyze issues re Company executory
                                               contracts (1.6); correspond with K&E team,
                                               A&M team, Company re same (.4).

Total                                    41.50




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                                                         New York, NY 10022

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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050018
                                                                               Client Matter: 48457-9

In the Matter of Business Operations




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 151,022.50
Total legal services rendered                                                                                $ 151,022.50




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Intelsat S.A.                                                 Matter Number:       48457-9
Business Operations




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          8.60     875.00          7,525.00
Nicholas A. Binder                                    2.40     875.00          2,100.00
Seth A. Brimley                                       5.30     625.00          3,312.50
Dave Gremling                                        24.60     875.00         21,525.00
Derek I. Hunter                                      13.40   1,125.00         15,075.00
Jason T. Jarvis                                      13.10     765.00         10,021.50
Brian Nakhaimousa                                    34.40     765.00         26,316.00
Laura Saal                                            0.40     460.00            184.00
Samuel J. Seneczko                                    8.60     875.00          7,525.00
Anthony Vincenzo Sexton                               0.40   1,325.00            530.00
Benjamin P. Stone                                     9.60     765.00          7,344.00
William Thompson                                     61.30     765.00         46,894.50
Laurent Victor-Michel                                 2.00   1,335.00          2,670.00

TOTALS                                              184.10                 $ 151,022.50




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Business Operations


                                  Description of Legal Services

Date     Name                            Hours Description
08/01/21 Derek I. Hunter                  1.90 Review, analyze draft motion in creditor
                                               matter (.8); correspond with K&E team re
                                               same (.4); conference with A&M re general
                                               operational inquiries and related analyses (.7).
08/01/21 Brian Nakhaimousa                4.30 Revise motion re customer's chapter 11 cases
                                               (2.0); revise letter re same (2.3).
08/01/21 Samuel J. Seneczko               3.40 Correspond with B. Nakhaimousa, W.
                                               Thompson re automatic stay, adequate
                                               assurance letter (.4); revise Russian Media
                                               Group letter re same (1.1); research precedent
                                               re same (1.1); analyze same (.8).
08/01/21 William Thompson                 4.30 Research re treatment of security deposits
                                               (3.3); revise letter re customer payment
                                               default (1.0).
08/02/21 Nicholas A. Binder               0.30 Conference with vendor re operational
                                               consideration (.2); correspond with Company
                                               re same (.1).
08/02/21 Dave Gremling                    0.20 Correspond with B. Nakhaimousa, K&E team
                                               re Russian Media Group bankruptcy.
08/02/21 Derek I. Hunter                  1.00 Correspond with Company, K&E team,
                                               Debtor advisors re status of operational
                                               issues, bankruptcy court order considerations
                                               re same (.3); review, analyze, and revise
                                               motion re potential creditor matter (.7).
08/02/21 Brian Nakhaimousa                4.70 Correspond with A&M, K&E team re
                                               customer's chapter 11 cases (.4); revise letter
                                               re same (2.3); revise motion re same (2.0).
08/02/21 Samuel J. Seneczko               1.30 Telephone conference with B. Nakhaimousa,
                                               W. Thompson re Russian Media Group
                                               contract, payment obligations (.6); analyze
                                               contract re same (.7).
08/02/21 William Thompson                 2.20 Correspond with D. Hunter re customer
                                               contract analysis (.5); revise motion re
                                               customer bankruptcy (1.4); correspond with
                                               D. Hunter and N. Hafen re conflicts process
                                               re customer bankruptcy (.3).
08/03/21 Maggie Alden                     1.50 Correspond with J. Jarvis, I. Clarke, D.
                                               Hunter, KE team re Phasor (.9); analyze
                                               issues re same (.6).



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Business Operations

Date     Name                            Hours Description
08/03/21 Nicholas A. Binder               0.30 Analyze vendor issue (.2); correspond with
                                               vendor counsel, Company re same (.1).
08/03/21 Derek I. Hunter                  1.30 Correspond with Company, K&E team,
                                               Debtor advisors re status of operational
                                               issues, bankruptcy court order considerations
                                               re to same (.6); review, analyze, and revise
                                               motion re potential creditor matter (.7).
08/03/21 Jason T. Jarvis                  1.20 Draft summary memorandum re equity
                                               interests, executory contract re bankrupt third
                                               party.
08/03/21 Brian Nakhaimousa                3.60 Correspond with Kekst re press coverage (.1);
                                               summarize issues re customer's chapter 11
                                               cases (1.1); revise motion re same (2.4).
08/03/21 Samuel J. Seneczko               1.20 Analyze issues re postpetition claim, interest
                                               (1.0); correspond with B. Nakhaimousa, W.
                                               Thompson re same (.2).
08/03/21 Benjamin P. Stone                0.20 Conference with Company, A&M re vendor
                                               issues.
08/03/21 William Thompson                 1.50 Draft declaration re customer bankruptcy
                                               case.
08/04/21 Maggie Alden                     0.60 Correspond with Company, advisor re
                                               operational consideration (.3); correspond
                                               with J. Jarvis re same (.3).
08/04/21 Nicholas A. Binder               0.10 Correspond with Company re vendor issue.
08/04/21 Brian Nakhaimousa                3.80 Draft declaration re customer's chapter 11
                                               pleadings (.6); research issue re customer's
                                               chapter 11 cases (3.0); correspond with S.
                                               Seneczko, W. Thompson re same (.2).
08/04/21 Samuel J. Seneczko               1.10 Analyze summary re postpetition claims,
                                               interest (.4); revise same (.4); correspond with
                                               B. Nakhaimousa, W. Thompson re same (.3).
08/04/21 William Thompson                 8.70 Further draft and revise declaration re
                                               customer bankruptcy (2.7); research treatment
                                               of interest re same (1.5); further research re
                                               security deposit treatment (3.6); correspond
                                               with D. Hunter re same (.9).
08/05/21 Maggie Alden                     0.50 Review documents re Phasor (.3); correspond
                                               with J. Jarvis re same (.2).
08/05/21 Nicholas A. Binder               0.50 Telephone conference with Company re
                                               vendor issue (.1); telephone conference with
                                               vendor counsel re same (.2); correspond with
                                               Company re same (.2).


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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050018
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Business Operations

Date     Name                            Hours Description
08/05/21 Derek I. Hunter                  0.40 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
08/05/21 Jason T. Jarvis                  0.30 Correspond with M. Alden, Kroll re equity
                                               interests, executory contract re customer.
08/05/21 Brian Nakhaimousa                0.80 Conference with W. Thompson re customer's
                                               chapter 11 cases (.2); correspond with L. Yale
                                               re pro hac vices re same (.1); review
                                               precedent re declaration re same (.3); research
                                               re issue re customer's chapter 11 cases (.2).
08/05/21 Samuel J. Seneczko               1.60 Correspond with B. Nakhaimousa, W.
                                               Thompson re RMG stay relief motion (.4);
                                               analyze declaration, motion re same (1.2).
08/05/21 William Thompson                 1.30 Correspond with D. Hunter re security deposit
                                               treatment (.1); further revise declaration re
                                               customer bankruptcy (1.2).
08/06/21 Maggie Alden                     1.10 Analyze contracts, documents re Phasor (.9);
                                               correspond with D. Hunter, J. Jarvis re same
                                               (.2).
08/06/21 Nicholas A. Binder               0.20 Conference with vendor counsel re vendor
                                               operational issue.
08/06/21 Derek I. Hunter                  0.80 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.5); review analysis re same (.3).
08/06/21 Jason T. Jarvis                  6.20 Correspond with D. Hunter, M. Alden re
                                               same (.2); review, analyze third party
                                               contracts (2.9); draft memorandum re equity
                                               interests in, contracts with third party (3.1).
08/06/21 Brian Nakhaimousa                1.90 Correspond with D. Hunter, W. Thompson re
                                               customer's chapter 11 cases (.3); review,
                                               revise declaration re same (1.6).
08/06/21 William Thompson                 2.00 Correspond with D. Hunter re security deposit
                                               treatment (.6); further revise declaration re
                                               customer bankruptcy (1.0); revise motion re
                                               same (.4).
08/07/21 Brian Nakhaimousa                0.10 Monitor customer's chapter 11 cases.
08/08/21 Maggie Alden                     0.50 Revise correspondence re case of interest (.4);
                                               correspond with J. Jarvis re same (.1).
08/08/21 Derek I. Hunter                  0.20 Correspond with K&E team re status of
                                               certain operational reporting.
08/08/21 Benjamin P. Stone                4.70 Analyze talking points re customer
                                               engagement issues (1.3); research same (1.8);
                                               review, revise chapter 11 text re same (1.6).

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Business Operations

Date     Name                            Hours Description
08/09/21 Maggie Alden                     0.50 Correspond with J. Jarvis re Phasor (.2);
                                               revise correspondence re same (.3).
08/09/21 Dave Gremling                    1.20 Analyze issues re Russian Media Group
                                               chapter 11 case (.7); revise motion re same
                                               (.5).
08/09/21 Derek I. Hunter                  2.20 Correspond with Company, K&E team,
                                               Debtor advisors re status of operational
                                               issues, bankruptcy court order considerations
                                               re to same (.4); telephone conference with
                                               K&E team re contract rejection considerations
                                               (.5); review, analyze analysis and materials re
                                               same, related operational analyses (1.3).
08/09/21 Jason T. Jarvis                  0.20 Correspond with M. Alden, D. Hunter,
                                               Company re equity interests in, contracts with
                                               third party.
08/09/21 Brian Nakhaimousa                0.60 Monitor customer’s chapter 11 cases (.1);
                                               correspond with D. Gremling, W. Thompson
                                               re motion re same (.5).
08/09/21 William Thompson                 0.10 Correspond with D. Gremling re customer
                                               bankruptcy updates.
08/10/21 Maggie Alden                     2.20 Review materials re case of interest (.7);
                                               research re same (.8); telephone conference
                                               with Company, J. Jarvis re same (.2);
                                               correspond with J. Jarvis re follow-up re same
                                               (.5).
08/10/21 Derek I. Hunter                  0.60 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.2); review analysis re same (.4).
08/10/21 Jason T. Jarvis                  0.60 Correspond with M. Alden, D. Hunter re
                                               equity interests in, contracts with third party
                                               (.3); telephone conferences with M. Alden,
                                               Company re same (.3).
08/10/21 Brian Nakhaimousa                0.80 Review, revise declaration re customer's
                                               chapter 11 cases pleadings (.7); correspond
                                               with W. Thompson, R. Orren re upcoming
                                               hearing re customer's chapter 11 cases (.1).
08/10/21 Benjamin P. Stone                2.60 Review, revise talking points re business
                                               engagement initiative (2.4); correspond with
                                               S. Briefel re same (.2).
08/10/21 William Thompson                 0.60 Review, revise motions re customer
                                               bankruptcy.




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Business Operations

Date     Name                            Hours Description
08/11/21 Dave Gremling                    2.40 Analyze issues re Russian Media Group
                                               chapter 11 case (.7); revise motion re same
                                               (1.7).
08/11/21 Derek I. Hunter                  0.20 Correspond with K&E team re status of
                                               certain operational reporting.
08/11/21 Brian Nakhaimousa                0.20 Correspond with D. Gremling, W. Thompson
                                               re customer's chapter 11 cases issue.
08/12/21 Maggie Alden                     0.90 Telephone conference with administrator, J.
                                               Jarvis re case of interest (.4); draft
                                               correspondence re update re same (.4);
                                               correspond with J. Jarvis re same (.1).
08/12/21 Dave Gremling                    1.40 Analyze issues re Russian Media Group
                                               chapter 11 case (1.1); correspond with K&E
                                               team re same (.3).
08/12/21 Derek I. Hunter                  0.30 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
08/12/21 Jason T. Jarvis                  1.70 Correspond with M. Alden re equity interests
                                               in, contracts with third party (.3); correspond
                                               with M. Alden, Kroll re same (.3); telephone
                                               conference with M. Alden re same (.2);
                                               telephone conference with M. Alden, Kroll re
                                               same (.3); review, analyze third party contract
                                               (.6).
08/12/21 Brian Nakhaimousa                0.50 Correspond with D. Gremling, W. Thompson,
                                               R. Orren re customer's chapter 11 cases (.2);
                                               conference with W. Thompson re same (.3).
08/12/21 William Thompson                 4.60 Revise customer bankruptcy motions (4.0);
                                               correspond with B. Nakhaimousa re same
                                               (.6).
08/13/21 Maggie Alden                     0.10 Correspond with Company re case of interest.
08/13/21 Dave Gremling                    1.30 Analyze issues re Russian Media Group
                                               chapter 11 case (.9); correspond with K&E
                                               team, Company re same (.4).
08/13/21 Derek I. Hunter                  1.70 Review, analyze analysis re creditor matter
                                               and potential issues associated with same (.8);
                                               correspond with K&E team re same (.3);
                                               conference with A&M re general operational
                                               inquiries and related analyses (.6).




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Business Operations

Date     Name                            Hours Description
08/13/21 Brian Nakhaimousa                1.00 Telephone conference with D. Gremling, W.
                                               Thompson re customer's chapter 11 cases
                                               considerations (.7); conference with W.
                                               Thompson re strategy re same (.2); review,
                                               revise motion re same (.1).
08/13/21 William Thompson                 6.70 Research re motion structure re customer
                                               bankruptcy (3.4); conference with B.
                                               Nakhaimousa, D. Gremling re same (.7);
                                               correspond with D. Gremling, B. Arnault,
                                               Company re same (2.6).
08/15/21 Derek I. Hunter                  1.30 Correspond with Company, K&E team,
                                               Debtor advisors re status of operational
                                               issues, bankruptcy court order considerations
                                               re same (.4); review, analyze, and revise
                                               motion re to potential creditor matter (.9).
08/16/21 Dave Gremling                    1.60 Analyze issues re Russian Media Group
                                               chapter 11 case (.9); revise motion re same
                                               (.7).
08/16/21 Brian Nakhaimousa                0.10 Correspond with D. Gremling, W. Thompson
                                               re customer's chapter 11 plan issues.
08/16/21 Benjamin P. Stone                0.50 Compile monthly operating reports (.3);
                                               correspond with vendor re same (.2).
08/16/21 William Thompson                 1.60 Review new filings in customer bankruptcy
                                               (1.3); correspond with R. Orren re 341
                                               transcript re customer's bankruptcy (.3).
08/17/21 Dave Gremling                    0.20 Analyze issues re Russian Media Group
                                               chapter 11 case.
08/17/21 Dave Gremling                    0.30 Analyze issues re Company vendors.
08/17/21 Brian Nakhaimousa                0.10 Correspond with D. Gremling, W. Thompson
                                               re customer's chapter 11 cases issues and
                                               strategies.
08/17/21 Benjamin P. Stone                0.40 Conference with D. Gremling, A&M,
                                               Company re vendor issue (.2); analyze
                                               correspondence re same (.2).
08/17/21 William Thompson                 0.40 Correspond with D. Gremling and D. Hunter
                                               re customer's bankruptcy updates.
08/18/21 Maggie Alden                     0.10 Correspond with J. Jarvis re Phasor.
08/18/21 Dave Gremling                    1.00 Analyze issues re Russian Media Group
                                               chapter 11 case and related Company claims.
08/18/21 Derek I. Hunter                  0.20 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.


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Intelsat S.A.                                                 Matter Number:       48457-9
Business Operations

Date     Name                            Hours Description
08/18/21 Brian Nakhaimousa                0.20 Correspond with W. Thompson re customer's
                                               chapter 11 issues.
08/18/21 Anthony Vincenzo Sexton          0.40 Telephone conference with A&M and B.
                                               Arnault re C-band issues (.3); telephone
                                               conference with B. Arnault re same (.1).
08/18/21 William Thompson                 2.60 Review, revise talking points re business
                                               engagement initiative (2.4); correspond with
                                               S. Briefel re same (.2).
08/19/21 Nicholas A. Binder               0.10 Correspond with Company re adequate
                                               protection payments.
08/19/21 Dave Gremling                    4.10 Prepare for and participate in hearing re
                                               Russian Media Group chapter 11 case.
08/19/21 Dave Gremling                    0.30 Analyze issues re Company vendor.
08/19/21 Brian Nakhaimousa                2.10 Review materials re customer's chapter 11
                                               cases (.1); conference with W. Thompson, D.
                                               Gremling re same (.2); partially
                                               telephonically attend customer's chapter 11
                                               case management conference (1.8).
08/19/21 William Thompson                 6.10 Telephonically attend customer's bankruptcy's
                                               case management conference (3.2);
                                               correspond with R. Orren, D. Gremling, and
                                               D. Hunter re pro hac vice motions re same
                                               (1.2); review docket entries re same (.9);
                                               correspond with Company re case
                                               management conference updates (.8).
08/20/21 Maggie Alden                     0.10 Correspond with J. Jarvis re Phasor.
08/20/21 Nicholas A. Binder               0.50 Analyze considerations re NDAs (.4);
                                               correspond with D. Hunter re same (.1).
08/20/21 Dave Gremling                    1.80 Conference with Russian Media Group
                                               counsel re RMG chapter 11 case (.7); analyze
                                               issues re same (1.1).
08/20/21 Jason T. Jarvis                  0.20 Correspond with M. Alden re equity interests
                                               in, contracts with third party.
08/20/21 Brian Nakhaimousa                2.70 Conference with customer's chapter 11 cases
                                               counsel re case issues (.8); conference with D.
                                               Gremling re same (.2); review, revise motion
                                               re same (.5); correspond with W. Thompson
                                               re same (.1); draft correspondence re same
                                               (1.0); review other chapter 11 cases materials
                                               (.1).




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Intelsat S.A.                                                 Matter Number:       48457-9
Business Operations

Date     Name                            Hours Description
08/20/21 William Thompson                 2.80 Telephone conference with customer's
                                               counsel re bankruptcy negotiations (.9);
                                               review, revise motion re customer's
                                               bankruptcy (1.2); correspond with D.
                                               Gremling and B. Nakhaimousa re customer's
                                               bankruptcy updates (.7).
08/20/21 Laurent Victor-Michel            1.00 Correspond re follow up on business
                                               considerations.
08/20/21 Laurent Victor-Michel            1.00 Telephone conference with buyers’ counsel re
                                               business considerations FDI.
08/21/21 Dave Gremling                    0.80 Analyze issues re Russian Media Group
                                               chapter 11 case.
08/22/21 Nicholas A. Binder               0.30 Analyze vendor issue (.2); correspond with
                                               vendor counsel re same (.1).
08/22/21 Dave Gremling                    0.70 Analyze issues re Russian Media Group
                                               chapter 11 case.
08/22/21 Benjamin P. Stone                0.60 Correspond with D. Gremling re vendor issue.
08/22/21 William Thompson                 0.80 Correspond with Company and A&M re
                                               motion for customer's bankruptcy.
08/23/21 Maggie Alden                     0.20 Correspond with J. Jarvis re Phasor.
08/23/21 Dave Gremling                    1.90 Analyze issues re Russian Media Group
                                               chapter 11 case (.4); analyze agreement
                                               proposal re same (1.5).
08/23/21 Derek I. Hunter                  0.30 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, creditor
                                               matters.
08/23/21 Jason T. Jarvis                  2.30 Correspond with M. Alden re third party
                                               contract (.1); research re same (.2); research
                                               re third party contract, intellectual property
                                               enforcement, corporate governance (2.0).
08/23/21 Benjamin P. Stone                0.40 Correspond with Company re vendor issue.
08/23/21 William Thompson                 2.10 Review, revise motion re customer's
                                               bankruptcy (1.7); correspond with D.
                                               Gremling re same (.4).
08/24/21 Dave Gremling                    0.70 Analyze issues re Russian Media Group draft
                                               agreement.
08/24/21 Brian Nakhaimousa                0.20 Review, revise motion re customer's chapter
                                               11 cases.




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Intelsat S.A.                                                 Matter Number:       48457-9
Business Operations

Date     Name                            Hours Description
08/24/21 William Thompson                 3.80 Review, revise motion re customer's
                                               bankruptcy re negotiations updates (1.2);
                                               correspond with D. Hunter and Company re
                                               same (.7); research local rules re notice re
                                               customer's bankruptcy (1.9).
08/25/21 Seth A. Brimley                  2.50 Review surety and indemnity agreements
                                               (1.3); correspond with N. Binder re same (.5);
                                               research surety assumption (.5); correspond
                                               with N. Binder re same (.2)
08/25/21 Dave Gremling                    2.50 Revise motion re Russian Media Group
                                               chapter 11 case (1.1); revise declaration re
                                               same (.8); analyze draft agreement re same
                                               (.6).
08/25/21 Derek I. Hunter                  0.40 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.2); review analysis re same (.2).
08/25/21 Brian Nakhaimousa                2.90 Correspond with R. Orren, W. Thompson re
                                               customer's chapter 11 cases (.2); review
                                               recently filed pleadings re same (.3);
                                               conference with D. Gremling re pleadings re
                                               customer's chapter 11 cases (.3); research
                                               issue re same (2.1).
08/25/21 William Thompson                 1.20 Conference with D. Hunter, D. Gremling, and
                                               B. Nakhaimousa re customer's bankruptcy
                                               (.5); review, revise motion re same (.7).
08/26/21 Seth A. Brimley                  2.80 Attend omnibus hearing in customer's chapter
                                               11 case (2.1); prepare and send omnibus
                                               hearing notes to B. Nakhaimousa (.5); prepare
                                               and send omnibus hearing notes to D.
                                               Gremling (.2).
08/26/21 Dave Gremling                    1.20 Conference with Company, K&E team re
                                               Russian Media Group chapter 11 case (.7);
                                               analyze issues re same (.5).
08/26/21 Dave Gremling                    0.50 Analyze issues re Latin American Airlines
                                               chapter 11 cases.
08/26/21 Derek I. Hunter                  0.60 Correspond with Company, A&M, and K&E
                                               team re certain operational inquiries, related
                                               research (.2); review analysis re same (.4).




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Intelsat S.A.                                                 Matter Number:       48457-9
Business Operations

Date     Name                            Hours Description
08/26/21 Brian Nakhaimousa                3.50 Attend conference with D. Hunter, D.
                                               Gremling, Company re customer's chapter 11
                                               cases (.4); correspond with D. Gremling, W.
                                               Thompson re same (.1); research issue re
                                               same (1.8); partially attend customer's chapter
                                               11 omnibus hearing (1.1); correspond with D.
                                               Gremling, S. Brimley re same (.1).
08/26/21 Laura Saal                       0.40 Telephone conference with court re motion
                                               for relief from stay (.2); correspond with W.
                                               Thompson re same (.2).
08/26/21 William Thompson                 4.70 Review, revise motion re customer's
                                               bankruptcy re negotiation updates and
                                               company directives (2.8); review, revise
                                               declaration re same (1.1); telephonically
                                               participate in customer bankruptcy hearing
                                               (.8).
08/27/21 Maggie Alden                     0.10 Telephone conference with J. Jarvis re
                                               Phasor.
08/27/21 Brian Nakhaimousa                0.20 Review, revise motion re customer's chapter
                                               11 cases.
08/27/21 William Thompson                 1.50 Further research local rules re notice re
                                               customer's bankruptcy.
08/29/21 Dave Gremling                    0.50 Analyze issues re Russian Media Group
                                               chapter 11 case.
08/30/21 Maggie Alden                     0.20 Revise draft correspondence re Phasor (.1);
                                               correspond with J. Jarvis re same (.1).
08/30/21 Nicholas A. Binder               0.10 Telephone conference with Company re
                                               vendor consideration.
08/30/21 Jason T. Jarvis                  0.40 Correspond with M. Alden re third party
                                               contract, intellectual property enforcement,
                                               corporate governance (.1); research re same
                                               (.3).
08/30/21 Brian Nakhaimousa                0.10 Review motion re customer's chapter 11
                                               cases.
08/30/21 William Thompson                 1.70 Review notice of motions in customer's
                                               bankruptcy (1.4); correspond with L. Saal re
                                               same (.3).
08/31/21 Benjamin P. Stone                0.20 Conference with D. Gremling, A&M,
                                               Company re vendor contract issues.

Total                                   184.10



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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050019
                                                                               Client Matter: 48457-10

In the Matter of Claims Administration




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 712,418.50
Total legal services rendered                                                                                $ 712,418.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:      48457-10
Claims Administration




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Toni M. Anderson                                      0.50     410.00            205.00
Bill Arnault                                          4.20   1,245.00          5,229.00
Maya Frazier                                          1.50     255.00            382.50
Julian Gamboa                                        48.60     430.00         20,898.00
Michael A. Glick                                     70.80   1,325.00         93,810.00
Dave Gremling                                         0.90     875.00            787.50
Abby Rose Hollenstein                                91.20     945.00         86,184.00
Derek I. Hunter                                       5.50   1,125.00          6,187.50
Cara Katrinak                                         4.40     875.00          3,850.00
Tyler R. Knutson                                     20.10     765.00         15,376.50
Emily Merki Long                                    132.90   1,080.00        143,532.00
Saunders McElroy                                     83.20     865.00         71,968.00
Emily A. Meraia                                       5.20     995.00          5,174.00
Robert Orren                                          1.20     460.00            552.00
Nicholas Perrone                                    112.40     350.00         39,340.00
Palmer Quamme                                         3.20     945.00          3,024.00
Samuel J. Seneczko                                    0.90     875.00            787.50
Benjamin P. Stone                                     5.60     765.00          4,284.00
Gary M. Vogt                                        108.90     460.00         50,094.00
Eric J. Wendorf                                      32.80     765.00         25,092.00
Chambliss Williams                                   11.40     875.00          9,975.00
Aparna Yenamandra                                     0.60   1,195.00            717.00
Jeffrey J. Zeiger, P.C.                              69.40   1,495.00        103,753.00
Lauren Zipp                                          83.20     255.00         21,216.00

TOTALS                                              898.60                 $ 712,418.50




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Intelsat S.A.                                                 Matter Number:      48457-10
Claims Administration


                                  Description of Legal Services

Date       Name                          Hours        Description
08/01/21   Julian Gamboa                  2.90        Revise summary judgment reply brief.
08/01/21   Emily Merki Long               1.00        Review Prince report backup.
08/01/21   Saunders McElroy               5.70        Designate deposition testimony of P.
                                                      Campbell for trial (2.4); designate deposition
                                                      testimony of B. Tolpegin for trial (3.3).
08/01/21 Nicholas Perrone                  3.50       Revise summary judgment reply brief (2.8);
                                                      compile precedent materials, exhibits re same
                                                      (.6); correspond with K&E team re same (.1).
08/01/21 Gary M. Vogt                      1.00       Review, revise summary judgment reply
                                                      brief.
08/02/21 Julian Gamboa                     1.50       Analyze summary judgment reply brief re
                                                      proposed redactions.
08/02/21 Michael A. Glick                  3.70       Review summary judgment reply brief (.7);
                                                      review transcript of Y. Bausch deposition to
                                                      prepare for trial (1.3); correspond with J.
                                                      O’Quinn re summary judgment hearing
                                                      preparation (.5); participate in conference
                                                      with E. Long and S. McElroy re summary
                                                      judgment hearing preparation (1.2).
08/02/21 Emily Merki Long                  6.20       Revise summary judgment reply brief (3.1);
                                                      analyze exhibits re same (.6); analyze final
                                                      compiled version re same (2.5).
08/02/21 Saunders McElroy                  7.80       Review and analyze deposition of Y. Bausch
                                                      (1.8); designate deposition testimony of Y.
                                                      Bausch for trial (3.4); revise summary
                                                      judgment reply brief (1.1); participate in
                                                      conference with M. Glick and E. Long re
                                                      preparation for summary judgment argument
                                                      (1.1); analyze summary judgment reply brief
                                                      (.4).
08/02/21 Nicholas Perrone                  4.40       Revise summary judgment reply brief (2.7);
                                                      correspond with K&E team re same (.2);
                                                      compile exhibits, materials re hearing
                                                      preparation (1.4); correspond with K&E team
                                                      re same (.1).
08/02/21 Samuel J. Seneczko                0.90       Correspond with B. Stone, M. Lemm re
                                                      contract damages claim (.4); analyze contract
                                                      re same (.5).




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Claims Administration

Date     Name                            Hours Description
08/02/21 Gary M. Vogt                     6.00 Revise summary judgment reply brief re
                                               filing (3.5); compile exhibits, finalized
                                               summary judgment reply brief same (.6);
                                               correspond with K&E team, re same (.2);
                                               review summary judgment hearing materials t
                                               (1.7).
08/02/21 Jeffrey J. Zeiger, P.C.          1.70 Revise subsequent draft of summary
                                               judgment reply brief (1.5); revise witness list
                                               (.2).
08/02/21 Lauren Zipp                      0.80 Prepare public and sealed exhibits re
                                               summary judgment hearing (.4); compile
                                               same (.4).
08/02/21 Lauren Zipp                      0.70 Review and revise summary judgment reply
                                               brief.
08/02/21 Lauren Zipp                      1.40 Compile summary judgment hearing
                                               materials re oral argument.
08/03/21 Julian Gamboa                    0.10 Review document production requests.
08/03/21 Michael A. Glick                 2.90 Telephone conference with vendor re
                                               summary judgment presentation and opening
                                               slides (1.1); review deposition transcripts re
                                               trial preparation (1.8).
08/03/21 Abby Rose Hollenstein            2.20 Analyze deposition designations for P. Pitsch.
08/03/21 Abby Rose Hollenstein            1.30 Draft motion to extend page limit for
                                               opposition to remand (1.1); correspond with
                                               M. Owen re strategy, next steps (.2).
08/03/21 Derek I. Hunter                  1.60 Correspond with K&E team re claims
                                               objection, related diligence (.3); review,
                                               analyze, and revise claims objection pleading
                                               (1.3).
08/03/21 Nicholas Perrone                 3.70 Organize preparation and delivery of coil-
                                               bound summary judgment briefing for hearing
                                               (1.3); review summary judgment briefing re
                                               precedent materials (1.2); research, compile
                                               same (1.2).
08/03/21 Gary M. Vogt                     2.40 Analyze materials re summary judgment
                                               hearing preparation.
08/03/21 Jeffrey J. Zeiger, P.C.          2.20 Analyze summary judgment reply brief (.8);
                                               prepare outline points for trial exams (1.4).
08/03/21 Lauren Zipp                      3.50 Organize materials re summary judgment oral
                                               argument (2.8); compile same (.7).
08/04/21 Abby Rose Hollenstein            1.40 Analyze designations for second day of P.
                                               Pitsch's testimony.


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Date     Name                            Hours Description
08/04/21 Derek I. Hunter                  1.10 Correspond with K&E team re claims
                                               objection, related diligence (.3); review,
                                               analyze, and revise claims objection pleading
                                               (.8).
08/04/21 Gary M. Vogt                     0.80 Compile requested materials re motion
                                               hearing preparation.
08/04/21 Eric J. Wendorf                  3.70 Telephone conference with S. Briefel re
                                               certain claims issue (.3); draft pleading re
                                               same (3.4).
08/04/21 Jeffrey J. Zeiger, P.C.          5.30 Analyze S. Collar deposition and exhibits and
                                               draft key points for trial exam outlines (5.0);
                                               telephone conference with B. Bennett re
                                               settlement issues and case background (.3).
08/04/21 Lauren Zipp                      6.30 Compile requested materials re summary
                                               judgment oral arguments (3.9); organize same
                                               (1.4); review same (1.0).
08/05/21 Maya Frazier                     1.50 Draft exhibit chart re summary judgment
                                               reply brief.
08/05/21 Julian Gamboa                    1.80 Assist G. Vogt and N. Perrone re J. O'Quinn
                                               request for select documents (.4); research
                                               and compile select deposition exhibits for
                                               review by P. Quamme and M. Slade (1.4).
08/05/21 Abby Rose Hollenstein            1.00 Revise deposition designations for D. Van
                                               Beber.
08/05/21 Emily Merki Long                 2.00 Draft slides for summary judgment argument.
08/05/21 Saunders McElroy                 4.40 Draft outline for summary judgment argument
                                               presentation (2.1); draft contract introduction
                                               for summary judgment argument presentation
                                               (2.3).
08/05/21 Nicholas Perrone                 1.30 Compile documents identified by J. O'Quinn
                                               (.3); organize documents re same (.4); prepare
                                               same for review (.6).
08/05/21 Gary M. Vogt                     1.50 Research, compile materials requested by
                                               counsel re Silver Lake litigation (1.0);
                                               research, compile materials requested for
                                               summary judgment hearing (.5).
08/05/21 Eric J. Wendorf                  4.90 Draft, revise pleading re claims issue (4.0);
                                               correspond with S. Briefel re same (.3);
                                               research re issue re same (.4); correspond
                                               with D. Zamir re same (.2).
08/05/21 Lauren Zipp                      3.20 Compile and organize materials requested re
                                               summary judgment oral argument.


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Date     Name                            Hours Description
08/06/21 Abby Rose Hollenstein            4.80 Drafting cross-examination outline for P.
                                               Pitsch.
08/06/21 Derek I. Hunter                  1.40 Telephone conference and correspond with
                                               K&E team re claims objection, related
                                               diligence (.3); review, analyze, and revise
                                               related analyses (1.1).
08/06/21 Emily Merki Long                 7.10 Draft slides for summary judgment
                                               presentation.
08/06/21 Saunders McElroy                 4.80 Draft summary judgment argument
                                               presentation re contractual language on
                                               project scope.
08/06/21 Nicholas Perrone                 0.80 Compile documents identified by J. O'Quinn
                                               (.2); organize same (.2); prepare same for
                                               attorney review (.4).
08/06/21 Gary M. Vogt                     2.50 Review, revise index to exhibits to motions
                                               for summary judgment (1.5); compile,
                                               organize summary judgment hearing
                                               materials (1.0).
08/06/21 Eric J. Wendorf                  3.10 Revise certain claims pleading (.5); analyze
                                               issues re same (1.9); telephone conferences
                                               with B. Nakhaimousa, B. Stone re same (.3);
                                               correspond with D. Hunter re same (.4).
08/06/21 Lauren Zipp                      1.10 Compile and organize materials re summary
                                               judgment oral argument preparation.
08/07/21 Emily Merki Long                 3.00 Revise slides for summary judgment
                                               presentation.
08/07/21 Saunders McElroy                 3.60 Draft summary judgment argument
                                               presentation re impact of FCC order.
08/07/21 Eric J. Wendorf                  4.30 Draft stipulation re certain claims issues (2.1);
                                               revise same (1.7); telephone conference with
                                               S. Briefel re same (.2); correspond with same
                                               re same (.2); review docket re same (.1).
08/07/21 Aparna Yenamandra                0.60 Correspond with K&E team re dismissal
                                               motion (.2); correspond with K&E team re
                                               DD update (.4).
08/08/21 Emily Merki Long                 9.00 Revise slides for summary judgment
                                               presentation.
08/08/21 Saunders McElroy                 7.60 Draft summary judgment argument
                                               presentation re FCC order (3.7); draft
                                               summary judgment argument presentation re
                                               extrinsic evidence (3.9).



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Date     Name                            Hours Description
08/09/21 Julian Gamboa                    0.40 Compile select pleadings at the request of L.
                                               Wolk (.1); revise event calendar re
                                               compliance with court related deadlines (.3).
08/09/21 Michael A. Glick                 0.50 Telephone conference with M. Slade re trial
                                               preparation..
08/09/21 Abby Rose Hollenstein            2.40 Continue drafting P. Pitsch cross-examination
                                               outline.
08/09/21 Emily Merki Long                 4.00 Conference with Magna Legal re summary
                                               judgment argument presentation with (.8);
                                               draft summary judgment argument
                                               presentation (3.2).
08/09/21 Saunders McElroy                 3.10 Conference with E. Long re strategy for
                                               revisions to summary judgment argument
                                               presentation (.5); prepare for and participate
                                               in conference with graphics team re summary
                                               judgment argument presentation (1.1);
                                               participate in telephone conference with M.
                                               Slade and K&E team re bankruptcy strategy
                                               (.5); revise deposition designations for trial
                                               (1.0).
08/09/21 Gary M. Vogt                     2.00 Coordinate processing of expert and vendor
                                               invoices for payment (.5); compile, organize,
                                               distribute materials requested to prepare for
                                               summary judgment arguments (1.0); review,
                                               coordinate matters re registration of attorneys
                                               for video access to 8/19 hearing re summary
                                               judgment motions (.5).
08/09/21 Jeffrey J. Zeiger, P.C.          4.20 Analyze S. Collar deposition and exhibits
                                               (2.3); draft key points for trial exam outlines
                                               (1.9).
08/09/21 Lauren Zipp                      0.80 Organize requested materials re summary
                                               judgment oral argument preparation.
08/10/21 Bill Arnault                     1.70 Review and revise claims analysis.
08/10/21 Julian Gamboa                    0.20 Conference with E. Long and G. Vogt re
                                               hearing preparations.
08/10/21 Michael A. Glick                 2.80 Correspond with K&E team re deposition
                                               designation strategy (.3); revise slides for
                                               summary judgment argument (2.5).
08/10/21 Abby Rose Hollenstein            3.00 Draft cross-examination for P. Pitsch.
08/10/21 Emily Merki Long                 3.20 Revise summary judgment argument
                                               presentation.




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Date     Name                            Hours Description
08/10/21 Saunders McElroy                 3.80 Revise deposition designations for trial
                                               testimony of Y. Bausch (1.8); revise summary
                                               judgment argument presentation (2.0).
08/10/21 Gary M. Vogt                     1.00 Review trial space equipment quote (.2);
                                               correspond with M. Gibbons re same (.3);
                                               research, compile materials requested for 8/19
                                               hearing preparations (.5).
08/10/21 Jeffrey J. Zeiger, P.C.          3.60 Draft S. Collar cross examination outline.
08/11/21 Bill Arnault                     0.40 Review claims documents.
08/11/21 Michael A. Glick                 8.10 Revise summary judgment argument
                                               presentation (4.0); analyze same (3.3);
                                               conference with E. Long and S. McElroy re
                                               summary judgment slides (.8).
08/11/21 Abby Rose Hollenstein            5.10 Draft P. Pitsch outline re key documents,
                                               deposition testimony (3.9); analyze deposition
                                               testimony re same (1.2).
08/11/21 Emily Merki Long                 4.50 Telephone conference with Magna Legal re
                                               edits to summary judgment argument
                                               presentation (2.5); revise summary judgment
                                               argument presentation (2.0).
08/11/21 Saunders McElroy                 2.80 Participate in conference with M. Glick and
                                               E. Long re summary judgment argument
                                               presentation (.8); revise same (1.0);
                                               participate in telephone conference with
                                               graphics design team re edits to summary
                                               judgment argument presentation (1.0).
08/11/21 Gary M. Vogt                     1.00 Research requested materials re summary
                                               judgment hearing (.7); compile same (.3).
08/11/21 Jeffrey J. Zeiger, P.C.          1.30 Revise draft motion to seal summary
                                               judgment arguments and related filings (.3);
                                               revise summary judgment argument
                                               presentation (1.0).
08/12/21 Julian Gamboa                    0.50 Compile documents re summary judgment
                                               argument presentation.
08/12/21 Michael A. Glick                 3.50 Revise summary judgment argument
                                               presentation (2.7); correspond with K&E
                                               team re motion to dismiss strategy (.8).
08/12/21 Abby Rose Hollenstein            2.00 Draft P. Pitsch cross examination outline.
08/12/21 Emily Merki Long                 6.30 Revise summary judgment argument
                                               presentation (4.2); review Prince outline (2.1).




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Date     Name                            Hours Description
08/12/21 Saunders McElroy                  2.30 Revise summary judgment argument
                                                presentation based on comments from E.
                                                Long (.9); participate in telephone conference
                                                with graphics team re proposed edits to
                                                summary judgment argument presentation
                                                (1.4).
08/12/21 Gary M. Vogt                      1.30 Research additional requested materials re
                                                summary judgment hearing (1.1); compile
                                                same (.2).
08/12/21 Jeffrey J. Zeiger, P.C.           0.20 Revise witness list.
08/13/21 Michael A. Glick                  0.70 Correspond with K&E team re trial witness
                                                strategy.
08/13/21 Abby Rose Hollenstein             0.30 Revise P. Pitsch cross-examination outline.
08/13/21 Emily Merki Long                 10.40 Revise summary judgment argument
                                                presentation (4.0); analyze same (2.1); review
                                                Pitsch outline (2.3); further revise summary
                                                judgment argument presentation (2.0).
08/13/21 Saunders McElroy                  5.30 Revise summary judgment argument
                                                presentation re case law slides and project
                                                scope slides (1.0); revise summary judgment
                                                argument presentation based on edits from J.
                                                O’Quinn (4.0); participate in telephone
                                                conference with M. Slade and K&E team re
                                                bankruptcy plan (.3).
08/14/21 Emily Merki Long                  4.00 Analyze summary judgment argument
                                                presentation.
08/15/21 Dave Gremling                     0.50 Analyze issues re claims.
08/15/21 Dave Gremling                     0.40 Correspond with K&E team re claims
                                                analysis.
08/16/21 Michael A. Glick                  1.40 Revise trial witness list (.3); telephone
                                                conference with M. Slade re trial issues (.3);
                                                correspond with K&E team re summary
                                                judgment hearing witness list (.3); correspond
                                                with K&E team re pre-trial preparation and
                                                tasks (.5).
08/16/21 Abby Rose Hollenstein             0.90 Revise draft of P. Pitsch cross-examination
                                                outline.
08/16/21 Tyler R. Knutson                  1.60 Coordinate sealed hearing access for multiple
                                                parties in interest re SES summary judgment
                                                hearing (1.3); correspond with Kutak, D.
                                                Gremling re same (.3).




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08/16/21 Emily Merki Long                 1.40 Finalize witness list (.3); review deposition
                                               designations (.4); review summary judgment
                                               hearing witness list (.7).
08/16/21 Nicholas Perrone                 0.80 Register attorneys with Court re summary
                                               judgment hearing (.6); correspond with K&E
                                               team re same (.2).
08/16/21 Gary M. Vogt                     1.20 Coordinate attorney registration re summary
                                               judgment hearing (.2); research requested
                                               materials re same (.8); compile same (.2).
08/16/21 Eric J. Wendorf                  4.00 Revise guarantee release scheduling motion
                                               (1.3); correspond with S. Briefel re same (.1);
                                               further revise same (2.3); correspond with D.
                                               Hunter re same (.1); correspond with B.
                                               Nakhaimousa re same (.2).
08/17/21 Michael A. Glick                 8.50 Telephone conference with J. Zeiger, M.
                                               Slade, and A. Hollenstein re pre-trial filings
                                               and strategy (1.0); revise summary judgment
                                               argument presentation (3.8); participate in
                                               pre-trial preparation with J. O’Quinn re
                                               summary judgment hearing (2.3); telephone
                                               conference with J. O’Quinn re same (.4);
                                               prepare initial fact stipulation list (.6);
                                               correspond with K&E team re pre-trial
                                               preparation (.4).
08/17/21 Abby Rose Hollenstein            1.10 Telephone conference with K&E team re
                                               witnesses, pre-trial prep.
08/17/21 Abby Rose Hollenstein            2.90 Draft Van Beber cross-examination outline.
08/17/21 Tyler R. Knutson                 7.20 Coordinate sealed hearing access for multiple
                                               parties in interest re SES summary judgment
                                               hearing (3.4); further coordinate re same
                                               (3.8).
08/17/21 Emily Merki Long                 5.00 Research federal rules re unavailable
                                               witnesses and foreign witnesses (2.1);
                                               telephone conference with K&E litigation
                                               team re pre-trial prep (1.0); telephone
                                               conference with K&E litigation team re
                                               summary judgment prep (1.1); revise agenda
                                               re summary judgment hearing (.2); review P.
                                               Pitsch outline (.6).
08/17/21 Nicholas Perrone                 0.50 Review correspondence and trial related
                                               documents (.3); compile same (.2).
08/17/21 Gary M. Vogt                     3.00 Compile, organize witness list materials (.5);
                                               prepare requested deposition designation
                                               reports (2.5).

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08/17/21 Jeffrey J. Zeiger, P.C.          3.20 Participate in telephone conference with K&E
                                               litigation team re trial assignments and
                                               strategy (.8); participate in conference with J.
                                               O'Quinn, M. Slade, M. Glick and E. Long re
                                               summary judgment argument preparation
                                               (2.3); revise hearing agenda (.1).
08/18/21 Michael A. Glick                 8.20 Review and revise slides re summary
                                               judgment hearing (4.2); participate in pre-trial
                                               preparation with J. O’Quinn for summary
                                               judgment hearing (1.6); review and revise
                                               deposition designations for P. Campbell (2.4).
08/18/21 Abby Rose Hollenstein            0.80 Revise summary judgment argument
                                               presentation.
08/18/21 Abby Rose Hollenstein            1.40 Draft Van Beber cross-examination outline.
08/18/21 Abby Rose Hollenstein            2.50 Draft list outline for S. Spengler re direct
                                               examination.
08/18/21 Abby Rose Hollenstein            2.20 Draft proposed stipulated facts.
08/18/21 Tyler R. Knutson                 2.20 Coordinate sealed hearing access for multiple
                                               parties in interest re SES summary judgment
                                               hearing.
08/18/21 Emily Merki Long                 1.40 Revise summary judgment argument
                                               presentation.
08/18/21 Nicholas Perrone                 1.80 Register attorneys with Court re summary
                                               judgment hearing (.6); correspond with K&E
                                               litigation team re same (.3); review internal
                                               trial prep correspondence and organize
                                               materials referenced in same (.9).
08/18/21 Gary M. Vogt                     1.00 Coordinate pre-trial preparation re summary
                                               judgment hearing.
08/18/21 Eric J. Wendorf                  4.60 Review, revise guarantee release scheduling
                                               motion (4.0); correspond with S. Briefel re
                                               same (.4); correspond with D. Hunter, K&E
                                               litigation team re same (.2).
08/18/21 Jeffrey J. Zeiger, P.C.          5.40 Review, revise summary judgment hearing
                                               presentation (3.0); revise P. Pitsch deposition
                                               designations (2.4).
08/19/21 Michael A. Glick                 9.50 Analyze summary judgment hearing
                                               presentation (1.7); participate in summary
                                               judgment hearing (4.8); telephone conference
                                               with J. O’Quinn and M. Slade re same (.7);
                                               review and revise deposition designations for
                                               W. Tolpegin (2.3).
08/19/21 Abby Rose Hollenstein            1.20 Analyze De Hauwer deposition designations.

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08/19/21 Abby Rose Hollenstein            0.90 Draft proposed orders, stipulations re
                                               summary judgment hearing.
08/19/21 Abby Rose Hollenstein            0.90 Draft proposed orders, stipulations re
                                               summary judgment hearing.
08/19/21 Tyler R. Knutson                 6.30 Coordinate sealed hearing access for multiple
                                               parties in interest re SES summary judgment
                                               hearing (1.3); attend same (4.6); summarize
                                               same (.4).
08/19/21 Emily Merki Long                 3.20 Prepare for and attend summary judgment
                                               hearing.
08/19/21 Saunders McElroy                 0.70 Participate in telephone conference with M.
                                               Slade, J. O'Quinn, K&E team, Company re
                                               litigation strategy following summary
                                               judgment hearing (.4); draft summary of SES
                                               argument presentation (.3).
08/19/21 Nicholas Perrone                 0.80 Review correspondence and recent pleadings
                                               re summary judgment hearing (.4); compile
                                               same (.2); prepare for summary judgment
                                               hearing (.2).
08/19/21 Palmer Quamme                    3.20 Draft Oberst deposition designations.
08/19/21 Gary M. Vogt                     0.70 Compile requested materials re proposed
                                               summary judgment orders, stipulations (.5);
                                               coordinate with Calendar Court re docketing
                                               trial related deadlines (.2).
08/19/21 Eric J. Wendorf                  4.30 Review, revise guarantee release scheduling
                                               motion (4.0); correspond with S. Briefel re
                                               same (.3).
08/19/21 Jeffrey J. Zeiger, P.C.          9.30 Attend hearing on motion for summary
                                               judgment (4.6); telephone conference with
                                               client, M. Slade, M. Glick and S. Serajeddini
                                               re summary judgment issues (.4); revise
                                               deposition designations for P. Pitsch (4.3).
08/20/21 Michael A. Glick                 0.70 Review key documents and correspond with
                                               A. Hollenstein regarding use at trial.
08/20/21 Abby Rose Hollenstein            0.20 Revise fact stipulations.
08/20/21 Abby Rose Hollenstein            2.60 Investigate issues re to CBA provisions and
                                               summarize in email to team.
08/20/21 Abby Rose Hollenstein            4.30 Continue identifying De Hauwer deposition
                                               designations.
08/20/21 Emily Merki Long                 4.20 Team call re plan update (.5); draft deposition
                                               designations for P. Vorwig (3.5); review other
                                               deposition designations (.2).


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08/20/21 Robert Orren                     1.20 Distribute to N. Binder and D. Zamir
                                               makewhole precedent (1.0); correspond with
                                               same re same (.2).
08/20/21 Nicholas Perrone                 4.80 Draft chart re Ex Parte documents.
08/20/21 Gary M. Vogt                     2.70 Prepare for and participate in team status
                                               meeting re SES claim objection matters (.5);
                                               review, coordinate matters re upcoming trial
                                               (.7); prepare requested deposition designation
                                               reports (.7); research, compile additional
                                               materials requested for trial exhibit list (.8).
08/20/21 Eric J. Wendorf                  3.90 Review, revise guarantee release scheduling
                                               motion.
08/20/21 Jeffrey J. Zeiger, P.C.          3.00 Revise deposition designations for P. Vorwig
                                               (2.4); telephone conference with M. Slade, E.
                                               Long, A. Hollenstein, J. O'Quinn and G. Vogt
                                               re litigation strategy and assignments (.5);
                                               review and comment on draft notice re filing
                                               demonstratives under seal (.1).
08/20/21 Lauren Zipp                      5.50 Compile requested Ex Parte materials and
                                               update tracker re same.
08/21/21 Abby Rose Hollenstein            1.80 Continue identifying De Hauwer deposition
                                               designations.
08/21/21 Nicholas Perrone                 2.30 Draft tracker chart re ex parte documents
                                               (1.2); compile, organize ex parte documents
                                               (1.1).
08/21/21   Jeffrey J. Zeiger, P.C.        3.10 Revise G. Oberst deposition designations.
08/22/21   Abby Rose Hollenstein          1.00 Draft deposition designations.
08/22/21   Abby Rose Hollenstein          1.10 Revise deposition designations.
08/22/21   Nicholas Perrone               7.50 Draft, revise tracker chart re ex parte
                                               documents (3.5); compile, organize
                                               documents re same (4.0).
08/22/21 Gary M. Vogt                     3.00 Research, compile materials re trial exhibit
                                               list (2.8); compile deposition designation
                                               materials (.2).
08/22/21 Lauren Zipp                      2.70 Compile requested ex parte materials (2.0);
                                               revise tracker re same (.7).
08/23/21 Toni M. Anderson                 0.50 Coordinate preparation of trial exhibits for
                                               sticker endorsement (.3); correspond with G.
                                               Vogt re same (.2).
08/23/21 Julian Gamboa                    0.50 Correspond with T. Anderson and G. Vogt re
                                               trial exhibits.



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08/23/21 Michael A. Glick                 1.80 Review and revise deposition designations
                                               (.8); telephone conference with M. Slade, J.
                                               Zeiger, and J. O’Quinn re trial prep and
                                               strategy (.7); review summary judgment
                                               hearing transcript (.3).
08/23/21 Abby Rose Hollenstein            0.60 Conference with E. Merki Long, K&E team
                                               re SES claim workstreams.
08/23/21 Abby Rose Hollenstein            1.70 Revise fact stipulation document.
08/23/21 Emily Merki Long                 3.70 Telephone conference with A. Hollenstein,
                                               K&E team re SES, plan updates (.5);
                                               correspond with vendor re discovery searches
                                               (.8); review summary of FCC filings (.4);
                                               coordinate deposition designations (.5);
                                               coordinate exhibit list (.6); review transcript
                                               of summary judgment hearing (.9).
08/23/21 Saunders McElroy                 3.30 Revise deposition designations (2.1);
                                               correspond with M. Slade re preparation of
                                               direct examination of D. Tolley (.2);
                                               participate in conference with M. Slade and
                                               K&E team re strategy for SES case and plan
                                               confirmation (.5); review, identify documents
                                               re SES matter (.2); correspond with M. Slade
                                               and J. O’Quinn re same (.3).
08/23/21 Nicholas Perrone                 5.60 Draft, revise ex parte documents tracker (1.7);
                                               research, compile documents re same (2.9);
                                               organize same (1.0).
08/23/21 Gary M. Vogt                     5.20 Participate in telephone conference with E.
                                               Merki Long, K&E team re SES claim
                                               objection trial matters (.5); prepare deposition
                                               designation reports (1.2); review, coordinate
                                               compilation of materials re facts stipulation
                                               (.7); coordinate revisions re trial exhibit list
                                               (.5); coordinate remote trial site matters with
                                               K&E team re trial re SES claim objection
                                               (2.0); coordinate matters re trial exhibit
                                               database preparation (.3).
08/23/21 Chambliss Williams               4.90 Correspond with D. Gremling re guarantee
                                               release workstream (.9); review materials,
                                               case updates re same (4.0).




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Date     Name                            Hours Description
08/23/21 Jeffrey J. Zeiger, P.C.          4.90 Analyze potential exhibits re exhibit list (3.7);
                                               coordinate follow-up re deposition
                                               designations matters with K&E team (.7);
                                               telephone conference with M, Slade, J.
                                               O'Quinn and M. Glick re case strategy and
                                               assignments (.5).
08/23/21 Lauren Zipp                      4.20 Review proposed stipulated facts re Bates
                                               numbers (.5); revise same (3.7).
08/24/21 Bill Arnault                     2.10 Review, summarize claims documents for M.
                                               Slade, C. McGushin, A. Sidrys, and C.
                                               Fenton.
08/24/21 Michael A. Glick                 0.50 Correspond with M. Slade and SES re witness
                                               trial appearance.
08/24/21 Abby Rose Hollenstein            3.20 Continue revision re cross examination.
08/24/21 Abby Rose Hollenstein            2.00 Draft witness cross examination (1.0); revise
                                               fact stipulation document (.5); correspond
                                               with working group re document review
                                               matter (.5).
08/24/21 Emily Merki Long                 5.70 Revise cover filing re affirmative deposition
                                               designations (.6); review and revise
                                               redactions re same (2.1); revise exhibit list
                                               (2.1); revise designations (.9).
08/24/21 Nicholas Perrone                 2.70 Draft, revise ex parte tracker (.7); research,
                                               compile documents re same (1.0); organize
                                               same (1.0).
08/24/21 Gary M. Vogt                     1.30 Coordinate revisions re trial exhibit list (.5);
                                               review, coordinate matters re remote trial site
                                               logistics (.8).
08/24/21 Chambliss Williams               6.50 Review documents re guarantee claims matter
                                               (4.0); review U.S. Trustee comments re same
                                               (2.5).
08/24/21 Jeffrey J. Zeiger, P.C.          1.10 Telephone conference with C. Wilson, M.
                                               Slade and J. O'Quinn re SES case strategy and
                                               settlement issues (.6); analyze, coordinate
                                               follow up re deposition designations (.5).
08/25/21 Michael A. Glick                 4.50 Review proposed deposition designations (.6);
                                               revise same (1.9); review deposition
                                               designations (.4); review edits to deposition
                                               designations (.4); draft status update re trial
                                               outlines (.4); conference with M. Slade re trial
                                               scheduling and SES brief (.5); revise
                                               deposition designation pleading (.3).
08/25/21 Abby Rose Hollenstein            1.00 Confirm deposition exhibit designations.

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08/25/21 Abby Rose Hollenstein             2.70 Review documents re deposition.
08/25/21 Abby Rose Hollenstein             2.80 Continue outlining and revising cross
                                                examination.
08/25/21 Emily Merki Long                  3.40 Revise deposition designation cover pleading
                                                (.2); review Company documents (3.2).
08/25/21 Saunders McElroy                  4.60 Revise deposition designations (1.0);
                                                conference with M. Glick re trial preparation
                                                (.2); review and analyze draft exhibit list and
                                                related documents re trial strategy (3.1); draft
                                                summary of recommendations re same (.3).
08/25/21 Emily A. Meraia                   0.60 Correspond with C. Katrinak re claims
                                                objection (.2); review same (.4).
08/25/21 Nicholas Perrone                  6.70 Review deposition designations re quality-
                                                check (3.9); excerpt, redact non-designated
                                                items from deposition transcripts (2.8).
08/25/21 Gary M. Vogt                      4.80 Research, compile materials for trial exhibit
                                                list (1.3); prepare, review deposition
                                                designations re quality-check (3.5).
08/25/21 Jeffrey J. Zeiger, P.C.           1.60 Revise proposed fact stipulations (.8); further
                                                revise deposition designations (.6); review
                                                draft pleading for deposition designations (.2).
08/25/21 Lauren Zipp                      11.40 Review and revise excerpted transcripts (1.8);
                                                review proposed stipulated facts (4.0); revise
                                                same (1.2); compile ex parte documents (2.1);
                                                organize same (2.3).
08/26/21 Julian Gamboa                     1.20 Review, revise draft trial exhibit list.
08/26/21 Michael A. Glick                  0.80 Participate in meet and confer re trial matters
                                                (.5); correspondence with M. Slade and E.
                                                Long re witness matters (.3).
08/26/21 Abby Rose Hollenstein             4.20 Further revise cross examination outline (1.0);
                                                review and summarize additional witness
                                                documents (3.0); review additions to exhibit
                                                list (.2).
08/26/21 Derek I. Hunter                   0.90 Telephone conference and correspond with
                                                K&E team re claims objection, related
                                                diligence (.3); review, analyze, and revise
                                                related analyses (.6).
08/26/21 Cara Katrinak                     0.40 Video conference with D. Hunter, E. Flynn,
                                                A&M team re second omnibus claims
                                                objection (.3); telephone conference with E.
                                                Flynn re same (.1).



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08/26/21 Tyler R. Knutson                  2.80 Review and analyze pleading drafts re claims
                                                matter (.5); research and analyze prior
                                                pleadings re same (.5); review and analyze
                                                debtor response re same (.2); review convert
                                                objection re same (.6); review HoldCo
                                                objection re same (.3); summarize same (.7).
08/26/21 Emily Merki Long                  3.70 Attend meet and confer with SES counsel
                                                (1.0); revise affirmative deposition
                                                designations (1.5); review exhibits (1.2).
08/26/21 Saunders McElroy                  2.70 Revise and finalize deposition designations.
08/26/21 Emily A. Meraia                   1.40 Telephone conference with C. Katrinak re
                                                claims (.1); conference with A&M, K&E
                                                team re same (.4); review claims objection
                                                (.9).
08/26/21 Nicholas Perrone                 11.90 Review, QC deposition designations (4.0);
                                                excerpt and redact non-designated items re
                                                deposition transcripts (4.0); research, compile
                                                documents re exhibit list (3.9).
08/26/21 Gary M. Vogt                      6.60 Review, revise deposition designations (1.8);
                                                coordinate preparation of redacted transcript
                                                of deposition designation for filing (1.3);
                                                review, coordinate matters re remote trial site
                                                logistics (.5); research, compile materials for
                                                trial exhibit list (3.0).
08/26/21 Jeffrey J. Zeiger, P.C.           1.20 Telephone conference with M. Slade and
                                                Jones Day re claims matter (.4); revise
                                                subsequent draft of deposition designation
                                                cover pleading (.2); review and comment on
                                                potential exhibits re exam (.6).
08/26/21 Lauren Zipp                       4.00 Review and revise excerpted deposition
                                                transcripts re affirmative designations.
08/27/21 Julian Gamboa                     3.40 Conference with G. Vogt and T. Anderson re
                                                trial exhibit branding (.2); review, revise draft
                                                trial exhibit list (3.2).
08/27/21 Michael A. Glick                  1.70 Telephone conference with M. Slade, J.
                                                Zeiger, and E. Long re trial preparation and
                                                strategy (.8); prepare correspondence with
                                                claimant re redactions (.5); revise draft
                                                response to claimant scheduling brief (.4).
08/27/21 Abby Rose Hollenstein             3.40 Draft additional modules for draft witness
                                                cross examination.
08/27/21 Abby Rose Hollenstein             2.90 Review documents re deposed party re exhibit
                                                list inclusion.


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08/27/21 Abby Rose Hollenstein             0.60 Review ex parte filings re claims documents.
08/27/21 Derek I. Hunter                   0.50 Correspond with M. Slade, K&E team re
                                                status of claims analyses and litigation
                                                strategy re same.
08/27/21 Cara Katrinak                     2.60 Review, revise second omnibus claims
                                                objection.
08/27/21 Emily Merki Long                  4.60 Oversee filing of affirmative deposition
                                                designations (2.1); revise exhibit list (2.);
                                                attend team meeting re pre-trial tasks (.5).
08/27/21 Saunders McElroy                  3.10 Participate in telephone conference with M.
                                                Slade, J. O'Quinn, and K&E team re
                                                preparation and strategy for trial (.7);
                                                participate in telephone conference with E.
                                                Long and A. Hollenstein re additional
                                                documents re exhibit list (.3); identify
                                                documents for inclusion on exhibit list (.6);
                                                review, analyze, provide comments re
                                                documents identified (.3); review and analyze
                                                claim and supporting materials (.4); draft
                                                objection to claim (.8).
08/27/21 Emily A. Meraia                   0.60 Correspond with C. Katrinak re claims (.2);
                                                review, revise claims objection (.4).
08/27/21 Nicholas Perrone                 12.30 Review, QC deposition designations for
                                                accuracy and document mistakes for attorney
                                                review (4.0); excerpt and redact non-
                                                designated lines from deposition transcripts
                                                (3.1); research, compile exhibit list documents
                                                (4.0); attend telephone conference with G.
                                                Vogt, J. Gamboa, L. Zipp re trial exhibit
                                                matters (.8); update database re deposition
                                                transcripts (.4).
08/27/21 Gary M. Vogt                      8.00 Telephone conference with vendor re trial
                                                space planning matters (1.5); prepare
                                                transcripts with deposition designations for
                                                exchange with claimant counsel (1.5); review,
                                                revise, finalize deposition designations for
                                                filing (2.4); review, coordinate preparation of
                                                redacted deposition designation transcripts for
                                                filing (1.8); telephone conference with J.
                                                Gamboa, N. Perrone, L. Zipp re trial exhibit
                                                matters (.8).




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08/27/21 Jeffrey J. Zeiger, P.C.           5.10 Participate in team telephone conference re
                                                trial strategy and assignments (.5); revise
                                                multiple drafts of briefs in response to
                                                scheduling statement (.9); review and
                                                comment on documents for witness cross
                                                examinations (3.7).
08/27/21 Lauren Zipp                      11.90 Review, revise deposition transcripts re
                                                affirmative designations (2.9); distribute same
                                                to database (.2); review trial exhibit list (4.0);
                                                revise same (4.8).
08/28/21 Julian Gamboa                     9.70 Review draft trial exhibit list (2.5); revise
                                                same (3.7); compile exhibits re same (3.5).
08/28/21 Abby Rose Hollenstein             3.00 Revise exhibit list.
08/28/21 Emily Merki Long                  5.90 Review exhibit list (2.4); revise same (3.5).
08/28/21 Saunders McElroy                  1.20 Conference with M. Slade, J. Zeiger, and E.
                                                Long re exhibit list (.4); identify documents re
                                                same (.8).
08/28/21 Emily A. Meraia                   0.30 Correspond with D. Gremling re claims.
08/28/21 Nicholas Perrone                  6.50 Research, compile exhibit list documents
                                                (4.0); review trial exhibit list (.9); organize
                                                documents re same (1.6).
08/28/21 Gary M. Vogt                     15.50 Coordinate incorporation of SES affirmative
                                                deposition designations into transcript
                                                database (.8); research materials re trial
                                                exhibit list (3.8); compile same (3.9);
                                                organize same (2.3); review trial exhibit list
                                                (2.3); revise same (2.4).
08/28/21 Lauren Zipp                      11.70 Review trial exhibit list (3.0); revise same
                                                (4.0); compile documents re same (4.7).
08/29/21 Julian Gamboa                     7.00 Review, revise draft trial exhibit list (3.5);
                                                compile trial exhibits re same (3.5).
08/29/21 Michael A. Glick                  4.70 Correspond with M. Slade, J. Zeiger re trial
                                                strategy (.6); review and revise deposition
                                                counter-designations (2.4); review trial
                                                exhibit list and potential exhibits (1.7).
08/29/21 Abby Rose Hollenstein             2.20 Further revise exhibit list.
08/29/21 Abby Rose Hollenstein             3.40 Draft additional modules for cross
                                                examination.
08/29/21 Emily Merki Long                  8.80 Revise exhibit list.




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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050019
Intelsat S.A.                                                 Matter Number:      48457-10
Claims Administration

Date     Name                            Hours Description
08/29/21 Saunders McElroy                  4.70 Review and analyze documents from reviews
                                                re exhibit list (2.8); conference with M. Slade
                                                re documents from production, exhibit list
                                                (.4); draft counter designations for deposition
                                                (1.5).
08/29/21 Nicholas Perrone                 13.90 Research re exhibit list documents (3.9);
                                                compile same (4.0); review trial exhibit list
                                                (2.0); organize documents re same (4.0).
08/29/21 Gary M. Vogt                     15.50 Review electronic copies of trial exhibits
                                                (2.0); revise same (2.8); research materials re
                                                exhibit list (2.4); compile same (3.1); review
                                                trial exhibit list (2.9); revise same (2.3).
08/29/21 Jeffrey J. Zeiger, P.C.           4.90 Analyze documents re exhibit list re cross
                                                examination.
08/30/21 Julian Gamboa                     8.40 Review draft trial exhibit list (3.2); revise
                                                same (2.1); compile exhibits re same (3.1).
08/30/21 Michael A. Glick                  1.30 Telephone conference with M. Slade and J.
                                                Zeiger re trial preparation and filings (.8);
                                                review witness cross outline (.5).
08/30/21 Abby Rose Hollenstein             1.60 Finalize revisions to draft cross examination
                                                of witness.
08/30/21 Abby Rose Hollenstein             1.20 Participate in telephone conference with K&E
                                                team re status, next steps re claims.
08/30/21 Abby Rose Hollenstein             2.00 Review exhibit list.
08/30/21 Emily Merki Long                  6.90 Review exhibit list (2.7); revise same (4.0);
                                                conference with M. Slade, K&E team re
                                                exhibit list and other pre-trial tasks (.2).
08/30/21 Saunders McElroy                  2.10 Revise deposition counter designations (.4);
                                                conference with M. Slade and K&E team re
                                                preparation for claims trial (.4); research trial
                                                issues (.5); review and revise exhibit list (.8).
08/30/21 Nicholas Perrone                  8.10 Research re exhibit list (2.0); compile
                                                documents re same (3.6); review, QC exhibit
                                                list (1.7); compile documents re same (.8).
08/30/21 Gary M. Vogt                      7.80 Telephone conference with M. Slade, K&E
                                                team re filing matters (.5); review, incorporate
                                                deposition counter designations into transcript
                                                database (1.3); research, compile additional
                                                materials for trial exhibit list (2.3); review,
                                                revise trial exhibit list (3.7).




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Intelsat S.A.                                                 Matter Number:      48457-10
Claims Administration

Date     Name                            Hours Description
08/30/21 Jeffrey J. Zeiger, P.C.           5.40 Review exhibit list (1.0); analyze document
                                                matters re same (3.9); telephone conference
                                                with M. Slade, K&E team re assignments and
                                                trial strategy (.5).
08/30/21 Lauren Zipp                       2.50 Review draft exhibit list (.6); compile and
                                                organize materials re same (1.9).
08/31/21 Julian Gamboa                    11.00 Review exhibit list (4.0); revise same (3.8);
                                                compile trial exhibits re same (3.2).
08/31/21 Michael A. Glick                  5.00 Telephone conference with M. Slade and J.
                                                Zeiger to discuss trial exhibits (2.8); review
                                                proposed trial exhibit list (1.4); revise trial
                                                cross-examination outline (.8).
08/31/21 Abby Rose Hollenstein             0.80 Review motion to dismiss hearing transcript,
                                                pleadings.
08/31/21 Abby Rose Hollenstein             2.60 Further revise exhibit list.
08/31/21 Cara Katrinak                     1.40 Review, revise second omnibus claims
                                                objection.
08/31/21 Emily Merki Long                 14.30 Review exhibit list (4.0); revise same (3.9);
                                                further revise same (2.4); coordinate
                                                finalization, filing re same (4.0).
08/31/21 Saunders McElroy                  9.60 Participate in telephone conference with M.
                                                Slade, J. Zeiger, M. Glick, and E. Long re
                                                revisions to exhibit list (2.8); identify
                                                documents for additions re same (1.1); review
                                                and analyze documents re potential removal
                                                re same (1.5); revise exhibit list (3.9); finalize
                                                same for filing (.3).
08/31/21 Emily A. Meraia                   2.30 Correspond with B. Stone, A. Dreisbach, N.
                                                Binder re claims (.5); research re same (1.8).
08/31/21 Nicholas Perrone                 12.50 Research re exhibit list documents (3.7);
                                                compile same (3.9); organize same (3.8);
                                                review, QC exhibit list (1.1).
08/31/21 Benjamin P. Stone                 5.60 Correspond with E. Flynn re claims matters
                                                (.7); correspond with A&M re same (.3);
                                                review, analyze same (2.7); draft responses re
                                                same (1.6); correspond with A. Dreisbach, D.
                                                Gremling re same (.3).
08/31/21 Gary M. Vogt                     13.10 Research materials re trial exhibit list (2.2);
                                                compile documents re same (2.1); review trial
                                                exhibit list (3.8); revise same (4.0); finalize
                                                trial exhibit list for filing (1.0).




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Intelsat S.A.                                                 Matter Number:      48457-10
Claims Administration

Date     Name                            Hours Description
08/31/21 Jeffrey J. Zeiger, P.C.           2.70 Telephone conference with M. Slade, M.
                                                Glick, E. Long and S. McElroy re exhibits for
                                                trial.
08/31/21 Lauren Zipp                      11.50 Review trial exhibit list (3.6); revise same
                                                (3.9), compile and organize documents re
                                                same (4.0).

Total                                   898.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050020
                                                                               Client Matter: 48457-11

In the Matter of U.S. Trustee and Statutory Reporting




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 38,262.50
Total legal services rendered                                                                                  $ 38,262.50




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Intelsat S.A.                                                 Matter Number:      48457-11
U.S. Trustee and Statutory Reporting




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          0.20     875.00            175.00
Annie Laurette Dreisbach                              5.90     995.00          5,870.50
Cara Katrinak                                        14.70     875.00         12,862.50
Tyler R. Knutson                                     24.30     765.00         18,589.50
Eric J. Wendorf                                       0.60     765.00            459.00
Donna Zamir                                           0.40     765.00            306.00

TOTALS                                               46.10                   $ 38,262.50




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Intelsat S.A.                                                 Matter Number:      48457-11
U.S. Trustee and Statutory Reporting


                                    Description of Legal Services

Date     Name                              Hours Description
08/06/21 Eric J. Wendorf                    0.60 Review correspondence re U.S. Trustee
                                                 considerations (.4); correspond with D.
                                                 Hunter re same (.2).
08/13/21 Donna Zamir                        0.40 Correspond with D. Hunter, Company
                                                 advisors re monthly operating report.
08/24/21 Annie Laurette Dreisbach           1.50 Review and analyze request for equity
                                                 committee (.8); review and analyze previous
                                                 requests and responses re same (.7).
08/24/21 Cara Katrinak                      1.70 Review, analyze correspondence, precedent re
                                                 response to request for equity committee
                                                 (1.1); draft response re same (.6).
08/25/21 Maggie Alden                       0.20 Correspond with A. Dreisbach, C. Katrinak re
                                                 revised equity committee request.
08/25/21 Annie Laurette Dreisbach           1.90 Review and revise response re request to U.S.
                                                 Trustee for equity committee (.9); review and
                                                 analyze hearing transcript re same (1.0).
08/25/21 Cara Katrinak                      9.90 Draft response re request for equity
                                                 committee (3.7); review, analyze precedent,
                                                 transcript re same (2.9); revise response re
                                                 same (3.3).
08/25/21 Tyler R. Knutson                   3.70 Review and analyze precedent re examiner
                                                 appointments (2.4); draft summary re same
                                                 (1.1); correspond with A. Dreisbach re same
                                                 (.2).
08/26/21 Annie Laurette Dreisbach           1.50 Review and revise response to request to form
                                                 equity committee (.4); review and analyze
                                                 issues re appointment of examiner in Fourth
                                                 Circuit (1.1).
08/26/21 Cara Katrinak                      2.70 Revise response re request for equity
                                                 committee.
08/26/21 Tyler R. Knutson                   4.50 Review and analyze precedent re examiner
                                                 appointments (2.8); draft summary re same
                                                 (1.7).
08/27/21 Cara Katrinak                      0.40 Prepare final response re request for equity
                                                 committee.
08/27/21 Tyler R. Knutson                   5.70 Research precedent re examiner appointments
                                                 (2.8); review letter re equity committee
                                                 appointments (.5); further research,
                                                 summarize precedent re examiner
                                                 appointments (2.4).

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Intelsat S.A.                                                 Matter Number:      48457-11
U.S. Trustee and Statutory Reporting

Date     Name                            Hours Description
08/29/21 Annie Laurette Dreisbach         1.00 Research and analyze issues re appointment
                                               of examiner in Fourth Circuit.
08/29/21 Tyler R. Knutson                 0.50 Correspond with A. Dreisbach re examiner
                                               appointment issues (.1); research re same (.4).
08/30/21 Tyler R. Knutson                 9.90 Review, analyze, summarize precedent and
                                               pleadings re appointment of examiners (3.8);
                                               draft pleadings re same (3.9); review motion
                                               re examiner appointment (.8); research and
                                               analyze precedent, pleadings, documentation
                                               re same (1.4).

Total                                     46.10




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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050021
                                                                               Client Matter: 48457-12

In the Matter of Hearings




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 39,511.50
Total legal services rendered                                                                                  $ 39,511.50




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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050021
Intelsat S.A.                                                 Matter Number:      48457-12
Hearings




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                         3.80      875.00          3,325.00
Bill Arnault                                         4.30    1,245.00          5,353.50
Seth A. Brimley                                      1.10      625.00            687.50
Dave Gremling                                        3.60      875.00          3,150.00
Nick Hafen                                           4.30      875.00          3,762.50
Jason T. Jarvis                                      2.60      765.00          1,989.00
Saunders McElroy                                     4.60      865.00          3,979.00
Casey McGushin                                       0.80    1,095.00            876.00
Michael B. Slade                                     6.50    1,445.00          9,392.50
Eric J. Wendorf                                      4.10      765.00          3,136.50
Laura Elizabeth Wolk                                 2.50    1,085.00          2,712.50
Donna Zamir                                          1.50      765.00          1,147.50

TOTALS                                               39.70                   $ 39,511.50




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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050021
Intelsat S.A.                                                 Matter Number:      48457-12
Hearings


                                  Description of Legal Services

Date       Name                          Hours        Description
08/10/21   Michael B. Slade               1.30        Prepare for trial.
08/12/21   Dave Gremling                  0.20        Coordinate sealed SES hearing.
08/15/21   Dave Gremling                  0.30        Correspond with K&E team re logistics re
                                                      sealed hearing.
08/17/21 Dave Gremling                     1.30       Correspond with K&E team re logistics re
                                                      sealed hearing.
08/17/21 Michael B. Slade                  4.30       Prepare for summary judgment hearing (3.8);
                                                      telephone conference with B. Arnault, K&E
                                                      team re trial preparation (.5).
08/18/21 Michael B. Slade                  0.90       Prepare for summary judgment hearing.
08/19/21 Maggie Alden                      3.80       Telephonically attend SES summary
                                                      judgment hearing.
08/19/21 Bill Arnault                      4.30       Participate in summary judgment and motion
                                                      to seal hearings.
08/19/21 Seth A. Brimley                   1.10       Attend telephone hearing on motion re
                                                      summary judgment.
08/19/21 Dave Gremling                     1.80       Partially attend telephonic hearing re motions
                                                      for summary judgment re SES claims.
08/19/21 Nick Hafen                        4.30       Telephonically attend hearing re SES
                                                      summary judgment.
08/19/21 Jason T. Jarvis                   2.60       Attend hearing re SES summary judgment.
08/19/21 Saunders McElroy                  4.60       Participate in hearing re SES motions for
                                                      summary judgment.
08/19/21 Casey McGushin                    0.80       Participate in hearing re motions for summary
                                                      judgment in SES litigation (partial).
08/19/21 Eric J. Wendorf                   4.10       Telephonically attend SES summary
                                                      judgment hearing.
08/19/21 Laura Elizabeth Wolk              2.50       Participate in summary judgment hearing.
08/19/21 Donna Zamir                       1.50       Telephonically attend SES summary
                                                      judgment hearing.

Total                                     39.70




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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050022
                                                                               Client Matter: 48457-14

In the Matter of Employee Issues




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 9,434.00
Total legal services rendered                                                                                   $ 9,434.00




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Intelsat S.A.                                                 Matter Number:      48457-14
Employee Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Kate Coverdale, P.C.                                 6.70    1,295.00          8,676.50
Deidre Kalenderian                                   0.50    1,125.00            562.50
Library Factual Research                             0.50      390.00            195.00

TOTALS                                                7.70                    $ 9,434.00




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Intelsat S.A.                                                 Matter Number:      48457-14
Employee Issues


                                      Description of Legal Services

Date       Name                              Hours        Description
07/13/21   Library Factual Research           0.50        Research re employment complaint.
08/07/21   Deidre Kalenderian                 0.40        Review and revise MIP term sheet.
08/08/21   Kate Coverdale, P.C.               1.70        Review and revise MIP term sheet.
08/09/21   Kate Coverdale, P.C.               1.30        Telephone conference with Company re MIP
                                                          (.4); revise MIP term sheet (.8); correspond
                                                          with Company re same (.1).
08/13/21 Kate Coverdale, P.C.                  0.30       Telephone conference with Company, D.
                                                          Hunter, S. Serajeddini and A. Yenamandra re
                                                          MIP.
08/13/21 Kate Coverdale, P.C.                  0.70       Review revised MIP term sheet (.3); revise
                                                          same (.4).
08/13/21 Deidre Kalenderian                    0.10       Review and revise MIP term sheet.
08/16/21 Kate Coverdale, P.C.                  0.30       Revise MIP term sheet.
08/16/21 Kate Coverdale, P.C.                  0.50       Revise MIP language (.1); review revised
                                                          MIP term sheet (.1); correspond with
                                                          Company re MIP (.2); correspond with A.
                                                          Yenamandra and D. Hunter re same (.1).
08/17/21 Kate Coverdale, P.C.                  0.20       Revise MIP term sheet (.1); correspond with
                                                          A. Yenamandra re MIP term sheet (.1).
08/18/21 Kate Coverdale, P.C.                  0.60       Telephone conference with S. Serajeddini and
                                                          Company re MIP term sheet (.4); correspond
                                                          with A. Yenamandra re MIP term sheet
                                                          matters (.1); review revised MIP term sheet
                                                          (.1).
08/22/21 Kate Coverdale, P.C.                  0.50       Review and revise MIP term sheet (.2);
                                                          correspond with D. Hunter, M. Alden, A.
                                                          Yenamandra, S. O'Hargan, D. Perechoky and
                                                          S. Briefel re same (.2); correspond with
                                                          Company re same (.1).
08/23/21 Kate Coverdale, P.C.                  0.60       Telephone conference with D. Hunter, A.
                                                          Yenamandra, P. Schaeffer and L. Lakarosky
                                                          re MIP (.3); telephone conference with D.
                                                          Hunter, A. Yenamandra, creditor counsel re
                                                          same (.3).

Total                                          7.70




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                                                         New York, NY 10022

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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050023
                                                                               Client Matter: 48457-17

In the Matter of Tax Issues




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 107,461.00
Total legal services rendered                                                                                $ 107,461.00




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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050023
Intelsat S.A.                                                 Matter Number:      48457-17
Tax Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Thad W. Davis, P.C.                                   4.80   1,475.00          7,080.00
Derek I. Hunter                                       0.70   1,125.00            787.50
Miles H. Johnson                                      9.60   1,225.00         11,760.00
Joe Morley                                           44.20     925.00         40,885.00
Anthony Vincenzo Sexton                              33.70   1,325.00         44,652.50
Aparna Yenamandra                                     0.80   1,195.00            956.00
Sara B. Zablotney, P.C.                               0.80   1,675.00          1,340.00

TOTALS                                               94.60                 $ 107,461.00




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Intelsat S.A.                                                 Matter Number:      48457-17
Tax Issues


                                   Description of Legal Services

Date     Name                             Hours Description
08/04/21 Miles H. Johnson                  1.10 Participate in weekly conference with Intelsat
                                                and Deloitte teams re tax issues (.9); review
                                                and provide tax comments re FCC CIC
                                                application (.2).
08/04/21 Anthony Vincenzo Sexton           1.60 Telephone conference with Company and
                                                Deloitte re tax modeling and related analysis
                                                (1.0); review and analyze treaty relief issues
                                                (.6).
08/06/21 Anthony Vincenzo Sexton           0.50 Review and revise FCC submission (.3);
                                                review governance issues re tax (.2).
08/08/21 Miles H. Johnson                  1.00 Review and provide tax comments re plan,
                                                disclosure statement, and other plan
                                                documents.
08/08/21 Anthony Vincenzo Sexton           0.20 Review issues re treaty status.
08/09/21 Miles H. Johnson                  2.80 Review and provide tax comments re updated
                                                plan disclosure statement and plan (1.8);
                                                participate in conference with A. Sexton and
                                                J. Welch re reimbursement payment accrual
                                                (.6); participate in conference with EHP re
                                                emergence structure (.4).
08/09/21 Anthony Vincenzo Sexton           2.20 Telephone conference with Portage re tax
                                                treaty issues (.4); correspond with same re
                                                same (.1); telephone conference with Deloitte
                                                re 1033 considerations (.7); correspond with
                                                Deloitte re same (.2); telephone conference
                                                with Elvinger, N. Binder and other K&E team
                                                members re structuring issues (.8).
08/10/21 Thad W. Davis, P.C.               3.30 Review and draft correspondence re tax
                                                structuring rules (1.7); research same (1.6).
08/10/21 Miles H. Johnson                  1.00 Review and provide tax comments re
                                                disclosure statement (.2); participate in
                                                conference call re emergence structure (.5);
                                                review and provide tax comments re tax
                                                structuring research (.3).




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Legal Services for the Period Ending August 31, 2021         Invoice Number:    1050050023
Intelsat S.A.                                                 Matter Number:      48457-17
Tax Issues

Date     Name                            Hours Description
08/10/21 Anthony Vincenzo Sexton          8.30 Review and analyze inversion issues (4.0);
                                               telephone conference with Elvinger, D.
                                               Hunter and other K&E team members re
                                               structuring issues (.5); telephone conference
                                               with Deloitte re inversion issues (1);
                                               telephone conference with creditor counsel
                                               and Elvinger re structuring issues (.9);
                                               telephone conference with SA
                                               directors/director advisors re same (1.0);
                                               telephone conference with A. Yenamandra re
                                               same (.2); telephone conference with Carew
                                               re inversion issues (.7).
08/11/21 Thad W. Davis, P.C.              1.50 Telephone conference with M. Carew re
                                               certain tax rules (.4); telephone conference
                                               with A. Sexton re same (.5); research same
                                               (.6).
08/11/21 Miles H. Johnson                 1.50 Review and provide tax comments re research
                                               re tax structuring issues (.4); review and
                                               provide tax comments re disclosure statement
                                               tax section (.1); participate in weekly
                                               conference with Intelsat and Deloitte re tax
                                               issues (1.0).
08/11/21 Anthony Vincenzo Sexton          3.40 Telephone conference with Company and
                                               Deloitte re status of tax analysis (1.0);
                                               telephone conference with S. Zablotney re tax
                                               structuring issues (.4); telephone conference
                                               with T. Davis re same (.3); review and
                                               analyze issues re same (.6); telephone
                                               conference with A. Yenamandra and
                                               directors/director advisors re case update (.3);
                                               telephone conference with SA
                                               directors/director advisors and D. Hunter re
                                               structure (.5); review and revise PVA
                                               summary (.3).
08/11/21 Aparna Yenamandra                0.80 Correspond with A. Sexton re tax issues.
08/11/21 Sara B. Zablotney, P.C.          0.80 Telephone conference with A. Sexton re
                                               Section 7874 (.4); review Section 7874
                                               regulations (.4).
08/12/21 Miles H. Johnson                 0.60 Review and provide tax comments re plan
                                               documents and disclosure statement.




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Intelsat S.A.                                                 Matter Number:      48457-17
Tax Issues

Date     Name                            Hours Description
08/12/21 Joe Morley                       3.60 Participate in telephone conference with K&E
                                               team and creditor advisors re emergence
                                               documents (.3); participate in telephone
                                               conference with K&E team and Luxembourg
                                               advisors re emergence considerations (.7);
                                               review and analyze FCC documents (.4);
                                               review and analyze international tax issue
                                               (1.5); correspond with M. Johnson and A.
                                               Sexton re matter status (.3); review and
                                               analyze correspondence re tax issues (.4).
08/12/21 Anthony Vincenzo Sexton          1.80 Review tax structuring issues (.2); telephone
                                               conference with Elvinger re structuring issues
                                               (.8); telephone conference with A.
                                               Yenamandra and directors/director advisors re
                                               case status (.1); review and analyze
                                               structuring issues and documents (.7).
08/13/21 Miles H. Johnson                 1.60 Review and provide tax comments re plan
                                               documents (.2); review and provide tax
                                               comments re plan documents and disclosure
                                               statement (.7); conference re tax issues and
                                               case status with A. Sexton and J. Morley (.7).
08/13/21 Joe Morley                       4.50 Review and analyze bankruptcy documents
                                               (.5); conference re bankruptcy tax issues with
                                               A. Sexton and M. Johnson (.7); participate in
                                               telephone conference with creditor counsel re
                                               plan support agreement and related
                                               bankruptcy documents (1.0); make proposed
                                               edits to Luxembourg section of disclosure
                                               statement (2.3).
08/13/21 Anthony Vincenzo Sexton          1.30 Telephone conference with PW, Loyens,
                                               Deloitte, and Elvinger re Luxembourg
                                               structuring issues (.8); telephone conference
                                               with J. Morley and M. Johnson re status of
                                               case (.5).
08/14/21 Joe Morley                       0.20 Review and analyze plan value allocation
                                               presentation.
08/14/21 Anthony Vincenzo Sexton          0.70 Telephone conference with A. Yenamandra
                                               and directors/director advisors re case status
                                               (.3); review and revise PVA presentation (.4).




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Tax Issues

Date     Name                            Hours Description
08/16/21 Joe Morley                       4.00 Participate in telephone conference with
                                               creditor Luxembourg counsel re bankruptcy
                                               documents (.9); participate in telephone
                                               conference with K&E team re bankruptcy
                                               documents (.2); participate in telephone
                                               conference with creditor U.S. counsel re
                                               bankruptcy documents (.5); correspond with
                                               M. Alden re cashless warrant exercise (.5);
                                               research tax structuring issue (1.5); review
                                               and analyze draft of tax documentation re
                                               debt modification (.4).
08/16/21 Anthony Vincenzo Sexton          0.20 Review form 8937 re DIP.
08/17/21 Anthony Vincenzo Sexton          1.20 Review and analyze PVA materials (.4);
                                               telephone conference with B. Arnault re same
                                               (.1); telephone conference with Deloitte and
                                               Company re Luxembourg substance issues
                                               (.5); correspond with Deloitte and Elvinger re
                                               same (.2).
08/18/21 Joe Morley                       6.60 Draft description of tax attribute valuation
                                               (2.0); conference re tax attribute valuation
                                               with D. Gremling (.4); participate in
                                               telephone conference with external advisors
                                               and Company re tax issues (.5); participate in
                                               telephone conference with creditor advisors re
                                               bankruptcy documents (.3); correspond with
                                               K&E team and external advisors re tax
                                               disclosure materials (1.5); conference re tax
                                               disclosure materials with N. Binder (.4);
                                               review and analyze updated drafts of
                                               bankruptcy documents (1.2); participate in
                                               telephone conference with K&E team re
                                               bankruptcy documents (.3).
08/18/21 Anthony Vincenzo Sexton          0.90 Telephone conference with Deloitte and
                                               Company re deal status and tax analysis (.3);
                                               address Luxembourg structuring issues (.2);
                                               review and address disclosure material issues
                                               (.2); review and revise HoldCo NOL issues
                                               (.2).
08/19/21 Joe Morley                       0.80 Make proposed edits to tax disclosure
                                               materials.
08/20/21 Joe Morley                       3.00 Make proposed edits to tax disclosure (2.5);
                                               participate in telephone conference with
                                               Company re tax disclosure (.3); correspond
                                               with N. Binder and B. Stone re tax disclosure
                                               (.2).

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Tax Issues

Date     Name                            Hours Description
08/20/21 Anthony Vincenzo Sexton          1.30 Telephone conference with A&M re PVA
                                               issues (1.0); review and revise same (.3).
08/23/21 Joe Morley                       2.70 Participate in telephone conference with
                                               creditor counsel re bankruptcy documents
                                               (.3); make proposed edits to tax disclosure
                                               statement (2.4).
08/24/21 Joe Morley                       1.30 Correspond with K&E team and external
                                               advisors re tax disclosure (.7); conference re
                                               Luxembourg corporate issues with
                                               Luxembourg legal advisors (.3); correspond
                                               with K&E team re Luxembourg corporate
                                               issues (.3).
08/24/21 Anthony Vincenzo Sexton          0.30 Telephone conference with D. Perechocky re
                                               exit structuring issues (.1); review and
                                               analyze exit structuring issues (.2).
08/25/21 Joe Morley                       2.70 Participate in telephone conference with
                                               Company and tax advisors re current tax
                                               issues (1.1); correspond with Company and
                                               external advisors re emergence structure
                                               (1.0); review and analyze emergence structure
                                               documents (.6).
08/25/21 Anthony Vincenzo Sexton          2.80 Telephone conference with Company and
                                               Deloitte re status of tax issues (1.1);
                                               correspond with Deloitte re tax structuring
                                               issues (.2); telephone conference with
                                               directors/director advisors and A.
                                               Yenamandra re case status (.2); review and
                                               analyze structuring issues (.5); telephone
                                               conference with Company re structuring
                                               issues (.8).
08/26/21 Derek I. Hunter                  0.70 Telephone conference with K&E team, tax
                                               advisors, creditors' counsel re certain tax and
                                               accounting issues.
08/26/21 Joe Morley                       2.60 Participate in telephone conference with client
                                               and external advisors re emergence
                                               structuring (1.3); participate in telephone
                                               conference with A. Sexton and D. Hunter re
                                               emergence structuring (.6); make proposed
                                               edits to restructuring work tracker (.4); review
                                               and analyze expert report (.3).




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Tax Issues

Date     Name                            Hours Description
08/26/21 Anthony Vincenzo Sexton          2.30 Telephone conference with Deloitte and
                                               Company re Luxembourg structuring issues
                                               (1.0); telephone conference with D. Hunter
                                               and other K&E team members re same (.5);
                                               review and analyze materials re same (.3);
                                               review valuation report materials (.5).
08/27/21 Joe Morley                       3.70 Participate in telephone conference with
                                               external advisors re bankruptcy valuation (.5);
                                               make proposed edits to valuation report (3.0);
                                               correspond with A. Sexton re valuation report
                                               (.2).
08/27/21 Anthony Vincenzo Sexton          1.30 Telephone conference with PJT and M. Slade
                                               re valuation analysis (.7); review materials re
                                               same (.3); review Luxembourg structure
                                               issues (.3).
08/30/21 Joe Morley                       4.00 Participate in telephone conference with
                                               Company, A. Sexton, and external advisors re
                                               international tax issue (.6); review and
                                               analyze tax attribute modeling (2.3); review
                                               and analyze financial expert report (.5);
                                               correspond with A. Sexton and M. Slade re
                                               same (.3); correspond with K&E team and
                                               external advisors re value allocation expert
                                               report (.3).
08/30/21 Anthony Vincenzo Sexton          0.60 Telephone conference with Company and
                                               Deloitte re tax structuring issues.
08/31/21 Joe Morley                       4.50 Participate in telephone conference with
                                               Luxembourg tax advisors re Luxembourg
                                               business licenses (.2); participate in telephone
                                               conference with external advisors and
                                               Company re same (.6); participate in
                                               telephone conference with external advisors
                                               re tax attributes (.7); correspond with external
                                               advisors and K&E team re Luxembourg
                                               business licenses (.7); conference re
                                               Luxembourg tax attributes with D. Gremling
                                               and N. Binder (.8); review and analyze same
                                               (.9); correspond with A. Sexton re same (.6).




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Tax Issues

Date     Name                            Hours Description
08/31/21 Anthony Vincenzo Sexton          2.80 Telephone conference with Company and
                                               Deloitte re Luxembourg structuring issues
                                               (.5); telephone conference with Elvinger, J.
                                               Morley, and other K&E team re structuring
                                               issues (.1); telephone conference with
                                               Company and Deloitte and Elvinger re
                                               business license issues (.7); telephone
                                               conference with A&M, M. Slade, and other
                                               K&E team members re tax analysis and
                                               disclosure statement (.8); review and analyze
                                               materials re same (.7).

Total                                    94.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050024
                                                                               Client Matter: 48457-18

In the Matter of Environmental/Regulatory Issues




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 171,397.50
Total legal services rendered                                                                                $ 171,397.50




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:      48457-18
Environmental/Regulatory Issues




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    1.40     875.00          1,225.00
Simon Briefel                                        23.10     995.00         22,984.50
Francois Capoul                                       5.30     760.00          4,028.00
Michael S. Casey                                      6.30   1,255.00          7,906.50
Michael Engel                                        67.70   1,155.00         78,193.50
H. Boyd Greene IV                                     0.30   1,295.00            388.50
Luci Hague                                            1.00   1,155.00          1,155.00
Carla A.R. Hine                                       0.80   1,215.00            972.00
Jennifer Karinen                                      1.70   1,125.00          1,912.50
Andrew Kimball                                        0.60   1,195.00            717.00
Joshua Korff, P.C.                                    1.00   1,645.00          1,645.00
Erika Krum                                            2.50     765.00          1,912.50
Mario Mancuso, P.C.                                   0.50   1,695.00            847.50
Brian Nakhaimousa                                     7.70     765.00          5,890.50
Matt O'Hare                                           5.10   1,125.00          5,737.50
Shawn OHargan, P.C.                                   1.00   1,355.00          1,355.00
David L. Perechocky                                   7.20   1,185.00          8,532.00
Sandeep Ravikumar                                    12.30     875.00         10,762.50
Diego Rodriguez                                       4.00     375.00          1,500.00
Whitney Rosser                                        1.30     765.00            994.50
Anna Schwander                                        1.20   1,125.00          1,350.00
Michael B. Slade                                      0.50   1,445.00            722.50
Marcus Thompson                                       1.30   1,545.00          2,008.50
Laurent Victor-Michel                                 5.50   1,335.00          7,342.50
Aparna Yenamandra                                     1.10   1,195.00          1,314.50

TOTALS                                              160.40                 $ 171,397.50




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Environmental/Regulatory Issues


                                  Description of Legal Services

Date     Name                            Hours Description
08/02/21 Simon Briefel                    0.60 Correspond with K&E team re regulatory
                                               issues.
08/02/21 Michael Engel                    0.50 Correspond with K&E corporate and Jones
                                               Day re equity holder structure.
08/02/21 Michael Engel                    1.50 Telephone conference with Jones Day re
                                               merger control and FDI.
08/02/21 David L. Perechocky              0.10 Correspond with counsel re regulatory issues.
08/03/21 Simon Briefel                    0.50 Telephone conference with Company, D.
                                               Perechocky, M. Engel re regulatory issues
                                               (.2); correspond with D. Perechocky, M.
                                               Engel re same (.3).
08/03/21 Michael Engel                    1.50 Correspond and telephone conference with
                                               Jones Day re MJ analysis.
08/03/21 David L. Perechocky              0.40 Regulatory check in call (0.4).
08/04/21 Simon Briefel                    0.30 Review, revise regulatory tracker (.2);
                                               correspond with D. Perechocky re same (.1).
08/04/21 Luci Hague                       0.20 Correspond with Jones Day team re CFIUS
                                               (.1); follow up with M. O'Hare re same (.1).
08/04/21 Matt O'Hare                      0.30 Correspond with L. Hague and Jones Day re
                                               CFIUS considerations.
08/05/21 Michael Engel                    0.80 Correspond with Jones Day re regulatory
                                               issues.
08/05/21 Michael Engel                    0.50 Conduct filing analysis re Israel (.3);
                                               correspond with Jones Day re same (.2).
08/05/21 Luci Hague                       0.50 Prepare for and participate in telephone
                                               conference with M. O'Hare and Jones Day
                                               team re CFIUS.
08/06/21 Simon Briefel                    0.90 Telephone conference with Company, D.
                                               Perechocky, M. Engel re regulatory issues
                                               (.2); review, comment on regulatory tracker
                                               (.5); correspond with D. Perechocky re same
                                               (.2).
08/09/21 Simon Briefel                    0.20 Telephone conference with D. Perechocky,
                                               K&E team re regulatory issues.
08/09/21 Michael Engel                    1.00 Correspond and telephone conference with
                                               Jones Day (Elli Zachari) re FDI analysi;
                                               review Intelsat’s amended disclosure
                                               statement.



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Environmental/Regulatory Issues

Date     Name                            Hours Description
08/09/21 Sandeep Ravikumar                0.20 Correspond with Jones Day re merger control
                                               and FDI analysis.
08/10/21 Simon Briefel                    1.20 Correspond with D. Perechocky K&E team re
                                               regulatory issues, HSR, CFIUS filing (.6);
                                               telephone conference with D. Perechocky, M.
                                               Engel, Company re regulatory issues (.2);
                                               review, revise regulatory tracker (.4).
08/10/21 Michael S. Casey                 1.30 Correspond with K. Koskivirta re national
                                               security issues and timing considerations (.8);
                                               correspond with M. Engel re same (.5).
08/10/21 Michael Engel                    3.00 Correspond with S. Briefel re regulatory
                                               issues (.6); telephone conference with A&M
                                               re revised Intelsat data (2.2); review draft FDI
                                               analysis prepared by Jones Day (.2).
08/10/21 H. Boyd Greene IV                0.30 Telephone conference with D. Gremling re
                                               regulatory approvals re emergence from
                                               bankruptcy.
08/10/21 Andrew Kimball                   0.60 Review FCC consent application and
                                               ownership disclosure (.4); draft and review
                                               correspondence re same (.2).
08/10/21 Brian Nakhaimousa                1.20 Revise regulatory issues tracker.
08/10/21 David L. Perechocky              0.50 Telephone conference with A. Shourie.
08/10/21 Sandeep Ravikumar                1.00 Correspond and telephone conference with
                                               K&E team re merger control and FDI
                                               analysis.
08/10/21 Aparna Yenamandra                0.80 Correspond with K&E team re FCC
                                               application.
08/11/21 Michael Engel                    1.00 Correspond with M. Casey re UK analysis
                                               (.6); review responses received from Intelsat
                                               re same (.4).
08/11/21 Brian Nakhaimousa                0.40 Update regulatory issues tracker.
08/11/21 Sandeep Ravikumar                1.50 Review term sheet, FDI analysis and merger
                                               control analysis.
08/11/21 Diego Rodriguez                  4.00 Review, analyze MJ analysis.
08/12/21 Michael Engel                    0.50 Correspond with Jones Day re outstanding
                                               information and analysis.
08/12/21 Brian Nakhaimousa                0.30 Revise regulatory issues tracker.
08/13/21 Simon Briefel                    0.60 Telephone conference with D. Perechocky,
                                               M. Engel, Company re regulatory issues (.4);
                                               review, revise regulatory tracker (.2).




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Environmental/Regulatory Issues

Date     Name                            Hours Description
08/13/21 Michael S. Casey                 2.50 Prepare for and participate in telephone
                                               conference with M Thompson, K&E team,
                                               Company re regulatory filings (.5); draft
                                               memorandum re national security regime
                                               (2.0).
08/13/21 Michael Engel                    2.00 Correspond with Gilbert & Tobin re FIRB
                                               analysis (.8); review joint control analysis
                                               (.5); correspond with K&E team, Jones Day
                                               team re regulatory issues (.7).
08/13/21 David L. Perechocky              0.50 Telephone conference with K&E team re
                                               regulatory issues.
08/13/21 Whitney Rosser                   1.30 Draft Form 15 (.9); correspond with D.
                                               Maliniak re same (.4).
08/14/21 Jennifer Karinen                 1.70 Review indentures re regulatory issues (1.4);
                                               telephone conference with creditor advisors re
                                               affiliate noteholders (.3).
08/16/21 Simon Briefel                    0.40 Correspond with M. Engel, D. Perechochy re
                                               regulatory issues.
08/16/21 Luci Hague                       0.10 Telephone conference with M. O’Hare re
                                               regulatory issues.
08/16/21 Brian Nakhaimousa                0.20 Update regulatory issues tracker.
08/16/21 Matt O'Hare                      0.30 Correspond with creditors and L. Hague re
                                               regulatory considerations.
08/16/21 Anna Schwander                   1.00 Telephone conference with Jones Day re
                                               analysis on international compliance issues.
08/16/21 Michael B. Slade                 0.50 Telephone conference with Company and A.
                                               Yenamandra re regulatory issues.
08/16/21 Aparna Yenamandra                0.30 Telephone conference with M. Bryan, M.
                                               Slade re regulatory issues.
08/17/21 Simon Briefel                    0.70 Correspond with D. Perechocky, M. Engel re
                                               regulatory issues.
08/17/21 Michael Engel                    3.00 Correspond with JD and K&E team re control
                                               analysis and FDI analysis (1.0); telephone
                                               conference, correspond with Jones Day re
                                               regulatory issues (1.5); correspond with B.
                                               Stone re draft disclosure statement re
                                               regulatory issues (.3); correspond with S.
                                               Briefel re tracker re Company responses (.2).
08/17/21 Luci Hague                       0.20 Revise regulatory issues tracker.
08/17/21 Erika Krum                       0.50 Correspond with M. O'Hare re regulatory
                                               notice (.2); review, organize due diligence
                                               materials (.3).


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Environmental/Regulatory Issues

Date     Name                            Hours Description
08/17/21 Mario Mancuso, P.C.              0.50 Correspond with M. O'Hare, K&E team re
                                               regulatory issue (.3); correspond with outside
                                               counsel re same (.2).
08/17/21 Brian Nakhaimousa                0.20 Revise regulatory issues tracker.
08/17/21 Matt O'Hare                      2.70 Correspond with L. Hague, K&E team, and
                                               creditor advisors re regulatory considerations
                                               (.7); correspond with outside counsel re same
                                               (.8); prepare regulatory filing template (1.2).
08/17/21 Sandeep Ravikumar                0.50 Correspond with K&E team re merger control
                                               analysis, FDI analysis.
08/18/21 Simon Briefel                    0.90 Telephone conference with Company, D.
                                               Perechocky, M. Engel re regulatory issues
                                               (.5); follow up with D. Perechocky, K&E
                                               team re same (.4).
08/18/21 Michael Engel                    3.00 Correspond and telephone conference with
                                               Jones Day, K&E team re regulatory issues
                                               (1.9); telephone conference with A&M re
                                               control analysis for merger control purposes
                                               (1.1).
08/18/21 Erika Krum                       0.50 Review regulatory filing (.3); correspond with
                                               M.O'Hare and outside counsel re same (.2).
08/18/21 Brian Nakhaimousa                1.10 Update regulatory issues tracker.
08/18/21 Matt O'Hare                      0.20 Correspond with E. Krum re regulatory filing.
08/18/21 David L. Perechocky              0.50 Telephone conference with K&E team re
                                               regulatory issues.
08/18/21 Sandeep Ravikumar                0.50 Correspond with K&E team re antitrust
                                               analysis.
08/19/21 Michael Engel                    3.00 Correspond, telephone conference with Jones
                                               Day, K&E team, A&M re regulatory issues
                                               (2.1); correspond with K&E team re
                                               international regulatory matter (.6); revise
                                               regulatory tracker (.3).
08/19/21 Erika Krum                       1.50 Review team telecom questionnaire exhibits
                                               (.3); draft outline re regulatory notice (.4);
                                               draft regulatory questionnaire (.5); correspond
                                               with M. O'Hare re regulatory questionnaire
                                               (.3).
08/19/21 Brian Nakhaimousa                0.60 Revise regulatory issues tracker.
08/19/21 Matt O'Hare                      0.10 Correspond with E. Krum re regulatory notice
                                               filing.




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Date     Name                            Hours Description
08/20/21 Simon Briefel                    1.20 Telephone conference with Company, D.
                                               Perechocky, M. Engel (.4); follow up with
                                               K&E team re same (.5); revise regulatory
                                               tracker (.3).
08/20/21 Brian Nakhaimousa                0.20 Update regulatory issues tracker.
08/20/21 Matt O'Hare                      0.90 Draft regulatory notice questionnaire (.7);
                                               correspond with E. Krum re same (.2).
08/22/21 David L. Perechocky              0.40 Telephone conference with K&E team re
                                               regulatory matters.
08/23/21 Simon Briefel                    0.60 Review, revise regulatory tracker.
08/23/21 Michael S. Casey                 0.50 Correspond with K&E team re NSI issues.
08/23/21 Michael Engel                    2.00 Correspond and telephone conference with
                                               Jones Day, K&E team, local counsel re
                                               regulatory issues, filing countries analysis
                                               (1.1); review, analyze FDI, regulatory
                                               analysis (.9)..
08/23/21 Michael Engel                    0.80 Review, revise regulatory tracker.
08/23/21 Michael Engel                    1.00 Correspond and telephone conference with
                                               Jones Day re FDI, regulatory considerations.
08/23/21 Michael Engel                    0.80 Correspond with Jones Day re Spanish filing
                                               analysis.
08/23/21 Michael Engel                    1.00 Prepare summary and draft timeline for FDI
                                               Review Process.
08/23/21 Carla A.R. Hine                  0.30 Review HSR analysis.
08/23/21 Brian Nakhaimousa                0.60 Update regulatory issues tracker.
08/23/21 Matt O'Hare                      0.60 Draft regulatory questionnaire (.3);
                                               correspond with S. Briefel, L. Hague, and
                                               Paul Weiss re regulatory notice filing (.3).
08/23/21 Sandeep Ravikumar                0.30 Review, analyze regulatory issues.
08/24/21 Simon Briefel                    4.20 Telephone conference with M. Engel, D.
                                               Perechocky re regulatory issues (.2); review,
                                               revise regulatory tracker (.7); correspond with
                                               Company, M. Engel, D. Perechocky re same,
                                               regulatory issues (1.9); review issues re same
                                               (1.4).
08/24/21 Michael Engel                    3.00 Correspond and telephone conference with
                                               Jones Day, K&E team re control analysis and
                                               FDI analysis questions (1.8); correspond with
                                               B. Stone re draft disclosure statement,
                                               regulatory considerations (1.0); telephone
                                               conference with D. Perechocky, S. Briefel re
                                               regulatory issues (.2).

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Intelsat S.A.                                                 Matter Number:      48457-18
Environmental/Regulatory Issues

Date     Name                            Hours Description
08/24/21 Carla A.R. Hine                  0.50 Review HSR analysis.
08/24/21 Brian Nakhaimousa                1.30 Revise regulatory issues tracker (1.1);
                                               conference with S. Briefel re same (.2).
08/24/21 David L. Perechocky              1.60 Telephone conference with A. Shourie, M.
                                               Engel re regulatory issues (1.0); correspond
                                               with S. Briefel re regulatory tracker (.6).
08/24/21 Laurent Victor-Michel            0.50 Analyze issues re regulatory filing.
08/25/21 Nicholas A. Binder               1.40 Review regulatory filing (1.2); correspond
                                               with K&E team re same (.2).
08/25/21 Simon Briefel                    2.20 Telephone conference with Company, M.
                                               Engel, D. Perechocky re regulatory
                                               workstreams (1.0); correspond with M. Engel,
                                               D. Perechocky, K&E team re same (.9);
                                               analyze issues re same (.3).
08/25/21 Francois Capoul                  1.00 Correspond with M. Engel re international
                                               compliance issues.
08/25/21 Francois Capoul                  0.30 Telephone conference with L. Victor-Michel
                                               re international compliance filing.
08/25/21 Michael S. Casey                 2.00 Conference with M. Thompson re regulatory
                                               issues (1.1); telephone conference with M.
                                               Thompson and Jones Day re same (.5);
                                               correspond, telephone conference with
                                               Company, K&E team re same (.4).
08/25/21 Michael Engel                    1.00 Telephone conference with Company re
                                               regulatory approvals.
08/25/21 Michael Engel                    0.80 Telephone conference with Uria re Spanish
                                               FDI analysis.
08/25/21 Michael Engel                    0.50 Telephone conference with Jones Day re
                                               finalizing FDI process.
08/25/21 Michael Engel                    0.30 Correspond with K&E team re Mexican
                                               financial statements re Mexican filing
                                               analysis.
08/25/21 Michael Engel                    1.50 Telephone conference with merger registry re
                                               regulatory matters.
08/25/21 Michael Engel                    0.50 Correspond with Gilbert & Tobin re the FIRB
                                               analysis and preparation of the FIRB filing.
08/25/21 Michael Engel                    0.50 Telephone conference with French counsel re
                                               FDI analysis.
08/25/21 Michael Engel                    0.50 Telephone conference with local counsel re
                                               regulatory considerations.




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Date     Name                            Hours Description
08/25/21 Michael Engel                    1.80 Correspond and telephone conference with
                                               Jones Day re regulatory issues, filing
                                               considerations.
08/25/21 Michael Engel                    0.50 Telephone conference with Mexican counsel
                                               re regulatory analysis.
08/25/21 Brian Nakhaimousa                0.30 Update regulatory issues tracker.
08/25/21 Shawn OHargan, P.C.              1.00 Telephone conference re regulatory matters
                                               (.5); telephone conference re emergence
                                               timing (.5).
08/25/21 David L. Perechocky              1.30 Telephone conference with Company re
                                               regulatory matters (1.1); correspond with
                                               K&E team re same (.2).
08/25/21 Sandeep Ravikumar                1.80 Correspond with M. Engel re FDI, antitrust
                                               considerations.
08/25/21 Marcus Thompson                  0.50 Telephone conference with K&E team re
                                               national security submission.
08/25/21 Marcus Thompson                  0.80 Telephone conference with Company re UK
                                               national security submission.
08/26/21 Simon Briefel                    1.50 Review, revise regulatory tracker (.4);
                                               correspond with M. Engel, D. Perechocky re
                                               regulatory issues (.7); analyze issues re same
                                               (.4).
08/26/21 Francois Capoul                  0.50 Telephone conference with client and K&E
                                               team re regulatory filing requirement.
08/26/21 Francois Capoul                  0.50 Correspond with Company re regulatory
                                               filing.
08/26/21 Michael Engel                    4.00 Research regulatory issues.
08/26/21 Michael Engel                    1.00 Telephone conference with Jones Day re
                                               Form RS.
08/26/21 Michael Engel                    0.50 Reviewing draft FCC filing.
08/26/21 Michael Engel                    4.00 Draft Form RS.
08/26/21 Michael Engel                    0.50 Correspond with local counsel re regulatory
                                               issues.
08/26/21 Michael Engel                    0.30 Telephone conference with Uria re regulatory
                                               considerations.
08/26/21 Michael Engel                    0.80 Telephone conference with French counsel re
                                               regulatory issues, FDI.
08/26/21 Michael Engel                    0.50 Correspond with Jones Day re case team
                                               allocation request.
08/26/21 Michael Engel                    0.50 Revise Form RS.
08/26/21 Michael Engel                    0.50 Correspond with Jones Day re Form RS.

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Date     Name                            Hours Description
08/26/21 Joshua Korff, P.C.               1.00 Correspond with K&E team re securities law
                                               issues (.5); telephone conferences with K&E
                                               team re securities law issues (.5).
08/26/21 Brian Nakhaimousa                0.80 Update regulatory issues tracker (.3); draft
                                               summary re regulatory compliance (.5).
08/26/21 David L. Perechocky              0.20 Correspond with K&E team re regulatory
                                               workstream.
08/26/21 Sandeep Ravikumar                3.30 Draft antitrust filings.
08/26/21 Laurent Victor-Michel            0.50 Telephone conference with Company re
                                               regulatory filing.
08/26/21 Laurent Victor-Michel            1.00 Correspond with Company re regulatory
                                               filing.
08/27/21 Simon Briefel                    3.30 Draft, revise tracker re FDI filings (2.1);
                                               telephone conference with Company, M.
                                               Engel, D. Perechocky re regulatory issues
                                               (.5); correspond with M. Engel, D.
                                               Petechocky re same (.7).
08/27/21 Francois Capoul                  0.20 Telephone conference with L. Victor-Michel
                                               and M. Engel re regulatory filing.
08/27/21 Michael Engel                    1.00 Telephone conference with Jones Day re case
                                               team allocation request.
08/27/21 Michael Engel                    1.00 Review, analyze regulatory issues.
08/27/21 Michael Engel                    0.30 Correspond with S. Briefel re regulatory
                                               matters.
08/27/21 Michael Engel                    2.00 Telephone conference with local counsel,
                                               Jones Day re merger and FDI analysis.
08/27/21 Michael Engel                    0.80 Telephone conference with French counsel re
                                               French FDI analysis.
08/27/21 David L. Perechocky              0.80 Telephone conference with K&E team re
                                               regulatory issues (.5); correspond with K&E
                                               team re summary disclosure (.3).
08/27/21 Sandeep Ravikumar                1.20 Revise EU filing annex (1.0); correspond with
                                               Jones Day re same (.2).
08/27/21 Laurent Victor-Michel            2.00 Telephone conference with F. Capoul and M.
                                               Engel re regulatory filing (.2); review
                                               memorandum re same (1.8).
08/27/21 Laurent Victor-Michel            0.50 Telephone conference with Michael Engel re
                                               regulatory filing.
08/30/21 Simon Briefel                    1.50 Review, revise regulatory tracker (.6);
                                               correspond with Company, D. Perechocky,
                                               M. Engel re regulatory issues (.9).


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Environmental/Regulatory Issues

Date     Name                            Hours Description
08/30/21 Francois Capoul                  0.70 Conference with L. Victor-Michel re
                                               international compliance issues.
08/30/21 Francois Capoul                  0.60 Correspond with Company re international
                                               compliance issues.
08/30/21 Francois Capoul                  1.50 Correspond with M. Engel re international
                                               compliance procedures.
08/30/21 Michael Engel                    0.30 Correspond with K&E team re regulatory
                                               issues.
08/30/21 Michael Engel                    0.50 Correspond with Gilbert & Tobin re
                                               regulatory matters.
08/30/21 Michael Engel                    1.00 Correspond with K&E team re regulatory
                                               issues.
08/30/21 Michael Engel                    2.00 Draft summary re regulatory requirements for
                                               France, Australia and Spain (1.1); follow-up
                                               with Jones Day regarding Allianz sign-off on
                                               the case team allocation request (.9).
08/30/21 Michael Engel                    0.50 Draft timeline.
08/30/21 Michael Engel                    0.80 Prepare summary analysis re ultimate control
                                               analysis and Spanish FDI approval.
08/30/21 Michael Engel                    0.50 Telephone conference with S. Briefel re
                                               regulatory matters.
08/30/21 Michael Engel                    1.00 Review German regulatory analysis.
08/30/21 Michael Engel                    0.80 Telephone conference with Jones Day re
                                               German regulatory analysis.
08/30/21 Michael Engel                    0.50 Prepare regulatory timeline.
08/30/21 Brian Nakhaimousa                0.30 Update regulatory issues tracker.
08/30/21 David L. Perechocky              0.20 Correspond with K&E team re regulatory
                                               matters.
08/30/21 Laurent Victor-Michel            1.00 Review memorandum re international
                                               compliance issues.
08/31/21 Simon Briefel                    2.30 Telephone conference with Company, D.
                                               Perechoky, M. Engel re regulatory issues (.7);
                                               review, revise regulatory tracker (.6);
                                               correspond with M. Engel, Company re
                                               regulatory issues (1.0).
08/31/21 Michael Engel                    2.50 Correspond with foreign counsel re Spanish
                                               FDI analysis (1.7); telephone conference with
                                               E. Navarro re Spanish FDI analysis (.7);
                                               research re same (.1).
08/31/21 Michael Engel                    1.80 Revise Form RS (.9); correspond with foreign
                                               counsel re regulatory matters (.9).


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Date     Name                            Hours Description
08/31/21 Brian Nakhaimousa                0.20 Update regulatory issues tracker.
08/31/21 David L. Perechocky              0.70 Telephone conference with K&E team re
                                               regulatory matters (.5); correspond with K&E
                                               team re same (.2).
08/31/21 Sandeep Ravikumar                2.00 Review EU merger filing and annexes (1.5);
                                               correspond with local counsel re antitrust
                                               filings (.5).
08/31/21 Anna Schwander                   0.20 Telephone conference and correspond with
                                               Company re international compliance issues.

Total                                   160.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050025
                                                                               Client Matter: 48457-20

In the Matter of Case Administration




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 116,486.00
Total legal services rendered                                                                                $ 116,486.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Case Administration




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          4.90     875.00          4,287.50
Nicholas A. Binder                                    3.70     875.00          3,237.50
Simon Briefel                                         5.70     995.00          5,671.50
Seth A. Brimley                                       7.50     625.00          4,687.50
Michael Y. Chan                                       6.20     275.00          1,705.00
Annie Laurette Dreisbach                              4.20     995.00          4,179.00
Dave Gremling                                         2.00     875.00          1,750.00
Nick Hafen                                            3.10     875.00          2,712.50
Jacqueline Hahn                                       7.50     285.00          2,137.50
Derek I. Hunter                                       3.70   1,125.00          4,162.50
Jason T. Jarvis                                       3.20     765.00          2,448.00
Cara Katrinak                                         4.20     875.00          3,675.00
Tyler R. Knutson                                      6.30     765.00          4,819.50
Krista Koskivirta                                     0.30     995.00            298.50
Michael Lemm                                          1.00     875.00            875.00
Emily A. Meraia                                       0.50     995.00            497.50
Brian Nakhaimousa                                    24.40     765.00         18,666.00
Eric Nyberg                                          10.00     275.00          2,750.00
Robert Orren                                         15.00     460.00          6,900.00
Samuel J. Seneczko                                    3.60     875.00          3,150.00
Michael B. Slade                                      0.50   1,445.00            722.50
Benjamin P. Stone                                     2.00     765.00          1,530.00
William Thompson                                      4.60     765.00          3,519.00
Eric J. Wendorf                                       2.10     765.00          1,606.50
Chambliss Williams                                   18.00     875.00         15,750.00
Lydia Yale                                            6.00     285.00          1,710.00
Aparna Yenamandra                                     1.50   1,195.00          1,792.50
Donna Zamir                                          14.70     765.00         11,245.50

TOTALS                                              166.40                 $ 116,486.00




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                                  Description of Legal Services

Date     Name                            Hours Description
08/01/21 Maggie Alden                     0.20 Revise work in process (.1); correspond with
                                               B. Nakhaimousa, K&E team team re same
                                               (.1).
08/01/21 Brian Nakhaimousa                2.20 Update work in process trackers.
08/01/21 Samuel J. Seneczko               0.30 Revise work in process tracker (.2);
                                               correspond with B. Nakhaimousa re same
                                               (.1).
08/02/21 Simon Briefel                    0.30 Telephone conference with D. Hunter, K&E
                                               team re case status, next steps.
08/02/21 Brian Nakhaimousa                0.90 Revise work in process tracker.
08/02/21 William Thompson                 0.10 Correspond with B. Nakhaimousa re work in
                                               process.
08/02/21 Chambliss Williams               6.70 Review correspondence re case status (3.4);
                                               follow up with K&E team re same (3.3).
08/02/21 Aparna Yenamandra                0.50 Attend small group telephone conference re
                                               work in process.
08/03/21 Maggie Alden                     0.50 Telephone conference with D. Hunter, K&E
                                               team team re work in process.
08/03/21 Nicholas A. Binder               1.30 Telephone conference with K&E team re
                                               work in process (.5); correspond with K&E
                                               team re same (.2); telephone conference with
                                               K&E team re case considerations (.3); review
                                               documents and materials re same (.3).
08/03/21 Simon Briefel                    0.60 Review, comment on work in process tracker
                                               (.2); telephone conference with D. Hunter,
                                               K&E team re case status. (.4).
08/03/21 Nick Hafen                       0.40 Conference with D. Hunter, K&E team re
                                               work in process.
08/03/21 Derek I. Hunter                  0.60 Conference with K&E team, Company, and
                                               Company advisors re work in process.
08/03/21 Jason T. Jarvis                  0.40 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/03/21 Michael Lemm                     0.10 Video conference with D. Hunter, K&E team
                                               re work in process.
08/03/21 Brian Nakhaimousa                1.10 Revise work in process trackers (.6);
                                               conference with K&E team re work in process
                                               (.5).
08/03/21 Robert Orren                     0.10 Correspond with B. Nakhaimousa re case
                                               status.

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Date     Name                            Hours Description
08/03/21 Samuel J. Seneczko               0.80 Revise work in process tracker (.2);
                                               correspond with B. Nakhaimousa re same
                                               (.1); conference with K&E team re work in
                                               process (.5).
08/03/21 Benjamin P. Stone                0.50 Conference with D. Hunter, K&E team re
                                               work in process.
08/03/21 William Thompson                 0.40 Conference with D. Hunter and K&E team re
                                               work in process.
08/03/21 Eric J. Wendorf                  0.50 Participate in conference re work in process.
08/03/21 Chambliss Williams               0.90 Video conference with K&E team re work in
                                               process (.7); review summary chart re same
                                               (.2).
08/03/21 Donna Zamir                      0.50 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
08/04/21 Maggie Alden                     0.60 Telephone conference with N. Binder re work
                                               in process.
08/04/21 Brian Nakhaimousa                0.90 Revise work in process tracker.
08/04/21 William Thompson                 0.10 Correspond with B. Nakhaimousa re work in
                                               process.
08/05/21 Maggie Alden                     0.10 Correspond with B. Nakhaimousa re work in
                                               process.
08/05/21 Simon Briefel                    0.10 Comment on work in process tracker.
08/05/21 Jacqueline Hahn                  0.50 Research certificate of good standing request
                                               for A. Mandrake.
08/05/21 Brian Nakhaimousa                1.20 Revise work in process trackers.
08/05/21 Robert Orren                     2.20 Prepare filing credentials for S. Serajeddini in
                                               EDNY bankruptcy court for Russian Media
                                               filings (1.4); correspond with K&E team re
                                               same (.4); correspond with K&E and Kutak
                                               working groups re A. Yenamandra pro hac
                                               vice in Intelsat (.4).
08/05/21 Lydia Yale                       1.60 Draft a pro hac vice, notice of appearance for
                                               A. Yenamandra (.6); review, revise the same
                                               (.3); correspond with R. Orren and J. Hahn re
                                               same (.6); request a certificate of good
                                               standing (.1).
08/05/21 Donna Zamir                      5.80 Research re scheduling issues (3.7); draft
                                               summary re same (1.7); correspond with S.
                                               Briefel, E. Wendorf re same (.4).
08/06/21 Maggie Alden                     0.50 Telephone conference with D. Hunter, K&E
                                               team team re work in process.


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Date     Name                            Hours Description
08/06/21 Simon Briefel                    0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process, next steps.
08/06/21 Jacqueline Hahn                  0.70 Research certificate of good standing request
                                               for A. Yenamandra (.3); correspond with
                                               K&E team re certificate of good standing (.4).
08/06/21 Derek I. Hunter                  0.50 Conference with K&E team re work in
                                               process.
08/06/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/06/21 Brian Nakhaimousa                1.00 Update work in process trackers (.4);
                                               conference with K&E team re work in process
                                               (.6).
08/06/21 Robert Orren                     1.60 Prepare for filing credentials in Russian
                                               Media case for S. Serajeddini (.8); prepare pro
                                               hac vice of A. Yenamandra in same (.4);
                                               correspond with L. Yale and J. Hahn re same
                                               (.4).
08/06/21 Samuel J. Seneczko               0.50 Conference with K&E team re work in
                                               process.
08/06/21 William Thompson                 0.60 Correspond with B. Nakhaimousa re work in
                                               process (.1); conference with D. Hunter and
                                               K&E team re work in process (.5).
08/06/21 Eric J. Wendorf                  0.50 Participate in work in process meeting.
08/06/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re work in process (.4); review summary chart
                                               re same (.3).
08/06/21 Lydia Yale                       1.10 Correspond with R. Orren, J. Hahn R. Pitino
                                               re requesting a certificate of good standing.
08/06/21 Donna Zamir                      3.80 Research re scheduling issues (1.8); review,
                                               revise materials re same (1.3); correspond
                                               with S. Briefel, E. Wendorf re same (.2);
                                               video conference with D. Hunter, K&E team
                                               re case status and work-stream update (.5).
08/07/21 Brian Nakhaimousa                0.30 Update work in process tracker.
08/07/21 Donna Zamir                      0.40 Correspond with D. Hunter, K&E team re
                                               hearing schedules.
08/08/21 Brian Nakhaimousa                0.60 Update work in process tracker.
08/09/21 Maggie Alden                     0.10 Correspond with M. Lemm re staffing,
                                               coverage.
08/09/21 Michael Y. Chan                  0.20 Analyze update for supplemental disclosure
                                               of creditors, entities.


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Date     Name                            Hours Description
08/09/21 Jacqueline Hahn                  0.30 Prepare certificate of good standing for A.
                                               Yenamandra.
08/09/21 Brian Nakhaimousa                1.80 Revise work in process trackers (1.5);
                                               calendar key dates (.3).
08/09/21 Robert Orren                     0.60 Prepare pro hac vices in Russian Media (.3);
                                               correspond with K&E team re same (.3).
08/09/21 William Thompson                 0.10 Correspond with B. Nakhaimousa re work in
                                               process updates.
08/09/21 Lydia Yale                       1.20 Correspond with J. Hahn and R. Orren re
                                               certificates of good standing for pro hac vices.
08/10/21 Simon Briefel                    0.70 Telephone conference with D. Hunter, K&E
                                               team re case status, next steps (.5); revise
                                               work in process tracker (.2).
08/10/21 Michael Y. Chan                  5.50 Conduct analysis update for supplemental
                                               disclosure of creditors, entities.
08/10/21 Nick Hafen                       0.60 Conference with D. Hunter, K&E team re
                                               work in process.
08/10/21 Jason T. Jarvis                  0.60 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/10/21 Tyler R. Knutson                 0.60 Conference with K&E restructuring team re
                                               work in process.
08/10/21 Krista Koskivirta                0.30 Attend telephone conference with M Engel re
                                               case status and next steps.
08/10/21 Brian Nakhaimousa                1.70 Update work in process trackers (1.1);
                                               conference with D. Hunter, K&E team re
                                               work in process, next steps (.6).
08/10/21 Eric Nyberg                      4.00 Conduct analysis update for supplemental
                                               disclosure of creditors/entities.
08/10/21 Robert Orren                     0.20 Prepare telephonic hearing appearance for B.
                                               Nakhaimousa in Aeromexico.
08/10/21 Samuel J. Seneczko               0.50 Telephone conference with K&E, PJT teams
                                               re work in process.
08/10/21 William Thompson                 0.70 Conference with D. Hunter re work in
                                               process.
08/10/21 Eric J. Wendorf                  0.50 Participate office conference with K&E team
                                               re work in process.
08/10/21 Lydia Yale                       0.60 Review, revise A. Yenamandra's pro hac vice.
08/11/21 Michael Y. Chan                  0.50 Organize and review of supplemental
                                               disclosures re creditors/entities.
08/11/21 Brian Nakhaimousa                1.10 Update work in process trackers.



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Date     Name                            Hours Description
08/11/21 Eric Nyberg                      2.00 Analyze update for supplemental disclosure
                                               of creditors, entities.
08/12/21 Maggie Alden                     0.60 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/12/21 Nicholas A. Binder               0.80 Telephone conference with K&E team re
                                               work in process (.6); review document re
                                               same (.2).
08/12/21 Simon Briefel                    1.00 Telephone conferences with K&E team re
                                               status, next steps.
08/12/21 Annie Laurette Dreisbach         2.40 Telephone conference with D. Hunter re case
                                               status (.2); telephone conference with D.
                                               Hunter and K&E team re work in process (.5);
                                               review and analyze first day declaration and
                                               other materials re case status and deal
                                               documents (1.7).
08/12/21 Nick Hafen                       0.50 Conference with D. Hunter, K&E team re
                                               work in process.
08/12/21 Jacqueline Hahn                  0.80 Prepare certificate of good standing request
                                               for D. Gremling.
08/12/21 Derek I. Hunter                  0.70 Conference with K&E team, Company, and
                                               Company advisors re work in process.
08/12/21 Cara Katrinak                    3.00 Review, analyze materials re case
                                               background, status.
08/12/21 Tyler R. Knutson                 0.60 Conference with K&E team re work in
                                               process.
08/12/21 Brian Nakhaimousa                1.60 Conference with K&E team re work in
                                               process (.6); update work in process trackers
                                               (1.0).
08/12/21 Eric Nyberg                      3.00 Draft schedules to supplemental declaration.
08/12/21 Robert Orren                     0.70 Correspond with K&E team re D. Gremling
                                               pro hac vice in Russian Media case (.4);
                                               prepare for filing of various pro hac vice
                                               applications in same (.3).
08/12/21 Samuel J. Seneczko               0.50 Telephone conference with K&E team re
                                               work in process.
08/12/21 William Thompson                 0.60 Conference with D. Hunter and K&E team re
                                               work in process.
08/12/21 Donna Zamir                      0.90 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update (.6);
                                               correspond with D. Hunter, K&E team re
                                               hearing schedules (.3).
08/13/21 Jacqueline Hahn                  0.50 Draft pro hac vice motion for D. Gremling.

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Case Administration

Date       Name                          Hours       Description
08/13/21   Brian Nakhaimousa              0.50       Update work in process tracker.
08/13/21   Eric Nyberg                    0.50       Draft schedules to supplemental declaration.
08/13/21   Benjamin P. Stone              0.20       Conference with D. Hunter, K&E team re
                                                     work in process.
08/13/21 Lydia Yale                       1.50       Review, revise pro hac vices (.7); correspond
                                                     with J. Hahn re same (.8).
08/14/21 Brian Nakhaimousa                0.10       Update work in process tracker.
08/16/21 Jacqueline Hahn                  0.50       Circulate appearances and certificates of good
                                                     standings to K&E team.
08/16/21 Brian Nakhaimousa                1.40       Correspond with K&E team (.2); update work
                                                     in process tracker re same (1.2).
08/16/21 Eric Nyberg                      0.50       Review conflicts email replies.
08/16/21 Robert Orren                     2.50       Prepare transcription of Russian Media 341
                                                     meeting (1.6); correspond with transcriber re
                                                     same (.5); correspond with K&E team re
                                                     same (.2); correspond with J. Hahn re pro hac
                                                     vices in Russian Media (.2).
08/16/21 Donna Zamir                      0.50       Correspond with D. Gremling, Company re
                                                     hearing schedules.
08/17/21 Maggie Alden                     0.70       Telephone conference with D. Hunter, K&E
                                                     team re work in process.
08/17/21 Nicholas A. Binder               0.90       Telephone conference with K&E team re
                                                     work in process (.8); prepare for same (.1).
08/17/21 Simon Briefel                    0.60       Revise work in process tracker (.1); telephone
                                                     conference with D. Hunter, K&E team re
                                                     work in process (.5).
08/17/21 Annie Laurette Dreisbach         0.60       Conference with D. Hunter and K&E team re
                                                     work in process.
08/17/21 Dave Gremling                    0.70       Conference with K&E team re workstream
                                                     status and case update.
08/17/21 Nick Hafen                       0.70       Conference with D. Hunter, K&E team re
                                                     work in process.
08/17/21 Derek I. Hunter                  0.70       Conferences with K&E team, Company, and
                                                     Company advisors re work in process (.6);
                                                     review, analyze work in process tracker re
                                                     same (.1).
08/17/21 Jason T. Jarvis                  0.70       Telephone conference with D. Hunter, K&E
                                                     team re work in process.
08/17/21 Tyler R. Knutson                 0.70       Conference with K&E team re work in
                                                     process.



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Date     Name                            Hours Description
08/17/21 Brian Nakhaimousa                0.90 Conference with D. Hunter, K&E team re
                                               work in process (.7); update work in process
                                               trackers (.2).
08/17/21 Robert Orren                     0.30 Correspond with K&E team re pro hac vices
                                               in Russian Media.
08/17/21 Samuel J. Seneczko               0.50 Telephone conference with K&E team re
                                               work in process.
08/17/21 Benjamin P. Stone                0.70 Conference with D. Hunter, K&E team re
                                               work in process.
08/17/21 William Thompson                 0.80 Conference with D. Hunter and K&E team re
                                               work in process.
08/17/21 Donna Zamir                      1.00 Correspond with D. Gremling, Company re
                                               hearing schedules (.3); video conference with
                                               D. Hunter, K&E team re case status and
                                               work-stream update (.7).
08/18/21 Brian Nakhaimousa                0.60 Update work in process tracker.
08/18/21 Robert Orren                     0.80 Review pro hac vices in Russian Media (.3);
                                               correspond with K&E team re filing of same
                                               (.2); distribute to K&E team Russian Media
                                               341 hearing transcript (.2); prepare same for
                                               internal storage (.1).
08/19/21 Seth A. Brimley                  4.00 Review case summary materials.
08/19/21 Jacqueline Hahn                  0.80 Draft pro hac vice motions for D. Hunter and
                                               D. Gremling (.3); compile and circulate
                                               recently filed pleadings to K&E team (.5).
08/19/21 Brian Nakhaimousa                0.20 Update work in process tracker.
08/19/21 Robert Orren                     3.80 Revise pro hac vice motions for D. Hunter
                                               and D. Gremling in Russian Media (.8);
                                               prepare for filing of same (1.6); file same (.4);
                                               submit orders for approval (.4); correspond
                                               with K&E team re same (.6).
08/20/21 Maggie Alden                     0.20 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/20/21 Simon Briefel                    0.60 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/20/21 Seth A. Brimley                  2.40 Conference with B. Nakhaimousa, K&E team
                                               re deal status, workstreams (1.2); review,
                                               analyze related materials (1.2).
08/20/21 Annie Laurette Dreisbach         0.50 Telephone conference with B. Nakhaimousa,
                                               S. Briefel and S. Brimley re case updates and
                                               go-forward tasks.



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Case Administration

Date     Name                            Hours Description
08/20/21 Jacqueline Hahn                  0.50 Compile and circulate recently filed pleadings
                                               to K&E team.
08/20/21 Brian Nakhaimousa                1.20 Conference with S. Briefel, A. Dreisbach, S.
                                               Brimley re background materials, case
                                               updates, and next steps (.7); update work in
                                               process tracker (.5).
08/20/21 Robert Orren                     0.30 Distribute to D. Gremling and D. Hunter
                                               entered pro hac vice orders in Russian Media
                                               (.2); correspond with J. Hahn re docket report
                                               in same (.1).
08/20/21 Robert Orren                     0.40 Prepare August 19 hearing transcript for
                                               internal storage (.2); distribute same to K&E
                                               team (.2).
08/21/21 Michael B. Slade                 0.50 Participate in telephone conference with D.
                                               Hunter and K&E team re work in process.
08/23/21 Jacqueline Hahn                  0.50 Compile and circulate recently filed pleadings
                                               to K&E team.
08/23/21 Brian Nakhaimousa                0.50 Update work in process tracker.
08/23/21 Robert Orren                     0.40 Prepare August 19 hearing transcript for
                                               storage (.2); distribute same to G. Vogt (.2).
08/23/21 Chambliss Williams               3.90 Correspond with D. Hunter, M. Alden, and D.
                                               Gremling re work in process, deal status.
08/23/21 Aparna Yenamandra                0.50 Attend small group conference re work in
                                               process.
08/24/21 Jacqueline Hahn                  0.60 Compile and circulate recently filed pleadings
                                               to K&E team.
08/24/21 Tyler R. Knutson                 0.40 Review and revise working group list.
08/24/21 Brian Nakhaimousa                0.20 Update work in process tracker.
08/24/21 Robert Orren                     0.80 Prepare order for Russian Media hearing
                                               transcript (.6); correspond with K&E team re
                                               same (.2).
08/24/21 Chambliss Williams               3.90 Review work stream progress.
08/25/21 Maggie Alden                     0.80 Correspond with A. Yenamandra, D. Hunter
                                               re staffing, coverage (.2); telephone
                                               conference with D. Hunter, K&E team re
                                               work in process (.6).
08/25/21 Nicholas A. Binder               0.70 Telephone conference with K&E team re
                                               work in process (.6); prepare for same (.1).
08/25/21 Simon Briefel                    0.50 Telephone conference with D. Hunter, K&E
                                               team re case status, workstreams, next steps.



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Date     Name                            Hours Description
08/25/21 Seth A. Brimley                  0.60 Attend conference with K&E team re work in
                                               process.
08/25/21 Annie Laurette Dreisbach         0.20 Review and revise work in process.
08/25/21 Annie Laurette Dreisbach         0.50 Conference with D. Hunter and K&E team re
                                               works in process.
08/25/21 Dave Gremling                    0.60 Conference with B. Stone, K&E team re
                                               workstream status and case update.
08/25/21 Nick Hafen                       0.50 Conference with D. Hunter, K&E team re
                                               work in process.
08/25/21 Jacqueline Hahn                  0.40 Compile and circulate recently filed pleadings
                                               to K&E team.
08/25/21 Derek I. Hunter                  0.50 Conferences with K&E team, Company, and
                                               Company advisors re work in process (.4);
                                               review, analyze work in process tracker re
                                               same (.1).
08/25/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/25/21 Cara Katrinak                    0.50 Video conference with D. Hunter, K&E team
                                               re work in process.
08/25/21 Tyler R. Knutson                 0.50 Conference with K&E team re work in
                                               process.
08/25/21 Michael Lemm                     0.50 Video conference with D. Hunter, K&E team
                                               re work in process.
08/25/21 Brian Nakhaimousa                1.60 Update work in process tracker (1.0);
                                               conference with D. Hunter, K&E team re
                                               work in process (.6).
08/25/21 Robert Orren                     0.30 Correspond with K&E team re filing of
                                               motion to lift stay in Russian Media.
08/25/21 Benjamin P. Stone                0.60 Conference with D. Hunter, K&E team re
                                               work in process.
08/25/21 William Thompson                 0.70 Conference with D. Hunter and K&E team re
                                               work in process (.6); correspond with B.
                                               Nakhaimousa re same (.1).
08/25/21 Eric J. Wendorf                  0.60 Participate in office conference with K&E
                                               team re work in process.
08/25/21 Donna Zamir                      0.60 Video conference with D. Hunter, K&E team
                                               re case status and work-stream update.
08/26/21 Maggie Alden                     0.10 Correspond with B. Nakhaimousa re work in
                                               process.
08/26/21 Jacqueline Hahn                  0.30 Compile and circulate recently filed pleadings
                                               to K&E team.


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Case Administration

Date     Name                            Hours Description
08/26/21 Brian Nakhaimousa                0.60 Update work in process tracker.
08/27/21 Maggie Alden                     0.50 Telephone conference with D. Hunter, K&E
                                               team team re work in process.
08/27/21 Simon Briefel                    0.50 Telephone conference with D. Hunter, K&E
                                               team re case status, workstreams, next steps.
08/27/21 Seth A. Brimley                  0.50 Attend conference with K&E team re case
                                               status, work in process.
08/27/21 Dave Gremling                    0.70 Revise workstream tracking document (.3);
                                               attend conference re workstream status and
                                               case update (.4).
08/27/21 Nick Hafen                       0.40 Conference with D. Hunter, K&E team re
                                               work in process.
08/27/21 Jacqueline Hahn                  0.30 Compile and circulate recently filed pleadings
                                               to K&E team.
08/27/21 Derek I. Hunter                  0.70 Conferences with K&E team, Company, and
                                               Company advisors re work in process (.6);
                                               review, analyze work in process tracker re
                                               same (.1).
08/27/21 Jason T. Jarvis                  0.50 Telephone conference with D. Hunter, K&E
                                               team re work in process.
08/27/21 Cara Katrinak                    0.70 Review, revise work in process document
                                               (.2); video conference with D. Hunter, K&E
                                               team re work in process (.5).
08/27/21 Tyler R. Knutson                 0.40 Conference with K&E team re work in
                                               process.
08/27/21 Michael Lemm                     0.40 Video conference with D. Hunter, K&E team
                                               re work in process.
08/27/21 Emily A. Meraia                  0.50 Conference with D. Hunter, K&E team re
                                               work in process.
08/27/21 Brian Nakhaimousa                1.10 Update work in process tracker (.6); telephone
                                               conference with D. Hunter, K&E team re
                                               work in process (.5).
08/27/21 Samuel J. Seneczko               0.50 Conference with K&E team re work in
                                               process.
08/27/21 William Thompson                 0.50 Conference with D. Hunter and K&E team re
                                               work in process.
08/27/21 Chambliss Williams               0.50 Conference with A. Driesbach, K&E team re
                                               solicitation coordination.
08/27/21 Chambliss Williams               0.70 Video conference with D. Hunter, K&E team
                                               re work in process (.5); review summary chart
                                               re same (.2).


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Case Administration

Date       Name                          Hours   Description
08/28/21   Brian Nakhaimousa              0.30   Update work in process tracker.
08/30/21   Simon Briefel                  0.30   Review, revise work in process tracker.
08/30/21   Jacqueline Hahn                0.30   Compile and circulate recently filed pleadings
                                                 to K&E team.
08/30/21 Brian Nakhaimousa                0.60   Update work in process tracker.
08/30/21 Aparna Yenamandra                0.50   Attend standing small group work in process
                                                 telephone conference.
08/30/21 Donna Zamir                      1.20   Correspond with D. Gremling, K&E team,
                                                 Company, Company advisors re hearings
                                                 schedule.
08/31/21 Jacqueline Hahn                  0.50   Compile and circulate recently filed pleadings
                                                 to K&E team.
08/31/21 Tyler R. Knutson                 3.10   Revise working group list re PSA signatories
                                                 (1.3); compile and organize circulated deal
                                                 documents into file directory (1.8).
08/31/21 Brian Nakhaimousa                0.20   Update work in process tracker.
08/31/21 Chambliss Williams               0.70   Video conference with D. Hunter, K&E team
                                                 re work in process (.5); review summary chart
                                                 re same (.2).

Total                                   166.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050026
                                                                               Client Matter: 48457-21

In the Matter of K&E Retention




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 71,982.00
Total legal services rendered                                                                                  $ 71,982.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:      48457-21
K&E Retention




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          0.80     875.00            700.00
Nicholas A. Binder                                    1.90     875.00          1,662.50
Simon Briefel                                         2.20     995.00          2,189.00
Dave Gremling                                         2.00     875.00          1,750.00
Nick Hafen                                           16.10     875.00         14,087.50
Derek I. Hunter                                       3.10   1,125.00          3,487.50
Jason T. Jarvis                                       6.70     765.00          5,125.50
Tyler R. Knutson                                      7.60     765.00          5,814.00
Emily A. Meraia                                       9.10     995.00          9,054.50
Brian Nakhaimousa                                     4.10     765.00          3,136.50
Robert Orren                                          0.90     460.00            414.00
Laura Saal                                            0.90     460.00            414.00
Samuel J. Seneczko                                    4.00     875.00          3,500.00
Charles B. Sterrett                                   4.10     875.00          3,587.50
Benjamin P. Stone                                     5.10     765.00          3,901.50
William Thompson                                      3.80     765.00          2,907.00
Eric J. Wendorf                                       2.20     765.00          1,683.00
Donna Zamir                                          11.20     765.00          8,568.00

TOTALS                                               85.80                   $ 71,982.00




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K&E Retention


                                  Description of Legal Services

Date     Name                            Hours Description
08/01/21 Derek I. Hunter                  1.40 Review, analyze, and revise invoice re
                                               confidentiality, privilege, and U.S. Trustee
                                               guideline compliance.
08/02/21 Nick Hafen                       0.60 Revise K&E fee statement re privilege,
                                               confidentiality, U.S. Trustee guidelines (.4);
                                               correspond with W. Thompson re conflicts
                                               search (.2).
08/03/21 Nick Hafen                       3.00 Review expense backups re confidentiality.
08/09/21 Nick Hafen                       0.10 Correspond with E. Nyberg re supplemental
                                               declaration.
08/09/21 Emily A. Meraia                  0.50 Prepare K&E fee statement for filing.
08/09/21 Robert Orren                     0.90 Draft K&E June fee statement (.7); prepare
                                               same for filing (.2).
08/11/21 Nick Hafen                       1.80 Correspond with E. Flynn, K&E team re K&E
                                               fee statement review.
08/12/21 Nick Hafen                       0.10 Correspond with E. Flynn, K&E team re fee
                                               statement review.
08/12/21 Jason T. Jarvis                  0.10 Review, revise invoices for compliance with
                                               U.S. Trustee guidelines and privilege
                                               considerations.
08/12/21 Donna Zamir                      3.70 Review, revise K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines.
08/13/21 Nick Hafen                       0.20 Correspond with E. Nyberg re supplemental
                                               declaration.
08/13/21 Tyler R. Knutson                 3.80 Review and analyze invoices re compliance
                                               with U.S. Trustee guidelines, confidentiality.
08/13/21 Brian Nakhaimousa                4.10 Review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines.
08/13/21 Benjamin P. Stone                0.80 Review, revise fee statement re privilege,
                                               conforming to U.S. Trustee guidelines.
08/13/21 Eric J. Wendorf                  1.10 Review, revise fee invoice for privilege,
                                               compliance with U.S. Trustee guidelines.
08/13/21 Donna Zamir                      5.10 Review K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines (1.3); revise
                                               same (3.8).



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K&E Retention

Date     Name                            Hours Description
08/14/21 Jason T. Jarvis                  6.60 Review, revise invoices for compliance with
                                               U.S. Trustee guidelines and privilege
                                               considerations.
08/14/21 Tyler R. Knutson                 3.80 Review and revise invoices re compliance
                                               with U.S. Trustee guidelines, confidentiality.
08/14/21 Samuel J. Seneczko               2.90 Review invoice for compliance with U.S.
                                               Trustee guidelines, privilege.
08/14/21 Benjamin P. Stone                4.30 Review, revise fee statement re conforming to
                                               U.S. Trustee guidelines and privilege.
08/14/21 William Thompson                 3.80 Review, revise July invoice re compliance
                                               with U.S. Trustee guidelines.
08/14/21 Eric J. Wendorf                  1.10 Review, revise K&E invoice for privilege,
                                               confidentiality, compliance with U.S. Trustee
                                               guidelines (.9); correspond with S. Seneczko
                                               re same (.2).
08/14/21 Donna Zamir                      2.40 Review, revise K&E fee statement for
                                               confidentiality, privilege, and compliance
                                               with U.S. Trustee guidelines (2.1); correspond
                                               with N. Hafen re same (.3).
08/15/21 Dave Gremling                    2.00 Revise K&E invoice re confidentiality and
                                               U.S. Trustee Guidelines.
08/15/21 Nick Hafen                       1.30 Review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines.
08/16/21 Maggie Alden                     0.60 Review, redact, revise fee statements re
                                               confidentiality, U.S. Trustee guidelines.
08/16/21 Nicholas A. Binder               0.80 Review, revise invoices re privilege,
                                               confidentiality, compliance with U.S. Trustee
                                               guidelines.
08/16/21 Nick Hafen                       4.20 Review, revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines (1.1); draft budget and staffing
                                               plan (3.1).
08/16/21 Laura Saal                       0.90 Prepare draft supplemental declaration of S.
                                               Serajeddini.
08/16/21 Samuel J. Seneczko               1.10 Review invoice for privilege, compliance
                                               with U.S. Trustee guidelines (1.0); correspond
                                               with S. Briefel re same (.1).
08/16/21 Charles B. Sterrett              4.10 Review K&E invoices re privilege,
                                               confidentiality, adherence to U.S. Trustee
                                               guidelines.



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K&E Retention

Date     Name                            Hours Description
08/17/21 Nicholas A. Binder               1.10 Review, revise invoices re privilege,
                                               confidentiality, compliance with U.S. Trustee
                                               guidelines.
08/17/21 Nick Hafen                       0.80 Revise budget and staffing plan.
08/17/21 Emily A. Meraia                  3.40 Review, revise K&E fee statement re
                                               confidentiality and U.S. trustee guidelines.
08/18/21 Simon Briefel                    1.00 Review and revise K&E invoices re local
                                               rules, U.S. Trustee guidelines, confidentiality.
08/18/21 Nick Hafen                       2.90 Further revise budget and staffing plan (1.2);
                                               correspond with D. Hunter re same (.2); draft
                                               supplemental declaration (1.4); correspond
                                               with D. Hunter, E. Flynn re same (.1).
08/18/21 Emily A. Meraia                  3.40 Review, revise K&E fee statement re
                                               confidentiality and U.S. Trustee guidelines
                                               (3.1); review K&E supplemental declaration
                                               (.2); correspond with N. Hafen re same (.1).
08/19/21 Maggie Alden                     0.20 Correspond with S. Briefel re fee statement.
08/19/21 Simon Briefel                    1.20 Review, revise K&E invoices re local rules,
                                               U.S. Trustee guidelines, confidentiality.
08/19/21 Emily A. Meraia                  1.60 Review, revise K&E fee statement re
                                               confidentiality and U.S. Trustee guidelines.
08/25/21 Emily A. Meraia                  0.20 Correspond with N. Hafen re K&E fee
                                               statement.
08/27/21 Derek I. Hunter                  0.30 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.
08/29/21 Derek I. Hunter                  0.60 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.
08/30/21 Nick Hafen                       1.10 Correspond with E. Nyberg re supplemental
                                               declaration (.1); revise K&E fee statement re
                                               privilege, confidentiality, U.S. Trustee
                                               guidelines (1.0).
08/30/21 Derek I. Hunter                  0.30 Correspond with K&E team re K&E retention
                                               issues, privilege and confidentiality concerns
                                               re same.
08/31/21 Derek I. Hunter                  0.50 Correspond with K&E team re K&E fee
                                               application and related privilege and
                                               confidentiality considerations.

Total                                     85.80



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                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050027
                                                                               Client Matter: 48457-22

In the Matter of Non-K&E Retention




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 25,727.00
Total legal services rendered                                                                                  $ 25,727.00




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:      48457-22
Non-K&E Retention




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Nicholas A. Binder                                    5.00     875.00          4,375.00
Dave Gremling                                         3.10     875.00          2,712.50
Nick Hafen                                            4.20     875.00          3,675.00
Derek I. Hunter                                       2.70   1,125.00          3,037.50
Jason T. Jarvis                                       0.10     765.00             76.50
Emily A. Meraia                                       1.30     995.00          1,293.50
Eric J. Wendorf                                      13.80     765.00         10,557.00

TOTALS                                               30.20                   $ 25,727.00




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Non-K&E Retention


                                  Description of Legal Services

Date     Name                            Hours Description
08/02/21 Nicholas A. Binder               0.20 Correspond with A&M re professional fees.
08/02/21 Nick Hafen                       0.90 Review Deloitte Tax fee statement, fee
                                               application re confidentiality.
08/02/21 Derek I. Hunter                  0.40 Correspond with K&E team, A&M re
                                               ongoing ordinary course professionals
                                               retention and analysis.
08/03/21 Nicholas A. Binder               0.50 Analyze professional fee considerations.
08/03/21 Nick Hafen                       0.30 Review KPMG fee statement re
                                               confidentiality.
08/04/21 Derek I. Hunter                  0.20 Correspond with K&E team, A&M re
                                               ongoing ordinary course professionals
                                               retention and analysis.
08/05/21 Derek I. Hunter                  1.10 Review, analyze, and revise materials re
                                               ordinary course professionals retention and
                                               analyses (1.0); correspond with K&E team,
                                               professional, and A&M re same (.1).
08/06/21 Nick Hafen                       0.20 Correspond with D. Hunter re notice issue re
                                               non-K&E retention.
08/06/21 Derek I. Hunter                  0.40 Correspond with K&E team, A&M re
                                               ongoing ordinary course professionals
                                               retention and analysis.
08/09/21 Nick Hafen                       0.60 Correspond with K&E team re parties in
                                               interest (.3); review Deloitte Tax declaration
                                               and correspond with Kutak re same (.3).
08/09/21 Jason T. Jarvis                  0.10 Correspond with D. Gremling re professional
                                               fees.
08/10/21 Nick Hafen                       0.40 Correspond with KPMG, Kutak re KPMG
                                               supplemental declaration.
08/10/21 Eric J. Wendorf                  0.60 Correspond with N. Binder re HL retention
                                               letter (.1); telephone conference with same re
                                               same (.2); review precedent re same (.3).
08/11/21 Nicholas A. Binder               1.50 Analyze engagement letter (1.3); correspond
                                               with E. Wendorf, D. Hunter re same (.2).
08/11/21 Derek I. Hunter                  0.20 Correspond with K&E team, A&M re
                                               ongoing ordinary course professionals
                                               retention and analysis.




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Non-K&E Retention

Date     Name                            Hours Description
08/11/21 Eric J. Wendorf                  5.30 Draft summary of precedent retention letter
                                               analysis (1.4); revise same (.3); correspond
                                               with N. Binder re same (.2); revise
                                               engagement letter (.3); compile, review
                                               precedent retention letters (1.6); draft
                                               precedent chart re same (1.1); correspond
                                               with N. Binder re same (.2); correspond with
                                               D. Hunter re same (.2).
08/12/21 Nicholas A. Binder               0.60 Review, revise engagement letter.
08/12/21 Dave Gremling                    2.10 Analyze issues re EY ordinary course
                                               professionals retention (1.3); correspond with
                                               K&E team, EY team, U.S. Trustee re same
                                               (.8).
08/13/21 Derek I. Hunter                  0.20 Correspond with K&E team, A&M re
                                               ongoing ordinary course professionals
                                               retention and analysis.
08/14/21 Nicholas A. Binder               1.20 Review, analyze engagement letter (.5); revise
                                               same (.7).
08/14/21 Dave Gremling                    0.30 Correspond with U.S. Trustee re EY ordinary
                                               course professionals retention.
08/14/21 Eric J. Wendorf                  1.50 Revise HL engagement letter (.9); correspond
                                               with N. Binder re same (.3); telephone
                                               conference with same re same (.3).
08/15/21 Nicholas A. Binder               0.40 Analyze, revise engagement letter (.3);
                                               correspond with K&E team, PJT, Company re
                                               same (.1).
08/15/21 Eric J. Wendorf                  0.30 Review edits to engagement letter (.2);
                                               correspond with N. Binder re same (.1).
08/16/21 Dave Gremling                    0.20 Correspond with K&E team, EY team re EY
                                               ordinary course professionals retention.
08/16/21 Eric J. Wendorf                  2.80 Review precedent re HL engagement letter
                                               (1.1); revise same (.9); correspond with N.
                                               Binder re same (.2); telephone conference
                                               with N. Binder re same (.3); correspond with
                                               D. Hunter re same (.3).
08/18/21 Dave Gremling                    0.50 Correspond with U.S. Trustee, EY team,
                                               K&E team re EY ordinary course
                                               professionals retention issues.
08/19/21 Emily A. Meraia                  0.70 Draft, revise amended OCP list (.5);
                                               correspond with D. Gremling re same (.2).
08/20/21 Nicholas A. Binder               0.40 Correspond with K&E team, Company
                                               advisors re engagement letter (.2); analyze
                                               considerations re same (.2).

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Non-K&E Retention

Date     Name                            Hours Description
08/20/21 Nick Hafen                       1.40 Review Deloitte fee statement re
                                               confidentiality.
08/20/21 Derek I. Hunter                  0.20 Correspond with K&E team, A&M re
                                               ongoing ordinary course professionals
                                               retention and analysis.
08/20/21 Emily A. Meraia                  0.30 Revise amended OCP list (.2); correspond
                                               with D. Gremling re same (.1).
08/23/21 Nick Hafen                       0.20 Review KPMG fee statement re
                                               confidentiality.
08/25/21 Emily A. Meraia                  0.30 Correspond with A&M, D. Hunter re OCPs
                                               (.2); review same (.1).
08/30/21 Nick Hafen                       0.20 Review Kutak invoice re confidentiality.
08/30/21 Eric J. Wendorf                  1.60 Analyze PJT retention letter re DIP order
                                               (1.2); correspond with D. Hunter re same (.4).
08/31/21 Nicholas A. Binder               0.20 Conference with A&M re professional fees.
08/31/21 Eric J. Wendorf                  1.70 Analyze PJT retention order (1.3); correspond
                                               with D. Hunter re same (.4).

Total                                    30.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050029
                                                                               Client Matter: 48457-40

In the Matter of Litigation Advice




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                      $ 737,699.50
Total legal services rendered                                                                                $ 737,699.50




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Litigation Advice




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Maggie Alden                                          0.20     875.00            175.00
Bill Arnault                                        194.50   1,245.00        242,152.50
Nicholas A. Binder                                    0.20     875.00            175.00
Mariel Brookins                                       2.40     995.00          2,388.00
Cassandra Myers Catalano                             19.70   1,065.00         20,980.50
Cassandra E. Fenton                                  10.10     995.00         10,049.50
Derek I. Hunter                                       3.00   1,125.00          3,375.00
Aleschia D. Hyde                                     22.30     745.00         16,613.50
Kevin M. Jonke                                        2.60   1,080.00          2,808.00
Tyler R. Knutson                                      1.10     765.00            841.50
Mike Kraft                                           20.00     945.00         18,900.00
Library Factual Research                              0.50     390.00            195.00
Colin J. Martindale                                  18.20     865.00         15,743.00
Casey McGushin                                       39.70   1,095.00         43,471.50
Brian Nakhaimousa                                     1.70     765.00          1,300.50
John C. O'Quinn, P.C.                                93.30   1,495.00        139,483.50
Harker Rhodes                                         0.30   1,145.00            343.50
Evan Ribot                                           19.20     745.00         14,304.00
Alexandra Schrader                                   21.50     745.00         16,017.50
Anne McClain Sidrys, P.C.                            20.90   1,615.00         33,753.50
Michael B. Slade                                     92.10   1,445.00        133,084.50
Gary M. Vogt                                          7.90     460.00          3,634.00
Laura Elizabeth Wolk                                 11.10   1,085.00         12,043.50
Aparna Yenamandra                                     1.90   1,195.00          2,270.50
Jeffrey J. Zeiger, P.C.                               0.70   1,495.00          1,046.50
Lauren Zipp                                          10.00     255.00          2,550.00

TOTALS                                              615.10                 $ 737,699.50




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                                    Description of Legal Services

Date     Name                              Hours Description
08/01/21 Bill Arnault                       1.10 Revise discovery work plan (.9); correspond
                                                 with A. Sidrys, M. Slade, C. Catalano, and C.
                                                 Fenton re same (.2).
08/01/21 Laura Elizabeth Wolk               2.30 Revise summary judgment reply (1.9);
                                                 correspond with M. Slade and Jones Day re
                                                 same (.4)..
08/02/21 Bill Arnault                       7.50 Review claims analysis related documents
                                                 (1.1); review discovery proposal (.7); prepare
                                                 counter-proposal re same (.6); conference
                                                 with M. Marcus re discovery (.2); review
                                                 documents re parent guarantee litigation (2.1);
                                                 review documents re converts' plan requests
                                                 re production (2.1); correspond with C.
                                                 Catalano re discovery (.7).
08/02/21 Cassandra Myers Catalano           4.50 Review privilege log (2.5); review updated
                                                 converts batches (.9); develop document
                                                 review strategy re same (1.1).
08/02/21 Casey McGushin                     1.90 Review and revise plan related motion (1.3);
                                                 review and revise reply to summary judgment
                                                 motion re same (.6).
08/02/21 John C. O'Quinn, P.C.              2.00 Review, revise edits re summary judgment
                                                 reply brief (.6); review same re filing
                                                 purposes (.4); review SES summary judgment
                                                 reply brief (1.0).
08/02/21 Alexandra Schrader                 1.30 Review case background materials.
08/02/21 Michael B. Slade                   2.90 Review and revise brief (2.3); telephone
                                                 conference with B. Arnault, K&E team re
                                                 same (.6).
08/02/21 Laura Elizabeth Wolk               1.00 Revise summary judgment brief re M. Slade,
                                                 J. O'Quinn and J. Zieger comments.
08/03/21 Bill Arnault                       0.30 Conference with A. Schrader re research
                                                 issue.
08/03/21 Bill Arnault                       8.50 Conference with A. Sidrys and C. Catalano re
                                                 discovery (.7); review productions, open
                                                 issues, and outstanding requests re same (1.4);
                                                 review proposal re discovery (.9);correspond
                                                 with A. Sidrys, advisors, and C. Catalano re
                                                 same (1.7); create discovery plan (.9); review
                                                 correspondence re same (.2); review claims
                                                 analysis (2.7).


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Date     Name                            Hours Description
08/03/21 Cassandra Myers Catalano         1.00 Review privilege log export from advisors
                                               (.3); telephone conference with B. Arnault
                                               and A. Sidrys re discovery status (.7).
08/03/21 Derek I. Hunter                  0.50 Correspond with A. Sidrys, K&E team re
                                               adversary pleadings, discovery requests, and
                                               related litigation strategy.
08/03/21 Alexandra Schrader               0.20 Telephone conference with B. Arnault re
                                               privilege issues and legal research.
08/03/21 Anne McClain Sidrys, P.C.        1.80 Review revised discovery and privilege log
                                               (.7); conference with D. Hunter, K&E
                                               litigation team re updates to same (1.1).
08/03/21 Gary M. Vogt                     1.40 Compile, organize production from Wachtell
                                               (.7); correspond with Special Counsel re
                                               integration of same into review database (.2);
                                               serve Wachtell production on plan parties
                                               (.5).
08/03/21 Laura Elizabeth Wolk             0.80 Review SES's reply in support of motion to
                                               dismiss (.4); analyze additional cases cited in
                                               same (.4).
08/04/21 Bill Arnault                     1.40 Correspond with C. Catalano and advisors re
                                               discovery (.9); review and revise discovery
                                               plan (.5).
08/04/21 Cassandra Myers Catalano         0.70 Review and revise privilege log (.5); draft
                                               remaining privilege log request (.2).
08/04/21 Brian Nakhaimousa                0.20 Correspond with D. Hunter, K&E team re
                                               SES's motion for summary judgment.
08/04/21 Anne McClain Sidrys, P.C.        1.80 Review discovery responses (.8); revise
                                               discovery letter (1.0).
08/04/21 Gary M. Vogt                     1.00 Serve plan productions on additional
                                               requesting parties.
08/05/21 Cassandra Myers Catalano         3.40 Finalize converts production (.2); review and
                                               finalize parent guarantee redaction production
                                               (1.2); assign parent guarantee batches (.5);
                                               review and revise parent guarantee privilege
                                               log (1.0); revise privilege log review panel
                                               (.5).
08/05/21 Derek I. Hunter                  0.20 Correspond with M. Slade, K&E team re
                                               litigation strategy.
08/05/21 Casey McGushin                   0.90 Review and analyze deposition designations.
08/05/21 John C. O'Quinn, P.C.            1.50 Prepare for summary judgment hearing.
08/05/21 Gary M. Vogt                     1.00 Serve plan productions on additional
                                               requesting parties.


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Date     Name                            Hours Description
08/06/21 Bill Arnault                     0.50 Review settlement proposal.
08/06/21 Cassandra Myers Catalano         1.90 Finalize plan production (.4); draft production
                                               letter (.3); review document batch and review
                                               status (1.2).
08/06/21 John C. O'Quinn, P.C.            3.30 Conference with Company re summary
                                               judgment hearing.
08/06/21 Alexandra Schrader               0.50 Research common interest privilege and
                                               conflict issues.
08/06/21 Michael B. Slade                 2.30 Review and revise filing (1.1); review re plan
                                               and review materials re same (.8); analyze
                                               discovery issues (.4).
08/06/21 Gary M. Vogt                     1.00 Review, finalize and serve additional plan
                                               production in response to plan discovery
                                               requests.
08/07/21 Bill Arnault                     2.70 Conference with M. Slade re discovery (.5);
                                               conference with D. Hunter, K&E team re case
                                               updates (1.1); correspond with M. Slade,
                                               advisors, and E. Long re discovery and
                                               searches (1.1).
08/08/21 Bill Arnault                     0.50 Review stipulation re parent guarantee
                                               litigation (.2); conference with D. Hunter,
                                               K&E team re same (.1); review
                                               correspondence with K&E team re same (.2).
08/08/21 Cassandra Myers Catalano         0.20 Analyze document reviewer review panel
                                               issues.
08/08/21 Cassandra E. Fenton              0.10 Review materials re case status.
08/08/21 Casey McGushin                   1.70 Review and revise deposition designations.
08/08/21 Alexandra Schrader               4.40 Research common interest privilege (3.1);
                                               research conflict issues (1.3).
08/08/21 Michael B. Slade                 0.60 Review and revise stipulation.
08/09/21 Bill Arnault                     9.70 Conference with M. Slade, K&E litigation
                                               team re case status (.5); review redacted
                                               documents re production (.2); review parent
                                               guarantee litigation stipulation and related
                                               correspondence with K&E team re same (.4);
                                               correspond with M. Slade, A. Sidrys,
                                               advisors, C. Catalano, and C. Fenton re
                                               discovery (1.8); review and analyze search
                                               term results (.9);analyze next steps re same
                                               (2.0); review parent guarantee litigation
                                               documents (3.9).



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Date     Name                            Hours Description
08/09/21 Cassandra Myers Catalano         5.90 Analyze document reviewer review panel
                                               issues (1.0); review revised privilege log
                                               correspondence (1.0); review parent guarantee
                                               documents (3.4); video conference with M.
                                               Slade, K&E litigation team re case status (.5).
08/09/21 Cassandra E. Fenton              0.70 Conference with C. Catalano, K&E litigation
                                               team re case status (.4); analyze potential
                                               litigation arguments re allocation (.3).
08/09/21 Aleschia D. Hyde                 2.70 Review documents re privilege.
08/09/21 Kevin M. Jonke                   0.50 Conference with D. Hunter, K&E team re
                                               case status.
08/09/21 Casey McGushin                   2.90 Review and revise response to summary
                                               judgment motion re parent guarantee release
                                               issue (2.4); conference with M. Slade, K&E
                                               litigation team re same (.5).
08/09/21 Brian Nakhaimousa                0.40 Correspond with C. McGushin, D. Gremling,
                                               T. Knutson re guarantee claims objections.
08/09/21 John C. O'Quinn, P.C.            4.00 Prepare for summary judgment hearing (3.2);
                                               telephone conference with K&E litigation
                                               team re strategy re same (.8).
08/09/21 Alexandra Schrader               2.40 Research common interest privilege and
                                               conflict issues (1.9); conference with K&E
                                               litigation team re plan updates (.5).
08/09/21 Anne McClain Sidrys, P.C.        2.30 Telephone conference with K&E team re
                                               velocity discussions status (.7); correspond
                                               with K&E team re discovery issues and
                                               responses (1.1); conferences with K&E team
                                               re same (.5).
08/09/21 Michael B. Slade                 4.60 Telephone conference with Company, S.
                                               Serajeddini, K&E team re litigation strategy
                                               (.5); telephone conference with PJT re same
                                               (.5); telephone conference with Jones Day, B.
                                               Arnault, K&E team re scheduling issues (.5);
                                               analyze stipulation (.4); review memorandum
                                               re expert work (1.1); review documents re
                                               trial preparation (1.2); review, revise
                                               memorandum re discovery issues (.4).
08/09/21 Jeffrey J. Zeiger, P.C.          0.50 Conference with K&E litigation team re case
                                               updates, assignments and strategy.




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Date     Name                            Hours Description
08/10/21 Bill Arnault                     6.40 Conference with K&E team, directors re case
                                               updates (.5); participate in meet and confer
                                               with M. Ayala (.3); prepare for same by
                                               outlining proposal re search terms, custodians,
                                               date ranges, and claims requests and revising
                                               same (1.9); review parent guarantee litigation
                                               documents re production (1.3); conference
                                               with M. Slade re discovery (.2); conference
                                               with J. Brennan re searches (.1); correspond
                                               with M. Slade, C. Catalano, C. Fenton, A.
                                               Sidrys, and advisors re discovery (2.1).
08/10/21 Cassandra Myers Catalano         1.90 Review parent guarantee documents (1.5);
                                               draft discovery status update (.4).
08/10/21 Cassandra E. Fenton              0.10 Analyze arguments re allocation.
08/10/21 Kevin M. Jonke                   0.60 Conference with M. Slade and PJT team re
                                               valuation.
08/10/21 Casey McGushin                   2.80 Research re response to summary judgment re
                                               parent guarantee releases (2.3); conference
                                               with M. Slade re arguments re parent
                                               guarantee release issue (.5).
08/10/21 Anne McClain Sidrys, P.C.        1.70 Review updated intercompany documents
                                               (.9); conference with K&E team re discovery
                                               updates (.8).
08/10/21 Michael B. Slade                 3.90 Telephone conference with Company re
                                               litigation considerations (.5); telephone
                                               conference with PJT re same (.8); telephone
                                               conference with C. McGushin re briefing (.3);
                                               review and revise brief (1.2); telephone
                                               conference with B. Arnault re discovery
                                               issues (.2); review and analyze documents,
                                               memoranda re same (.4); telephone
                                               conference with director advisors re same
                                               (.5).
08/11/21 Bill Arnault                     5.00 Review parent guarantee litigation documents
                                               re production (1.4); review documents re
                                               production re responsiveness, inconsistencies,
                                               and privilege (.6); telephone conference with
                                               A. Schrader re research re common interest
                                               privilege and conflicts issues (.3); finalize
                                               expert retention (.4); correspond with M.
                                               Slade, advisors re document review (.9);
                                               review results and draft potential
                                               modifications (1.1); correspond with C.
                                               Catalano re discovery status (.3).


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Date     Name                            Hours Description
08/11/21 Cassandra Myers Catalano         0.20 Revise summary re discovery status.
08/11/21 Cassandra E. Fenton              2.60 Analyze potential arguments re allocation
                                               (2.1); draft summary re same (.5).
08/11/21 John C. O'Quinn, P.C.            5.50 Prepare re summary judgment hearing (2.1);
                                               review draft slides re same (1.1); review
                                               briefing re summary judgment hearing (2.3).
08/11/21 Alexandra Schrader               0.70 Research common interest privilege and
                                               conflict issues (.4); conference with B.
                                               Arnault re the same (.3).
08/11/21 Anne McClain Sidrys, P.C.        0.50 Review updates re discovery approach.
08/11/21 Michael B. Slade                 0.70 Review and revise motion papers (.4);
                                               telephone conference with Serajeddini re
                                               litigation strategy (.3).
08/12/21 Bill Arnault                     7.20 Review production documents re parent
                                               guarantee litigation re quality control (.5);
                                               conference with M. Marcus, M. Slade, C.
                                               Fenton, and C. McGushin re case updates
                                               (.4); conference with K&E team, Lux counsel
                                               re case status (.7); review documents re
                                               converts' document requests (1.1); correspond
                                               with M. Slade, D. Hunter, and C. McGushin
                                               re document production (.3); review and
                                               revise stay motion and supporting declaration
                                               (1.9); review privilege log materials (2.3).
08/12/21 Cassandra E. Fenton              0.50 Prepare for telephone conference with B.
                                               Arnault re document review and production
                                               (.3); participate in same (.2).
08/12/21 Casey McGushin                   0.40 Conference with M. Slade and B. Arnault re
                                               plan process.
08/12/21 John C. O'Quinn, P.C.            5.00 Review briefing re summary judgment
                                               hearing (1.3); draft slides in preparation for
                                               same (2.4); review record materials re
                                               expected monetary split in FCC order (1.3).
08/12/21 Alexandra Schrader               1.90 Research common interest privilege and
                                               conflict issues.
08/12/21 Anne McClain Sidrys, P.C.        1.30 Review status re discovery and document
                                               searches.




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Date     Name                            Hours Description
08/12/21 Michael B. Slade                 3.70 Telephone conference with Company re
                                               litigation considerations (.6); telephone
                                               conference with mediator re mediation (.4);
                                               telephone conference with director advisors re
                                               litigation (.4); analyze memoranda re
                                               discovery issues (.7); analyze witness list (.3);
                                               review materials re summary judgment (1.3).
08/13/21 Bill Arnault                     0.30 Review search term results.
08/13/21 Bill Arnault                     8.20 Review and revise privilege log,
                                               corresponding documents (3.8); research
                                               damages re contract rejection (.6); conference
                                               with C. Fenton re discovery (.5); conference
                                               with C. Fenton, K&E litigation team re case
                                               status (.2); correspond with G. Vogt, advisors
                                               re document production (.3); review and
                                               revise creditor presentation materials (2.0);
                                               correspond with M. Slade, D. Hunter, and A.
                                               Sexton re same (.8).
08/13/21 Cassandra E. Fenton              0.60 Prepare for and participate in meeting with
                                               K&E team re case status and strategy.
08/13/21 John C. O'Quinn, P.C.            7.50 Prepare for summary judgment hearing re
                                               SES claims (4.0); analyze issues re same
                                               (3.5).
08/13/21 John C. O'Quinn, P.C.            0.50 Conference with M. Slade, K&E litigation
                                               team re case updates.
08/13/21 Alexandra Schrader               2.60 Research and summarize common interest
                                               privilege and conflict issues (2.5); conference
                                               with K&E team re plan update and next steps
                                               (.1).
08/13/21 Michael B. Slade                 3.00 Telephone conference with director advisors
                                               re case status (.5); telephone conference with
                                               J. O’Quinn, K&E team re litigation work in
                                               process (.8); telephone conference with
                                               director advisors re diligence requests (.3);
                                               review materials re summary judgment (1.1);
                                               telephone conference with Company re
                                               litigation strategy (.3).
08/13/21 Gary M. Vogt                     1.30 Review, finalize, serve additional productions
                                               re plan.
08/13/21 Jeffrey J. Zeiger, P.C.          0.20 Conference with M. Slade, K&E litigation
                                               team re case updates.
08/14/21 Bill Arnault                     2.30 Revise creditor presentation (.6); review
                                               comments re same (.9); correspond with M.
                                               Slade, D. Hunter, and A. Sexton re same (.8).

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Date     Name                            Hours Description
08/14/21 Mariel Brookins                   2.40 Prepare and participate in telephone
                                                conference with H. Rhodes, K&E team re
                                                potential creditor litigation (.9); correspond
                                                with same re potential litigation (.4); review
                                                memorandum re potential creditor litigation
                                                (1.0); correspond with M. Slade re same (.1).
08/14/21 Casey McGushin                    1.30 Review and analyze information and
                                                indenture re ability to reinstate notes (.7);
                                                telephone conference with M. Slade and K&E
                                                team re potential reinstatement (.4); telephone
                                                conference with K&E and PJT teams re
                                                potential reinstatement (.2).
08/14/21 John C. O'Quinn, P.C.             9.50 Prepare outline re summary judgment hearing
                                                (2.1); prepare notes re same (4.0); prepare
                                                oral argument re SES claim (3.4).
08/14/21 Michael B. Slade                  1.10 Review, analyze expert report.
08/15/21 Bill Arnault                      6.30 Conference with A&M, K&E team re creditor
                                                presentation (.9); prepare re same (1.3);
                                                review and revise creditor presentation (1.4);
                                                review privilege log (.7); review
                                                corresponding documents and descriptions
                                                (2.0).
08/15/21 Casey McGushin                    0.70 Review and analyze draft liquidation analysis.
08/15/21 John C. O'Quinn, P.C.             9.70 Prepare for summary judgment hearing (3.2);
                                                prepare re oral argument re SES claim (3.9);
                                                review, revise slides re same (2.6).
08/15/21 Michael B. Slade                  0.50 Telephone conference with A&M team re
                                                expert report.
08/16/21 Bill Arnault                     10.90 Conference with M. Ayala re case update (.2);
                                                prepare re same (.8); conference with C.
                                                Fenton and E. Ribot re privilege log (.2);
                                                prepare for same (.7); review liquidation
                                                analysis exhibit (.9); review and revise
                                                creditor presentation (1.0); conference with D.
                                                Webber re same (.2); correspond with M.
                                                Slade, advisors re search term proposal (1.1);
                                                conference with M. Slade, K&E litigation
                                                team re plan value allocation (1.0);
                                                conference with A&M and K&E team re
                                                liquidation analysis (.2); review privilege log
                                                (.8); review valuation exhibit (.2); compile
                                                key documents to cite re parent guarantee
                                                litigation (2.1); review batches of documents
                                                re recent searches from Converts (1.5).


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Date     Name                            Hours Description
08/16/21 Cassandra E. Fenton               0.80 Prepare for telephone conference with M.
                                                Slade, K&E litigation team re discovery (.5);
                                                participate in same (.3).
08/16/21 Casey McGushin                    1.10 Review and revise draft liquidation analysis
                                                (.8); telephone conference with M. Slade,
                                                K&E team, and A&M team re same (.3).
08/16/21 John C. O'Quinn, P.C.             8.80 Prepare argument outline re summary
                                                judgment hearing (4.8); analyze issues re
                                                same (4.0).
08/16/21 Evan Ribot                        0.90 Conference with M. Slade, K&E litigation
                                                team re privilege log (.6); review and analyze
                                                privilege log materials (.3).
08/16/21 Anne McClain Sidrys, P.C.         0.80 Review, analyze discovery and privilege
                                                issues.
08/16/21 Michael B. Slade                  1.40 Telephone conference with Company re
                                                litigation considerations (.5); telephone
                                                conference with A&M team, B. Arnault and
                                                C. McGushin re expert reports (.3); review
                                                same (.2); review witness list (.4).
08/17/21 Bill Arnault                     11.10 Review batches from converts search terms re
                                                privilege log purposes (1.9); conference with
                                                Houlihan re creditor presentation (.9);
                                                conference with Alix Partners re same (.7);
                                                conference with FTI re creditor presentation
                                                (1.0); review batches from pre-negotiation
                                                batches for privilege log purposes (2.1);
                                                conference with M. Slade re discovery (.1);
                                                review search term results (.7); review and
                                                revise motion re scheduling order (1.0);
                                                review and revise brief re parent guarantee
                                                summary judgment motions (1.1); review
                                                prior search term protocol (.5); correspond
                                                with K&E litigation team, advisors re
                                                document review and productions (.6); draft
                                                discovery plan re remaining requests (.5).
08/17/21 Cassandra E. Fenton               1.60 Review and analyze documents re discovery
                                                (.9); correspond with advisors re same (.7).
08/17/21 Casey McGushin                    1.40 Review, revise, and finalize draft response to
                                                motion for summary judgment re parent
                                                guarantee litigation.
08/17/21 John C. O'Quinn, P.C.            10.80 Prepare re summary judgment argument (3.4);
                                                moot and mock summary judgment argument
                                                with M. Slade, M. Glick, J. Zeiger, and E.
                                                Long (4.0); review slides from M. Glick (3.4).

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Date     Name                            Hours Description
08/17/21 Evan Ribot                        0.30 Review and analyze privilege log materials.
08/17/21 Anne McClain Sidrys, P.C.         1.00 Review, revise discovery update re privilege
                                                log.
08/17/21 Michael B. Slade                  0.40 Telephone conference with Company re
                                                litigation strategy.
08/18/21 Bill Arnault                     11.10 Review privilege log documents re parent
                                                guarantee claims and plan-related requests re
                                                quality control (2.6); conference with S.
                                                Doore re discovery (.3); review scheduling
                                                motion (.6); conference with A&M and A.
                                                Sexton re creditor presentation (.3); review
                                                documents re ARPs for purposes of
                                                production in response to converts' requests
                                                (4.0); draft correspondence to QE re
                                                discovery (.9); correspond with advisors, C.
                                                Fenton, and E. Ribot re privilege log (.6);
                                                review, revise search term proposal (.7);
                                                review diligence questions (.8); correspond
                                                with M. Slade and D. Hunter re same (.3).
08/18/21 John C. O'Quinn, P.C.             9.80 Review summary judgment slides with M.
                                                Glick (4.0); revise same (2.1) prepare for
                                                summary judgment hearing (3.7).
08/18/21 Evan Ribot                        2.50 Review and code documents re parent
                                                guarantees to update privilege log.
08/18/21 Michael B. Slade                  4.30 Telephone conference with PJT and A&M re
                                                expert reports (.5); telephone conference with
                                                Company, PJT and B. Arnault, K&E team re
                                                litigation update (.5); review and revise
                                                scheduling brief (1.6); analyze expert reports
                                                (1.1); telephone conference and
                                                correspondence with opposing counsel re
                                                potential litigation (.3); review sealing
                                                objection and telephone conference with local
                                                counsel re same (.3).
08/19/21 Bill Arnault                      7.40 Review documents re production in response
                                                to requests from converts re ARPs (3.8);
                                                prepare for meet and confer with Converts'
                                                counsel (1.1); review scheduling motion edits
                                                (.4); review motion to expedite (.4);
                                                correspond with M. Slade re same (1.0);
                                                correspond with advisors re search parameters
                                                and guidelines (.7).
08/19/21 Cassandra E. Fenton               0.10 Correspond with M. Slade, K&E litigation
                                                team re discovery.


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Date     Name                            Hours Description
08/19/21 John C. O'Quinn, P.C.            8.70 Prepare for and participate in summary
                                               judgment hearing (4.0); debrief with
                                               Company re summary judgment hearing
                                               (1.9); revise draft orders (2.8).
08/19/21 Evan Ribot                       0.20 Review and code documents re parent
                                               guarantees to update privilege log.
08/19/21 Michael B. Slade                 7.90 Attend court hearing (5.8); telephone
                                               conference with A. Yenamandra, K&E team,
                                               Company re litigation strategy (.5); telephone
                                               conference with Company re evidence (.5);
                                               review and revise motion (1.1).
08/19/21 Aparna Yenamandra                0.50 Telephone conference with D. Hunter, K&E
                                               team, Company re SES hearing debrief.
08/20/21 Bill Arnault                     8.10 Conference with M. Ayala re discovery (.2);
                                               prepare for same by reviewing search
                                               parameters, culling terms, prior review
                                               protocols (.8); conference with M. Slade re
                                               discovery (.1); conference with E. Long re
                                               discovery (.1); conference with J. Doore re
                                               discovery (.3); draft pleadings re scheduling
                                               motion (1.1); review documents re
                                               accelerated relocation payments for purposes
                                               of production (1.0); conference with FTI re
                                               creditor presentation (.9); review documents
                                               re allocation of accelerated relocation
                                               payments (3.1); correspond with advisors re
                                               database research (.5).
08/20/21 Tyler R. Knutson                 1.10 Review and analyze protective order re
                                               certain parties (.7); correspond with D.
                                               Gemlin, Kutak re same (.4).
08/20/21 John C. O'Quinn, P.C.            1.50 Conference with Company re litigation update
                                               (.5); review draft orders from summary
                                               judgment hearing(.4); conference with SES
                                               litigation team re same (.6).
08/20/21 Evan Ribot                       0.80 Review and code documents re parent
                                               guarantees to update privilege log.
08/20/21 Anne McClain Sidrys, P.C.        1.10 Review updates re discovery.
08/20/21 Michael B. Slade                 3.80 Telephone conference with Company re
                                               litigation (.5); telephone conference with B.
                                               Arnault, K&E team re litigation work in
                                               process (.4); review, analyze orders (.4);
                                               review and revise stipulation, related
                                               documents (1.8); review and revise motion
                                               (.7).

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Date     Name                            Hours Description
08/21/21 Bill Arnault                      1.90 Review guarantee claims briefing (.8); review
                                                scheduling order (1.1).
08/21/21 Bill Arnault                      0.30 Review, analyze materials from converts.
08/21/21 Bill Arnault                      1.60 Conference with K&E litigation team re case
                                                updates (.6); review materials re plan and
                                                disclosure statement (1.0).
08/21/21 Casey McGushin                    1.70 Draft and revise response to motion for
                                                temporary allowance re parent guarantee
                                                claims.
08/21/21 Michael B. Slade                  0.20 Correspond with B. Arnault re motion.
08/22/21 Bill Arnault                      7.20 Review documents re production in response
                                                to requests from the Converts re quality
                                                control (2.6); draft summary of production
                                                status and content of production for M. Slade,
                                                D. Hunter, and C. McGushin (.7); correspond
                                                with advisors re batches, review search
                                                parameters, hit results (.9); review documents
                                                re allocation (1.1); review parent guarantee
                                                briefing (1.5); review scheduling order (.4).
08/22/21 Aleschia D. Hyde                  7.30 Review documents re ARPs.
08/22/21 Casey McGushin                    3.80 Draft, revise, and research issues related to
                                                temporary allowance re parent guarantee
                                                issues.
08/23/21 Bill Arnault                     10.10 Conference with M. Slade, K&E litigation
                                                team re case updates (.5); prepare re same
                                                (.6); review search term results (.4); draft
                                                email to M. Slade, A. Sidrys, C. McGushin,
                                                and C. Fenton re discovery status (.7); review
                                                ARP allocation documents (2.9); review
                                                claims documents (2.5); correspond with
                                                advisors re additional searches (.2);
                                                conference with M. Marcus re discovery (.1);
                                                review guarantee brief (.8); draft pleading re
                                                same (.9); review PVA analysis (.5).
08/23/21 Aleschia D. Hyde                  8.20 Review ARP documents re responsiveness
                                                (4.0); telephone conference with K&E team re
                                                SES, summary judgment (.5); summarize
                                                reply draft (3.7).
08/23/21 Mike Kraft                        0.50 Conference with M. Slade, K&E litigation
                                                team re case updates..




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Date     Name                            Hours Description
08/23/21 Mike Kraft                       8.10 Review documents re responsiveness to ARP
                                               issues, confidentiality, and privilege (4.0);
                                               code documents re same (1.2); review coding
                                               (2.9).
08/23/21 Colin J. Martindale              3.80 Review and analyze documents re
                                               responsiveness and privilege.
08/23/21 Colin J. Martindale              0.50 Telephone conference with M. Slade and
                                               K&E team re plan update.
08/23/21 Casey McGushin                   9.10 Draft response to motion for temporary
                                               allowance of parent guarantee claims (3.9);
                                               review same (3.4); review and analyze reply
                                               in support of summary judgment re parent
                                               guarantee releases filed by Jones Day group
                                               (1.3); conference with M. Slade, K&E
                                               litigation team re case status (.5).
08/23/21 John C. O'Quinn, P.C.            1.50 Respond to questions from J. Zeiger and M.
                                               Slade (.3); conference with M. Slade and J.
                                               Zeiger re discussion with SES counsel (.6);
                                               conference with M. Slade, K&E team re case
                                               updates (.6).
08/23/21 Evan Ribot                       3.90 Review and code documents re accelerated
                                               relocation payments (2.8); review and revise
                                               privilege log re parent guarantee documents
                                               (.6); telephone conference with K&E team re
                                               case progress and updates (.5).
08/23/21 Anne McClain Sidrys, P.C.        3.80 Telephone call with M. Slade, K&E litigation
                                               team re case and strategy (.8); review
                                               discovery plan/issues (3.0).
08/23/21 Michael B. Slade                 2.30 Telephone conference with Company re
                                               litigation status (.5); telephone conference
                                               with PJT team re same (.4); telephone
                                               conference with opposing counsel re trial
                                               matters (.4); prepare for and participate in
                                               telephone conference with S. Serajeddini,
                                               K&E team re discovery matters (1.0).
08/23/21 Laura Elizabeth Wolk             0.50 Conference with M. Slade, K&E litigation
                                               team re trial preparation.
08/24/21 Maggie Alden                     0.20 Correspond with A. Dreisbach, K&E team re
                                               renewed equity committee request.




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Date     Name                            Hours Description
08/24/21 Bill Arnault                     7.60 Conference with S. Serajeddini, M. Slade, and
                                               A. Yenamandra re discovery (.5); draft
                                               discovery requests re plan (2.1); draft
                                               correspondence re K&E document collection
                                               (.4); draft correspondence to K&E litigation
                                               team re document review (.8); review
                                               production re quality control (1.1); review
                                               allocation documents (1.7); conference with
                                               M. Marcus re discovery (.1); conference with
                                               M. Ayala re case updates (.1); search for
                                               documents at request of M. Ayala (.5); draft
                                               discovery plan (.3).
08/24/21 Cassandra E. Fenton              0.10 Analyze correspondence re privilege log.
08/24/21 Aleschia D. Hyde                 0.80 Summarize reply brief.
08/24/21 Casey McGushin                   0.80 Telephone conference with K&E team re
                                               responding to motion for temporary
                                               allowance (.5); draft and revise response to
                                               motion for temporary allowance (.3).
08/24/21 John C. O'Quinn, P.C.            0.70 Conference with Jones Day counsel, M.
                                               Slade, and J. Zeiger re case updates.
08/24/21 Evan Ribot                       0.40 Review parent guarantee privilege log.
08/24/21 Anne McClain Sidrys, P.C.        2.80 Review updates re discovery (2.1); review
                                               ,annotate re WLRK privilege log (.7).
08/24/21 Michael B. Slade                 4.40 Telephone conference with Company, J.
                                               O’Quinn re litigation status (.5); telephone
                                               conference with A. Yenamandra, S.
                                               Serajeddini and C. McGushin re discovery
                                               (.3); draft and revise deposition letter (.9);
                                               analyze deposition designations (1.9); review
                                               documents re discovery issues (.8).
08/25/21 Bill Arnault                     8.40 Conference with C. Fenton, E. Ribot, and A.
                                               Schrader re privilege log (.4); prepare re same
                                               (.7); conference with directors re
                                               discovery(.5); conference with M. Slade and
                                               J. Williams re discovery (.2); conference with
                                               R. Vago re K&E document collection (.2);
                                               review pleading re temporary allowance (.5);
                                               correspond with PJT and A&M re document
                                               collection (.2); correspond with advisors re
                                               discovery (.2); review documents for
                                               production re quality control (1.2); review
                                               allocation documents re production (3.9);
                                               review A&M documents re allocation (.4).



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Date     Name                            Hours Description
08/25/21 Cassandra E. Fenton              1.10 Prepare for telephone conference with K&E
                                               litigation team re privilege log (.6); participate
                                               in same (.5).
08/25/21 Derek I. Hunter                  1.10 Correspond with K&E team re adversary
                                               pleadings, discovery requests, and related
                                               litigation strategy (.6); review, revise
                                               discovery responses and litigation pleadings
                                               (.5).
08/25/21 Aleschia D. Hyde                 3.30 Summarize additional sections of reply brief.
08/25/21 Casey McGushin                   4.20 Review documents re responsiveness and
                                               privilege in response to Converts discovery
                                               requests (2.9); revise same re same (1.3).
08/25/21 John C. O'Quinn, P.C.            0.50 Correspond with M. Slade, M. Glick, J.
                                               Zeiger, and E. Long re trial issues re SES.
08/25/21 Evan Ribot                       2.00 Prepare for and participate in telephone
                                               conference re upcoming discovery deadlines
                                               (.6); review and revise privilege coding to
                                               update privilege log of guarantee documents
                                               (1.4).
08/25/21 Alexandra Schrader               0.40 Telephone conference with M. Slade, K&E
                                               litigation team re privilege log.
08/25/21 Anne McClain Sidrys, P.C.        2.00 Analyze discovery issues (.7); review
                                               privilege entries (1.3).
08/25/21 Michael B. Slade                 6.10 Telephone conference with Company re
                                               litigation (.5); telephone conference with PJT
                                               and A&M teams re expert reports (.5);
                                               telephone conference with director advisors re
                                               litigation (.5); telephone conference with
                                               opposing counsel re litigation (.4); review
                                               deposition designations (2.2); draft and revise
                                               deposition letter (.6); review exhibit list (1.4).




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08/26/21 Bill Arnault                     10.90 Conference with M. Slade, J. Hurwitz, and L.
                                                Wilson re discovery (.2); correspond with
                                                advisors re case status (.7); draft
                                                correspondence with G. Vogt re production
                                                (.1); review document from A&M (.3);
                                                conference with directors re case updates (.2);
                                                prepare for same (.3); conference with M.
                                                Marcus re case updates (.1); review claims
                                                documents (1.9); conference with M. Marcus,
                                                D. Agay, S. Serajeddini, and M. Slade re case
                                                updates (.2); review documents captured by
                                                catch-all searches (2.1); review claims
                                                documents (2.1); conference with Alix
                                                Partners and A&M re diligence (.5); draft
                                                discovery to Converts re facts and legal
                                                theories (2.2).
08/26/21 Nicholas A. Binder                0.20 Correspond with D. Hunter, K&E team, party
                                                in interest re pleadings.
08/26/21 Cassandra E. Fenton               0.80 Analyze privilege log (.5); correspond with
                                                advisors re same (.3).
08/26/21 Derek I. Hunter                   0.40 Correspond with M. Slade, K&E team re
                                                adversary pleadings, discovery requests, and
                                                related litigation strategy.
08/26/21 Mike Kraft                        5.20 Review and code documents re claims arising
                                                out of 2018 reorganization or alleged
                                                November 2019 insider trading (3.5); code
                                                documents re same (1.7).
08/26/21 Colin J. Martindale               6.80 Review and analyze Intelsat CBE documents
                                                re responsiveness and privilege (1.0); review
                                                and analyze Intelsat CBE documents re
                                                responsiveness and privilege (2.2); review
                                                and analyze Intelsat CBE documents re
                                                responsiveness and privilege (3.6).
08/26/21 John C. O'Quinn, P.C.             0.50 Conference with L. Wolk re response to SES
                                                brief re trial timing and format.
08/26/21 Harker Rhodes                     0.30 Prepare for and participate in call with M.
                                                Slade and M. Brookins re plan related motion.
08/26/21 Evan Ribot                        2.80 Review and code documents in Relativity re
                                                past claims.
08/26/21 Alexandra Schrader                3.60 Review claims documents re responsiveness
                                                and privilege.




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08/26/21 Michael B. Slade                 1.80 Telephone conference with Jones Day and
                                               Paul Weiss teams re discovery issues (.5);
                                               review, analyze documents re discovery
                                               issues (.9); telephone conference with ad hoc
                                               counsel re same (.2); telephone conference
                                               with A&M re expert report (.2).
08/26/21 Laura Elizabeth Wolk             0.50 Conference with J. O'Quinn re summary
                                               judgment hearing and pre-trial brief.
08/26/21 Aparna Yenamandra                0.40 Conference with K&E litigation team re
                                               litigation prep.
08/27/21 Bill Arnault                     7.60 Conference with M. Slade re discovery (.1);
                                               prepare re same (.3); review filing from
                                               Converts (.1); conference with L. Wilson re
                                               case updates (.2); correspond with L. Wolk re
                                               scheduling motion (.2); draft memorandum re
                                               discovery status and claims in advance of
                                               hearing (1.4); review and revise privilege log
                                               (.4); prepare re service (.4); correspond with
                                               advisors re discovery and production (1.3);
                                               review claims documents re production (1.8);
                                               review catch-call searches and other
                                               remaining documents (1.4).
08/27/21 Derek I. Hunter                  0.20 Correspond with M. Slade, K&E team re
                                               litigation strategy.
08/27/21 Kevin M. Jonke                   1.00 Conference with J. Murray re valuation
                                               expert.
08/27/21 Casey McGushin                   2.90 Prepare counter deposition designations re D.
                                               Goldberg (1.3); review and provide comments
                                               re valuation expert report deck (1.6).
08/27/21 Brian Nakhaimousa                1.10 Review 5/26, 6/9 transcripts (.7); correspond
                                               with M. Slade, D. Hunter, L. Wolk re same
                                               (.4).
08/27/21 John C. O'Quinn, P.C.            2.00 Review, revise objection to reimbursement
                                               claim (1.1); review, revise draft brief re trial
                                               schedule (.9).
08/27/21 Evan Ribot                       1.30 Review and code documents re past claims.
08/27/21 Alexandra Schrader               0.50 Review claims documents re responsiveness
                                               and privilege.




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Intelsat S.A.                                                 Matter Number:      48457-40
Litigation Advice

Date     Name                            Hours Description
08/27/21 Michael B. Slade                  6.80 Telephone conference with A., Yenamandra,
                                                Company re litigation status (.5); telephone
                                                conference with PJT and A&M teams re same
                                                (.5); telephone conference with B. Arnault re
                                                discovery (.1); review documents re same
                                                (.4); telephone conference with SES litigation
                                                team re status (.5); telephone conference with
                                                Company re litigation strategy (.4); telephone
                                                conference re expert report (1.0); analyze
                                                same (.8); review and revise brief re
                                                scheduling (1.2); review deposition
                                                designations (1.4).
08/27/21 Laura Elizabeth Wolk              5.50 Conference with M. Slade, K&E litigation
                                                team re case updates (.5); draft pre-trial brief
                                                (4.0); implement partner comments and
                                                recirculate re same (1.0).
08/27/21 Aparna Yenamandra                 0.50 Conference with K&E litigation team re
                                                updates.
08/28/21 Bill Arnault                      1.10 Review A&M documents (.3); respond to
                                                document request from SES (.8).
08/28/21 Michael B. Slade                  8.10 Telephone conference with S. Serajeddini, A.
                                                Sexton, A. Yenamandra, K&E team re
                                                litigation strategy (.5); draft trial outlines
                                                (4.0); revise same (3.6).
08/29/21 Casey McGushin                    0.40 Review and finalize draft counter deposition
                                                designations re D. Goldberg.
08/29/21 Michael B. Slade                  5.70 Draft witness outline (3.4); revise same (1.0);
                                                review, revise exhibit list (1.3).
08/29/21 Lauren Zipp                      10.00 Analyze current trial exhibit list and
                                                corresponding exhibits, and compile and
                                                organize requested families, new exhibits and
                                                edits to the trial list.




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Litigation Advice

Date     Name                            Hours Description
08/30/21 Bill Arnault                     10.90 Review lift stay motion and declaration (.7);
                                                conference with S. Doore re discovery (.4);
                                                conference with D. Hunter, K&E team re
                                                scheduling (.4); conference with PJT and
                                                K&E re valuation (.3); review guarantee
                                                litigation pleadings (1.2); review and analyze
                                                proposed schedule (.4); conference with
                                                Converts re scheduling (.1); correspond with
                                                K&E litigation team re document review and
                                                discovery (.6); correspond with advisors re
                                                production parameters (.2); prepare
                                                documents re production (.3); review,
                                                summarize documents re claims re production
                                                (3.1); review negotiation docs (3.2).
08/30/21 Cassandra E. Fenton               0.90 Analyze documents re privilege log.
08/30/21 Colin J. Martindale               5.10 Review Company negotiations documents re
                                                responsiveness and privilege (3.8); review
                                                additional Company negotiations documents
                                                re responsiveness and privilege (1.3).
08/30/21 Casey McGushin                    0.50 Conference with T. McNamara re documents
                                                to potentially add to exhibit list (.3); review
                                                and analyze documents provided by T.
                                                McNamara re inclusion on exhibit list (.2).
08/30/21 Evan Ribot                        1.90 Review and code documents re amended plan
                                                negotiations.
08/30/21 Michael B. Slade                  7.00 Revise scheduling response (.5); review
                                                exhibit list (1.9); review deposition
                                                designations (1.4); telephone conference with
                                                Company re litigation (.5); telephone
                                                conference with PJT team re expert report
                                                (.4); review, analyze same (1.3); telephone
                                                conference with opposing counsel re litigation
                                                (.3); telephone conference with creditor
                                                counsel re same (.3); telephone conference
                                                with B. Arnault, K&E team re litigation status
                                                (.4).
08/30/21 Gary M. Vogt                      2.20 Correspond with PJT re document production
                                                (1.0); review, finalize, serve same (1.2).
08/30/21 Laura Elizabeth Wolk              0.50 Conference with D. Hunter, K&E litigation
                                                team re trial preparation.




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Litigation Advice

Date     Name                            Hours Description
08/31/21 Bill Arnault                     10.40 Conference with A&M and K&E team re
                                                claims (1.0); conference with K&E team, M.
                                                Marcus, and D. Agay re case status (.5);
                                                conference with C. Kelly re claims analysis
                                                (.7); draft email to M. Slade re discovery (.2);
                                                conference with M. Marcus re discovery (.2);
                                                review and revise disclosure statement reply
                                                briefing (1.7); review objections to disclosure
                                                statement and scheduling motion (2.4);
                                                review potential schedules (.5); draft and
                                                revise requests for admission (1.7); review
                                                documents to produce to converts (1.5).
08/31/21 Cassandra E. Fenton               0.10 Analyze correspondence re privilege log.
08/31/21 Derek I. Hunter                   0.60 Correspond with M. Slade, K&E litigation
                                                team re cause of action settlement, discovery
                                                requests, and related litigation strategy.
08/31/21 Kevin M. Jonke                    0.50 Conference with PJT team re preparation of
                                                expert reliance materials.
08/31/21 Mike Kraft                        6.20 Review documents re negotiations production
                                                (4.0); code same (2.2).
08/31/21 Library Factual Research          0.50 Daily monitoring for public statements by
                                                SES re Intelsat for month of August.
08/31/21 Colin J. Martindale               2.00 Review and analyze negotiation documents re
                                                responsiveness and privilege .
08/31/21 Casey McGushin                    1.20 Draft and revise talking points re disclosure
                                                statement hearing (.6); review and finalize
                                                proposed counter-designations re S. Crandall
                                                deposition (.6).
08/31/21 Evan Ribot                        2.20 Review and code documents re amended plan
                                                negotiations.
08/31/21 Alexandra Schrader                3.00 Review documents re responsiveness and
                                                privilege.
08/31/21 Michael B. Slade                  8.60 Review exhibits (3.4); telephone conference
                                                with A. Yenamandra, K&E team re litigation
                                                status (.5); review and revise reply brief (1.8);
                                                correspond with B. Arnault, K&E team re
                                                scheduling (1.2); telephone conference with
                                                A&M re expert report (.6); telephone
                                                conference with director advisors re litigation
                                                (.4); telephone conference with Company re
                                                litigation (.5); telephone conference with
                                                creditors’ counsel re same (.2).
08/31/21 Aparna Yenamandra                 0.50 Attend litigation standing call.


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Litigation Advice


Total                                   615.10




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                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050030
                                                                               Client Matter: 48457-41

In the Matter of Project Galactica (363)




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                         $ 1,391.00
Total legal services rendered                                                                                   $ 1,391.00




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Intelsat S.A.                                                 Matter Number:      48457-41
Project Galactica (363)




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Peter Bang                                           1.30    1,070.00          1,391.00

TOTALS                                                1.30                    $ 1,391.00




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Intelsat S.A.                                                 Matter Number:      48457-41
Project Galactica (363)


                                  Description of Legal Services

Date     Name                            Hours Description
08/05/21 Peter Bang                       0.30 Correspond with Intelsat re side fee letter for
                                               transaction Consent.
08/10/21 Peter Bang                       0.40 Prepare correspondence to Intelsat and
                                               Wilson Sonsini teams re expense
                                               reimbursement obligations.
08/24/21 Peter Bang                       0.60 Prepare correspondence to Intelsat team re
                                               lender and agent expense reimbursement
                                               obligations.

Total                                      1.30




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                                                         New York, NY 10022

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September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050031
                                                                               Client Matter: 48457-42

In the Matter of Gogo Inc. Post-petition Advice




For legal services rendered through August 31, 2021
(see attached Description of Legal Services for detail)                                                        $ 46,412.50
Total legal services rendered                                                                                  $ 46,412.50




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Intelsat S.A.                                                 Matter Number:      48457-42
Gogo Inc. Post-petition Advice




                                   Summary of Hours Billed

Name                                                Hours        Rate          Amount
Mahalia S.B Doughty                                   1.50   1,155.00          1,732.50
Shawn OHargan, P.C.                                   9.10   1,355.00         12,330.50
Anthony Vincenzo Sexton                               1.50   1,325.00          1,987.50
Anne McClain Sidrys, P.C.                            18.80   1,615.00         30,362.00

TOTALS                                               30.90                   $ 46,412.50




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Intelsat S.A.                                                 Matter Number:      48457-42
Gogo Inc. Post-petition Advice


                                     Description of Legal Services

Date     Name                               Hours Description
08/03/21 Anthony Vincenzo Sexton             0.20 Review and analyze 1033 accrual and Gogo
                                                  issues.
08/04/21 Mahalia S.B Doughty                 1.50 Telephone conference with K&E team re DIP
                                                  (.5); review DIP proposal materials (1.0).
08/04/21 Anthony Vincenzo Sexton             0.30 Review Gogo 1033 modeling.
08/06/21 Anne McClain Sidrys, P.C.           1.30 Review updates re EY letter re Gogo (.6);
                                                  review update re project velocity (.7).
08/07/21 Shawn OHargan, P.C.                 0.50 Review equity term sheet.
08/09/21 Shawn OHargan, P.C.                 2.30 Telephone conference re Intelsat emergence
                                                  (.5); telephone conference re creditor
                                                  negotiations (.5); telephone conference with
                                                  Intelsat team re governance (1.3).
08/10/21 Shawn OHargan, P.C.                 2.00 Telephone conference with K&E team re
                                                  management term sheet (.5); telephone
                                                  conference re Plan emergence (1.0);
                                                  telephone conference with EHP re status (.5).
08/11/21 Shawn OHargan, P.C.                 0.50 Telephone conference with K&E team re
                                                  Gogo.
08/12/21 Shawn OHargan, P.C.                 0.50 Revise engagement letter per D. Mayland.
08/13/21 Shawn OHargan, P.C.                 2.30 Telephone conference with Intelsat team re
                                                  EY letter (.5); review governance term sheet
                                                  (.3); telephone conference with Intelsat team
                                                  re same (.5); telephone conference with
                                                  creditor group re same (1.0).
08/13/21 Anne McClain Sidrys, P.C.           3.30 Conference with K&E team re EY retention
                                                  letter, Gogo (1.1); review, revise EY letter
                                                  (.9); telephone conference with M. Slade re
                                                  resolution of upcoming issues (1.3).
08/14/21 Shawn OHargan, P.C.                 0.50 Attend telephone conference with K&E team
                                                  re equity governance.
08/16/21 Anne McClain Sidrys, P.C.           1.20 Review and revise EY letter.
08/20/21 Anthony Vincenzo Sexton             1.00 Telephone conference with Deloitte and
                                                  Company re ECI and Gogo allocation issues.
08/20/21 Anne McClain Sidrys, P.C.           1.90 Review and revise Gogo statement and brief.
08/25/21 Anne McClain Sidrys, P.C.           0.30 Review edited EY letter.
08/27/21 Anne McClain Sidrys, P.C.           1.80 Review and revise brief from Gogo
                                                  arbitration.




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Intelsat S.A.                                                 Matter Number:      48457-42
Gogo Inc. Post-petition Advice

Date     Name                            Hours Description
08/30/21 Shawn OHargan, P.C.              0.50 Attend advisor telephone conference re
                                               purchase price dispute paper (.3); telephone
                                               conference with K&E team re same (.2).
08/30/21 Anne McClain Sidrys, P.C.        4.00 Review, revise re Gogo submission (3.1);
                                               telephone call with Company re same (.9).
08/31/21 Anne McClain Sidrys, P.C.        5.00 Review Gogo submission (3.9); edit same
                                               (1.1).

Total                                     30.90




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                                        Exhibit J

                    Detailed Description of Expenses and Disbursements
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August 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050048260
                                                                               Client Matter: 48457-23

In the Matter of Expenses


For expenses incurred through June 30, 2021
(see attached Description of Expenses for detail)                                                            $ 511,991.53
Total expenses incurred                                                                                      $ 511,991.53




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Intelsat S.A.                                               Matter Number:        48457-23
Expenses




                                    Description of Expenses

Description                                                                    Amount
Third Party Telephone Charges                                                    564.82
Standard Copies or Prints                                                      4,383.20
Binding                                                                           35.70
Tabs/Indexes/Dividers                                                            110.37
Color Copies or Prints                                                         1,408.55
4" Binders                                                                        13.00
Outside Messenger Services                                                       323.13
Local Transportation                                                             160.26
Travel Expense                                                                   627.00
Airfare                                                                           58.00
Travel Meals                                                                      27.70
Court Reporter Fee/Deposition                                                  5,875.75
Filing Fees                                                                    4,364.70
Expert Fees                                                                  462,515.84
Professional Fees                                                                828.40
Outside Retrieval Service                                                     24,319.57
LexisNexis Research                                                            4,562.94
Overtime Transportation                                                          257.71
Overtime Meals - Attorney                                                        177.38
Secretarial Overtime                                                             378.00
Document Services Overtime                                                       602.43
Overnight Delivery - Hard                                                         98.38
Computer Database Research - Soft                                                298.70

                                                  Total                    $ 511,991.53




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                                       Description of Expenses

Third Party Telephone Charges

Date        Description                                                         Amount
04/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  6.02
04/30/21    Intrado Enterprise Collaboration Inc - Telephone conference with      39.27
            clients and outside counsel.
04/30/21    Intrado Enterprise Collaboration Inc - Telephone conference with       0.51
            clients and outside counsel.
04/30/21    Intrado Enterprise Collaboration Inc - Telephone conferencing          1.52
            service
04/30/21    Intrado Solutions Limited - Conference calls (for Michael Engel        2.20
            April 2021)
04/30/21    Intrado Enterprise Collaboration Inc - Conference Call Fee             3.11
04/30/21    Intrado Enterprise Collaboration Inc - Telephone conference with      46.80
            clients and outside counsel.
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference services         1.16
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference services         1.91
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conference calls      2.79
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conference            1.27
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conference calls      6.07
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference Services         9.70
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference                  5.77
05/31/21    Intrado Enterprise Collaboration Inc - Conference call services       25.89
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference                  3.61
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference                  1.64
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference                  2.72
05/31/21    Intrado Enterprise Collaboration Inc - Teleconferences                 3.83
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conference            5.16
05/31/21    Intrado Enterprise Collaboration Inc - Conference Calls                6.00
05/31/21    Intrado Enterprise Collaboration Inc - Teleconference Calls.          59.74
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conferences with      2.75
            clients and outside counsel.
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conferences with     32.42
            clients and outside counsel.



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06/22/21    Robert Orren - Robert Orren, Teleconference, Telephonic Hearing       70.00
            Appearance - Brian Nakhaimousa 06/22/2021
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  2.33
06/30/21    Intrado Enterprise Collaboration Inc - teleconference services        47.71
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  0.69
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference services         1.25
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference services         1.81
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference services         0.80
06/30/21    Robert Orren - Robert Orren, Teleconference, Telephonic hearing       70.00
            appearance - Brian Nakhaimousa 06/30/2021
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  9.27
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  3.98
06/30/21    Intrado Enterprise Collaboration Inc - Telephonic conferencing        11.29
            service
06/30/21    Intrado Enterprise Collaboration Inc - Telephone Conference Fees       0.01
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  4.78
06/30/21    Intrado Enterprise Collaboration Inc - Telephone Conference Fees       5.65
06/30/21    Intrado Enterprise Collaboration Inc - Joe Morley June Intrado         5.02
            Invoice
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conferences           2.83
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                  3.41
06/30/21    Intrado Enterprise Collaboration Inc - Teleconferences                 2.39
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference Services        33.47
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference Calls.          16.27
            Total                                                                564.82




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Standard Copies or Prints

Date         Description                                                       Amount
06/01/21     Standard Copies or Prints                                             6.88
06/02/21     Standard Copies or Prints                                            22.08
06/03/21     Standard Copies or Prints                                             0.64
06/03/21     Standard Copies or Prints                                             3.04
06/04/21     CH-19655                                                          1,736.80
06/07/21     Standard Copies or Prints                                            57.44
06/07/21     Standard Copies or Prints                                             7.04
06/07/21     Standard Copies or Prints                                            12.32
06/08/21     Standard Copies or Prints                                             4.00
06/08/21     Standard Copies or Prints                                             0.32
06/08/21     Standard Copies or Prints                                             2.56
06/09/21     Standard Copies or Prints                                             4.48
06/09/21     Standard Copies or Prints                                             8.32
06/09/21     Standard Copies or Prints                                           532.64
06/11/21     Standard Copies or Prints                                             9.76
06/11/21     Standard Copies or Prints                                             7.84
06/14/21     Standard Copies or Prints                                            12.96
06/15/21     Standard Copies or Prints                                            22.08
06/15/21     Standard Copies or Prints                                            13.12
06/16/21     Standard Copies or Prints                                             7.04
06/17/21     Standard Copies or Prints                                            17.28
06/17/21     Standard Copies or Prints                                            10.24
06/17/21     Standard Copies or Prints                                            19.68
06/17/21     Standard Copies or Prints                                            21.76
06/19/21     Standard Copies or Prints                                             2.88
06/21/21     Standard Copies or Prints                                            21.60
06/21/21     Standard Copies or Prints                                             1.92
06/21/21     Standard Copies or Prints                                            13.12
06/21/21     Standard Copies or Prints                                             5.12
06/21/21     Standard Copies or Prints                                             2.88
06/22/21     Standard Copies or Prints                                            12.80
06/22/21     Standard Copies or Prints                                            13.12
06/22/21     Standard Copies or Prints                                             8.96
06/22/21     Standard Copies or Prints                                            12.80

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06/23/21    Standard Copies or Prints                                             21.60
06/24/21    Standard Copies or Prints                                             13.60
06/25/21    CH-20181                                                           1,696.16
06/28/21    Standard Copies or Prints                                             13.44
06/30/21    Standard Copies or Prints                                              2.88
            Total                                                              4,383.20




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Binding

Date        Description                                                        Amount
06/04/21    Binding                                                               8.40
06/09/21    Binding                                                              21.00
06/22/21    Binding                                                               0.70
06/25/21    Binding                                                               5.60
            Total                                                                35.70




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Tabs/Indexes/Dividers

Date         Description                                                       Amount
06/04/21     Tabs/Indexes/Dividers                                               84.89
06/25/21     Tabs/Indexes/Dividers                                               25.48
             Total                                                              110.37




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Legal Services for the Period Ending June 30, 2021         Invoice Number:      1050048260
Intelsat S.A.                                               Matter Number:        48457-23
Expenses


Color Copies or Prints

Date         Description                                                       Amount
06/04/21     Color Copies or Prints                                            1,085.70
06/07/21     Color Copies or Prints                                               77.55
06/08/21     Color Copies or Prints                                               36.30
06/08/21     Color Copies or Prints                                               15.40
06/10/21     Color Copies or Prints                                               27.50
06/14/21     Color Copies or Prints                                               15.40
06/15/21     Color Copies or Prints                                                5.50
06/16/21     Color Copies or Prints                                               28.60
06/21/21     Color Copies or Prints                                                8.25
06/21/21     Color Copies or Prints                                                7.15
06/21/21     Color Copies or Prints                                               12.65
06/22/21     Color Copies or Prints                                                0.55
06/24/21     Color Copies or Prints                                               37.40
06/28/21     Color Copies or Prints                                               50.60
             Total                                                             1,408.55




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Expenses


4" Binders

Date         Description                                                       Amount
06/25/21     4" Binders                                                          13.00
             Total                                                               13.00




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Expenses


Outside Messenger Services

Date         Description                                                       Amount
05/15/21     Washington Express LLC - Messenger service                          99.59
05/15/21     Washington Express LLC - Messenger service                          59.11
05/31/21     Washington Express LLC - Messenger service                          46.64
05/31/21     Washington Express LLC - Messenger service                         117.79
             Total                                                              323.13




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Expenses


Local Transportation

Date         Description                                                       Amount
04/30/21     VITAL TRANSPORTATION SERVICES INC - Package Dan                     38.88
             Kaplan - 04/24/2021
04/30/21     VITAL TRANSPORTATION SERVICES INC - Package Tom                      47.41
             Arena - 04/24/2021
05/07/21     VITAL TRANSPORTATION SERVICES INC - Package Nicole                   37.93
             Santora - 04/24/2021
05/14/21     VITAL TRANSPORTATION SERVICES INC - Snyder Orin -                    36.04
             04/24/2021
             Total                                                               160.26




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Expenses


Travel Expense

Date        Description                                                        Amount
06/29/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Lodging,       313.50
            Richmond, VA to , Hotel in Richmond, VA for Intelsat hearing
            06/29/2021
06/30/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Lodging,        313.50
            Richmond, VA to , Hotel in Richmond, VA for Intelsat hearing
            06/30/2021
            Total                                                                627.00




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Expenses


Airfare

Date        Description                                                         Amount
06/28/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Agency Fee,      58.00
            Agency fee for Airfare to/from Richmond, VA for Intelsat hearing.
            06/28/2021
            Total                                                                 58.00




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Expenses


Travel Meals

Date           Description                                                           Amount
06/30/21       Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Hotel - Travel     27.70
               Meals, Richmond, VA Dinner at Hotel in Richmond, VA for
               Intelsat hearing Steven N. Serajeddini 06/30/2021
               Total                                                                   27.70




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Court Reporter Fee/Deposition

Date         Description                                                       Amount
05/26/21     VERITEXT - Deposition of J. Eisenach                              4,479.75
06/10/21     VERITEXT - M. Schwartz Deposition Video Files                       613.00
06/11/21     VERITEXT - J. Eisenach Deposition Video Files                       783.00
             Total                                                             5,875.75




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Expenses


Filing Fees

Date          Description                                                         Amount
06/28/21      CSC - Re: Intelsat Align S.A.R.L.; Intelsat Asia Carrier Services   4,364.70
              LLC; Intelsat US LLC; Intelsat Global Sales & Marketing Ltd.;
              Intelsat Holdings LLC; Intelsat International Employment LLC;
              Intelsat International Systems, LLC; Intelsat Jackson Holdings
              S.A.; Intelsat License Holdings LLC; Intelsat License LLC;
              Intelsat (Luxembourg) S.A.; Intelsat Operations S.A.; Intelsat
              Satellite LLC; Intelsat Service and Equipment LLC; Intelsat
              Subsidiary (Gibraltar) Limited; Intelsat UK Financial Services
              Ltd.; Panamsat Europe Corporation; Intelsat Panamsat India LLC;
              Panamsat India Marketing, L.L.C.; Panamsat International
              Holdings, LLC; Panamsat International Sales, LLC; Southern
              Satellite Licensee LLC.
              Total                                                               4,364.70




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Expenses


Expert Fees

Date          Description                                                      Amount
05/24/21      COMPASS LEXECON - Compass Lexecon April 2021 invoice for       255,252.03
              expert consulting services.
06/15/21      NATIONAL ECONOMIC RESEARCH ASSOCIATE INC -                      57,997.50
              NERA May 2021 invoice for expert consulting services
06/24/21      COMPASS LEXECON - Compass Lexecon May 2021 invoice for         149,266.31
              expert consulting services.
              Total                                                          462,515.84




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Professional Fees

Date         Description                                                       Amount
05/10/21     VEDDER PRICE PC - Processional Fees - KE Split                     828.40
             Total                                                              828.40




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Expenses


Outside Retrieval Service

Date         Description                                                       Amount
09/16/20     CT CORPORATION - Retrieve corporate documents                     1,709.85
02/25/21     CT CORPORATION - Retrieve corporate documents                     4,800.00
02/25/21     CT CORPORATION - Retrieve corporate documents                     1,440.00
06/23/21     CT CORPORATION - Retrieve corporate documents (original           3,463.79
             invoice date 6/16/2020)
06/23/21     CT CORPORATION - Retrieve corporate documents (original           7,319.80
             invoice date 06/01/2020)
06/23/21     CT CORPORATION - Retrieve corporate documents                     3,416.18
06/24/21     CT CORPORATION - Retrieve corporate documents (original           2,169.95
             invoice date 6/19/2020)
             Total                                                            24,319.57




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LexisNexis Research

Date        Description                                                        Amount
05/03/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/3/2021 by        261.82
            Anne Waldron
05/04/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/4/2021 by         158.21
            Benjamin Stone
05/05/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/5/2021 by         212.95
            Benjamin Stone
05/06/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/6/2021 by         209.93
            Whitney Rosser
05/07/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/7/2021 by         684.96
            Anne Waldron
05/10/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/10/2021           103.54
            by Anne Waldron
05/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/11/2021           209.93
            by Benjamin Stone
05/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/11/2021           155.32
            by David Gremling
05/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/11/2021           210.15
            by Anne Waldron
05/12/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/12/2021           103.55
            by Anne Waldron
05/12/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/12/2021           106.49
            by Henry Skillman
05/13/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/13/2021           212.95
            by Benjamin Stone
05/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/18/2021           103.55
            by Anne Waldron
05/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/18/2021           155.32
            by Jason Jarvis
05/19/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/19/2021           313.72
            by Anne Waldron
05/21/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/21/2021           477.91
            by Anne Waldron
05/21/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/21/2021           103.67
            by Andrew Bodammer
05/24/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/24/2021             5.24
            by Mirta Adams
05/24/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/24/2021           158.38
            by Anne Waldron

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05/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/25/2021           158.38
            by Anne Waldron
05/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/25/2021           155.33
            by David Gremling
05/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/25/2021             5.24
            by Mirta Adams
05/26/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/26/2021             5.24
            by Mirta Adams
05/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/27/2021           264.96
            by Anne Waldron
05/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/27/2021             5.24
            by Mirta Adams
05/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/28/2021             5.24
            by Mirta Adams
05/29/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/29/2021             5.24
            by Mirta Adams
05/30/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/30/2021             5.24
            by Mirta Adams
05/31/21    RELX Inc DBA LexisNexis - LexisNexis Research on 5/31/2021             5.24
            by Mirta Adams
            Total                                                              4,562.94




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Overtime Transportation

Date        Description                                                        Amount
06/01/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab fare             32.79
            06/01/2021
06/02/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab fare              48.44
            06/02/2021
06/08/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab fare              39.26
            06/08/2021
06/10/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab fare              52.85
            06/10/2021
06/17/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab Fare.             30.38
            Worked 6/16 then left office 6/17 @ 12:37 am 06/17/2021
06/17/21    William Thompson - William Thompson, Taxi, Overtime taxi              53.99
            home from office. 06/17/2021
            Total                                                                257.71




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Expenses


Overtime Meals - Attorney

Date         Description                                                       Amount
05/16/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 5/13/2021 OT               39.80
             Meal
05/26/21     Saunders McElroy - Saunders McElroy, Overtime Meals -                39.33
             Attorney, Washington, DC Overtime Meal Saunders McElroy
             05/26/2021
06/06/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 6/1/2021 OT                 35.61
             Meal
06/06/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 6/2/2021 OT                 40.64
             Meal
06/07/21     Anne McClain Sidrys, P.C. - Anne McClain Sidrys, Overtime            22.00
             Meals - Attorney, Chicago, IL OT Meal Expense Anne McClain
             Sidrys 06/07/2021
             Total                                                               177.38




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Secretarial Overtime

Date         Description                                                       Amount
06/07/21     Secretarial Overtime, Doc. Prep. - Revise                          378.00
             Total                                                              378.00




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Document Services Overtime

Date        Description                                                        Amount
06/06/21    Format and revise : Presentation(s)                                   7.31
06/08/21    Format and revise : Presentation(s)                                  56.76
06/08/21    Convert Document : Spreadsheet(s)                                   121.26
06/09/21    Convert Document : Spreadsheet(s)                                   135.45
06/09/21    Convert Document : Spreadsheet(s)                                    22.36
06/09/21    Convert Document : Spreadsheet(s)                                    39.99
06/10/21    Convert Document : Spreadsheet(s)                                    23.65
06/16/21    Format and revise : Motion(s)                                       110.51
06/19/21    Revisions to : Organizational/Structural Chart(s)                    85.14
            Total                                                               602.43




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Expenses


Overnight Delivery - Hard

Date         Description                                                       Amount
05/31/21     FEDERAL EXPRESS - 773792392997                                      45.06
06/14/21     FEDERAL EXPRESS - 773956561166                                      53.32
             Total                                                               98.38




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Computer Database Research - Soft

Date        Description                                                        Amount
05/01/21    PACER Usage for 04/2021 & 05/2021                                    14.50
05/01/21    PACER Usage for 04/2021 & 05/2021                                   284.20
            Total                                                               298.70

TOTAL EXPENSES                                                             $ 511,991.53




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 9, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050049152
                                                                               Client Matter: 48457-23

In the Matter of Expenses


For expenses incurred through July 31, 2021
(see attached Description of Expenses for detail)                                                              $ 56,868.12
Total expenses incurred                                                                                        $ 56,868.12




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Expenses




                                    Description of Expenses

Description                                                                    Amount
Third Party Telephone Charges                                                    355.20
Standard Copies or Prints                                                      1,086.72
Binding                                                                            3.50
Tabs/Indexes/Dividers                                                              3.90
Color Copies or Prints                                                           579.70
Outside Messenger Services                                                        98.51
Local Transportation                                                             489.03
Travel Expense                                                                18,691.63
Airfare                                                                       11,118.94
Transportation to/from airport                                                 1,478.13
Travel Meals                                                                   2,857.49
Other Travel Expenses                                                            361.60
Court Reporter Fee/Deposition                                                  2,160.00
Filing Fees                                                                       65.00
Working Meals/K&E Only                                                            39.11
Computer Database Research                                                     2,867.00
Westlaw Research                                                               8,357.95
LexisNexis Research                                                            4,715.46
Overtime Transportation                                                          257.68
Overtime Meals - Attorney                                                        193.04
Secretarial Overtime                                                             197.19
Document Services Overtime                                                       351.74
Miscellaneous Office Expenses                                                     36.00
Computer Database Research - Soft                                                503.60

                                                  Total                      $ 56,868.12




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                                        Description of Expenses

Third Party Telephone Charges

Date        Description                                                           Amount
05/31/21    Intrado Enterprise Collaboration Inc - Telephone conference with        12.11
            clients and outside counsel.
05/31/21    Intrado Enterprise Collaboration Inc - Conference Call Fee               2.98
06/29/21    Michael B. Slade - Michael B. Slade, Internet, Attend mediation.        10.99
            06/29/2021
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conference calls        4.97
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conference with        30.14
            clients and outside counsel.
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conference with        28.41
            clients and outside counsel.
06/30/21    Intrado Enterprise Collaboration Inc - payment for teleconference        0.93
            by Drew Maliniak
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                    3.66
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conference calls        9.60
06/30/21    Intrado Enterprise Collaboration Inc - payment for teleconference        1.83
            by Drew Maliniak
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                   28.16
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conference calls        1.87
07/06/21    Nicholas A. Binder - Nicholas A. Binder, Internet, Deal                  9.95
            Negotiations 07/06/2021
07/06/21    Michael B. Slade - Michael B. Slade, Internet, Attend meetings.         16.00
            07/06/2021
07/08/21    Robert Orren - Robert Orren, Teleconference, Telephonic hearing         70.00
            appearance - Brian Nakhaimousa 07/08/2021
07/09/21    Nicholas A. Binder - Nicholas A. Binder, Internet, Deal                  6.00
            Negotiations 07/09/2021
07/09/21    Michael Lemm - Michael Lemm, Internet, Attended the                     17.00
            Disinterested Directors’ Advisors negotiations in NY. 07/09/2021
07/22/21    Robert Orren - Robert Orren, Teleconference, Telephonic Hearing         70.00
            Appearance - Brian Nakhaimousa 07/22/2021
07/31/21    Intrado Enterprise Collaboration Inc - Teleconference Services          27.64
07/31/21    Intrado Enterprise Collaboration Inc - July 2021 conference call(s)      1.43



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07/31/21    Intrado Enterprise Collaboration Inc - Telephone conferences           1.53
            Total                                                                355.20




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Standard Copies or Prints

Date         Description                                                       Amount
07/02/21     Standard Copies or Prints                                           14.24
07/02/21     Standard Copies or Prints                                            3.68
07/02/21     Standard Copies or Prints                                            7.52
07/02/21     Standard Copies or Prints                                          130.72
07/06/21     Standard Copies or Prints                                           21.60
07/06/21     Standard Copies or Prints                                            2.72
07/07/21     Standard Copies or Prints                                           46.08
07/07/21     Standard Copies or Prints                                           10.24
07/07/21     Standard Copies or Prints                                           18.72
07/07/21     Standard Copies or Prints                                           24.64
07/08/21     Standard Copies or Prints                                            3.36
07/08/21     Standard Copies or Prints                                            4.32
07/08/21     Standard Copies or Prints                                           39.36
07/08/21     Standard Copies or Prints                                            5.12
07/08/21     Standard Copies or Prints                                          140.16
07/08/21     Standard Copies or Prints                                            1.44
07/09/21     Standard Copies or Prints                                            9.60
07/09/21     Standard Copies or Prints                                           12.16
07/12/21     Standard Copies or Prints                                           11.20
07/12/21     Standard Copies or Prints                                            6.40
07/13/21     Standard Copies or Prints                                           55.68
07/13/21     Standard Copies or Prints                                            3.20
07/14/21     Standard Copies or Prints                                            4.32
07/14/21     Standard Copies or Prints                                            1.44
07/14/21     Standard Copies or Prints                                            3.84
07/14/21     Standard Copies or Prints                                            1.12
07/15/21     Standard Copies or Prints                                          142.88
07/15/21     Standard Copies or Prints                                            1.12
07/17/21     Standard Copies or Prints                                           17.60
07/19/21     Standard Copies or Prints                                           31.36
07/19/21     Standard Copies or Prints                                            7.04
07/20/21     Standard Copies or Prints                                            4.16
07/21/21     Standard Copies or Prints                                           26.24
07/22/21     Standard Copies or Prints                                            6.88

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07/22/21    Standard Copies or Prints                                             49.92
07/22/21    Standard Copies or Prints                                              5.76
07/23/21    Standard Copies or Prints                                              1.28
07/26/21    Standard Copies or Prints                                             65.28
07/26/21    Standard Copies or Prints                                             88.96
07/28/21    Standard Copies or Prints                                              3.04
07/29/21    Standard Copies or Prints                                             26.08
07/29/21    Standard Copies or Prints                                              8.64
07/30/21    Standard Copies or Prints                                             17.60
            Total                                                              1,086.72




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Binding

Date        Description                                                        Amount
07/02/21    Binding                                                              0.70
07/08/21    Binding                                                              0.70
07/15/21    Binding                                                              0.70
07/30/21    Binding                                                              1.40
            Total                                                                3.50




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Tabs/Indexes/Dividers

Date         Description                                                       Amount
07/02/21     Tabs/Indexes/Dividers                                               1.04
07/08/21     Tabs/Indexes/Dividers                                               2.08
07/15/21     Tabs/Indexes/Dividers                                               0.78
             Total                                                               3.90




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Color Copies or Prints

Date         Description                                                       Amount
07/02/21     Color Copies or Prints                                              14.30
07/06/21     Color Copies or Prints                                               6.60
07/07/21     Color Copies or Prints                                              11.00
07/08/21     Color Copies or Prints                                              61.05
07/12/21     Color Copies or Prints                                              69.30
07/12/21     Color Copies or Prints                                              24.20
07/13/21     Color Copies or Prints                                               2.20
07/14/21     Color Copies or Prints                                               0.55
07/14/21     Color Copies or Prints                                              39.05
07/15/21     Color Copies or Prints                                               1.10
07/21/21     Color Copies or Prints                                             161.70
07/22/21     Color Copies or Prints                                             188.10
07/29/21     Color Copies or Prints                                               0.55
             Total                                                              579.70




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Outside Messenger Services

Date         Description                                                       Amount
06/26/21     COMET MESSENGER SERVICE INC - 300 N LASALLE to                      76.53
             3452 N GREENVIEW 06/25/2021
07/03/21     COMET MESSENGER SERVICE INC - 300 N LASALLE to                       21.98
             2717 North Racine Avenue 07/02/2021
             Total                                                                98.51




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Local Transportation

Date         Description                                                          Amount
06/11/21     VITAL TRANSPORTATION SERVICES INC - Package Grace                      36.04
             Hart - 601 LEXINGTON AVE to 200 PARK AVE 04/24/2021
06/30/21     Michael B. Slade - Michael B. Slade, Taxi, Attend mediation.            8.65
             06/30/2021
06/30/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,                8.21
             Travel to Richmond, VA for Intelsat Mediation session 06/30/2021
07/01/21     Michael B. Slade - Michael B. Slade, Taxi, Attend mediation.           31.25
             07/01/2021
07/01/21     Michael B. Slade - Michael B. Slade, Taxi, Attend mediation.           31.25
             07/01/2021
07/01/21     Derek I. Hunter - Derek I. Hunter, Taxi, Attend mediation.             17.94
             07/01/2021
07/01/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,               12.90
             Travel to Richmond, VA for Intelsat Mediation session 07/01/2021
07/01/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,               10.21
             Travel to Richmond, VA for Intelsat Mediation session 07/01/2021
07/01/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,               10.98
             Travel to Richmond, VA for Intelsat Mediation session 07/01/2021
07/06/21     Anthony R. Grossi - Anthony R. Grossi, Taxi, Attend Director's         65.41
             Advisors meetings and client meetings. Cab to dinner with clients.
             07/06/2021
07/06/21     Anthony R. Grossi - Anthony R. Grossi, Taxi, Attend Director's         21.58
             Advisors meetings and client meetings. Cab back to the hotel.
             07/06/2021
07/06/21     Anthony R. Grossi - Anthony R. Grossi, Taxi, Attend Director's         18.58
             Advisors meetings and client meetings. Cab back to the hotel.
             07/06/2021
07/06/21     Michael B. Slade - Michael B. Slade, Taxi, Attend meetings.            18.58
             07/06/2021
07/06/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,               11.30
             Travel to New York for Intelsat meeting 07/06/2021
07/08/21     Anthony R. Grossi - Anthony R. Grossi, Taxi, Attend Director's        122.79
             Advisors meetings and client meetings. Cab home from Union
             station. 07/08/2021
07/15/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,               15.95
             Travel to Richmond, VA for Intelsat mediation 07/15/2021
07/15/21     Derek I. Hunter - Derek I. Hunter, Taxi, Attend In-Person               8.71
             Mediation session in Richmond. 07/15/2021


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07/15/21    Michael B. Slade - Michael B. Slade, Taxi, Attend mediation.          17.65
            07/15/2021
07/15/21    Michael B. Slade - Michael B. Slade, Taxi, Attend mediation.          21.05
            07/15/2021
            Total                                                                489.03




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Travel Expense

Date        Description                                                          Amount
06/29/21    Michael B. Slade - Michael B. Slade, Lodging, Richmond, VA to ,       313.50
            Attend mediation. 06/29/2021
06/29/21    Derek I. Hunter - Derek I. Hunter, Lodging, Richmond, VA to ,         313.50
            Attend mediation. 06/29/2021
06/29/21    Anthony R. Grossi - Anthony R. Grossi, Lodging, Richmond, VA          313.50
            to , Attend mediation. 06/29/2021
06/30/21    Michael B. Slade - Michael B. Slade, Lodging, Richmond, VA to ,       313.50
            Attend mediation. 06/30/2021
06/30/21    Derek I. Hunter - Derek I. Hunter, Lodging, Richmond, VA to ,         313.50
            Attend mediation. 06/30/2021
06/30/21    Anthony R. Grossi - Anthony R. Grossi, Lodging, Richmond, VA          313.50
            to , Attend mediation. 06/30/2021
07/01/21    Michael B. Slade - Michael B. Slade, Lodging, Richmond, VA to ,       336.30
            Attend mediation. 07/01/2021
07/02/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Lodging,          1,043.10
            Richmond, VA to , Travel to Richmond, VA for Intelsat Mediation
            session 07/02/2021
07/05/21    Anthony R. Grossi - Anthony R. Grossi, Lodging, New York to ,         247.49
            Attend Director's Advisors meetings and client meetings.
            07/05/2021
07/05/21    Michael B. Slade - Michael B. Slade, Lodging, New York, NY to ,       832.04
            Attend meetings. 07/05/2021
07/05/21    Michael Lemm - Michael Lemm, Lodging, New York to ,                   362.79
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            07/05/2021
07/06/21    Derek I. Hunter - Derek I. Hunter, Lodging, Richmond, VA to ,         381.90
            Attend mediation. 07/06/2021
07/06/21    Nicholas A. Binder - Nicholas A. Binder, Lodging, New York, NY        634.98
            to , Deal Negotiations 07/06/2021
07/06/21    Anthony R. Grossi - Anthony R. Grossi, Lodging, New York to ,         267.09
            Attend Director's Advisors meetings and client meetings.
            07/06/2021
07/06/21    Michael B. Slade - Michael B. Slade, Lodging, New York, NY to ,       832.04
            Attend meetings. 07/06/2021
07/06/21    Michael Lemm - Michael Lemm, Lodging, New York to ,                   362.79
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            07/06/2021
07/07/21    Nicholas A. Binder - Nicholas A. Binder, Lodging, New York, NY        634.98
            to , Deal Negotiations 07/07/2021

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07/07/21    Anthony R. Grossi - Anthony R. Grossi, Lodging, New York to ,         267.09
            Attend Director's Advisors meetings and client meetings.
            07/07/2021
07/07/21    Michael B. Slade - Michael B. Slade, Lodging, New York, NY to ,       832.04
            Attend meetings. 07/07/2021
07/07/21    Michael Lemm - Michael Lemm, Lodging, New York to ,                   362.79
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            07/07/2021
07/08/21    Dave Gremling - Dave Gremling, Lodging, New York, NY to ,             362.79
            Meeting 07/08/2021
07/08/21    Samuel J. Seneczko - Samuel J. Seneczko, Lodging, New York,          1,088.37
            NY to , Meetings in NY 07/08/2021
07/08/21    Dave Gremling - Dave Gremling, Lodging, New York, NY to ,             362.79
            Meeting 07/08/2021
07/08/21    Nicholas A. Binder - Nicholas A. Binder, Lodging, New York, NY        634.98
            to , Deal Negotiations 07/08/2021
07/08/21    Dave Gremling - Dave Gremling, Lodging, New York, NY to ,             362.79
            Meeting 07/08/2021
07/08/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Lodging,          1,653.42
            New York, NY to , Travel to New York for Intelsat meeting
            07/08/2021
07/09/21    Michael B. Slade - Michael B. Slade, Lodging, Newark, NJ to ,         459.35
            Attend meetings. 07/09/2021
07/09/21    Michael Lemm - Michael Lemm, Lodging, New York to ,                   362.79
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            07/09/2021
07/10/21    Dave Gremling - Dave Gremling, Lodging, New York, NY to ,             274.60
            Meeting 07/10/2021
07/10/21    Dave Gremling - Dave Gremling, Lodging, New York, NY to ,             274.60
            Meeting 07/10/2021
07/10/21    Samuel J. Seneczko - Samuel J. Seneczko, Lodging, New York,           653.48
            NY to , Meetings in NY 07/10/2021
07/10/21    Samuel J. Seneczko - Samuel J. Seneczko, Lodging, New York,           633.89
            NY to , Meetings in NY 07/10/2021
07/14/21    Derek I. Hunter - Derek I. Hunter, Lodging, Richmond, VA to ,         370.50
            Attend In-Person Mediation session in Richmond. LGA to home.
            07/14/2021
07/14/21    Michael B. Slade - Michael B. Slade, Lodging, Richmond, VA to ,       183.66
            Attend mediation. 07/14/2021
07/15/21    Anthony R. Grossi - Anthony R. Grossi, Lodging, Richmond, VA          381.90
            to , Attend In-Person Mediation session. 07/15/2021



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07/15/21    Derek I. Hunter - Derek I. Hunter, Lodging, Richmond, VA to ,        404.70
            Attend In-Person Mediation session in Richmond. LGA to home.
            07/15/2021
07/15/21    Michael B. Slade - Michael B. Slade, Lodging, Richmond, VA to ,      173.40
            Attend mediation. 07/15/2021
07/16/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Lodging,          370.50
            Richmond, VA to , Travel to Richmond, VA for Intelsat mediation
            07/16/2021
07/16/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Lodging,          404.70
            Richmond, VA to , Travel to Richmond, VA for Intelsat mediation
            07/16/2021
            Total                                                             18,691.63




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Airfare

Date        Description                                                          Amount
06/23/21    Dave Gremling - Dave Gremling, Airfare, Chicago, IL to , Meeting      368.40
            06/23/2021
06/24/21    Michael B. Slade - Michael B. Slade, Agency Fee, Attend                58.00
            mediation. 06/24/2021
06/24/21    Michael B. Slade - Michael B. Slade, Airfare, Richmond, VA to ,       558.04
            Attend mediation. 06/24/2021
06/24/21    Derek I. Hunter - Derek I. Hunter, Agency Fee, Agency Fee              58.00
            06/24/2021
06/24/21    Derek I. Hunter - Derek I. Hunter, Airfare, Richmond, VA to ,         750.80
            Delta flights round trip from NY to Richmond, VA 06/24/2021
06/25/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Airfare,           532.05
            Richmond, VA to , Travel to Richmond, VA for Intelsat Mediation
            session 06/25/2021
06/25/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Agency              58.00
            Fee, Travel to Richmond, VA for Intelsat Mediation session
            06/25/2021
06/26/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Airfare,         720.80
            Richmond, VA to , Airfare to/from Richmond, VA for Intelsat
            hearing. 06/26/2021
07/02/21    Dave Gremling - Dave Gremling, Airfare, New York, NY to ,             396.03
            Meeting 07/02/2021
07/02/21    Anthony R. Grossi - Anthony R. Grossi, Airfare, NY to , Attend        458.40
            Director's Advisors meetings and client meetings. 07/02/2021
07/02/21    Anthony R. Grossi - Anthony R. Grossi, Agency Fee, Agency Fee.         58.00
            Attend Director's Advisors meetings and client meetings.
            07/02/2021
07/02/21    Dave Gremling - Dave Gremling, Agency Fee, Meeting                     58.00
            07/02/2021
07/03/21    Samuel J. Seneczko - Samuel J. Seneczko, Airfare, Chicago, IL to ,    368.40
            Travel to Chicago from NY after meetings 07/03/2021
07/03/21    Samuel J. Seneczko - Samuel J. Seneczko, Agency Fee, Meetings          58.00
            in NY 07/03/2021
07/03/21    Samuel J. Seneczko - Samuel J. Seneczko, Airfare, Newark, NJ to ,     313.68
            Travel to Newark (NY) for meetings 07/03/2021
07/03/21    Michael B. Slade - Michael B. Slade, Airfare, New York, NY to ,       997.20
            Attend meetings. 07/03/2021
07/03/21    Michael Lemm - Michael Lemm, Airfare, New York to , Attended          313.68
            the Disinterested Directors’ Advisors negotiations in NY.
            07/03/2021

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07/03/21    Michael Lemm - Michael Lemm, Airfare, Chicago to , Attended           368.40
            the Disinterested Directors’ Advisors negotiations in NY.
            07/03/2021
07/03/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Agency              58.00
            Fee, Travel to New York for Intelsat meeting 07/03/2021
07/03/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Airfare,          1,162.04
            New York, NY to , Travel to New York for Intelsat meeting
            07/03/2021
07/05/21    Nicholas A. Binder - Nicholas A. Binder, Airfare, New York, NY        602.80
            to , Deal Negotiations 07/05/2021
07/06/21    Michael B. Slade - Michael B. Slade, Agency Fee, Attend                58.00
            meetings. 07/06/2021
07/06/21    Michael Lemm - Michael Lemm, Agency Fee, Attended the                  58.00
            Disinterested Directors’ Advisors negotiations in NY. 07/06/2021
07/08/21    Samuel J. Seneczko - Samuel J. Seneczko, Airfare, Chicago, IL to ,    (50.00)
            Changed return flight to continue meetings 07/08/2021
07/08/21    Derek I. Hunter - Derek I. Hunter, Agency Fee, Attend In-Person        58.00
            Mediation session in Richmond. 07/08/2021
07/08/21    Derek I. Hunter - Derek I. Hunter, Airfare, Richmond, VA to ,         646.81
            Attend In-Person Mediation session in Richmond. 07/08/2021
07/08/21    Anthony R. Grossi - Anthony R. Grossi, Rail, DC to , Attend           180.00
            Director's Advisors meetings and client meetings. Amtrak back to
            DC. 07/08/2021
07/08/21    Michael Lemm - Michael Lemm, Airfare, Chicago to , Attended            40.00
            the Disinterested Directors’ Advisors negotiations in NY -
            Add/Collect Fee. 07/08/2021
07/12/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Agency Fee,       58.00
            Flight to Richmond, VA for Intelsat mediation hearing 07/12/2021
07/12/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Airfare,         298.40
            Richmond, VA to , Flight to Richmond, VA for Intelsat mediation
            hearing 07/12/2021
07/12/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Airfare, New     378.40
            York, NY to , Flights from Richmond, VA to NY (Intelsat
            mediation in VA) 07/12/2021
07/12/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Agency Fee,       58.00
            Flights from Richmond, VA to NY (Intelsat mediation in VA)
            07/12/2021
07/12/21    Michael B. Slade - Michael B. Slade, Agency Fee, Attend                58.00
            mediation. 07/12/2021
07/12/21    Michael B. Slade - Michael B. Slade, Airfare, Richmond, VA to ,       930.62
            Attend mediation. 07/12/2021




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07/15/21    Derek I. Hunter - Derek I. Hunter, Airfare, Richmond, VA to ,         29.99
            Attend In-Person Mediation session in Richmond. Changed flight
            to an earlier time. 07/15/2021
            Total                                                             11,118.94




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Transportation to/from airport

Date         Description                                                           Amount
06/29/21     Michael B. Slade - Michael B. Slade, Transportation To/From             30.97
             Airport, Attend mediation. 06/29/2021
06/29/21     Michael B. Slade - Michael B. Slade, Transportation To/From             32.96
             Airport, Attend mediation. 06/29/2021
06/29/21     Derek I. Hunter - Derek I. Hunter, Transportation To/From               37.20
             Airport, Attend mediation. Cab from airport to the hotel.
             06/29/2021
06/29/21     Derek I. Hunter - Derek I. Hunter, Transportation To/From               56.95
             Airport, TO LGA 06/29/2021
06/29/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton,                      39.48
             Transportation To/From Airport, Travel to Richmond, VA for
             Intelsat Mediation session 06/29/2021
06/30/21     Derek I. Hunter - Derek I. Hunter, Transportation To/From                8.21
             Airport, Attend mediation. Cab to dinner with KE team.
             06/30/2021
06/30/21     WINDY CITY LIMOUSINE - ANTHONY VINCENZO                                 80.34
             SEXTON from 3042 to RESIDENCE - 20 WEST 15TH STREET
             UNIT J 06/29/2021
07/01/21     Derek I. Hunter - Derek I. Hunter, Transportation To/From               48.38
             Airport, Attend mediation. Uber from LGA to home. 07/01/2021
07/01/21     Derek I. Hunter - Derek I. Hunter, Transportation To/From               61.93
             Airport, Attend mediation. 07/01/2021
07/01/21     Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Transportation     50.18
             To/From Airport, Uber to Richmond airport for return to NY
             (Intelsat hearing). 07/01/2021
07/05/21     Samuel J. Seneczko - Samuel J. Seneczko, Transportation To/From         48.08
             Airport, Meetings in NY 07/05/2021
07/05/21     Anthony R. Grossi - Anthony R. Grossi, Transportation To/From           75.08
             Airport, Attend Director's Advisors meetings and client meetings.
             07/05/2021
07/05/21     Anthony R. Grossi - Anthony R. Grossi, Transportation To/From           96.92
             Airport, Attend Director's Advisors meetings and client meetings.
             07/05/2021
07/05/21     Michael B. Slade - Michael B. Slade, Transportation To/From             26.97
             Airport, Attend meetings. 07/05/2021
07/06/21     Nicholas A. Binder - Nicholas A. Binder, Transportation To/From        185.65
             Airport, Deal Negotiations 07/06/2021




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07/08/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton,                    49.00
            Transportation To/From Airport, Travel to New York for Intelsat
            meeting 07/08/2021
07/09/21    Michael B. Slade - Michael B. Slade, Transportation To/From           54.84
            Airport, Attend meetings. 07/09/2021
07/10/21    Samuel J. Seneczko - Samuel J. Seneczko, Transportation To/From       89.60
            Airport, Transportation to airport in NY 07/10/2021
07/10/21    Samuel J. Seneczko - Samuel J. Seneczko, Transportation To/From       67.90
            Airport, Transportation from airport to home 07/10/2021
07/14/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton,                    71.96
            Transportation To/From Airport, Travel to Richmond, VA for
            Intelsat mediation 07/14/2021
07/14/21    Derek I. Hunter - Derek I. Hunter, Transportation To/From             53.62
            Airport, Attend In-Person Mediation session in Richmond.
            07/14/2021
07/14/21    Michael B. Slade - Michael B. Slade, Transportation To/From           26.99
            Airport, Attend mediation. 07/14/2021
07/15/21    Dave Gremling - Dave Gremling, Transportation To/From Airport,        58.20
            Meeting 07/15/2021
07/16/21    Derek I. Hunter - Derek I. Hunter, Transportation To/From             53.56
            Airport, Attend In-Person Mediation session in Richmond. LGA to
            home. 07/16/2021
07/16/21    Michael B. Slade - Michael B. Slade, Transportation To/From           73.16
            Airport, Attend mediation. 07/16/2021
            Total                                                              1,478.13




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Travel Meals

Date           Description                                                         Amount
06/29/21       Michael B. Slade - Michael B. Slade, Hotel - Travel Meals,            33.61
               Richmond, VA Attend mediation. Michael B. Slade 06/29/2021
06/29/21       Derek I. Hunter - Derek I. Hunter, Travel Meals, LGA airport          35.18
               Attend mediation. Meal at the airport. Derek I. Hunter 06/29/2021
06/29/21       Anthony R. Grossi - Anthony R. Grossi, Hotel - Travel Meals,           5.54
               Richmond, VA Attend mediation. Anthony R. Grossi 06/29/2021
06/30/21       Derek I. Hunter - Derek I. Hunter, Hotel - Travel Meals,              17.59
               Richmond, VA Attend mediation. Derek I. Hunter 06/30/2021
07/01/21       Michael B. Slade - Michael B. Slade, Hotel - Travel Meals,            59.63
               Richmond, VA Attend mediation. Michael B. Slade 07/01/2021
07/01/21       Michael B. Slade - Michael B. Slade, Hotel - Travel Meals,            33.27
               Richmond, VA Attend mediation. Michael B. Slade 07/01/2021
07/01/21       Derek I. Hunter - Derek I. Hunter, Hotel - Travel Meals,              24.27
               Richmond, VA Attend mediation. Derek I. Hunter 07/01/2021
07/01/21       Derek I. Hunter - Derek I. Hunter, Travel Meals, Richmond airport     37.25
               Attend mediation. Derek I. Hunter 07/01/2021
07/01/21       Anthony R. Grossi - Anthony R. Grossi, Hotel - Travel Meals,          85.37
               Richmond, VA Attend mediation. Anthony R. Grossi 07/01/2021
07/01/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Hotel -            25.37
               Travel Meals, Richmond, VA Travel to Richmond, VA for Intelsat
               Mediation session Anthony Vincenzo Sexton 07/01/2021
07/01/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Hotel -            99.99
               Travel Meals, Richmond, VA Travel to Richmond, VA for Intelsat
               Mediation session Anthony Vincenzo Sexton 07/01/2021
07/02/21       Michael B. Slade - Michael B. Slade, Travel Meals, Richmond,          11.15
               VA Attend mediation. Michael B. Slade 07/02/2021
07/05/21       Samuel J. Seneczko - Samuel J. Seneczko, Travel Meals, Chicago,       21.20
               IL Meal in airport on way to NY for meetings Samuel J. Seneczko
               07/05/2021
07/05/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel             29.95
               Meals, New York, NY Travel to New York for Intelsat meeting
               Anthony Vincenzo Sexton 07/05/2021
07/06/21       Dave Gremling - Dave Gremling, Travel Meals, New York, NY            750.00
               Meeting Dave Gremling, Samuel J. Seneczko, Michael Lemm,
               Maggie Alden, Brian Nakhaimousa, Benjamin P. Stone 07/06/2021
07/06/21       Dave Gremling - Dave Gremling, Travel Meals, New York, NY             21.78
               Meeting - Dinner (late night arrival on 7/5) Dave Gremling
               07/06/2021


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07/06/21    Nicholas A. Binder - Nicholas A. Binder, Hotel - Travel Meals,       125.00
            New York, NY Deal Negotiations Nicholas A. Binder 07/06/2021
07/06/21    Anthony R. Grossi - Anthony R. Grossi, Hotel - Travel Meals,          31.36
            New York Attend Director's Advisors meetings and client
            meetings. Anthony R. Grossi 07/06/2021
07/06/21    Michael Lemm - Michael Lemm, Travel Meals, New York                   18.24
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/06/2021
07/06/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel             92.21
            Meals, New York, NY Travel to New York for Intelsat meeting
            Anthony Vincenzo Sexton 07/06/2021
07/07/21    Nicholas A. Binder - Nicholas A. Binder, Hotel - Travel Meals,        40.00
            New York, NY Deal Negotiations Nicholas A. Binder 07/07/2021
07/07/21    Nicholas A. Binder - Nicholas A. Binder, Hotel - Travel Meals,       125.00
            New York, NY Deal Negotiations Nicholas A. Binder 07/07/2021
07/07/21    Dave Gremling - Dave Gremling, Travel Meals, New York, NY            250.00
            Meeting Dave Gremling, Samuel J. Seneczko 07/07/2021
07/07/21    Michael B. Slade - Michael B. Slade, Travel Meals, New York,         103.45
            NY Attend meetings. Michael B. Slade 07/07/2021
07/07/21    Michael Lemm - Michael Lemm, Travel Meals, New York                   96.51
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/07/2021
07/07/21    Michael Lemm - Michael Lemm, Travel Meals, New York                   20.52
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/07/2021
07/07/21    Michael Lemm - Michael Lemm, Travel Meals, New York                   29.40
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/07/2021
07/08/21    Nicholas A. Binder - Nicholas A. Binder, Hotel - Travel Meals,       125.00
            New York, NY Deal Negotiations Nicholas A. Binder 07/08/2021
07/08/21    Nicholas A. Binder - Nicholas A. Binder, Hotel - Travel Meals,        40.00
            New York, NY Deal Negotiations Nicholas A. Binder 07/08/2021
07/08/21    Michael B. Slade - Michael B. Slade, Hotel - Travel Meals, New        81.00
            York, NY Attend meetings. Michael B. Slade 07/08/2021
07/08/21    Michael B. Slade - Michael B. Slade, Travel Meals, Newark, NJ         30.18
            Attend meetings. Michael B. Slade 07/08/2021
07/08/21    Michael Lemm - Michael Lemm, Travel Meals, New York                   96.61
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/08/2021
07/09/21    Samuel J. Seneczko - Samuel J. Seneczko, Travel Meals, New           116.80
            York, NY Dinner following meetings Samuel J. Seneczko
            07/09/2021


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07/09/21    Michael Lemm - Michael Lemm, Travel Meals, New York                    19.76
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/09/2021
07/09/21    Michael Lemm - Michael Lemm, Travel Meals, New York                     9.63
            Attended the Disinterested Directors’ Advisors negotiations in NY.
            Michael Lemm 07/09/2021
07/14/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Travel Meals,     36.44
            New York, NY Travel meal @ airport to Richmond for Intelsat
            mediation Steven N. Serajeddini 07/14/2021
07/14/21    Michael B. Slade - Michael B. Slade, Travel Meals, Chicago, IL         34.26
            Attend mediation. Michael B. Slade 07/14/2021
07/15/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Hotel -             28.84
            Travel Meals, Richmond, VA Travel to Richmond, VA for Intelsat
            mediation Anthony Vincenzo Sexton 07/15/2021
07/16/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel              10.63
            Meals, Richmond, VA Travel to Richmond, VA for Intelsat
            mediation Anthony Vincenzo Sexton 07/16/2021
07/16/21    Michael B. Slade - Michael B. Slade, Hotel - Travel Meals,              5.50
            Richmond, VA Attend mediation. Michael B. Slade 07/16/2021
            Total                                                                2,857.49




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Other Travel Expenses

Date        Description                                                        Amount
06/29/21    Anthony R. Grossi - Anthony R. Grossi, Mileage, Richmond, VA        128.80
            230.0 miles Attend mediation. 06/29/2021
07/09/21    Nicholas A. Binder - Nicholas A. Binder, Parking, Detroit, MI        104.00
            Deal Negotiations 07/09/2021
07/15/21    Anthony R. Grossi - Anthony R. Grossi, Mileage, Richmond, VA         128.80
            230.0 miles Attend In-Person Mediation session. 07/15/2021
            Total                                                                361.60




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Expenses


Court Reporter Fee/Deposition

Date         Description                                                       Amount
05/04/21     VERITEXT - Video for J. Purvis Deposition                         2,160.00
             Total                                                             2,160.00




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Filing Fees

Date          Description                                                        Amount
07/26/21      Anthony R. Grossi - Anthony R. Grossi, Filing Fees, DC Good          25.00
              Standing certificate for Anthony Grossi for pro hac vice
              application in the Russian Media bankruptcy case. 07/26/2021
07/27/21      Jacqueline Hahn - Jacqueline Hahn, Filing Fees, New York             20.00
              Southern District Court Fee 07/27/2021
07/28/21      Lydia Yale - Lydia Yale, Filing Fees, New York Southern District     20.00
              Court Fee 07/28/2021
              Total                                                                65.00




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Working Meals/K&E Only

Date        Description                                                        Amount
07/22/21    Dave Gremling - Dave Gremling, Working Meal/K and E Only,            39.11
            Chicago OT Meal Dave Gremling 07/22/2021
            Total                                                                 39.11




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Computer Database Research

Date        Description                                                        Amount
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      20.00
            Usage on 5/26/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       26.00
            Usage on 5/14/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      213.00
            Usage on 5/3/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       20.00
            Usage on 5/20/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       94.00
            Usage on 5/12/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       26.00
            Usage on 5/11/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 5/18/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 5/12/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       38.00
            Usage on 5/14/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       15.00
            Usage on 5/11/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 5/25/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      186.00
            Usage on 5/13/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      121.00
            Usage on 5/26/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       85.00
            Usage on 5/16/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       20.00
            Usage on 5/17/2021
06/08/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 5/15/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      166.00
            Usage on 6/15/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        5.00
            Usage on 6/20/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       23.00
            Usage on 6/3/2021

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07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       46.00
            Usage on 6/28/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      175.00
            Usage on 6/24/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       40.00
            Usage on 6/28/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       14.00
            Usage on 6/25/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       46.00
            Usage on 6/1/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       40.00
            Usage on 6/28/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       77.00
            Usage on 6/17/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       25.00
            Usage on 6/14/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      104.00
            Usage on 6/14/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        5.00
            Usage on 6/16/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       31.00
            Usage on 6/16/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      103.00
            Usage on 6/16/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       43.00
            Usage on 6/25/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      166.00
            Usage on 6/25/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       14.00
            Usage on 6/9/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       60.00
            Usage on 6/8/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 6/28/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 6/15/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       32.00
            Usage on 6/29/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       48.00
            Usage on 6/29/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       22.00
            Usage on 6/18/2021

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07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        5.00
            Usage on 6/28/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       40.00
            Usage on 6/2/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      109.00
            Usage on 6/21/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       35.00
            Usage on 6/14/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       20.00
            Usage on 6/8/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 6/16/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       43.00
            Usage on 6/22/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      234.00
            Usage on 6/21/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 6/17/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       60.00
            Usage on 6/11/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        5.00
            Usage on 6/14/2021
07/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       91.00
            Usage on 6/17/2021
            Total                                                              2,867.00




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Westlaw Research

Date        Description                                                        Amount
05/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                            469.15
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            5/2/2021
05/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.32
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/3/2021
05/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               7.87
            WESTLAW Research Charges by Adams, Mirta M. on 5/3/2021
05/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              94.05
            WESTLAW Research Charges by McElroy, Saunders on 5/4/2021
05/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             264.64
            WESTLAW Research Charges by Rosser, Whitney N. on 5/4/2021
05/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/4/2021
05/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.47
            WESTLAW Research Charges by Seneczko, Samuel on 5/4/2021
05/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             115.92
            WESTLAW Research Charges by Stone, Benjamin P. on 5/4/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/5/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             112.86
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            5/5/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.60
            WESTLAW Research Charges by Seneczko, Samuel on 5/5/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              38.68
            WESTLAW Research Charges by Boland, Cade C. on 5/5/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              18.81
            WESTLAW Research Charges by McElroy, Saunders on 5/5/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             173.88
            WESTLAW Research Charges by Stone, Benjamin P. on 5/5/2021
05/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              25.19
            WESTLAW Research Charges by Thompson, William M. on
            5/5/2021
05/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              86.14
            WESTLAW Research Charges by Thompson, William M. on
            5/6/2021
05/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             135.24
            WESTLAW Research Charges by Stone, Benjamin P. on 5/6/2021

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05/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/6/2021
05/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             174.08
            WESTLAW Research Charges by Jarvis, Jason on 5/6/2021
05/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              93.68
            WESTLAW Research Charges by Rosser, Whitney N. on 5/6/2021
05/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.28
            WESTLAW Research Charges by Kavarsky, Gary on 5/7/2021
05/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.28
            WESTLAW Research Charges by Stone, Benjamin P. on 5/7/2021
05/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             358.32
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            5/7/2021
05/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/7/2021
05/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             258.80
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/7/2021
05/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             169.29
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            5/9/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              29.09
            WESTLAW Research Charges by Rosser, Whitney N. on
            5/10/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             131.67
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            5/10/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.32
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            5/10/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              87.15
            WESTLAW Research Charges by Welch, Melinda on 5/10/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.28
            WESTLAW Research Charges by Stone, Benjamin P. on
            5/10/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.76
            WESTLAW Research Charges by Thompson, William M. on
            5/10/2021
05/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/10/2021
05/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              44.48
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/11/2021

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05/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             135.24
            WESTLAW Research Charges by Stone, Benjamin P. on
            5/11/2021
05/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              16.42
            WESTLAW Research Charges by Thompson, William M. on
            5/11/2021
05/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             141.08
            WESTLAW Research Charges by Rosser, Whitney N. on
            5/11/2021
05/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Knutson, Tyler Robert on
            5/11/2021
05/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/11/2021
05/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Seneczko, Samuel on 5/12/2021
05/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              58.03
            WESTLAW Research Charges by Welch, Melinda on 5/12/2021
05/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/12/2021
05/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             309.48
            WESTLAW Research Charges by Knutson, Tyler Robert on
            5/12/2021
05/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             249.70
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            5/12/2021
05/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              57.96
            WESTLAW Research Charges by Stone, Benjamin P. on
            5/13/2021
05/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              57.96
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            5/13/2021
05/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/13/2021
05/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             135.40
            WESTLAW Research Charges by Knutson, Tyler Robert on
            5/14/2021
05/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.59
            WESTLAW Research Charges by Jarvis, Jason on 5/14/2021
05/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/14/2021




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05/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.32
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            5/14/2021
05/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             212.76
            WESTLAW Research Charges by Welch, Melinda on 5/14/2021
05/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              94.05
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            5/15/2021
05/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.28
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            5/15/2021
05/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              37.62
            WESTLAW Research Charges by Long, Emily (Merki) on
            5/16/2021
05/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              38.64
            WESTLAW Research Charges by Stone, Benjamin P. on
            5/16/2021
05/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Thompson, William M. on
            5/16/2021
05/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               7.31
            WESTLAW Research Charges by Binder, Nicholas on 5/16/2021
05/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.75
            WESTLAW Research Charges by Seranko, Kelly on 5/17/2021
05/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               7.87
            WESTLAW Research Charges by Adams, Mirta M. on 5/17/2021
05/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             135.40
            WESTLAW Research Charges by Thompson, William M. on
            5/17/2021
05/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              58.03
            WESTLAW Research Charges by Jarvis, Jason on 5/17/2021
05/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             151.81
            WESTLAW Research Charges by Jarvis, Jason on 5/18/2021
05/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             611.43
            WESTLAW Research Charges by Wolk, Laura on 5/18/2021
05/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              58.03
            WESTLAW Research Charges by Welch, Melinda on 5/18/2021
05/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/18/2021
05/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Jarvis, Jason on 5/19/2021
05/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/19/2021

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05/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              55.10
            WESTLAW Research Charges by Thompson, William M. on
            5/19/2021
05/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.72
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/20/2021
05/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             141.96
            WESTLAW Research Charges by Seranko, Kelly on 5/20/2021
05/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              58.59
            WESTLAW Research Charges by Thompson, William M. on
            5/20/2021
05/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/20/2021
05/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             254.04
            WESTLAW Research Charges by Wolk, Laura on 5/20/2021
05/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             181.39
            WESTLAW Research Charges by Jarvis, Jason on 5/20/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             367.08
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Gremling, David on 5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             115.92
            WESTLAW Research Charges by Kavarsky, Gary on 5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.28
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Welch, Melinda on 5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Knutson, Tyler Robert on
            5/21/2021
05/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              58.03
            WESTLAW Research Charges by Thompson, William M. on
            5/21/2021
05/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.72
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/22/2021
05/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             104.33
            WESTLAW Research Charges by Wolk, Laura on 5/22/2021


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05/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.32
            WESTLAW Research Charges by Kavarsky, Gary on 5/22/2021
05/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.72
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/23/2021
05/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.47
            WESTLAW Research Charges by Seneczko, Samuel on 5/24/2021
05/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              16.42
            WESTLAW Research Charges by Welch, Melinda on 5/24/2021
05/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/24/2021
05/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/25/2021
05/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              38.68
            WESTLAW Research Charges by Thompson, William M. on
            5/25/2021
05/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.47
            WESTLAW Research Charges by Welch, Melinda on 5/25/2021
05/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.32
            WESTLAW Research Charges by Alden, Margaret on 5/25/2021
05/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             281.27
            WESTLAW Research Charges by Nakhaimousa, Brian on
            5/26/2021
05/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/26/2021
05/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.34
            WESTLAW Research Charges by Thompson, William M. on
            5/26/2021
05/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              71.52
            WESTLAW Research Charges by Thompson, William M. on
            5/27/2021
05/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/27/2021
05/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              18.81
            WESTLAW Research Charges by Wolk, Laura on 5/28/2021
05/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/28/2021
05/31/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               2.19
            WESTLAW Research Charges by Adams, Mirta M. on 5/31/2021
            Total                                                              8,357.95




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LexisNexis Research

Date        Description                                                        Amount
06/01/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/1/2021 by        167.52
            Melinda Welch
06/01/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/1/2021 by           3.15
            Mirta Adams
06/02/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/2/2021 by           3.15
            Mirta Adams
06/02/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/2/2021 by         527.36
            Melinda Welch
06/03/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/3/2021 by           3.15
            Mirta Adams
06/04/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/4/2021 by           3.15
            Mirta Adams
06/05/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/5/2021 by           3.15
            Mirta Adams
06/06/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/6/2021 by           3.15
            Mirta Adams
06/07/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/7/2021 by           3.15
            Mirta Adams
06/08/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/8/2021 by           3.15
            Mirta Adams
06/09/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/9/2021 by           3.15
            Mirta Adams
06/10/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/10/2021             3.15
            by Mirta Adams
06/10/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/10/2021           219.23
            by Melinda Welch
06/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/11/2021             3.15
            by Mirta Adams
06/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/11/2021           322.92
            by Melinda Welch
06/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/11/2021           103.43
            by Donna Zamir
06/12/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/12/2021             3.15
            by Mirta Adams
06/13/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/13/2021           167.71
            by Melinda Welch
06/13/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/13/2021             3.15
            by Mirta Adams

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06/14/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/14/2021           530.16
            by Melinda Welch
06/14/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/14/2021             4.74
            by Mirta Adams
06/14/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/14/2021            51.78
            by Eric Wendorf
06/15/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/15/2021             3.15
            by Mirta Adams
06/15/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/15/2021           103.43
            by Melinda Welch
06/16/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/16/2021           115.94
            by David Gremling
06/16/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/16/2021           115.81
            by Benjamin Stone
06/16/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/16/2021             3.15
            by Mirta Adams
06/16/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/16/2021            51.78
            by Melinda Welch
06/17/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/17/2021             3.15
            by Mirta Adams
06/17/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/17/2021            51.78
            by David Gremling
06/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/18/2021             3.15
            by Mirta Adams
06/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/18/2021            51.78
            by Melinda Welch
06/19/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/19/2021             3.15
            by Mirta Adams
06/20/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/20/2021             3.15
            by Mirta Adams
06/21/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/21/2021             3.15
            by Mirta Adams
06/22/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/22/2021             3.15
            by Mirta Adams
06/23/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/23/2021             3.15
            by Mirta Adams
06/24/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/24/2021             3.15
            by Mirta Adams
06/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/25/2021             3.15
            by Mirta Adams
06/26/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/26/2021             3.15
            by Mirta Adams

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06/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/27/2021             3.15
            by Mirta Adams
06/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/27/2021           517.78
            by Melinda Welch
06/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/28/2021           384.52
            by Ta Wei Huang
06/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/28/2021            51.78
            by Nicholas Binder
06/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/28/2021             3.15
            by Mirta Adams
06/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/28/2021           167.71
            by Melinda Welch
06/29/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/29/2021           103.55
            by Nicholas Binder
06/29/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/29/2021             3.15
            by Mirta Adams
06/29/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/29/2021           103.55
            by Melinda Welch
06/30/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/30/2021           709.85
            by Melinda Welch
06/30/21    RELX Inc DBA LexisNexis - LexisNexis Research on 6/30/2021             3.15
            by Mirta Adams
            Total                                                              4,715.46




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Overtime Transportation

Date        Description                                                         Amount
06/30/21    Derek I. Hunter - Derek I. Hunter, Taxi, Attend mediation. Cab to     10.92
            mediation. 06/30/2021
07/02/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab 07/02/2021        48.29
07/06/21    Saunders McElroy - Saunders McElroy, Taxi, Overtime                   17.58
            Transportation 07/06/2021
07/06/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab 07/06/2021        39.07
07/07/21    Derek I. Hunter - Derek I. Hunter, Taxi, Cab Fare 07/07/2021          14.76
07/08/21    Margaret R. Alden - Margaret R. Alden, Taxi, OT Cab 07/08/2021        30.76
07/08/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi,              10.89
            Travel to New York for Intelsat meeting 07/08/2021
07/19/21    Maggie Alden - Maggie Alden, Taxi, OT Cab home. 07/19/2021            41.74
07/21/21    Maggie Alden - Maggie Alden, Taxi, OT Cab home. Worked on             43.67
            7/20 and left K&E office 7/21 @ 12:46AM 07/21/2021
            Total                                                                257.68




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Overtime Meals - Attorney

Date         Description                                                       Amount
06/20/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 6/16/2021 OT               42.00
             Meal
06/20/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 6/15/2021 OT                35.37
             Meal
06/27/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 6/23/2021 OT                42.00
             Meal
07/06/21     Saunders McElroy - Saunders McElroy, Overtime Meals -                33.67
             Attorney, Washington, DC Overtime Meal Saunders McElroy
             07/06/2021
07/12/21     Brian Nakhaimousa - Brian Nakhaimousa, Overtime Meals -              40.00
             Attorney, NY OT Meal Brian Nakhaimousa 07/12/2021
             Total                                                               193.04




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Secretarial Overtime

Date         Description                                                       Amount
07/30/21     PDF revisions/annotations to : Document(s)                         197.19
             Total                                                              197.19




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Document Services Overtime

Date        Description                                                        Amount
07/13/21    Format and revise : Document(s)                                       2.15
07/14/21    Proofread - format check of : Presentation(s)                        16.34
07/14/21    Revisions to : Presentation(s)                                       22.36
07/27/21    Convert Document : Document(s)                                       29.24
07/29/21    PDF revisions/annotations to : Document(s)                          281.65
            Total                                                               351.74




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Miscellaneous Office Expenses

Date         Description                                                            Amount
07/23/21     Lydia Yale - Lydia Yale, Other, Certificate of Good Standing for         20.00
             Steven Serajeddini (Northern District of Illinois US District Court)
             07/23/2021
07/23/21     Lydia Yale - Lydia Yale, Other, Certificate of Good Standing for         16.00
             Steven Serajeddini (Illinois Supreme Court Clerk's office)
             07/23/2021
             Total                                                                    36.00




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Computer Database Research - Soft

Date        Description                                                        Amount
06/01/21    PACER Usage for 06/2021                                               3.00
06/01/21    PACER Usage for 06/2021                                              11.20
06/01/21    PACER Usage for 06/2021                                               4.20
06/01/21    PACER Usage for 06/2021                                               8.30
06/01/21    PACER Usage for 06/2021                                               0.20
06/01/21    PACER Usage for 06/2021                                               1.90
06/01/21    PACER Usage for 06/2021                                              17.40
06/01/21    PACER Usage for 06/2021                                              40.90
06/01/21    PACER Usage for 06/2021                                              24.60
06/01/21    PACER Usage for 06/2021                                              16.20
06/01/21    PACER Usage for 06/2021                                             178.20
06/01/21    PACER Usage for 06/2021                                              23.60
06/01/21    PACER Usage for 06/2021                                               0.20
06/01/21    PACER Usage for 06/2021                                             169.80
06/01/21    PACER Usage for 06/2021                                               3.90
            Total                                                               503.60

TOTAL EXPENSES                                                               $ 56,868.12




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                           FEIN XX-XXXXXXX




September 29, 2021

Intelsat S.A.
7900 Tysons One Place
19th Floor
McLean, VA 22102

Attn: Michelle Bryan

                                                                             Invoice Number: 1050050028
                                                                               Client Matter: 48457-23

In the Matter of Expenses


For expenses incurred through August 31, 2021
(see attached Description of Expenses for detail)                                                              $ 71,098.87
Total expenses incurred                                                                                        $ 71,098.87




  Austin Bay Area Beijing Boston Brussels Chicago Dallas Hong Kong Houston London Los Angeles Munich Paris Shanghai Washington, D.C.
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Intelsat S.A.                                                 Matter Number:      48457-23
Expenses




                                    Description of Expenses

Description                                                                     Amount
Third Party Telephone Charges                                                     521.11
Standard Copies or Prints                                                         680.32
Binding                                                                            12.60
Tabs/Indexes/Dividers                                                               7.41
Color Copies or Prints                                                            361.90
Outside Messenger Services                                                         21.98
Travel Expense                                                                  7,683.66
Airfare                                                                           740.05
Transportation to/from airport                                                  1,936.43
Travel Meals                                                                      206.82
Filing Fees                                                                       356.00
Expert Fees                                                                   26,767.13
Professional Fees                                                             (7,403.38)
Outside Video Services                                                          8,812.50
Computer Database Research                                                      2,513.47
Westlaw Research                                                              24,038.28
LexisNexis Research                                                             2,567.44
Overtime Transportation                                                            73.21
Overtime Meals - Attorney                                                         257.26
Document Services Overtime                                                        323.79
Overnight Delivery - Hard                                                         270.29
Computer Database Research - Soft                                                 350.60

                                                  Total                      $ 71,098.87




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                                        Description of Expenses

Third Party Telephone Charges

Date        Description                                                         Amount
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's          1.83
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           1.58
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           4.93
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           0.43
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           1.16
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           1.87
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           2.00
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           0.01
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           0.01
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           0.54
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           0.51
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           4.44
            Conference Calls
03/31/21    Intrado Enterprise Collaboration Inc - Elizabeth Grabowski's           4.42
            Conference Calls
04/30/21    Intrado Enterprise Collaboration Inc - Teleconference services        668.12
06/09/21    Intrado Enterprise Collaboration Inc - teleconference services      (381.42)
06/30/21    Intrado Enterprise Collaboration Inc - Teleconference                   3.46
06/30/21    Intrado Enterprise Collaboration Inc - Telephone conference with        8.14
            clients and outside counsel.
07/31/21    Intrado Enterprise Collaboration Inc - Teleconference Calls.          47.91
07/31/21    Intrado Enterprise Collaboration Inc - Telephone conference calls      1.58



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07/31/21    Intrado Enterprise Collaboration Inc - Joe Morley July Intrado         1.75
            Invoice
07/31/21    Intrado Enterprise Collaboration Inc - Telephone conference with      45.11
            clients and outside counsel.
07/31/21    Intrado Enterprise Collaboration Inc - Teleconference services         0.49
07/31/21    Intrado Enterprise Collaboration Inc - Teleconference services         1.45
07/31/21    Intrado Enterprise Collaboration Inc - teleconference services         8.93
07/31/21    Intrado Enterprise Collaboration Inc - Teleconference                  3.71
07/31/21    Intrado Enterprise Collaboration Inc - Teleconference                  5.46
07/31/21    Intrado Enterprise Collaboration Inc - Telephone conferences with      8.89
            clients and outside counsel.
07/31/21    Intrado Enterprise Collaboration Inc - Telephone conference calls      3.80
08/26/21    Robert Orren - Robert Orren, Teleconference, Telephonic hearing       70.00
            appearance - Brian Nakhaimousa 08/26/2021
            Total                                                                521.11




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Standard Copies or Prints

Date         Description                                                       Amount
08/02/21     Standard Copies or Prints                                            0.96
08/02/21     Standard Copies or Prints                                           10.08
08/02/21     Standard Copies or Prints                                            9.60
08/03/21     Standard Copies or Prints                                           12.80
08/03/21     Standard Copies or Prints                                          130.08
08/03/21     Standard Copies or Prints                                            4.16
08/04/21     Standard Copies or Prints                                          125.28
08/04/21     Standard Copies or Prints                                            9.60
08/05/21     Standard Copies or Prints                                           88.16
08/05/21     Standard Copies or Prints                                            5.44
08/06/21     Standard Copies or Prints                                           88.16
08/11/21     Standard Copies or Prints                                           23.52
08/11/21     Standard Copies or Prints                                           12.32
08/17/21     Standard Copies or Prints                                            0.48
08/18/21     Standard Copies or Prints                                           10.56
08/23/21     Standard Copies or Prints                                           78.24
08/23/21     Standard Copies or Prints                                           24.64
08/23/21     Standard Copies or Prints                                            8.32
08/24/21     Standard Copies or Prints                                            9.76
08/30/21     Standard Copies or Prints                                           28.16
             Total                                                              680.32




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Binding

Date        Description                                                        Amount
08/03/21    Binding                                                               0.70
08/03/21    Binding                                                               4.20
08/04/21    Binding                                                               4.20
08/04/21    Binding                                                               1.40
08/05/21    Binding                                                               0.70
08/06/21    Binding                                                               0.70
08/23/21    Binding                                                               0.70
            Total                                                                12.60




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Tabs/Indexes/Dividers

Date         Description                                                       Amount
08/03/21     Tabs/Indexes/Dividers                                               2.34
08/04/21     Tabs/Indexes/Dividers                                               2.34
08/05/21     Tabs/Indexes/Dividers                                               0.65
08/06/21     Tabs/Indexes/Dividers                                               0.65
08/23/21     Tabs/Indexes/Dividers                                               1.43
             Total                                                               7.41




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Color Copies or Prints

Date         Description                                                       Amount
08/03/21     Color Copies or Prints                                             128.70
08/04/21     Color Copies or Prints                                               4.95
08/04/21     Color Copies or Prints                                             128.70
08/05/21     Color Copies or Prints                                               4.40
08/06/21     Color Copies or Prints                                               4.40
08/11/21     Color Copies or Prints                                              62.15
08/19/21     Color Copies or Prints                                              26.95
08/31/21     Color Copies or Prints                                               1.65
             Total                                                              361.90




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Outside Messenger Services

Date         Description                                                       Amount
08/14/21     COMET MESSENGER SERVICE INC - 300 N LASALLE to                      21.98
             3452 N GREENVIEW 08/11/2021
             Total                                                                21.98




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Travel Expense

Date        Description                                                        Amount
07/15/21    Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Lodging,       183.66
            Richmond, VA to , Travel to Richmond, VA for Intelsat mediation
            hearing 07/15/2021
08/05/21    Omni Richmond Hotel - Omni Richmond VA deposit for In re           7,500.00
            Intelsat S.A., et al. Trial (Meeting Space & Sleeping Rooms)
            Total                                                              7,683.66




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Airfare

Date        Description                                                        Amount
07/07/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Airfare,         682.05
            Richmond, VA to , Travel to Richmond, VA for Intelsat mediation
            07/07/2021
07/07/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Agency             58.00
            Fee, Travel to Richmond, VA for Intelsat mediation 07/07/2021
            Total                                                                740.05




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Transportation to/from airport

Date         Description                                                       Amount
07/15/21     SUNNY'S WORLDWIDE - DEREK IRVING HUNTER-RIC-                       118.40
             THE JEFFERSON HOTEL LEG 101 WEST FRANKLIN
             STREET RICHMOND VA 23220 07/14/2021
07/16/21     VITAL TRANSPORTATION SERVICES INC - Slade Michael -                  94.91
             601 LEXINGTON AVE to NEWARK AIRPORT NJ 07/08/2021
07/16/21     VITAL TRANSPORTATION SERVICES INC - BINDER                           76.37
             NICHOLAS ALEXANDER - 700 5 AVE to JFK 07/09/2021
07/16/21     VITAL TRANSPORTATION SERVICES INC - Slade Michael -                  94.30
             NEWARK AIRPORT NJ to 2 E 55 ST 07/05/2021
07/31/21     WINDY CITY LIMOUSINE - ANTHONY VINCENZO                              84.34
             SEXTON from 327 to 10000 West O'Hare 07/02/2021
07/31/21     WINDY CITY LIMOUSINE - ANTHONY VINCENZO                              84.34
             SEXTON from 2723 to 10000 West O'Hare 07/16/2021
07/31/21     WINDY CITY LIMOUSINE - Anthony Sexton from 2618 to                   84.34
             10000 West O'Hare 07/08/2021
07/31/21     WINDY CITY LIMOUSINE - Anthony Sexton from 1283 to 20                80.34
             W. 15th Street Unit J 07/05/2021
07/31/21     SUNNY'S WORLDWIDE - DEREK IRVING HUNTER-THE                         143.40
             JEFFERSON HOTEL 101 WEST FRANKLIN ST RICHMOND
             VA 23220-RIC 07/16/2021
08/20/21     ALL ABOUT CHARTER INC - 07/01/2021 SERAJEDDINI                      272.98
             STEVEN LGA DL4831 to RESIDENCE LARCHMONT
08/20/21     ALL ABOUT CHARTER INC - 07/14/2021 SERAJEDDINI                      271.78
             STEVEN RESIDENCE LARCHMONT to LGA DL4795
08/20/21     ALL ABOUT CHARTER INC - 06/29/2021 SERAJEDDINI                      258.95
             STEVEN RESIDENCE LARCHMONT to LGA DL4795
08/20/21     ALL ABOUT CHARTER INC - 07/15/2021 SERAJEDDINI                      271.98
             STEVEN LGA DL4831 to RESIDENCE LARCHMONT
             Total                                                             1,936.43




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Travel Meals

Date           Description                                                           Amount
06/29/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel               39.36
               Meals, Richmond, VA Travel to Richmond, VA for Intelsat
               Mediation session Anthony Vincenzo Sexton 06/29/2021
07/02/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel               11.15
               Meals, Richmond, VA Travel to Richmond, VA for Intelsat
               Mediation session Anthony Vincenzo Sexton 07/02/2021
07/07/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel               77.06
               Meals, New York, NY Travel to New York for Intelsat meeting
               Anthony Vincenzo Sexton 07/07/2021
07/08/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel               24.86
               Meals, New York, NY Travel to New York for Intelsat meeting
               Anthony Vincenzo Sexton 07/08/2021
07/14/21       Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Travel               40.74
               Meals, Richmond, VA Travel to Richmond, VA for Intelsat
               mediation Anthony Vincenzo Sexton 07/14/2021
07/14/21       Steven N. Serajeddini, P.C. - Steven N. Serajeddini, Hotel - Travel     13.65
               Meals, Richmond, VA Meal at hotel - business trip to Richmond,
               VA for Intelsat mediation hearing Steven N. Serajeddini
               07/14/2021
               Total                                                                  206.82




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Filing Fees

Date          Description                                                           Amount
08/09/21      Jacqueline Hahn - Jacqueline Hahn, Filing Fees, Filing Fee - New        20.00
              York Southern District Court 08/09/2021
08/12/21      Jacqueline Hahn - Jacqueline Hahn, Filing Fees, Illinois Supreme        16.00
              Court Clerks Office - Certificate of Goodstanding Fees for Dave
              Gremling 08/12/2021
08/12/21      Jacqueline Hahn - Jacqueline Hahn, Filing Fees, Filing Fee - New        20.00
              York Southern District Court 08/12/2021
08/19/21      Robert Orren - Robert Orren, Filing Fees, Pro hac vice filing fee -    150.00
              Dave Greimling 08/19/2021
08/19/21      Robert Orren - Robert Orren, Filing Fees, Pro hac vice filing fee -    150.00
              Derek Hunter 08/19/2021
              Total                                                                  356.00




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Expert Fees

Date          Description                                                      Amount
07/26/21      COMPASS LEXECON - Compass Lexecon June 2021 invoice for         26,767.13
              expert consulting services.
              Total                                                           26,767.13




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Professional Fees

Date         Description                                                        Amount
05/14/21     JAMS - JAMS Refund Check number 330375 dated 07-08-21            (7,403.38)
             Retainer payment for J. Gold discovery referee services
             Total                                                            (7,403.38)




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Outside Video Services

Date         Description                                                       Amount
02/24/21     Lexitas - Video conference for special committee meeting.         4,312.50
02/24/21     Lexitas - Video streaming for special committee meeting.          4,500.00
             Total                                                             8,812.50




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Computer Database Research

Date        Description                                                        Amount
07/31/21    LEXISNEXIS RISK SOLUTIONS - Accurint Usage for 07/2021               13.27
07/31/21    COMPANY REGISTRATIONS ONLINE LIMITED - CRO                           29.20
            Charges for 07/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        5.00
            Usage on 7/30/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       29.00
            Usage on 7/19/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       13.00
            Usage on 7/7/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       20.00
            Usage on 7/7/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 7/9/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 7/8/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       74.00
            Usage on 7/16/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      187.00
            Usage on 7/19/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       47.00
            Usage on 7/28/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       76.00
            Usage on 7/30/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       60.00
            Usage on 7/25/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       14.00
            Usage on 7/7/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 7/12/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       60.00
            Usage on 7/23/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 7/6/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      236.00
            Usage on 7/24/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       59.00
            Usage on 7/3/2021



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08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       23.00
            Usage on 7/29/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       13.00
            Usage on 7/17/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       20.00
            Usage on 7/7/2021 for Isabella Bergonzoli Jaramillo
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       80.00
            Usage on 7/26/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        5.00
            Usage on 7/20/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       66.00
            Usage on 7/26/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       94.00
            Usage on 7/19/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       34.00
            Usage on 7/27/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       29.00
            Usage on 7/23/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       11.00
            Usage on 7/7/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       40.00
            Usage on 7/26/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       23.00
            Usage on 7/31/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      178.00
            Usage on 7/20/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       23.00
            Usage on 7/15/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       31.00
            Usage on 7/29/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       20.00
            Usage on 7/22/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       86.00
            Usage on 7/22/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      138.00
            Usage on 7/23/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                        8.00
            Usage on 7/22/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       36.00
            Usage on 7/6/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       30.00
            Usage on 7/21/2021

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08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      144.00
            Usage on 7/20/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       55.00
            Usage on 7/29/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       89.00
            Usage on 7/19/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                       40.00
            Usage on 7/25/2021
08/13/21    RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                      237.00
            Usage on 7/21/2021
            Total                                                              2,513.47




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Westlaw Research

Date        Description                                                        Amount
06/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/1/2021
06/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             239.98
            WESTLAW Research Charges by Ferazzi, Katherine M. on
            6/1/2021
06/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Nakhaimousa, Brian on
            6/1/2021
06/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Hellman, Allan on 6/1/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             108.94
            WESTLAW Research Charges by Nakhaimousa, Brian on
            6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             204.97
            WESTLAW Research Charges by Stone, Benjamin P. on 6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              31.62
            WESTLAW Research Charges by Seneczko, Samuel on 6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.30
            WESTLAW Research Charges by Welch, Melinda on 6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              49.89
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             116.41
            WESTLAW Research Charges by Ferazzi, Katherine M. on
            6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Howard, Noelle Marie on
            6/2/2021
06/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             460.81
            WESTLAW Research Charges by Wolk, Laura on 6/2/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/3/2021



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06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.33
            WESTLAW Research Charges by Stone, Benjamin P. on 6/3/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Seneczko, Samuel on 6/3/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             154.33
            WESTLAW Research Charges by Rosser, Whitney N. on 6/3/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Thompson, William M. on
            6/3/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/3/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              63.23
            WESTLAW Research Charges by Arnault, Bill on 6/3/2021
06/03/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              49.89
            WESTLAW Research Charges by Ferazzi, Katherine M. on
            6/3/2021
06/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/4/2021
06/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             100.02
            WESTLAW Research Charges by Welch, Melinda on 6/4/2021
06/04/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              16.63
            WESTLAW Research Charges by Ferazzi, Katherine M. on
            6/4/2021
06/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.24
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/7/2021
06/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/7/2021
06/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Thompson, William M. on
            6/7/2021
06/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.40
            WESTLAW Research Charges by Welch, Melinda on 6/7/2021
06/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             199.05
            WESTLAW Research Charges by Seneczko, Samuel on 6/7/2021
06/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              78.12
            WESTLAW Research Charges by Wolk, Laura on 6/7/2021
06/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              11.62
            WESTLAW Research Charges by Roman, Roy on 6/8/2021
06/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/8/2021



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06/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Thompson, William M. on
            6/8/2021
06/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Roman, Roy on 6/9/2021
06/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             151.15
            WESTLAW Research Charges by Felton, Nathan James on
            6/9/2021
06/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/9/2021
06/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/9/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Thompson, William M. on
            6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             291.97
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Stone, Benjamin P. on
            6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.46
            WESTLAW Research Charges by Jarvis, Jason on 6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              22.77
            WESTLAW Research Charges by Boland, Cade C. on 6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             375.44
            WESTLAW Research Charges by Glick, Michael A. on 6/10/2021
06/10/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             605.10
            WESTLAW Research Charges by Felton, Nathan James on
            6/10/2021
06/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/11/2021
06/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/11/2021




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06/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.66
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            6/11/2021
06/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.24
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            6/11/2021
06/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.66
            WESTLAW Research Charges by Stone, Benjamin P. on
            6/11/2021
06/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.46
            WESTLAW Research Charges by Welch, Melinda on 6/11/2021
06/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              14.52
            WESTLAW Research Charges by Binder, Nicholas on 6/12/2021
06/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             112.02
            WESTLAW Research Charges by Alden, Margaret on 6/12/2021
06/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             119.57
            WESTLAW Research Charges by Roman, Roy on 6/13/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             153.91
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Seneczko, Samuel on 6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             149.67
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Thompson, William M. on
            6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             246.17
            WESTLAW Research Charges by Welch, Melinda on 6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              85.41
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Gremling, David on 6/14/2021
06/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              14.50
            WESTLAW Research Charges by Nakhaimousa, Brian on
            6/14/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.96
            WESTLAW Research Charges by Adams, Mirta M. on 6/15/2021


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06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              99.78
            WESTLAW Research Charges by Ferazzi, Katherine M. on
            6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.66
            WESTLAW Research Charges by Boland, Cade C. on 6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              65.82
            WESTLAW Research Charges by Welch, Melinda on 6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              60.58
            WESTLAW Research Charges by Nakhaimousa, Brian on
            6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Stone, Benjamin P. on
            6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Roman, Roy on 6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              46.13
            WESTLAW Research Charges by Thompson, William M. on
            6/15/2021
06/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              85.50
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/15/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Welch, Melinda on 6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              33.26
            WESTLAW Research Charges by Ferazzi, Katherine M. on
            6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             194.35
            WESTLAW Research Charges by Stone, Benjamin P. on
            6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Gremling, David on 6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             186.90
            WESTLAW Research Charges by Morris, Joshua on 6/16/2021




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06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.24
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by McKelvey III, John James on
            6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Skillman, Henry H on
            6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.67
            WESTLAW Research Charges by Boland, Cade C. on 6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              53.53
            WESTLAW Research Charges by Lord, Clayton Wesley on
            6/16/2021
06/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              97.32
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 6/16/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              85.41
            WESTLAW Research Charges by Roman, Roy on 6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             204.97
            WESTLAW Research Charges by Stone, Benjamin P. on
            6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              40.62
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              80.33
            WESTLAW Research Charges by Seneczko, Samuel on 6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.30
            WESTLAW Research Charges by McGushin, Casey on 6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.46
            WESTLAW Research Charges by Orren, Robert Anthony on
            6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             877.21
            WESTLAW Research Charges by Welch, Melinda on 6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Gremling, David on 6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              40.66
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/17/2021
06/17/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.17
            WESTLAW Research Charges by Boland, Cade C. on 6/17/2021

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06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Stone, Benjamin P. on
            6/18/2021
06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             119.57
            WESTLAW Research Charges by Roman, Roy on 6/18/2021
06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.50
            WESTLAW Research Charges by Seneczko, Samuel on 6/18/2021
06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             226.19
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/18/2021
06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             151.32
            WESTLAW Research Charges by Welch, Melinda on 6/18/2021
06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/18/2021
06/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              31.62
            WESTLAW Research Charges by Thompson, William M. on
            6/18/2021
06/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              25.75
            WESTLAW Research Charges by Seneczko, Samuel on 6/19/2021
06/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Thompson, William M. on
            6/20/2021
06/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              59.36
            WESTLAW Research Charges by Welch, Melinda on 6/20/2021
06/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Rosser, Whitney N. on
            6/20/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             121.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/21/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/21/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             227.68
            WESTLAW Research Charges by Tur-Sinai Gozal, Luz on
            6/21/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Gremling, David on 6/21/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.66
            WESTLAW Research Charges by Boland, Cade C. on 6/21/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Nakhaimousa, Brian on
            6/21/2021


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06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Felton, Nathan James on
            6/21/2021
06/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.17
            WESTLAW Research Charges by Welch, Melinda on 6/21/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              33.26
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              41.22
            WESTLAW Research Charges by Lee, Daming on 6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Forte, Justice Isabel on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Rosser, Whitney N. on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             187.89
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Nakhaimousa, Brian on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.40
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              63.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/22/2021
06/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.30
            WESTLAW Research Charges by Gremling, David on 6/22/2021
06/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             102.60
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/23/2021
06/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/23/2021
06/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.44
            WESTLAW Research Charges by Young, Mary Catherine on
            6/23/2021
06/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              29.00
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/23/2021


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06/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              66.52
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            6/23/2021
06/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Thompson, William M. on
            6/24/2021
06/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              60.58
            WESTLAW Research Charges by Forte, Justice Isabel on
            6/24/2021
06/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              58.00
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/24/2021
06/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/24/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             207.95
            WESTLAW Research Charges by Rosser, Whitney N. on
            6/25/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              29.00
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            6/25/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             114.41
            WESTLAW Research Charges by Forte, Justice Isabel on
            6/25/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.67
            WESTLAW Research Charges by Boland, Cade C. on 6/25/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/25/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              65.82
            WESTLAW Research Charges by Thompson, William M. on
            6/25/2021
06/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              31.58
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/25/2021
06/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Jarvis, Jason on 6/26/2021
06/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Binder, Nicholas on 6/27/2021
06/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              47.03
            WESTLAW Research Charges by Boland, Cade C. on 6/27/2021
06/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Jarvis, Jason on 6/27/2021




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06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.66
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              12.91
            WESTLAW Research Charges by Golden, Rachel on 6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              72.50
            WESTLAW Research Charges by McGrail, Caitlin on 6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             157.90
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.93
            WESTLAW Research Charges by Adams, Mirta M. on 6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              85.41
            WESTLAW Research Charges by Rosser, Whitney N. on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             184.02
            WESTLAW Research Charges by Lord, Clayton Wesley on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              66.52
            WESTLAW Research Charges by McElroy, Saunders on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             384.82
            WESTLAW Research Charges by Young, Mary Catherine on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.30
            WESTLAW Research Charges by Jarvis, Jason on 6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              46.08
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            6/28/2021
06/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Huang, Ta Wei on 6/28/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.96
            WESTLAW Research Charges by Adams, Mirta M. on 6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             324.38
            WESTLAW Research Charges by Wolk, Laura on 6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.08
            WESTLAW Research Charges by Forte, Justice Isabel on
            6/29/2021




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06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             160.19
            WESTLAW Research Charges by Lord, Clayton Wesley on
            6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.24
            WESTLAW Research Charges by Huang, Ta Wei on 6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              31.58
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Hunter, Olivia Claire on
            6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.16
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.20
            WESTLAW Research Charges by Thompson, William M. on
            6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             100.02
            WESTLAW Research Charges by Jarvis, Jason on 6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              31.62
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/29/2021
06/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             102.49
            WESTLAW Research Charges by Rosser, Whitney N. on
            6/29/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.17
            WESTLAW Research Charges by Boland, Cade C. on 6/30/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.10
            WESTLAW Research Charges by Thompson, William M. on
            6/30/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             126.02
            WESTLAW Research Charges by Forte, Justice Isabel on
            6/30/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.96
            WESTLAW Research Charges by Adams, Mirta M. on 6/30/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              48.72
            WESTLAW Research Charges by Knutson, Tyler Robert on
            6/30/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             298.38
            WESTLAW Research Charges by Wolk, Laura on 6/30/2021
06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             153.91
            WESTLAW Research Charges by Welch, Melinda on 6/30/2021



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06/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              14.50
            WESTLAW Research Charges by Williams, Elizabeth Chambliss
            on 6/30/2021
07/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/1/2021
07/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Hunter, Olivia Claire on
            7/1/2021
07/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              14.96
            WESTLAW Research Charges by Knutson, Tyler Robert on
            7/1/2021
07/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             507.75
            WESTLAW Research Charges by Forte, Justice Isabel on 7/1/2021
07/01/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             299.20
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            7/1/2021
07/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/2/2021
07/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Thompson, William M. on
            7/2/2021
07/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Binder, Nicholas on 7/2/2021
07/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.14
            WESTLAW Research Charges by Wolk, Laura on 7/2/2021
07/02/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              14.94
            WESTLAW Research Charges by Forte, Justice Isabel on 7/2/2021
07/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.33
            WESTLAW Research Charges by Welch, Melinda on 7/5/2021
07/05/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/5/2021
07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Tur-Sinai Gozal, Luz on
            7/6/2021
07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.54
            WESTLAW Research Charges by Wolk, Laura on 7/6/2021
07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/6/2021
07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              44.82
            WESTLAW Research Charges by McGrail, Caitlin on 7/6/2021
07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              91.58
            WESTLAW Research Charges by Hunter, Olivia Claire on
            7/6/2021

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07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              70.40
            WESTLAW Research Charges by Rosser, Whitney N. on 7/6/2021
07/06/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             147.76
            WESTLAW Research Charges by Forte, Justice Isabel on 7/6/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              79.39
            WESTLAW Research Charges by Seneczko, Samuel on 7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.41
            WESTLAW Research Charges by Wolk, Laura on 7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             380.14
            WESTLAW Research Charges by Carter, Jonathan on 7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             118.02
            WESTLAW Research Charges by Tur-Sinai Gozal, Luz on
            7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              51.41
            WESTLAW Research Charges by Quamme, Palmer Wilton on
            7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              88.10
            WESTLAW Research Charges by Welch, Melinda on 7/7/2021
07/07/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Lee, Daming on 7/7/2021
07/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              67.74
            WESTLAW Research Charges by Lord, Clayton Wesley on
            7/8/2021
07/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             274.37
            WESTLAW Research Charges by Wolk, Laura on 7/8/2021
07/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             208.78
            WESTLAW Research Charges by Tur-Sinai Gozal, Luz on
            7/8/2021
07/08/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/8/2021
07/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.24
            WESTLAW Research Charges by Gremling, David on 7/9/2021
07/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              40.51
            WESTLAW Research Charges by Yu, Justine Marie on 7/9/2021
07/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.14
            WESTLAW Research Charges by Wolk, Laura on 7/9/2021
07/09/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/9/2021




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07/11/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              53.07
            WESTLAW Research Charges by Thompson, William M. on
            7/11/2021
07/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              22.95
            WESTLAW Research Charges by Jarvis, Jason on 7/12/2021
07/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             128.52
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            7/12/2021
07/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             257.13
            WESTLAW Research Charges by Thompson, William M. on
            7/12/2021
07/12/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/12/2021
07/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              16.17
            WESTLAW Research Charges by DeGori, Elizabeth Carolyn on
            7/13/2021
07/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              97.18
            WESTLAW Research Charges by Yu, Justine Marie on 7/13/2021
07/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              14.96
            WESTLAW Research Charges by Thompson, William M. on
            7/13/2021
07/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/13/2021
07/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               5.32
            WESTLAW Research Charges by Alden, Margaret on 7/13/2021
07/13/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             105.72
            WESTLAW Research Charges by Jonke, Kevin Michael on
            7/13/2021
07/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               7.17
            WESTLAW Research Charges by Adams, Mirta M. on 7/14/2021
07/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              37.90
            WESTLAW Research Charges by Thompson, William M. on
            7/14/2021
07/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             501.11
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            7/14/2021
07/14/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              32.33
            WESTLAW Research Charges by Yu, Justine Marie on 7/14/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Welch, Melinda on 7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             342.71
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            7/15/2021

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07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             105.60
            WESTLAW Research Charges by Stone, Benjamin P. on
            7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              70.48
            WESTLAW Research Charges by Boland, Cade C. on 7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              19.98
            WESTLAW Research Charges by Arnault, Bill on 7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Langstaff, Thomas Zahner on
            7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              44.87
            WESTLAW Research Charges by Thompson, William M. on
            7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             176.21
            WESTLAW Research Charges by Lord, Clayton Wesley on
            7/15/2021
07/15/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/15/2021
07/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             229.27
            WESTLAW Research Charges by Arnault, Bill on 7/16/2021
07/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/16/2021
07/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/16/2021
07/16/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              88.00
            WESTLAW Research Charges by Stone, Benjamin P. on
            7/16/2021
07/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.24
            WESTLAW Research Charges by Welch, Melinda on 7/18/2021
07/18/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.20
            WESTLAW Research Charges by Stone, Benjamin P. on
            7/18/2021
07/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Stone, Benjamin P. on
            7/19/2021
07/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              65.08
            WESTLAW Research Charges by Hunter, Olivia Claire on
            7/19/2021
07/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             175.59
            WESTLAW Research Charges by Alden, Margaret on 7/19/2021




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07/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.24
            WESTLAW Research Charges by Thompson, William M. on
            7/19/2021
07/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              26.53
            WESTLAW Research Charges by Welch, Melinda on 7/19/2021
07/19/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/19/2021
07/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             123.55
            WESTLAW Research Charges by Thompson, William M. on
            7/20/2021
07/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Hunter, Olivia Claire on
            7/20/2021
07/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.24
            WESTLAW Research Charges by Jarvis, Jason on 7/20/2021
07/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/20/2021
07/20/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              26.53
            WESTLAW Research Charges by Welch, Melinda on 7/20/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.54
            WESTLAW Research Charges by Calhoun, Ansley C. on
            7/21/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/21/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              68.54
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            7/21/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             267.69
            WESTLAW Research Charges by Alden, Margaret on 7/21/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.24
            WESTLAW Research Charges by Jonke, Kevin Michael on
            7/21/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Welch, Melinda on 7/21/2021
07/21/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             279.45
            WESTLAW Research Charges by Wolk, Laura on 7/21/2021
07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/22/2021
07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.65
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/22/2021
07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             185.62
            WESTLAW Research Charges by McGrail, Caitlin on 7/22/2021

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07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             215.40
            WESTLAW Research Charges by Golden, Rachel on 7/22/2021
07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             315.61
            WESTLAW Research Charges by Wolk, Laura on 7/22/2021
07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              22.95
            WESTLAW Research Charges by Thompson, William M. on
            7/22/2021
07/22/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             112.05
            WESTLAW Research Charges by Alden, Margaret on 7/22/2021
07/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              34.27
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            7/23/2021
07/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Knutson, Tyler Robert on
            7/23/2021
07/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             588.98
            WESTLAW Research Charges by Wolk, Laura on 7/23/2021
07/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/23/2021
07/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/23/2021
07/23/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Gremling, David on 7/23/2021
07/24/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             105.60
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/24/2021
07/25/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              88.00
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/25/2021
07/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             229.53
            WESTLAW Research Charges by Hollenstein, Abby Rose on
            7/26/2021
07/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              82.68
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/26/2021
07/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             158.40
            WESTLAW Research Charges by Stone, Benjamin P. on
            7/26/2021
07/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              96.90
            WESTLAW Research Charges by Lord, Clayton Wesley on
            7/26/2021



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07/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              61.70
            WESTLAW Research Charges by Diehl, Robert Alexander on
            7/26/2021
07/26/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/26/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             179.99
            WESTLAW Research Charges by Lord, Clayton Wesley on
            7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             282.73
            WESTLAW Research Charges by Simioni, Adrian Edward on
            7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               6.65
            WESTLAW Research Charges by Alden, Margaret on 7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              44.10
            WESTLAW Research Charges by Nowlin, Caroline Eliose on
            7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.20
            WESTLAW Research Charges by Hunter, Olivia Claire on
            7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             155.92
            WESTLAW Research Charges by Jarvis, Jason on 7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              91.58
            WESTLAW Research Charges by Golden, Rachel on 7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              10.64
            WESTLAW Research Charges by Diehl, Robert Alexander on
            7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              35.20
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             123.34
            WESTLAW Research Charges by Welch, Melinda on 7/27/2021
07/27/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              26.50
            WESTLAW Research Charges by Howard, Noelle Marie on
            7/27/2021
07/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Thompson, William M. on
            7/28/2021
07/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.60
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            7/28/2021



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07/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              70.48
            WESTLAW Research Charges by Welch, Melinda on 7/28/2021
07/28/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/28/2021
07/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Gremling, David on 7/29/2021
07/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/29/2021
07/29/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             116.24
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            7/29/2021
07/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                               1.99
            WESTLAW Research Charges by Adams, Mirta M. on 7/30/2021
07/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              77.05
            WESTLAW Research Charges by Zamir, Donna Sarah Miriam on
            7/30/2021
07/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              88.10
            WESTLAW Research Charges by Thompson, William M. on
            7/30/2021
07/30/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             296.88
            WESTLAW Research Charges by Welch, Melinda on 7/30/2021
07/31/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              52.86
            WESTLAW Research Charges by Gamboa, Julian on 7/31/2021
07/31/21    THOMSON REUTERS - WEST PUBLISHING CORP -                              17.62
            WESTLAW Research Charges by Thompson, William M. on
            7/31/2021
07/31/21    THOMSON REUTERS - WEST PUBLISHING CORP -                             243.74
            WESTLAW Research Charges by Nakhaimousa, Brian on
            7/31/2021
            Total                                                             24,038.28




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LexisNexis Research

Date        Description                                                        Amount
07/01/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/1/2021 by         2.29
            Mirta Adams
07/02/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/2/2021 by           2.29
            Mirta Adams
07/03/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/3/2021 by           2.29
            Mirta Adams
07/04/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/4/2021 by           2.29
            Mirta Adams
07/05/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/5/2021 by           2.29
            Mirta Adams
07/06/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/6/2021 by           2.29
            Mirta Adams
07/07/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/7/2021 by          51.79
            David Gremling
07/07/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/7/2021 by           2.29
            Mirta Adams
07/08/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/8/2021 by           2.29
            Mirta Adams
07/09/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/9/2021 by           2.29
            Mirta Adams
07/10/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/10/2021             2.29
            by Mirta Adams
07/11/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/11/2021             2.29
            by Mirta Adams
07/12/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/12/2021             2.29
            by Mirta Adams
07/12/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/12/2021            93.17
            by Anne Waldron
07/13/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/13/2021             2.29
            by Mirta Adams
07/14/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/14/2021             2.29
            by Mirta Adams
07/14/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/14/2021           150.16
            by Anne Waldron
07/15/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/15/2021             2.29
            by Mirta Adams
07/16/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/16/2021             2.29
            by Mirta Adams

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07/17/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/17/2021             2.29
            by Mirta Adams
07/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/18/2021            51.79
            by Eric Wendorf
07/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/18/2021            51.79
            by Anne Waldron
07/18/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/18/2021             2.29
            by Mirta Adams
07/19/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/19/2021            51.79
            by Anne Waldron
07/19/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/19/2021             2.29
            by Mirta Adams
07/20/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/20/2021             2.29
            by Mirta Adams
07/21/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/21/2021             4.58
            by Mirta Adams
07/22/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/22/2021             2.29
            by Mirta Adams
07/23/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/23/2021            46.53
            by Anne Waldron
07/23/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/23/2021            46.53
            by Brian Nakhaimousa
07/23/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/23/2021             2.29
            by Mirta Adams
07/24/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/24/2021             2.29
            by Mirta Adams
07/24/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/24/2021            98.25
            by Anne Waldron
07/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/25/2021           398.16
            by Anne Waldron
07/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/25/2021            51.79
            by David Gremling
07/25/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/25/2021             2.29
            by Mirta Adams
07/26/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/26/2021            98.25
            by Benjamin Stone
07/26/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/26/2021             2.29
            by Mirta Adams
07/26/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/26/2021            46.53
            by Brendan Nashelsky
07/26/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/26/2021            98.25
            by Anne Waldron

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07/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/27/2021             2.29
            by Mirta Adams
07/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/27/2021            93.06
            by Brendan Nashelsky
07/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/27/2021           512.63
            by Jason Jarvis
07/27/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/27/2021            51.79
            by Anne Waldron
07/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/28/2021           103.57
            by David Gremling
07/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/28/2021            51.79
            by Eric Wendorf
07/28/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/28/2021             2.29
            by Mirta Adams
07/29/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/29/2021           144.78
            by Anne Waldron
07/29/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/29/2021             2.29
            by Mirta Adams
07/30/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/30/2021            51.79
            by David Gremling
07/30/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/30/2021             2.29
            by Mirta Adams
07/31/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/31/2021           149.97
            by Anne Waldron
07/31/21    RELX Inc DBA LexisNexis - LexisNexis Research on 7/31/2021             2.29
            by Mirta Adams
            Total                                                              2,567.44




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Overtime Transportation

Date        Description                                                        Amount
07/12/21    Brian Nakhaimousa - Brian Nakhaimousa, Taxi, OT                      11.16
            Transportation 07/12/2021
07/21/21    Brian Nakhaimousa - Brian Nakhaimousa, Taxi, OT                       24.77
            Transportation 07/21/2021
08/02/21    Saunders McElroy - Saunders McElroy, Taxi, Overtime                   10.67
            Transportation 08/02/2021
08/09/21    Derek I. Hunter - Derek I. Hunter, Taxi, OT Cab Fare 08/09/2021       15.36
08/09/21    Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Taxi, Cab          11.25
            home after working late 08/09/2021
            Total                                                                 73.21




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Overtime Meals - Attorney

Date         Description                                                       Amount
07/04/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 7/1/2021 OT                42.00
             Meal
07/04/21     GRUBHUB HOLDINGS INC - Alden Margaret R. 7/2/2021 OT                 35.33
             Meal
08/02/21     Saunders McElroy - Saunders McElroy, Overtime Meals -                40.00
             Attorney, Washington, DC Overtime Meal Saunders McElroy
             08/02/2021
08/10/21     Derek I. Hunter - Derek I. Hunter, Overtime Meals - Attorney,        13.34
             New York OT Meal Derek I. Hunter 08/10/2021
08/12/21     Derek I. Hunter - Derek I. Hunter, Overtime Meals - Attorney,        12.41
             New York OT Meal Derek I. Hunter 08/12/2021
08/19/21     Anthony Vincenzo Sexton - Anthony Vincenzo Sexton, Overtime          34.18
             Meals - Attorney, Chicago, IL Overtime meal while working late
             Anthony Vincenzo Sexton 08/19/2021
08/19/21     Dave Gremling - Dave Gremling, Overtime Meals - Attorney,            40.00
             Chicago, IL Overtime Meal Dave Gremling 08/19/2021
08/24/21     Dave Gremling - Dave Gremling, Overtime Meals - Attorney,            40.00
             Chicago Overtime dinner Dave Gremling 08/24/2021
             Total                                                               257.26




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Document Services Overtime

Date        Description                                                        Amount
08/02/21    PDF revisions/annotations to : Document(s)                          124.70
08/14/21    Excel formulas and/or charts creation and/or revisions to :         199.09
            Spreadsheet(s)
            Total                                                                323.79




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Overnight Delivery - Hard

Date         Description                                                       Amount
08/02/21     FEDERAL EXPRESS - 774358177980                                      34.20
08/02/21     FEDERAL EXPRESS - 791177349831                                      13.75
08/04/21     FEDERAL EXPRESS - FEDEX overnight pkg going to Supernet             67.21
             Limited in Islamabad PK on 07/22/2021
08/04/21     FEDERAL EXPRESS - FEDEX overnight pkg going to Supernet              67.21
             Limited in Karchi on 07/22/2021
08/09/21     FEDERAL EXPRESS - 774430398219                                       26.65
08/16/21     FEDERAL EXPRESS - 774459100809                                       28.84
08/16/21     FEDERAL EXPRESS - 774472725666                                       32.43
             Total                                                               270.29




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Computer Database Research - Soft

Date        Description                                                        Amount
07/01/21    PACER Usage for 07/2021                                              28.10
07/01/21    PACER Usage for 07/2021                                               0.10
07/01/21    PACER Usage for 07/2021                                               4.10
07/01/21    PACER Usage for 07/2021                                               0.20
07/01/21    PACER Usage for 07/2021                                              29.50
07/01/21    PACER Usage for 07/2021                                              99.50
07/01/21    PACER Usage for 07/2021                                               0.40
07/01/21    PACER Usage for 07/2021                                              40.30
07/01/21    PACER Usage for 07/2021                                               0.70
07/01/21    PACER Usage for 07/2021                                             119.90
07/01/21    PACER Usage for 07/2021                                               4.40
07/01/21    PACER Usage for 07/2021                                              23.40
            Total                                                               350.60

TOTAL EXPENSES                                                               $ 71,098.87




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